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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

In re:                                                    §         Chapter 11
                                                          §
FIELDWOOD ENERGY, LLC, et al.,1                           §         Case No. 20-33948 (MI)
                                                          §
                                                          §         (Jointly Administered)
          Debtors.                                        §

         OBJECTION OF XTO OFFSHORE, INC., HHE ENERGY COMPANY, AND XH LLC
             TO THE JOINT CHAPTER 11 PLAN OF FIELDWOOD ENERGY, LLC
                           AND ITS AFFILIATED DEBTORS

TO THE HONORABLE MARVIN ISGUR, UNITED STATES BANKRUPTCY JUDGE:

          COME NOW XTO Offshore, Inc., HHE Energy Company, and XH LLC, and their

respective affiliates and subsidiaries (collectively, “XTO Energy”), and file this Objection (the

“Objection”) to the Joint Chapter 11 Plan of Fieldwood Energy, LLC and its Affiliated Debtors

(the “Joint Plan”) [Docket No. 722]. In support of this Objection, XTO Energy would respectfully

show the Court as follows:

                                        I.       Summary Statement

          1.     Despite the Debtors’ obligation to pay hundreds of millions of dollars in P&A

Obligations (defined below), their Joint Plan seeks to abandon more than 185 offshore oil and

gas properties and, with them, the Debtors’ obligation to pay the P&A Obligations relating to

such properties. However, the law is clear that the Debtors cannot abandon contaminated

estate property, including oil and gas properties subject to substantial P&A Obligations, in

violation of state and federal environmental regulations aimed at protecting the health and




1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778); Fieldwood
Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489); Fieldwood SD Offshore
LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf LLC (8107); Bandon Oil and
Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston Bay Pipeline
LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary mailing address is 2000 W. Sam
Houston Parkway S., Suite 1200, Houston, TX 77042.



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safety of the public. Environmental laws requiring the decommissioning of offshore oil and gas

properties are aimed at protecting the public’s health and safety. Thus, the Debtors cannot

simply abandon oil and gas properties and thereby avoid their substantial P&A Obligations.

       2.      Moreover, under well-established authority, the Debtors’ P&A Obligations

constitute administrative expenses of their bankruptcy estates under section 503(b)(1)(A) of the

Bankruptcy Code. Consequently, because the Joint Plan does not adequately provide for the

payment of all administrative expenses, including the costs to perform all P&A Obligations

associated with the properties to be abandoned, the Joint Plan cannot be confirmed because it

does not satisfy section 1129(a)(9)(A) of the Bankruptcy Code and is not feasible under section

1129(a)(11). Finally, the Joint Plan contains improper third-party releases.

                                 II.     Jurisdiction and Venue

       3.      This Court has jurisdiction to hear and determine this Objection under 28 U.S.C.

§ 1334. This is a core proceeding under 28 U.S.C. § 157, and this Court may enter a final order

on this Objection consistent with Article III of the United States Constitution.

       4.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       5.      The bases for the relief requested herein are 11 U.S.C. §§ 1128(b) and 1129;

Rule 3020(b) of the Federal Rules of Bankruptcy Procedure; Rule 9013-1 of the Bankruptcy

Local Rules for the Southern District of Texas, and the Procedures for Complex Chapter 11 in

the Cases Southern District of Texas.

       6.      The Court has constitutional authority to enter a final order in this matter. If it is

determined that the bankruptcy judge does not have the constitutional authority to enter a final

order or judgment in this matter, then XTO Energy consents to the entry of a final order or

judgment by this Court in this matter.

               III.    Background Information relating to XTO Energy Leases

       7.      On or about July 29, 2011, XTO Offshore, Inc., HHE Energy Company, and XH,

LLC, as sellers, entered into a Purchase and Sale Agreement (“PSA”) with Dynamic Offshore


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Resources, LLC (“Dynamic Offshore”), as buyer. A copy of the PSA is attached hereto as

Exhibit A. The PSA, which collectively defines the sellers as “XTO Energy,” provided for the

sale by XTO Energy of XTO Energy’s interests in certain oil and gas leasehold estates and

other interests (collectively, the “Leases”) to Dynamic Offshore.

       8.      On or about August 1, 2011, a separate Assignment and Bill of Sale was

executed by each of XTO Offshore, Inc., HHE Energy Company, and XH, LLC in favor of

Dynamic Offshore, pursuant to which XTO Energy sold, assigned, and conveyed the Leases to

Dynamic Offshore. A copy of each Assignment and Bill of Sale from XTO Offshore, Inc., HHE

Energy Company, and XH, LLC to Dynamic Offshore are attached as Exhibit B, Exhibit C and

Exhibit D, respectively.

       9.      According to the chapter 11 petition filed in Case No 20-22950, Fieldwood

Energy Offshore, LLC (“Fieldwood Offshore”), which is included among the Debtors in this

jointly administered case, is a successor in interest to Dynamic Offshore. Consequently,

Dynamic Offshore is referred to hereinafter as Fieldwood Offshore.

       10.     Pursuant to section 9.08 of the PSA, Fieldwood Offshore agreed to perform all

plugging, abandoning and remediation obligations (collectively, the “P&A Obligations”) relating

to the Leases. Specifically, section 9.08 of the PSA requires Fieldwood Offshore to “perform or

assure that performance is accomplished properly and in accordance with applicable law and

the Related Agreements, all obligations to abandon, restore, and remediate the Interests and

Properties, whether arising before or after the Effective Time, including obligations, as

applicable to the Interests and Properties.” See Ex. A, p. 27, § 9.08.

       11.     In addition, section 16.03 of the PSA requires Fieldwood Offshore to “indemnify,

defend, and hold XTO Energy and its Associated Parties harmless from each Claim and Liability

relating to the Interests, Property or this Transaction, regardless of when or how the Claim or

Liability arose or arises or whether the Claim or Liability is foreseeable or unforeseeable.” See

Ex. A, p. 35, § 16.03. Finally, section 16.04(b)(8) of the PSA provides that Fieldwood Offshore’s


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duty to defend, indemnify and hold XTO Energy harmless includes any claims or liabilities

arising from “obligations to plug and abandon Wells and remediate the Interests and Property.”

See Ex. A, p. 36, § 16.04(b)(8).

       12.     Thus, pursuant to the PSA, Fieldwood Offshore agreed to perform all P&A

Obligations relating to the Leases. Notwithstanding these obligations, the Debtors’ Joint Plan

seeks to abandon certain oil and gas properties, which include the Leases, along with the

Debtors’ duty to perform all P&A Obligations associated with such properties.

       13.     On November 24, 2020, XTO Energy filed Proof of Claim No. 5 seeking

liquidated damages in the amount of $11.9 million, along with unliquidated damages for any

P&A Obligations incurred by XTO Energy relating to the Leases.

                        IV.        Plan Provisions relating to the Leases

       14.     On January 1, 2021, the Debtors filed their Joint Plan, along with a Disclosure

Statement for Joint Chapter 11 Plan of Fieldwood Energy, LLC and its Affiliated Debtors (the

“Disclosure Statement”) [Docket No. 723]. Exhibit “F” to the Plan reflects in excess of 180

offshore leases which the Debtors intend to abandon. This includes the Leases transferred

from XTO Energy to Fieldwood Offshore.

       15.     Section 5.08 of the Joint Plan provides as follows:




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See Plan [Docket No. 722], pp. 38-39, § 5.12 (emphasis added).

       16.     As the foregoing highlighted language of section 5.12 of the Joint Plan makes

clear, the Debtors seek to abandon approximately 185 properties, including the Leases, along

with their liability for “any obligations whatsoever arising from or relating to the post-Effective

Date period with regards to the Abandoned Properties.” In other words, although Fieldwood

Offshore agreed to perform all P&A Obligations associated with the Leases, the Debtors are

now seeking to abandon the Leases and their obligation to perform such obligations through the

Joint Plan. In addition to these contractual obligations, Debtors are obligated under applicable

laws and regulations to perform these P&A Obligations as a part of the decommissioning of the

Abandoned Properties.

       17.     In addition to seeking to abandon their environmental responsibilities pertaining

to the Abandoned Properties, including their P&A Obligations relating to the Leases, the

Debtors are also attempting to transfer such P&A Obligations to prior owners in the chain of title.

Indeed, the Debtors’ Disclosure Statement acknowledges that the Debtors are jointly and

severally liable for any P&A liability to the United States government along with prior owners of

the Abandoned Properties. Stated differently, the U.S. government can look to the Debtors’

predecessors in interest to either perform the P&A Obligations or pay any P&A liability relating

to the Abandoned Properties.

       18.     Specifically, section III(B)(1)(c) of the Disclosure Statement, provides:




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See Disclosure Statement [Docket No. 723], p. 17, § III(B)(1)(c) (emphasis added); see also,

e.g., 30 C.F.R. §§ 250.146 and 250.1700-1754; Noble Energy, Inc. v. Salazar, 671 F.3d 1241,

1242-44 (D.C. Cir. 2012) (discussing the Outer Continental Shelf Lands Act, 43 U.S.C. § 1331,

et seq., and specifying the applicable regulations requiring the plugging, abandoning and

decommissioning of OCS leases, which accrue the moment an entity drills a well or becomes a

lessee, are discharged only when satisfied, and expressly survive termination, transfer or

assignment of a lease). In other words, although the PSA provides that Fieldwood Offshore

would be responsible for all P&A Obligations relating the Leases, federal regulations provide

that prior owners in the chain of title nevertheless remain responsible to the U.S. government for

any P&A Obligations associated with properties for which they are in the chain of title. Id.

However, primary responsibility for the P&A Obligations rests with the Debtors.

        19.      The P&A Obligations the Debtors are seeking to avoid relating to the Abandoned

Properties, and thereby transfer to prior owners in the chain of title, are substantial and believed

to exceed hundreds of millions (if not billions) of dollars. Although the Debtors’ Disclosure

Statement provides that the Debtors possess $494 million in surety bonds relating to the

Abandoned Properties (see Disclosure Statement, p. 17, § III(B)(1)(c)), the total amount of

estimated P&A Obligations relating to the Abandoned Properties (and a breakdown of the surety

bonds among such Abandoned Properties) is not disclosed. On information and belief, the

amount of P&A Obligations relating to the Abandoned Properties will greatly exceed the amount

of the Debtors’ surety bonds. For example, with respect to the XTO Energy Leases, which

constitute only a fraction of the total Abandoned Properties,2 XTO Energy has received surety

bonds in the amount of approximately $33 million and has already incurred more than $11

million in P&A liability, leaving only approximately $22 million under the surety bonds. However,

the total P&A Obligations for the Leases included among the Abandoned Properties is believed


2 The number of XTO Leases included among the Abandoned Properties is not entirely clear from the schedules to

the Disclosure Statement but appear to constitute approximately 20 of the 185 total Abandoned Properties.


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to be hundreds of millions of dollars. Thus, although the Disclosure Statement does not provide

a breakdown of the surety bonds as compared to the estimated P&A Obligations for each of the

Abandoned Properties, it appears the Debtors’ existing surety bonds will be woefully inadequate

to satisfy their P&A Obligations relating to the Abandoned Properties. The Joint Plan does not

provide for the payment of any P&A Obligations for the Abandoned Properties that exceed the

amount of the surety bonds. Instead, the Debtors apparently expect predecessors in the chain

of title of the Abandoned Properties (including XTO Energy) to bear these substantial costs.

       20.     The Debtors’ Join Plan ignores the fact that, under longstanding authority, they

cannot simply abandon properties under sections 105(a) and 554(a) of the Bankruptcy Code in

violation of state and federal environmental regulations aimed at protecting the health and

safety of the public and thereby avoid hundreds of millions of dollars in P&A Obligations.

Moreover, the P&A Obligations pertaining to the Abandoned Properties, including the Leases,

constitute administrative expenses of their bankruptcy estates under section 503(b)(1)(A) of the

Bankruptcy Code. Consequently, because the Debtors’ Joint Plan does not adequately provide

for the payment of all administrative expenses, including the costs associated with performing

the P&A Obligations for the Abandoned Properties, the Joint Plan cannot be confirmed because

it does not satisfy section 1129(a)(9)(A) and is not feasible under section 1129(a)(11) of the

Bankruptcy Code.

       21.     Finally, the Joint Plan also contains broad release provisions, which include third-

party releases of any claims against the “Apache PSA Parties.” Specifically, the Joint Plan

defines the “Released Parties” as follows:




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See Joint Plan [Docket No. 722], § 1.1, pp. 16-17 (emphasis added).

       22.     The “Apache PSA Parties,” which are included among the “Released Parties,”

include Apache Corporation, Apache Shelf, Inc., Apache Deepwater, LLC, and Apache Shelf

Exploration LLC. See Joint Plan [Docket No. 722], § 1.1, p. 2.

       23.     The “Releasing Parties” are defined in the Joint Plan as follows:




See Joint Plan [Docket No. 722], § 1.1, p. 17. Although the definition of “Releasing Parties”

references the ability of the holders of claims against the Debtors to “opt out” of granting the

releases set forth in the Joint Plan, the process for opting out of the releases is not described in

the Joint Plan and the “Opt-Out Form” to be provided to parties entitled to vote on the Joint Plan

as described in the Disclosure Statement is not among the exhibits attached thereto.

       24.     The “Releases by Holders of Claims or Interests” is provided in section

10.7(b) of the Joint Plan, and provides for the release of any claims against the Released

Parties relating in any manner to the transactions giving rise to any claim treated in the Joint

Plan. Specifically, section 10.7(b) provides, in pertinent part, as follows:




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               THE RELEASED PARTIES WILL BE DEEMED CONCLUSIVELY,
               ABSOLUTELY, UNCONDITIONALLY, IRREVOCABLY, AND
               FOREVER RELEASED AND DISCHARGED, TO THE MAXIMUM
               EXTENT PERMITTED BY LAW, AS SUCH LAW MAY BE
               EXTENDED SUBSEQUENT TO THE EFFECTIVE DATE BY THE
               RELEASING PARTIES, FROM ANY AND ALL CLAIMS AND
               CAUSES OF ACTION WHATSOEVER … BASED ON OR
               RELATING TO, OR IN ANY MANNER ARISING FROM, IN
               WHOLE OR IN PART … THE SUBJECT MATTER OF, OR THE
               TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR
               INTEREST THAT IS TREATED IN THE PLAN, THE BUSINESS
               OR CONTRACTUAL ARRANGEMENTS OR INTERACTIONS
               BETWEEN ANY DEBTOR AND ANY RELEASED PARTY … IN
               ALL CASES BASED UPON ANY ACT OR OMISSION,
               TRANSACTION,    AGREEMENT,    EVENT,    OR   OTHER
               OCCURRENCES TAKING PLACE ON OR BEFORE THE
               EFFECTIVE DATE.

See Joint Plan [Docket No. 722], § 10.7(b), pp. 62-63 (emphasis added). In other words, the

Joint Plan seeks to release all claims against the Apache PSA Parties by any party holding a

claim against the Debtors arising from or relating to any claim that is treated in the Joint Plan

based on any act, transaction, agreement or other occurrence taking place on or before the

effective date of the Joint Plan.

       25.     The Apache PSA Parties are in the chain of title on certain of the Abandoned

Properties. As is discussed in greater detail below, because the Apache PSA Parties are in the

chain of title of certain of the Abandoned Properties, they are responsible for P&A Obligations

relating to those properties. The broad release of the Apache PSA Parties in the Joint Plan

would have the effect of releasing all claims against the Apache PSA Parties pertaining to the

Abandoned Properties, including claims for contribution for P&A Obligations. The Joint Plan

cannot release the claims of third parties against the Apache PSA Parties relating to the

Abandoned Properties, including any claims against the Apache PSA Parties by XTO Energy

pertaining to the Leases. At present, the “Opt-Out Forms” are not provided and XTO Energy

cannot evaluate the extent the “Opt-Out Forms” would preserve its claims against the Apache

PSA Parties. As a result, XTO Energy expressly objects to the inclusion of the Apache PSA




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Parties among the “Released Parties” and the inclusion of XTO Energy among the “Releasing

Parties” under Article VIII of the Joint Plan.

                                V.      Arguments and Authorities

A.      Standard of Review

        26.    The Debtors bear the burden of establishing that the Joint Plan complies with all

of the elements of section 1129. In re Cypresswood Land Partners, I, 409 B.R. 396, 422

(Bankr. S.D. Tex. 2009) (“The Debtor, as the proponent of the [plan], has the burden of proving

that all elements of 11 U.S.C. § 1129(a) are satisfied.”).

        27.    Section 1129 of the Bankruptcy Code sets forth the requirements for confirming a

chapter 11 plan of reorganization. 11 U.S.C. § 1129. The proponent of the plan must show, by

a preponderance of the evidence, that each of the applicable requirements is met. Heartland

Fed. Sav. & Loan Ass’n v. Briscoe Enters. (In re Briscoe Enters.), 994 F.2d 1160, 1165 (5th Cir.

1993); In re Sandridge Energy, Inc., No. 16-32488 (DRJ), 2016 Bankr. LEXIS 4622 at *34

(Bankr. S.D. Tex. Sep. 20, 2016). The burden of persuasion rests with the plan proponent.

Briscoe, 994 F.2d at 1165; In re Nuvira Hosp., Inc., No. 15-80432-G3-11, 2016 Bankr. LEXIS

4033 at *8 (Bankr. S.D. Tex. Nov. 21, 2016).

        28.    As proponents of the Joint Plan, the Debtors must bear the burden of showing

that the prerequisites to confirmation are satisfied. For the reasons described below, the

Debtors cannot carry their burden.

B.      Objections to Confirmation

        1.     The Debtors Cannot Abandon their P&A Obligations relating to the
               Abandoned Properties in Violation of Applicable State and Federal Law

        29.    In the Disclosure Statement, the Debtors assert that the “Abandoned Properties

are burdensome to the Debtors’ estates.” See Disclosure Statement [Docket No. 723], p. 35,

VI(C). As a result, the Debtors seek to abandon such properties under section 105(a) and

554(a) of the Bankruptcy Code. The Debtors’ Disclosure Statement does not articulate the



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basis for their determination that the Abandoned Properties are burdensome or provide the total

estimated costs to perform the P&A Obligations associated with the Abandoned Properties.

However, as discussed above, XTO Energy believes the Debtors are seeking to abandon the

Abandoned Properties, including the Leases, because such properties are subject to hundreds

of millions (if not billions) of dollars in plugging, abandoning and decommissioning costs.

       30.     Although section 554(a) of the Bankruptcy Code generally permits debtors to

abandon property that is either burdensome or of inconsequential value to the estate, a debtor

is not immune from state and federal laws of general applicability and “cannot abandon

contaminated estate property if state health or safety law prohibits such abandonment.” In re

American Coastal Energy, 399 B.R. 805, 810 (Bankr. S.D. Tex. 2009) (Isgur, J.). Indeed, more

than thirty years ago, in Midlantic Nat’l Bank v. N.J. Dept. of Envtl. Prot., 474 U.S. 494, 106 S.

Ct. 755, 88 L. Ed. 2d 859 (1986), the Supreme Court determined that section 554(a) does not

preempt all state and local laws and, therefore, “the Bankruptcy Court does not have the power

to authorize an abandonment without formulating conditions that will adequately protect the

public’s health and safety.” Midlantic, 474 U.S. at 506-07. Consequently, the Court held that “a

trustee may not abandon property in contravention of a state statute or regulation that is

reasonably designed to protect the public health or safety from identified hazards.” Id. at 507.

       31.     In this case, the Debtors presently own and operate deep water and shallow

water offshore oil and gas properties located in the Gulf of Mexico. The oil and gas properties

sought to be abandoned by the Debtors are believed to be subject to hundreds of millions of

dollars in P&A Obligations. Moreover, the applicable federal and state environmental statutes

and regulations requiring the plugging, abandoning and decommissioning of the Debtors’

offshore oil and gas properties are reasonably designed to protect the public health or safety

from imminent and identifiable harm. E.g., American Coastal Energy, 399 B.R. at 813 (“the

applicable provisions of the Texas Natural Resources Code [requiring the plugging and

remediation of wells] are reasonably designed to protect the public health and safety.”). As a


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result, the Count cannot permit the Debtors to abandon the Abandoned Properties without

formulating conditions that will adequately protect the public’s health and safety.

       32.     The Debtors’ Joint Plan does not provide for payment of the costs associated

with performing the P&A Obligations pertaining to the Abandoned Properties, including the

Leases. Although the Disclosure Statement provides that the Debtors have obtained $494

million in surety bonds pertaining to the Abandoned Properties (See Disclosure Statement, p.

17, § III(B)(1)(c)), the Disclosure Statement does not provide the total estimated costs

associated with performing the P&A Obligations on the Abandoned Properties. As a result,

there is no way for the Court or parties in interest to know if the amount of the surety bonds will

be adequate to satisfy the Debtors’ total P&A Obligations. Likewise, the Disclosure Statement

does not specify to which Abandoned Properties the surety bonds apply. As a result, there is no

way for XTO Energy to determine whether the Debtors’ surety bonds will be sufficient to satisfy

the P&A Obligations associated with the abandoned Leases. As discussed above, however,

XTO Energy believes the Debtors’ surety bonds will not be sufficient to pay for the hundreds of

millions (if not billions) in P&A Obligations relating to the Abandoned Properties. Consequently,

unless the Debtors can demonstrate that the $494 million in existing surety bonds is sufficient to

cover all of the P&A Obligations for the Abandoned Properties, or the Joint Plan is modified to

provide for the performance of all such P&A Obligations by the Debtors, it cannot be confirmed

in contravention of state and federal environmental regulations requiring the plugging,

abandoning and decommissioning of the Abandoned Properties, including the Leases.

       2.      The Debtors’ Environmental Liabilities Constitute Administrative Expenses
               under Section 503(b)(1)(A)

       33.     Section 503(b)(1)(A) defines an “administrative expense” to include “the actual,

necessary costs and expenses of preserving the estate.” 11 U.S.C. § 503(b)(1)(A). “The Fifth

Circuit has held that post-petition plugging and abandonment obligations are generally entitled

to administrative priority.” American Coastal Energy, 309 B.R. at 808 (citing Tex. v. Lowe (In re



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H.L.S. Energy Co., Inc.), 1551 F.3d 434, 437 (5th Cir. 1998)). Consequently, the Debtors’ post-

petition P&A Obligations constitute administrative expenses. Id.

       34.     In addition, even if the Debtors’ P&A Obligations arise from prepetition conduct or

leases, they are nevertheless entitled to administrative expense priority under section

503(b)(1)(A). Indeed, in American Coastal, this Court found that post-petition expenditures

required to remedy prepetition environmental liabilities constitute administrative expenses under

section 503(b)(1)(A). American Coastal, 309 B.R. at 817. The Court explained its rationale as

follows:

               Because the debtor-in-possession is required to operate the
               estate in accordance with state law, post-petition expenditures
               necessary to bring the estate into compliance with the law are
               necessary for the debtor's rehabilitation. The need to bring the
               estate into compliance with state environmental and safety laws is
               no less significant than the need to maintain commercial relations
               with trade-creditors that provide the raw materials of the debtor's
               business. A debtor cannot operate an estate in violation of
               environmental and safety laws.

Id. at 816. As a result, because “expenditures for remedying violations of environmental

and safety laws are necessary to preserve the estate, regardless of whether liability for

the state law violation first occurred before or after the filing of a bankruptcy petition,” the

Court held that a claim for plugging costs was entitled to administrative priority. Id. at 816-17

(emphasis added).

       35.     In a subsequent opinion, In re ATP Oil & Gas Corp., No. 12-36187, 2014 Bankr.

LEXIS 1050 (Bankr. S.D. Tex. March 18, 2014), the Court again interpreted Midlantic as placing

a duty upon the debtor to make the properties safe for abandonment under state law and

concluded that expenditures for remedying violations of applicable environmental and safety

laws were necessary to preserve the estate regardless of whether the liability for violation of the

environmental laws first occurred before or after the filing of the bankruptcy petition. Id. at *21.

The Court further found that “a debtor’s obligation to expend funds to bring the estate into

compliance with a state health and safety law does not change just because another entity has


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the same obligation.” Id. As a result, the Court found that a claim for post-petition “safe out”

work on a production platform was entitled to administrative priority.

        36.     Consequently, under Midlantic, Coastal America, and ATP Oil & Gas Co., all

costs associated with the Debtors’ P&A Obligations constitute administrative expenses entitled

to administrative priority under section 503(b)(1)(A) regardless of the fact that such obligations

may arise from prepetition contracts and/or other parties may be jointly and severally liable to

the U.S. government for such P&A Obligations.

        3.      The Plan Does Not Satisfy Section 1129(a)(1)(A) or 1129(a)(11) of the
                Bankruptcy Code Because It Does Not Provide for the Payment of the
                Debtors’ P&A Obligations as Administrative Expenses

        37.     A chapter 11 plan must provide for the payment in full of all administrative

expenses on the effective date of the plan, unless the holders of such administrative expenses

agree to a different treatment. 11 U.S.C. § 1129(a)(9)(A); In re American Coastal Energy, 309

B.R. at 808. Section 2.1 of the Debtors’ Joint Plan provides for the payment in full of all allowed

administrative expenses on the later of (i) the effective date of the Joint Plan or (ii) the first

business day that is thirty (30) days after the administrative claim becomes an allowed

administrative claim. See Joint Plan [Docket No. 722], section 2.1, pp. 21-22. Moreover,

section 5.12 of the Joint Plan provides that “Nothing in this Plan or the Confirmation Order shall

be construed as barring, waiving, or limiting the United States’ rights to assert a claim against

the Debtors, the Post-Effective Date Debtors or any co-lessees or predecessors in interest with

respect to the Abandoned Properties for any decommissioning obligations for the Abandoned

Properties.” See Joint Plan [Docket No. 722], section 5.12, pp. 38-39.

        38.     As an initial matter, although section 5.12 purports to preserve the United States’

“rights to assert a claim” against the Debtors or Post-Effective Date Debtors (and all co-lessees

and predecessors in interest) with respect to the Abandoned Properties, such preservation is

illusory because the immediately preceding sentence provides that “the Debtors, their Estates,

and the Post-Effective Date Debtors shall not be liable for any obligations whatsoever arising


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from or relating to the post-Effective Date period with regards to the Abandoned Properties.” In

other words, although the United States’ ability to “assert a claim” against the Debtors and Post-

Effective Date Debtors for their P&A Obligations relating to the Abandoned Properties is

purportedly preserved, the United States’ ability to recover from the Debtors or Post-Effective

Date Debtors on any such claim for P&A Obligations is precluded by the immediately preceding

sentence in section 5.12 of the Joint Plan. As a result, this provision of the Joint Plan preserves

nothing in relation to the Debtors and Post-Effective Date Debtors, and instead only preserves

the United States’ ability to pursue claims for the P&A Obligations against the Debtors’ co-

lessees and predecessors in interest. Indeed, in order for the purported carve-out for the United

States’ ability to assert a claim against the Debtors or Post-Effective Date Debtors for P&A

Obligations to be meaningful, the Joint Plan must provide that nothing in the Joint Plan or

Confirmation Order shall impair the Debtors’ or the Post-Effective Date Debtors’ liability to the

United States for the Debtors’ P&A Obligations relating to the Abandoned Properties.

       39.     Moreover, pursuant to the Court’s Order (i) Establishing Deadline to File Proofs

of Claim, and (ii) Approving Form and Manner of Notice Thereof [Docket No. 466], the deadline

for governmental agencies to file a proof of claim does not expire until February 1, 2021 at 5:00

p.m. Although the estimated costs for the Debtors’ P&A Obligations is not set forth in the

Disclosure Statement, XTO Energy believes the cost to perform such P&A Obligations will be

hundreds of millions of dollars. At the time of filing of this Objection, neither the United States

nor any other state or local governmental entity has filed a proof of claim reflecting an estimate

of the Debtors’ P&A Obligations relating to the Abandoned Properties. Likewise, the Debtors

have not yet filed any of their financial documents supporting the Joint Plan with their Disclosure

Statement, including their liquidation analysis (Exhibit A to Disclosure Statement), valuation

analysis (Exhibit B to Disclosure Statement), or Financial Projections (Exhibit C to Disclosure

Statement). As a result, there is no way for the Court or parties in interest to know whether the

Debtors and Post-Effective Date Debtors will be able to pay the Debtors’ P&A Obligations


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relating to the Abandoned Properties as an administrative expense either on the effective date

of the Joint Plan or within 30 days of such administrative expenses being allowed by the Court.

        40.     Unless the Joint Plan is amended to preserve the Debtors’ and the Post-Effective

Date Debtors’ liability to the United States (or any other governmental entity) for the P&A

Obligations relating to the Abandoned Properties, and the Debtors’ financial projections in

support of the Plan clearly demonstrate the Debtors’ or Post-Effective Date Debtors’ ability to

satisfy the hundreds of millions of dollars owed by the Debtors for P&A Obligations for the

Abandoned Properties as administrative expenses, the Joint Plan fails to satisfy section

1129(a)(9)(A) of the Bankruptcy Code and cannot be confirmed. The Joint Plan also would not

be feasible under section 1129(a)(11) of the Bankruptcy Code because it fails to demonstrate

that confirmation “is not likely to be followed by liquidation, or the need for further financial

reorganization, of the debtor or any successor to the debtor under the plan.” 11 U.S.C. §

1129(a)(11). Consequently, unless the Joint Plan is amended to clearly provide for the payment

of all of the Debtors’ P&A Obligations relating to the Abandoned Properties as administrative

expenses, and the Debtors’ financial projections demonstrate the Debtors’ and Post-Effective

Date Debtors’ ability to pay such P&A Obligations, the Joint Plan cannot be confirmed.

        4. The Joint Plan includes Improper Third Party Releases

        41.     The Fifth Circuit has expressly held that section 524(e) prohibits non-debtor

discharges or non-consensual third-party releases under a plan. See Feld v. Zale Corp. (In re

Zale Corp.), 62 F.3d 746, 761 (5th Cir. 1995) (“[B]ecause the permanent injunction as entered

improperly discharged a potential debt of CIGNA, a nondebtor, the bankruptcy court exceeded

its powers under § 105.”); see also Highland Capital Mgmt. LP v. Chesapeake Energy Corp. (In

re Seven Seas Petroleum, Inc.), 522 F.3d 575, 590 (5th Cir. 2008) (holding that section 524(e)

prohibits non-debtor discharges and finding that a plan may not release third-party claims

against a non-debtor).




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       42.     An exception exists for statutory committees, their members, and their

professionals, who may be released only to the extent of their qualified immunity from negligent

acts or omissions, during the pendency of a chapter 11 case, that fall within the scope of their

section 1103(c) duties. See In re Bigler LP, 442 B.R. 537, 546 (Bankr. S.D. Tex. 2010); and In

re Pilgrim’s Pride Corp., Case No. 08-45664, 2010 Bankr. LEXIS 72, at *13 (Bankr. N.D. Tex.

2010) (“[C]ommittees and their members are entitled to qualified immunity for any acts or

omissions during a chapter 11 case that were within the scope of their duties.”).

       43.     Based on this principle, courts in the Fifth Circuit have consistently stricken

provisions that extend non-consensual releases to parties other than debtors, reorganized

debtors, statutory committees, statutory committee members, and statutory committee

professionals. See In re Pac. Lumber Co., 584 F.3d at 252-53 (striking non-debtor releases,

including releases of the debtors’ officers and directors, except with respect to creditors’

committee and members); Dropbox, Inc. v. Thru, Inc. (In re Thru, Inc.), Case No. 17-1958, 2018

U.S. Dist. LEXIS 179769, at *61-69 (N.D. Tex. Oct. 19, 2018) (reversing bankruptcy court’s

approval of injunction and exculpation provisions that released non-debtor third parties, such as

the debtor’s parent company, officers, and directors”).

       44.     As described above, the release provisions in section 10.7(b) of the Joint Plan

would release the claims of any party against the Apache PSA Parties for P&A Obligations

relating to the Abandoned Properties, including any claims by XTO Energy against the Apache

PSA Parties for P&A Obligations relating to the Leases. Although the Joint Plan and Disclosure

Statement reference the ability for the holder of claims against the Debtors to “opt out” of the

releases, the “Opt-Out Forms” are not provided and XTO Energy cannot evaluate the extent the

“Opt-Out Forms” would preserve its claims against the Apache PSA Parties. Consequently, as

described on page 11 of the Disclosure Statement, by this Objection, XTO Energy hereby opts

out of the releases contained in Article VIII of the Joint Plan and expressly objects to (i) the




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inclusion of the Apache PSA Parties among the “Released Parties,” and (ii) the inclusion of XTO

Energy as a “Releasing Party” under the provisions contained in Article VIII of the Joint Plan.

                                        VI.      Reservation of Rights

         45.      This Objection is submitted without prejudice to, and with a full express

reservation of, the rights of XTO Energy to supplement and amend this Objection and to

introduce evidence at any hearing relating to this Objection, and to further object to the Joint

Plan on any and all grounds. Moreover, XTO Energy reserves its right to invoke each issue,

fact, legal basis, and matter identified in the Objection as a basis for denying confirmation of the

Joint Plan pursuant to any applicable provision of the Bankruptcy Code, regardless of the

particular subsection of this Objection in which the issue is raised.

DATED: January 12, 2021                                    Respectfully Submitted,

                                                           /s/ J. Robert Forshey
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                                                           ATTORNEYS FOR XTO OFFSHORE, INC., HHE
                                                           ENERGY COMPANY, AND XH LLC

                                         CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing objection has been served
upon all parties receiving electronic notice via the Court's CM/ECF system on January 12, 2021.

                                                           /s/ J. Robert Forshey
                                                           J. Robert Forshey

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                    PURCHASE AND SALE AGREEMENT


                                 BETWEEN


                           XTO OFFSHORE      INC.,


                         HHE ENERGY      COMPANY,


                                  XH, LLC,


                                    AND


                  DYNAMIC OFFSHORE RESOURCES, LLC

                             EFFECTIVE    TIME:


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EXHIBIT C. FORM OF ASSIGNMENT AND BILL OF SALE                                   C -1

EXHIBIT D. PROPERTY     SALES ACCOUNTING AGREEMENT                               D -1

EXHIBIT   E.   GAS -PRODUCTION -IMBALANCE ACCOUNTS                               E -1

EXHIBIT F. ENVIRONMENTAL       ASSESSMENT    AND TESTING
CONFIDENTIALITY,     RELEASE AND INDEMNIFICATION AGREEMENT                       F -1

EXHIBIT G. INTENTIONALLY LEFT BLANK                                              G- 1

EXHIBIT H. GEOLOGICAL REQUIREMENTS                                               H -1

EXHIBIT I. TRANSITION SERVICES AGREEMENT                                         I -1

EXHIBIT J. PENDING LITIGATION                                                    J -1

EXHIBIT K. PERFORMANCE BOND                                                      K-1




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                                PURCHASE            AND SALE AGREEMENT


        This Purchase     and    Sale Agreement ( " Agreement ") is executed between XTO Offshore

Inc. and HHE Energy Company, each a Delaware corporation, and XH, LLC, a Delaware limited
liability company, all with an address of 810 Houston Street, Fort Worth, Texas 76102 -6298
 XTO     Energy"),   as   seller( s),    and Dynamic Offshore Resources,                 LLC, a Delaware limited
liability company     with     an   address    of   1301    McKinney,         Suite 900,     Houston,    Texas 77010
  Buyer "), as buyer, ( collectively, the " Parties ") as of the Execution Date. Sellers are hereinafter

sometimes referred to as " XTO Energy" for convenience and simplicity; the abbreviation is not
intended to override the corporate separateness of these separate legal entities.


        Buyer desires to purchase certain Interests ( as defined hereafter) from XTO Energy, and
XTO Energy desires to sell such Interests to Buyer, subject to the terms and conditions of this
Agreement.    It is the Parties' intent that Buyer will assume the responsibility and all liability for
all matters relating to the Interests assigned, whether related to events occurring before, on or
after closing this transaction, except to the limited extent provided in this Agreement.

        In consideration of their mutual promises under this Agreement, the benefits to be
derived by each Party, and other good and valuable consideration, Buyer and XTO Energy agree
as follows:


                                         ARTICLE 1. DEFINITIONS


        The following terms, when used in this Agreement, will have the following definitions:

        1. 01.   Ad Valorem Taxes.         Defined in Section 10. 01.


        1. 02.   Additional Instruments.
                                      The instruments executed by Buyer before Closing and
delivered to XTO Energy in connection with this transaction, including Buyer' s investigation of
and bid for the Interests.

        1. 03.   Affiliate.    In relation to a Person, any Person controlled by, controlling or under
common control with, such Person.


        1. 04.   Allocation.        The amount allocated by Buyer to each individual part of the
Interests.


        1. 05.   Associated     Parties.      Successors,       assigns,   directors,   officers,   employees,   agents,
contractors, subcontractors, and Affiliates.


        1. 06.   Base Purchase Price.         The amount set forth in Section 3. 01.


        1. 07.   Business      Day. Any day that the headquarters offices of XTO Energy, in Fort
Worth, Texas, are scheduled         to be and are open for business.


        1. 08.   Claim    or   Claims.
                                  Collectively, claims, demands, causes of action, and lawsuits
asserted or filed by any Person; a local, state, or federal governmental entity; a Person holding




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rights under any Related Agreement; an Associated Party of Buyer or XTO Energy; or a third
party.

         1. 09.   Closing. The delivery of the conveyancing instruments and funds by the Parties
to close the purchase and sale of the Interests.


         1. 10.   Closing Date. The date on which Closing is scheduled to and does occur.

         1. 11.   Closing Settlement Statement. Defined in Section 8. 04( c).

         1. 12.   Code. The Internal Revenue Code of 1986, as amended.


         1. 13.   Condition. Defined in Section 18. 02.

         1. 14.   Effective Time.     7 a.m. local time where the Interests are located, on August 1,
2011.


         1. 15. Environmental Laws. Applicable federal, state, and local laws, including statutes,
regulations, orders and ordinances, previously or currently enacted or enacted in the future, and
common law, relating to protection of public health, welfare, and the environment, including
those laws relating to storage, handling, and use of chemicals and other hazardous materials;
those relating to the generation, processing, treatment, storage, transport, disposal, cleanup,
remediation, or other management of waste materials or hazardous substances of any kind; and
those relating to the protection      of
                                           environmentally   sensitive   or protected   areas. "   Environmental

Laws" includes the Comprehensive Environmental Response, Compensation and Liability Act of
1980, the Resource Conservation and Recovery Act of 1976, the Clean Water Act, the Safe
Drinking Water Act, the Hazardous Materials Transportation Act, the Toxic Substance Control
Act, and the Clean Air Act, as each is amended from time to time.

         1. 16.   Execution   Date.        The date on which        the last of the Parties         executes   this
Agreement.


         1. 17.   XTO   Energy -operated.        The interests and facilities of which XTO Energy is
Operator.


         1. 18.   Final Settlement    Statement.   Defined in Article 21.


         1. 19.   Interest or Interests. XTO Energy' s interest in the oil and gas leasehold estates or
other interests   set forth on Exhibit A and Exhibit A -1, together with XTO Energy' s interest in the
following:

                   a)    each Well located on the leases, units and land described on Exhibit A and
                         Exhibit A -1, including, without limitation, the wells described on Exhibit
                         A -2, which includes       wells drilled from the leases conveyed pursuant to
                         this Agreement that cross or bottomhole on leases not conveyed under this
                         Agreement;




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                 b)     the easements, permits, licenses, surface and subsurface leases, rights -of-
                        way, servitudes, and other surface and subsurface rights affecting the land
                        and leases described on Exhibit A and Exhibit A -1, including those set
                        forth on Exhibit B, Exhibit B -1 and Exhibit B -2;


                 c)
                        material, equipment, facilities, and platforms, including but not limited to
                        the platforms set forth on Exhibit B -3, in and on the land and used solely
                        in connection with the use or operation of the leasehold estates and other
                        interests described on Exhibit A and Exhibit A -1 for oil or gas purposes;

                 d)     the facilities and pipelines located pursuant to the rights described in ( b)
                        above and used solely to market and/ or process the production from the
                        Interests; and


                 e)
                        contracts to which the Interests are subject, including but not limited to
                        agreements    for    sale   or   purchase   of   oil,   gas,   and other hydrocarbons,
                        processing agreements, division orders, unit agreements, and operating
                        agreements, including those set forth on Exhibit A -1.

        Any references to XTO Energy Accounting Codes are for XTO Energy use only and are
not a part of the description of the Interests.


        The following are specifically excluded from the Interests:

                 f)     reservations, exceptions and exclusions listed in Exhibits A and B;


                 g)     pipelines, fixtures, equipment, and interests owned by third parties such as
                        lessors, purchasers, or transporters of Oil or gas;

                 h)     computer          equipment (
                                                       including    Rosemont        transmitters),

                        telecommunications equipment, vehicles, boats, tools, pulling machines,
                        and other equipment and material temporarily located on the Property or
                        expressly excluded from the sale;

                 i)     items specifically excluded in written information or correspondence
                        provided to Buyer before the Execution Date;


                j)      any gas processing plant not listed on Exhibit A and Exhibit A -1;

                 k)     personal property, fixtures, equipment, pipelines, facilities, and buildings
                        located on the Property, but currently in use in connection with the
                        ownership or operation of other property not included in the Interests;

                 1)     Unless otherwise described on Exhibit A, if XTO Energy is a party to a
                        joint operating      agreement       that affects   an Interest, this Agreement     is
                        limited as to that Interest to the depths subject to the joint operating
                        agreement ( e. g.,   total depth, total depth plus 100 feet, base of formation




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                          penetrated
                                      by initial test well), but excludes depths previously conveyed
                          and all depths not subject to a joint operating agreement; and

                          If XTO Energy owns unleased mineral interests purportedly within the
                          Interests,     those       mineral     interests        are      not   included in the term " Interests"
                          and will not be conveyed                  to Buyer.


                          XTO Energy and its Affiliates reserve and exclude from this Agreement
                          all rights under that certain Lease Purchase Agreement                                             dated effective
                          January 22, 2002              by    and   between           EEX Corporation ( "EEX ") and Aviara

                          Energy        Corporation ( " Aviara "),                    as    amended          April      1,   2005,      by and
                          between        Newfield            Exploration          Gulf        Coast,       Inc.   and Hunt Petroleum
                           AEC), Inc., as such agreements                             pertain     to all depths          from     17, 000 feet

                          down to 100, 000 feet subsea and expressly reserve and exclude from this
                          Agreement            the    five    percent       of    eight - eights (         5%     of   8 /8ths)    overriding
                          royalty interest reserved by Aviara in that certain Assignment of Operating
                          Rights dated effective January 22, 2002 by and between Aviara and EEX.

                 o)       Responsibility and liability for the proper payment of royalties to any
                          governmental entity with respect to production attributable to the Interests
                          prior    to     the     Effective         Time         in     the      event      prior      payments         to    such

                          governmental entity were improperly calculated.

        1. 20.   Liability or Liabilities.              Collectively, all damages of every nature, including,
without limitation,     consequential          and punitive         damages           and damages           for or related to personal

injury, death, or damage to personal or real property ( both surface and subsurface) and costs for
remediation, restoration, or clean up of contamination, whether the injury, death, or damage
occurred or occurs on or off the Property by migration, disposal, or otherwise; losses; fines;
penalties, expenses; costs to remove or modify facilities on or under the Property; plugging
liabilities for all Wells; attorneys' fees; court and other costs incurred in defending a Claim;
liens; and judgments; in each instance, whether these damages and other costs are foreseeable or
unforeseeable.




        1. 21.   Material Difference.            Defined in Section 20. 02.


        1. 22.   NORM. Naturally occurring radioactive material.

        1. 23.   Occurrence.      Defined in Section 18. 03( g).

        1. 24.   Oil.      Crude        oil,     distillate,        drip     gasoline,           condensate,           and      other        liquid
hydrocarbons.


        1. 25.   Operator.     The Person recognized                       as operator           of   an   Interest by the         applicable


regulatory agency.

        1. 26.   Performance      Deposit.           Defined in Section 3. 03.




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         1. 27.      Person. Any individual, firm, corporation, partnership, limited liability company,
joint   venture,      association,         trust,    unincorporated     organization,    government     or   agency   or
subdivision thereof, or any other entity.

         1. 28.      Property or Properties.             The real property in which and on which the Interests
exist or are located, whether in whole or in part.


         1. 29.      Property Sales Accounting Agreement. An agreement substantially in the form of
Exhibit D.


         1. 30.      Intentionally Left Blank.

         1. 31.      Related Agreements. Defined in Section 7. 02.

         1. 32.      Strict Liability. Includes strict statutory liability and strict products liability.

         1. 33.      Title Defect. Defined in Section 6. 01.

         1. 34.      Well   or    Wells.     All wellbores, both abandoned and unabandoned, including oil
wells, gas wells, injection wells, disposal wells, and water wells.

                                     ARTICLE 2. PURCHASE                    AND SALE


         Pursuant to Buyer' s offer, XTO Energy agrees to sell the Interests to Buyer, and Buyer
agrees to buy the Interests from XTO Energy, for the consideration recited in and subject to the
terms of this Agreement.


                                           ARTICLE 3. PURCHASE                PRICE


         3. 01.      Base Purchase          Price.     The Base Purchase      Price is $ 182, 500, 000. 00, subject to
adjustment only as provided in this Agreement.

         3. 02.      Additional Considerations.              As additional consideration to this Agreement:


                     a)
                             XTO Energy reserves the Overriding Royalty Interest as defined and
                             further described in Article 4 herein; and

                     b)      Buyer agrees to provide the information                described   on the attached Exhibit
                             H for any New Wells ( as defined in Article 4).

         3. 03.      Performance       Deposit         and   Payment.    As evidence of good faith, Buyer has
deposited     with     XTO        Energy     a      performance   deposit   of $   18, 250, 000. 00 ( the " Performance
Deposit ").  The Performance Deposit will be credited to the Base Purchase Price at Closing, will
not bear interest, and is not refundable except as provided in this Agreement. If Closing does not
occur as to any Interest, and this Agreement provides that the Performance Deposit allocable on
a pro rata basis to that Interest is to be refunded for any reason, XTO Energy will deduct any
amounts due to it under this Agreement and remit the remainder of the Performance Deposit to
Buyer,   without      interest.     The Performance Deposit is an earnest money deposit or liquidated



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damages, and forfeiture of the Performance Deposit as provided in this Agreement will be in lieu
of any other rights and remedies XTO Energy may have under law or in equity, if Closing does
not occur due to Buyer' s failure to perform as provided in this Agreement.

          3. 04.    Allocation      of    Base Purchase Price.           XTO Energy has delivered to Buyer an
allocation form, which Buyer executed and returned to XTO Energy prior to the execution of this
Agreement, reflecting an Allocation of the Base Purchase Price to each individual part of the
Interests listed on the form ( including an Allocation for non -investment account balances such as
gas - production - imbalance           accounts    and,   as required      for compliance        with   applicable   law, for
equipment      or   other    items).     Buyer will make reasonable Allocations, in good faith, and XTO
Energy may rely on the Allocations                 for all purposes.     The Allocations will be used ( a) to notify
holders   of preferential      rights    of   Buyer' s offer; (   b) to collect taxes, to the extent required by law
and   as provided     in Article 10; ( c) as a basis for adjustments to the Base Purchase Price; and ( d)

as otherwise provided in this Agreement. XTO Energy, solely at its discretion, may rely on these
allocations and reserves the right to review the Allocation.


                            ARTICLE 4. RESERVED                   OVERRIDING             ROYALTY


          4. 01.    ReservedOverriding Royalty. XTO Energy shall reserve from the leasehold
interest applicable to each of the oil and gas leases described on Exhibit A ( collectively, the
  Leases ", individually a " Lease "), an overriding royalty interest equal to five percent of eight -
eighths ( 5%  of 8 /8ths) as to production from any New Wells, as defined hereafter ( " Overriding
Royalty Interest "). " New Wells ", for the purposes of this Article 4, is defined as any wells
drilled on the Leases from and after the Closing Date, together with any sidetrack or deepening
after the Closing Date of an existing well on the Leases, to the extent and only to the extent that
said sidetrack bottom hole is located 1, 000 feet or greater from the bottom hole location of such
existing well; provided, however, such 1, 000 foot restriction does not apply to the sidetracks
identified    in that     certain   Letter between        XTO     Energy    and    Buyer, dated     July 29, 2011.        New

Wells shall not include any recompletions, workovers, or mechanical bypasses of an existing
well. The Overriding Royalty Interest shall be paid and/ or delivered by Buyer to XTO Energy in
accordance with the following terms and conditions:

                     a)
                              On oil, delivery of such oil shall be made free of all costs and expenses in
                              developing and operating the Interests, free of all costs of production and
                              unencumbered in any way to XTO Energy' s credit into the pipelines or
                              tanks      to   which   the   applicable      well     may be
                                                                                    or   wells               connected,    or

                               otherwise      as   XTO    Energy may from time to time direct.                 Should XTO
                              Energy elect not to take its overriding royalty on oil in kind, then XTO
                              Energy' s part of such oil shall be paid based upon the same market value
                              as received by Buyer with respect to its Interests pursuant to an arm' s
                              length contract with a third party purchaser of such oil at the applicable
                              well or wells, free of all costs and expenses in of developing and operating
                              the Interests, free of all costs of production and unencumbered in any way.

                     b)       On all gas, including casinghead gas or other gaseous substances and
                              liquid constituents of said gas, produced from and sold ( on or off the
                              Interests)      or used off the Interests, or for the extraction          of gasoline or other




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                                   products therefrom, the overriding royalty shall be based upon the same
                                   market value as received by Buyer with respect to its Interests pursuant to
                                   an arm' s length contract with a third party purchaser at the well or wells of
                                   gas so produced, sold or utilized, free of all costs of developing and
                                   operating the Interests, free of all costs of production.

         Payment by Buyer of the Overriding Royalty Interest must be made from the Closing
Date   and   at     all   times thereafter    on    the basis    of one    hundred    percent (   100 %) of the New Well' s
production (        proportionately       reduced     as    hereafter   provided),     and such payment must be made
regardless of (a) whether Buyer is or is not banking or storing gas, whether pursuant to the
provisions of an agreement    so permitting, or otherwise; (  b) whether Buyer is or is not selling all
or any part of its share of the total production; and ( c) the identity of the purchaser or purchasers
of such gas if Buyer should    be selling all or any part of the total gas produced.   The Overriding
Royalty Interest shall be delivered to XTO Energy free of all cost and expense of developing and
operating the Leases and free and clear of all taxes except gross production, severance taxes, and
ad valorem taxes applicable thereto; provided that, the Overriding Royalty Interest will be
subject to and bear a proportionate                 share of all reasonable        costs and expenses of a non -affiliated

third party incurred for the transportation, compression, dehydration and treating of the said gas
and    condensate         in the    preparation for marketing of such production.   Such payments shall be
made    on   or     before the sixtieth (    60th) day following the month of the production. If payment is
not made within             the time prescribed,           the unpaid     amount     will bear interest   at the rate of one
percent (    1 %)     for each month or fraction of a month, by which payment is delayed, or the
maximum lawful rate, whichever is less. Buyer agrees to send all division orders covering the
Overriding Royalty Interest retained to XTO Energy at the address shown in Article 23 of the
Purchase and Sale Agreement.


       If the Leases cover less than a full interest in the land covered thereby or if the interest
assigned hereunder in said Leases is less than a full interest, then the Overriding Royalty Interest
herein reserved shall be reduced in the proportion that the interest assigned to Buyer herein bears
to the full interest           in the land        covered    or bears to the full interest         in the Leases   assigned

hereunder; provided, however, that the overriding royalties herein reserved are exclusive of and
in addition to any royalties, overriding royalties or payments out of production affecting the
Leases as of the Effective Time. It is expressly agreed that operations, if any, on the Leases and
the extension and duration thereof, as well as the preservation of the Leases by rental payments
or otherwise, shall be solely at the will and discretion of Buyer or any successor owner of the
working interest in the Leases. The Overriding Royalty Interest hereby reserved is subject to the
rights conferred on the lessees ( now Buyer) by said Leases to pool or unitize the lands covered
thereby; and neither the joinder nor consent by XTO Energy shall be required in connection with
any such pooling or unitization. Where oil and/ or gas is produced from any unit so formed, XTO
Energy shall receive on production from such unit only such portion of the overriding royalty
stipulated herein, as the amount of surface acreage of the land affected by such overriding
royalty and placed in said unit bears to the total surface acreage included in the unit, unless some
other formula for appointment of production is adopted for the unit and in such case the formula
shall be used.


        XTO Energy upon notice in writing to Buyer, shall have the right to audit Buyer' s
accounts and records relating to the Overriding Royalty Interest reserved herein and any other


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records related to the determination of the amounts due XTO Energy for any calendar year
within the twenty -four ( 24) month period following the end of such calendar year.

         The Overriding Royalty Interest is expressly subject to the terms and provisions of any of
the Related Agreements,            to the extent and only to the extent that such terms and provisions
contractually apply to and prohibit the establishment of an overriding royalty interest affecting
any of the Leases. If pursuant to the terms of any Related Agreement all or a portion of Buyer' s
interest in a Lease, or all or a portion of its interest in the production therefrom, is forfeited or
assigned to one or more other working interest owners, either permanently or for a stipulated
period, because Buyer fails to participate in any operation or operations, then to the extent that
such forfeited or assigned interest is subject to and burdened by the Overriding Royalty Interest,
the working interest so assigned or forfeited by Buyer shall be free and clear of such Overriding
Royalty Interest for the period of such forfeiture or assignment of overriding royalty interests.
The Overriding Royalty Interest will become effective again when the interest is reassigned or
reverts back to Buyer, and Buyer shall pay such Overriding Royalty Interest as provided in this
Section 4. 01. Further, to the extent any Related Agreement establishes security rights in favor of

the parties thereto, the Overriding Royalty Interest conveyed herein shall be subordinated to such
security rights.


         It is understood and agreed that the Overriding Royalty Interests reserved herein, will be
a   permanent      burden     on   the   Leases     subject   to   the   provisions    of   this   Section 4.01,   and   will

continue in effect as to each Lease for so long as each Lease remains in effect. In addition in the
event Buyer secures a renewal or extension for any such Leases, covering all or any part of the
land previously covered thereby, then the interests reserved herein will apply to such renewed or
extended    Lease.        A " renewal"    or "   extension"    of a Lease as those terms are used therein shall

mean any Lease or Leases covering all or a part of the land covered by the Leases that is
executed by Buyer within twelve ( 12) months after termination of any Lease, or the next ensuing
Federal or state lease sale pertaining to all or any part of the land previously covered by a Lease,
whichever may come first.

       Notwithstanding anything to the contrary set forth in this Agreement, the Overriding
Royalty Interest shall not apply to any production attributable to Block 188, Ship Shoal Area,
OCS Leasing Map, Louisiana Map No. 5, INSOFAR AND ONLY INSOFAR AS to those depths
from 17, 000 feet subsea down to 100, 000 feet subsea, currently affected by that certain federal
offshore lease bearing serial number OCS -G 22712, dated May 1, 2001, granted by the United
States of America, as Lessor, in favor of Aviara Energy Corporation, as Lessee, that being the
same interest referenced in Section 1. 19( n).

                                         ARTICLE 5. BUYER' S REVIEW

         5. 01.    Buyer' s Review         before     Signing this Agreement.               XTO Energy gathered data
relating to the Interests and the Properties for Buyer' s review before Buyer submitted a bid and
signed this Agreement. Buyer must notify XTO Energy in writing if it wishes to review files or
data in addition to those provided, but XTO Energy' s obligation to provide additional files or
data is limited      to    files and data    that    are   reasonably     available    to it.      XTO   ENERGY    HAS NO
OBLIGATION        TO PROVIDE         ACCESS       TO, AND BUYER          WAIVES       ALL CLAIMS      TO INSPECT,    XTO
ENERGY' S         INTERPRETIVE,          PREDICTIVE,          CONFIDENTIAL,           PRIVATE,       PROPRIETARY,        OR




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PRIVILEGED             INFORMATION (        INCLUDING       PERSONNEL              RECORDS),      OR     INFORMATION    WHOSE

DISSEMINATION IS RESTRICTED BY AGREEMENTS BETWEEN XTO ENERGY AND THIRD PARTIES.
XTO Energy has no obligation to provide any information to Buyer that is available to the
general public, whether in the public records or from a governmental entity or agency on request.

        By entering into this Agreement, Buyer acknowledges and represents that it has reviewed
the Interests and Property to its satisfaction to enable it to make its bid and execute this
Agreement and that it may request adjustments to the Allocations and the Base Purchase Price
after    the      Execution Date only for Title Defects,                     Conditions,       and Material     Differences,   as

provided in this Agreement. Buyer has undertaken all appropriate inquiry, to its satisfaction, and
has made an informed decision to acquire the Interests on the basis of its own investigations and
without reliance on statements or investigations by any other Person, including XTO Energy and
its Associated         Parties.


              5. 02.    Access to XTO
                               Energy- Operated Interests. Buyer had the opportunity to inspect
and inventory the XTO Energy -operated Interests and Property before signing this Agreement.
On Buyer' s request, XTO Energy will provide additional access to the XTO Energy- operated
Interests and Property and associated facilities, at any reasonable time before Closing.

              All visits to the premises and facilities by Buyer and on Buyer' s behalf will be scheduled
by mutual consent of the Parties, subject to Buyer' s providing XTO Energy at least five (5) days
written       notice   of   the locations   that it wishes    to   visit     and   the proposed
                                                                                      XTO Energy may   times.

accompany Buyer and its Associated Parties during their site visits. Entry onto the XTO Energy-
operated Interests, Property, and facilities will be subject to third -party restrictions, if any, and to
XTO Energy' s safety, industrial hygiene, and drug and alcohol requirements and at Buyer' s sole
risk    and    expense.




        XTO Energy shall cooperate and grant to Buyer' s independent accounting firm, Hein &
Associates LLP, access to XTO Energy' s financial and accounting information directly relating
to the Interests as needed for the preparation of certain financial statements that may be required
of Buyer pursuant to the rules and regulations                          of the Securities        and Exchange Commission
  SEC ")         including     SEC   Regulation      S -X    and    Rule       3 - 05.   Such access shall be limited to
information from September 1, 2008 through August 31, 2011 that exists in XTO Energy' s
offices, as may reasonably be required to prepare audited financial statements reflecting gross
revenues         and   direct lease operating     expenses     related        to the Interests.        Buyer will provide XTO
Energy a description of the sample financial and accounting information necessary to conduct
said review prior to
                     Closing. XTO Energy will cooperate with Buyer' s independent accounting
firm to complete the actions contemplated in this paragraph by Closing, or as soon thereafter as
is reasonably practical;           however,    the   completion         of
                                                                           delay Closing. It is
                                                                             these   actions   shall    not


understood that such review will only be required to be carried out one time, unless otherwise
required under the security laws. Furthermore, unless otherwise agreed by XTO Energy, the
accounting firm shall not disclose information to Buyer that is proprietary to XTO Energy or its
Associated Parties, including gas and liquids sales prices.

              5. 03.   Environmental        Assessment.
                                        Buyer and its Associated Parties may inspect the
premises and conduct an environmental assessment of the Interests and Property, including
investigations to identify wetlands and sensitive and protected habitats, but Buyer must execute


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the form of environmental testing and confidentiality agreement attached as Exhibit F before
performing        an assessment.      If Buyer undertakes        an environmental    assessment, both the Buyer' s
consultant ( if consultants are employed) and the scope of the proposed assessment, including
testingprotocols,  must be approved   in writing by XTO Energy before the work mar begin. If

Buyer and XTO Energy cannot agree on Buyer' s proposed environmental assessment plan, then
XTO Energy may, at its sole option, withdraw from this Agreement any of the Interests that
Buyer proposes to assess or all the Interests, and the Base Purchase Price will be adjusted by the
Allocation for        each      withdrawn   Interest.    If XTO Energy withdraws           all the Interests,   this
Agreement will terminate, and XTO Energy will refund the Performance Deposit to Buyer.

           If Buyer takes samples from the Property, XTO Energy may require splitting of each
sample.        Buyer will deliver copies of all draft and final reports, results, data, and analyses of the
site visits, inspections, and assessments to XTO Energy within five (5) days of Buyer' s receipt of
them,     at   Buyer' s cost.     XTO Energy will have no confidentiality obligation with regard to this
information and may disclose it to third parties or use it for any purpose.

           5. 04.    Access to Interests Operated         by Others.      On request, XTO Energy will assist
Buyer by making initial contact with the Operators of the Interests that are operated by others,
but Buyer will be responsible for contacting each Operator to arrange for review of the Interests.
XTO Energy will provide Buyer with access to XTO Energy file information relating to the
Interests operated by others, to the extent described in Section 5. 01.

           5. 05.    Material, Facilities, Platforms, and Equipment.          By signing this Agreement, Buyer
acknowledges that it has had the opportunity to inspect and inventory the material, facilities,
platforms, and equipment and is satisfied with them. There will be no adjustment on the basis of
material, facilities, platforms, and equipment, whether for XTO Energy -operated Interests or
Interests operated by others.    Material, facilities, platforms, and equipment observed during
Buyer' s inspection may be used or replaced before Closing as a result of normal and customary
operations.




           5. 06.    No    Warranty of Accuracy;        Disclaimer.     XTO ENERGY MAKES NO WARRANTY,
AND EXPRESSLY           DISCLAIMS      ALL WARRANTIES,       AS TO THE ACCURACY           OR COMPLETENESS        OF

THE FILES AND OTHER                INFORMATION        THAT IT MAY PROVIDE           TO BUYER   OR THAT MAY BE
PROVIDED               If Buyer determines during its review that any XTO Energy files or
                 BY OTHERS.

data may be incomplete or inaccurate, it will either notify XTO Energy of its conclusions in
writing not later than five ( 5) days before the Closing Date or be deemed to have waived
complaints as to the incompleteness or inaccuracy of the files or data.

           5. 07.
              Buyer' s Confidentiality Obligations. Buyer will keep confidential all information
concerning the Interests, except to the extent that information ( a) was public knowledge when
Buyer      received       the   information; (   b)   becomes public knowledge without breach of this
Agreement         by Buyer; ( c) was known to Buyer before receipt or discovery of the information in
connection with its review of the Interests, from a source that was authorized to disclose the
information to third parties; or (d) is required by applicable law or court order to be disclosed. If
information is required to be disclosed by law or court order, Buyer will make every reasonable
effort to give XTO Energy notice of the requirement as far in advance of the disclosure as
possible.        Buyer may not use the information for any purpose other than evaluation of the



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Interests and may not divulge the information to any Person except those who need to know it in
order    to    evaluate   the    Interests   for Buyer       under      this   Agreement.        Buyer     will   enforce    this

confidentiality obligation as to all Persons with whom it shares the information and is liable to
XTO Energy for a breach of this obligation by any Person to whom Buyer has disclosed the
information.   If this transaction does not close by the Closing Date, Buyer will return to XTO
Energy all information concerning the Interests that it obtained from XTO Energy, destroy all of
its    work     papers    and    analyses    that    incorporate       the     information,     and   be   subject   to     these

confidentiality      obligations      for five      years   after    the   Execution    Date.     Buyer' s confidentiality
obligation will not, however, survive Closing.

                                 ARTICLE 6. TITLE AND TITLE DEFECTS


          6. 01.    Title Defect. "     Title Defect" means any one of the following:

                     a)
                                XTO Energy' s title at the Effective Time as to all or any part of the
                                Interests is subject to an outstanding mortgage, deed of trust, lien, or other
                                monetary encumbrance                or adverse claim not listed or referenced                 on
                                Exhibit A and Exhibit A -1 that would induce a purchaser to suspend
                                payment of proceeds for the Interest or require the furnishing of security
                                or
                                   indemnity. Evidence that XTO Energy receives its full share of
                                proceeds from a purchaser or third -party Operator attributable to an
                                Interest creates a rebuttable presumption              that no Title Defect exists with
                                respect to the Interest;


                     b)         XTO Energy' s net revenue interest for an Interest at the Effective Time is
                                less than that shown on Exhibit A -2, or XTO Energy' s working interest
                                for an Interest at the Effective Time is greater than shown on Exhibit A -2

                                without a corresponding increase in the net revenue interest for such
                                Interest;


                     c)
                                XTO Energy' s interest would be reduced if a third party were to exercise a
                                reversionary, back -in, or other similar right not listed or referenced on
                                Exhibit A -2; or


                     d)         XTO Energy is in material default under some material provision of a
                                lease, farmout agreement, or other agreement, resulting in loss of all or
                                any part of the Interests.

              Title Defect"     does not include ( a) a lien or encumbrance in the form of a judgment
secured by a supersedeas bond or other security approved by the court issuing the order; or ( b)
the loss of lease acreage between the Effective Time or the Execution Date ( whichever is earlier)
and the Closing Date, because the lease term expires.

       Buyer must notify XTO Energy in writing promptly if Buyer determines that XTO
Energy' s net revenue interest or working interest for an Interest is greater than that shown on
Exhibit A -2.




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   6. 02.   Adjustments to Allocations.


            a)     Buyer may request an adjustment to an Allocation at any time on or before
                   the 5th day before the Closing Date, if the adjustment is based on a Title
                   Defect.   XTO Energy may request an adjustment to the Base Purchase
                   Price based on an Allocation at any time before the Closing Date, if XTO
                   Energy' s net revenue interest for the Interest is greater than that shown on
                   Exhibit A -2. A notice requesting an adjustment must be timely and in

                   writing    and      include      appropriate      documentation   to     substantiate    the

                   adjustment, or the claimant will be deemed to have waived its claim to
                   adjust the Base Purchase Price based on an Allocation              for the matter stated
                   in the notice.


            b)     If either Party gives notice under the previous Section, the Parties will
                   meet and use their best efforts to agree on the validity of the claim and, if
                   applicable, the amount of the adjustment, using the following criteria:

                    1)       If the claim is based on XTO Energy' s owning a different net
                             revenue     interest     than   that    shown   on   Exhibit    A -2,   then   the

                             adjustment will be the absolute value of the number determined by
                             the following formula:

                             Adjustment =        A x ( 1- [ B /C])


                             A =                 Allocation for the affected Interest


                             B=                  correct net revenue interest for the affected Interest


                             C=                  net revenue interest for the affected Interest as
                                                 shown on Exhibit A -2.


                    2)       If the claim is based on an obligation or burden that is liquidated             in

                             amount, then the adjustment will be the sum necessary to remove
                             the obligation or burden from the affected Interest.


                    3)       If the claim is based on an obligation or burden that is not
                             liquidated, but can be estimated with reasonable certainty, the
                             adjustment will be the sum necessary to compensate Buyer on the
                             Closing Date for the adverse economic effect on the affected
                             Interest.


            c)     If the amount of the adjustment for each Title Defect cannot be determined
                   based on the above criteria, and if the Parties cannot otherwise agree on
                   the amount of an adjustment by the Closing Date, XTO Energy may, at its
                   sole option and upon written notice to Buyer, either:


                    1)       terminate this Agreement and refund the Performance Deposit;




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                           2)             remove the affected Interest from this Agreement and adjust the
                                          Base Purchase Price by the Allocation for that Interest;

                              3)          elect to cure the     Title Defect pursuant               to Section 6. 02( e);      or




                           4)             elect to resolve the dispute pursuant to the provisions of Article 17.


                   d)     The Base Purchase Price will be adjusted only if the sum ( i.e. offsetting of
                          increases           and     decreases)        of all adjustments             under    this   Section 6. 02 is
                          greater than $ 250, 000. 00.               If the sum of all adjustments                would result in the
                          Base Purchase Price being reduced  by                            more    than ten percent (         10 %), XTO

                          Energy may, upon written notice to Buyer, either:

                              1)          terminate this Agreement and refund the Performance Deposit; or


                              2)          remove the affected Interest from the Agreement and adjust the
                                          Base Purchase Price by the Allocation for that Interest.

                   e)
                          XTO Energy may, at its sole option, notify Buyer before the Closing Date
                          that it elects         to   cure    some      or   all   of   the Title Defects.       No adjustment will

                          be made at Closing for the Title Defects that XTO Energy elects to cure.
                          If any Title Defect is not cured within ninety ( 90) days after Closing, an
                          adjustment to the Base Purchase Price will be calculated and made under
                          the criteria set forth in this Section 6. 02, and subject to the limitations
                          contained in Section 6. 02( d).


        6. 03.     Description and Other Errors.


                   a)     If       either    Party determines,               either     before    or   within    one (   1)    year   after


                          Closing that:

                           i)             certain Interests were erroneously included in or excluded from the
                                          Agreement or the conveyancing instruments; or

                           ii)            certain     gas - production             imbalance       accounts       were
                                                                                                                              erroneously
                                          included in or erroneously excluded from this Agreement,

then XTO     Energy and Buyer will meet                  and   use      their      reasonable     efforts   to resolve the      error.    If
necessary,   the    Parties        will     execute     and    record (         if    after
                                                                                              Closing)      appropriate        correction

instruments to correct the error.


                   b)     If XTO Energy and Buyer cannot resolve an error with respect to such an
                          error discovered before the Closing Date, then XTO Energy may, at its
                          sole option, either:



                           i)             with Buyer' s consent,                terminate       this Agreement         and refund        the
                                          Performance Deposit;




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                           ii)       remove      the affected      Interest    from this Agreement,           if applicable,

                                       and adjust the Base Purchase Price by the Allocation for such
                                     Interest; or


                           iii)        elect to resolve the dispute pursuant to the provisions of Article 17.

                   c)     If XTO Energy and Buyer cannot resolve such an error with respect to an
                          Interest      assigned      to Buyer     and   discovered     within   one (   1)   year   after the

                          Closing Date, then Buyer, upon written demand by XTO Energy at its sole
                          option, will reassign all or any part of the Interests assigned to Buyer
                          under this Agreement                in the same manner         as provided      in Section    9. 05,

                          and undertake all other acts reasonably required to return XTO Energy to
                          its pre -Closing position as to the reassigned Interest, including revising
                          regulatory filings.   XTO Energy will refund to Buyer the Allocation for
                          each reassigned Interest, without interest, upon Buyer' s performance                         of its
                          obligations under this Section 6. 03( c).


          Notwithstanding the foregoing, the Parties will cooperate at all times after Closing to
execute    and record    correction      instruments      to correct      scrivener' s errors    in the preparation         of

Closing documents.

          6. 04.   Restrictions   on    Use.
                                     Where any of the Interests include a fee simple interest in
real property that has been used for oil, gas, or other mineral operations, including pipeline
operations, the Buyer covenants that it will not use or develop the real property for the following
uses, in whole or in part, and the Buyer acknowledges such uses are expressly prohibited and
forbidden:


                   a)     any hotel use;

                   b)     any purpose          that   would    constitute     a "   Permitted Use" under any of the

                          residential zones, districts, or classifications set forth in any applicable
                          municipal, county /parish or state zoning laws in effect at the Effective
                          Time,


                   c)     any other residential use;

                   d)     any health care, clinic, hospital or other medical facility;

                   e)
                          any playground, recreational park, day nursery, day -care center, child care
                          center, nursing home, house of worship, or school;

                   f)     any agricultural use;


                   g)     construction or installation of any basements; or

                   h)     any water wells for irrigation or drinking purposes.




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        6. 05.     Engineering      Controls.          The    Buyer         covenants       that    any     development         or


redevelopment of the real property conveyed as Interests will, at the cost of the Buyer, adopt and
use all engineering        and related technical             assistance reasonably            available to enhance the
environmental amenity associated with the real property. Buyer acknowledges that depending
upon the nature of the Buyer' s development that engineering controls that may need to be
considered for use by the Buyer include:   vapor barriers; vapor installation systems; sealed
sumps   and      storm   pond   liners.        Necessity of engineer controls shall be determined by a
professional engineer licensed in the state with experience in the field.

        6. 06.     Covenants    Running with the Land.               The covenants contained in provisions 6. 04

and 6. 05 of this Agreement shall be covenants running with the land, shall be recorded in the real
property records, and shall be binding on Buyer and its successors and assigns.

                            ARTICLE 7. PRE- CLOSING OBLIGATIONS


        7. 01.     Preferential Rights.


                    a)     Notice.       Promptly upon execution of this Agreement, XTO Energy will
                           notify the preferential rights holders, if any, of applicable preferential
                           rights   to    purchase     the Interests.
                                                              Prior to sending such notifications, an
                           advance copy of the notice will be provided to Buyer.

                   b)      Adjustment to Base Purchase Price.                      If a third party gives notice of its
                           intent to exercise a preferential right to purchase any of the Interests, such
                           Interest      will be removed       from this transaction,          subject to ( c) below,          and

                           the Base Purchase Price will be adjusted by the Allocation for the
                           preferential right property. If Buyer has allocated a positive dollar amount
                           to the preferential right property, the Base Purchase Price will be reduced
                           by the dollar amount of the positive Allocation. If Buyer has allocated a
                           negative       dollar     amount    to    the    preferential      right      property,    the     Base

                           Purchase Price will be increased by the absolute value of the negative
                           Allocation.


                    c)     Third Party Failure to Purchase. If a third party gives notice of its intent to
                           exercise a preferential right to purchase any of the Interests, but does not
                           close the purchase for any reason either before or within a reasonable time
                           after Closing, Buyer will be obligated to acquire the preferential                                 right
                           property       under    the   terms      of   this     Agreement,       for   the   positive      dollar

                           Allocation ( or if the Allocation is a negative amount, XTO Energy will
                           refund      the   absolute    value      of the negative          amount       to Buyer,       without
                           interest).      Closing on the preferential right property will be scheduled to
                           occur      within
                                              forty -five ( 45) days after Buyer receives XTO Energy' s
                           notice     that the third      party has        not    closed.    The effective        time    for the

                           preferential        right   property      will        be the     Effective      Time      under     this
                           Agreement.




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                     d)       Waiver   of Preferential     Rights.
                                                             If a third party holding a preferential right
                              to purchase any of the Interests has not waived such right prior to the
                              Closing and the period to exercise such preferential right has not yet
                              expired by the scheduled Closing Date, Closing on such preferential right
                              property will postponed for a maximum period of five ( 5) days after the
                              preferential right period has expired without being exercised and the Base
                              Purchase Price for the unaffected Interests will be adjusted by the
                              Allocation for such preferential right property in connection with the
                              Closing with respect to the unaffected Interests. The Closing Date with
                              respect to the unaffected Interests shall not be delayed.

          7. 02.    Related Agreements.          Except as otherwise provided in this Agreement, the sale of
the Interests will be subject to all oil, gas, and mineral leases, assignments,             subleases,   farmout
agreements, unit agreements, joint operating agreements, pooling agreements, letter agreements,
easements, rights -of w
                      - ay, gathering and transportation agreements, sales agreements, and other
agreements      concerning or pertaining to the Interests ( " Related Agreements "), to the extent that
they are     binding on XTO Energy or its successors or assigns. Buyer will assume all of XTO
Energy' s obligations and liabilities under the Related Agreements as of the Effective Time,
insofar as the obligations or liabilities concern or pertain to the Interests, and the Parties will
execute      all   documents     necessary for Buyer to assume the Related Agreements.                   Buyer' s
obligation      applies to all   Related Agreements, whether recorded or not. Based on XTO               Energy' s
information and belief, after reasonable inquiry to the appropriate personnel, all material Related
Agreements pertaining to the Interests are identified on Exhibit A, Exhibit A -1, Exhibit B, and/ or
Exhibit B -1.


          7. 03.    Third Party Notifications and Approvals. The sale of the Interests may require the
approval or consent of lessors, joint interest owners, farmors, sublessors, assignors, grantors,
parties    to   agreements,      governmental
                                               having jurisdiction, or other third parties. XTO
                                                  bodies

Energy is responsible, at its sole cost, for obtaining approvals from all applicable third parties
and will furnish Buyer with a list of required third -party consents, as well as proof of each
consent, approval, or waiver obtained before the Closing Date, except with respect to approvals
from governmental     bodies that are customarily obtained    post -
                                                                     Closing. As to all such
governmental body approvals, evidence of receipt of same shall be provided by Buyer to XTO
Energy promptly upon receipt thereof as provided in Section 9. 04. XTO Energy will make
reasonable efforts to obtain waivers of maintenance -of-uniform interest provisions, if any are
necessary, from joint interest         owners.     Within five ( 5) days of its execution   of this Agreement,

XTO Energy will furnish Buyer with a listing, which based upon XTO Energy' s information and
belief, after reasonable inquiry to the appropriate personnel, will contain all such required third
party approvals, except approvals from governmental bodies that are customarily obtained post -
Closing.

                     If XTO Energy does not furnish Buyer with all third party approvals applicable to
any Interest, then XTO Energy may, at its option, elect to:

                     a)
                              delay Closing as to any or all of the Interests, with no charge to either
                              Party for the delay;



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                        b)         with Buyer' s consent, close without all third party approvals; or

                        c)         with Buyer' s consent, remove the affected Interest from this Agreement
                                   and adjust the Base Purchase Price by the Allocation for that Interest.

       If XTO Energy elects to close without all third party approvals, XTO Energy may require
Buyer to reassign the affected Interest to XTO Energy if the third party refuses to approve the
assignment after Closing. The reassignment will be in the manner described in Section 9. 05.

         7. 04.        Change of Operator. Unless otherwise provided by applicable law, regulation, or
Related Agreement, Buyer, at its sole cost, must apply for and obtain any and all regulatory
approvals and permits and satisfy requirements of financial security to operate the Interests either
that it will operate or for which it intends to stand for election as Operator,                  and deliver copies or

other evidence of compliance to XTO Energy before Closing.

         7. 05.        INTENTIONALLY                 OMITTED.


         7. 06.        Outstanding Suspensions             of   Production ( MP     112, MP    116).      OCS - G 9707,
covering Main Pass Block 112, and OCS -G 3419, covering Main Pass Block 116 ( collectively,
the "   MP     112/ 116         Properties "),      are each currently being maintained by a suspension of
production ( "         SOP ")      approved         by the Bureau of Ocean Management, Regulation and
Enforcement (" BOEM") through August 31, 2011.                           If production attributable to the MP 112/ 116

Properties is not restored on or before the Closing Date, Closing with respect to the MP 112/ 116
Properties will be scheduled to occur within five ( 5) days after Buyer receives XTO Energy' s
notice that production             attributable     to the MP 112/ 116 Properties    has been restored.    To the extent

necessary, XTO Energy will attempt to obtain from the BOEM extensions of the existing SOPs,
or attempt to obtain new SOPs, with respect to the MP 112/ 116 Properties until production
attributable      to such Properties has been restored.


                                                    ARTICLE       8. CLOSING


         8. 01.        Closing Date.         The Closing Date will be on or before August 31, 2011, unless
delayed as provided in this Agreement, at 800 Bell, Houston, Texas, or at another place that
XTO     Energy         designates.         If the Parties            Closing may be handled by exchange of
                                                                agree,

documents (       by   mail   or   by   courier).
                                                     No price adjustment will be made if Closing is delayed.

         8. 02.        Buyer' s Request/ Right to Delay Closing.Buyer may request that Closing be
delayed for up to thirty ( 30) days after the originally- scheduled Closing Date upon written notice
to XTO Energy in order for the Parties to pursue necessary third party consents or waivers of
preferential rights.
                     Buyer may elect to delay Closing for up to five ( 5) days from the Closing
Date, upon written notice to XTO Energy.

         8. 03.        XTO Energy' s Right to Delay Closing.                XTO Energy may, at its sole option and
for any reason, delay Closing for up to thirty ( 30) days after the originally- scheduled Closing
Date, upon written notice to Buyer.




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    8. 04.   Closing Obligations.

             a)     Certificates    of   Authority. XTO Energy may require Buyer to deliver, at
                    least    five ( 5)   days before the Closing Date, certificates in form and
                    substance satisfactory to XTO Energy, effective as of the Closing Date
                    and executed by Buyer' s duly authorized officer, partner, or owner, as
                    appropriate,     to the effect that:


                     1)       Buyer has all requisite corporate, partnership, or other power and
                              authority to purchase the Interests on the terms of this Agreement
                              and to perform its other obligations          under this Agreement            and has

                              fulfilled all corporate, partnership, or other prerequisites to closing
                              this transaction;    and


                     2)       each individual executing the closing documents has the authority
                              to act on behalf of Buyer.


             b)     Change      Operatorship. For XTO Energy - operated Interests, and except
                               of


                    to the extent waived by XTO Energy, Buyer will deliver to XTO Energy
                    on or before the Closing Date evidence of the following:

                     1)       that Buyer     has   complied     with the requirements             of all laws     and

                              regulations relating to the transfer of operatorship, including those
                              regarding the assumption of responsibility for the plugging and
                              abandoning of each Well that is included in the applicable Interests
                              or located on the Property;

                     2)       that the appropriate bond, surety letter, letter of credit, or other
                              financial security has been accepted by the relevant regulatory
                              agency; and


                     3)       that Buyer has, to the extent possible under applicable regulations,
                              obtained all necessary designation of operator forms required by a
                              governmental entity ( to the extent delivered by non -operator third
                              parties    to Buyer),   permits    or transfers        of permits    to   operate   the

                              applicable Interests and Property.

             c)
                    Closing     Settlement     Statement.       XTO Energy will prepare a Closing
                    Settlement      Statement ( the " Closing Settlement Statement ") in accordance

                    with the provisions of this Agreement, including items such as Base
                    Purchase  Price, adjustments to the Base Purchase    Price ( if any),
                    Performance Deposit, revenue received, costs and expenses as provided in
                    this Agreement, Ad Valorem Taxes, severance taxes, federal excise and
                    energy taxes, gas imbalance adjustments, and copying and recording fees,
                    to theextent this information is available at Closing. XTO Energy will
                    submit the Closing         Settlement       Statement      to Buyer, together with all
                    available records or data supporting the calculation of amounts presented,
                    no    later than three ( 3)    business     days   prior    to    the   Closing     Date.     The



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                Closing Settlement Statement shall be based upon actual information
                available to XTO Energy at the time of preparation and upon XTO
                Energy' s good faith estimates and assumptions. Prior to the Closing,
                Buyer shall review the Closing Settlement Statement and provide written
                notice to XTO Energy of any comments or objections in order that the
                Closing Settlement Statement can be modified, if necessary, prior to the
                Closing. If Buyer and XTO Energy agree on any changes to the Closing
                Settlement Statement, then the Closing Settlement Statement shall be
                adjusted  accordingly. If the Buyer and XTO Energy do not agree on
                proposed changes to the Closing Settlement Statement, then Buyer will
                have funds available for Closing based on the information provided for in
                the original   Closing Settlement Statement.      XTO Energy will use
                estimates in the Closing Settlement Statement to the extent that estimates
                are necessary and may correct the estimates in the Final Settlement
                Statement.


           d)   Closing Documents. The Parties, as indicated, will execute the following
                instruments to close this transaction:


                 1)        An instrument in the form of the Assignment and Bill of Sale
                           attached as Exhibit C, modified to the extent necessary to conform
                           to the terms      of   this Agreement.           As reflected on Exhibit C, Buyer
                           will execute a separate Assignment and Bill of Sale with each
                           XTO      Energy     entity.       The Assignment        and Bill of Sale will be

                           effective as of the Effective Time, be without warranty of any kind
                           e.
                                g., title, fitness,    condition),     and restate the indemnities,        releases,
                           and    waivers     contained        in this Agreement.          Exhibit A -2 to this

                           Agreement         states        XTO       Energy' s   working     and    net revenue
                           interests, to the best of XTO Energy' s knowledge and belief. The
                           Assignment and Bill of Sale will not, however, state or warrant the

                           working or net revenue interests assigned to Buyer.

                           If XTO Energy will own an interest after Closing in any Interest or
                           Property (excluding overriding royalties, but including deep rights,
                           and facilities,    equipment,         or pipelines)   or continue to own interests

                           for which XTO Energy requires access across the Interests or
                           Property in order to exercise its rights, then, in the Assignment and
                           Bill of Sale, XTO Energy will reserve concurrent interests in the
                           applicable       easements,        rights -of w
                                                                         - ay, contracts, and other rights
                           relating to the        retained      or reserved   interests. In the event XTO

                           Energy retains an overriding royalty interest or other interest in
                           production       in the Interests,        the Assignment       and Bill of Sale shall

                           also grant XTO Energy the right to audit Buyer' s records relating
                           to such retained interest and to transport, utilizing applicable
                           easements, rights -of w
                                                 - ay and pipelines comprising a portion of the
                           Interests and paying its proportionate share of any applicable third
                           party     transportation          fees,    any    production     attributable     to   the



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                          Overriding Royalty Interest that XTO Energy chooses to take -in-
                          kind.


                 2)       Letter -in- lieu -of-transfer order ( or other instrument)              to give notice
                          of this transaction        to remitters    of proceeds.


                 3)       The Property Sales Accounting Agreement, substantially in the
                          form of Exhibit D attached hereto.


                 4)       Other documents reasonably required to close this transaction and
                          implement the terms of this Agreement, including but not limited
                          to deeds, bills of sale, and the like and instruments necessary under
                          operating agreements, plans of unitization, laws, and regulations
                          affecting the Interests to transfer the Interests and related
                          obligations from XTO Energy to Buyer.

                 5)       Change - of- operator        forms    for       each   Well   that   Buyer   intends   to

                          operate after Closing. If the Operator of a Well must be elected or
                          designated         after   Closing,       the    applicable    instruments     will    be
                          executed after the election or designation, as applicable.


                 6)       The Closing Settlement Statement.

                 7)       An agreement          in the form of the Transition              Services    Agreement
                          attached as Exhibit I.


                 8)       Any documents and permits necessary or required by the Bureau of
                          Ocean   Energy Management, Regulation and Enforcement                                  to
                          convey the Interests and transfer operations to Buyer.

                 9)       The performance            bond, pursuant        to the terms set forth in Section
                          8. 04( f).


           e)   Third -Party Consents.    At Closing, XTO Energy will deliver proof of
                required third -party consents and approvals obtained unless XTO Energy,
                with Buyer' s consent, exercises             its option to close without receipt of all
                third party consents and approvals, as provided in Section 7. 03, in which
                case XTO Energy shall deliver to Buyer a notice reflecting which consents
                and/ or approvals remain outstanding.

           f)   Financial        Security.
                                      As a condition of Closing, pursuant to Section
                8. 04( d)( 9),
                           Buyer shall deliver to XTO Energy a performance bond, in a
                form substantially similar to the form attached as Exhibit K, to guarantee
                Buyer' s obligations under this Agreement, including its obligations to
                abandon, restore and remediate the Interests and Properties, providing for
                a penal sum in the amount            five million dollars ($ 35, 000, 000. 00)
                                           of thirty -

                issued   by RLI Insurance Company, or by a mutually acceptable                           financial
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                institution, as surety, and providing for terms acceptable to such surety,
                XTO Energy and Buyer.

                 1)    Within thirty ( 30) days prior to the following dates, January 1,
                                    1St                                                                                       2nd

                       2015 ( "            Redetermination          Period "),         January              1,    2018 («
                                                                                                                              3rd

                       Redetermination              Period ")       and
                                                                                January               1,         2021 ( "
                       Redetermination            Period "),every three ( 3) years thereafter
                                                                and

                        each     a " Redetermination Period "), the Parties shall arrange for a


                       mutually acceptable third party to determine the estimated costs of
                       the total remaining obligations assumed by Buyer under Section
                       9. 08 with respect to the Interests and Properties owned by Buyer.
                       Within ninety (90) days following each such redetermination of the
                       estimated costs, Buyer is required to have a fully executed bond in
                       place  issued by RLI Insurance       Company, or by a mutually
                       acceptable financial institution, as Surety, and providing terms
                       substantially similar to the form attached as Exhibit K, except that
                       said bond shall provide for a penal sum that is equal to at least:
                                                                                 1st

                       sixty     percent (    60 %)     as   regards     the           Redetermination                 Period,

                       seventy     percent (      70 %) as     regards       the 2nd Redetermination Period
                                                                                                  d
                       and  eighty percent ( 80 %) as regards                     to the     3'            Redetermination
                       Period and every Redetermination                           Period          thereafter,          of     the

                       estimated costs of the total remaining obligations of Buyer with
                       respect to the Interests and Properties owned by Buyer as so
                       redetermined.          If a new bond is not issued at such Redetermination

                       Period, Buyer will confirm in writing to XTO Energy that the
                       current performance bond is for a penal amount equal to or greater
                       than the above requirements; it being understood that the financial
                       security described in this section is not intended to cover new
                       wells,     pipelines       and/ or platforms          or equipment                  installed    on the
                       Properties         after   the   Effective       Time.          The    penal              sum    of the

                       performance bond may only be adjusted within a Redetermination
                       Period, unless XTO Energy, at its sole option, extends said time
                       period.
                               Notwithstanding the provisions set forth above, if during
                       any Redetermination Period it is determined that the estimated
                       costs of the total remaining liabilities of Buyer is less than
                        3, 000, 000. 00, then Buyer shall no longer be obligated to maintain
                       the     performance          bond      and      the     Parties       shall           execute        such


                       documentation as may be required to secure the release and
                       termination of the performance bond.


                 2)    Upon occurrence of any of the following, XTO Energy may draw
                       on the performance bond, in whole or in part, without prior notice
                       to Buyer:


                        A)        XTO Energy is required in any manner to perform
                                  obligations       under     Section        9. 08,    pursuant            to    an   order    or
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                                 directive issued by a governmental                 body or regulatory
                                 agency; or

                       B)        the insolvency of Buyer; or

                       C)        Buyer passes a resolution,            commences       proceedings   or has
                                 proceedings commenced against it (which proceedings are
                                 not   stayed   within   twenty -one ( 21) days of service thereof
                                 on Buyer) in the nature of bankruptcy or reorganization
                                 resulting from insolvency or its liquidation or for the
                                 appointment        of   a     receiver,     administrator,     trustee   in

                                 bankruptcy or liquidator or its undertakings or assets; or

                       D)        With respect to any draw that occurs under this Section,
                                 XTO Energy will provide Buyer with a courtesy copy of
                                 the notice within twenty -four ( 24) hours of the performance
                                 bond draw request.


                 3)   In the event that XTO Energy draws on any performance bond
                      pursuant to its rights to do so under any of Section 8. 04( f)(2)( B) —
                       C),    then     to   guarantee    Buyer' s P & A Obligations (           as defined
                      below) XTO Energy shall be entitled to devote the entirety of the
                      funds from such draw down to obtaining solely for its own benefit
                      its replacement financial security, of a value substantially equal to
                      the aggregate amount of all such drawn down funds, in the form of

                      a bond, insurance policy ( which bond or insurance policy names
                      XTO    Energy as its sole beneficiary), escrow account, or other
                      financial security acceptable to XTO Energy in its sole discretion,
                      the proceeds of which shall only be used for P & A Obligations ( as
                      defined below) and costs incurred by XTO Energy in obtaining,
                      maintaining and administering the replacement financial security,
                      including attorneys' fees and related transaction and financial
                      institution charges.

                 4)   XTO Energy shall return to the issuing financial institution funds
                      equal to any amounts which it may draw down in error.

                 5)   For purposes          of Section   8. 04( f) and the performance         bond, all of
                      the obligations to abandon, restore and remediate the Interests and

                      Property owned by Buyer, as contemplated by Section 9. 08, are
                      referred  to collectively as the " P & A Obligations ". For purposes of
                      this   Section 8. 04( f), Section 9. 08 and the performance       bond,
                      evidence       that a P & A Obligation has been performed               shall include
                      executed forms or other written documentation as may be required
                      by any governmental authority under applicable law to reflect
                      completion of a P &A Obligation ( including, without limitation,
                      forms      and   documentation         related   to   plugging    and   abandonment
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                                           activities, decommissioning activities, site clearance activities and
                                           pipeline    abandonment       or   removal    activities    and   completion   of

                                           remedial     activities) (   collectively,   the "   P &A    Documentation ").

                                           When Buyer presents to XTO Energy P &A Documentation
                                           evidencing that all of the P & A Obligations with respect to the
                                           Interests and Property owned by Buyer have been performed, XTO
                                           Energy shall release the performance bond on or before the date
                                           that is sixty ( 60) days from the day of receipt of such P & A

                                           Documentation.


                         g)      Payment to XTO Energy. At Closing, Buyer will pay XTO Energy the net
                                 amount shown on the Closing Settlement Statement by electronic funds
                                 transfer.  This amount is subject to further adjustment after Closing as
                                 provided  in this Agreement. Notwithstanding any other provision of this

                                 Agreement, Buyer must make payment by the specific means stated, or
                                 XTO Energy may refuse to proceed with Closing until XTO Energy, in its
                                 sole   discretion, is satisfied that it has received       full payment.      This right is

                                 in addition to all other rights and remedies XTO Energy may have under
                                 this Agreement, at law, or in equity.

                         h)      Delivery of Possession. Subject to the terms of applicable joint operating
                                 agreements, if any, the Related Agreements, and this Agreement, XTO
                                 Energy will deliver possession of the Interests to Buyer as soon as
                                 practicable after the Closing Date.

          8. 05.     Offset of Amounts Owed to XTO Energy                            Affiliates.
                                                                        Before Closing, XTO
                                                                               and


Energy may review all outstanding accounts between Buyer and XTO Energy and its Affiliates
and include any amounts due to XTO Energy or any of its Affiliates in the Closing Settlement
Statement. Buyer will pay the amounts due to XTO Energy or any of its Affiliates, if any, as a

condition of Closing.

          8. 06.     Condition Precedent.             Buyer' s performance of its obligations under this Article 8
is a condition precedent to XTO Energy' s obligation to close this transaction.

          8. 07.     Buyer' s Representation
                                        by Closing. By closing this transaction, Buyer will be
deemed to represent to XTO Energy that all of Buyer' s representations under this Agreement and
the Additional Instruments are true as of the Closing Date.

          8. 08.     Insurance.         XTO Energy will terminate all insurance that it has provided to cover
its ownership share in the Interests on the Closing Date, except to the extent that insurance is
required by or provided under a joint operating or similar agreement. If the Effective Time is
before the Closing Date, the termination will be effective retroactive to the Effective Date.
Buyer relinquishes and waives, on its behalf and on behalf of all persons subrogated to Buyer' s
rights,   all   rights    to   claim    against
                                                  any insurance    provided
                                                                               by XTO Energy.          To the extent that
XTO Energy, as Operator, may have obtained commercial insurance applicable to the Interests
that is required by or provided under a joint operating or similar agreement, then Buyer shall take




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over stewardship of such insurance policies on behalf of the non -operators, if Buyer operates the
Interests after the Closing Date.

           8. 09.
               Right to Terminate. Notwithstanding anything herein to the contrary, in the event
that Closing has not occurred on or before October 31, 2011 for reasons not within the control of
XTO Energy, XTO Energy shall have a continuing right thereafter to terminate this Agreement
by providing written notice of termination to Buyer. In the event of such termination, XTO
Energy shall refund the Performance Deposit, however, subject to Article 24.

                                   ARTICLE          9. POST - CLOSING                OBLIGATIONS


           9. 01.
               Filing and Recording. XTO Energy will decide which Party will file or record the
conveyancing             documents
                            in the appropriate  governmental records.   The recording Party will
provide either the original or photocopies of the filed or recorded document, including the
recording data, as agreed by the Parties, to the non -recording Party. Buyer will reimburse XTO
Energy for the filing, recording, and other reasonable fees that XTO Energy incurs if XTO
Energy files or records the documents.

           9. 02.        Copies.     Within sixty ( 60) days after the Closing Date, XTO Energy will deliver
to Buyer, at Buyer' s cost and request, originals, if available, if not copies, of data and records
relating to the Interests and Property as agreed by the Parties ( including, without limitation, to
the extent in XTO Energy' s possession and delivery to Buyer is not subject to a third party
restriction, all lease files, land files, well files, gas and oil sales contract files, gas processing
files,   division        order     files,   abstract,    title   opinion,     land    surveys,    cores,   logs,    geological     and


geophysical information and studies, maps, hazard surveys, engineering data, studies and reports,
production records, reservoir studies and evaluations ( insofar as same cover and exist within the
boundaries          of   the   Interests     and    Properties)       and other books, records, data, files, maps and
accounting records, in each case to the extent related to the Interests and Properties, or used, or
held for use in           connection        with   the ownership,       use, maintenance         or   operation    thereof).     In the

event XTO Energy requires copies of original files that are delivered or requested by Buyer,
Buyer  shall
               pay for the costs associated with said copies. XTO Energy is not obligated to
provide copies of any data or records that would not have been made available to Buyer under
Section 5. 01.   Buyer must advise XTO Energy before Closing which data and records that it
wants    to be delivered            or   copied.
                                                     If Buyer requests geophysical, proprietary seismic data, and
proprietary reprocessing data or derivatives and if XTO Energy is restricted from releasing the
data to Buyer, Buyer' s execution of a licensing agreement satisfactory to the third part owner of
the data will be a condition of XTO Energy' s delivering the data to Buyer. For leases subject to
the jurisdiction of the Bureau of Ocean Energy Management, Regulation and Enforcement
  BOEMRE "), XTO Energy will sign and deliver to Buyer, if required, a complete list of the
copies of data and records delivered to Buyer ( with omissions noted and explained for records
required     under       federal    regulations,        but   which    are   not   available).   Buyer will sign the list and
submit it to the BOEMRE in accordance with applicable regulations.


           If originals or the last -remaining copies of any data or records are provided to Buyer,
XTO Energy may have access to them at reasonable times and upon reasonable notice during
regular business hours for as long as any Interest is in effect after the Effective Time (or for 21
years in the case of a mineral fee or other non -leasehold interest or a longer period if required by


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law or governmental                XTO Energy may, during this period and at its expense, make
                          regulation).

copies of the    data   and   records    to a reasonable
                                        pursuant          request.   Without limiting the generality
of the two preceding sentences, for as long as any Interest is in effect after the Effective Time ( or
for 21 years in the case of a mineral fee or other non -leasehold interest or for a longer period if
required by law or governmental regulation), Buyer may not destroy or give up possession of any
original or last- remaining copy of the data or records without first offering XTO Energy the
opportunity, at XTO Energy' s expense, to obtain the original or a copy. After this period
expires, Buyer must offer to deliver the data and records ( or copies) to XTO Energy, at XTO
Energy' s expense, before giving up possession or destroying them.

        9. 03.    Further Assurances.
                                   Buyer and XTO Energy each will, from time to time after
Closing and upon reasonable request, execute, acknowledge, and deliver in proper form any
conveyance, assignment, transfer, or other instrument reasonably necessary to accomplish the
purposes of this Agreement.


        9. 04.    Post -Closing Third -Party Consents.
                                                     If XTO Energy elects to close without all
third -party consents and approvals, Buyer must proceed diligently after Closing to obtain and
promptly provide     evidence of them  to XTO Energy.       If any third party ( including any
governmental or regulatory agency) having a right to approve or reject assignment of any Interest
by XTO Energy to Buyer in order for title to transfer does not approve the assignment, or if
Buyer does not meet conditions imposed for approval of the assignment, after Buyer has made a
good faith effort to obtain the approval or permits or to satisfy the conditions, then XTO Energy
may require reassignment of those Interests for which approval or consent was not received. The
Interests and Property must be in the same condition on the reassignment date as they were on
the Closing Date, reasonable    wear and tear excepted.
                                                           Upon reassignment, XTO Energy will
refund to Buyer the Allocation for each reassigned Interest, without interest, but adjusted for
operating   expenses     and    revenue   attributable   to the   period   before   reassignment.   Buyer will be

responsible for all amounts due under contracts, including the Related Agreements, as to any
Interest that requires approval for assignment, from the Effective Time forward. This obligation
will end only if an Interest is reassigned under this Section 9. 04.

        9. 05.    Reassignment.         For reassignment of any Interest under this Agreement, Buyer will
execute and deliver to XTO Energy a reassignment by special warranty, in a form satisfactory to
XTO Energy and sufficient to place XTO Energy in the same position it occupied before the
assignment to Buyer. Buyer' s release and discharge of XTO Energy and its Associated Parties,

its covenant not to sue XTO Energy or its Associated Parties, and its obligations to indemnify,
defend, and hold XTO Energy and its Associated Parties harmless will apply to Interests that are
reassigned for the period of Buyer' s ownership, and the reassignment instrument will restate
Buyer' s obligations.


        9. 06.    Buyer' s Compliance.         Buyer will comply with all rules, regulations, statutes, and
laws applicable to Buyer' s ownership or operation of the Interests or Property and with all
Related Agreements, insofar as they concern or pertain to the Interests.

        9. 07.    Property Sales
                              Accounting Agreement. Buyer will perform all its obligations
under the Property Sales Accounting Agreement, including payment of rentals, shut -in payments,
and minimum royalties.




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          9. 08.     Plugging and Abandoning Wells; Remediation. Buyer recognizes, and will either
perform or assure that performance is accomplished properly and in accordance with applicable
law and the Related Agreements,                all obligations to abandon, restore, and remediate the Interests
and Properties, whether arising before or after the Effective Time, including obligations, as
applicable to the Interests and Properties, to:


                      a)    obtain plugging exceptions in Operator' s name for each Well with a
                            current plugging exception, or permanently plug and abandon the Well;

                      b)    plug, abandon, and if necessary, re- abandon each Well;

                      c)    remove all equipment and facilities, including flowlines, pipelines, and
                            platforms;




                      d)    close    all   pits;   and




                      e)    restore and remediate          the surface, subsurface,      and offshore sites associated

                            with the Interests or Property.

          Buyer will pay all costs and expenses associated with the obligations assumed under this
Section 9. 08.  XTO Energy may require Buyer to prove its financial ability to perform these
obligations after Closing or to provide and maintain a letter of credit, establish an escrow
account, or obtain a performance bond or other financial security in an amount, in a form, and
from an institution acceptable to XTO Energy to guarantee Buyer' s obligations under this
Section. Pursuant to Section 8. 04( d)( 9), Buyer will deliver the required financial security at

Closing.

          9. 09.     Surrender or Abandonment             of Interests.      If Buyer decides to surrender or abandon

any of the Interests after Closing, Buyer must give XTO Energy written notice of its intent at
least forty -five (45) days before surrender or abandonment if XTO Energy:

                      a)    has retained an interest in the Interests;

                      b)    has other interests for which XTO Energy requires access across the
                            Interests or Property in order to exercise its rights; or

                      c)    has     other    interests   thatby production from the Interests. XTO
                                                                are   held

                            Energy will have thirty (30) days after receipt of Buyer' s notice to notify
                            Buyer that it elects to require Buyer to reassign all or any part of the
                            Interests. Reassignment will be in the manner described in Section 9. 05.

                                                   ARTICLE       10.   TAXES


          10. 01.    Ad Valorem Taxes.              Ad valorem taxes ( including production -based ad valorem
taxes),      property taxes, and similar obligations imposed on the Interests and Property
          real


according to their value ( " Ad Valorem Taxes ") will be apportioned between XTO Energy and
Buyer as     of     the Effective Time.            Whether the Interests and Property are valued based on the
previous year' s production or any other basis, Buyer is obligated to pay the current year' s Ad



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Valorem Tax        assessment      and    all   subsequent    Ad Valorem Taxes,          subject to the following
apportionment provisions. The basis of the apportionment will be the assessment for the tax year
in which the Effective Time occurs or, if that assessment is not known, then the basis of the
apportionment      will   be the   assessment      for the previous    tax   year.   If Ad Valorem Taxes have not
been paid before Closing, Buyer will be credited for XTO Energy' s portion of the Ad Valorem
Taxes on the Closing Settlement Statement. If they have been paid before Closing, XTO Energy
will be credited for Buyer' s portion of the taxes on the Closing Settlement Statement. Buyer will
be responsible          for all Ad Valorem Taxes and interest that are applied to the Interests
retroactively after the Effective Time.

        10. 02. Production Taxes.               All taxes ( other than Ad Valorem Taxes and income taxes)
imposed on or with respect to the production of Oil, gas, or other hydrocarbons                    or minerals, or
the receipt of proceeds from their sale ( including severance, production, and excise taxes) will be
apportioned  between the Parties as of the Effective Time. XTO Energy will be responsible for

paying or withholding all taxes that have accrued before the Effective Time or as otherwise
provided in the Property Sales Accounting Agreement and for filing all statements, returns, and
documents    pertinent     to them.      Buyer will be responsible for paying or withholding all taxes that
accrue or are applied retroactively after the Effective Time or as otherwise provided in the
Property Sales Accounting Agreement; for filing all statements, returns, documents incident to
them; and for obtaining reimbursements, if any, relating to those taxes.

        10. 03. Other Taxes.             At Closing, XTO Energy will collect from Buyer and pay all
applicable state and local sales taxes, use taxes, gross receipts taxes, business license taxes, other
taxes ( except    taxes imposed     by reason of income to XTO Energy), and fees.              The taxes collected
will be based on Buyer' s Allocations, as adjusted under this Agreement. Buyer will pay all state
and local taxes, including penalty and interest, if any, assessed after the Effective Time against
either Party with respect to this transaction or, if paid by XTO Energy, Buyer will promptly
reimburse XTO Energy for amounts paid. Buyer will pay all documentary stamp taxes.

        10. 04. Tax -Deferred Exchange.   XTO Energy may elect by notice to Buyer before the
Closing Date to effect a tax -deferred exchange under Section 1031 of the Code of all or part of
the Interests. If XTO Energy so elects, Buyer will accommodate XTO Energy and will execute

escrow instructions, documents, agreements, or other instruments, as reasonably requested by
XTO Energy, to effect the exchange; provided, however, such execution(s) shall not result in any
additional cost, expense or liability to Buyer. XTO Energy may assign its rights and delegate its
duties under this Agreement to an exchange intermediary that it selects, as may be necessary to
effect a tax -deferred exchange.


  ARTICLE         11.    OIL IN STORAGE, PROCEEDS, COSTS, EXPENSES, CLAIMS, AND
                                                  DISBURSEMENTS


        11. 01.    Oil in Storage.


                    a)       All Oil in storage at the Effective Time, including working inventory,
                             belongs     to XTO     Energy.       Title to Oil in storage for both XTO Energy-
                             operated Interests and Interests operated by others will transfer to Buyer as
                             of the Effective Time.




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          b)    XTO Energy, at its sole option, may include as " Oil in storage" all Oil in
                the system downstream of the wellhead at the Effective Time, including
                Oil in stock tanks,   wash tanks,     heater treaters,   flowlines,   and pipelines.

                For XTO Energy -operated Interests, at the Effective Time XTO Energy
                will:




                 1)     at its sole option, either run or gauge the Oil in storage; and


                 2)     read and replace all gas meter charts.



                If the Effective Time is after the Execution Date, Buyer may be present for
                these operations.


           c)
                XTO Energy will use measured Oil inventories in the Closing Settlement
                Statement, if available or, if not available, then estimated Oil inventories.
                The estimates will be based on the average month -end inventories of the
                three most recent calendar months prior to the Effective Time. If there is a
                difference between the value of the estimated Oil in storage and the value
                of inventories run or gauged at the Effective Time, XTO Energy may
                include the difference     in the Final Settlement   Statement.


          d)    Oil inventories will be credited to XTO Energy in the Closing Settlement
                Statement. The assessed value of the Oil in storage will be priced, at XTO
                Energy' s option, at either:

                 1)     XTO Energy' s posted price at the Effective Time for Oil of like
                        grade and gravity in the field where the relevant Interest is located;

                 2)     if there is no XTO Energy- posted price for the field, then the
                        average of the two highest prices, as determined by XTO Energy,
                        posted by other purchasing companies in the field or locality where
                        the Interest is located, for Oil of like grade and gravity, in effect at
                        the Effective Time;


                 3)     the applicable posted price, with appropriate gravity adjustments;
                        or




                 4)     the price received for the Oil from the purchaser ( or an estimate of
                        the price) or the price paid shall be a mutually agreeable negotiated
                        price, with transportation charges deducted, where applicable.


          e)
                For Interests operated by others, XTO Energy will include in the Closing
                Settlement Statement the quantity of Oil in storage at the Effective Time
                as represented by the Operator or as obtained from information filed with
                the applicable regulatory agency. The value of Oil in storage for Interests
                operated by others will be determined on the same basis as that used to
                determine the value   of   Oil inventories   for XTO Energy -operated     Interests.
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         11. 02. Proceeds, Costs, and Expenses.

                      a)          Except as otherwise              provided       in this Agreement            and without prejudice       to

                                  the provisions of the Property Sales Accounting Agreement:

                                      1)     XTO       Energy          reserves           all     rights       to    proceeds,     receipts,

                                             reimbursements, credits, and income attributable to the Interests
                                             and accruing before the Effective Time; and

                                      2)     all proceeds, receipts,             credits, income, and charges attributable                 to

                                             the Interests and accruing after the Effective Time will be Buyer' s
                                             property and responsibility.


                                  For accounts held in suspense or escrow at Closing, XTO Energy will pay
                                  in full the royalty accounts that were suspended because the amount due is
                                  less than the statutory minimum for payment and, as to all other accounts,
                                  will disburse funds after Closing upon proof satisfactory to XTO Energy
                                  that the money is due to the party claiming it.

                      b)          Except as otherwise provided in this Agreement                               and without prejudice to

                                  the provisions of the Property Sales Accounting Agreement, XTO Energy
                                  will make all disbursements for:

                                      1)     payment of charges and invoices for costs and expenses accruing
                                             before the Effective Time and attributable to the Interests; and


                                      2)     payments necessary as the result of sales of production from the
                                             Interests occurring  before   the   Effective   Time (  including
                                             disbursements           out of proceeds held in suspense or escrow).


                                  Buyer will be responsible for all payments and disbursements after the
                                  Effective Time but if XTO Energy makes any of these payments or
                                  disbursements ( including rentals paid prior to the Effective time, but

                                  covering        periods    after    the    Effective Time), Buyer will reimburse                     XTO

                                  Energy for the amounts paid.

                      c)          All amounts due from one Party to the other under this Section 11. 02 may
                                  be made by debits and credits in the Closing Settlement Statement and
                                  Final Settlement Statement.


         11. 03.   Notice to Remitters                of    Proceeds.        XTO Energy will make reasonable efforts to
notify   all   remitters         of    proceeds     from     the    sale    of   production        of   this    transaction.      Except   as
otherwise provided in the Property Sales Accounting Agreement, XTO Energy is responsible for
obtaining      from        the   remitters        revenues     accrued           before     the    Effective        Time,   and   Buyer    is
responsible     for obtaining from the                remitters       revenues       accruing       after   the Effective Time.         The

Parties will inform the remitters that this transaction has closed by letter -in- lieu -of-transfer order
or other documents required by each remitter.



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          11. 04. Reservation of Claims.XTO Energy reserves all Claims and rights of any kind
concerning the Interests or Property against third parties that accrue before the Effective Time
 including those against overriding royalty owners, royalty owners, working -interest owners, and
gas purchasers), whether discovered before or after Closing.  The reservations under this Section
do not include gas -production -imbalance accounts, which are the subject of Article 20.

                          ARTICLE       12. XTO ENERGY - OPERATED                      INTERESTS


          12. 01.   Operation
                            by XTO Energy. XTO Energy will operate the XTO Energy- operated
Interests until the later of the Closing Date or the time that the applicable operating agreement,
plan   of unitization,     or   law requires.      As soon as practicable thereafter, operations will be turned
over to, and become the responsibility of, XTO Energy' s successor as Operator. XTO Energy is
not obligated to obtain Buyer' s approval of any aspect of operations                                  while it operates the
Interests, except to the extent provided for in the Transition                        Services Agreement attached as
Exhibit Ito be effective as of the Closing Date. Notwithstanding anything to the contrary in this
Agreement, XTO Energy may cancel its applicable regulatory permits at any time and for any
reason after it ceases to operate an Interest, with prior notice to the Buyer.

          12. 02. Charges        Paid by Buyer.
                                         For the period of operation by XTO Energy from the
Effective Time until the Closing, Buyer will pay XTO Energy as follows:

                     a)
                                Operation and Maintenance Expenses. A fixed monthly rate for operation
                                and   maintenance     expenses       and   other    miscellaneous        costs   and     expenses

                                incidental to the operation, protection, and maintenance of the Interests
                                and Property ( but excluding costs under paragraph ( b) below) based on the
                                average operation, maintenance, and miscellaneous costs and expenses for
                                each Interest for the three -month period before the Effective Time.

                     b)         Other Costs.      Reimbursement for workover costs, plugging, abandoning,
                                and   re-   abandoning    costs,     CO2    purchases,       prepaid     items (   e.   g., utility
                                charges, rentals, deposits and any other prepays excluding taxes) prorated
                                before and after the Effective Time, and other major costs incurred by
                                XTO Energy incidental to the operation, protection, and maintenance of
                                the Interests and Property, on an actual -cost basis.

                     c)         Overhead.      Overhead    at   a rate   equal to   12. 5%    of the sum of the amounts
                                under paragraphs ( a) and ( b) above.


         These charges will be included in the Closing Settlement Statement or Final Settlement
Statement,    as    applicable.       The Transition Services Agreement shall provide additional charges
related to operations and accounting service post Closing.

         12. 03. Risk of Loss.              Unless this Agreement is terminated as to an Interest, the risk of
loss for damage to or destruction of the XTO Energy -operated Interests and Property associated
with that Interest will pass from XTO Energy to Buyer as of the Closing Date, EVEN IF SUCH
DAMAGE OR DESTRUCTION IS CAUSED IN WHOLE OR IN PART BY THE GROSS, SOLE, JOINT,
CONCURRENT, ACTIVE OR PASSIVE NEGLIGENCE OF XTO ENERGY OR ANY OF ITS ASSOCIATED
PARTIES OR ANY THIRD PARTY AND REGARDLESS OF WHO MAY BE AT FAULT OR OTHERWISE


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RESPONSIBLE    UNDER ANY OTHER           CONTRACT     OR ANY STATUTE,        RULE   OR THEORY    OF LAW

INCLUDING THEORIES OF STRICT LIABILITY. Any such damage or destruction will not be cause
for Buyer to delay Closing or terminate this Agreement.

For purposes of this Section, a Casualty Loss shall be defined as a loss resulting from a
hurricane, other weather event, or an act of God, in the Gulf of Mexico between the Execution
Date and Closing, and shall not include any change in the condition of an XTO Energy- operated
Interest and Property associated with that Interest arising from normal depletion, watering -out,
casing collapse or sand infiltration of any well and the depreciation of property through ordinary
wear  and tear.
                If prior to Closing, XTO Energy becomes aware of a Casualty Loss associated
with an XTO- Operated Interest or Property, XTO Energy shall promptly notify Buyer of the
Interest and Property affected by such Casualty Loss. Prior to Closing, the Parties shall endeavor
to assess the extent of the Casualty Loss and mutually agree to an adjustment to the Base
Purchase Price resulting from the Casualty Loss; provided, however, if the Parties fail to
mutually agree to such adjustment, XTO Energy, at its sole election shall have the option to
remove the affected Interest from this Agreement and adjust the Base Purchase Price by the
Allocation for that Interest. However, in the event a Casualty Loss affects the SMI 41 Field
XTO File Numbers 3445- 0001 -00 ( OCS -G 13607 South Marsh Island 40 Block),                3446 - 001 - 00
OCS -G 1192 South Marsh Island 41 Block), 3447 - 0001 - 00 ( OCS - G 23840 South Marsh Island
44 Block), and 3080 - 0001 - 00 ( OCS - G 31353 South Marsh Island 45 Block), as           referenced   on

Exhibit A, referred    to collectively as " SMI 41 Field "), the Parties   must mutually agree to remove
SMI 41 Field from this Agreement and adjust the Base Purchase Price by the Allocation for the
SMI 41 Field in the event the Parties do not mutually agree to an adjustment to the Base
Purchase Price resulting from such Casualty Loss. Notwithstanding anything to the contrary set
forth in this Agreement, Buyer shall have, at its sole election, the right upon written notice to
XTO Energy to terminate this Agreement and receive a refund of the Performance Deposit if the
SMI 41 Field is removed because of a Casualty Loss.

In the event a Casualty Loss occurs between the Execution Date and the Closing Date specified
in Section 8. 01, as same may be extended under either Sections 8. 02 or 8. 03, either Party may
delay Closing for the affected Interest up to sixty ( 60) days, unless otherwise extended by mutual
agreement of the Parties, after the originally- scheduled Closing Date upon written notice to the
other Party, unless XTO Energy elects to remove the affected Interest from this Agreement under
and in accordance     with this Section 12. 03.


        12. 04. Selection of Operator. Upon execution of this Agreement, XTO Energy or Buyer
may poll the parties to applicable joint operating agreements              or plans of unitization before
Closing to select a successor Operator. The poll may stipulate that XTO Energy will not resign
as  Operator unless Closing occurs.     XTO Energy may resign as Operator under applicable
regulations if Buyer does not diligently pursue its designation as Operator of the Interests that it
will operate.
               If any such polling commenced by XTO Energy or Buyer is not completed by
Closing, then it will be Buyer' s responsibility to complete such polling immediately after
Closing. Buyer' s selection as Operator, whether under a joint operating or similar agreement or
pursuant to applicable       regulations,   is not a condition    of Buyer' s performance     under this
Agreement.




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         12. 05. Removal        of   Signs.
                                  XTO Energy may either remove its name and signs from the
XTO Energy -operated Interests and Property or require Buyer to do so for those Interests that it
will operate. Once Buyer has become Operator, Buyer must:

                     a)      remove any remaining signs and references to XTO Energy from the
                             Property or Interests promptly, but no later than the time required by
                             applicable regulations or 45 days after XTO Energy ceases to be Operator,
                             whichever occurs first;


                     b)      install    signs    complying       with   applicable     governmental     regulations,

                             including signs showing Buyer as Operator of the Interests it operates; and

                     c)
                             notify XTO Energy of the removal of signs and references to XTO Energy
                             and installation of new signs.


       XTO Energy reserves a right of access to the Interests and Property after it ceases to be
Operator to remove its signs and name from all Wells, facilities, and Property, or to confirm that

Buyer has done        so   for the Interests    operated
                                                           by Buyer. If XTO Energy removes signs because
Buyer has not done so, XTO Energy will charge its costs to Buyer, and Buyer will pay the
invoice within fifteen ( 15) days of receipt.

                           ARTICLE 13. INTERESTS OPERATED BY OTHERS

         13. 01.     Charges Paid by Buyer.
                                         Buyer will reimburse XTO Energy for charges made by
the Operator after the Effective Time and paid by XTO Energy.

         13. 02. Risk of Loss.         Unless this Agreement is terminated as to an Interest, the risk of
loss for damage to or destruction of each Interest operated by others and the Property associated
with that Interest will pass from XTO Energy to Buyer as of the Closing Date, EVEN IF SUCH
DAMAGE       OR DESTRUCTION            IS CAUSED    IN WHOLE       OR IN PART        BY THE   GROSS,   SOLE,   JOINT,
CONCURRENT,          ACTIVE OR PASSIVE NEGLIGENCE OF XTO ENERGY OR ANY OF ITS ASSOCIATED
PARTIES OR ANY THIRD PARTY AND REGARDLESS OF WHO MAY BE AT FAULT OR OTHERWISE
RESPONSIBLE UNDER ANY OTHER CONTRACT OR ANY STATUTE, RULE OR THEORY OF LAW
INCLUDING THEORIES OF STRICT LIABILITY. Any such damage or destruction will not be cause
for Buyer to delay Closing or terminate this Agreement.

For purposes of this Section, a Casualty Loss shall be defined as a loss resulting from a
hurricane, other weather event, or an act of God, in the Gulf of Mexico between the Execution
Date and Closing, and shall not include any change in the condition of an Interest operated by
others and Property associated with that Interest arising from normal depletion, watering -out,
casing collapse or sand infiltration of any well and the depreciation of property through ordinary
wear   and   tear.    If prior to Closing, XTO Energy becomes aware of a Casualty Loss associated
with an Interest operated by others and the Property associated with the Interest, XTO Energy
shall promptly notify Buyer of the Interest and Property affected by such Casualty Loss. Prior to
Closing, the Parties shall endeavor to assess the extent of the Casualty Loss and mutually agree
to an adjustment to the Base Purchase Price resulting from the Casualty Loss; provided,
however, if the Parties fail to mutually agree to such adjustment, XTO Energy, shall, at its sole

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option, have the option to remove the affected Interest from this Agreement and adjust the Base
Purchase Price by the Allocation for that Interest.   In the event a Casualty Loss occurs between
the Execution Date and the Closing Date specified in Section 8. 01, as same may be extended
under either Sections 8. 02 or 8. 03, either Party may delay Closing for the affected Interest up to
sixty ( 60) days, unless otherwise      extended  by mutual agreement of the Parties, after the
originally- scheduled Closing Date upon written notice to the other Party, unless XTO Energy
elects to remove the affected Interest from this Agreement under this Section 13. 02.


                 ARTICLE      14. PREFERENTIAL           RIGHT TO PURCHASE       OIL


        XTO Energy shall have, for the life of the lease in any instrument( s) of conveyance
concerning the Interests, the preferential right to purchase from time to time all or any portion of
the Oil, which may be produced and saved from or allocated to the Interests conveyed by XTO
Energy hereunder, except for that Oil which is used for operations upon and for the sole benefit
of the Interests conveyed
                           by this Agreement. The price to be paid shall be a mutually agreeable
negotiated price, with transportation    charges deducted, where applicable.


        Notwithstanding anything herein to the contrary, if Buyer receives a bona fide offer from
an independent third party to purchase the above Oil, which exceeds the price that XTO Energy
is currently paying, then Buyer shall furnish XTO Energy with a copy of said offer and XTO
Energy shall have the option ( but not the obligation) to match such offer and purchase such Oil
on terms identical to that contained in the offer. Notice of XTO Energy' s election to match said
offer shall be provided in writing to Buyer within ten ( 10) working days after receipt of such
notice.




        Should XTO Energy, on any one or more occasions, elect not to purchase or not respond
within ten ( 10) working days after notification by Buyer, then XTO Energy' s right to purchase
Oil shall be considered temporarily waived until such third party term purchase has expired or
until such time as XTO Energy is willing to match the independent third party' s offer, consistent
with the cancellation   notice period of said offer.



        XTO Energy shall have the right to assign its preferential right to purchase to any of its
subsidiariesor affiliates.
                           Upon such assignment, the subsidiary or affiliate shall have the same
rights as XTO Energy under this Article 14.

          All notifications under this Article shall be sent to:


           XTO Energy:                                   Buyer:
           ExxonMobil Oil Corporation                    Dynamic Offshore Resources, LLC
           3225 Gallows Road                             1301 McKinney, Suite 900
           Fairfax, Virginia 22037                       Houston, Texas 77010
           Attention:      Manager, North America        Attention:   Vice President of Land and
                           Crude Trading                              Business Development


          The provisions of this Article 14 will be incorporated into the Assignment and Bill of
Sale.




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                                ARTICLE 15. INTENTIONALLY                        OMITTED


  ARTICLE            16. BUYER' S RELEASE,                  DISCHARGE,         AND COVENANT              NOT TO SUE
AND BUYER' S OBLIGATIONS TO INDEMNIFY, DEFEND, AND HOLD HARMLESS

           16. 01.    Buyer' s Release and Discharge of XTO Energy and its Associated Parties.                         Buyer

releases and discharges XTO Energy and its Associated Parties from each Claim and Liability
relating to the Interests, Property, or this transaction, regardless of when or how the Claim or
Liability arose or arises or whether the Claim or Liability is foreseeable or unforeseeable.
BUYER' S RELEASE AND DISCHARGE                   OF XTO ENERGY AND ITS ASSOCIATED                      PARTIES INCLUDES
CLAIMS        AND LIABILITIES           CAUSED IN WHOLE                OR IN PART BY THE GROSS,                SOLE,   JOINT,
CONCURRENT,           ACTIVE OR PASSIVE NEGLIGENCE                     OF XTO ENERGY OR ANY OF ITS ASSOCIATED
PARTIES       OR ANY THIRD            PARTY AND APPLY REGARDLESS                  OF WHO MAY BE AT FAULT                  OR
OTHERWISE        RESPONSIBLE          UNDER    ANY        OTHER   CONTRACT      OR ANY      STATUTE,     RULE    OR THEORY

OF LAW INCLUDING THEORIES OF STRICT LIABILITY. The only exception to Buyer' s release and
discharge of XTO Energy and its Associated Parties is stated in Section 16. 04( e), and the release

and discharge are binding on Buyer and its successors and assigns.

           16. 02. Buyer' s Covenant Not to Sue XTO Energy                        or   its Associated Parties.         Buyer

covenants not to sue XTO Energy or its Associated Parties with regard to any Claim or Liability
relating to the Interests, Property, or this transaction, regardless of when or how the Claim or
Liability arose or arises or whether the Claim or Liability is foreseeable or unforeseeable.
BUYER' S COVENANT              NOT     TO SUE XTO            ENERGY       OR ITS ASSOCIATED            PARTIES    INCLUDES
CLAIMS        AND LIABILITIES           CAUSED        IN WHOLE         OR IN PART      BY THE      GROSS,      SOLE,   JOINT,
CONCURRENT,           ACTIVE OR PASSIVE NEGLIGENCE                     OF XTO ENERGY OR ANY OF ITS ASSOCIATED
PARTIES       OR ANY THIRD            PARTY    AND APPLIES         REGARDLESS        OF WHO MAY BE AT FAULT               OR
OTHERWISE        RESPONSIBLE          UNDER    ANY        OTHER   CONTRACT      OR ANY      STATUTE,     RULE    OR THEORY

OF LAW      INCLUDING         THEORIES     OF STRICT        LIABILITY.      The only exception to Buyer' s covenant
not   to sue XTO Energy          or   its Associated Parties is stated in Section 16. 04( e), and the covenant is

binding on Buyer and its successors and assigns.

           16. 03. Buyer' s      Obligations         to   Indemnify, Defend,
                                                             and Hold XTO Energy and its
Associated      Parties      Harmless.
                                 Buyer will indemnify, defend, and hold XTO Energy and its
Associated Parties harmless from each Claim and Liability relating to the Interests, Property, or
this transaction, regardless of when or how the Claim or Liability arose or arises or whether the
Claim    or
              Liability      is foreseeable     or    unforeseeable.       BUYER' S OBLIGATIONS            TO INDEMNIFY,
DEFEND, AND HOLD XTO ENERGY AND ITS ASSOCIATED                                 PARTIES HARMLESS INCLUDE CLAIMS
AND LIABILITIES           CAUSED      IN WHOLE OR IN PART BY THE GROSS,                     SOLE, JOINT,    CONCURRENT,
ACTIVE OR PASSIVE NEGLIGENCE                   OF XTO ENERGY OR ANY OF ITS ASSOCIATED                           PARTIES   OR
ANY    THIRD         PARTY    AND     APPLY    REGARDLESS          OF    WHO   MAY     BE   AT   FAULT    OR     OTHERWISE

RESPONSIBLE           UNDER    ANY OTHER        CONTRACT           OR ANY STATUTE,          RULE   OR THEORY        OF LAW
INCLUDING        THEORIES       OF    STRICT         The only exceptions to Buyer' s obligations to
                                                LIABILITY.

indemnify, defend, and hold XTO Energy and its Associated Parties harmless are stated in
Sections 16. 04( c) and 16. 04( e), and the obligations are binding on Buyer and its successors and
assigns.




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    16. 04. Buyer' s Obligations.


            a)     In each instance of Buyer' s obligations to release, discharge, indemnify,
                   defend, and hold XTO Energy and its Associated Parties harmless and its
                   covenant not to sue XTO Energy or its Associated Parties, the Claims and
                   Liabilities subject to the obligations include the following:

                    1)     the ownership of the Interests by XTO Energy, their operation by
                           XTO Energy or its Associated Parties, and the acts or omissions of
                           XTO Energy or its Associated Parties in connection with the
                           Interests or the Related Agreements;


                    2)     the ownership of the Interests by Buyer, their operation by Buyer
                           or its Associated Parties, and the acts or omissions of Buyer or its
                           Associated         Parties    in connection   with the Interests               or under this
                           Agreement or the Related Agreements; and


                    3)     the acts or omissions of third parties relating to the Interests.

            b)     Buyer' s   obligations         under      this   Agreement        to        release,      discharge,

                   indemnify, defend, and hold XTO Energy and its Associated Parties
                   harmless and its covenant not to sue XTO Energy or its Associated Parties
                   include Claims and Liabilities arising in any manner from the following:

                     1)    Buyer' s Allocations;


                    2)     preferential and similar rights held by third parties to purchase any
                           portion of the Interests;


                    3)     the      review,     inspection,     and   assessment          of    the   Interests      and

                           Property by Buyer and its Associated Parties;

                    4)     an error in describing the Interests or an error in the conveyancing
                           instruments;


                    5)     rights     and     obligations    of the   parties   or   third       parties     under   the
                           Related Agreements;


                    6)     closing without a third party consent or approval;

                    7)     failure by third parties to approve or consent to any aspect of this
                           transaction after Closing;

                    8)     obligations to plug and abandon Wells and remediate the Interests
                           and Property;

                    9)     payment of Real Property Taxes or other taxes applicable to the
                           Interests and Property;



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                        10)   payments or disbursements paid or payable by XTO Energy or
                              Buyer to third parties;


                        11)   a physical or environmental condition relating to the Interests and
                              Property, including Claims and Liabilities under the Environmental
                              Laws, or failure to comply with the Environmental Laws;

                        12)   remediation activities, including damages incurred by Buyer or its
                              Associated Parties during or arising from remediation activities;
                              and




                        13)   lawsuits     filed before the Effective      Time, but amended       after the
                              Effective Time to include the Interests               or Property or XTO
                              Energy' s ownership of or activities regarding the Interests or
                              Property.

                c)     Buyer' s obligations to indemnify, defend, and hold XTO Energy and its
                       Associated    Parties      harmless   do   not   apply,   however,    to   Claims   or
                       Liabilities that result from a judgment rendered or settlement reached in a
                       lawsuit filed before the Effective Time, but only to the extent that acts or
                       omissions    that   gave   rise to the cause     of action   are attributable   to the
                       conduct or operation or ownership of XTO Energy or its Associated
                       Parties before the Effective Time.


                d)     The Parties recognize that certain lawsuits may have been filed before the
                       Effective Time, but concern activities continuing after the Effective Time,
                       so that after Closing Buyer may be a proper party to the lawsuit. For these
                       lawsuits, Buyer' s obligations to indemnify, defend, and hold XTO Energy
                       and its Associated Parties harmless will apply to activities occurring after
                       the Effective Time. XTO Energy will continue to defend its own interests
                       and provide principal counsel in an action under this paragraph for which
                       it remains a party after the Effective Time.

                e)     Buyer' s release and discharge of XTO Energy and its Associated Parties
                       and its covenant not to sue do not include Claims that Buyer may enforce
                       against contractors and subcontractors for work regarding the Interests and
                       the Properties.     In addition, Buyer' s release and discharge of XTO Energy
                       and its Associated Parties and its obligation to indemnify, defend and hold
                       XTO Energy harmless under this Agreement does not include Claims that
                       XTO Energy breached this Agreement. Any such Claims will be resolved
                       in accordance with Article 17.


        16. 05. Buyer' s Duty to Defend.       Buyer acknowledges that its obligations to indemnify,
defend, and hold XTO Energy and its Associated Parties harmless under this Agreement include
obligations to pay the attorneys' fees and court and other costs incurred by XTO Energy and its
Associated  Parties in defending all Claims. As to each Claim and Liability, XTO Energy, at its

sole option, may elect to:




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                     a)      manage        its   own    defense,    in which    event    Buyer     will    reimburse        XTO

                             Energy and its Associated Parties for all attorneys' fees and court and
                             other costs reasonably incurred in defending a claim, upon delivery to
                             Buyer of invoices for these fees and costs; or

                     b)      tender its defense as to any Claim to Buyer, in which event Buyer will be
                             responsible for all aspects of defending the Claim at issue and resulting
                             Liabilities.


         16. 06. Buyer' s Waiver of Consumer Rights Under the Texas Deceptive Trade Practices
Consumer Protection Act and Other Consumer Protection Laws.                             As PARTIAL CONSIDERATION
TO XTO ENERGY              TO ENTER INTO THIS AGREEMENT,                       TO THE EXTENT          THAT THE TEXAS
DECEPTIVE          TRADE     PRACTICES           CONSUMER          PROTECTION      ACT       IS   APPLICABLE         TO     THIS
TRANSACTION,         BUYER       CAN AND         DOES    EXPRESSLY       WAIVE    ITS RIGHTS        UNDER          THE    TEXAS
DECEPTIVE          TRADE    PRACTICES            CONSUMER      PROTECTION        ACT,    SECTIONS         17. 41 THROUGH
17. 63, TEXAS       BUSINESS      AND COMMERCE              CODE,     A LAW THAT GIVES             CONSUMERS             SPECIAL
RIGHTS    AND       PROTECTIONS.             AFTER      CONSULTATION        WITH        AN   ATTORNEY          OF    ITS    OWN
SELECTION,     BUYER VOLUNTARILY                  CONSENTS TO THIS WAIVER.              IN ADDITION, BUYER WAIVES
ITS RIGHTS    UNDER        ALL   OTHER      CONSUMER        PROTECTION      LAWS    IN OTHER        STATES     APPLICABLE

TO THIS TRANSACTION THAT MAY BE WAIVED BY THE PARTIES.


         16. 07.    Retroactive    Effect.       Buyer acknowledges       that its obligations     to release, discharge,

defend, and hold XTO Energy and its Associated Parties harmless and its covenant not to sue
XTO Energy or its Associated Parties apply to matters occurring or arising before the Execution
Date to the extent provided in this Agreement.


         16. 08.    Inducement to XTO Energy.                BUYER ACKNOWLEDGES               THAT IT EVALUATED ITS
OBLIGATIONS         UNDER THIS ARTICLE 16 BEFORE IT DETERMINED                          AND SUBMITTED ITS BID FOR
THE   INTERESTS           AND    THAT      ITS    ASSUMPTION        OF   THESE     OBLIGATIONS            IS   A    MATERIAL
INDUCEMENT TO XTO ENERGY TO ENTER INTO THIS AGREEMENT WITH, AND CLOSE THE SALE
TO, BUYER.


      ARTICLE 17. ALTERNATE DISPUTE RESOLUTION AND ARBITRATION

         17. 01.    General.


                     a)
                             This Article 17 applies to any dispute between the Parties, arising at any
                             time, that is not subject to Buyer' s release and discharge of XTO Energy
                             and its Associated Parties or Buyer' s covenant not to sue XTO Energy or
                             its Associated Parties or is not specifically excluded under this Article 17.
                             Whether a dispute is subject to Buyer' s release, discharge, or covenant not
                             to sue   or   to this Article ( or is excluded      from this Article        by its terms),     and

                             whether there is a contract between the Parties, are issues that will be
                             resolved under the alternate dispute resolution and arbitration provisions
                             of this Article 17.


                    b)       As to the disputes subject to this Article 17, any Claim or controversy of
                             whatever nature, including an action in tort or contract or a statutory


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                              action ( "   Disputed Claim "), or the arbitrability of a Disputed Claim, will be
                             resolved under the terms, conditions, and procedures of set forth in this
                             Article 17 and will be binding on both Parties and their respective
                              successors     and
                                                          Neither Party may prosecute or commence any
                                                   assigns.


                              suit or action against the other Party relating to any matters that are subject
                             to this Article 17, except as provided in this Article 17.


                     c)
                             XTO Energy will determine, at its sole option, whether a Claim filed by a
                             third party against Buyer or XTO Energy will be subject to this Article. If
                             Buyer has notified XTO Energy before Closing of a Disputed Claim by
                             Buyer before Closing and the Disputed Claim is not resolved before
                             Closing, the Disputed Claim will not be subject to this Article unless
                             agreed by the Parties.

          17. 02. Negotiations. The Parties agree to attempt to resolve any dispute arising out of or
relating to this Agreement through negotiation. Within thirty (30) days after one Party gives the
other Party written notice describing the dispute and requesting negotiations, representatives of
the Parties with authority to resolve the dispute shall meet at a mutually agreed upon location to
attempt   to   resolve    the dispute.       Negotiations     shall continue   until the Parties   have resolved   the
dispute or until one of the Parties gives written notice that it will no longer continue to negotiate.
If for any reason, the Parties' representatives fail to meet within the thirty ( 30) day deadline or if
a Party gives written notice that it is no longer willing to continue negotiations, either Party may
commence binding arbitration of the dispute pursuant to Section 17. 03.

          17. 03.   Arbitration.
                              Any dispute arising out of or relating to this Agreement that the
Parties fail to resolve by negotiation as set forth in Section 17. 02 shall be resolved by arbitration
before three arbitrators pursuant to the CPR Institute for Dispute Resolution Rules for Non -
Administered Arbitration as modified herein. Each Party shall appoint one arbitrator as provided
in CPR Rules 3. 3 and 3. 5, and the two arbitrators so appointed shall appoint the third, who shall
chair the tribunal, selected as provided in CPR Rule 5. 2. The place of arbitration shall be
Houston, Texas.           The arbitrators shall apply the substantive law of Texas to the merits of the
dispute, except that the arbitrators shall not apply any choice of law rules that would call for the
application    of   the   substantive      law of any other jurisdiction.      The Federal Arbitration Act shall
apply to the        arbitration.    The    award shall be final and binding on the Parties.
                                            arbitrators'


Judgment on the award may be entered in any court of competent jurisdiction.

          17. 04. Notice. The addresses for notice under this Article 17 are:


                    XTO Energy:                                                     Buyer:


                    XTO Energy Inc                                                  Dynamic Offshore Resources, LLC
                    810 Houston Street                                               1301 McKinney, Suite 900
                    Fort Worth, Texas 76102                                         Houston, Texas     77010
                    Attention: Litigation Coordinator                               Attention: General Counsel


                    and




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                   ExxonMobil Production Company
                   P. O. Box 2180
                   Houston, Texas      77252 - 2180
                   Attention:         Planning Department
                                      Asset Enhancement Manager


                           ARTICLE        18. ENVIRONMENTAL                    MATTERS


         18. 01.   Buyer' s Acknowledgment          Concerning Possible Contamination                  of the Interests
and   Property.Buyer is aware that the Interests and Property have been used for exploration,
development, and production of oil and gas and that there may be petroleum, produced water,
wastes, or other materials located on or under the Property or associated with the Interests.
Equipment and sites included in the Interests or Property may contain asbestos, hazardous
substances,   or NORM.           NORM may affix or attach itself to the inside of Wells, materials, and
equipment     as scale,   or in other     forms;    the Wells,       materials,   and      equipment    located    on the

Property or included in the Interests may contain NORM and other wastes or hazardous
substances; and NORM- containing material and other wastes or hazardous substances may have
been buried, come in contact with the soil, or otherwise been disposed of on the Property.
Special procedures may be required for the remediation, removal, transportation, or disposal of
wastes, asbestos, hazardous substances, and NORM from the Interests and the Property.

         BUYER WILL ASSUME ALL LIABILITY                  FOR THE ASSESSMENT,              REMEDIATION,      REMOVAL,
TRANSPORTATION, AND DISPOSAL OF WASTES, ASBESTOS, HAZARDOUS SUBSTANCES, AND NORM

FROM THE INTERESTS AND PROPERTY AND ASSOCIATED ACTIVITIES AND WILL CONDUCT
THESE    ACTIVITIES       IN     ACCORDANCE        WITH       ALL    APPLICABLE       LAWS      AND     REGULATIONS,
INCLUDING     ENVIRONMENTAL           LAWS.



         18. 02. Adverse Environmental Conditions.

                   a)
                           Buyer will have until ten ( 10) days before the Closing Date to notify XTO
                           Energy of any material adverse environmental condition of the Interests or
                           Property that Buyer finds unacceptable and provide evidence of the
                           condition to XTO Energy.      An environmental  condition is a material
                           adverse     environmental        condition ( "   Condition ")    only if all the following
                           criteria are met:



                            1)       the environmental condition is required to be remediated on the
                                     Execution     Date under        the Environmental        Laws     in effect   on the
                                     Execution Date;


                           2)        the total of the cost to remediate             all environmental        conditions
                                     identified by Buyer to levels required by the Environmental Laws
                                     in effect on the Execution Date is reasonably estimated to be more
                                     than one   percent (    1 %)   of the Base Purchase Price; and


                           3)        the environmental condition was not disclosed to or known by
                                     Buyer before the Execution Date.




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                 b)     XTO Energy will have thirty ( 30) days after receipt of Buyer' s notice
                        under the preceding paragraph, or until five ( 5) days before the Closing
                        Date if it determines that an adverse environmental condition ( whether
                        material or not) may exist with respect to an Interest or Property, to elect
                        any of the following:

                          1)       adjust the Allocation for an Interest by a mutually acceptable
                                   amount reflecting XTO Energy' s proportionate share, based on its
                                   working interest, of the cost reasonably estimated to remediate a
                                   Condition affecting the Interest;

                          2)       remove the affected Interest from this Agreement and adjust the
                                   Base Purchase Price by the Allocation for the affected Interest;

                          3)       remedy, or agree to remedy, the Condition, as provided below; or

                          4)       terminate this Agreement.


                        XTO Energy may delay Closing until the end of this thirty -day period,
                        which delay will be in addition to and under the same terms as XTO
                        Energy' s right to delay Closing under Section 8. 03.

                 c)
                        If XTO Energy and Buyer agree to adjust an Allocation because of a
                        Condition, the amount of the adjustment will be the cost to remediate the
                        Condition, but only to the level required by the Environmental Laws in
                        effect on the Execution Date. XTO Energy may require Buyer to remit the
                        full Allocation at Closing, without adjustment for the Condition, but if it
                        does so, it will pay the amount of the adjustment to Buyer when the
                        remediation      is   complete      under   applicable    law.    If the cost to remediate

                        exceeds the amount of the adjustment, Buyer will pay the additional costs
                        to remediate the Condition as required by applicable law.

       18. 03.   Remediation.
                            If XTO Energy agrees with Buyer to remediate a Condition or is
required by a governmental or regulatory agency to remediate a Condition, the following will
govern the remediation:


                 a)
                        XTO Energy will be responsible for all negotiations and contacts with
                        federal,    state,    and   local     agencies   and     authorities   with   regard   to   the
                        Condition or remediation. Buyer may not make any independent contacts
                        with any agency, authority, or other third party with respect to the
                        Condition or remediation and will keep all information regarding the
                        Condition     and remediation          confidential,     except   in each instance     to the

                        extent required by applicable law.

                 b)     XTO Energy will remediate the Condition to the level agreed upon by
                        XTO Energy and Buyer, but in no event will XTO Energy be required to
                        remediate the Condition beyond the level required by the Environmental
                        Laws in effect on the Execution Date.



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           c)   Buyer will grant and warrant access to the Interests and entry on the
                Property after Closing to XTO Energy, its Associated Parties, and third
                parties conducting assessments or remediation, to the extent and as long as
                necessary to conduct and complete the assessment or remediation work, to
                remove       equipment        and       facilities,      and to perform any other activities
                reasonably necessary in connection with assessment or remediation.

           d)   Buyer will use its best efforts not to interfere with XTO Energy' s ingress
                and egress  or assessment    or remediation    activities.
                                                                           XTO Energy will
                make reasonable efforts to perform the work so as to minimize disruption
                to Buyer' s business activities and to the Interests and the Property.

           e)
                XTO Energy will continue remediation of the Condition until the first of
                the following occurs:

                 1)       the appropriate           governmental           authorities     provide      written      notice to

                          XTO Energy or Buyer that no further remediation of the Condition
                          is required; or


                 2)       XTO Energy determines that the Condition has been remediated to
                          the level required by the Environmental Laws or as agreed by the
                          Parties.


                Upon the occurrence                of   either ( 1)     or ( 2) above, XTO Energy will notify
                Buyer that remediation of the Condition is complete and provide a copy of
                the   notification      described         in ( 1)              if applicable.
                                                                     Upon delivery of
                                                                      above,


                XTO Energy' s notice, XTO Energy will be released from all liability and
                have no further obligations under any provisions of this Agreement in
                connection with a Condition.


           f)   Until XTO Energy completes remediation of a Condition, XTO Energy
                and Buyer will each notify the other of any pending or threatened Claim,
                action, or proceeding by any authority or private party that relates to or
                would        affect    the    environmental              condition,      the        assessment,       or    the

                remediation of the Interests or Property.

           g)   After delivery of possession or Closing (whichever occurs first) and before
                XTO Energy has completed remediation of a Condition, if a leak, spill, or
                discharge       of    any    material       or      substance ( "   Occurrence ") occurs              on    the

                Property or Interests, or any part of them, Buyer will promptly notify XTO
                Energy and act promptly to minimize                         the effects     of   the Occurrence.            If a

                spill, leak or discharge occurs and XTO Energy determines that it may
                affect the area where XTO Energy is conducting remediation or
                assessment, Buyer will hire a consultant ( who must be acceptable to XTO
                Energy) to assess the effect of the occurrence on the environmental
                condition of the Property, Interest, and XTO Energy' s remediation work
                and    the     cost    of    the    additional         work     required       as     the   result     of   the
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                          Occurrence.            Unless the Occurrence was caused solely by XTO Energy,
                          Buyer will be responsible                   for the incremental cost of remediating the
                          impact      of   the Occurrence.            If XTO Energy' s remediation is expanded to
                          incorporate remediation of the Occurrence, Buyer will promptly pay its
                          share of costs and expenses to XTO Energy as the work is performed,
                          within thirty (30) days of receipt of invoices for the work (with supporting
                          documentation).    Payments not made timely will bear interest at a rate of
                          twelve     percent (     12 %) per annum or the maximum                      lawful rate, whichever

                          is less, compounded daily from the date of Buyer' s receipt of the invoice
                          until    paid.




                          If the cost of the additional work equals or exceeds the cost which would
                          have been incurred but for the Occurrence, XTO Energy will pay Buyer
                          the cost that would have been incurred by XTO Energy to complete the
                          remediation           but for the Occurrence.              As consideration for this payment,
                          Buyer will accept the environmental condition of the Property and
                          Interests        as    they   exist        on     the   date    of     the - payment,     assume      full

                          responsibility for remediating the Property and Interests and related off -
                          site     contamination        in   accordance           with    this    Agreement,      and   agree    to

                          release, not to sue, indemnify, hold harmless, and defend XTO Energy and
                          its Associated Parties as to Claims and Liabilities arising from the
                          Occurrence        to the same extent as described in Article 16.


                   h)     If XTO Energy undertakes remediation as to any Interest in which XTO
                          Energy' s ownership was less than one hundred percent ( 100 %), Buyer will
                          bill the other working interest owners for their share of the remediation
                          expenses.         Regardless of whether Buyer recoups any amount from the
                          other working interest owners, Buyer will refund to XTO Energy, within
                          sixty ( 60) days of each XTO Energy invoice, with documentation, any
                          amounts expended by XTO Energy over the amount formerly attributable
                          to XTO Energy' s working interest share.

                   i)     If XTO Energy will assess or remediate the Interests or Property after
                          Closing, the Assignment and Bill of Sale or other recordable instrument
                          will restate the rights and obligations of this Section 18. 03.


           18. 04. Disposal   of   Materials,      Substances,            and   Wastes;   Compliance       with     Law.   Buyer
will store, handle, transport,       and dispose of or discharge                   all materials,     substances,    and wastes
from the Interests and Property ( including produced water, drilling fluids, NORM, and other
wastes),    whether present before or after the Effective Time, in accordance with applicable local,
state,     federal laws and regulations. Buyer will keep records of the types, amounts, and
         and


location of materials, substances, and wastes that are stored, transported, handled, discharged,
released, or disposed of onsite and offsite.
                                             When any lease terminates, an interest in which has
been assigned under this Agreement, Buyer will undertake additional testing, assessment,
closure, reporting, or remedial action with respect to the Interests or Property affected by the
termination as is necessary to satisfy all local, state, or federal requirements in effect at that time
and necessary to restore the Property or Interests.



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                        ARTICLE           19. BUYER' S REPRESENTATIONS


       19. 01. Representations        Not Exclusive.         Buyer' s representations under this Article are in
addition to its other representations under this Agreement and the Additional Instruments.

       19. 02.   Securities Laws.


                 a)     Buyer acknowledges               that the solicitation of an offer for and the sale of the

                        Interests by XTO Energy has not been registered under any securities
                        laws.


                 b)     Buyer intends to acquire the Interests               for its own benefit and account and

                        is not acquiring the Interests with the intent of distributing fractional
                        undivided interests in them or otherwise selling them in a manner that
                        would be subject to regulation by federal or state securities laws. If Buyer
                        sells,      transfers,     or   otherwise      disposes     of the   Interests     or     fractional
                        undivided interests in them in the future, it will do so in compliance with
                        applicable       federal and state laws.


                 c)
                        Buyer represents that at no time has it been presented with or solicited by
                        or through any public promotion or other form of advertising in
                        connection       with this transaction.


       19. 03.   Basis of Buyer' s Decision.            Buyer represents    that:


                 a)
                        it has reviewed and investigated the Interests and Property to its
                        satisfaction in order to enter into this Agreement;

                 b)     it has evaluated the Interests and Property to its satisfaction and has made
                        an informed decision, as a prudent and knowledgeable                               purchaser, to
                        acquire the Interests and Property;

                 c)     it is knowledgeable             and experienced      in the evaluation, acquisition,              and
                        operation of oil and gas properties;



                 d)     it has evaluated the merits and risks of purchasing the Interests and has
                        formed an opinion based solely upon its knowledge and experience and
                        not in reliance on any statements or actions by XTO Energy or its
                        Associated Parties; and


                 e)    fit   will   acquire      the Interests   and   Property " as is, where      is,"    and    with   all

                        faults.


       19. 04. Material Factor.         Buyer acknowledges that its representations under this Article,
the rest of this Agreement, and the Additional Instruments are a material inducement to XTO
Energy to enter into this Agreement with, and close the sale to, Buyer.




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                                        ARTICLE                 20.     GAS IMBALANCES


          20. 01.    XTO     Energy' s and               Buyer' s Respective Obligations.             For those Interests       with
cumulative          gas -production -   imbalance                 accounts      among      working    interest    owners,     Buyer

acknowledges that the amounts are derived from either Operator' s statements or XTO Energy' s
estimates based upon current production, prior sales history, and contract information; were
provided to Buyer before the Execution Date; and were taken into consideration                                            in Buyer' s
calculation    of the      Base Purchase Price                     and   the   Allocations.      After the Effective       Time,    all
benefits, obligations, and liabilities associated with these, gas- production- imbalance accounts and
related   agreements       will    accrue      to    and      become Buyer' s responsibility.         Buyer will assume XTO
Energy' s overproduced or underproduced position as of the Effective Time and subject to the
other provisions of this Agreement, unless the operating agreement, plan of unitization, or gas
balancing agreement for an Interest provides for the cash settlement of gas -production -imbalance
accounts when the Interest is assigned, in which event XTO Energy reserves the gas- production-
imbalance account and the right to the cash settlement. XTO Energy specifically reserves certain
of the gas imbalance accounts as same are identified on Exhibit E for which Buyer shall have no
responsibility or liability.

       Buyer represents that in calculating the Base Purchase Price and its Allocations, it has
considered XTO Energy' s procedures for paying royalties and severance taxes with regard to
each gas - production - imbalance              account.


          20. 02.     Settlement.


                      a)      If    either (        1)
                                                    Closing, or ( 2) on the later of XTO Energy' s
                                                          before

                              preparation of the Final Settlement Statement or one hundred and fifty
                               150) days after   Closing, either Party determines that a Material
                              Difference (               as    defined   below)      exists between the total of the gas -
                              production- imbalance accounts represented in Exhibit E and the total of
                              the gas -production -imbalance accounts as of the Effective Time, then the
                              Base Purchase Price will be adjusted if there is a Material Difference.                              The
                              value of the difference will be calculated by multiplying the volume
                              difference by $ 4. 38 per Mcf ( thousand cubic feet).    A " Material
                              Difference"                exists    if the      absolute    value   of the   difference       exceeds
                                  100, 000. 00.


                      b)      Regardless             of       whether    a    Material Difference     exists,    if the   difference
                              between the represented and actual gas -production imbalance account for
                              an    Interest        exceeds $       100, 000. 00, then XTO Energy, at its sole option, may
                              withdraw that Interest from this Agreement and adjust the Base Purchase
                              Price     by the            Allocation         for the Interest.     The difference in the gas -
                              production- imbalance account for the withdrawn Interest will not be used
                              to determine whether a Material Difference exists.

                      c)
                              If a Material Difference identified before Closing exceeds one percent
                               1 %) of the Base Purchase Price, then either Party may, upon written
                              notice    to     the        other,    terminate     this   Agreement.    Before terminating this



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                             Agreement, however, XTO Energy and Buyer will each make a good -faith
                             effort to negotiate       a settlement.     If this Agreement   is terminated    under this
                             Section 20. 02,       XTO Energy will refund the Performance                    Deposit to
                             Buyer.


                        ARTICLE 21.             FINAL SETTLEMENT                 STATEMENT


        XTO Energy will prepare a final settlement statement and submit it to Buyer within one
hundred   and
              fifty ( 150) days after the Closing Date ( the " Final Settlement Statement "). The
Final Settlement Statement will deduct royalties, operating expenses, taxes, overhead, and other
amounts due to XTO Energy from amounts due to Buyer as provided in this Agreement, with
adjustments as necessary for items identified     after
                                                        Closing. XTO Energy may set off any
resulting amount due to Buyer against amounts that Buyer may otherwise owe to XTO Energy or
its Affiliates when the Final Settlement Statement is prepared.


          Buyer must respond in writing with objections and proposed corrections within thirty
 30)   days    of   receiving the Final Settlement Statement.                   If the Parties   cannot resolve    their

differences within ninety ( 90) days of XTO Energy' s receipt of Buyer' s objections, then the
alternate-   dispute - resolution    and     arbitration    procedures   of   Article 17 will be triggered.    If Buyer

does not respond to the Final Settlement Statement by signing or objecting in writing within the
30 -day period, the statement will be deemed approved by Buyer. After approval of the Final
Settlement Statement, XTO Energy will                  send   a   check or   invoice to Buyer for the net amount.     If

payment is not made within thirty ( 30) days of Buyer' s receiving the invoice, the amount due
may, at XTO Energy' s option, bear interest at a rate of twelve percent ( 12 %) percent per annum
or the maximum lawful rate, whichever is less, compounded daily from the date of Buyer' s
receipt   of   the invoice   until   paid.
                                               Inquiries regarding the Final Settlement Statement must be in
writing, addressed to:

                                       ExxonMobil Production Company
                                       P. O. Box 2180
                                       Houston, Texas         77252 - 2180

                                       Attention: Planning Department, Asset Enhancement Manager

                             ARTICLE 22.           BROKER' S AND FINDER' S FEES


          XTO Energy and Buyer each represents and warrants to the other that it has incurred no
liability, contingent or otherwise, for broker' s or finder' s fees in connection with this Agreement
or the transaction contemplated by it for which the other Party will have any responsibility.

                                     ARTICLE          23.   COMMUNICATIONS


      Unless otherwise provided in this Agreement, communications ( including notices) under this
Agreement that must be in writing and delivered by a specified date will be deemed to have been made
when received at the following addresses by registered or certified mail, postage prepaid, or by
messenger:




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         XTO Energy:                                                Buyer:


         XTO Energy Inc                                             Dynamic Offshore Resources, Inc.
         810 Houston Street                                         1301 McKinney, Suite 900
         Fort Worth, Texas 76102                                    Houston, Texas     77010
         Attention:    Senior Vice President Land                   Attention:       President and Chief
                                                                                     Executive Officer
         and




         ExxonMobil Production Company
         P. O. Box 2180
         Houston, Texas           77252 - 2180
         800 Bell, Room 241 - H EB
         Houston, Texas           77002

         Attention: Planning Department
                       Asset Enhancement Manager


                                      ARTICLE 24. BUYER' S DEFAULT


        Prior to Closing, if Buyer defaults under this Agreement in a material way, including
Buyer' s failure to perform its obligations to close this transaction, XTO Energy may, at its sole
option, terminate this Agreement and retain the Performance Deposit in lieu of any other rights
and   remedies   XTO       Energy may have under law or in equity.               Such option to terminate shall not

be exercised by XTO Energy unless and until XTO Energy has provided Buyer with written
notice of its default or failure and Buyer has failed to remedy such fault or render such
performance within thirty (30) days of its receipt of such written notice.

ARTICLE 25. HART- SCOTT -RODINO ANTITRUST IMPROVEMENTS ACT OF 1976

         If the Parties determine          that the Hart- Scott - Rodino Antitrust     Improvements    Act of 1976
the "   Act ")   applies     to    this    each will promptly file with the Federal Trade
                                          transaction,

Commission the required notifications, reports, and supplemental information to comply, in all
respects, with  the requirements of the Act.     Buyer will promptly pay to the appropriate
government
               agency all  filing fees required of " acquiring persons" under the Act.
Notwithstanding       anything       to   the    contrary   in   this   Agreement,   the   Execution   Date   of this

Agreement will be the date of XTO Energy' s notice to Buyer that, in the opinion of XTO
Energy' s counsel, this transaction complies with the Act and the rules and regulations of the
Federal Trade Commission and the Department of Justice.


       In order that Closing occurs without violation of the Act, the Parties agree to delay
Closing for up to five ( 5) business days after the transaction contemplated by this Agreement is
approved under the Act, if such approval is required and not obtained by the originally scheduled
Closing Date.




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           ARTICLE 26. XTO ENERGY' S DISCLAIMER                                OF WARRANTIES           AND
                                                 REPRESENTATIONS


          XTO       ENERGY          HAS    NOT      MADE,    AND    WILL     NOT   MAKE,     ANY     WARRANTY      OR
REPRESENTATION,           EXPRESS,        IMPLIED,    OR    STATUTORY,     WHATSOEVER        IN   CONNECTION     WITH

THIS AGREEMENT            OR THE TRANSACTION                CONTEMPLATED        BY IT, INCLUDING     THE ACCURACY
OR COMPLETENESS               OF DATA, INFORMATION,             OR MATERIALS        FURNISHED      AT ANY TIME TO

BUYER IN CONNECTION                 WITH THE INTERESTS          OR PROPERTY,       OR THE QUALITY OR QUANTITY
OF HYDROCARBON            RESERVES ( IF ANY) ATTRIBUTABLE                TO THE INTERESTS,        OR THE ABILITY OF
THE      INTERESTS       TO   PRODUCE        HYDROCARBONS.            NONE     OF XTO       ENERGY' S ASSOCIATED
PARTIES IS AUTHORIZED                TO MAKE ANY WARRANTY OR REPRESENTATION                       ON XTO ENERGY' S
BEHALF.     ALL DATA, INFORMATION,                  AND OTHER MATERIALS FURNISHED BY XTO ENERGY ARE
PROVIDED      TO BUYER AS A CONVENIENCE,                    AND RELIANCE       ON OR USE OF THEM IS AT BUYER' S
SOLE RISK.



                                          ARTICLE 27. MISCELLANEOUS


          27. 01.   No Joint        and   Several   Obligations.     In the event that there are multiple sellers
under this Agreement,          the obligations      of each seller are several, and not joint and several.


          27. 02. Entire Agreement.            This Agreement and the Additional Instruments            constitute the
entire    agreement      between      the Parties    as   to the transaction    described   in this Agreement.    All
previous negotiations and communications between the Parties as to these matters are merged
into this Agreement        and the Additional        Instruments.


          27. 03.   Successors and Assigns; Amendment;                Survival.


                    a)
                              This Agreement is binding on and inures to the benefit of the Parties and
                              their respective successors, heirs, representatives, and assigns and may be
                              supplemented,         altered, amended, modified, or revoked only in writing
                              signed  by both Parties. Neither the assignment of this Agreement nor of
                              the Interests or any part of them will relieve Buyer of its obligations under
                              this Agreement unless and to the extent XTO Energy consents in writing
                              to release Buyer, which consent may be withheld for any reason.

                    b)        All provisions of this Agreement and the Additional Instruments                     that
                              cannot be performed before Closing and all representations, promises,
                              releases,     and indemnities         under this Agreement          and the Additional
                              Instruments will survive Closing.

                    c)
                              The following provisions survive the termination of this Agreement:

                               1)         Section 5. 02 ( Access to XTO Energy- Operated Interests);

                               2)
                                          Section 5. 03 ( Environmental Assessment), including Exhibit F;

                               3)         Section 5. 07 ( Buyer' s Confidentiality Obligations);



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                            4)       Article 16 ( Buyer' s Release, Discharge, and Covenant not to Sue
                                     and     Buyer' s      Obligations      to   Indemnify,      Defend,      and    Hold
                                     Harmless);


                            5)       Article 17 ( Alternate Dispute Resolution              and Arbitration);


                            6)       Article 18 ( Environmental          Matters);


                            7)       Article 19 ( Buyer' s Representations);


                            8)       Article 22 ( Broker' s and Finder' s Fees);


                            9)       Article 23 ( Communications);


                            10)      Article        26 (   XTO     Energy' s     Disclaimer      of     Warranties     and

                                     Representations);       and




                            11)      Article 27 ( Miscellaneous).


       27. 04. Choice       of    Law.     This Agreement and its performance will be construed in
accordance     with, and enforced        under, the internal laws of the State of Texas, without regard to

choice of law rules of any jurisdiction, including Texas.

        27. 05. Assignment.             Closing, neither this Agreement nor the rights and
                                     Prior     to

obligations under it may be assigned or delegated by Buyer without ExxonMobil' s prior written
consent,     which    consent     may be    withheld       for any   reason,     and   an   attempted     assignment     or

delegation    is void.After Closing, Buyer shall provide ExxonMobil with prior written notice at
the address listed in Article 23 of any assignment of rights and obligations under this Agreement
to a transferee of all or any portion of the Interests or Properties;                         provided, however, no
assignment or delegation by Buyer of its rights and obligations under this Agreement shall serve
to release Buyer from such rights or obligations in the absence of an express release by
ExxonMobil.          Buyer shall deliver to ExxonMobil              copies of any and all such assignments               or
delegation agreements within thirty (30) days of execution.

       27. 06. No Admissions.    Neither this Agreement, nor any part of it, nor any performance
under this Agreement, nor any payment of any amount under this Agreement will constitute or
may be construed as a finding, evidence of, or an admission or acknowledgment of any liability,
fault, past or present wrongdoing, or violation of law, rule, regulation, or policy, by either XTO
Energy or Buyer or their respective Associated Parties.

       27. 07. No Third -Party Beneficiaries.                   There are no third party beneficiaries              of this
Agreement.


       27. 08. Public Communications.                  Unless    provided    otherwise      in this Agreement,       Buyer

will not make any press release or public communication                     concerning this transaction ( other than
as required in a S -1 filing, reasonable advance notice of which will be provided to XTO Energy)
or XTO Energy' s operation of the Interests without XTO Energy' s prior written consent, which
consent may be withheld for any reason. Without prejudice to the foregoing, Buyer shall provide


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XTO Energy with any proposed press release or public communication ten ( 10) days prior to its
proposed release date. If Buyer is required by law, rule or stock exchange requirement to make a
public comment, statement or communication or any other disclosure with respect to this
Agreement, it will provide written notice to XTO Energy specifying the content of the proposed
disclosure, the reason that such disclosure is required, and the time and place that the disclosure
will be made.


       27.09. Audit Clause. If XTO Energy will own an interest after Closing in any Interest or
Property ( including overriding royalties, deep rights, and facilities, equipment, or pipelines) or
continue to own interests for which XTO Energy requires access across the Interests or Property
in order to exercise its rights, then, XTO Energy will reserve concurrent interests in the
applicable       easements,        rights - of -
                                               way,     contracts and other rights relating to the retained or
reserved     interests.        XTO Energy reserves the right to perform an audit as stated below one ( 1)
time per calendar year, unless the Parties mutually agree to additional audits to be performed in
the same calendar          year.



       XTO Energy, upon reasonable advance notice in writing to Buyer, shall have the right
during normal business hours to access Buyer's offices, facilities, work sites, warehouses, books,
records, correspondence, instructions, plans, drawings, receipts, vouchers, financial accounts,
data stored in computer files or microfiche and personnel to audit Buyer' s accounts and records
relating to the retained royalty interest, including any hedge agreements, facilities used for the
measurement of production from the properties, for any calendar year within the twenty -four
 24) month period following the end of such calendar year. The same audit rights are to extend
to subcontractors.
                   Buyer shall maintain supporting data and accounting records consistent with
generally accepted accounting principles, and the employees and agents of XTO Energy shall
have the right to reproduce               and retain    for the purpose       of audit,   any of these documents.   XTO

Energy shall not be liable for any of Buyer' s contractor' s or subcontractor' s costs resulting from
an audit hereunder.


          27. 10. Headings          and   Titles.    The headings and titles in this Agreement are for guidance
and convenience of reference only and do not limit or otherwise affect or interpret the terms or
provisions of this Agreement.


          27. 11.      Exhibits.       All   exhibits referenced in and attached to this Agreement                   are
incorporated        into it.


          27. 12. Includes.         The word " includes" and its syntactical variants mean " includes, but is
not    limited   to"    and    corresponding        syntactical   variants.
                                                                                The rule ejusdem generis may not be
invoked to restrict or limit the scope of the general term or phrase followed or preceded by an
enumeration of particular examples.



          27. 13.      Severability. If a court of competent jurisdiction finds any part of this Agreement
to be void, invalid, or otherwise unenforceable, then XTO Energy may decide whether to enforce
this Agreement without the void, invalid, or unenforceable parts or to terminate this Agreement.

          27. 14. Counterparts.            This Agreement may be executed in multiple counterparts, all of
which together will be considered one instrument.




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          27. 15.   Conflicts.    If the text of this Agreement conflicts with the terms of any exhibit to
this Agreement,       then the text of this Agreement        will   control.
                                                                                Additionally, if the text of this
Agreement conflicts or is inconsistent with the terms of any Additional Instruments, then the text
of this Agreement will control.


          27. 16. Not to Be Construed against the Drafter. Buyer acknowledges that it has read this
Agreement, has had opportunity to review it with an attorney of its choice, and has agreed to all
of   its terms.     Under these circumstances,      the Parties     agree that the rule of construction    that a

contract be construed against the drafter may not be applied in interpreting this Agreement.

          27. 17.   No Waiver.
                           No waiver by either Party of any part of this Agreement will be
deemed to be a waiver of any other part of this Agreement or a waiver of strict performance of
the waived part in the future.


          27. 18.   Conspicuousness.        BUYER ACKNOWLEDGES                 THAT THE PROVISIONS      OF THIS
AGREEMENT THAT ARE PRINTED IN THE SAME MANNER AS THIS SECTION ARE CONSPICUOUS.


          27. 19.   Notice   of   Litigation.
                                    XTO Energy is aware that there are litigation matters
pending against       XTO
                      Energy which may affect the Interests as described on Exhibit J. XTO
Energy shall notify Buyer promptly upon receipt of any new litigation matters served upon it
between Execution Date and Closing Date which may affect the Interests.

          27. 20.   Authority For Expenditures.Upon receipt by XTO Energy of any authorities for
expenditure ( "     AFE ") pertaining
                                   to the Interests and Property providing for an amount greater
than $ 50, 000. 00 net to XTO Energy' s interest in the Interests and Property, XTO Energy will use
its best efforts to promptly deliver notice of such AFE to Buyer and shall not render any formal
decision with respect to the AFE to its sender without first discussing such decision with Buyer;
provided, however, in the event of an emergency, XTO Energy shall have the right to take such
actions as are reasonably necessary under the circumstances without prior discussion with Buyer
if time does not permit such discussions .

          27. 21. Execution
                         by the Parties. Neither the submission of this instrument or any
information concerning the Interests for Buyer' s examination, nor discussions or negotiations
between the Parties constitutes an offer to sell, a reservation of or an option for the Interests or
Property, and this instrument and the underlying transaction will become enforceable and
binding between the Parties only upon execution and delivery of this instrument by both XTO
Energy and Buyer.




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         The Parties have executed this Agreement on the date below their signatures, to be
enforceable and binding as of the Execution Date.

DYNAMIC       OFFSHORE                              XTO OFFSHOR      INC.
RESOURCES,       LLC



By:                                                 By:

Name:                                               Name:           James L. Death -
                                                                                               Q
Title:                                              Title:
                                                               Attorney -in -Fact

Date:                                               Date:
                                                               SLAM 29, 2011
                                                    HHE                  PANY



                                                    By: ,    ENEth40                     ft+


                                                    Name:          Ja mes L. Death -
                                                                                               d
                                                    Title:     Attorney -in -Fact

                                                    Date:




                                                    XH, LLC

                                                                     G
                                                    By: `                                 l
                                                    Name:         lames L. Death
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                                                    Title:      Attorney -in -Fact

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          The Parties have executed this Agreement            on the date below their signatures,   to be
enforceable and binding as of the Execution Date.

DYNAMIC OFFSHORE                                             XTO OFFSHORE INC.
RESOURCES,          LC


By: / /                                                      By:

Name:       G. M. McCarroll                                  Name:


Title:      President   and   Chief Executive Officer        Title:


Date:                     a q                                Date:
                                     l

                                                             HHE ENERGY      COMPANY


                                                             By:

                                                             Name:


                                                             Title:



                                                             Date:




                                                             XH, LLC


                                                             By:

                                                             Name:


                                                             Title:


                                                             Date:




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                                                                                                 EXHIBIT A
                                                            ATTACHED TO AND MADE A PART OF THAT CERTAIN
                r
                                                                              PURCHASE AND SALE AGREEMENT,
                                                                          DATED EFFECTIVE              AS OF AUGUST               1, 2011,
                                                                                 BETWEEN XTO OFFSHORE INC.,
                                                                    HHE ENERGY               COMPANY,         XH, LLC, AS SELLER,
                                                           AND DYNAMIC                 OFFSHORE            RESOURCES,           LLC, AS BUYER


                                                                                   DESCRIPTION OF INTERESTS




                                                                                                                                             Gross   Interest
XTO    File #                                              Description                                            Interest      Type
                                                                                                                                              Percentage

16240001 - 00        Breton     Sound   25 -    OCS - G 31442

                     That portion of Block 25, Breton Sound Area, OCS Leasing Map,
                     Louisiana Map No. 10B, seaward of the 1975 Supreme Court Decree                           Record   Title            50. 00000%
                     Line specifically described in the OCS Block Diagram attached to
                     the lease instrument


1624 - 0002 - 00     Breton     Sound   25 - LA SL 19718
                     State Lease No.       19718,        recorded    in COB     1190, Page   672, File #
                     2008 - 00005015,     Plaquemines Parish,             Louisiana,
                                                                     being portion of        a                 Leasehold                 50. 00000%

                     Tract 39932, Plaquemines Parish Louisiana, containing 425.25 acres,
                     more or less.


3147 - 0002 - 00     Breton     Sound   27 - LA SL 4574
                     State Lease No. 4574, recorded in COB 292, Folio 163, Plaquemines
                     Parish, Louisiana, limited in depth from the surface of the earth to
                     6, 500'   subsea and      insofar    and   insofar   only as said lease covers and        Leasehold                 50. 00000%

                     affects those lands included within that certain Voluntary Unit
                     Agreement     dated October 19, 2000 created for the S. L. 15958 No. 1
                     Well covering 687. 3 acres for Breton Sound 27 Field.
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                                                                                                                                        Gross Interest
XTO File #                                               Description                                                Interest   Type
                                                                                                                                          Percentage

3147 -0001 -00     Breton     Sound    27 - LA SL 15958
                   State Lease No. 15958, recorded in COB 925, Folio 27, Plaquemines
                   Parish, Louisiana, limited in depth from the surface of the earth to
                   6, 500'   subsea and       insofar   and   insofar   only as said lease covers and            Leasehold            50. 00000%

                   affects those lands included within that certain Voluntary Unit
                   Agreement dated October 19, 2000 created for the S. L. 15958 No. 1
                   Well covering 687. 3 acres for Breton Sound 27 Field.

3148 - 0001 - 00   Breton     Sound    28 -    LA SL 1999
                   State Lease No. 1999, recorded in COB 156, Folio 184, Plaquemines
                   Parish,    Louisiana: (      Pt. B) insofar and insofar only as said lease is
                   situated    within the boundaries           of the unit created for the LLOG
                   Exploration Co. S. L. 1999 # 2, designated as the 10, 200' RA SUA
                   est. by Order # 255 -R, insofar and only insofar as said lease covers                         Leasehold
                                                                                                                                      75. 00000%

                   and affects rights beginning at a depth of 7, 200' subsea TVD down                                                 100. 00000%

                   to a depth of 11, 100' TVD ( being 100' below the total depth drilled),
                   AND (Pt. C) insofar and only insofar as said lease covers and affects
                   rights in the stratigraphic equivalent of the electric log depth
                   intervals    of 4, 928' -     4, 966', 5, 358' -     5, 360'   and   5, 505' -   5, 640' as
                   measured in the LLOG Exploration Offshore, Inc. SL 1999 # 4 ST.


3148 - 0003 - 00   Breton     Sound    29 - LA SL 2000
                   State Lease No. 2000, recorded in COB 156, Folio 191, Plaquemines
                   Parish, Louisiana, insofar and insofar only as said lease is situated
                   within the boundaries of the unit created for the LLOG Exploration
                                                                                                                 Leasehold            75. 00000%
                   Co. S. L. 1999 # 2, designated as the 10, 200' RA SUA est. by Order #
                   255 -R, insofar and only insofar as said lease covers and affects
                   rights beginning at a depth of 7, 200' subsea TVD down to a depth of
                   11, 100' TVD (being 100' below the total depth drilled).

3148 - 0002 - 00   Breton     Sound    36 - LA SL 1230
                   State Lease No. 1230, recorded in COB 126, Folio 417, Plaquemines
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                                                                                                                                                 Gross   Interest
XTO    File #                                               Description                                                      Interest   Type
                                                                                                                                                   Percentage




3148 - 0004 - 00     Breton    Sound     37 - LA SL 4409
                     State Lease No. 4409, recorded in COB 282, Folio 129, Plaquemines
                     Parish, Louisiana, insofar and insofar only as said lease is situated
                     within the boundaries of the unit created for the LLOG Exploration
                                                                                                                          Leasehold            75. 00000%
                     Co. S. L. 1999 # 2, designated as the 10, 200' RA SUA est. by Order #
                     255 -R, insofar      and only insofar as said lease covers                          and affects
                     rights beginning at a depth of 7, 200' subsea TVD down to a depth of
                     11, 100' TVD (being 100' below the total depth drilled).

3372- 0001 - 00      Breton    Sound 44 - LA SL 16736
                     State    Lease     No.      16736,      recorded       in     COB       978,       Folio      422,
                     Plaquemines       Parish, Louisiana,        insofar    and insofar      only       as said lease     Leasehold            50. 00000%
                     covers    and     effects   acreage       located      within     the    confmes           of the
                     Textularia W Zone, Reservoir A Unit, created by Order No. 1245 - B.


3372 - 0004 - 00     Breton    Sound 45 - LA SL 16735
                     State    Lease     No.      16735,      recorded       in     COB       978,       Folio     405,
                     Plaquemines       Parish, Louisiana,        insofar    and insofar      only as said lease           Leasehold            50. 00000%
                     covers    and     effects   acreage       located      within     the    confmes           of the
                     Textularia W Zone, Reservoir A Unit, created by Order No. 1245 - B.


3372 - 0006 - 00     Breton    Sound 45 - LA SL 15683
                     State    Lease     No.      15683,      recorded       in     COB       893,       Folio     225,
                     Plaquemines       Parish,   Louisiana: (        Pt. C) insofar and only insofar as
                     said lease covers         and effects      interests   below the depth of 10, 000'
                     subsea and less and except all rights to the UV3 -B interval, being the
                     stratigraphic     equivalent     of the interval            encountered        between         the
                                                                                                                                               50. 00000%
                     measured         depths     of       10, 860'    and        10, 950'     in        the     Phasor    Leasehold
                                                                                                                                               37. 50000%
                     Induction/ Sonic / GR       log in the Century ( Tenneco)                     SL    12806 #      1
                     Well located in Breton Sound Block 52, and limited to that area
                     included within the geographical boundaries of the UV B RA VUA
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                                                                                                                                            Gross   Interest
XTO File #                                                Description                                                   Interest   Type
                                                                                                                                              Percentage

3470 - 0003 - 00   Breton     Sound    45 - LA SL 17942

                   State Lease 17942, recorded in COB 1061, Folio 29, Plaquemines
                   Parish,    Louisiana,       insofar    and    only     insofar     as   said    lease    covers   Leasehold            37. 50000%

                   depths between 10, 596' and 10, 822' MD in the electric log for the
                   Century UV B RA VUA; SL 17675 # 1 Well.


3470 - 0001 - 00   Breton     Sound    45 - LA SL 17674
                   State     Lease    No.      17674,      recorded       in    COB        1038,    Folio     330,
                   Plaquemines       Parish,    Louisiana,      insofar and only insofar           as said   lease   Leasehold            37. 50000%

                   covers depths between 10, 596' and 10, 822' MD in the electric log for
                   the Century UV B RA VUA; SL 17675 # 1 Well.


3470 - 0002 - 00   Breton     Sound    52 - LA SL 17675
                   State     Lease    No.      17675,      recorded       in    COB        1038,    Folio     318,
                   Plaquemines       Parish,    Louisiana,      insofar   and only     insofar     as said lease     Leasehold            37. 50000%

                   covers depths between 10, 596' and 10, 822' MD in the electric log for
                   the Century UV B RA VUA; SL 17675 # 1 Well.


3372 - 0005 - 00   Breton     Sound    52 - LA SL 12806
                   State     Lease    No.      12806,      recorded        in   COB        670,     Folio     207,
                   Plaquemines       Parish,    Louisiana: (      Pt. D) less and except all rights to
                   the UV3 -B interval defined as being the stratigraphic equivalent of
                   the interval encountered         between the measured              depths of 10, 860' and
                   10, 950' in the Phasor Induction/ Sonic /GR log in the Century                                                         50. 00000%
                   Tenneco)      SL    12806 #     1     Well   located    in Breton        Sound    Block     52,   Leasehold
                                                                                                                                          37. 50000%
                   AND ( Pt. E) insofar and only insofar as SL 12806 falls within the
                   boundaries of that certain Voluntary Unit known as the UV B RA
                   SUA operated by Century Exploration New Orleans, Inc., covering
                   1113. 02 acres and insofar only as SL 12806 covers depths between
                   10, 596' and 10, 822' MD in the electric log for the Century UV B RA
                   VUA; SL 17675 # 1 Well
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XTO File #                                               Description                                                  Interest       Type
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3149 - 0001 - 00   Breton    Sound    53 - LA SL 3770
                   State Lease No. 3770, recorded in COB 239, Folio 675, Plaquemines
                                                                                                                   Leasehold                50. 00000%
                   Parish, Louisiana, insofar and insofar only as said lease covers
                   depths from the surface down to a subsurface                   depth of 10, 800'.


3372 - 0002 - 00   Breton    Sound 53 - LA SL 16738
                   State    Lease     No.      16738,     recorded       in     COB       978.   Folio     456,
                   Plaquemines      Parish,    Louisiana,      insofar   and    insofar   only   as   said lease   Leasehold                50. 00000%
                   covers    and    effects     acreage     located      within     the    confines      of the
                   Textularia W Zone, Reservoir A Unit, created by Order No. 1245 - B.


3203 - 0001 - 00   East Cameron        9&      14 -   OCS - G 1440
                   SE /4; E /2SW / 4 of Block         9, East Cameron          Area,   and E /2NW / 4; NE /4       Record    Title          50. 00000%
                   of Block 14, East Cameron Area


3076 - 0001 - 00   East Cameron        178 -    OCS - G 27834
                                                                                                                   Record    Title          60. 00000%
                   All of Block     178, East Cameron          Area



1634 - 0001 - 00
                   Eugene Island 226, OCS - G 33094
                                                                                                                   Record Title             100. 00000%
                   All of Block 226, Eugene           Island   Area




                   Eugene    Island   273 Reservoir         Unit ( 0' - 4900'     Sand)    Federal      Unit
                   891012338
                                                                                                                   Federal   Unit           10. 96445%
                   Comprised of portions of Eugene Island 272, 273, 284 and 285


3215 -0001 -00     Eugene    Island    272 -    OCS - G 0986
                                                                                                                   Record    Title          30. 00000%
                   All of Block 272, Eugene Island Area, South Addition
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                   E /2 / SE /4;        SW /4SE / 4;          E/ 2NW / 4SE /4;           SW /4NW / 4SE / 4;
                   E/ 2SE/ 4SW / 4;           SE/ 4SW / 4NE /4;      SW /4/ NE /4NE /4;            SE/ 4NE/ 4;
                   SE /4NE / 4NE / 4 of Block          272,   Eugene    Island   Area,     South    Addition,

                   INSOFAR AND ONLY INSOFAR as said lease covers operating                                                   Rights        30. 00000%
                                                                                                                 Operating
                   rights from the surface to the base of the 4900 -B Sand, the base of
                   which sand is identified on the IES Log of the Amoco Production
                   Company, et al, Block 273 Well No. 1 at a depth of 4, 896' MD
                    4, 859' subsea)


3216 - 0001 - 00
                   Eugene      Island   284 -    OCS - G 0991
                   NE /4; SE /4; E /2SE /4NW /4; E /2SW / 4; SW /4SW / 4; SE /4NW /4SW /4;                       Record   Title 1:         15. 00000%
                   SE /4NE /4NW /4 of Block 284, Eugene Island Area, South Addition



                   NE /4NE /4NW /4;             W /2E / 2NW / 4;       W /2NW / 4;        N /2NW / 4SW / 4;
                                                                                                                 Record   Title 2:         30. 00000%
                   SW /4NW /4SW /4 of Block 284, Eugene Island Area, South Addition


                   W /2NW / 4;        W /2SE / 4NW / 4;        W /2NE / 4NW / 4;         NE /4NE/ 4NW / 4;
                   W /2NW /4SW /4;NE /4NW /4SW /4 of Block 284, Eugene Island Area,
                   South Addition, from the surface to the base of the 4900 -B Sand, the
                                                                                                                 Operating   Rights   1:   30. 00000%
                   base of which Sand is identified on the IES Log of the Amoco
                   Production Company, et al, Block 273 Well No. 1 at a depth of 4896'
                   MD ( 4859'       subsea)



                   NE/ 4NE /4NW /4;             W /2E/ 2NW / 4;        W /2NW / 4;        N /2NW /4SW /4;
                   SW /4NW /4SW /4             of   Block     284,     Eugene     Island     Area,      South
                   Addition, INSOFAR AND ONLY INSOFAR                             as said lease covers
                   operating       rights   in depths below the base of the 4900 - B Sand,                 the   Operating   Rights   2:   15. 00000%

                   base of which is identified on the IES log of the Amoco Production
                   Company, et al, Block 273 Well No. 1 at a depth of 4896' MD (4859'
                   subsea)
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XTO    File #                                                Description                                                 Interest      Type
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                     N/ 2 of Block 286, Eugene Island Area, South Addition, from the
                     surface    of the earth to the stratigraphic                 equivalent      of 6, 611    feet
                     subsea ( which     represents       a    depth    of   100   feet    below    the depth    of    Operating Rights             45. 00000%
                     6, 511    feet subsea, as encountered               at a total depth in the Hall -
                     Houston Oil Company OCS - G 0993 Well No. 6 ST No. 1.


3218 - 0001 - 00     Eugene     Island 292, OCS - G 0994
                                                                                                                      Record   Title               30. 00000%
                     All of Block 292, Eugene Island Area, South Addition


3219 - 0001 - 00     Eugene     Island 293, OCS - G 0995

                     All of Block 293 Eugene Island Area, South Addition                                              Record   Title               30. 00000%



                     N /2N/ 2 of Block 293, Eugene Island Area, South Addition, from the
                     surface to 5, 505' TVD
                                                                                                                      Operating Rights        1:   100. 00000%




                     NE /4SW /4; NW /4SE/ 4; SE /4NW /4 of Block 293, Eugene Island
                                                                                                                      Operating   Rights      2:   100. 00000%
                     Area, South Addition from the surface to 5, 995' TVD


3220 - 0001 - 00     Eugene Island 308, OCS -G 0996
                                                                                                                      Record   Title               12. 00000%
                     All of Block 308, Eugene Island Area, South Addition


                     N /2NW / 4NW / 4;       SW /4NW / 4SW / 4;         W /2SW / 4SW / 4          of Block    308,
                     Eugene     Island Area,    South Addition
                                                                                                                      Operating Rights             30. 00000%




                     All   of Block   308,    Eugene     Island       Area,    South     Addition,     INSOFAR

                     AND ONLY INSOFAR AS to operating rights as to the C - 1 Sand,
                     identified    as that sand found in the interval                         in the Forest    Oil
                                                                                                                      Operating   Rights           30. 00000%
                     Corporation      Unit     No.   1   Well,        3, 985    feet     to   4, 125   feet ( both
                     measured depths), and any extension of said sand found on OCS -G
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XTO File #                                             Description                                                   Interest      Type
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                   SE /4SE /4NE /4;     E /2E/ 2SE /4 of Block 308,                  Eugene Island Area,
                   South Addition, INSOFAR AND ONLY INSOFAR AS to operating
                   rights from the surface down to a depth which is the stratigraphic                             Operating   Rights      30. 00000%
                   equivalent of the measured depth of 6, 050 feet found in the No. 2
                   OCS - G 0996 Well



3221 - 0001 - 00   Eugene   Island    309, OCS - G 0997
                                                                                                                  Record   Title          30. 00000%
                   All of Block 309, Eugene Island Area, South Addition


                   SW /4 of Block 309, Eugene Island Area, South Addition INSOFAR
                   AND ONLY INSOFAR as to depths from the surface of the earth
                   down to and including, but not below, a total depth of 7, 014' TVD                                         Rights      37. 50000%
                   identified      as the total depth of the Columbia                   Gas Development
                                                                                                                  Operating
                   Corporation      OCS - G   1981    J -1   S/ T # 1 -     being    7, 014'    TVD / 8, 385'
                   MD)



3077 - 0001 - 00   Eugene Island 311 - OCS -G 27918
                                                                                                                  Record   Title          60. 00000%
                   All of Block 311, Eugene Island Area, South Addition


3212 - 0001 - 00   Eugene   Island 312 -      OCS - G 22679
                   E /2NW / 4 &     W /2NE /4 of Block 312, Eugene Island Area, South                             Operating Rights        60. 00000%

                   Addition, from 0 to 9, 000' TVD


3214 - 0001 - 00   Eugene   Island    313 -   OCS - G 2608
                   NE /4 of Block 313, Eugene Island Area, South Addition, from the
                   sub -surface of the ground down to and including 100' below the
                                                                                                                  Operating   Rights      25. 00000%
                   stratigraphic     equivalent      of the true          vertical   depth     of 8, 320   feet
                   subsea as encountered          in the Aviara Energy Corporation                   OCS - G
                   2608 No. J- 4 Well



3264- 0001 - 00    High Island      34, OCS - G 20655
                                                                                                                  Record   Title          45. 00000%
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XTO File #                                             Description                                         Interest      Type
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3265- 0001 - 00    High Island      A -554, OCS - G 21356
                                                                                                        Record   Title          25. 00000%
                   All of Block A -554, High Island Area, South Addition


3074 - 0001 - 00   Main   Pass 29, OCS - G 27196
                                                                                                        Record Title            50. 00000%
                   All of Block 29, Main Pass Area


1625 - 0001 - 00   Main Pass 87- OCS - G 31433
                                                                                                        Record   Title          50. 00000%
                   All of Block 87, Main Pass Area



3329 - 0001 - 00   Main Pass 94 - OCS - G 7802
                                                                                                                                20. 85200%
                   SE/ 4 of Block          94, Main Pass Area, as to those      depths    from the      Operating Rights        5. 88133%
                   surface of the earth down to 9, 414' MD / 5, 666' TVD


1625- 0002 - 00
                   Main Pass 96- OCS -G 31434
                                                                                                        Record   Title          50. 00000%
                   All of Block 96, Main Pass Area



3318 - 0001 - 00   Main Pass       101-    OCS - G 22792                                                                        60. 45000%
                                                                                                        Record   Title
                   All of Block 101, Main Pass Area                                                                             17. 05000%


                   N /2N /2NE /4 of Block 101, Main Pass Area, limited to those depths
                   from   the    surface      of the   earth   down   to   a depth   equal   to   the                           58. 50000%
                                                                                                        Operating Rights
                   stratigraphic     equivalent   of the total depth drilled in the Main Pass                                   16. 50000%

                   Block 101 Well No. 7, being 5, 434 feet True Vertical Depth

3322 - 0001 - 00   Main   Pass     109 -   OCS - G 22794
                   SW /4NW / 4, NW /4SE / 4NW / 4, SW /4NE / 4NW / 4 of Block            109, Main
                   Pass Area, from the surface of the earth down to a depth of 100'                                             25. 99740%

                   below the stratigraphic        equivalent of a true vertical depth of 4, 622
                                                                                                        Operating Rights        7. 33260%
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XTO File #                                            Description                                               Interest      Type
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                   N /2NE /4,     NW /4SW /4NE /4,        NE /4SE /4NW / 4,      SE /4NE /4NW /4        of
                   Block 109, Main Pass Area, from the surface of the earth down to a
                                                                                                                                     25. 99740%
                   depth   of   100'    below the   stratigraphic   equivalent    of   a   true   vertical
                                                                                                             Operating Rights        7. 33260%
                   depth of 9, 937 feet as measured in the LLOG Exploration Offshore,
                   Inc. OCS - G 22794 No. 2 Well ( currently named the # D -1 Well)


3325 - 0001 - 00   Main    Pass 112 -      OCS - G 9707
                                                                                                             Record   Title          100. 00000%
                   All of Block 112, Main Pass Area


3072 - 0001 - 00   Main Pass 114, OCS - G 27201
                                                                                                             Record   Title          100. 00000%
                   All of Block 114, Main Pass Area


3326 - 0001 - 00   Main Pass 116 - OCS - G 3419
                                                                                                             Record Title            100. 00000%
                   All of Block        116, Main Pass Area



3331 - 0001 - 00   Main    Pass 118, OCS - G 22797
                   S/ 2 of Block       118, Main Pass Area, from the surface down to 20, 000                 Operating Rights        83. 33333 %*
                   feet true vertical depth subsea
                    This interest is subject to Consent from Shell Offshore Inc.
                   pursuant       to that certain     Farmout Agreement             dated effective
                   July 1, 2005

1626- 0001 - 00    Main    Pass   119, OCS - G 31438
                                                                                                             Record   Title          50. 00000%
                   All of Block 119, Main Pass Area


3061 - 0001 - 00   Main    Pass   125, OCS - G 25019
                                                                                                             Record   Title          62. 50000%
                   All of Block        125, Main Pass Area



3561- 0001 - 00    Main Pass 179, OCS -G 33127
                                                                                                             Record   Title          100. 00000%
                   All of Block 179, Main Pass Area, South and East Addition
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XTO File #                                          Description                                             Interest      Type
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3423 - 0001 - 00   Ship Shoal 188 - OCS - G 22712
                                                                                                         Record   Title          100. 00000%
                   All of Block 188, Ship Shoal Area

                   All   of   Block    188,    Ship Shoal Area, INSOFAR AND ONLY
                   INSOFAR       as to depths   from the surface   of   the earth   down    to 17, 000   Operating Rights        75. 00000%

                   feet subsea


                   XTO Offshore Inc. and its Affiliates reserve and exclude all rights
                   they have under that certain Lease Purchase Agreement dated
                   effective January 22, 2002, by and between • EEX Corporation
                     EEX ")    and    Aviara   Energy   Corporation ( "   Aviara "),   as   amended

                   April 1, 2005, by and between Newfield Exploration Gulf Coast,
                   Inc. and Hunt Petroleum ( AEC), Inc., as such agreements pertain to
                   all depths from 17, 000 feet to 100, 000 feet subsea and expressly
                   reserve  and exclude  the 5%   of 8 /8ths overriding royalty interest
                   reserved by Aviara in that certain Assignment of Operating Rights
                   dated effective January 22, 2002, by and between Aviara and EEX.

3416 - 0001 - 00   Ship Shoal 204, OCS - G 1520
                                                                                                         Record Title            5. 60514%
                   All of Block 204, Ship Shoal Area



3418 - 0001 - 00
                   Ship Shoal 207, OCS - G 1523
                                                                                                         Record   Title          6. 18214%
                   All of Block 207, Ship Shoal Area


                   All   of   Block    207,    Ship Shoal area, INSOFAR AND ONLY
                   INSOFAR,      as   it pertains to all rights below 15, 000' down to 99, 999'          Operating Rights        6. 18214%
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XTO File #                                         Description                                              Interest       Type
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3419 - 0001 - 00   Ship Shoal 216, OCS -G 1524
                                                                                                         Record    Title          5. 77000%
                   All of Block 216, Ship Shoal Area


                   Ship Shoal 271 Field Unit Federal Unit # 891008784
                                                                                                         Federal   Unit           34. 27967%
                   Comprised of portions of Ship Shoal 247, 248, 249, 270, 271



3424- 0001 - 00    Ship Shoal 247, OCS - G 1028
                                                                                                         Record Title             36. 66670%
                   N/ 2 of Block 247, Ship Shoal Area, South Addition


                   SW /4 of Block 247, Ship Shoal Area, South Addition                                   Record    Title          40. 00000%




                   SE /4 of Block 247, Ship Shoal Area, South Addition                                   Record    Title          30. 00000%




3425- 0001 - 00    Ship Shoal 248, OCS - G 1029
                                                                                                         Record Title             40. 00000%
                   NW /4; S/ 2 of Block 248, Ship Shoal Area, South Addition


                   NE /4 of Block 248, Ship Shoal Area, South Addition                                   Record Title             30. 00000%



3426- 0001 - 00    Ship Shoal 249, OCS - G 1030
                                                                                                         Record    Title          40. 00000%
                   All of Block 249, Ship Shoal Area, South Addition


                   NE /4; S/ 2 of Block 249, Ship Shoal Area, South Addition only as to
                   those   depths   above   the stratigraphic    equivalent   of   15, 108   feet   as   Operating    Rights      12. 00000%

                   identified on the electric log for the OCS -G 1030, well No. D -2.


                   NW /4 of Block 249, Ship Shoal Area, South Addition only as to
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3428 - 0001 -00      Ship Shoal 271, OCS -G 1038

                     All of Block 271, Ship Shoal Area, South Addition                               Record   Title          30. 00000%



3421 -0001 -00       Ship Shoal 291, OCS - G 2923
                     N2
                      / NW /4; SW /4NW /4; NW /4SE /4NW4 of Block 291, Ship Shoal
                     Area, South Addition, INSOFAR,             as it pertains   to all rights and
                                                                                                                             7. 01463%
                     horizons from the surface down to and including 100' below the                  Operating Rights        2. 10000%
                     stratigraphic equivalent of 6110 feet subsea as drilled and logged in
                     the Hall- Houston Oil Company OCS -G 2923 No. 4 Well ( currently
                     named the B -1 Well).




3445- 0001 - 00      South   Marsh    Island   40, OCS - G 13607                                                             89. 00000%
                                                                                                     Record   Title
                     All of Block    40, South Marsh   Island   Area                                                         11. 00000%


3446- 0001 -00       South Marsh Island 41, OCS - G 1192

                     E/ 2 of Block 41, South Marsh Island Area, INSOFAR AND ONLY
                                                                                                                             89. 00000%
                     INSOFAR as to depths from surface of the earth down to 11, 500 feet             Operating Rights        11. 00000%
                     TVD



3447 - 0001 - 00     South Marsh Island 44, OCS -G 23840
                     All of Block 44, South Marsh Island Area, from surface down to a                Operating Rights        50. 00000%
                     depth of 15, 500' TVD


3080 - 0001 - 00     South Marsh Island 45, OCS - G 31353
                                                                                                     Record   Title          50. 00000%
                     All of Block 45, South Marsh      Island   Area



3435 - 0001 - 00     South   Marsh    Island   109, OCS - G 24873
                                                                                                     Record   Title          54. 16667%
                     All of Block 109, South Marsh Island Area, South Addition
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XTO File #                                               Description                                           Interest      Type
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3437 - 0001 - 00   South    Marsh      Island    Block   139, OCS - G 21106
                   SW /4SW /4        and S /2NW /4SW /4 of Block 139 South Marsh Island
                   Area, South Addition, as to depths from below 6, 000' TVD subsea to
                                                                                                            Operating Rights        75. 00000%
                   and including 9, 830' TVD, being 100' below the stratigraphic
                   equivalent of the total depth drilled in the Hunt Petroleum ( AEC),
                   Inc. OCS -G 21106 No. B -2 STOO BP01 Well


3439 -0001 -00     South Marsh Island Block 146 , OCS - G 9546
                   NW /4NW /4 and NW /4NE /4NW /4 of Block 146, South Marsh Island
                   Area, South Addition, as to depths from 6, 000' TVD subsea down to
                   and
                           including     9, 830'    TVD      being   100'   below   the     stratigraphic   Operating Rights        75. 00000%
                   equivalent    of the total        depth    drilled ( 9730'     TVD)      in the   Hunt
                   Petroleum (      AEC),    Inc. OCS - G 21106 ( South Marsh Island Block
                   139) No. B -2 STOO BP01           Well.



3438 - 0001 - 00   South    Marsh      Island    142, OCS - G 1216
                                                                                                            Record   Title          55. 00000%
                   All of Block 142, South Marsh Island Area, South Addition


                   S /2SE /4; E/ 2S /2SW /4 of Block 142, South Marsh Island Area, South
                                                                                                            Operating Rights        55. 00000%
                   Addition



3443 - 0001 - 00   South    Marsh      Island    269, OCS - G 2311
                                                                                                            Record   Title          9. 06733%
                   All of Block 269, South Marsh Island Area, North Addition



3444 - 0001 - 00   South    Marsh      Island    281, OCS - G 2600
                                                                                                            Record   Title          10. 47658%
                   All of Block 281, South Marsh Island Area, North Addition


3451- 0001 - 00    South    Pass 42 - LA SL 16869
                   State    Lease      No.      16869,    recorded     in   COB     995,     Folio   683,
                   Plaquemines       Parish,       Louisiana, INSOFAR ONLY                 as said lease
                   covers land lying INSIDE the geographic boundaries of that certain                       Leasehold
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                                                                                                                                           Gross     Interest
XTO File #                                               Description                                                Interest      Type
                                                                                                                                             Percentage

3451- 0007 - 00    South    Pass 43 - LA SL 16870
                   State Lease No. 16870, recorded in COB 992, Folio 8, Plaquemines
                   Parish, Louisiana, INSOFAR ONLY as said lease covers land lying
                   INSIDE the geographic            boundaries       of that certain Voluntary            Unit   Leasehold               75. 00000%
                   designated as the 04 RA VUA Unit, established by that certain
                   Voluntary Unit Agreement dated October 19, 2005, recorded in
                   Book 1137, Page 493, File No. 2007 -00001208 of the Conveyance
                   Records of Plaquemines Parish, Louisiana


3451- 0006 - 00    South    Pass 43, OCS - G 22781
                   That portion of Block 43, South Pass Area, seaward of the 1975                                                        9. 75000%
                                                                                                                 Record   Title
                   Supreme       Court Decree       Line    specifically     described         on the OCS                                2. 75000%
                   Block Diagram attached to the lease instrument.


                   That portion of Block 43, South Pass Area, seaward of the 1975
                   Supreme Court Decree Line specifically described on the OCS
                   Block Diagram attached to the lease instrument INSOFAR AND
                   ONLY INSOFAR as it covers depths from the surface of the earth to                                                     58. 50000%
                                                                                                                 Operating Rights
                   the    base   of   the "   0"   Sand     Series      defined   as     the   stratigraphic                             16. 50000
                   equivalent     of a measured          depth   of 12, 030       feet   as seen      on the
                   Induction Electric Log for the Shell Oil Company, State Lease 2554
                   No. 10 Well.



                   That    portion    of Block     43,   South   Pass    Area,    seaward      of the     1975
                   Supreme       Court   Decree     Line    specifically     described         on   the   OCS
                                                                                                                                         19. 50000%
                   Block    Diagram      attached    to the lease       instrument       INSOFAR          AND    Operating     Rights
                                                                                                                                         5. 50000%
                   ONLY INSOFAR               as it covers depths       from below the          base of the
                    0" Sand Series to 30, 000 feet


3531 - 0001 - 00   Vermilion      313 OCS - G 1172
                                                                                                                 Record   Title          50. 00000%
                   All of Block 313, Vermilion Area, South Addition
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                                                                                                                                                       Gross   Interest
XTO File #                                                   Description                                                   Interest       Type
                                                                                                                                                         Percentage

                   N /2;    SW /4     of    Block          313,   Vermilion           Area,     South     Addition,
                   INSOFAR          AND      ONLY          INSOFAR         as   the operating       rights      cover
                                                                                                                        Operating    Rights      2   50. 00000%
                   from the surface of the earth down to and including, but not below, a
                   total depth of 9, 000' TVD


3567- 0001 - 00    Vermilion       264, OCS - G 33603
                                                                                                                        Record    Title              100. 00000%
                   All of Block 264, Vermilion Area, South Addition


                   West Cameron            Block    507 Field       Unit Federal         Unit # 754394008
                                                                                                                        Federal   Unit               100. 00000%
                   Comprised       of portions      of   West Cameron           485 &     507



3163 - 0001 - 00   West Cameron            485,    OCS - G 2220
                                                                                                                        Record    Title              100. 00000%
                   All of Block 485, West Cameron Area, South Addition


3165- 0001 - 00    West Cameron            507 ( S / 2),    OCS - G 10594
                                                                                                                        Record    Title              100. 00000%
                   S/ 2 of Block 507, West Cameron Area, South Addition


                   SW /4SE /4; E /2SE /4; S /2NW /4SE /4; NE /4NW /4SE /4 of Block 507,
                   West Cameron Area, South Addition, from the surface of the earth
                   down to and including 100' below                  the stratigraphic equivalent of the                Operating    Rights          50. 00000%
                   true    vertical   depth       of     10, 798'   as    encountered           in the Newfield
                   Exploration Company, OCS - G 2549 No. C -1 ( formerly No. 2) Well

3164 - 0001 - 00   West Cameron            507 ( N /2), OCS - G 2549
                                                                                                                        Record    Title              100. 00000%
                   N/2 of Block 507, West Cameron Area, South Addition


                   E /2NE / 4; SE /4SW / 4NE / 4 of Block                507, West      Cameron         Area,   South

                   Addition, from the surface of the earth down to and including 100'
                   below     the    stratigraphic          equivalent     of    the    true   vertical     depth   of   Operating Rights             50. 00000%

                   10, 798' as encountered in the Newfield Exploration Company OCS-
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                                                             EXHIBIT A -1
                              ATTACHED           TO AND MADE A PART OF THAT CERTAIN
                                            PURCHASE AND SALE AGREEMENT,
                                          DATED EFFECTIVE                AS OF AUGUST           1, 2011,
                                               BETWEEN XTO OFFSHORE INC.,
                                      HHE ENERGY COMPANY, XH, LLC, AS SELLER,
                             AND DYNAMIC OFFSHORE RESOURCES, LLC, AS BUYER


                                                             CONTRACTS


XTO       Area     Block   OCS - G / ST     Agreement       Agmt Date        Party 1                       Party 2
Agmt. #                    Lse #            Type

0283698   Breton   25      SL 19718         Lease           July 9, 2008     State of Louisiana            Robert   A.
          Sound                                                                                            Schreider,    Inc.
          Area


0283658   Breton   25      31442            Lease           February 1,      United States of              LLOG     Exploration
          Sound                                             2008             America                       Offshore,     Inc.

          Area


0297856   Breton   25      SL 19718 &       Operating       March   1,       LLOG   Exploration            LLOG     Exploration
          Sound            31442            Agreement       2009             Offshore,   Inc.              Offshore, Inc. et al
          Area


0297980   Breton   25      SL 19718 &       Participation   March 1,         LLOG   Exploration            XTO Offshore Inc.
          Sound            31442            Agreement       2009             Offshore, Inc.et al
          Area
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XTO       Area     Block     OCS - G / ST      Agreement       Agmt Date             Party 1               Party 2
Agmt. #                      Lse #             Type


0276212   Breton   29        SL 2000           Lease           August    8,          State of Louisiana    Kerr - McGee         Oil
          Sound                                                1951                                        Industries,    Inc.


0276213   Breton   37        SL 4409           Lease           October    22,        State of Louisiana    Sunray DX Oil
          Sound                                                1964                                        Company

0276208   Breton   27        SL 4574           Lease           August    16,         State of Louisiana    Kerr - McGee         Oil
          Sound                                                1965                                        Industries,    Inc., et
                                                                                                           al



0276207   Breton   27        SL 15958          Lease           January 14,           State of Louisiana    Kerr - McGee         Oil &
          Sound                                                1998                                        Gas Corp.

0295071   Breton   27        SL 4574 &         Participation   April   1, 2000       Kerr -McGee   Oil &   LLOG    Exploration
          Sound              15958             Agreement,                            Gas Corp.             Offshore,     Inc.
                                               as amended



0295072   Breton   27        SL 4574 &         Operating       June 26, 2000         Kerr -McGee   Oil &   LLOG    Exploration
          Sound              15958             Agreement                             Gas Corp.             Offshore,     Inc.


0418833   Breton   27        SL 4574 &         Voluntary       October 19,           The State Mineral     Kerr- McGee          Oil &
          Sound              15958             Unit            2000                  Board                 Gas Corp., et al
                                               Agreement


0295077   Breton   27, 28,   SL 4574,          Farmout         September        5,   Kerr -McGee   Oil &   LLOG    Exploration
          Sound    29, 36    1999, 2000,       Agreement       2002                  Gas Corp.             Offshore,     Inc.
                        37   1230 &    4409


0295077   Breton   28, 29,   SL 1999,          Operating       March     19,         Kerr -McGee   Oil &   LLOG    Exploration
          Sound    36 &      2000,    1230 &   Agreement       2003                  Gas Corp.             Offshore,     Inc.
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XTO       Area     Block     OCS -G / ST       Agreement    Agmt Date          Party 1                Party 2
Agmt. #                      Lse #             Type


0417942   Breton   27, 28,   SL 4574,          Purchase &   April   1, 2004    LLOG Exploration       Hunt Petroleum
          Sound    29, 36    15958,    1999,   Sale                            Offshore Inc., et al   Corporation
                        37   2000,    1230 &   Agreement
                             4409




0276214   Breton   53        SL 3770           Lease        April 26,          State of Louisiana     Union Oil
          Sound                                             1961                                      Company of
                                                                                                      California

0276222   Breton   52        SL 12806          Lease        July 13, 1987      State of Louisiana     Tenneco     Oil
          Sound                                                                                       Company

0276214   Breton   53        SL 3770           Partial      May 1, 1994        Union Oil Company of   Badger    Oil
          Sound                                Assignment                      California             Corporation




0276223   Breton   45        SL 15683          Lease        April   14,        State of Louisiana     Stephen M.
          Sound                                             1997                                      Jenkins &
                                                                                                      Associates,     Inc.


0276218   Breton   44        SL 16736          Lease        June    19, 2000   State of Louisiana     Robert A.
          Sound                                                                                       Schroeder, Inc.

0276221   Breton   45        SL 16735          Lease        June    19, 2000   State of Louisiana     Robert A.
          Sound                                                                                       Schroeder, Inc.

0276220   Breton   52        SL 16737          Lease        June    19, 2000   State of Louisiana     Robert   A.
          Sound                                                                                       Schroeder, Inc.
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XTO       Area     Block     OCS - G / ST      Agreement    Agmt Date             Party 1                Party 2
Agmt. #                      Lse #             Type


0295080   Breton   44, 45,   SL 3770,          Operating                          LLOG   Exploration &
                                                            January 15,                                  Century
          Sound    52, 53    12806,            Agreement,   2001                  Production Company     Exploration    New
                             15683,            as amended                                                Orleans, Inc.
                             16735,
                             16736,    16737
                               16738

0342454   Breton   45 &      SL 3770 &         Production   December        1,    LLOG   Exploration &   Century
          Sound    53        15683             Handling     2001                  Production Company     Exploration
                                               Agreement,                                                Company
                                               as amended



0276227   Breton   45        SL 17674          Lease        December        16,   State of Louisiana     Century
          Sound                                             2002                                         Exploration

                                                                                                         Company

0276228   Breton   52        SL 17675          Lease        December        16,   State of Louisiana     Century
          Sound                                             2002                                         Exploration

                                                                                                         Company

0295082   Breton   45 &      SL 12806,         Operating    March    27,          Century Exploration    LLOG   Exploration
          Sound    52        15683,            Agreement    2003                  New Orleans, Inc.        Production
                             17674,    17675                                                             Company
                               17942


0295081   Breton   44, 45,   SL 12806,         TEX W RA     June   16, 2003       Louisiana Office of    LLOG   Exploration
          Sound    52, 53    15683,            SUA Unit                           Conservation           Company, LLC
                             16735,            Agreement
                             16736, 16737
                               16738


0295079   Breton   45 &      SL 12806,         UV B RA      August    14,         The State Mineral      Century
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XTO       Area      Block     OCS - G / ST     Agreement    Agmt Date             Party 1                  Party 2
Agmt. #                       Lse #            Type


0314460   Breton    52 &      SL 3770 &        Production   August     19,        Palace Operating         LLOG       Exploration
          Sound     53        12806            Handling     2003                  Company                    Production
                                               Agreement                                                   Company, et al

0276229   Breton    45        SL 17942         Lease        November              State of Louisiana       Cypress
          Sound                                             17, 2003                                       Exploration

                                                                                                           Company

0417942   Breton    44, 45,   SL 3770,         Purchase &   April   1, 2004       LLOG Exploration         Hunt Petroleum
          Sound     52, 53    12806,           Sale                               Offshore Inc., et al     Corporation
                              15683,           Agreement
                              16735,
                              16736,
                              16737,
                              16738,
                              17942,
                              17674,   17675


0295083   Breton    52        SL 17675         Production   May 15, 2004          Century Exploration      Century
          Sound                                Handling                           New Orleans, Inc., et    Exploration        New
                                               Agreement                          al                       Orleans,    Inc.


0361567   Breton    45        SL 15683         Farmout      November         1,   XTO   Offshore,   Inc.   Century
          Sound '                              Agreement,   2010                                           Exploration        New
                                               as amended                                                  Orleans,    Inc.


0365804   Breton    45        SL 15683         Order No.    January 12,           The State Mineral and
          Sound                                1245 - B     2011                  Energy Board
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XTO       Area      Block    OCS =G / ST   Agreement       Agmt Date       Party 1                      Party 2
Agmt. #                      Lse #         Type

0253895   East      9 & 14   1440          Operating       April 1, 1966   Pan American                 Mobil    Oil
          Cameron                          Agreement,                      Petroleum      Corporation   Corporation
          Area                             as amended




0278039   East      178      27834         Lease           July 1, 2006    United     States   of       Hunt Petroleum
          Cameron                                                          America                      AEC),     Inc.
          Area


0295297   East      178      27834         Operating       February 1,     Hunt Petroleum               Nippon    Oil
          Cameron                          Agreement       2008            AEC),      Inc.              Exploration
          Area                                                                                          U. S. A. Limited


0295296   East      178      27834         Participation   February 1,     Hunt Petroleum               Nippon    Oil
          Cameron                          Agreement       2008            AEC), Inc.                   Exploration
          Area                                                                                          U.S. A. Limited

0295295   East      178      28533         Right - Of-     October 7,      Minerals     Management      Hunt Petroleum
          Cameron                          Way             2008            Service                      AEC),     Inc.
          Area




0297145   Eugene    226      33094         Lease           July 1, 2009    United States of             Hunt Petroleum
          Island                                                           America                      AEC),    Inc.
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XTO       Area       Block   OCS -G / ST   Agreement      Agmt Date           Party 1                    Party 2
Agmt. #                      Lse #         Type




0265425   Eugene     272     986           Lease          June   1,   1962    United    States   of      Forest Oil
          Island                                                              America                    Corporation
          Area,
          South
          Addition


0294344   Eugene     272     986           Unit           February 13,        Forest   Oil Corporation   Cabot
          Island                           Operating      1970                                           Corporation, et al
          Area,                            Agreement
          South
          Addition


0417927   Eugene     272     986           Unit           December       1,   Forest Oil Corporation     Amoco     Production
          Island                           Agreement      1972                                           Company, et al
          Area,                             14 - 08-
          South                            0001 - 12338
          Addition


0294344   Eugene     272     986           Gas            December 29,        Forest   Oil Corporation   Columbia Gas
          Island                           Balancing &    1994                                           Development
          Area,                            Storage                                                       Corporation
          South                            Agreement
          Addition




0265426   Eugene     284     991           Lease          June 1, 1962        United States of           Forest   Oil
          Island                                                              America                    Corporation
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XTO       Area       Block   OCS -G / ST   Agreement      Agmt Date         Party 1                    Party 2
Agmt. #                      Lse #         Type


0294344   Eugene     284     991           Unit           February 13,      Forest Oil Corporation     Cabot
          Island                           Operating      1970                                         Corporation, et al
          Area,                            Agreement
          South
          Addition


0417927   Eugene     284     991           Unit           December     1,   Forest Oil Corporation     Amoco Production
          Island                           Agreement      1972
                                                                                                       Company, et al
          Area,                             14- 08 -
          South                            0001 - 12338
          Addition


0294344   Eugene     284     991           Gas Storage    December    29,   Forest   Oil Corporation   Columbia Gas
          Island                             Balancing    1994                                         Development
          Area,                            Agreement                                                   Corporation
          South
          Addition




0265419   Eugene     286     993           Lease          June 1,   1962    United    States   of      Forest   Oil
          Island                                                            America                    Corporation
          Area,
          South
          Addition


0294315   Eugene     286     993           Unit           May 4, 1966       Forest Oil Corporation     Consolidated   Gas
          Island                           Agreement
                                                                                                       Supply
          Area,                             14 -08-                                                    Corporation, et al
          South                            0001 - 8764
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XTO       Area       Block   OCS -G / ST   Agreement        Agmt Date         Party 1                    Party 2
Agmt. #                      Lse #         Type

0294314   Eugene     286     993           Unit             May 4, 1966       Forest   Oil Corporation   Texas   Gas

          Island                           Operating                                                     Exploration

          Area,                            Agreement,                                                    Corporation,    et al

          South                            as amended

          Addition


0417934   Eugene     286     993           Unit             December    29,   Forest   Oil Corporation   Columbia      Gas

          Island                           Agreement        1977                                         Development

          Area,                            EI 287 " D"                                                   Corporation

          South                            Platform    WI
          Addition                         Unit


0294314   Eugene     286     993           Gas Storage      December    29,   Forest   Oil Corporation   Columbia      Gas

          Island                             Balancing      1994                                         Development

          Area,                            Agreement                                                     Corporation

          South
          Addition


0418812   Eugene     286     993           Operating        April 28,         Hall- Houston     Oil      Columbia      Gas

          Island                           Agreement        1995              Company                    Development

          Area,                                                                                          Corporation

          South
          Addition


0294321   Eugene     286     993           Participation    April 28,         Columbia Gas               Hall- Houston       Oil

          Island                           Agreement,       1995              Development                Company
          Area,                            as amended                         Corporation

          South
          Addition


0317713   Eugene     286     993           Production       June   14, 1995   Columbia    Gas            Hall- Houston Oil
          Island                                                              Development                Company
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XTO       Area       Block   OCS - G / ST   Agreement     Agmt Date           Party 1                    Party 2
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0265418   Eugene     292     994            Lease         June   1,   1962    United States of           Forest   Oil
          Island                                                              America                    Corporation
          Area,
          South
          Addition


0294315   Eugene     292     994            Unit          May 4, 1966         Forest Oil Corporation     Consolidated Gas
          Island                            Agreement                                                    Supply
          Area,                              14 -08-                                                     Corporation, et al
          South                             0001 - 8764
          Addition


0294314   Eugene     292     994            Unit          May 4, 1966         Forest Oil Corporation     Texas    Gas
          Island                            Operating                                                    Exploration
          Area,                             Agreement,                                                   Corporation, et al
          South                             as amended

          Addition


0294314   Eugene     292     994            Gas Storage   December      29,   Forest   Oil Corporation   Columbia Gas
          Island                              Balancing   1994                                           Development
          Area,                             Agreement                                                    Corporation
          South
          Addition




0265422   Eugene     293     995            Lease         June   1,   1962    United States of           Forest Oil
          Island                                                              America                    Corporation
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XTO       Area       Block   OCS -G / ST   Agreement      Agmt Date         Party 1                  Party 2
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0294314   Eugene     293     995           Unit           May 4, 1966       Forest Oil Corporation   Texas    Gas

          Island                           Operating                                                 Exploration

          Area,                            Agreement,                                                Corporation,     et al

          South                            as   amended

          Addition


0294315   Eugene     293     995           Unit           May 4, 1966       Forest Oil Corporation   Consolidated Gas
          Island                           Agreement                                                 Supply
          Area,                             14 - 08-                                                 Corporation, et al
          South                            0001 - 8764
          Addition


0294314   Eugene     293     995           Gas            September         CNG Producing            Columbia       Gas

          Island                           Balancing &    29, 1994          Company                  Development

          Area,                            Storage                                                   Corporation

          South                            Agreement

          Addition




0265416   Eugene     308     996           Lease          June 1,    1962   United    States   of    Forest   Oil

          Island                                                            America                  Corporation

          Area,
          South
          Addition


0294314   Eugene     308     996           Unit           May 4, 1966       Forest Oil Corporation   Texas    Gas

          Island                           Operating                                                 Exploration

          Area,                            Agreement,                                                Corporation,     et al

          South                            as amended
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Agmt. #                      Lse #          Type


0294315   Eugene     308     996            Unit            May 4, 1966        Forest Oil Corporation     Consolidated Gas
          Island                            Agreement                                                     Supply
          Area,                                  14 - 08-                                                 Corporation, et al
          South                             0001 - 8764
          Addition


0419424   Eugene     308     996            Operating       June   1,   1991   Energy Development         Columbia Gas
          Island                            Agreement                          Corporation                Development
          Area,                                                                                           Corporation, et al
          South
          Addition




0265423   Eugene     309     997            Lease           June   1,   1962   United States of           Forest   Oil
          Island                                                               America                    Corporation
          Area,
          South
          Addition


0294315   Eugene     309     997            Unit            May 4, 1966        Forest   Oil Corporation   Consolidated Gas
          Island                            Agreement                                                     Supply
          Area,                              14 -08-                                                      Corporation, et al
          South                             0001 - 8764
          Addition


0294314   Eugene     309     997            Unit            May 4, 1966        Forest Oil Corporation     Texas Gas
          Island                            Operating                                                     Exploration
          Area,                             Agreement,                                                    Corporation,   et al

          South                             as    amended
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0418286   Eugene     309     997            Participation   November             Columbia Gas               Total Minatome
          Island                            Agreement,      22, 1989             Development                Corporation, et al
          Area,                             as amended      Amended              Corporation
          South                                             January 2,
          Addition                                          1990


0294314   Eugene     309     997            Gas Storage     December 29,         Forest   Oil Corporation   Columbia Gas
          Island                              Balancing     1994                                            Development
          Area,                             Agreement                                                       Corporation
          South
          Addition


0418585   Eugene     309     997            Unit            January 1,           Forest   Oil Corporation   Columbia      Gas
          Island                            Agreement       1996                                            Development
          Area,                             EI 309 " C"                                                     Corporation
          South                                 G"
          Addition                          Platforms


0294581   Eugene     309     997            Operating       June   1,    1999    Aviara Energy              Eugene    Island
          Island                            Agreement                            Corporation                309, LLC
          Area,
          South
          Addition


0292529   Eugene     309     997            Venture         June   15,    1999   Aviara Energy              Eugene    Island
          Island                            Agreement                            Corporation                309, LLC
          Area,
          South
          Addition


0418053   Eugene     309     997            Production      July 1, 2008         Mariner Energy, Inc.,      Hunt Petroleum

          Island                                                                 et al                      AEC), Inc., et al
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XTO       Area       Block   OCS - G / ST   Agreement     Agmt Date        Party 1                       Party 2
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0340710   Eugene     311     27918          Data          April 2, 2002    Western    Geco,   L. L. C.   Aviara Energy
          Island                            Acquisition                                                  Corporation, et al
          Area,                             Agreement

          South
          Addition


0418791   Eugene     311     27918          Area of       March 29,        Hunt Petroleum                Energy Partners,
          Island                            Mutual        2005             AEC),     Inc.                Ltd.

          Area,                             Interest
          South                             Agreement
          Addition


0352139   Eugene     311     27918          Operating     October   25,    Hunt Petroleum                Energy Partners,
          Island                            Agreement,    2005             AEC),     Inc.                Ltd.

          Area,                             as amended

          South
          Addition


0278043   Eugene     311     27918          Lease         July 1, 2006     United    States of           Hunt Petroleum

          Island                                                           America                        AEC),    Inc.
          Area,
          South
          Addition




0277275   Eugene     312     22679          Lease         June   1, 2001   United States of              Devon Energy
          Island                                                           America                       Production
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XTO       Area       Block   OCS - G / ST   Agreement       Agmt Date       Party 1                       Party 2
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0340710   Eugene     312     27679          Data            April 2, 2002   Western    Geco,   L. L. C.   Aviara Energy
          Island                            Acquisition                                                   Corporation,     et al
          Area,                             Agreement

          South
          Addition


0418791   Eugene     312     27679          Area of         March 29,       Hunt Petroleum                Energy Partners,
          Island                            Mutual          2005            AEC),     Inc.                Ltd.
          Area,                             Interest
          South                             Agreement
          Addition


0295226   Eugene     312     22679          Farmout         October   25,   Devon Energy                  Hunt Petroleum
          Island                            Agreement,      2005            Production Company,           AEC),     Inc.
          Area,                             as amended                      L.P.
          South
          Addition


0295225   Eugene     312     22679          Participation   October   25,   Hunt Petroleum                Energy Partners,
          Island                            Agreement       2005            AEC),     Inc.                Ltd.
          Area,
          South
          Addition


0352139   Eugene     312     22679          Operating       October 25,     Hunt Petroleum                Energy Partners,
          Island                            Agreement,      2005            AEC),     Inc.                Ltd.
          Area,                             as amended

          South
          Addition


0314146   Eugene     312     22679          Production      January 1,      Hunt Petroleum                Hunt Petroleum
          Island                            Handling        2007            AEC), Inc. et al              AEC), Inc. et al
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XTO       Area       Block   OCS -G / ST   Agreement       Agmt Date       Party 1                    Party 2
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0266169   Eugene     313     2608          Lease           May 1, 1974     United    States   of      Gulf Oil
          Island                                                           America                    Corporation,        et al
          Area,
          South
          Addition


0294574   Eugene     313     2608          Farmout         May 17, 1999    PennzFnergy                Aviara Energy
          Island                           Agreement                       Exploration and            Corporation
          Area,                                                            Production    L.L. C.
          South
          Addition


0294331   Eugene     313     2608          Participation   May 18, 1999    Texaco    Exploration      Aviara Energy
          Island                           Agreement                       and Production      Inc.   Corporation
          Area,
          South
          Addition


0294578   Eugene     313     2608          Operating       May 18, 1999    Aviara Energy              Texaco
          Island                           Agreement                       Corporation                Exploration     and
          Area,                                                                                       Production     Inc.
          South
          Addition


0294581   Eugene     313     2608          Venture         June 15, 1999   Aviara Energy              Eugene     Island
          Island                           Agreement                       Corporation                309, L.L. C.
          Area,
          South
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0265885   High         34      20655         Lease          December       1,   United States of           Aviara Energy
          Island                                            1998                America                    Corporation, et al
          Area


0294467   High         34      20655         Operating      December       1,   Aviara Energy              Pure Resources,

          Island                             Agreement,     1998                Corporation                L.P., et al
          Area                               as amended



0265886   High         34      24287         Right - Of-    October      15,    Minerals     Management    Hunt Petroleum

          Island                             Way            2002                Service                    AEC),     Inc.

          Area




0313848   High         A365    2750          Operating      September           Anadarko      Production   Pan Eastern

          Island                             Agreement,     15,   1979          Company                    Exploration

          Area, East                         as   amended                                                  Company, et al
          Add.,
          South Ext.




0265435   High         A376    2754          Lease          July 1, 1974        United     States   of     Texaco Inc., et al
          Island                                                                America

          Area, East
          Add.,
          South Ext.
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Agmt. #                       Lse #         Type




0266179   High        A554    21356         Lease           November        1,   United     States of         Chieftain

          Island                                            1999                 America                      International
          Area,                                                                                               U. S.)   Inc.
          South
          Addition


0294591   High        A554    21356         Participation   October   25,        Chieftain    International   Aviara Energy
          Island                            Agreement /     2000                  U. S.)   Inc.               Corporation,     et al
          Area,                             Operating
          South                             Agreement
          Addition




0277242   Main Pass   29      27196         Lease           May 1, 2005          United States of             Hunt Petroleum
          Area                                                                   America                      AEC),     Inc.


0295214   Main Pass   29      27196         Lease           May 18, 2005         Andex     Resources,         Hunt Petroleum
          Area                              Purchase &                           L.L.C., et al                AEC), Inc.
                                            Well
                                            Participation
                                            Agreement


0295215   Main Pass   29      27196         Operating       May 18, 2005         Hunt Petroleum               Andex    Resources,
          Area                              Agreement                            AEC),      Inc.              L.L.C., et al
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0277243   Main Pass   29      28216          Right - Of-       October    31,        Minerals    Management     Hunt Petroleum

          Area                               Way               2006                  Service                    AEC),     Inc.




0317495   Main Pass   29      27196          Measuremen        November              XTO Offshore Inc., et      XTO Offshore

          Area                               t and             14, 2007              al                         Inc., et al
                                             Allocation
                                             Agreement


0417466   Main Pass   29      27196          Pipeline   Use    November         1,   LLOG      Exploration      XTO Offshore
          Area                               Agreement         2010                  Offshore, LLC, et al       Inc., et al


0417463   Main Pass   29      27196          Pipeline   Tie-   May 11, 2011          LLOG      Exploration      XTO Offshore

          Area                               In & Use                                Offshore, LLC, et al       Inc., et al
                                             Agreement




0283491   Main Pass   87      31433          Lease             January 1,            United States of           LLOG    Exploration

          Area                                                 2008                  America                    Offshore, Inc.


0297795   Main Pass   87      31433          Operating         March 1,              LLOG Exploration           XTO Offshore     Inc.

          Area                               Agreement         2009                  Offshore,    Inc.


0297980   Main Pass   87      31433          Participation     March 1,              LLOG      Exploration      XTO Offshore     Inc.

          Area                               Agreement         2009                  Offshore,    Inc., et al
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XTO       Area        Block   OCS - G / ST   Agreement       Agmt Date          Party 1                 Party 2
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0295118   Main Pass   94      7802           Operating       March    3,        Kerr -McGee Oil &       Samedan     Oil
          Area                               Agreement,      1986               Gas Corporation         Corporation, et al
                                             as   amended




0295115   Main Pass   94      7802           Participation   November      1,   Kerr -McGee   Oil &     Samedan     Oil
          Area                               Agreement       2001               Gas Corporation         Corporation, et al




0418824   Main Pass   94      7802           Production      January 24,        Kerr -McGee   Oil &     Samedan Oil
          Area                               Handling        2002               Gas Corporation         Corporation, et al
                                             Agreement


0417942   Main Pass   94      7802           Purchase &      April   1, 2004    LLOG   Exploration      Hunt Petroleum
          Area                               Sale                               Offshore Inc., et al    Corporation
                                             Agreement




0283524   Main Pass   96      31434          Lease           January 1,         United States of        LLOG   Exploration
          Area                                               2008               America                 Offshore,   Inc.


0297835   Main Pass   96      31434          Operating       March    1,        LLOG   Exploration      XTO Offshore       Inc.
          Area                               Agreement       2009               Offshore, Inc.


0297980   Main Pass   96      31434          Participation   March 1,           LLOG   Exploration      XTO Offshore       Inc.
          Area                               Agreement       2009               Offshore, Inc., et al
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XTO       Area        Block   OCS -G / ST   Agreement       Agmt Date             Party 1                    Party 2
Agmt. #                       Lse #         Type


0295122   Main Pass   101     22792         Operating       August     10,        Cheniere Energy, Inc.      Davis   Gulf Coast,
          Area                              Agreement,      2001                                             Inc. et al
                                            as amended



0295115   Main Pass   101     22792         Participation   November         2,   LLOG      Exploration      Cheniere Energy,
          Area                              Agreement       2001                  Offshore,    Inc.          Inc.


0276267   Main Pass   101     24687         Right - Of-     September             Minerals    Management     LLOG Exploration
          Area                              Way             29, 2003              Service                    Offshore,    Inc.


0417942   Main Pass   101     22792         Purchase &      April   1, 2004       LLOG      Exploration      Hunt Petroleum
          Area                              Sale                                  Offshore Inc., et al       Corporation
                                            Agreement


0295125   Main Pass   101     22792         Compromise      March    26,          Century Exploration        Davis   Gulf Coast,
          Area                              Settlement      2006                  New Orleans,        Inc.   Inc. et al
                                            Agreement




0276271   Main Pass   109     22794         Lease           May 1, 2001           United States of           Samedan      Oil
          Area                                                                    America                    Corporation, et al


0295141   Main Pass   109     22794         Joint           May 1, 2001           Kerr -McGee     Oil &      Samedan      Oil
          Area                              Operating                             Gas Corporation            Corporation, et al
                                            Agreement


0295140   Main Pass   109     22794         Farmout &       April 23,             Kerr -McGee     Oil &      LLOG    Exploration
          Area                              Joint           2003                  Gas Corporation            Offshore     Inc.
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XTO       Area        Block   OCS - G / ST   Agreement         Agmt Date         Party 1                   Party 2
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0278033   Main Pass   112     9707           Lease             June 1,   1988    United    States   of     Diamond

          Area                                                                   America                   Shamrock
                                                                                                           Offshore      Partners
                                                                                                           Limited

                                                                                                           Partnership

0278034   Main Pass   112     11738          Right - Of-       April 26,         Minerals     Management   Diamond

          Area                               Way               1990              Service                   Shamrock
                                                                                                           Offshore      Partners
                                                                                                           Limited

                                                                                                           Partnership

0419576   Main Pass   112     9707           Purchase &        April   1, 2006   Vintage     Petroleum,    Hunt Petroleum

          Area                               Sale                                LLC                        AEC), Inc.
                                             Agreement


0417466   Main Pass   112     9707           Pipeline   Use    November     1,   LLOG      Exploration     XTO Offshore
          Area                               Agreement         2010              Offshore, LLC, et al      Inc., et al


0417463   Main Pass   112     9707           Pipeline   Tie-   May 11, 2011      LLOG      Exploration     XTO    Offshore

          Area                               In & Use                            Offshore,    LLC, et al   Inc., et al
                                             Agreement




0277281   Main Pass   114     27201          Lease             July 1, 2005      United States of          Hunt Petroleum
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XTO       Area        Block   OCS -G / ST   Agreement        Agmt Date          Party 1                        Party 2
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0317495   Main Pass   114     27201         Measuremen       November           XTO Offshore         Inc. et   XTO    Offshore
          Area                              t &              14, 2007           al                             Inc., et al
                                            Allocation
                                            Agreement




0278035   Main Pass   116     3419          Lease            January 1,         United     States   of         Diamond
          Area                                               1977               America                        Shamrock
                                                                                                               Corporation


0278036   Main Pass   116     12708         Right -Of-       January 8,         Minerals     Management        Diamond
          Area                              Way              1991               Service                        Shamrock

                                                                                                               Offshore Partners
                                                                                                               Limited

                                                                                                               Partnership

0278037   Main Pass   116     25478         Right - Of-      September          Minerals     Management        XTO Offshore      Inc.
          Area                              Way              24, 2004           Service




0419576   Main Pass   116     3419          Purchase &       April   1, 2006    Vintage     Petroleum,         Hunt Petroleum
          Area                              Sale                                LLC                            AEC),     Inc.
                                            Agreement


0417466   Main Pass   116     3419          Pipeline   Use   November      1,   LLOG      Exploration          XTO Offshore
          Area                              Agreement        2010               Offshore, LLC, et al           Inc., et al


C041066   Main Pass   116     3419          Offshore         March    1,        XTO Offshore Inc., et          Odyssey Pipeline
3         Area                              Connection       2011               al                             L.L.C.
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0417463   Main Pass   116     3419          Pipeline   Tie-   May 11, 2011     LLOG Exploration        XTO Offshore
          Area                              In & Use                           Offshore, LLC, et al    Inc., et al
                                            Agreement




0277244   Main Pass   118     22797         Lease             June   1, 2001   United States of        Shell Offshore       Inc.
          Area                                                                 America


0295220   Main Pass   118     22797         Farmout           July 1, 2005     Shell Offshore   Inc.   Hunt Petroleum
          Area                              Agreement                                                   AEC),    Inc.




0295219   Main Pass   118     22797         Operating         August   11,     Hunt Petroleum          Rosetta   Resources

          Area                              Agreement         2005             AEC),     Inc.          Offshore,     LLC,    et
                                                                                                       al




0295218   Main Pass   118     22797         Participation     August   11,     Hunt Petroleum          PetroQuest

          Area                              Agreement         2005             AEC),     Inc.          Energy, L.L.C.




0295217   Main Pass   118     22797         Participation     August   11,     Hunt Petroleum          Rosetta   Resources
          Area                              Agreement         2005             AEC),     Inc.          Offshore,     LLC




0295216   Main Pass   118     22797         Facility          July 3, 2006     Hunt Petroleum          Hunt Petroleum
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0277245   Main Pass   118     28217          Right -Of-       October     31,         Minerals    Management    Hunt Petroleum

          Area                               Way              2006                    Service                    AEC),    Inc.




0323989   Main Pass   118     22797          Production       August     1,           XTO Offshore Inc., et     XTO Offshore
          Area                               Handling         2007                    al                        Inc., et al
                                             Agreement


0317495   Main Pass   118     22797          Measuremen       November                XTO Offshore Inc., et     XTO Offshore
          Area                               t and            14, 2007                al                        Inc., et al
                                             Allocation
                                             Agreement


0317474   Main Pass   118     22797          Production       November          1,    XTO Offshore Inc., et     XTO Offshore
          Area                               Handling         2008                    al                        Inc., et al
                                             Agreement


0317474   Main Pass   118     22797          Production       November          1,    XTO Offshore Inc., et     XTO Offshore
          Area                               Handling         2008                    al                        Inc., et al
                                             Agreement


0417466   Main Pass   118     22797          Pipeline   Use   November          1,    LLOG      Exploration     XTO Offshore
          Area                               Agreement        2010                    Offshore,    LLC, et al   Inc., et al



Pending   Main Pass   118     Pending        Right -Of-       December          1,    Bureau of Ocean           XTO Offshore Inc.
          Area                               Way              2010                    Energy Management,
                                              Pending)                                Regulation and
                                                                                      Enforcement




0409199   Main Pass   118     22797          Sales   and      December          10,   Chevron     Pipe Line     XTO Offshore     Inc.
          Area                               Conveyance       2010                    Company
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0409295   Main Pass    118     22797          Letter            January 11,    W & T Offshore    Inc.       XTO    Offshore      Inc.

          Area                                Agreement         2011




C041058   Main Pass    118     22797          Boarding          March   1,     XTO Offshore      Inc.       Odyssey Pipeline
9          Area                               Agreement         2011                                        L.L. C.


C041066    Main Pass   118     22797          Offshore          March   1,     XTO Offshore      Inc., et   Odyssey Pipeline
3          Area                               Connection        2011           al                           L.L. C.
                                              Agreement


0417463    Main Pass   118     22797          Pipeline   Tie-   May 11, 2011   LLOG   Exploration           XTO Offshore
           Area                               In & Use                         Offshore, LLC, et al         Inc., et al
                                              Agreement




0283355    Main Pass   119     31438          Lease             March   1,     United States of             LLOG Exploration
           Area                                                 2008           America                      Offshore      Inc.


0297835    Main Pass   119     31438          Operating         March   1,     LLOG   Exploration           XTO Offshore

           Area                               Agreement         2009           Offshore   Inc.              Inc., et al


0297980    Main Pass   119     31438          Participation     March   1,     LLOG   Exploration           XTO Offshore

           Area                               Agreement         2009           Offshore   Inc., et al       Inc., et al
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0294625   Main Pass   125     25019         Participation        February 28,     Hunt Petroleum          LLOG    Exploration
          Area                              Agreement            2008             AEC),     Inc.          Offshore      Inc.




0294626   Main Pass   125     25019         Joint                February 28,     Hunt Petroleum          LLOG    Exploration
          Area                              Operating'           2008             AEC), Inc.              Offshore      Inc.
                                            Agreement


0317474   Main Pass   125     25019         Production           November    1,   XTO Offshore Inc., et   XTO    Offshore
          Area                              Handling             2008             al                      Inc., et al
                                            Agreement


0417466   Main Pass   125     25019         Pipeline      Use    November    1,   LLOG    Exploration     XTO    Offshore
          Area                              Agreement            2010             Offshore, LLC, et al    Inc., et al


0417463   Main Pass   125     25019         Pipeline      Tie-   May 11, 2011     LLOG    Exploration     XTO    Offshore
          Area                              In &    Use                           Offshore, LLC, et al    Inc., et al
                                            Agreement




0314026   Main Pass   179     33127         Lease                July 1, 2009     United States of        Hunt Petroleum
          Area,                                                                   America                 AEC), Inc.
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          East
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XTO        Area    Block   OCS - G / ST   Agreement       Agmt Date            Party 1                     Party 2
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0294986    Ship     71     12347          Production      October    6,        PetroQuest Energy,          PetroQuest
           Shoal                          Handling        2003                 L. L. C.                    Energy, L.L.C., et
           Area                           Agreement                                                        al




0276280    Ship     80     9330           Right - Of-     December        8,   United States of            Samedan      Oil
           Shoal                          Way             1987                 America,       Department   Corporation
           Area                                                                of Interior,    Minerals
                                                                               Management        Service


0296277    Ship     79     15277          Lease           August    1,         United States of            Enron Oil &        Gas
           Shoal                                          1995                 America                     Company
           Area


0295146    Ship     79     15277          Farmout         June   14, 2000      EOG Resources Inc.          PetroQuest Energy
           Shoal                          Agreement                                                        One, L.L.C.
           Area


0295144    Ship     79     15277          Participation   July 15, 2000        PetroQuest Energy           LLOG     Exploration
           Shoal                          Agreement                            One, L. L.C.                     Production
           Area                                                                                            Company

0295145    Ship     79     15277          Joint           July 15, 2000        PetroQuest Energy           LLOG     Exploration
           Shoal                          Operating                            One, L.L.C.                      Production
           Area                           Agreement                                                        Company

0276279    Ship     79     23713          Right - Of-     May 29, 2002         United States of            LLOG Exploration
           Shoal                          Way                                  America,   Department       Offshore, Inc.
           Area                                                                of Interior,    Minerals
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XTO       Area     Block   OCS - G / ST   Agreement       Agmt Date         Party 1                  Party 2
Agmt. #                    Lse #          Type


0276278   Ship      79     23712          Right - Of-     May 29, 2002      United States of         LLOG   Exploration

          Shoal                           Way                               America,   Department    Offshore,   Inc.

          Area                                                              of Interior, Minerals
                                                                            Management    Service


0418821   Ship      79     15277          Purchase and    April 15,         Noble Energy, Inc., et   LLOG   Exploration

          Shoal                           Sale            2003              al                       Offshore, Inc., et
          Area                            Agreement                                                  al



0417942   Ship      79     15277          Purchase and    April   1, 2004   LLOG   Exploration       Hunt Petroleum

          Shoal                           Sale                              Company, L.L.C., et al   Corporation

          Area                            Agreement




0239135   Ship      188    22712          Lease           May 1, 2001       United States of         Aviara Energy
          Shoal                                                             America                  Corporation

          Area


0294599   Ship      188    22712          Purchase and    January 22,       Aviara Energy            EEX Corporation

          Shoal                           Sale            2002              Corporation

          Area                            Agreement,
                                          as amended

                                           XTO
                                          reserves all

                                          rights

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                                          it under this
                                          Agreement,
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XTO       Area     Block   OCS -G / ST   Agreement       Agmt Date      Party 1                  Party 2
Agmt. #                    Lse #         Type


0418795   Ship      188    22712         Unit            March   1,     ExxonMobil               Newfield
          Shoal                          Agreement       2005           Corporation              Exploration Gulf
          Area                            754305002                                              Coast Inc., et al

0294600   Ship      188    22712         Participation   March 21,      Hunt Petroleum           Choice
          Shoal                          Agreement       2005           AEC),      Inc.          Exploration,      Inc.
          Area


0294601   Ship      188    22712         Operating       March   21,    Hunt Petroleum           Choice
          Shoal                          Agreement       2005           AEC),      Inc.          Exploration,      Inc.
          Area


0266437   Ship      188    26977         Right -of-      May 8, 2006    Minerals    Management   Hunt Petroleum
          Shoal                          Way                            Service                   AEC),    Inc.
          Area




0253742   Ship      204    1520          Lease           July 1, 1967   United States of         Hamilton Brothers
          Shoal                                                         America                  Oil Company, et al
          Area


0293021   Ship     204     1520          Operating       May 1, 1991    Texaco     Exploration   Mobil    Oil
          Shoal                          Agreement,                     and Production Inc.      Exploration &
          Area                           as amended                                              Producing
                                                                                                 Southeast      Inc., et

                                                                                                 al



0293021   Ship     204     1520          Letter          February 8,    Apache     Corporation   Chevron U.S. A.
          Shoal                          Agreement       2006                                    Inc., et al
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XTO       Area     Block   OCS -G / ST   Agreement      Agmt Date           Party 1                         Party 2
Agmt. #                    Lse #         Type

0253744   Ship      207    1523          Lease          July 1, 1967        United States of                General     Crude   Oil

          Shoal                                                             America                         Company, et al
          Area


0350621   Ship      207    1523          Unit           April   1,   1981   Conoco,    Inc.                 Atlantic    Richfield

          Shoal                          Operating                                                          Company, et al
          Area                           Agreement


0418888   Ship      207    1523          Unit Plan      April 1,     1981   Conoco, Inc.                    Atlantic    Richfield

          Shoal                           14 - 08-                                                          Company, et al
          Area                           0001 - 20231


0293057   Ship      207    1523          Operating      May 1, 1991         Texaco    Exploration           Mobil     Oil
          Shoal                          Agreement,                         and Production Inc.             Exploration &
          Area                           as amended                                                         Producing
                                                                                                            Southeast Inc., et
                                                                                                            al



0324109   Ship      207    1523          Production     October      26,    Norcen    Explorer,     Inc.,   Norcen     Explorer,
          Shoal                          Handling       1994                et al                           Inc., et al
          Area                           Agreement


0293240   Ship      207    1523          Joint          November            Norcen    Explorer      Inc.    Norcen     Offshore
          Shoal                          Developmen     16, 1994            et al                           Properties Ltd., et
          Area                           t Agreement,                                                       al

                                         as amended




0253745   Ship      216    1524          Lease          July 1, 1967        United    States   of           General     Crude   Oil
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XTO       Area       Block   OCS -G / ST   Agreement      Agmt Date          Party 1                    Party 2
Agmt. #                      Lse #         Type

0293060   Ship       216     1524          Operating      May 1, 1991        Texaco    Exploration      Mobil    Oil
          Shoal                            Agreement,                        and Production Inc.        Exploration &
          Area                             as   amended
                                                                                                        Producing
                                                                                                        Southeast Inc., et
                                                                                                        al




0265449   Ship       247     1028          Lease          June   1,   1962   United States of           Forest Oil
          Shoal                                                              America                    Corporation
          Area,
          South
          Addition


0418811   Ship       247     1028          Unit           June   10, 1966    Forest   Oil Corporation   Consolidated Gas
          Shoal                            Operating                                                    Supply
          Area,                            Agreement,                                                   Corporation, et al
          South                            as amended

          Addition                                          1


0418801   Ship       247     1028          Unit           June   10, 1966    Forest Oil Corporation     Consolidated         Gas
          Shoal                            Agreement                                                    Supply
          Area,                             14 -08-                                                     Corporation, et al
          South                            0001 - 8784
          Addition


0418847   Ship       247     1028          Ownership      August 17,         CNG Producing              Columbia       Gas
          Shoal                            Agreement      1978               Company                    Development
          Area,                                                                                         Corporation, et al
          South
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XTO       Area       Block   OCS - G / ST   Agreement     Agmt Date          Party 1                    Party 2
Agmt. #                      Lse #          Type


0419113   Ship       247     1028           Gas           January 28,        Texas    Gas Exploration   CNG Producing
          Shoal                             Balancing     1981               Corporation, et al         Company
          Area,                             Agreement
          South
          Addition


0418811   Ship       247     1028           Co-           January 1,         CNG Producing              Forest   Oil
          Shoal                             Developmen    1994               Company                    Corporation, et al
          Area,                             t Agreement
          South
          Addition                          Amendment
                                            to Unit
                                            Operating
                                            Agreement




0265446   Ship       248     1029           Lease         June   1,   1962   United States of           Forest Oil
          Shoal                                                              America                    Corporation
          Area,
          South
          Addition


0418811   Ship       248     1029           Unit          June   10, 1966    Forest Oil Corporation     Texas    Gas
          Shoal                             Operating                                                   Exploration
          Area,                             Agreement,                                                  Corporation, et al
          South                             as amended

          Addition


0418801   Ship       248     1029           Unit          June   10, 1966    Forest   Oil Corporation   Consolidated Gas
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XTO       Area       Block   OCS - G / ST   Agreement     Agmt Date          Party 1                    Party 2
Agmt. #                      Lse #          Type


0418847   Ship       248     1029           Ownership     August      17,    CNG Producing              Columbia Gas
          Shoal                             Agreement     1978               Company                    Development
          Area,                                                                                         Corporation, et al
          South
          Addition


0419113   Ship       248     1029           Gas           January 28,        Texas    Gas Exploration   CNG Producing
          Shoal                             Balancing     1981               Corporation, et al         Company
          Area,                             Agreement
          South
          Addition


0418811   Ship       248     1029           Co-           January 1,         CNG Producing              Forest Oil
          Shoal                             Developmen    1994               Company                    Corporation, et al
          Area,                             t Agreement
          South
          Addition                          Amendment
                                            to Unit

                                            Operating
                                            Agreement




0265445   Ship       249     1030           Lease         June   1,   1962   United States of           Forest   Oil
          Shoal                                                              America                    Corporation, et al
          Area,
          South
          Addition


0418811   Ship       249     1030           Unit          June   10 1966     Forest   Oil Corporation   Texas    Gas
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XTO       Area       Block   OCS -G / ST   Agreement     Agmt Date             Party 1                   Party 2 _
Agmt. #                      Lse #         Type


0418801   Ship       249     1030          Unit          June    10,    1966   Forest Oil Corporation    Consolidated Gas
          Shoal                            Agreement                                                     Supply
          Area,                             14 - 08-                                                     Corporation,    et al
          South                            0001 - 8784
          Addition


0418838   Ship       249     1030          Farmout       April   5,    1972    Forest Oil Corporation,   Pelto    Oil
          Shoal                            Agreement                           et al                     Company, et al
          Area,
          South
          Addition


0419113   Ship       249     1030          Gas           January 28,           Texas   Gas Exploration   CNG Producing
          Shoal                            Balancing     1981                  Corporation, et al        Company
          Area,                            Agreement
          South
          Addition


0418811   Ship       249     1030          Co-           January 1,            CNG Producing             Forest    Oil
          Shoal                            Developmen    1994                  Company                   Corporation, et al
          Area,                            t Agreement
          South
          Addition                         Amendment
                                           to Unit
                                           Operating
                                           Agreement




0265448   Ship       270     1037          Lease         June 1.       1962    United States of          Forest Oil
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XTO       Area       Block   OCS -G / ST   Agreement     Agmt Date         Party 1                    Party 2
Agmt. #                      Lse #         Type


0418811   Ship       270     1037          Unit          June   10. 1966   Forest   Oil Corporation   Texas   Gas
          Shoal                            Operating                                                  Exploration
          Area,                            Agreement,                                                 Corporation, et al
          South                            as amended

          Addition


0418801   Ship       270     1037          Unit          June 10, 1966     Forest   Oil Corporation   Consolidated Gas
          Shoal                            Agreement                                                  Supply
          Area,                             14 - 08-                                                  Corporation, et al
          South                            0001 - 8784
          Addition


0418838   Ship       270     1037          Farmout       April 5, 1972     Forest Oil Corporation,    Pelto Oil
          Shoal                            Agreement                       et al                      Company, et al
          Area,
          South
          Addition


0419113   Ship       270     1037          Gas           January 28,       Texas Gas Exploration      CNG Producing
          Shoal                            Balancing     1981              Corporation, et al         Company
          Area,                            Agreement
          South
          Addition


0418811   Ship       270     1037          Co-           January 1,        CNG Producing              Forest Oil
          Shoal                            Developmen    1994              Company                    Corporation, et al
          Area,                            t Agreement
          South
          Addition                         Amendment
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XTO       Area       Block       OCS - G / ST   Agreement .   Agmt Date            Party 1                     Party 2
Agmt. #                          Lse #          Type


0265450   Ship       271         1038           Lease         June 1,      1962    United States of            Forest   Oil
          Shoal                                                                    America                     Corporation, et al
          Area,
          South
          Addition


0418811   Ship       271         1038           Unit          June   10,    1966   Forest Oil Corporation      Texas Gas
          Shoal                                 Operating                                                      Exploration
          Area,                                 Agreement,                                                     Corporation, et al
          South                                 as amended

          Addition


0418801   Ship       271         1038           Unit          June   10, 1966      Forest   Oil Corporation    Consolidated         Gas
          Shoal                                 Agreement                                                      Supply
          Area,                                  14 - 08-                                                      Corporation, et al
          South              i                  0001 - 8784
          Addition


0418848   Ship       271         1038           Farmout       September 3,         Forest   Oil Corporation,   Columbia       Gas
          Shoal                                 Agreement     1974                 et al                       Development
          Area,                                                                                                Corp., et al
          South
          Addition


0419113   Ship       271         1038           Gas           January 28,          Texas Gas Exploration       CNG Producing
          Shoal                                 Balancing     1981                 Corporation, et al          Company
          Area,                                 Agreement
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XTO       Area       Block   OCS -G / ST   Agreement       Agmt Date                Party 1                       Party 2
Agmt. #                      Lse #         Type


0418811   Ship       271     1038          Co-             January 1,               CNG Producing                 Forest Oil
          Shoal                            Developmen      1994                     Company                       Corporation, et al
          Area,                            t Agreement
          South
          Addition                         Amendment
                                           to Unit

                                           Operating
                                           Agreement




0253746   Ship       291     2923          Lease           December            1,   United   States   of          Ashland     Oil, Inc.,
          Shoal                                            1974                     America                       et al

          Area,
          South
          Addition


0419103   Ship       291     2923          Farmout         October        1,        Torch Energy                  Hall -Houston     Oil
          Shoal                            Agreement,      1991                     Advisors      Incorporated,   Company
          Area,                            as   amended,                            et al

          South                            and

          Addition                         Operating
                                           Agreement


0295476   Ship       291     2923          Purchase and    March     1,             Maritech      Resources,      Montforte
          Shoal                            Sale            2008                     Inc., et al                   Exploration
          Area,                            Agreement                                                              L.L.C., et al
          South
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XTO       Area      Block   OCS - G / ST   Agreement       Agmt Date        Party 1                 Party 2
Agmt. #                     Lse #          Type


0266626   South     40      13607          Lease           August   1,      United   State of       Shell Offshore      Inc.
          Marsh                                            1992             America
          Island
          Area


0294629   South     40      13607          Operating       February 24,     Hunt Petroleum          LLOG    Exploration
          Marsh                            Agreement,      2003             AEC),     Inc.          Offshore,    Inc.

          Island                           as revised

          Area


0294629   South     40      13607          Participation   February 24,     Hunt Petroleum          LLOG    Exploration
          Marsh                            Agreement       2003             AEC),     Inc.          Offshore,    Inc.
          Island                                JOA, as
          Area                             amended



0294621   South     40      13607          Joint Area      June   1, 2003   Hunt Petroleum          Devon Energy
          Marsh                            Agreement,                       AEC), Inc.              Production
          Island                           as   amended                                             Company, L.P., et
          Area                                                                                      al



0294629   South     40      13607          Operating       June   1, 2003   Hunt Petroleum          Devon Energy
          Marsh                            Agreement,                       AEC), Inc.              Production
          Island                           as amended                                               Company, L.P.
          Area


0295463   South     40      13607          Platform        June 30, 2003    Apache    Corporation   Hunt Petroleum
          Marsh                            Lease and                                                AEC),     Inc.

          Island                           Operations
          Area                             Agreement
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XTO       Area     Block   OCS -G / ST   Agreement      Agmt Date         Party 1                 Party 2
Agmt. #                    Lse #         Type


0417942   South    40      13607         Purchase &     April   1, 2004   LLOG      Exploration   Hunt Petroleum
          Marsh                          Sale                             Offshore Inc., et al    Corporation
          Island                         Agreement
          Area


0316161   South    40      13607         Production     September 1,      Hunt Petroleum          Devon Energy
          Marsh                          Handling       2004              AEC),     Inc.          Production
          Island                         Agreement,                                               Company, L.P.
          Area                           as Ratified


0266626   South    40      13607         Purchase &     October 1,        Apache Corporation      Hunt Petroleum
          Marsh                          Sale           2004                                      Corporation
          Island                         Agreement
          Area


0316161   South    40      13607         Production     December     1,   Hunt Petroleum          Nippon    Oil
          Marsh                          Handling       2007              AEC), Inc., et al       Exploration
          Island                         Agreement,                                               U. S. A. Limited
          Area                           as amended



0294629   South    40      13607         Ratification   April   1, 2008   Hunt Petroleum          Devon Energy
          Marsh                          and                              AEC),     Inc., et al   Production
          Island                         Amendment                                                Company, L.P.
          Area


0266626   South    40      13607         Purchase &     January 1,        Nippon    Oil           XTO Offshore
          Marsh                          Sale           2010              Exploration U.S. A.     Inc., et al
          Island                         Agreement                        Limited
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XTO       Area     Block   OCS -G / ST   Agreement       Agmt Date          Party 1                   Party 2
Agmt. #                    Lse #         Type

0266627   South    41      1192          Lease           June 1,   1962     United   State of         California   Oil

          Marsh                                                             America                   Company
          Island
          Area


0294629   South    41      1192          Participation   February 24,       Hunt Petroleum            LLOG    Exploration

          Marsh                          Agreement       2003               AEC),     Inc.            Offshore,    Inc.

          Island                           JOA, as

          Area                           amended




0294629   South    41      1192          Operating       February 24,       Hunt Petroleum            LLOG    Exploration

          Marsh                          Agreement,      2003               AEC),     Inc.            Offshore,    Inc.

          Island                         as revised


          Area


0294621   South    41      1192          Joint Area      June    1, 2003    Hunt Petroleum            Devon Energy
          Marsh                          Agreement,                         AEC), Inc.                Production

          Island                         as amended                                                   Company, L.P., et
          Area                                                                                        al




0294629   South    41      1192          Operating       June    1, 2003    Hunt Petroleum            Devon Energy
          Marsh                          Agreement,                         AEC),     Inc.            Production

          Island                         as amended                                                   Company, L.P.
          Area


0417942   South    41      1192          Purchase &      April   1, 2004    LLOG     Exploration      Hunt Petroleum

          Marsh                          Sale                               Offshore    Inc., et al   Corporation

          Island                         Agreement

          Area


0316161   South    41      1192          Production      September     1,   Hunt Petroleum            Devon Energy
          Marsh                          Handling        2004               AEC), Inc.                Production
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Agmt. #                    Lse #         Type

0266626   South    41      1192          Purchase &      October 1,    Apache    Corporation       Hunt Petroleum
          Marsh                          Sale            2004                                      Corporation
          Island                         Agreement
          Area


0266626   South    41      1192          Purchase &      January 1,    Nippon    Oil               XTO Offshore
          Marsh                          Sale            2010          Exploration      U. S. A.   Inc., et al
          Island                         Agreement                     Limited
          Area




0278245   South    44      23840         Lease           May 1, 2002   United States of            Devon Energy
          Marsh                                                        America                     Production
          Island                                                                                   Company, L.P.
          Area


0295304   South    44      23840         Farmout         January 4,    Devon Energy                Hunt Petroleum
          Marsh                          Agreement       2007          Production Company,          AEC),    Inc.
          Island                                                       L. P.
          Area


0295305   South    44      23840         Operating       January 4,    Hunt Petroleum              Nippon    Oil
          Marsh                          Agreement,      2007           AEC), Inc.                 Exploration
          Island                         as amended                                                U.S. A. Limited
          Area


0295308   South    44      23840         Participation   March   8,    Hunt Petroleum              Nippon Oil
          Marsh                          Agreement,      2007          AEC),     Inc.              Exploration
          Island                         as amended                                                U. S. A. Limited
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XTO       Area     Block   OCS - G / ST   Agreement      Agmt Date          Party 1                Party 2
Agmt. #                    Lse #          Type

0316099   South    44      23840          Production     December      1,   Hunt Petroleum         Nippon    Oil
          Marsh                           Handling       2007               AEC), Inc., et al      Exploration
          Island                          Agreement,                                               U.S. A. Limited, et
          Area                            as amended                                               al



0316099   South    44      23840          Ratification   April 1, 2008      Hunt Petroleum         Devon Energy
          Marsh                           and                               AEC), Inc., et al      Production
          Island                          Amendment                                                Company, L.P.
          Area




0295305   South    45      31353          Operating      January 4,         Hunt Petroleum         Nippon    Oil
          Marsh                           Agreement,     2007               AEC),     Inc.         Exploration
          Island                          as amended                                               U. S. A. Limited
          Area


0215991   South    45      31353          Lease          February 1,        United States of       Hunt Petroleum
          Marsh                                          2008               America                AEC), Inc. et al
          Island
          Area




0340710   South    109     24873          Data           April 2, 2002      Western Geco, L.L.C.   Aviara Energy
          Marsh                           Acquisition                                              Corporation, et al
          Island                          Agreement
          Area,
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XTO       Area.      Block   OCS -G / ST   Agreement     Agmt    Date     Party 1                      Party 2
Agmt. #                      Lse #         Type

0276089   South      109     24873         Lease         June   1, 2003   United States of             Hunt Petroleum
          Marsh                                                           America                       AEC), Inc., et al
          Island
          Area,
          South
          Addition


0294983   South      109     24873         Operating     June   1, 2003   Hunt Petroleum               Cheyenne
          Marsh                            Agreement                      AEC), Inc.                   International
          Island                                                                                       Corporation, et al
          Area,
          South
          Addition


0276089   South      109     24873         Acquisition   December 9,      CL &F Resources LP           Hunt Petroleum
          Marsh                            of Interest   2003                                           AEC),    Inc.
          Island                           Letter
          Area,                            Agreement
          South
          Addition




0340710   South      138     33616         Data          April 2, 2002    Western   Geco,   L. L. C.   Aviara Energy
          Marsh                            Acquisition                                                 Corporation, et al
          Island                           Agreement
          Area,
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XTO       Area       Block   OCS -G / ST   Agreement     Agmt Date        Party 1                  Party 2
Agmt. #                      Lse #         Type


0331362   South      138     33616         Lease         June   1, 2010   United States of         Chieftain
          Marsh                                                           America                  International
          Island                                                                                    U. S.)   Inc.
          Area,
          South
          Addition




0279702   South      139     21106         Lease         July 1, 1999     United States of         Chieftain
          Marsh                                                           America                  International
          Island                                                                                   U. S.)    Inc.
          Area,
          South
          Addition


0340710   South      139     21106         Data          April 2, 2002    Western Geco, L.L.C.     Aviara Energy
          Marsh                            Acquisition                                             Corporation, et al
          Island                           Agreement
          Area,
          South
          Addition


0295340   South      139     21106         Joint Area    March   22,      Newfield   Exploration   Hunt Petroleum
          Marsh                            Agreement,    2004             Company, et al           AEC), Inc.
          Island                           as amended

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XTO       Area       Block   OCS -G / ST   Agreement       Agmt Date         Party 1                    Party 2
Agmt. #                      Lse #         Type


0419195   South      139     21106         Participation   April   1, 2004   Newfield   Exploration     Hunt Petroleum
          Marsh                            Agreement                         Company                     AEC), Inc.
          Island
          Area,
          South
          Addition


0295341   South      139     21106         Operating       April   1, 2004   Newfield   Exploration     Hunt Petroleum
          Marsh                            Agreement                         Company                     AEC),    Inc.
          Island
          Area,
          South
          Addition


0314481   South      139     21106         Production      July 27, 2005     Newfield   Exploration     Hunt Petroleum
          Marsh                            Handling                          Company                     AEC),    Inc.
          Island                           Agreement
          Area,
          South
          Addition


0419647   South      139     21106         Letter          May 25, 2011      McMoRan     Oil &   Gas,   XTO    Offshore
          Marsh                            Agreement                         L.L. C.                    Inc., et al
          Island
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XTO        Area       Block   OCS -G / ST   Agreement       Agmt Date        Party 1                  Party 2
Agent. #                      Lse #         Type


0294392    South      142     1216          Operating       May 17, 1961     Forest Oil Corporation   Hope Natural Gas
           Marsh                            Agreement,                                                Company, et al
0294343    Island                           as amended

           Area,
           South
           Addition


0265447    South      142     1216          Lease           June 1,   1962   United States of         Forest   Oil
           Marsh                                                             America                  Corporation
           Island
           Area,
           South
           Addition


0294393    South      142     1216          Unit            March     17,    Forest Oil Corporation   Columbia Gas
           Marsh                            Operating       1976                                      Development
           Island                           Agreement                                                 Corporation, et al
           Area,
           South
           Addition


0325391    South      142     3441          Right -Of-      August    26,    Minerals Management      Columbia Gulf
           Marsh                            Way             1977             Service                  Transmission
           Island                                                                                     Company
           Area,
           South
           Addition


0331679    South      142     1216          Contract/ Pip   May 6, 1996      Marathon   Pipeline      Forest Oil
           Marsh                            eline
                                                                             Company                  Corporation, et al
           Island                           Connection
           Area,                            and
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XTO       Area       Block   OCS - G / ST   Agreement    Agmt Date          Party 1                Party 2
Agmt. #                      Lse #          Type


0265447   South      142     1216           Purchase &   April   19,        Kerr -McGee    Oil &   Energy Resources
          Marsh                             Sale         1999               Gas Corporation        MAQ, Inc.
          Island                            Agreement
          Area,
          South
          Addition


0265447   South      142     1216           Purchase &   June 16, 1999      Aries Resources,       Aviara Energy
          Marsh                             Sale                            L. L. C.               Corporation, et al
          Island                            Agreement
          Area,
          South
          Addition


0314146   South      142     1216           Production   January 1,         Hunt Petroleum         Hunt Petroleum

          Marsh                             Handling     2007                AEC), Inc., et al     AEC),     Inc., et al
          Island                            Agreement
          Area,
          South
          Addition


0341611   South      142     1216           Purchase &   October       1,   Eni Petroleum US,      XTO Offshore Inc.
          Marsh                             Sale         2009               LLC
          Island                            Agreement
          Area,
          South
          Addition


0341720   South      142     1216           Purchase &   February 4,        Columbia   Gulf        XTO   Offshore     Inc.
          Marsh                             Sale         2010               Transmission
          Island                            Agreement                       Company
          Area,
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XTO       Area       Block   OCS -G / ST   Agreement       Agmt Date            Party 1                    Party 2
Agmt. #                      Lse # -       Type

0294314   South      142     1216          Gas             December       29,   Forest   Oil Corporation   Columbia      Gas

          Marsh                            Balancing &     1994                                            Development

          Island                           Storage                                                         Corporation

          Area,                            Agreement

          South
          Addition




0283008   South      146     9546          Lease           July 1, 1988         United States of           Phillips   Petroleum

          Marsh                                                                 America                    Company
          Island
          Area,
          South
          Addition


0340710   South      146     9546          Data            April 2, 2002        Western Geco, L.L.C.       Aviara Energy
          Marsh                            Acquisition                                                     Corporation, et al
          Island                           Agreement
          Area,
          South
          Addition


0295340   South      146     9546          Joint Area      March    22,         Newfield    Exploration    Hunt Petroleum
          Marsh                            Agreement,      2004                 Company, et al              AEC),     Inc.

          Island                           as amended

          Area,
          South
          Addition


0419195   South      146     9546          Participation   April   1, 2004      Newfield    Exploration    Hunt Petroleum
          Marsh                            Agreement                                                        AEC),     Inc.
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XTO       Area       Block   OCS -G / ST   Agreement     Agmt Date       Party 1                  Party 2
Agmt. #                      Lse #         Type


0295341   South      146     9546          Operating     April 1, 2004   Newfield   Exploration   Hunt Petroleum
          Marsh                            Agreement                     Company                  AEC),     Inc.
          Island
          Area,
          South
          Addition


0277271   South      146     26837         Right - of-   May 31, 2005    Minerals   Management    Hunt Petroleum
          Marsh                            Way                           Service                  AEC),     Inc.
          Island
                                     l
          Area,
          South
          Addition


0277272   South      146     26838         Right - of-   May 31, 2005    Minerals   Management    Hunt Petroleum
          Marsh                            Way                           Service                  AEC), Inc.
          Island
          Area,
          South
          Addition


0277273   South      146     26839         Right -of-    May 31, 2005    Minerals   Management    Hunt Petroleum
          Marsh                            Way                           Service                  AEC), Inc.
          Island
          Area,
          South
          Addition


0314481   South      146     9546          Production    July 27, 2005   Newfield Exploration     Hunt Petroleum
          Marsh                            Handling                      Company                  AEC),   Inc.
          Island                           Agreement
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XTO       Area       Block   OCS -G/ ST   Agreement     Agmt Date      Party 1                      Party 2
Agmt. #                      Lse #        Type


0314481   South      146     9546         Letter        July 1, 2008   McMoRan      Oil &    Gas,   Hunt Petroleum
          Marsh                           Agreement                    L.L.C., et al                AEC),     Inc.
          Island
          Area,
          South
          Addition


0419647   South      146     9546         Letter        May 25, 2011   McMoRan      Oil &    Gas,   XTO Offshore
          Marsh                           Agreement                    L.L. C.                      Inc., et al
          Island
          Area,
          South
          Addition




0293161   South      268     2310         Operating     May 1, 1991    Texaco    Exploration        Mobil   Oil
          Marsh                           Agreement,                   and Production Inc.          Exploration &
          Island                          as amended                                                Producing
          Area,                                                                                     Southeast Inc., et
          North                                                                                     al

          Addition


0314492   South      268     2310         Space Lease   August   14,   Norcen    Explorer,   Inc.   Norcen Explorer,

          Marsh                           and           1995           et al                        Inc. et al
          Island                          Production
          Area,                           Handling
          North                           and

          Addition                        Operations
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XTO       Area       Block   OCS -G / ST   Agreement      Agmt Date     Party 1                           Party 2
Agmt. #                      Lse #         Type


0420017   South      268     2310          Contract/ Co   January 18,   Norcen    Explorer,   Inc.        The George     R.
          Marsh                            nnection       1996                                            Brown

          Island                           Agreement                                                      Partnership,   et al
          Area,
          North
          Addition


0314476   South      268     2310          Production     May 1, 2007   Apache    Corporation,       et   Helis Oil &    Gas
          Marsh                            Handling                     al                                Company, L.L.C.,
          Island                           Agreement                                                      et al

          Area,
          North
          Addition


0316079   South      268     2310          Production     January 1,    Apache Corporation, et            Helis Oil &    Gas
          Marsh                            Handling       2008          al                                Company, L.L. C.,
          Island                           Agreement                                                      et al

          Area,
          North
          Addition




0253772   South      269     2311          Lease          January 1,    United States of                  TransOcean     Oil,
          Marsh                                           1973          America                           Inc. et al
          Island
          Area,
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XTO       Area       Block   OCS -G / ST   Agreement    Agmt Date         Party 1                  Party 2
Agmt. #                      Lse #         Type


0293157   South      269     2311          Operating    May 1, 1991       Texaco    Exploration    Mobil Oil
          Marsh                            Agreement,                     and Production Inc.      Exploration &
          Island                           as amended                                              Producing
          Area,                                                                                    Southeast Inc., et
          North                                                                                    al

          Addition




0293183   South      280     14456         Unit         June 15, 2001     Texaco    Exploration    W & T Offshore,
          Marsh                            Operating                      and Production    Inc.   Inc., et al
          Island                           Agreement
          Area,
          North
          Addition




0253773   South      281     2600          Lease        April 1,   1974   United States of         Hamilton      Brothers
          Marsh                                                           America                  Oil Company, et al
          Island
          Area,
          North
          Addition


0293162   South      281     2600          Operating    May 1, 1991       Texaco    Exploration    Mobil   Oil
          Marsh                            Agreement,                     and Production Inc.      Exploration &
          Island                           as amended                                              Producing
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XTO       Area       Block   OCS -G / ST   Agreement     Agmt Date         Party 1                 Party 2
Agmt. #                      Lse #         Type


0293182   South      281     2600          Joint         June   15, 2001   RME Petroleum           RME Petroleum
          Marsh                            Developmen                      Company, et al          Company, et al
          Island                           t Agreement
          Area,
          North
          Addition


0293183   South      281     2600          Unit          June   15, 2001   Texaco    Exploration   W & T Offshore,
          Marsh                            Operating                       and Production Inc.     Inc., et al
          Island                           Agreement
          Area,
          North
          Addition




0276248   South      42 &    DACW29 - 2-   ROW           May 18, 1981      The Secretary of the    Burrwood
          Pass       43      81 - 37                                       Army                    Gathering
                                                                                                   Company

0276231   South      42      SL 16869      Lease         November          State of Louisiana      IP Petroleum,   Inc.,
          Pass                                           13, 2000                                  et al



0276250   South      42 &    DACW29 - 2-   ROW           May 8, 2001       The Secretary of the    Energy
          Pass       43      01 - 16                                       Army                    Development
                                                                                                   Corporation


0276246   South      42      SL 4300       Surface       June   1, 2001    State of Louisiana      Andex Resources,
          Pass                             Lease                                                   L.L.C., et al
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XTO       Area     Block   OCS - G / ST   Agreement    Agmt Date             Party 1                 Party 2
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0295095   South    42 &    SL 16869,      Operating    August    30,         LLOG    Exploration &   Pure Resources,
          Pass     43      16870 &        Agreement    2002                  Production Company      L.P., et al
                           OCS - G
                           22781


0276247   South    42      SL 4279        Surface      September        3,   State of Louisiana      IP Petroleum,    Inc.,
          Pass                            Lease        2002                                          et al



0417942   South    42 &    SL 16860,      Purchase &   April 1, 2004         LLOG    Exploration     Hunt Petroleum
          Pass     43      16870 &        Sale                               Offshore Inc., et al    Corporation
                           OCS - G        Agreement
                           22781


0278048   South    42 &    SL 4584        ROW          February 15,          State of Louisiana      Hunt Petroleum
          Pass     43                                  2005                                          AEC),     Inc.


0278049   South    42 &    SL 4585        ROW          February 15,          State of Louisiana      Hunt Petroleum
          Pass     43                                  2005                                          AEC),     Inc.


0278050   South    42 &    SL 4586        ROW          February 15,          State of Louisiana      Hunt Petroleum
          Pass     43                                  2005                                          AEC), Inc.


0278051   South    42 &    SL 4587        ROW          February 15,          State of Louisiana      Hunt Petroleum
          Pass     43                                  2005                                          AEC),     Inc.


0278047   South    42 &    SL 576         Surface      June 2, 2005          State of Louisiana      Hunt Petroleum
          Pass     43                     Lease                                                      AEC),   Inc.


0295095   South    42 &    SL 16869 &     04 RA        October    19,        The State Mineral       Hunt Petroleum
          Pass     43      16870          Voluntary    2005                  Board                   AEC), Inc., et al
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Agmt. #                       Lse #         Type


0276253   South       42 &    SL 3011       Surface       October    17,   State of Louisiana      Hunt Petroleum
          Pass        43                    Lease         2007                                      AEC), Inc.




0276237   South       43      SL 16870      Lease         November         State of Louisiana      Energy Partners,
          Pass                                            13, 2000                                 Ltd.


0276236   South       43      22781         Lease         June   1, 2001   United States of        Andex   Resources,
          Pass                                                             America                 L. L.C., et al


0295085   South       43      SL 16870      Farmout       December 6,      Energy Partners, Ltd.   LLOG    Exploration
          Pass                              Agreement     2002                                        Production

                                                                                                   Company




0340710   Vermilion   264     33603         Data          April 2, 2002    Western Geco, L.L.C.    Aviara Energy
          Area,                             Acquisition                                            Corporation, et al
          South                             Agreement
          Addition


0340457   Vermilion   264     33603         Lease         July 1, 2010     United States of        XTO Offshore Inc.
          Area,                                                            America
          South
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XTO       Area        Block   OCS -G / ST   Agreement       Agmt Date            Party 1                        Party 2
Agmt. #                       Lse #         Type


0265436   Vermilion   313     1172          Lease           June 1,   1962       United States of               Forest Oil

          Area,                                                                  America                        Corporation

          South
          Addition


0419428   Vermilion   313     1172          Letter          May 12, 1994         Columbia      Gas              CNG Producing
          Area,                             Agreement                            Development                    Company
          South                                                                  Corporation

          Addition


0419888   Vermilion   313     1172          Letter          August    16,        Columbia      Gas              CNG Producing
          Area,                             Agreement       1995                 Development                    Company
          South                                                                  Corporation
          Addition


0294347   Vermilion   313     1172          Participation   November        1,   Dominion Exploration           Aviara Energy
          Area,                             Agreement       2001                      Production,    Inc.       Corporation

          South
          Addition


0294351   Vermilion   313     1172          Operating       November        1,   Dominion      Exploration      Aviara Energy
          Area,                             Agreement       2001                      Production,    Inc.       Corporation

          South
          Addition


0322545   Vermilion   313     1172          Production      January 31,          Dominion      Exploration      Dominion

          Area,                             Handling        2002                      Production,    Inc., et   Exploration &

          South                             Agreement                            al                             Production,   Inc.

          Addition


0322545   Vermilion   313     1172          Lease    of     June 21, 2007        Dominion      Exploration      Dominion

          Area,                             Platform                                  Production,    Inc., et   Exploration &
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XTO       Area      Block   OCS -G / ST   Agreement        Agmt Date         Party 1                      Party 2
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0253756   West      171     1997          Lease            January 1,        United    States   of        Placid Oil Co., et
          Cameron                                          1971              America                      al

          Area


0293110   West      171     1997          Joint            January 1,        Transocean     Oil, Inc.     Placid Oil Co., et
          Cameron                         Operating        1971                                           al


          Area                            Agreement,
                                          as   amended




0418897   West      171     1997          Letter           November     5,   Hunt Petroleum               Captiva Energy,
          Cameron                         Agreement        1997              Corporation,       et al     Inc.

          Area




0418935   West      171     1997          Natural   Gas    March   1,        Chevron     U. S. A. Inc.,   Targa Midstream

          Cameron                         Processing       2002              et al                        Services,   Limited

          Area                            Agreement                                                       Partnership
                                           as described
                                          in Exhibits
                                          A &B of
                                          Assignment
                                          and Bill of
                                          Sale attached
                                          to

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XTO       Area      Block   OCS - G / ST   Agreement     Agmt Date       Party 1            Party 2
Agmt. #                     Lse #          Type


Pending   West      171     1997           Assignment    October    4,   XH, LLC, et al     Conn Energy, Inc.,
          Cameron                          and Bill of   2010                               et al

          Area                             Sale




0265437   West      485     2220           Lease         February 1,     United States of   Columbia Gas
          Cameron                                        1973            America            Development
          Area                                                                              Corporation, et al


0419458   West      485     2220           Production    March     25,   COLEVE, a Joint    Columbia      Gas
          Cameron                          Payment       1973            Venture            Development
          Area                             Conveyance                                       Corporation
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XTO         Area      Block   OCS -G / ST   Agreement        Agmt Date       Party 1     Party 2
Agmt. #                       Lse #         Type


0419455     West      485     2220          Assignment       October 1,      Engy Inc.   Columbia Gas
            Cameron                         of Interest in   1990                        Development
            Area                            Oil &    Gas                                 Corporation
                                            Lease,    Bill

                                            of Sale and
                                            Conveyance
                                            with

                                            Reservation
                                            of


                                            Overriding
                                            Royalty
                                            Subject to
                                            Production
                                            Payment


 Not        West      485     2220          Purchase and     October   22,   Engy Inc.   Columbia Gas
Available   Cameron                         Sale             1990                        Development
            Area                            Agreement                                    Corporation


0419456     West      485     2220          Distribution     October   22,   Engy Inc.   Columbia      Gas
            Cameron                         and              1990                        Development
            Area                            Assignment                                   Corporation
                                            of Interests
                                            in Oil and
                                            Gas Leases,
                                            Bill of Sale


                                            Conveyance
                                            Subject    to
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XTO       Area      Block   OCS - G / ST   Agreement     Agmt Date       Party 1                 Party 2
Agmt. #                     Lse #          Type


0294364   West      485     2220           Unit          May 1, 1994     Minerals Management     Columbia Gas
          Cameron                          Agreement                     Service                 Development
          Area                              7543-                                                Corporation
                                           94008


0310077   West      485     2220           Letter        May 11, 2009    Tennessee Gas           XTO Offshore Inc.
          Cameron                          Agreement                     Pipeline Company
          Area                             for Leak
                                           Testing

0310077   West      485     2220           Sale          May 12, 2009    Tennessee Gas           XTO Offshore Inc.
          Cameron                          Agreement                     Pipeline Company
          Area


0310077   West      485     2220           Letter        July 9, 2009    Tennessee Gas           XTO Offshore Inc.
          Cameron                          Agreement                     Pipeline Company
          Area                             for Cut and
                                           Cap

0310077   West      485     2220           Sale          July 9, 2009    Tennessee Gas           XTO Offshore Inc.
          Cameron                          Agreement                     Pipeline Company
          Area


0310077   West      485     2220           Facilities    July 15, 2009   Stingray Pipeline       XTO Offshore Inc.
          Cameron                          Agreement                     Company, L.L. C.
          Area


0308965   West      485     2122E          Right -of-    Date            Minerals   Management
          Cameron                          Way           Unknown         Service
          Area
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XTO         Area      Block   OCS - G / ST   Agreement          Agmt Date            Party 1            Party 2
Agmt. #                       Lse #          Type


0419458     West      507     2549           Production         March        25,     COLEVE, a Joint    Columbia Gas
            Cameron   N /2)                  Payment            1973                 Venture            Development
            Area                             Conveyance                                                 Corporation




0265443     West      507     2549           Lease              April   1,    1974   United States of   Forest   Oil
            Cameron   N /2)                                                          America            Corporation, et al
            Area


0419455     West      507     2549           Assignment         October        1,    Engy Inc.          Columbia Gas
            Cameron   N /2)                  of Interest in     1990                                    Development
            Area                             Oil &   Gas                                                Corporation
                                             Lease, Bill
                                             of Sale and
                                             Conveyance
                                             with

                                             Reservation
                                             of

                                             Overriding
                                             Royalty
                                             Subject to
                                             Production
                                             Payment


 Not        West      507     2549           Purchase     and   October       22,    Engy Inc.          Columbia Gas
Available   Cameron   N /2)                  Sale               1990                                    Development
            Area                             Agreement                                                  Corporation
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XTO       Area      Block   OCS -G / ST   Agreement       Agmt Date        Party 1                   Party 2
Agmt. #                     Lse #         Type

0419456   West      507     2549          Distribution    October    22,   Engy Inc.                 Columbia Gas
          Cameron   N /2)                 and             1990                                       Development
          Area                            Assignment                                                 Corporation
                                          of Interests
                                          in Oil and
                                          Gas Leases,
                                          Bill of Sale


                                          Conveyance
                                          Subject to
                                          Production
                                          Payment
                                          with


                                          Substitution
                                          of Obligor


0294364   West      507     2549          Unit            May 1, 1994      Minerals   Management     Columbia Gas
          Cameron   N /2)                 Agreement                        Service                   Development
          Area                             7543-                                                     Corporation
                                          94008


0294988   West      507     2549          Participation   March     25,    Newfield Exploration      Aviara Energy
          Cameron   N /2)                 Agreement       2002             Company                   Corporation
          Area


0294989   West      507     2549          Offshore        March     25,    Newfield    Exploration   Aviara Energy
          Cameron   N /2)                 Operating       2002             Company                   Corporation
          Area                            Agreement
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XTO         Area      Block    OCS - G / ST   Agreement        Agmt Date          Party 1            Party 2
Agmt. #                        Lse #          Type


0265453     West      507      10594          Lease            June   1,   1989   United States of   Columbia Gas
            Cameron   S / 2)                                                      America            Development
            Area                                                                                     Corporation


0419455     West      507      10594          Assignment       October      1,    Engy Inc.          Columbia Gas
            Cameron   S / 2)                  of Interest in   1990                                  Development
            Area                              Oil &    Gas                                           Corporation
                                              Lease,   Bill
                                              of Sale and
                                              Conveyance
                                              with

                                              Reservation
                                              of


                                              Overriding
                                              Royalty
                                              Subject to
                                              Production
                                              Payment


 Not        West      507      10594          Purchase and     October     22,    Engy Inc.          Columbia Gas
Available   Cameron   S / 2)                  Sale             1990                                  Development
            Area                              Agreement                                              Corporation
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XTO       Area      Block    OCS - G / ST   Agreement       Agmt Date        Party 1                   Party 2
Agmt. #                      Lse #          Type


0419456   West      507      10594          Distribution    October    22,   Engy Inc.                 Columbia Gas
          Cameron   S / 2)                  and             1990                                       Development
          Area                              Assignment                                                 Corporation
                                            of Interests
                                            in Oil and
                                            Gas Leases,
                                            Bill of Sale


                                            Conveyance
                                            Subject to
                                            Production
                                            Payment
                                            with

                                            Substitution
                                            of Obligor


0294364   West      507      10594          Unit            May 1, 1994      Minerals    Management    Columbia Gas
          Cameron   S / 2)                  Agreement                        Service                   Development
          Area                               7543-                                                     Corporation
                                            94008


0294988   West      507      10594          Participation   March     25,    Newfield    Exploration   Aviara Energy
          Cameron   S / 2)                  Agreement       2002             Company                   Corporation
          Area


0294989   West      507      10594          Offshore        March     25,    Newfield    Exploration   Aviara Energy
          Cameron   S / 2)                  Operating       2002             Company                   Corporation
          Area                              Agreement


0316109   West      507      10594          Production      March 25,        Newfield    Exploration   Aviara Energy
          Cameron   S / 2)                  Handling        2002             Company                   Corporation
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XTO       Area       Bloc   Gas Plant   Agreement      Date         Party 1                Party 2
Agmt. #              k


3401 &    Ship       SS     Calumet     Agreement      January 1,   Atlantic   Richfield   Chevron      Oil
3403      Shoal      188                for the        1970         Company                Corporation, et al
          Area &                        Construction
          South      SM                 and

          Marsh      109                Operation of
          Island                        the Calumet
          Area,                         Gas
          South                         Processing
          Addition                      Plant


3401 &    Ship       SS     Calumet     Restated and   March   1,   ANR Pipeline           Shell Western
3403      Shoal      188                Amended        1997         Company                E & P Inc.
          Area &                        Agreement
          South      SM                 between
          Marsh      109                ANR
          Island                        Pipeline
          Area,                         Company
          South                         and the
          Addition                      Owners of
                                        The Calumet
                                        Gas

                                        Processing
                                        Plant


3401 &    Ship       SS     Calumet     Restated and   March   1,   Trunldine Gas          Shell Western
3403      Shoal      188                Amended        1997         Company                E & P Inc.
          Area &                        Agreement
          South      SM                 between
          Marsh      109                Trunldine
          Island                        Gas
          Area,                         Company
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XTO       Area       Bloc   Gas Plant   Agreement         Date           Party 1            Party 2
Agmt. #              k


3401 &    Ship       SS     Calumet     First             July 1, 2007   Enterprise Gas     Enterprise   Gas
3403      Shoal      188                Amendment                        Processing, LLC    Processing , LLC
          Area &                        to Restated
          South      SM                 and

          Marsh      109                Amended
          Island                        Agreement
          Area,                         between
          South                         Trunidine
          Addition                      Gas

                                        Company
                                        and the
                                        Owners    of
                                        The Calumet
                                        Gas

                                        Processing
                                        Plant


3401 &    Ship       SS     Calumet     Amendment         August   7,    Enterprise   Gas   Apache

3403      Shoal      188                of                2009           Processing, LLC    Corporation,   et al

          Area &                        Agreement
          South      SM                 for the
          Marsh      109                Construction
          Island                        of the
          Area,                         Calumet     Gas
          South                         Processing
          Addition                      Plant
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XTO       Area        Bloc    Gas Plant   Agreement         Date            Party 1             Party 2
Agmt. #               k


3907      Eugene      EI      Yscloskey   Amendment         July 30, 1968   Shell Oil Company   Getty Oil
          Island      309,                to                                                    Company, et al
          Area,       SS                  Agreement
          South       271                 for the
          Addition,   Unit,               Construction

          Ship        SP                  and

          Shoal       42 &                Operation    of
          Area,       SP                  the
          South       43                  Yscloskey
          Addition                        Processing
             South                        Plant
          Pass


3907      Eugene      EI      Yscloskey   Hydrocarbon       July 30, 1968   Shell Oil Company   Getty Oil
          Island      309,                Fractionation                                         Company, et al
          Area,       SS                  Agreement
          South       271
          Addition,   Unit,

          Ship        SP
          Shoal       42 &
          Area,       SP
          South       43
          Addition
             South
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XTO       Area        Bloc    Gas Plant   Agreement       Date          Party 1             Party 2
Agmt. #               k


3907      Eugene      EI      Yscloskey   Amendment       May 1, 1969   Shell Oil Company   Getty Oil
          Island      309,                to                                                Company, et al
          Area,       SS                  Hydrocarbon

          South       271                 Fractionation

          Addition,   Unit,               Agreement

          Ship        SP
          Shoal       42 &
          Area,       SP
          South       43
          Addition
            South
          Pass


3907      Eugene      EI      Yscloskey   Agreement       August   2,   Tennessee Gas       Dynegy
          Island      309,                of Settlement   2002          Pipeline Company    Midstream

          Area,       SS                  And                                               Services,   Limited
          South       271                 Compromise                                        Partnership
          Addition,   Unit,

          Ship        SP
          Shoal       42 &
          Area,       SP
          South       43
          Addition
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XTO       Area        Bloc    Gas Plant   Agreement      Date              Party 1             Party 2
Agmt. #               k


3907      Eugene      EI      Yscloskey   Amendment      April   1, 2003   Dynegy Midstream    Anadarko      E &P
          Island      309,                to                               Services, Limited   Company LP
          Area,       SS                  Construction                     Partnership
          South       271                 and

          Addition,   Unit,               Operating
          Ship        SP                  Agreement
          Shoal       42 &
          Area,       SP
          South       43
          Addition
             South

          Pass


3907      Eugene      EI      Yscloskey   Amended        April   1, 2003   Tennessee   Gas     Dynegy
          Island      309,                and Restated                     Pipeline Company    Midstream
          Area,       SS                  Straddle and                                         Services,   Limited
          South       271                 Processing                                           Partnership
          Addition,   Unit,               Agreement

          Ship        SP
          Shoal       42 &

          Area,       SP
          South       43
          Addition
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XTO `     Area        Bloc -   Gas Plant   Agreement       Date              Party 1            Party 2
Agmt. #               k


3907      Eugene      EI       Yscloskey   Agreement       April   1, 2003   Tennessee   Gas    Dynegy
          Island      309,                 of Settlement                     Pipeline Company   Midstream
          Area,       SS                   And                                                  Services,   Limited
          South       271                  Compromise                                           Partnership
          Addition,   Unit,

          Ship        SP
          Shoal       42 &
          Area,       SP
          South       43
          Addition
             South
          Pass


3907      Eugene      EI       Yscloskey   Second          August    1,      Enterprise Gas     Apache
          Island      309,                 Amendment       2003              Processing, LLC    Corporation,   et al

          Area,       SS                   to
          South       271                  Hydrocarbon
          Addition,   Unit,                Fractionation

          Ship        SP                   Agreement

          Shoal       42 &
          Area,       SP
          South       43
          Addition
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                                                                                        EXHIBIT A -2
                                                                ATTACHED     TO AND MADE A PART OF THAT
                                                                         PURCHASE AND SALE AGREEMENT
                                                                      DATED EFFECTIVE AS OF AUGUST 1, 2
                                                                            BETWEEN XTO OFFSHORE             INC.,
                                                                   HHE ENERGY COMPANY, XH, LLC, AS SE
                                                               AND DYNAMIC      OFFSHORE       RESOURCES,      LLC,


                                                              DESCRIPTION    OF WORKING       AND NET REVENUE




                             Producing working interests and net revenue interests are believed to be as follows whi
                             depth intervals are not given.


                             The net revenue interests shown do not take into account the overriding royalty interes
                             described in Exhibit A and Exhibit A -1, however, do take into account all existing ov
                             Exhibit A and Exhibit A -1, if any, and those to be conveyed to Buyer based upon the net
                             in the Agreement.



BRETON SOUND BLOCK( s) 27/ 28/ 29/ 36/ 37

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BRETON SOUND BLOCK( s) 44/ 45/ 52/ 53

XTO   OFFSHORE        INC.


Platform    Lease /          Long Well     Well   Field         County        API No.          Operator

            Block            Name          Name

            SL 15683         TEX W RA      3      BRETON        PLAQUEMINES   17726205310000   CENTURY    OFFSHORE
                             SUA; SL              SOUND    53
                             15683 # 3
            SL 15683         TEX W RA      1ALT   BRETON        PLAQUEMINES   17726205260000   CENTURY    OFFSHORE

                             SUA;   SL            SOUND 53
                             15683 # 1
                             ALT
            SL 17675         UV B RA       1      BRETON        PLAQUEMINES   17726205510000   CENTURY    OFFSHORE
                             VUA; SL              SOUND    53

                             17675 #   1
            SL 3770          SL 3770 # 1   1      BRETON        PLAQUEMINES   17726000010000   CENTURY    OFFSHORE
                                                  SOUND    53

            SL 3770          SL 3770       1D     BRETON        PLAQUEMINES   17726000010000   CENTURY    OFFSHORE
                              1D                  SOUND    53

             SL 3770         SL 3770 # 7   7      BRETON        PLAQUEMINES   17726201580000   CENTURY    OFFSHORE
                                                  SOUND    53

             SL 3770         SL 3770 # 8   8      BRETON        PLAQUEMINES   17726201630000   CENTURY    OFFSHORE
                                                  SOUND    53
             SL 4772         SL 4772 # 1   1      BRETON        PLAQUEMINES   17726003000000   CENTURY    OFFSHORE
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EC14B      OCS - G-       OCS - G-          B -06    East Cameron   Offshore    177032003700S03   MARINER   ENERGY
           01440 EC       01440     EC 14            9/ 14          Louisiana                     RESOURCES
           14             B -06

EC14B      OCS -G-        OCS - G-          B -07    East Cameron   Offshore    177032004000SO4   MARINER   ENERGY
           01440   EC     01440     EC 14            9/ 14          Louisiana                     RESOURCES
           14             B -07
EC14B      OCS - G-       OCS - G-          B -08    East Cameron   Offshore    177032004200S01   MARINER   ENERGY
           01440   EC     01440     EC 14            9/ 14          Louisiana                     RESOURCES
           14             B -08
EC14B      OCS - G-       OCS - G-          B -09    East Cameron   Offshore    177032004300SO4   MARINER   ENERGY
           01440   EC 9   01440EC9                   9/ 14          Louisiana                     RESOURCES
                          B -09
EC14B      OCS - G-       OCS - G-          B-       East Cameron   Offshore    177032004601S03   MARINER   ENERGY
           01440   EC     01440 EC 14       1 OST1   9/ 14          Louisiana                     RESOURCES
           14             B - 10ST1
EC14CF     OCS -G-        OCS - G-          CF -01   East Cameron   Offshore    177030032800SO4   MARINER   ENERGY
           01440   EC     01440     EC 14            9/ 14          Louisiana                     RESOURCES
           14             CF - 01
EC14CF     OCS - G-       OCS - G-          CF -02   East Cameron   Offshore    177034068600S05   MARINER   ENERGY

           13572   EC     13572     EC 14            9/ 14          Louisiana                     RESOURCES
           14             CF - 02




EAST    CAMERON       BLOCK   178



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EUGENE ISLAND BLOCK 273D ( EI 272/ 273/ 284/ 285 Unit)

XTO   OFFSHORE       INC.

Platform   Lease /          Long Well        Well        Field         County      API No.           Operator

           Block            Name             Name
EI284B     OCS - G -0991    OCS - G-         B -01BP 1   EUGENE        Offshore    177104114800S03   MARINER    ENERGY

           EI 284           0991    EI 284               ISLAND   SA   Louisiana                     RESOURCES
                            B -01BP1                     292

EI284B     OCS -G -0991     OCS - G-         B -03       EUGENE        Offshore    177104116400S01   MARINER    ENERGY
           EI 284           0991    EI 284               ISLAND SA     Louisiana                     RESOURCES
                            B -03                        292

EI284B     OCS - G -0991,   OCS - G-         B -05       EUGENE        Offshore    177104116500D03   MARINER    ENERGY
           EI 284           0991 EI 284                  ISLAND   SA   Louisiana                     RESOURCES

                            B -05A                       292

EI284B     OCS - G -0991    OCS -G-          B -05D      EUGENE        Offshore    177104116500D02   MARINER    ENERGY

           EI 284           0991 EI 284                  ISLAND   SA   Louisiana                     RESOURCES
                            B -05D                       292

EI273D     OCS - G -0991    OCS - G-         D -01       EUGENE        Offshore    177104155900S01   MARINER    ENERGY

           EI 284           0991 EI 284                  ISLAND   SA   Louisiana                     RESOURCES
                            D -01                        292
EI273D     OCS -G -0987     OCS - G-         D -02       EUGENE        Offshore    177104158200S01   MARINER    ENERGY

           EI 273           0987 EI 273                  ISLAND SA     Louisiana                     RESOURCES
                            D -02                        292

EI273D     OCS - G -0991    OCS - G-         D -03       EUGENE        Offshore    177104158300S01   MARINER    ENERGY
           EI 284           0991    EI 284               ISLAND   SA   Louisiana                     RESOURCES

                            D -03                        292

EI273D     OCS - G -0986    OCS -G-          D -04       EUGENE        Offshore    177104158400D01   MARINER    ENERGY
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I98ZIH        S3O    0-          SDO O-                U -LS60-   amaola .    atogs330      T0SZ0ZZ0017OTLLI     loNnivw        I1NH   AO)
              6600     Ia £      6600        Ia £                 ISI GNV'    uuuisino7                          Sa02If10Sa2I
              98Z                98Z U IS60-                      VS    Z6Z



IH    O60£    S30    0- 6L6T-    500        0-         CI TO-     amaof1L     aiogs330      ZOS00T000170TLLT     xaNRIWIN       AO2i3Na
              Ia L8Z             6L6T            L8Z              ISI QNy'    uuuisino1                          ISa2IO3) no
                                                                  VS    Z6Z
IH    O60£    SOO' 0 -6L61-      530        0-         a ZO-       amaon      oJogs330      TOS0017000170TLLI    I NRIVL   2I A02IaMa
              Ia L8Z             6L6I            L8Z              ISI QNV'    uuuismo7                           ISHUOd) 110
                                 U ZO-                            VS    Z6Z
IH    060£    SOO    D- 6L61-    SOO        O-         Q 0-       aND0la £    aJogs330      OS008000170ILLI      I 2IY' A02IHMM
               I L8Z             6L6I        I L8Z                1SI   QN    I uuursrno'                        ISa2IOd) 110
                                 Q 0-                             VS    Z6Z
Ifl   060£    SOO    O- 6L61-    S3O        O-         Q 170-     aNN0f1a     asog0330      IOSOOZTOOIOILLI      2IHNRIVIAI     AO2IaMM
               I L8Z             6L6I I3 L8Z                      IMV1SI      uuuisinOZ (                        LSaIOd)       110 .
                                 Q 170 -                          VS    Z6Z

H     960£    SOO    0 -6L6T -   SJO• D-               CE CO-     amaonH       wormy)       LLI IOSOOII001701    1IaNniviAI      AO2I3N
              Ia LE              6L6I            L8Z              QNVZSI       uuursrno'                         ISa2I03) 110
                                 Q CO-                            VS    Z6Z
IH    060£    SOO    0 -6L61 -   SDO        D-         CI LO-     aMLOf11     aiogs330      TOSOOST001701LLI     2IELNRIVIAI    AO2oN3
              Ia L8Z             6L6I            L8Z              QMV1SI      uuuisino7                          2IOd)   IS[ Ho
                                 1   LO-(                         VS    Z6Z
1a    060£    SOO    0- 6L6T-    SOO        O-         U 80-      amaof1H     alogs330      LLT   OS006T00170'   2IINRIVJAI      M [ A02T
               I L8Z             6L6T        I L8Z                QNV1SI      I uuuisino•                        ISf2I03) IIO
                                 U 80-                            VS    Z6Z
IH    060£    SOO O- 6L6I -      SOO        D-         1   I-(
                                                             VI   NNaDfia     azogs33O      00008001170ILLI      2IHNRIVIAI     A02IaMa
               I L8Z             6L6I I3 L8Z                      TV1SI Q1'   uuuismo1                           ISa2T01) 110
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EI292B   OCS - G-      OCS - G-      B -03ST1    EUGENE        Offshore    177102000601S02    MARINER   ENERGY

         00994   EI    00994    EI               ISLAND        Louisiana                      RESOURCES

         292           292 B-                    SA   292
                       03ST1

EI292B   OCS - G :,.   OCS - G- =    B -04 - ,   EUGENE - --   Offshore    177102001200501`   MARINER   ENERGY'
         00994 EI      00994    EI               ISLAND        Louisiana                      RESOURCES
         292           292 B -04                 SA   292

EI292B   OCS - G-      OCS - G-      B -05ST1    EUGENE        Offshore    177102001300503    MARINER   ENERGY

         00994   EI    00994 EI                  ISLAND        Louisiana                      RESOURCES
         292           292 B-                    SA   292
                       05ST1

EI292B   OCS - G-      OCS - G-      B -06       EUGENE        Offshore    177102001400501    MARINER   ENERGY
         00995 EI      00995    EI               ISLAND        Louisiana                      RESOURCES
         293           293 B -06                 SA   292

3I292B   OCS - G-      OCS - G-      B -07       EUGENE        Offshore    177102001500501    MARINER   ENERGY
         00994   EI    00994 EI                  ISLAND        Louisiana                      RESOURCES
         292           292 B -07                 SA 292
EI292B   OCS - G-      OCS - G-      B -08       EUGENE        Offshore    177102001600501    MARINER   ENERGY
         00994   EI    00994    EI               ISLAND        Louisiana                      RESOURCES

         292           292 B -08                 SA   292

EI292B   OCS - G-      OCS - G-      B -09ST1    EUGENE        Offshore    177104065300D02    MARINER   ENERGY

         00995   EI    00995    EI               ISLAND        Louisiana                      RESOURCES
         293           293 B -9ST1               SA   292

EI292B   OCS - G-      OCS - G-      B -10       EUGENE        Offshore    177104065400D02    MARINER   ENERGY
         00994 EI      00994    EI               ISLAND        Louisiana                      RESOURCES
         292           292 B - 10                SA   292
EI292B   OCS - G-      OCS - G-      B -11ST1    EUGENE        Offshore    177104065500D03    MARINER   ENERGY
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EI293     OCS - G-         OCS - G-      D -6       EUGENE     Offshore    177102004100SO4   MARINER    ENERGY
          00995 EI         00995    EI              ISLAND     Louisiana                     FOREST    OIL)
          293              293 D -6                 SA   292




EI309G    OCS -G -0997     OCS - G-      G -01      EUGENE     Offshore    177104045600D03   MARINER    ENERGY
          EI 309           0997 EI 309              ISLAND     Louisiana                     RESOURCES
                           G -01                    SA   292

EI309G    OCS - G -0997    OCS - G-      G -01B     EUGENE     Offshore    177104045600D04   MARINER    ENERGY
          EI 309           0997 EI 309              ISLAND     Louisiana                     RESOURCES
                           G -01B                   SA 292
EI309G    OCS - G -0997    OCS - G-      G -02ST    EUGENE     Offshore    177104049801S01   MARINER    ENERGY

          EI 309           0997 EI 309              ISLAND     Louisiana                     RESOURCES
                           G -02ST                  SA   292

EI309G    OCS - G -0997    OCS - G-      G -04      EUGENE     Offshore    177104050700S01   MARINER    ENERGY
          EI 309           0997 EI 309              ISLAND     Louisiana                     RESOURCES
                           G -04                    SA   292

EI309G    OCS - G -0997    OCS - G-      G -07      EUGENE     Offshore    177104049300S01   MARINER    ENERGY
          EI 309           0997 EI 309              ISLAND     Louisiana                     RESOURCES
                           G -07                    SA   292

EI309G    OCS - G -0997    OCS - G-      G -08      EUGENE     Offshore    177104048900D05   MARINER    ENERGY

          EI 309           0997 EI 309              ISLAND     Louisiana                     RESOURCES
                           G -08                    SA   292

EI309G    OCS - G - 0997   OCS - G-      G -09      EUGENE     Offshore    177104054100S01   MARINER    ENERGY

          EI 309           0997 EI 309              ISLAND     Louisiana                     RESOURCES
                           G -09                    SA   292
EI309G    OCS - G -0997    OCS - G-      G - 11ST   EUGENE     Offshore    177104053001D02   MARINER    ENERGY
          EI 309           0997 EI 309              ISLAND     Louisiana                     RESOURCES
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EUGENE ISLAND BLOCK 309J ( EI 309/ 313)

XTO OFFSHORE INC.

Platform     Lease /        Long Well        Well Name   Field         County      API No.           Operator

             Block          Name •..


EI309J       OCS - G-       OCS - G-         J -01ST     EUGENE        OFFSHORE    177104129701D02   XTO OFFSHORE   INC
             0997 EI 309    0997 EI 309                  ISLAND   SA   LOUISIANA

                            J -01ST                      292

EI309J       OCS -G-        OCS - G-         J -02       EUGENE        OFFSHORE    177104130600S01   XTO OFFSHORE INC
             0997 EI 309    0997 EI 309                  ISLAND   SA   LOUISIANA
                            J -02                        292
EI309J       OCS - G-       OCS - G-         J -03       EUGENE        OFFSHORE    177104150300S02   XTO OFFSHORE   INC

             0997 EI 309    0997 EI 309                  ISLAND   SA   LOUISIANA
                            J -03                        292

EI309J       OCS - G-       OCS -G-          1 - 04      EUGENE        OFFSHORE    177104150600501   XTO OFFSHORE   INC
             2608 EI 313    2608    EI 313               ISLAND SA     LOUISIANA
                            J -04                        330




EUGENE      ISLAND      BLOCK   311/ 312


XTO      OFFSHORE
INC.
Platform     Lease /        Long Well        Well Name   Field         County      API No.           Operator
             Block          Name
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XTO     OFFSHORE           INC.


Platform        Lease /           Long Well         Well Name   Field         County      API No.           Operator
                Block             Name


EI309G          OCS - G -1981     OCS - G-          G -03       EUGENE        Offshore    177104048200S02   MARINER     ENERGY
                EI 314            1981     EI 314               ISLAND   SA   Louisiana                     RESOURCES
                                  G -03                         292

EI309G          OCS - G - 1981    OCS - G-          G -05ST2    EUGENE        Offshore    177104051402S01   MARINER     ENERGY
                EI 314            1981 EI 314                   ISLAND   SA   Louisiana                     RESOURCES
                                  G -05ST2                      292

EI309G          OCS - G - 1981    OCS - G-          G -06       EUGENE        Offshore    177104051800S02   MARINER     ENERGY
                EI 314            1981     EI 314               ISLAND   SA   Louisiana                     RESOURCES
                                  G -06                         292
EI309G          OCS - G - 1982    OCS - G-          G - 12      EUGENE        Offshore    177104046600S01   MARINER     ENERGY
                EI 315            1982 EI 315                   ISLAND   SA   Louisiana                     RESOURCES
                                  G - 12                        292




HIGH     ISLAND
BLOCK      34
XTO OFFSHORE               INC.

Platform         Lease /          Long Well         Well Name   Field         County      API No.            Operator
                 Block            Name


HI34B            OCS - G-         OCS - G-          B -01       HIGH          OFFSHORE    427084055800S01    XTO OFFSHORE    INC
                 20655     HI     20655     HI 34               ISLAND   22   TEXAS
                 34               B -01
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Platform   Lease /         Long Well       Well Name   Field         County      API No.           Operator

           Block           Name


HI376A     OCS - G -2750   OCS - G-        A -01       High Island   Offshore    427114052200S01   APACHE     CORPORAT

           HI, A365        2750 HI; ....               A376          Louisiana

                           A365    A- 01
HI376A     OCS - G -2754   OCS - G-        A -02ST1    High Island   Offshore    427114052601S03   APACHE     CORPORAT

           HI A376         2754 HI                     A376          Louisiana
                           A376    A-
                           02ST1

HI376A     OCS - G -2754   OCS - G-        A -03ST     High Island   Offshore    427114052701S01   APACHE     CORPORAT
           HI A376         2754 HI                     A376          Louisiana

                           A376    A-
                           03ST
3I376A     OCS - G -2754   OCS - G-        A -03STD    High Island   Offshore    427114052700D03   APACHE     CORPORAT

           HI A376         2754 HI                     A376          Louisiana
                           A376 A-
                           03DST
HI376A     OCS - G -2750   OCS - G-        A -04       High Island   Offshore    427114053700501   APACHE     CORPORAT
           HI A365         2750 HI '                   A376          Louisiana
                           A365 A -04
HI376A     OCS - G -2754   OCS -G-         A -05       High Island   Offshore    427114053500S01   APACHE     CORPORAT

           HI A376         2754 HI                     A376          Louisiana
                           A376 A -05
HI376A     OCS - G -2750   OCS - G-        A -06       High Island   Offshore    427114053100S02   APACHE     CORPORAT
           HI A365         2750 HI                     A376          Louisiana

                           A365 A -06
                                           A -         High Island   Offshore    427114054100S02   APACHE CORPORA
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HI376A   OCS - G -2750   OCS - G-         A -12      High Island   Offshore    427114055600S01   APACHE   CORPORA
         HI A365         2750 HI                     A376          Louisiana
                         A365 A -12
HI376A   OCS - G -2750   OCS - G-         A -12D     High Island   Offshore    427114055600D03   APACHE   CORPORA
         HI A365         2750 HI .. _ ,: _ -         A376 - -'     Louisiana
                         A365    A-
                         12D
HI376A   OCS - G -2750   OCS - G-         A -13ST1   High Island   Offshore    427114055801S01   APACHE   CORPORA
         HI A365         2750 HI                     A376          Louisiana
                         A365    A-
                         13ST1
HI376A   OCS - G -2754   OCS - G-         A -14ST2   High Island   Offshore    427114056002502   APACHE   CORPORAT
         HI A376         2754 HI                     A376          Louisiana
                         A376    A-
                         14ST2

HI376A   OCS - G -2750   OCS - G-         A -16      High Island   Offshore    427114056700S01   APACHE CORPORA
         HI A365         2750    HI                  A376          Louisiana
                         A365    A -16
HI376A   OCS - G -2754   OCS - G-         A -17      High Island   Offshore    427114057200S02   APACHE   CORPORA
         HI A376         2754 HI                     A376          Louisiana
                         A376    A -17
HI376A   OCS - G -2754   OCS - G-         A -18 '    High Island   Offshore    427114057300S02   APACHE   CORPORAT
         HI A376         2754 HI                     A376          Louisiana
                         A376    A -18
HI376A   OCS -G -2754    OCS - G-         A -19      High Island   Offshore    427114057400503   APACHE   CORPORAT
         HI A376         2754 HI                     A376          Louisiana
                         A376    A -19
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HI376B      OCS - G -2754   OCS - G-        B- 01      High Island ,   Offshore    427114068700S03   APACHE   CORPORA
            HI A376         2754 HI                    A376            Louisiana
                            A376 B -01
HI376B      OCS - G -2754   OCS - G-        B -02BP1   High Island     Offshore    427114068900S03   APACHE   CORPORAT
           HI A376          2754 HI                    A376- . :. =    Louisiana
                            A376 B-
                            02BP1
HI376B '    OCS - G -2754   OCS - G-        B -03ST1   High Island     Offshore    427114078701S02   APACHE   CORPORAT
            HI A376         2754 HI                    A376            Louisiana
                            A376 B-
                            03ST1
HI376B      OCS - G -2754   OCS - G-        B -04ST1   High Island     Offshore    427114079001SO1   APACHE CORPORA
            HI A376         2754 HI                    A376            Louisiana
                            A376 B-
                            04ST1
HI376B      OCS -G -2754    OCS - G-        B -05      High Island     Offshore    427114079600S01   APACHE CORPORA
            HI A376         2754 HI                    A376            Louisiana
                            A376 B -05
HI376C      OCS - G -2754   OCS - G-        C -01      High Island     Offshore    427114088900S01   APACHE   CORPORA
            HI A376         2754 HI                    A376            Louisiana
                            A376    C -01
HI376C      OCS - G -2754   OCS - G-        C -02      High Island     Offshore    427114089600      APACHE   CORPORA
            HI A376         2754 HI                    A376            Louisiana
                            M76     C -02
HI376C      OCS - G -2754   OCS - G-        C -03      High Island     Offshore    427114089500      APACHE   CORPORA
            HI A376         2754 HI                    A376            Louisiana
                            A376    C -03
HI376C      OCS - G -2754   OCS - G-        C -04      High
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HI554A       OCS - G-               OCS - G-       A -01D       HI     A552     Offshore      427094110400D02       HUNT OIL COMPAN

             21356       HI         21356   HI                                  Louisiana

             A554                   A554 A -01D
HI554A       OCS - G-               OCS - G-       A -01        HI     A552     Offshore      427094110400D01       HUNT    OIL COMPAN

             21356 Hi =             21356. HI                                   Louisiana

             A554                   A554 A -01




MAIN      PASS    BLOCK       29



XTO OFFSHORE INC.


Platform     Lease /               Long Well       Well Name     Field          County        API No.               Operator
             Block                 Name
MP029 .          OCS - G-          OCS - G- #       1            MAIN           OFFSHORE       177254081901S01      XTO OFFSHORE    IN

                 27196             27196 MP29                    PASS    29     LOUISIANA

             MP29                   1




MAIN PASS BLOCK
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XTO    OFFSHORE
INC.
Platform     Lease /               Long Well      Well         Field          County        API No.              Operator

             Block                 Name           Name
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MP094      OCS - G-           OCS - G- #              5           MAIN            Offshore      177254081800S01     W & T OFFSHORE,       INC.
           07802     MP       07802 MP94                          PASS    094     Louisiana
           94 #                5
MP094      OCS - G-           OCS - G- #              4ST         MAIN            Offshore      177254072400S01     W & T OFFSHORE,       INC.
           07802 MP           07802    MP, :.                     PASS    094.    Louisiana
           94                 94 # 4ST




MAIN PASS BLOCK 101/ 106

XTO   OFFSHORE        INC.


Platform   Lease /    Block        Long Well              Well    Field          County       API No.             Operator
                                   Name                   Name
MP101B      OCS - G -22792         OCS -G-                B -01   MAIN           OFFSHORE     177254074600S01     XTO OFFSHORE     INC.
           MP101                   22792                          PASS    107    LOUISIANA
                                   MP101         B-
                                      01

MP101B      OCS - G -22792            OCS -G-             B -02   MAIN           OFFSHORE     177254075100S01     XTO   OFFSHORE   INC.
            MP101                  22792                          PASS    107    LOUISIANA

                                   MP101         B-
                                      02
MP101D      OCS - G -22792            OCS - G-            D -01   MAIN           OFFSHORE     177254076000S01     XTO   OFFSHORE   INC.
            MP101                     22792                       PASS    107    LOUISIANA
                                   MP101         D-
                                      01
MP101D      OCS - G -22792            OCS - G-            D -02   MAIN           OFFSHORE     177254076100S02     XTO OFFSHORE     INC.
            MP101                     22792                       PASS    107    LOUISIANA
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MP101E        OCS -G -22792     OCS - G-           E -01   MAIN          OFFSHORE    177254079000D03   XTO OFFSHORE     INC.

  6)         MP101              22792 ( #            6)    PASS    107   LOUISIANA

                                MP101      E -01
                                     6)




HHE ENERGY
COMPANY
Platform •    Lease /   Block   Long Well          Well    Field         County      API No.           Operator
                                Name               Name
MP101B        OCS- G- 22792     OCS - G-           B -01   MAIN          OFFSHORE    177254074600S01   XTO OFFSHORE     INC.
              MP101             22792                      PASS    107   LOUISIANA
                                MP101      B-
                                01

MP101B        OCS - G -22792    OCS - G-           B -02   MAIN          OFFSHORE    177254075100S01   XTO   OFFSHORE   INC.
              MP101             22792                      PASS    107   LOUISIANA
                                MP101      B-
                                02
MP101D        OCS - G -22792    OCS - G-           D -01   MAIN          OFFSHORE    177254076000S01   XTO   OFFSHORE   INC.

              MP101             22792                      PASS    107   LOUISIANA
                                MP101      D-
                                01
MP101D        OCS - G -22792    OCS - G-           D -02   MAIN          OFFSHORE    177254076100S02   XTO OFFSHORE     INC.
              MP101             22792                      PASS    107   LOUISIANA
                                MP101      D-
                                02
MP101D        OCS -G -23967     OCS - G-           D-      MAIN          OFFSHORE    177254077101S01   XTO OFFSHORE     INC.
              MP106             23967              03ST1   PASS    107   LOUISIANA
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MAIN      PASS   BLOCK    101


XTO OFFSHORE           INC. _-

Platform     Lease /   Block     Long Well    Well   Field         County       API No.             Operator
                                 Name         Name
MP101B       OCS -G 22792        OCS - G      B3     MAIN          Offshore      177254081000S01    CENTURY
             MP101               22792               PASS    101   Louisiana                        EXPLORATION       NEW
                                 MP101B3                                                            ORLEANS, INC.



HHE ENERGY
COMPANY
Platform     Lease /   Block     Long Well    Well   Field          County       API No.            Operator
                                 Name         Name
MP101B       OCS - G 22792       OCS - G      B3     MAIN           Offshore     177254081000S01    CENTURY
             MP101               22792               PASS    101    Louisiana                       EXPLORATION       NEW
                                 MP101B3                                                            ORLEANS,   INC.




MAIN PASS BLOCK 109

XTO    OFFSHORE        INC.


Platfor      Lease /   Block     Long Well   Well    Field         County       API No.            Operator

m                                Name        Name
MP109C       OCS - G -22794      OCS - G-    C -01   MAIN          Offshore     177254076700S03    W & T OFFSHORE,    INC.
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MP109C        OCS - G-         OCS - G-        C -01       MAIN          Offshore    177254076700S03   W &T OFFSHORE,   INC.
              22794            22794                       PASS    109   Louisiana
              MP109            MP109 C -1
MP109D        OCS - G-         OCS -G-         D-          MAIN          Offshore    177254076802S02   W &T OFFSHORE, INC.
              22794_           22794           0.1ST0...   PASS    109   Louisiana
              MP109            MP109      D-   OBP02
                               01STOOBPO
                               2




MAIN   PASS   BLOCK      112

XTO OFFSHORE INC.
Platform      Lease /          Long Well       Well        Field         County      API No.           Operator
              Block            Name            Name
MP112A        OCS - G-         OCS - G-        A-          MAIN          OFFSHORE    177254054301S02   XTO OFFSHORE     INC.
              09707     MP     09707    MP     01ST1       PASS    112   LOUISIANA
              112              112 A-
                               01ST1
MP112A        OCS - G-         OCS - G-        A -02       MAIN          OFFSHORE    177254085400S01   XTO OFFSHORE     INC.
              09707     MP     09707    MP                 PASS    112   LOUISIANA
              112              112 A -02
MP No. 2      OCS -G-          OCS - G-        2           MAIN          OFFSHORE    177254054400S02   XTO OFFSHORE     INC.
              09707     MP     09707    MP                 PASS    112   LOUISIANA
              112              112 02
           Case
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XTO OFFSHORE INC.
Platform      Lease /        Long Well        Well     Field         County       API No.             Operator

              Block          Name             Name


MP116B        OCS - G        OCS - G- —. _.   B -01    MAIN          OFFSHORE .   177254017600S03 '   XTO OFFSHORE   INC. `

              03419     MP   03419   MP                PASS    127   LOUISIANA

              116            116 B -01
MP116B        OCS - G-       OCS - G-         B -02    MAIN          OFFSHORE     177254018800S02     XTO OFFSHORE   INC.

              03419     MP   03419   MP                PASS    127   LOUISIANA

              116            116 B -02
MP116B        OCS - G-       OCS - G-         B -04    MAIN          OFFSHORE     177254023500S01     XTO OFFSHORE   INC.
              03419     MP   03419   MP                PASS    127   LOUISIANA

              116            116 B -04
MP116B        OCS - G-       OCS - G-         B -06    MAIN          OFFSHORE     177254052200S01     XTO OFFSHORE   INC.

              03419     MP   03419   MP                PASS    127   LOUISIANA

              116            116 B -06
MP116B        OCS - G-       OCS - G-         B -07    MAIN          OFFSHORE     177254052300D02     XTO OFFSHORE   INC.

              03419     MP   03419   MP                PASS    127   LOUISIANA

              116            116 B -07
MP116B        OCS - G-       OCS - G-         B - 09   MAIN          OFFSHORE     177254083700        XTO OFFSHORE   INC.

              03419     MP   03419   MP                PASS    127   LOUISIANA

              116            116 B -09
MP116B        OCS - G-       OCS - G- #        08      MAIN          OFFSHORE     177254078600D03     XTO OFFSHORE   INC.
              03419     MP   03419   MP                PASS    127   LOUISIANA

              116            116 # 08
MP116B        OCS - G-       OCS - G- #        08D     MAIN          OFFSHORE     177254078600D04     XTO OFFSHORE   INC.

              03419     MP   03419   MP                PASS    127   LOUISIANA
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XTO      OFFSHORE   INC.

Platform       Lease /         Long Well       Well     Field         County      API No.           Operator

               Block           Name            Name


MP125B         OCS- G- :       OCS- G-         B -01    MAIN          OFFSHORE    177254084402S01   XTO OFFSHORE     INC.

               25019           25019                    PASS    125   LOUISIANA

               MP125           MP125      B-
                               01




SOUTH MARSH ISLAND BLOCK
40/ 41
XTO OFFSHORE INC.
 latform       Lease /         Long Well       Well     Field         County      API No.           Operator

               Block           Name            Name


SMI4OB         OCS - G-        OCS - G-        B -01    SOUTH         OFFSHORE    177074083600D01   XTO   OFFSHORE   INC.

               13607     SMI   13607   SMI              MARSH         LOUISIANA

               40              40 B -01                 ISLAND -
                                                        BLK 41

SMI4OB         OCS - G-        OCS - G-        B -01D   SOUTH         OFFSHORE    177074083600D02   XTO OFFSHORE     INC.

               13607     SMI   13607   SMI              MARSH         LOUISIANA

               40              40 B -01D                ISLAND
                                                        BLK41

SMI4OB         OCS - G-        OCS - G-        B-       SOUTH '       OFFSHORE    177074084901S01   XTO   OFFSHORE   INC.

               01192 SMI       1192 SMI        02ST     MARSH         LOUISIANA

               41              41 B -02ST               ISLAND
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SMI4OB         OCS - G-         OCS - G-       B -04E   SOUTH    OFFSHORE        177074085400D03     XTO OFFSHORE   INC.

               01192    SMI     1192 SMI                MARSH    LOUISIANA

               41               41 B -04E               ISLAND
                                                        BLK41

SM 14QB ,>     OCS - G- . ,.,   OCS - G- -••   B -05    SOUTH    OFFSHORE- • °   177074085700D01     XTO   OFFSHORE INC.
               13607    SMI     13607   SMI             MARSH    LOUISIANA

               40               40 B -05                ISLAND

                                                        BLK 41
SMI4OB         OCS - G-         OCS - G-       B -05D   SOUTH    OFFSHORE        177074085700D02     XTO OFFSHORE   INC.
               01192    SMI     01192   SMI             MARSH    LOUISIANA

               41               41 B -05D               ISLAND
                                                        BLK 41

SMI4OB         OCS - G-         OCS - G-       B -06    SOUTH    OFFSHORE        177074087600S01     XTO OFFSHORE   INC.

               01192    SMI     01192   SMI             MARSH    LOUISIANA

               41               41 B -06                ISLAND
                                                        BLK 41

SMI4OB         OCS - G-         OCS - G-       B -07    SOUTH    OFFSHORE        177074089800D01     XTO OFFSHORE   INC.

                13607   SMI     13607   SMI             MARSH    LOUISIANA
               40               40 B -07                ISLAND
                                                        BLK41

SMI4OB         OCS - G-         OCS - G-       B -07D   SOUTH    OFFSHORE        177074089800D02     XTO OFFSHORE   INC.

               01192    SMI     01192   SMI             MARSH    LOUISIANA

               41               41 B -07D               ISLAND
                                                        BLK 41

SMI44C         OCS - G-         OCS - G-       C -02    SOUTH    OFFSHORE        177074089500D01 .   XTO OFFSHORE   INC.

                13607   SMI     13607   SMI             MARSH    LOUISIANA
               40               40 C -02                ISLAND
                                                        BLK 41
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HHE ENERGY
COMPANY
Platform      Lease /         Long Well     Well     Field    County      API No.           Operator
              Block           Name          Name


SMI4OB        OCS - G-        OCS - G-      B -01    SOUTH    OFFSHORE    177074083600D01   XT O OFFSHORE   INC.
              13607     SMI   13607   SMI            MARSH    LOUISIANA

              40              40 B -01               ISLAND
                                                     41

SMI4OB        OCS - G-        OCS - G-      B -01D   SOUTH    OFFSHORE    177074083600D02   XTO OFFSHORE    INC.
              13607     SMI   13607   SMI            MARSH    LOUISIANA

              40              40 B -01D              ISLAND
                                                     41
SMI4OB        OCS - G-        OCS - G-      B-       SOUTH    OFFSHORE    177074084901S01   XTO OFFSHORE    INC.
              01192     SMI   1192    SMI   02ST     MARSH    LOUISIANA
              41              41 B -02ST             ISLAND
                                                     41
SMI4OB        OCS - G-        OCS - G-      B -03    SOUTH    OFFSHORE    177074085300S01   XTO OFFSHORE    INC.
              01192     SMI   1192 SMI               MARSH    LOUISIANA

              41              41 B -03               ISLAND
                                                     41

SMI4OB        OCS -G-         OCS - G-      B -04    SOUTH    OFFSHORE    177074085400D01   XTO OFFSHORE    INC.
              01192 SMI       1192 SMI               MARSH    LOUISIANA
              41              41 B -04               ISLAND
                                                     41
SMI40B        OCS - G-        OCS - G-      B -04D   SOUTH    OFFSHORE    177074085400D02   XTO OFFSHORE    INC.
              01192     SMI   1192 SMI               MARSH    LOUISIANA
                              41 B -04D              ISLAND
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SMI4OB                OCS - G-          OCS - G-              B -06     SOUTH    OFFSHORE      177074087600S01   XTO OFFSHORE     INC.

                      01192   SMI       01192     SMI                   MARSH    LOUISIANA

                      41                41 B -06                        ISLAND
                                                                        41

SMI40B -   4 '   r;   OCS - G- ,    Q   OCS     G -:.' -' •   B -07 -   SOUTH    OFFSHORE .°   177074089800D01   XTO OFFSHORE     INC. °

                      13607   SMI       13607     SMI                   MARSH    LOUISIANA

                      40                40 B -07                        ISLAND
                                                                        41

SMI4OB                OCS - G-          OCS - G-              B -07D    SOUTH    OFFSHORE      177074089800D02   XTO OFFSHORE     INC.
                      01192   SMI       01192     SMI                   MARSH    LOUISIANA

                      41                41 B -07D                       ISLAND
                                                                        41

SMI44C                OCS - G-          OCS - G-              C -02     SOUTH    OFFSHORE      177074089500D01   XTO OFFSHORE     INC.

                      13607   SMI       13607     SMI                   MARSH    LOUISIANA

                      40                40 C -02                        ISLAND
                                                                        41

SMI44C                OCS - G-          OCS - G-              C -02D    SOUTH    OFFSHORE      177074089500D02   XTO OFFSHORE     INC.
                      13607   SMI       13607     SMI                   MARSH    LOUISIANA
                      40                40 C -02D                       ISLAND
                                                                        41

SMI4OJA               OCS - G-          OCS - G-              JA-       SOUTH    OFFSHORE      177074063600S02   XTO OFFSHORE     INC.

                      13607   SMI       13607     SMI         01ST2     MARSH    LOUISIANA

                      40                40 JA                           ISLAND
                                        01ST2                           41
SMI4OJA               OCS - G-          OCS - G-              JA -02    SOUTH    OFFSHORE      177074069100S01   XTO   OFFSHORE   INC.

                      13607   SMI       13607     SMI         BP01      MARSH    LOUISIANA
                      40                40 JA                           ISLAND
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SMI44C       OCS - G-        OCS - G-      C -01D   SOUTH       OFFSHORE    177074088300D02   XTO OFFSHORE     INC.
             23840     SMI   23840   SMI            MARSH       LOUISIANA
             44              44 C -01D              ISLAND
                                                    41




SOUTH MARSH ISLAND BLOCK 109

XTO OFFSHORE INC.

Platform     Lease /         Long Well     Well     Field       County      API No.           Operator
             Block           Name          Name


SMI109A      OCS - G-        OCS - G-      A -01    SOUTH       OFFSHORE    177084091500501   XTO OFFSHORE INC.
             24873     SMI   24873 SMI              MARSH       LOUISIANA
              109            109 A -01              IS SA 109
SMI109A      OCS - G-        OCS - G-      A -02    SOUTH       OFFSHORE    177084091600D01   XTO OFFSHORE     INC.
             24873     SMI   24873   SMI            MARSH       LOUISIANA
              109            109 A -02              IS SA 109
SMI109A      OCS - G-        OCS - G-      A -02D   SOUTH       OFFSHORE    177084091600D02   XTO OFFSHORE     INC.
             24873     SMI   24873   SMI            MARSH       LOUISIANA
              109            109 A -02D             IS SA 109
SMI109A      OCS - G-        OCS - G-      A -03    SOUTH       OFFSHORE    177084091700501   XTO   OFFSHORE   INC.
             24873     SMI   24873   SMI            MARSH       LOUISIANA
              109            109 A -
                                   03               IS SA 109
SMI109A      OCS - G-        OCS - G-      A -04    SOUTH       OFFSHORE    177084092800501   XTO   OFFSHORE   INC.
             24873 SMI       24873 SMI              MARSH       LOUISIANA
              109            109 A -04              IS SA 109
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SMI146B       OCS - G-          OCS -G-       B -02D   SOUTH       OFFSHORE    177084093501D02      XTO OFFSHORE     INC.
              21106     SMI     21106   SMI            MARSH       LOUISIANA
              139               139 B -02D             IS SA
                                                       146
SMI146B       OCS - G-          OCS- G- -     B- 02    SOUTH       OFFSHORE    177084093501D01 "'   XTO OFFSHORE     INC.
              21106     SMI     21106   SMI            MARSH       LOUISIANA
              139               139 B -02              IS SA
                                                       146




SOUTH      MARSH    ISLAND     BLOCK
142/ 143
XTO OFFSHORE          INC.


 latform      Lease /           Long          Well     Field       County      API No.              Operator
              Block             Well          Name
                                Name
SMI142A       OCS - G - 1217    OCS - G-      A -01    SOUTH       OFFSHORE    177084014100S02      XTO OFFSHORE INC.
              SMI   143         1217    SMI            MARSH       LOUISIANA
                                143 A -01              IS SA 142
SMI142A       OCS -G -1217      OCS - G-      A -02    SOUTH       OFFSHORE    177084014800S02      XTO   OFFSHORE   INC.
              SMI 143           1217 SMI               MARSH       LOUISIANA
                                143 A -02              IS SA 142
SMI142A       OCS - G - 1216    OCS - G-      A -03B   SOUTH       OFFSHORE    177084016500S03      XTO   OFFSHORE   INC.
              SMI 142           1216 SMI               MARSH       LOUISIANA
                                142 A -03              IS SA 142
SMI142A       OCS - G - 1217    OCS - G-      A -04    SOUTH       OFFSHORE    177084017900D02      XTO OFFSHORE INC.
              SMI   143         1217    SMI            MARSH       LOUISIANA
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SMI142A       OCS - G - 1217    OCS - G-     A -08A   SOUTH       OFFSHORE    177084023000D01   XTO   OFFSHORE   INC.
              SMI   143         1217   SMI            MARSH       LOUISIANA

                                143 A-                IS SA 142
                                08A
SMI142A.-     OCS - G - 1217:   OCS - G      A -08D   SOUTH       OFFSHORE*   177084023000D02   XTO   OFFSHORE   INC "" '
              SMI   143         1217   SMI            MARSH -     LOUISIANA
                                143 A-                IS SA 142
                                08D
SMI142A       OCS - G - 1216    OCS - G-     A -09B   SOUTH       OFFSHORE    177084026300S03   XTO   OFFSHORE   INC.
              SMI 142           1216 SMI              MARSH       LOUISIANA
                                142 A-                IS SA 142
                                09B
SMI142A       OCS - G - 1216    OCS -G-      A -10    SOUTH       OFFSHORE    177084077000D01   XTO OFFSHORE     INC.
              SMI 142           1216   SMI            MARSH       LOUISIANA
                                142 A -10             IS SA 142
SMI142A       OCS - G - 1216    OCS - G-     A -10D   SOUTH       OFFSHORE    177084077000D02   XTO   OFFSHORE   INC.
              SMI   142         1216   SMI            MARSH       LOUISIANA
                                142 A-                IS SA 142
                                10D
SMI142A       OCS - G - 1216    OCS - G-     A -11    SOUTH       OFFSHORE    177084091100D01   XTO   OFFSHORE   INC.
              SMI 142           1216   SMI            MARSH       LOUISIANA
                                142 A -11             IS SA 142
SMI142A       OCS - G - 1216    OCS -G-      A -11D   SOUTH       OFFSHORE    177084091100D02   XTO OFFSHORE     INC.
              SMI   142         1216   SMI            MARSH       LOUISIANA
                                142 A-                IS SA 142
                                11D
SMI142C       OCS - G - 1216    OCS - G-     C - 01   SOUTH       OFFSHORE    177084082900S01   XTO   OFFSHORE   INC.
              SMI 142           1216   SMI            MARSH       LOUISIANA
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SMI142C         OCS -G -1216     OCS - G-        C -04B    SOUTH       OFFSHORE        177084085400S03   XTO OFFSHORE    INC.
                SMI 142          1216    SMI               MARSH       LOUISIANA
                                 142 C-                    IS SA 142
                                 04B
SMI142C-        OCS -G -1216 -   OCS- G- :; °:   C -05 .   SOUTH ` _   OFFSHORE'   s   177084091301D01   XTO' OFFSHORE   INC.'

                SMI 142          1216    SMI               MARSH       LOUISIANA
                                 142 C -05                 IS SA 142

SMI142C         OCS - G - 1216   OCS - G-        C -05D    SOUTH       OFFSHORE        177084091301D02   XTO OFFSHORE    INC.
                SMI 142          1216    SMI               MARSH       LOUISIANA
                                 142 C-                    IS SA 142
                                 05D




SOUTH MARSH ISLAND BLOCK( s)
268/ 269/ 280/ 281
XH, LLC


Platform        Lease /          Long            Well      Field       County          API No.           Operator
                Block            Well            Name
                                 Name
SMI268A         OCS - G-         OCS - G-        A -02     SOUTH       Offshore        177074007600S0    APACHE CORPORATION
                02310     SMI    02310                     MARSH       Louisiana       5
                268              SMI 268                   ISLAND
                                 A -02                     269
          Case
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SMI268A         OCS - G-      OCS - G-   D -1       SOUTH    Offshore      177074020600S0   APACHE   CORPORATION
                02310   SMI   02310                 MARSH    Louisiana     1
                268           SMI 268               ISLAND
                              D -1                  269
SMI268A ,,• -   OCS - G ::    OCS - G    D -3D' °   SOUTH    Offshore `    177074021600D0   APACHE   CORPORATION '
                02310   SMI   02310                 MARSH    Louisiana     2
                268           SMI 268               ISLAND
                              D -3D                 269
SMI268A         OCS - G-      OCS - G-   D -4       SOUTH    Offshore      177074022500S0   APACHE   CORPORATION
                02310   SMI   02310                 MARSH    Louisiana     1

                268           SMI 268               ISLAND
                              D -4                  269
SMI268A         OCS - G-      OCS - G-   D -6A      SOUTH    Offshore      177074024700S0   APACHE   CORPORATION
                02310   SMI   02310                 MARSH    Louisiana     2
                268           SMI 268               ISLAND
                              D -6A                 269
SMI268A         OCS - G-      OCS - G-   D -7       SOUTH    Offshore      177074025700S0   APACHE   CORPORATION
                02310   SMI   02310                 MARSH    Louisiana     3
                268           SMI 268               ISLAND
                              D -7                  269
SMI268A         OCS - G-      OCS - G-   D -12      SOUTH    Offshore      177074028700S0   APACHE   CORPORATION
                02310   SMI   02310                 MARSH    Louisiana     1
                268           SMI 268               ISLAND
                              D - 12                269
SMI268A         OCS - G- '    OCS - G-   D-         SOUTH    Offshore      177074029901S0   APACHE   CORPORATION
                02310   SMI   02310      16ST1      MARSH    Louisiana •   2
                268           SMI 268               ISLAND
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SMI269B       OCS - G-       OCS - G-    B-          SOUTH     Offshore     177074017001D0     APACHE   CORPORATION
              02311    SMI   02311       lOST        MARSH     Louisiana    2

              269            SMI 269                 ISLAND
                             B -10ST                 269 „ „

SMI269B,,     OCS- G- .      OCS- G- ,   B -16_, .   SOUTH     Offshore '   177074019200S0 '   APACHE   CORPORATION ' .
              02310    SMI   02310                   MARSH     Louisiana    1

              268            SMI 268                 ISLAND
                             B -16                   269
SMI269B       OCS - G-       OCS - G-    B-          SOUTH     Offshore     177074075701S0     APACHE   CORPORATION
              02311    SMI   02311       17ST        MARSH     Louisiana    1

              269            SMI 269                 ISLAND
                             B - 17ST                269

SMI269B       OCS - G-       OCS - G-    B-          SOUTH     Offshore     177074088501S0     APACHE   CORPORATION
              02311    SMI   02311       19BP1       MARSH     Louisiana    2

              269            SMI 269                 ISLAND
                             B - 19BP1               269




SMI281C       OCS - G-       OCS - G-    C -01       SOUTH     Offshore     177074012500S0     APACHE   CORPORATION
              02600    SMI   02600                   MARSH     Louisiana    1

              281            SMI281                  ISLAND
                             C -01                   269

SMI281C        OCS - G-      OCS -G-     C -02       SOUTH     Offshore     177074010500S0     APACHE   CORPORATION
               02600   SMI   02600                   MARSH     Louisiana    2

              281            SMI 281                 ISLAND
                             C -02                   269
SMI281C        OCS - G-      OCS - G-    C -03       SOUTH     Offshore     177074013900S0     APACHE   CORPORATION
               02600   SMI   02600                   MARSH     Louisiana    1
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SMI281C      OCS - G-       OCS -G-     C -07    SOUTH         Offshore    177074016500S0   APACHE   CORPORATION

             02600   SMI    02600                MARSH         Louisiana   1

             281            SMI 281              ISLAND
                            C -07                269 .: ,. .
SMI281C      OCS - G-       OCS- G-     C-       SOUTH         Offshore    177074017701S0   APACHE   CORPORATION''

             02600   SMI    02600       08ST     MARSH         Louisiana   1

             281            SMI281               ISLAND

                            C -08ST              269
SMI281C      OCS - G-       OCS - G-    C -09    SOUTH         Offshore    177074018200S0   APACHE   CORPORATION
             02600   SMI'   02600                MARSH         Louisiana   4
             281            SMI281               ISLAND
                            C -09                269
SMI281C      OCS - G-       OCS - G-    C-       SOUTH         Offshore    177074020701S0   APACHE   CORPORATION
             02600   SMI    02600       lOST     MARSH         Louisiana   1

             281            SMI 281              ISLAND
                            C - 10ST             269
SMI281C      OCS - G-       OCS - G-    C-       SOUTH         Offshore    177074022401S0   APACHE   CORPORATION

             02600   SMI    02600       11ST     MARSH         Louisiana   1
             281            SMI 281              ISLAND

                            C - 11 ST            269
SMI281C      OCS - G-       OCS - G-    C - 12   SOUTH         Offshore    177074024100D0   APACHE   CORPORATION
             02600   SMI    02600                MARSH         Louisiana   2
             281            SMI 281              ISLAND
                            C - 12               269
SMI281C      OCS -G-        OCS - G-    C-       SOUTH         Offshore    177074024900S0   APACHE   CORPORATION
             02600 SMI      02600       13BP1    MARSH         Louisiana   1(
             281            SMI 281              ISLAND
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SMI281C        OCS - G-        OCS - G-    C - 17    SOUTH      Offshore        177074030500X0   APACHE   CORPORATION

               02600   SMI     02600                 MARSH      Louisiana       1
               281             SMI281                ISLAND
                               C - 17                269
SMI281C : ,.   00S -G-         OCS - G-    C -19     SOUTH :,   Offshore    4   177074034400S0   APACHE   CORPORATION
               02600   SMI .   02600                 MARSH      Louisiana       3
               281             SMI281                ISLAND
                               C - 19                269

SMI281C        OCS - G-        OCS - G-    C -20     SOUTH      Offshore        17707403490050   APACHE   CORPORATION
               02600   SMI     02600                 MARSH      Louisiana       3
               281             SMI281                ISLAND
                               C -20                 269
SMI281C        OCS - G-        OCS - G-    C -21     SOUTH      Offshore        17707403550050   APACHE   CORPORATION
               02600   SMI     02600                 MARSH      Louisiana       3
               281             SMI281                ISLAND

                               C -21                 269
SMI281C        OCS - G-        OCS - G-    C -22     SOUTH      Offshore        17707403610050   APACHE   CORPORATION
               02600   SMI     02600                 MARSH      Louisiana       2

               281             SMI 281               ISLAND

                               C -22                 269

SMI281C        OCS - G-        OCS - G-    C-        SOUTH      Offshore        17707403680250   APACHE   CORPORATION
               02600   SMI     02600       23ST2     MARSH      Louisiana       1

               281             SMI281                ISLAND
                               C - 23ST2             269

SMI281C        OCS - G-        OCS - G-    C -24 '   SOUTH      Offshore        177074037300S0   APACHE   CORPORATION

               02600   SMI     02600                 MARSH      Louisiana       3
               281             SMI 281               ISLAND
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SMI281C       OCS - G-       OCS - G-   C-         SOUTH     Offshore             177074089402S0       APACHE   CORPORATION
              02600    SMI   02600      28BP2      MARSH     Louisiana            1
              281            SMI 281               ISLAND
                             C -28BP2              269
SMI281C .     OCS - G-       OCS- G-    D -2 ' °   SOUTH `   Offshore ` " " ° °   I77074021100S0 ` '   APACHE CORPORATION
              02600    SMI   02600                 MARSH     Louisiana            1
              281            SMI 281               ISLAND
                             D -2                  269

SMI281C       OCS - G-       OCS - G-   D -5A      SOUTH     Offshore             177074023200S0       APACHE   CORPORATION
              02600    SMI   02600                 MARSH     Louisiana            2
              281            SMI281                ISLAND
                             D -5A                 269
SMI281C       OCS - G-       OCS - G-   D -8A      SOUTH     Offshore             177074026600S0       APACHE   CORPORATION
              02600    SMI   02600                 MARSH     Louisiana            2
              281            SMI 281               ISLAND
                             D -8A                 269

SMI281C        OCS - G-      OCS - G-   D -9D      SOUTH     Offshore             177074027100D0       APACHE   CORPORATION
               02600   SMI   02600                 MARSH     Louisiana            3
              281            SMI 281               ISLAND
                             D -9D                 269
SMI281C        OCS - G-      OCS - G-   D -10A     SOUTH     Offshore             177074027500S0       APACHE   CORPORATION
               02600   SMI   02600                 MARSH     Louisiana            2
               281           SMI 281               ISLAND
                             D -10A                269
SMI281C        OCS - G-      OCS - G-   D -11      SOUTH     Offshore             177074028000S0       APACHE   CORPORATION
               02600   SMI   02600                 MARSH     Louisiana            1
               281           SMI 281               ISLAND
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SMI281E     OCS - G-          OCS -G-    E -01D    SOUTH       Offshore         177074018500D0     APACHE   CORPORATION
            02600   SMI       02600                MARSH       Louisiana        2

            281               SMI281               ISLAND
                              E -01D               269

SMI281E     OCS - G-      u
                              OCS -G-    E- _      SOUTH --:   Offshore= , -:   177074024600S0 '   APACHE   CORPORATION-`
            02600   SMI       02600      02BP2     MARSH       Louisiana        1
            281               SMI 281              ISLAND
                              E -02BP2             269
SMI281E     OCS - G-          OCS - G-   E -03     SOUTH       Offshore         177074027800       APACHE   CORPORATION
            02600   SMI       02600                MARSH       Louisiana
            281               SMI 281              ISLAND

                              E -03                269
SMI281E     OCS - G-          OCS - G-   E -04     SOUTH       Offshore         177074028500S0     APACHE   CORPORATION
            02600   SMI       02600                MARSH       Louisiana        1
            281               SMI281               ISLAND
                              E -04                269
SMI281E     OCS - G-          OCS - G-   E -05     SOUTH       Offshore         177074029300S0     APACHE   CORPORATION
            02600   SMI       02600                MARSH       Louisiana        1
            281               SMI 281              ISLAND
                              E -05                269
SMI281E     OCS - G-          OCS - G-   E -06ST   SOUTH       Offshore         177074030100SO     APACHE   CORPORATION

            02600   SMI       02600                MARSH       Louisiana        1
            281               SMI281               ISLAND

                              E -06ST              269
SMI281E     OCS - G-          OCS - G-   E -07     SOUTH       Offshore         17707403160050     APACHE   CORPORATION
            02600   SMI       02600                MARSH       Louisiana        1
            281               SMI 281              ISLAND
                              E -07                269
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SMI281E        OCS - G-           OCS - G-         E - 11       SOUTH       Offshore                   177074035600      APACHE    CORPORATION
               02600   SMI        02600                         MARSH       Louisiana
               281 -              SMI 281                       ISLAND .
                                  E - 11                        269
SMI281E _      OCS - G -   4,..
                                  OCS- G- .._..._
                                                E-- ..... -..   SOUTH- .—   Offshore " -- ----------   177074036000S0 "-• APACHECORPORATION """""`
               02600   SMI        02600            12BP2        MARSH       Louisiana                  2
               281                SMI 281                       ISLAND
                                  E -12BP2                      269
SMI281E        OCS - G-           OCS - G-         E-           SOUTH       Offshore                   177074036600S0    APACHE    CORPORATION
               02600   SMI        02600            13BP1        MARSH       Louisiana                  1
               281                SMI281                        ISLAND
                                  E -13 BP1                     269
SMI281E        OCS - G-           OCS - G-         E -14        SOUTH       Offshore                   177074038600      APACHE    CORPORATION
               02600   SMI        02600                         MARSH       Louisiana
               281                SMI281                        ISLAND
                                  E - 14                        269




SMI269F        OCS - G-           OCS - G-         F -01        SOUTH       Offshore                   177074080401S0    APACHE    CORPORATION
               02311   SMI        02311                         MARSH       Louisiana                  1
               269                SMI 269                       ISLAND
                                  F -01                         269




SMI280I        OCS - G-           OCS - G-         I -01        SOUTH       Offshore                   177074082601S02    APACHE    CORPORATION
               02600   SMI        02600            BP 1         MARSH       Louisiana
               281                SMI 281                       ISLAND
                                  I -01 BP1                     269
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                 OCS - G 22781     OCS - G-               A -01     SOUTH           OFFSHORE            17721404580000   XTO OFFSHORE IN
                 SP 43             22781    SP                      PASS    43      LOUISIANA

                                   43 # A -01
                 OCS - G 22781     OCS - G-               A -02     SOUTH           OFFSHORE            17721404590000   XTO OFFSHORE   IN

           r..
                 SP 43             22781,   S11 .... ._             PASS    43.._._ . LOUISIANA - ---
                                   43 # A -02
                    16869          SL 16869               1         SOUTH           OFFSHORE            17721205180000   XTO OFFSHORE   IN
                                    1 0 -4RA                        PASS    42      LOUISIANA
                                   VUA
                 SL 3011           SL 3011 #                  001   SOUTH           OFFSHORE            17721007480000   XTO OFFSHORE IN
                                    001     SWD           SWD       PASS    42      LOUISIANA



 Burrwood Central Facility




HHE ENERGY        COMPANY

Platform         Lease /   Block   Long Well              Well      Field           County              API No.          Operator
                                   Name                   Name
                 OCS - G 22781     OCS- G-                A -01     SOUTH           OFFSHORE            17721404580000   XTO OFFSHORE IN
                 SP 43             22781    SP                      PASS    43      LOUISIANA
                                   43 # A -01
                 OCS - G 22781     OCS - G-               A -02     SOUTH           OFFSHORE            17721404590000   XTO OFFSHORE   IN
                 SP 43             22781    SP '                    PASS    43      LOUISIANA
                                   43 # A -02
                 SL 16869          SL 16869               1         SOUTH           OFFSHORE            17721205180000   XTO OFFSHORE   IN
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SS72J             OCS - G-               OCS - G- #     1        SHIP    Offshore        177114141000S       PETROQUEST      ENERGY,

                  12347     SS 71        12347    SS             SHOAL   Louisiana       04                  LLC
                                         71 # 1                  072




 SubjeCfto additional royalty equivalent to anyseverance, gross production, or occupation taxes imposed by the State of Louisiana on produ
production.




SHIP    SHOAL     BLOCK         79/ 80

XTO     OFFSHORE         INC.

Platform          Lease /    Block       Long           Well     Field   County           API No.              Operator
                                         Well           Name
                                         Name
3S079A            OCS - G-               OCS      G-    A -02    SHIP    OFFSHORE         177114134300D03      XTO OFFSHORE       INC.

                  15277     SS 79        15277     SS            SHOAL   LOUISIANA
                                         79 A -02                78

SS079A            OCS - G-               OCS G-         A -02D   SHIP    OFFSHORE         177114134300D02      XTO   OFFSHORE     INC.
                  15277 SS 79            15277     SS            SHOAL   LOUISIANA
                                         79 A -02D               78



HHE ENERGY
COMPANY
Platform       Lease /   Block           Long           Well     Field   County           API No.              Operator
                                         Well           Name
                                         Name
SS079A         OCS - G - 15277           OCS G-         A -02    SHIP    OFFSHORE         177114134300D03      XTO OFFSHORE       INC.
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SS188         OCS - G -22712    OCS           A -01     SHIP             OFFSHORE          177114146000D01         XTO      OFFSHORE   INC.
              SS 188            G22712                  SHOAL            LOUISIANA
                                SS 188 A-               189
                                01
88188 , _.    OCS- G- 22712—    OCS           A -01D    SHIP- -_- ---    OFFSHORE---       177114146000D02 - °     XTO OFFSHORE-       INC: —
              SS 188            G22712                  SHOAL            LOUISIANA
                                SS 188 A-               189
                                OlD
SS188         OCS - G -22712    OCS #          02       SHIP             OFFSHORE          177114147500S00         XTO OFFSHORE        INC.
              SS 188            G22712                  SHOAL            LOUISIANA
                                SS 188                  189
                                  02
SS188         OCS - G -22712    OCS #          02A      SHIP             OFFSHORE          177114147500S02         XTO OFFSHORE INC.
              SS 188            G22712                  SHOAL            LOUISIANA
                                SS 188                  189
                                  02A



SHIP SHOAL       BLOCK
204
XH, LLC


Platfor      Lease /   Block   Long Well     Well      Field            County         API No.                   Operator
m                              Name          Name
SS204A       OCS - G -01520    OCS - G-      A -06     SHIP             Offshore       177110081300D0        APACHE CORPORATION
             SS 204            01520 SS                SHOAL            Louisiana      3
                               204 A -06               204
SS204A       OCS - G -01520    OCS - G-      A -06D    SHIP             Offshore       177110081300D0        APACHE CORPORATION
             SS 204            01520    SS             SHOAL            Louisiana      2
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SS204A   OCS - G -01520   OCS -G-       A-       SHIP            Offshore           177112005401S0     APACHE   CORPORATION

         SS 204           01520    SS   16ST1    SHOAL           Louisiana          1

                          204 A-                 204
                          16ST1
SS204A                    OCS- G-       A- 20    SHIP,.,,,,,..   Offshore.__...._   1 77112012600D0—   APACHE   CORPORATION '-
         OCS - G- 01520
         SS 204           01520    SS            SHOAL           Louisiana          1
                          204 A -20              204

SS204A   OCS - G -01520   OCS - G-      A -20D   SHIP            Offshore           177112012600D0     APACHE   CORPORATION

         SS 204           01520    SS            SHOAL           Louisiana          2
                          204 A -20D             204

SS204A   OCS - G -01520   OCS - G-      A-       SHIP            Offshore           177112017701S0     APACHE   CORPORATION

         SS 204           01520    SS   24ST1    SHOAL           Louisiana          2

                          204 A-                 204
                          24ST1
SS204A   OCS - G -01520   OCS - G-      A-       SHIP            Offshore           177110071003S0     APACHE   CORPORATION

         SS 204           01520 SS      28ST3    SHOAL           Louisiana          1

                          204 A-                 204
                          28ST3
SS204A   OCS - G -01520   OCS - G-      A -30    SHIP            Offshore           177114002801S0     APACHE   CORPORATION

         SS 204           01520    SS            SHOAL           Louisiana          3
                          204 A -30              204

SS204A   OCS - G -01520   OCS - G-      A -30D   SHIP            Offshore           177114002801D0     APACHE   CORPORATION

         SS 204           01520    SS            SHOAL           Louisiana          2

                          204 A -30D             204

SS204A   OCS - G -01520   OCS - G-      A -31    SHIP            Offshore           177110084201S0     APACHE   CORPORATION

         SS 204           01520    SS            SHOAL           Louisiana          4
                          204 A -31              204
SS204A   OCS - G -01520   OCS - G-      A -34    SHIP            Offshore           177114146700S0     APACHE   CORPORATION
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SHIP SHOAL BLOCK( s) 206/ 207/ 216


XH,
LLC

Platfor   Lease /   Block   Long Well     Well     Field   County      API No.            Operator

m                           Name          Name

SS206E    OCS - G -01523    OCS - G-      E -01    SHIP    Offshore    177114115500S0     APACHE     CORPORATION

          SS 207            01523    SS            SHOAL   Louisiana   3

                            207 E -01              207

SS206E'   OCS - G -01522    OCS - G-      E-       SHIP    Offshore    177114118101S0 '   APACHE     CORPORATION

          SS 206            01522    SS   2ST1BP   SHOAL   Louisiana   1

                            206 E-        1        207
                            2ST1BP1

SS206E    OCS - G -01522    OCS - G-      E -3ST   SHIP    Offshore    177114118201S0     APACHE     CORPORATION

          SS 206            01522    SS            SHOAL   Louisiana   1

                            206 E -3ST             207
SS206E    OCS - G -01522    OCS - G-      E -04    SHIP    Offshore    177114141800S0     APACHE     CORPORATION

          SS 206            01522    SS            SHOAL   Louisiana   1

                            206 E -04              207

SS206E    OCS - G -01522    OCS - G-      E -05    SHIP    Offshore    177114142000S0     APACHE     CORPORATION

          SS 206            01522    SS            SHOAL   Louisiana   1

                            206 E -05              207




SS207A    OCS - G -01523    OCS - G-      A-       SHIP    Offshore    177110072801D0     APACHE     CORPORATION

          SS 207            01523    SS   03ST1    SHOAL   Louisiana   2
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SS207A   OCS - G -01523   OCS - G-      A -09D   SHIP      Offshore    177110082400D0   APACHE   CORPORATION
         SS 207           01523    SS            SHOAL     Louisiana   2
                          207 A -09D             207
SS207A   OCS -G -01523    OCS - G-               SHIP      Offshore    177110083900S0   APACHE   CORPORATION
         SS 207           01523    SS            SHOAL     Louisiana   3
                          207 A -10              207
SS207A   OCS - G -01523   OCS - G-      A -13    SHIP      Offshore    177112002500S0   APACHE   CORPORATION
         SS 207           01523    SS            SHOAL '   Louisiana   3

                          207 A -13              207
SS207A   OCS - G -01523   OCS - G-      A-       SHIP      Offshore    177112010601S0   APACHE   CORPORATION
         SS 207           01523    SS   15ST1    SHOAL     Louisiana   2
                          207 A-                 207
                          15ST1
SS207A   OCS - G -01523   OCS - G-      A-       SHIP      Offshore    177112011401D0   APACHE   CORPORATION
         SS 207           01523    SS   16ST1    SHOAL     Louisiana   3
                          207 A-                 207
                          16ST1
SS207A   OCS -G -01523    OCS - G-      A -18A   SHIP      Offshore    177112005000D0   APACHE   CORPORATION
         SS 207           01523    SS            SHOAL     Louisiana   4
                          207 A -18A             207
SS207A   OCS - G -01523   OCS -G-       A -19    SHIP      Offshore    177114009400S0   APACHE   CORPORATION
         SS 207           01523    SS            SHOAL     Louisiana   2
                          207 A -19              207
SS207A   OCS - G -01523   OCS - G-      A -20    SHIP      Offshore    177114010300S0   APACHE   CORPORATION
         SS 207           01523    SS            SHOAL     Louisiana   4

                          207 A -20              207
SS207A   OCS - G -01523   OCS - G-      A -21    SHIP      Offshore    177114011000S0   APACHE   CORPORATION
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SS207A   OCS- G- 01523    OCS - G-      A -24      SHIP    Offshore     17711401430050   APACHE   CORPORATION
         SS 207           01523    SS              SHOAL   Louisiana    1
                          207 A -24                207
SS207A   OCS - G- 01523   OCS - G-      A -25 .•   SHIP    Offshore -   17711401550050   APACHE   CORPORATION
         SS 207           01523    SS              SHOAL   Louisiana    1
                          207 A -25                207
SS207A   OCS - G -01523   OCS - G-      A-         SHIP    Offshore     177112001101S0   APACHE   CORPORATION
         SS 207           01523    SS   26ST1B     SHOAL   Louisiana    4
                          207 A-        P1         207
                          26ST1BP1
SS207A   OCS - G -01523   OCS - G-      A -27      SHIP    Offshore     177110079401D0   APACHE   CORPORATION
         SS 207           01523    SS              SHOAL   Louisiana    3
                          207 A -27                207
SS207A   OCS - G -01523   OCS - G-      A -27D     SHIP    Offshore     177110079401D0   APACHE   CORPORATION
         SS 207           01523    SS              SHOAL   Louisiana    4
                          207 A -27D               207
SS207A   OCS - G -01523   OCS - G-      A-         SHIP    Offshore     17711007730150   APACHE   CORPORATION
         SS 207           01523    SS   28ST1      SHOAL   Louisiana    1
                          207 A-                   207
                          28ST1

SS207A   OCS - G -01523   OCS - G-      A-         SHIP    Offshore     17711200190150   APACHE   CORPORATION
         SS 207           01523    SS   29ST1B     SHOAL   Louisiana    3
                          207 A-        P2         207
                          29ST1BP2
SS207A   OCS - G -01523   OCS - G-      A-         SHIP    Offshore     177110071501D0   APACHE CORPORATION
         SS 207           01523    SS   30ST1      SHOAL   Louisiana    2
                          207 A-                   207
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SS207A   OCS -G -01523    OCS - G-      A-       SHIP    Offshore    177114121901D0   APACHE   CORPORATION

         SS 207           01523    SS   33DST    SHOAL   Louisiana   2

                          207 A-                 207
                          33DST.
SS207A   OCS - G -01523   OCS - G-      A -34    SHIP    Offshore    177114122200D0   APACHE   CORPORATION

         SS 207           01523    SS            SHOAL   Louisiana   1

                          207 A -34              207

SS207A   OCS - G -01523   OCS - G-      A -34D   SHIP    Offshore    177114122200D0   APACHE   CORPORATION

         SS 207           01523    SS            SHOAL   Louisiana   2
                          207 A -34D             207
SS207A   OCS - G -01523   OCS - G-      A-       SHIP    Offshore    177114133301S0   APACHE   CORPORATION

         SS 207           01523    SS   35ST1    SHOAL   Louisiana   1

                          207 A-                 207
                          35ST1

SS207A   OCS - G -01523   OCS - G-      A -36    SHIP    Offshore    177114137700S0   APACHE   CORPORATION

         SS 207           01523    SS            SHOAL   Louisiana   3

                          207 A -36              207




SS207D   OCS - G -01523   OCS - G-      D -02    SHIP    Offshore    177114025400D0   APACHE   CORPORATION

         SS 207           01523    SS            SHOAL   Louisiana   1

                          207 D -02              207
SS207D   OCS - G -01523   OCS - G-      D-       SHIP    Offshore    177114030300D0   APACHE CORPORATION
         SS 207           01523    SS   07BP1    SHOAL   Louisiana   2

                          207 D-                 207
                          07BP1
SS207D   OCS - G -01523   OCS - G-      D -08    SHIP    Offshore    177114032300S0   APACHE   CORPORATION
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SS216C     OCS - G -01524   OCS - G-      C -01     SHIP    Offshore    177112009200D0        APACHE   CORPORATION
           SS 216           01524    SS             SHOAL   Louisiana   2
                            216 C -01               207
SS216C ,   OCS -G- 01524    OCS- G-       C -03A    SHIP    Offshore    1771 12014500S0 `     APACHE   CORPORATION "
           SS 216           01524    SS             SHOAL   Louisiana   3
                            216 C -03A              207
SS216C     OCS -G -01524    OCS - G-      C-        SHIP    Offshore    177112014900D0        APACHE   CORPORATION
           SS 216           01524    SS   O4ST1     SHOAL   Louisiana   1
                            216 C-                  207
                            04ST1
SS216C     OCS - G -01524   OCS -G-       C -05A    SHIP    Offshore    17711201740050        APACHE CORPORATION
           SS 216           01524    SS             SHOAL   Louisiana   3
                            216 C -05A              207
SS216C     OCS -G -01524    OCS - G-      C- '      SHIP    Offshore    177114001201     S0   APACHE   CORPORATION
           SS 216           01524    SS   07ST1     SHOAL   Louisiana   1
                            216 C-                  207
                            7ST1
SS216C     OCS - G -01524   OCS - G-      C-        SHIP    Offshore    177114003800S0        APACHE   CORPORATION
           SS 216           01524    SS   09ST1     SHOAL   Louisiana   1
                            216 C-                  207
                            09ST1
SS216C     OCS - G -01524   OCS - G-      C -10     SHIP    Offshore    17711400490050        APACHE   CORPORATION
           SS 216.          01524    SS             SHOAL   Louisiana   2

                            216 C -10               207

SS216C     OCS - G -01524   OCS - G-      C - 11A   SHIP    Offshore    177114005700S0        APACHE CORPORATION
           SS 216           01524    SS             SHOAL   Louisiana   2
                            216C - 11A              207.
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SS216C   OCS - G -01524    OCS -G-       C-       SHIP    Offshore    177114003001S0   APACHE   CORPORATION

         SS 216            01524    SS   17ST1    SHOAL   Louisiana   2

                           216 C-                 207
                           17ST1

SS216C   OCS - G -01524    OCS - G-      C - 18   SHIP    Offshore    177114028500S0   APACHE   CORPORATION

          SS 216           01524    SS            SHOAL   Louisiana   1

                           216 C - 18             207

SS216C   OCS -G -01524     OCS - G-      C - 19   SHIP    Offshore    177114031900D0   APACHE   CORPORATION

          SS 216           01524    SS            SHOAL   Louisiana   5
                           216 C -19              207

SS216C    OCS - G -01524   OCS - G-      C -20    SHIP    Offshore    177114032400S0   APACHE   CORPORATION

          SS 216           01524    SS            SHOAL   Louisiana   1

                           216 C -20              207

SS216C    OCS - G -01524   OCS - G-      C -21    SHIP    Offshore    177114124301S0   APACHE   CORPORATION

          SS 216           01524    SS            SHOAL   Louisiana   1

                           216 C -21              207

SS216C    OCS -G -01524    OCS - G-      C-       SHIP    Offshore    177114127200S0   APACHE CORPORATION
          SS 216           01524 SS      22ST1    SHOAL   Louisiana   1

                           216 C-                 207
                           22ST1
SS216C    OCS - G -01524   OCS - G-      C -23    SHIP    Offshore    177114134600D0   APACHE   CORPORATION

          SS 216           01524 SS               SHOAL   Louisiana   2

                           216 C -23              207

SS216C    OCS - G -01524   OCS - G-      C-       SHIP    Offshore    177114135102S0   APACHE   CORPORATION

          SS 216           01524    SS   24BP2    SHOAL   Louisiana   2

                           216 C-                 207
                           24BP2
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SS247F     OCS - G - 1029   OCS - G-     F -08     SHIP       Offshore       177124022100S01    ENI US OPERATING   CO.
           SS 248           1029 SS                SHOAL      Louisiana                         INC.
                            248 F -08              246
SS247F.    OCS - G - 1028   OCS- G-      F - 10    SHIP - -   Offshore ° '   177124022400S01'   ENI US OPERATING CO
           SS 247           1028 SS                SHOAL      Louisiana                         INC.
                            247 F - 10             246
SS247F     OCS - G - 1028   OCS -G-      F-        SHIP       Offshore       177124022301S01    EM US OPERATING    CO.
           SS 247           1028    SS   14ST1     SHOAL      Louisiana                         INC.
                            247 F-                 246
                            14ST1

SS247F     OCS - G - 1028   OCS - G-     F -17ST   SHIP       Offshore       177124022901S02    ENI US OPERATING   CO.
           SS 247           1028    SS             SHOAL      Louisiana                         INC.
                            247 F-                 246
                            17ST
SS247F     OCS - G - 1028   OCS - G-     F-        SHIP       Offshore       177124023201S02    EM US OPERATING    CO.
           SS 247           1028    SS   18ST1     SHOAL      Louisiana                         INC.
                            247 F-                 246
                            18ST1
SS247F     OCS - G - 1028   OCS - G-     F - 19    SHIP       Offshore       177124015000S01    EM US OPERATING    CO.
           SS 247           1028    SS             SHOAL      Louisiana                         INC.
                            247 F -19              246




SS248D     OCS -G -1030     OCS - G-     D -02     SHIP       Offshore       177124012000S01    ENI US OPERATING CO.
           SS 249           1030 SS                SHOAL      Louisiana                         INC.
                            249 D -02              246
SS248D     OCS - G - 1028   OCS - G-     D-        SHIP       Offshore       177124013100S02    EM US OPERATING CO.
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SS248D    OCS - G - 1028   OCS -G-      D-       SHIP    Offshore    177124015600S01   ENI US OPERATING   CO.
          SS 247           1028    SS   07BP3    SHOAL   Louisiana                     INC.
                           247 D-                246
                           07BP3
SS248D    OCS - G - 1030   OCS - G-     D -08    SHIP    Offshore    177124015900S05   EM US OPERATING    CO.
          SS 249           1030 SS               SHOAL   Louisiana                     INC.
                           249 D -08             246
SS248D    OCS - G - 1028   OCS - G-     D -09    SHIP    Offshore    177124016600SO4   ENI US OPERATING   CO.
          SS 247           1028    SS            SHOAL   Louisiana                     INC.
                           247 D -09             246
SS248D    OCS - G - 1028   OCS - G-     D -10    SHIP    Offshore    177124017900      EM US OPERATING "CO.
          SS 247           1028 SS               SHOAL   Louisiana                     INC.
                           247 D - 10            246
SS248D    OCS -G -1030     OCS - G-     D -11    SHIP    Offshore    177124018500S05   EM US OPERATING CO.
          SS 249           1030    SS            SHOAL   Louisiana                     INC.
                           249 D - 11            246
SS248D    OCS - G - 1028   OCS - G-     D-       SHIP    Offshore    177124017903S01   EM US OPERATING    CO.
          SS 247           1028    SS   12ST3    SHOAL   Louisiana                     INC.
                           247 D-                246
                           12ST3
SS248D    OCS - G - 1030   OCS - G-     D-       SHIP    Offshore    1771240192000     EM US OPERATING    CO.
          SS 249           1030    SS   14BP 1   SHOAL   Louisiana                     INC.
                           249 D-                246
                           14BP1
SS248D    OCS - G - 1029   OCS - G-     D - 15   SHIP    Offshore    177124020600S01   EM US OPERATING    CO.
          SS 248           1029 SS               SHOAL   Louisiana                     INC.
                           248 D - 15            246
SS248D    OCS - G - 1029   OCS- G-      D -16    SHIP    Offshore    177124021000S02
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SS248G     OCS - G - 1029   OCS - G-       G -01   SHIP          Offshore    177124049500S01   ENI US OPERATING   CO.
           SS 248           1029 SS                SHOAL         Louisiana                     INC.
                            248 G -01              246
SS248G     OCS - G - 1029   OCS - G-       G -02   SHIP          Offshore    177124053000S01   EM US OPERATING    CO.
           SS 248           1029   SS              SHOAL         Louisiana                     1NC.
                            248    G -02           246
SS248G     OCS - G - 1029   OCS - G-       G -03   SHIP          Offshore    177124053300D02   ENI US OPERATING   CO.
           SS 248           1029   SS              SHOAL         Louisiana                     INC.
                            248    G -03           246




           OCS - G - 1030   OCS - G-       6       SHIP          Offshore    177124062200      ENI US OPERATING   CO.
           SS 249           1030   SS              SHOAL         Louisiana                     INC.
                            249 06                 246




VERMILION     BLOCK
313
XTO OFFSHORE INC.

Platfor   Lease /   Block   Long Well      Well    Field         County      API No.           Operator
                            Name           Name
VR313D    OCS - G - 1172    OCS - G-       D -01   VERMIL        Offshore    177064090000S0    ENI US OPERATING   CO.
          VR 313            1172 VR                ION     313   Louisiana   2                 INC.
                            313 D -01
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WEST      CAMERON      BLOCK   171


XH,
LLC
Platfor     Lease   I Block    Long Well     Well      Field    County      API No.          Operator
m                              Name          Name
WC171       OCS - G -01997     OCS - G-      A-        WEST     Offshore    177004000600D0   CONN   ENERGY
A           WC   171           01997 WC      01BP1     CAMER    Louisiana   1
                               171 A-                  ON BLK
                               01BP1                   146
WC171       OCS - G -01997     OCS - G-      A -02C    WEST     Offshore    177004005100S0   CONN   ENERGY
A           WC 171             01997 WC                CAMER    Louisiana   3
                               171 A -02C              ON BLK
                                                       146
WC171       OCS - G -01997     OCS - G-      A -3      WEST     Offshore    177004005200S0   CONN   ENERGY
A           WC   171           01997    WC             CAMER    Louisiana   1
                               171 A -3                ON BLK

                                                       146
WC171       OCS - G - 01997    OCS - G-      A -03ST   WEST     Offshore    17700400520150   CONN   ENERGY
A           WC   171           01997 WC                CAMER    Louisiana   5
                               171 A-                  ON BLK
                               03ST                    146
WC171       OCS - G - 01997    OCS - G-      A -04D    WEST     Offshore    177004006000D0   CONN   ENERGY
A           WC 171             01997 WC                CAMER    Louisiana   2
                               171 A -04D              ON BLK
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WC171     OCS - G -01997      OCS - G-     A -08    WEST     Offshore    177004007400S0   CONN   ENERGY
A         WC 171              01997   WC            CAMER    Louisiana   2

                              171 A -08             ON BLK
                                                    146
WC171     OCS - G -01997      OCS - G-     A -09    WEST     Offshore    177004007801S0   CONN   ENERGY
A         WC171               01997 WC              CAMER    Louisiana   1

                              171 A -09             ON BLK
                                                    146
WC171     OCS - G -01997      OCS - G-     A -10D   WEST     Offshore    177004007900D0   CONN   ENERGY
A         WC    171           01997   WC            CAMER    Louisiana   2
                              171 A -10D            ON BLK
                                                    146
WC171      OCS - G -01997     OCS - G-     A -12D   WEST     Offshore    177004008800D0   CONN   ENERGY
A         WC    171           01997   WC            CAMER    Louisiana   2
                              171 A -12D            ON BLK
                                                    146
           OCS - G -01997     OCS - G-     B -7     WEST     Offshore    177004009900     CONN   ENERGY
          WC 171              01997 WC              CAMER    Louisiana
                              171 B -7              ON BLK
                                                    146




HHE ENERGY
COMPANY
Platfor   Lease /     Block   Long Well    Well     Field    County      API No.          Operator
m                             Name         Name
WC171      OCS - G -01997     OCS - G-     A-       WEST     Offshore    177004000600D0   CONN   ENERGY
A          WC   171           01997   WC   01BP1    CAMER    Louisiana   1
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WC171   OCS - G -01997    OCS - G-       A -04D    WEST       Offshore    177004006000D0   CONN   ENERGY
A       WC171             01997    WC              CAMER      Louisiana   2
                          171 A -04D -             ON   146
WC171   OCS - G -01997    OCS - G-       A -05ST   WEST       Offshore    17700400690150   CONN   ENERGY
A       WC171             01997 WC                 CAMER      Louisiana   1
                          171 A-                   ON   146
                          05ST
WC171   OCS - G -01997    OCS - G-       A -6      WEST       Offshore    17700400700050   CONN   ENERGY
A       WC   171          01997    WC              CAMER      Louisiana   3
                          171 A -6                 ON 146
WC171   OCS - G -01997    OCS - G-       A -07C    WEST       Offshore    177004007100SO   CONN   ENERGY
A       WC 171            01997    WC              CAMER      Louisiana   3
                          171 A -07C               ON   146
WC171   OCS - G -01997    OCS - G-       A -08     WEST       Offshore    17700400740050   CONN   ENERGY
A       WC   171          01997    WC              CAMER      Louisiana   2
                          171 A -08                ON 146
WC171    OCS - G -01997   OCS - G-       A -09     WEST       Offshore    177004007801S0   CONN ENERGY
A       WC   171          01997    WC              CAMER      Louisiana   1
                          171 A -09                ON   146
WC171    OCS - G -01997   OCS - G-       A -10D    WEST       Offshore    177004007900D0   CONN   ENERGY
A       WC   171          01997    WC              CAMER      Louisiana   2
                          171 A -10D               ON 146
WC171    OCS - G -01997   OCS - G-       A -12D    WEST       Offshore    177004008800D0   CONN   ENERGY
A       WC 171            01997    WC              CAMER      Louisiana   2
                          171 A -12D               ON   146
         OCS - G -01997   OCS - G-       B -7      WEST       Offshore    177004009900     CONN   ENERGY
        WC   171          01997    WC              CAMER      Louisiana
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WC485    OCS - G -2549     OCS - G-     A -02       WEST    OFFSHORE    177024018200D0   XTO OFFSHORE   INC.
A        WC 507            2549 WC                  CAMER   LOUISIANA   3
                           507 A -02                ON SA
                                                    507
WC485    OCS -G -2549      OCS - G-     A-          WEST    OFFSHORE    177024020101D0   XTO OFFSHORE INC.
A        WC 507            2549 WC      03EST1      CAMER   LOUISIANA   3
                           507 A-                   ON SA
                           03EST1                   507
WC485    OCS -G -2549      OCS - G-     A-          WEST    OFFSHORE    177024020101D0   XTO OFFSHORE   INC.
A        WC 507            2549 WC      03FST1      CAMER   LOUISIANA   4
                           507 A-                   ON SA
                           03FST1                   507
WC485    OCS - G - 10594   OCS - G-     A-          WEST    OFFSHORE    17702402300250   XTO OFFSHORE   INC.
A        WC 507            10594 WC     04ST2       CAMER   LOUISIANA   1
                           507 A-                   ON SA
                           04ST2                    507
WC485    OCS - G -2549     OCS - G-     A -05       WEST    OFFSHORE    17702402350050   XTO OFFSHORE   INC.
A        WC 507            2549 WC                  CAMER   LOUISIANA   1
                           507 A -05                ON SA

                                                    507
WC485    OCS - G -2549     OCS - G-     A-          WEST    OFFSHORE    17702402490250   XTO OFFSHORE   INC.
A        WC 507            2549 WC      06( B) ST   CAMER   LOUISIANA   3
                           485 A-       2           ON SA
                           06( B) ST2               507
WC485    OCS - G -2549     OCS - G-     A -07( B)   WEST    OFFSHORE    177024094900S0   XTO OFFSHORE   INC.
A        WC 507            2549 WC                  CAMER   LOUISIANA   3
                           507 A-                   ON SA
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WC485     OCS - G -2220   OCS - G-     A -10       WEST    OFFSHORE    17702411780050   XTO   OFFSHORE   INC.
A         WC 485          2220 WC                  CAMER   LOUISIANA   1
                          485 A -10                ON SA
                                                   507
WC485     OCS - G -2220   OCS - G-     A -11       WEST    OFFSHORE    17702411830050   XTO OFFSHORE     INC.
A         WC 485          2220 WC                  CAMER   LOUISIANA   2
                          485 A -11                ON SA
                                                   507
WC485     OCS - G -2220   OCS - G-     A -11D      WEST    OFFSHORE    17702411830050   XTO OFFSHORE     INC.
A         WC 485          2220 WC                  CAMER   LOUISIANA   3
                          485 A-                   ON SA

                          11D                      507
WC507B    OCS - G -2549   OCS - G-     B -01( A)   WEST    OFFSHORE    177024098304SO   XTO OFFSHORE     INC.
          WC 507          2549 WC      ST4         CAMER   LOUISIANA   2
                          507 B-                   ON SA
                          01( A) ST4               507
WC507B    OCS - G -2549   OCS - G-     B -02ST1    WEST    OFFSHORE    17702409900150   XTO OFFSHORE     INC.
          WC 507          2549 WC                  CAMER   LOUISIANA   1
                          507 B-                   ON SA
                          02ST1                    507
WC507B    OCS - G -2549   OCS - G- •   B -03ST1    WEST    OFFSHORE    177024100201X0   XTO OFFSHORE     INC. (

          WC 507          2549 WC                  CAMER   LOUISIANA   1
                          507 B-                   ON SA

                          03ST1                    507
WC507B    OCS - G -2549   OCS - G-     B -04ST2    WEST    OFFSHORE    17702410820250   XTO OFFSHORE     INC.
          WC 507          2549 WC                  CAMER   LOUISIANA   2
                          507 B-                   ON SA
                          04ST2                    507
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                                         EXHIBIT B
            ATTACHED        TO AND MADE A PART OF THAT CERTAIN
                        PURCHASE AND SALE AGREEMENT,
                      DATED EFFECTIVE            AS OF AUGUST 1, 2011,
                          BETWEEN XTO OFFSHORE                      INC., .
                HHE ENERGY COMPANY, XH, LLC, ASSELLER,
            AND DYNAMIC OFFSHORE RESOURCES, LLC, AS BUYER


                               EASEMENTS         AND PERMITS


                                                                                                           WI
XTO Ref #    Lease #    Eff Date                                 Description                               Int.


0276247      SL 4279     9/ 30/ 2002    Surface Lease     with   Sub - Surface Agreement    Block         100%
                                        42, South Pass Area, SL 16869 No. 1 Recorded
                                        10/ 29/ 03 in Plaquemines     Parish Book # 1034, Page
                                         60, File No. 02006520



0278047      SL 576      6/ 2/ 2005     Approximately 29, 275 square feet of state owned                  100%
                                        water bottoms     in Burrwood      Bayou, in front of

                                        Section 46, Township 24 South Range 30 East,
                                        Plaquemines     Parish, Louisiana.     Recorded    6/ 15/ 05 at
                                        Plaquemines Parish Book # 1095, Page # 158, File No.
                                        2005- 00003264.
                                         Commercial     Water Bottom Lease)



0276246      SL 4300     12/ 30/ 2002   Block 42, South Pass Area being within the boundary               100%
                                        of State Mineral Lease No. 17199 and the bottomhole

                                        being situated on acreage described as Block 43,
                                        South Pass Area, Offshore Federal Waters, OCS -G
                                        22781.    Recorded   1/ 29/ 03 in Plaquemines     Parish
                                        Book # 1039, Page # 106, File No. 03000773.



0276253      SL 3011     10/ 17/ 2007   3. 0 acre circular area centered at point having a                100%
                                        Lambert   coordinates     of X =   3, 905, 250 and Y =
                                        172, 757 which encircles      SL 1922 SWD Well # 3
                                        located in T24S -R30E. Recorded 12/ 13/ 07 in
                                        Plaquemines     Parish Book # 1167, Page # 880, File No.
                                        2007 - 0008342.    SWD Well name has changed to SL
                                        3011 SWD # 1.
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                                                    EXHIBIT B -1
                   ATTACHED          TO AND MADE A PART OF THAT CERTAIN
                                PURCHASE            AND SALE AGREEMENT,
                            DATED EFFECTIVE                AS OF AUGUST 1, 2011,
                                   BETWEEN XTO OFFSHORE                     INC.,
                       HHE ENERGY               COMPANY,        XH, LLC, AS SELLER,
                   AND DYNAMIC OFFSHORE                    RESOURCES,           LLC, AS BUYER


                                 DESCRIPTION             OF RIGHTS - OF -WAY




East Cameron 178 ( XTO File Ref #3202- RW0003 -00)
OCS -G 28533, Segment No. 17688, a right -of way
                                             -   200 feet wide for the installation, operation
and maintenance      of a   6 5/ 8 -inch   pipeline,   4. 87 miles in length,   to transport gas and condensate
from Block 178, A Platform, to Block 184, 30 -inch Subsea Tie -in, all located in East Cameron
Area.


High Island 34 ( XTO File Ref #3264- RW0001 - 00)

OCS -G 24287, Segment No. 13955, a right -of w     - ay 200 feet wide for the installation, operation
and maintenance of a 8 -5/ 8 -inch pipeline, 9, 647 feet long, to transport gas and condensate from
High Island Area Block 34 Caisson No. 1, Lease Number OCS -G 20655 through High Island
Blocks 34 -35 to a sub - sea tie in at High Island Block 21.


Main Pass 29 ( XTO File Ref # 3074- RW0001 - 00)

OCS -G 28216, Segment No. 15810, a right -of w
                                             - ay 200 feet wide to install, operate and maintain
a 6 5/ 8 -inch pipeline, 6. 80 miles in length, to transport bulk gas from Block 29 Well No. 1 thru
blocks 116, 117 to Block 118 " A" all of which is located in the Main Pass Area.


Main Pass 101 ( XTO File Ref #3318- RW0001 - 00)
OCS -G    24687,    Segment      No.       14304,   a right -of w
                                                                - ay 200 feet wide for the operation and
maintenance of a 8 -inch pipeline, 20, 102 feet in length, to transport bulk gas from a SSTI
Manifold Main Pass Area, South and East Addition Block 101, OCS -G 22792, to Platform " A"
Main Pass Area, South and East Addition, Block 102, OCS -G 3798.


Main Pass 112 ( XTO File Ref #3325- RW0001 - 00)
OCS -G 11738, Segment No. 9006, a right -of w   - ay 200 feet in width, for a 6 5/ 8 -inch pipeline,
6. 77 miles in length, from Platform No. 2 in Main Pass Block 112, crossing Block 113 and Block
114, to a subsea tie -in with an 8 -inch pipeline ( Segment 9248) in Main Pass Block 117.


Main Pass 116 ( XTO File Ref #3326- RW0001 - 00)
OCS -G 12708, Segment No. 9248, a right -of w
                                            - ay 200 feet in width, for an 8 5/ 8 -inch pipeline,
3. 31 miles in length, from an 8 5/ 8 -inch subsea tie -in in Main Pass Block 117, to Platform B in
Main Pass Block 116.




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Main Pass 116 ( XTO File Ref #3326- RW0002 -00)
OCS -G 25478, Segment No. 14895, a 200 -feet wide right -of w
                                                            - ay to operate and maintain a 03-
inch pipeline, 2. 58 miles in length, to transport condensate from Platform B in Block 116 to a 6-
inch Subsea Tie -in in Block 127, all in Main Pass Area.


Main Pass 118 ( XTO File Ref # 3331- RW0001 - 00)

OCS -G 28217, Segment No. 15811, a 200 feet wide right -of w          - ay to operate and maintain an
existing 6 -5/ 8 -inch pipeline, 6. 67 miles in length, to transport oil from Platform A in Block 118
through Blocks 117 and 126 to a 6 -inch Subsea tie -in in Block 127, and also to operate and
maintain the existing associated subsea tie -in assembly appurtenance in Block 127, all in Main
Pass Area.


Main Pass 116 & 118 ( XTO File Ref # Pending)

OCS -G BOEMRE Pending, Segment No. 16342, a 200 -foot wide right -of w
                                                                     - ay to operate and
maintain a 4 1/4- inch pipeline, 11. 00 miles in length, to transport oil from a flange in Block 127,
through Blocks     126, 117, 118,   113 to a subsea tie -in in Block 112, all located in the Main Pass
Area.


Ship Shoal 79 ( XTO File Ref #3422- RW0001 - 00)
OCS -G 23712, Segment No. 13736, a right -of w
                                             - ay 200 feet in width and 8, 790 feet in length, for
the installation, operation and maintenance of a 4 -1/ 2" pipeline to transport bulk gas from Ship
Shoal Block 79 No. 2 Caisson, Lease OCS -G 15277 to Ship Shoal Block 80 " A" Platform, open
lease.


Ship Shoal 79 ( XTO File Ref #3422- RW0002 - 00)
OCS -G 23713, Segment No. 13737, a right -of w
                                             - ay 200 feet in width and 8, 790 feet in length, for
the installation, operation and maintenance of a 4 -1/ 2 inch pipeline to transport bulk gas from
Ship Shoal Block 79 No. 2 Caisson, Lease OCS -G 15277 to Ship Shoal Block 80 " A" Platform,
open lease.


Ship Shoal 80 ( XTO File Ref #3422- RW0003 -00)
OCS -G 9330, Segment No. 8204, a right -of w
                                           - ay 200 feet in width, for the construction operation
and maintenance of a 6 5/ 8 -inch natural gas and condensate pipeline, 8. 06 miles in length, from
Platform A in Block 80, Ship Shoal Area, across Blocks 123 and 124, Eugene Island Area, to a
subsea connection with ANR Pipeline Company' s existing 30 -inch pipeline ( OCS -G 1687) in
Block 125, Eugene Island Area.


Ship Shoal 188 ( XTO File Ref #3423- RW0001 - 00)
OCS -G 26977, Segment No. 15614, a right -of w
                                             - ay 200 feet wide for the installation, operation
and maintenance of a 6 -in pipeline, 1. 65 miles in length, to transport gas and condensate from
Block 188 Well No. 1 to a 10 -inch subsea tie -in in Block 189, all of which is located in the Ship
Shoal Area.




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South Marsh Island 142 ( XTO File Ref # 3438- RW0001 - 00)
OCS - G    3441,       Segment      No.    4733,   a right -of w
                                                               - ay 200 feet in width for the construction,
maintenance and operation of a 10 3/ - inch natural gas pipeline, 2. 67 miles in length, from Forest
Oil Corporation' s Platform " A" in Block 142, South Marsh Island Area, South Addition, to a

subsea connection with Sea Robin Pipeline Company' s 24 -inch pipeline in the southeast
quadrant of Block 127, South Marsh Island Area, South Addition, as shown on Drawing No. OS-
33 dated February 3, 1977.

South Marsh Island 146 ( XTO File Ref # 3439- RW0001 - 00)

OCS -G 26837, Segment No. 15106, a right -of w
                                             - ay 200 feet wide for the installation, operation
and   maintenance        of a   6 5/ 8 -inch pipeline,   approximately 1. 34 miles in length,           to transport bulk
gas from South Marsh Island Block 146 ` B" to South Marsh Island Block 147 " A ".


South Marsh Island 146 ( XTO File Ref #3439- RW0002 - 00)

OCS -G 26838, Segment No. 15107, a right -of w  - ay 200 feet wide for the installation, operation
and maintenance of a 4 1/ 2 -inch pipeline, approximately 1. 34 miles in length, to transport bulk
gas from South Marsh Island Block 146 " B" to South Marsh Island Block 147 " A ".


South Marsh Island 146 ( XTO File Ref # 3439- RW0003 - 00)

OCS -G 26839, Segment No. 15108, a right -of w   - ay 200 feet wide for the installation, operation
and maintenance of a 2 % -inch gas lift pipeline, approximately 1. 34 miles in length, from South

Marsh Island Block 147 " A" to South Marsh Island Block 146 ` B ".


South Pass 42 Field ( XTO File Ref #3450- RW0005 - 00)
Department of the Army ( "Army") Easement No. DACW29- 2 -01 - 16 dated September                                10, 2001,

as amended, granting a Right -of W - ay to operate and maintain an existing production facility to
serve oil and gas wells drilled in South Pass 42 Field in the Gulf of Mexico, within the Army' s
Mississippi River South and Southwest Passes Project, Section 46, Township 24 South, Range
30 East, Plaquemines            Parish, Louisiana,       amended,      to include Tract No. 1,     Sections 2 and 46,
Townships        24 and 25 South,          Range   30 East, Plaquemines          Parish;   Louisiana    and to include    a
proposed     Salt Water Disposal ( SWD)                well,     an additional   15 - foot wide ( construction    width)
servitude for construction, operation and maintenance of a 4 -inch pipeline to serve the proposed
SWD well, and a servitude for maintenance of the access canal by wheel washing, as shown on
the   exhibits       attached   to the    amendment.      Recorded      in Plaquemines      Parish Book # 1080, Page
 801, File No. 2004 - 00006681.


XTO File Ref #3450- RW0003 - 00)
Department             the
                  Army ( " Army") Easement No. DACW29- 2 -81 -37 dated May 18, 1981, as
                 of


amended, granting Rights -of W
                             - ay for the construction, operation, maintenance and repair of four
oil and gas flowlines; one saltwater disposal line; one oil tie -in line and one gas tie -in line,
located    in our Mississippi        River South and Southwest            Passes Project,    Tract No. 1, Sections       46
and 47,    Township          24 South, Range 30 East, Plaquemines            Parish, Louisiana.        Recorded July 14,
1981 in Plaquemines Parish Book # 526, Page # 231, File No. 27.




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XTO File Ref #3448- RW0001 - 00)

State Lease Right -of W
                      - ay 4584, One six ( 6) inch gas /condensate pipeline crossing lands of State
of Louisiana, situated in Block 40, South Pass Area, Section 1 of Township 25 South, Range 30
East and Section 46 of Township 24 South, Range 30 East, Plaquemines Parish, Louisiana.
Recorded April 22,       2005   in Plaquemines    Parish Book # 1091,     Page # 27,   File No.   2005-
00002059.


XTO File Ref #3448- RW0002 - 00)
State Lease Right of Way 4585, One ( 1) four inch ( 4 ") gas /condensate    pipeline crossing lands of
State of Louisiana, situated in Block 40 and 42, South Pass Area, Plaquemines Parish, Louisiana.
Recorded April 22, 2005 in Plaquemines Parish Book # 1091, Page 36, File No. 2005- 00002060.


XTO File Ref #3448- RW0003 - 00)
State Lease Right -of -Way 4586, One ( 1)   eight        gas /condensate pipeline crossing lands
                                                     inch ( 8 ")
of State of Louisiana, situated in Block 40, South Pass Area, Section 1 of Township 25 South,
Range 30 East and Section 46 of Township 24 South, Range 30 East, Plaquemines Parish,
Louisiana.    Recorded   April 22, 2005 in Plaquemines Parish Book # 1091,         Page # 45, File No.
2005- 00002061.


XTO File Ref #3448- RW0004 - 00)
State Lease Right -of -Way 4587, One ( 1)   six   inch ( 6 ") gas /condensate pipeline crossing lands of
State of Louisiana, situated in Block 40, South Pass Area, Section 1 of Township 25 South,
Range 30 East and Section 46 of Township 24 South, Range 30 East, Plaquemines Parish,
Louisiana.    Recorded April 22, 2005 in Plaquemines Parish Book # 1091,           Page # 54, File No.
2005- 00002062.


West Cameron 485 ( XTO File Ref # 3542- RW0001 - 00)

OCS -G 2122E, Segment No. 4289, a right -of w
                                            - ay 200 feet in width for the construction,
operation and maintenance of a 12" natural gas pipeline from an existing platform in Block 485,
crossing Blocks 507 and 508 to an existing platform in Block 509, West Cameron Area, South
Addition, a distance of 28, 720 feet




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                                                      EXHIBIT          B -2
                               ATTACHED     TO AND MADE A PART OF THAT CERTAIN
                                        PURCHASE      AND SALE AGREEMENT,
                                     DATED EFFECTIVE            AS OF AUGUST 1, 2011,
                                           BETWEEN XTO OFFSHORE                       INC.,
                                   HHE ENERGY COMPANY, XH, LLC, AS SELLER,
                           AND DYNAMIC          OFFSHORE          RESOURCES,           LLC, AS BUYER


                                               DESCRIPTION           OF PIPELINES




  Segment            Originating     Originating    Destination         Destination                      Segment
                                                                                               Status                  Size
  Number             Area/ Block       Lease        Area/ Block               Lease                      Length

    16161              EI 309J        G00997          EI309G              G00997              Proposed    9875        6 -5/ 8"

    16162              EI 309J        G00997          EI309G              G00997              Proposed    9875        6 -5/ 8"

    16016              EI312          G22679          SM142               G01216               Active     18112         4"

    16017              EI312          G22679          SM142               G01216               Active     18115       6 5/ 8"

    14138              MP101          G22792          MP101               G22792               Active     4546        6 5/ 8"

    14821              MP 101         G22792          MP101               G22792               Active     5194          4"

                                                                                               Out of
    14822              MP101          G22792          MP101               G22792                          5197          4"
                                                                                               Service

    14315              MP101          G22792          MP101               G22792               Active     8745        8 5/ 8"

                                                                                               Out of
    9011               MP112          G09707          MP112               G09707                          9088          4"
                                                                                               Service

    17188              MP114          G27201          MP118               G22797               Active     22027         4"

                                                                                               Out of
    8372               MP116          G03419          MP116               G03419                          10893       8 5/ 8"
                                                                                               Service
                                                                                               Out of
    8373               MP116          G03419          MP116               G03419                          10893       8 5/ 8"
                                                                                               Service

   15792               MP118          G22797          MP125               G25019               Active     4649        8 5/ 8"

   17557               MP125          G25019          MP118               G22797               Active     13939       6 5/ 8"

   14741               SM109          G24873          SM109               G24873               Active     10719      10 3/ 4"

   10934               SM142          G01216          SM142               G01216               Active     3080          4"

   11552               SM142          G01216          SM142               G01216               Active     8504          4"

   11553               SM142          G01216          SM142               G01216               Active     8359        6 5/ 8"

   14292               SM40           G13607           SM40               G13607               Active     5584        6 5/ 8"

   14293               SM40           G13607           SM40               G13607               Active     6015        6 5/ 8"

   14294               SM40           G13607           SM40               G13607               Active     6017        6 5/ 8"
                                                                                                                   2 1/ 2" OR 2
   14295               SM40           G13607           SM40               G13607               Active     6020
                                                                                                                       7/ 8"
                                                                                                                   2 172" OR 2
   17203               SM40           G13607           SM44               G23840               Active     9233
                                                                                                                       7/ 8"
   17201               SM44           G23840           SM40               G13607               Active     9233        6 5/ 8"

   17202               SM44           G23840           SM40               G13607               Active     9233          4"

                                                                                               Out of
   15611               SS188          G22712          SS188               G22712                          8167          4"
                                                                                              Service
   10390              WC507           G02549          WC485               G02220               Active     2100        6 5/ 8"




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   Segment           Originating   Originating   Destination    Destination               Segment
                                                                              Status                 Size
   Number            Area/ Block     Lease       Area / Mock       Lease                  Length


    10391              WC507         G02549        WC485          G02220      Active       2100     6 5/ 8"
    16222                                                                     Out
                       WC507         G02549        WC485          G02220                   8670     6 5/ 8"
                                                                                    ice




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                                             EXHIBIT B -3
                     ATTACHED TO AND MADE A PART OF THAT CERTAIN
                                  PURCHASE   AND SALE AGREEMENT,
                                DATED EFFECTIVE AS OF AUGUST 1, 2011,
                                    BETWEEN XTO OFFSHORE              INC.,
                          HHE ENERGY COMPANY, XH, LLC, AS SELLER,
                     AND DYNAMIC OFFSHORE RESOURCES, LLC, AS BUYER


                                    DESCRIPTION      OF PLATFORMS




XTO #            PLATFORM NAME                        OPERATOR                STATE     WI %

N/ A      PLATFORM   BS 52 A              CENTURY    EXPLORATION       NEW    LA      0. 5000000
                                          ORLEANS,    INC.
N/ A      PLATFORM BS 53 CF               CENTURY    EXPLORATION       NEW    LA      0. 5000000
                                          ORLEANS, INC.
N/ A      PLATFORM EC 014 12              APACHE    CORPORATION               LA      0. 5000000

N/A       PLATFORM   EC 01413             APACHE    CORPORATION               LA      0. 5000000

703485    PLATFORM EC 014 B               APACHE CORPORATION                  LA      0. 5000000

N/ A      PLATFORM   EC 014 CF            APACHE    CORPORATION               LA      0. 5000000

N/ A      PLATFORM   EC 014 CF2           APACHE CORPORATION                  LA      0. 5000000

703463    PLATFORM EC 178 D               XTO OFFSHORE       INC.             LA      0. 6000000

703445    PLATFORM   EI 273 D             MARINER    ENERGY     INC           LA      0. 1214660

703458    PLATFORM   EI 284 B             MARINER ENERGY INC                  LA      0. 1500000

703371    PLATFORM EI 287 D               MARINER    ENERGY     INC           LA      0. 2666320

402689    PLATFORM   EI 292 B             MARINER ENERGY INC                  LA      0. 3000000

703447    PLATFORM   EI 309 G             MARINER    ENERGY     INC           LA      0. 2825430

703342    PLATFORM   EI 309 J             XTO OFFSHORE       INC.             LA      0. 3750000

703331    PLATFORM   EI 312 D             XTO OFFSHORE       INC.             LA      0. 6000000

703353    PLATFORM HI 034 B               XTO OFFSHORE       INC.             TX      0. 4500000

703430    PLATFORM   HI A376 A            APACHE CORPORATION                  TX      0.0625000

N/ A      PLATFORM   HI A376 B            APACHE CORPORATION                  TX      0. 0625000

703408    PLATFORM HI A376 C              APACHE CORPORATION                  TX      0. 0625000

403304    PLATFORM   HI A554 A            HUNT OIL COMPANY                    TX      0. 2500000

703359    PLATFORM MP 029 1               XTO OFFSHORE       INC.             LA      0. 5000000

703355    PLATFORM   MP 101 06            XTO OFFSHORE INC.                   LA      0. 7750000

703332    PLATFORM   MP 101 B             XTO OFFSHORE       INC.             LA      0. 7750000

703333    PLATFORM   MP 101 D             XTO OFFSHORE       INC.             LA      0. 9000000

703436    PLATFORM   MP 109 C             W & T OFFSHORE      INC             LA      0. 3333000

703437    PLATFORM MP 109 D               W & T OFFSHORE      INC             LA      0. 3333000




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XTO #             PLATFORM   NAME                   OPERATOR             STATE         WI %

703336     PLATFORM MP 112 2           XTO OFFSHORE INC.                LA            1. 0000000

703335     PLATFORM   MP 112 A         XTO OFFSHORE INC.                LA            1. 0000000

703360     PLATFORM   MP 114 1         XTO OFFSHORE     INC.            LA            1. 0000000

N/ A       PLATFORM MP 116 8           XTO OFFSHORE     INC.            LA            1. 0000000

703357     PLATFORM   MP 116 A         XTO OFFSHORE INC.                LA            1. 0000000

703327     PLATFORM   MP 116 B         XTO OFFSHORE     INC.            LA            1. 0000000

703361     PLATFORM MP 118 A           XTO OFFSHORE     INC.            LA            0. 8333333

703449     PLATFORM   MP 125 B         XTO OFFSHORE INC.                LA            0. 6250000

N/ A       PLATFORM   MP 94 4          W & T OFFSHORE    INC            LA            0. 2673333

703362     PLATFORM   SMI 040 B        XTO OFFSHORE     INC.            LA            1. 0000000

703347     PLATFORM   SMI 040 JA       XTO OFFSHORE INC.                LA            1. 0000000

703338     PLATFORM   SMI 044 C        XTO OFFSHORE     INC.            LA            0. 5000000

703139     PLATFORM   SMI 109A         XTO OFFSHORE     INC.            LA            0. 5416667

703132     PLATFORM SMI 142A            XTO OFFSHORE    INC.            LA            0. 5267010

703133     PLATFORM   SMI 142C          XTO OFFSHORE    INC.            LA            0. 5500000

703328     PLATFORM   SMI 146B          XTO OFFSHORE    INC.            LA            0. 7500000

N/ A       PLATFORM   SMI 268 A Prod    APACHE   CORPORATION            LA            0. 1011417

703425 •   PLATFORM   SMI 268 A         APACHE   CORPORATION            LA            0. 1011417

703423     PLATFORM   SMI 268 D         APACHE   CORPORATION            LA            0. 1011417

703426     PLATFORM   SMI 269 B         APACHE   CORPORATION            LA            0. 0906733

N/A        PLATFORM SMI 269 F           APACHE   CORPORATION            LA            0. 1191519

703410     PLATFORM SMI 280 I           APACHE   CORPORATION            LA            0. 0786287

703341     PLATFORM   SMI 281 C         APACHE   CORPORATION            LA            0. 1047658

703424     PLATFORM   SMI 281 E         APACHE   CORPORATION            LA            0. 1047658

703128     PLATFORM   SP 42A            XTO OFFSHORE    INC.            LA            0. 7500000

703339     PLATFORM   SS 079 A          XTO OFFSHORE INC.               LA            0. 4500000

703370     PLATFORM   SS 080 A          XTO OFFSHORE INC.               LA            0. 4500000

703363     PLATFORM   SS 188 02         XTO OFFSHORE    INC.            LA            1. 0000000

703349     PLATFORM   SS 188 A          XTO OFFSHORE    INC.            LA            0. 7500000

703443     PLATFORM SS 204 A            APACHE   CORPORATION            LA            0. 0560514

N/ A       PLATFORM   SS 204 A -Gen     APACHE CORPORATION              LA            0. 0560514

N/ A       PLATFORM   SS 204 A -Prod    APACHE   CORPORATION            LA            0. 0560514

N/ A       PLATFORM   SS 206 E          APACHE   CORPORATION            LA            0. 0092732

703433     PLATFORM   SS 207 A          APACHE   CORPORATION            LA            0. 0618214

N/ A       PLATFORM SS 207 A -Comp      APACHE CORPORATION              LA            0. 0618214




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XTO #              PLATFORM   NAME                    OPERATOR             STATE       WI%

N/ A      PLATFORM     SS 207 A -Drill    APACHE CORPORATION               LA        0. 0618214

N/ A      PLATFORM     SS 207 A- Mantis   APACHE   CORPORATION             LA        0. 0618214

N/ A      PLATFORM SS 207 A -Prod         APACHE   CORPORATION             LA        0. 0618214

703431    PLATFORM     SS 207 D           APACHE CORPORATION               LA        0. 0608363

N/A       PLATFORM     SS 207 DWPF        APACHE   CORPORATION             LA        0. 0618214

703407    PLATFORM SS 216 C               APACHE   CORPORATION             LA        0. 0577000

703411    PLATFORM     SS 247 F           ENI PETROLEUM    COMPANY   INC   LA        0. 3676471

703404    PLATFORM     SS 248 D           ENI PETROLEUM    COMPANY   INC   LA        0.2648039

703412    PLATFORM SS 248 G               ENI PETROLEUM    COMPANY   INC   LA        0. 2648039

N/ A      PLATFORM     SS 71 1            PETROQUEST ENERGY, L.L.C.        LA        0. 2500000

703403    PLATFORM     VR 313 D           ENI PETROLEUM    COMPANY   INC   LA        0. 5000000

N/ A      PLATFORM     WC 171 A           CONN ENERGY     INC.             LA        0. 2119285

N/ A      PLATFORM     WC 171 A - AUX 1   CONN ENERGY     INC.             LA        0. 2119285

N/ A      PLATFORM     WC 171 A - AUX 2   CONN ENERGY     INC.             LA        0. 2119285

703135    PLATFORM     WC 485 A           XTO OFFSHORE    INC.             LA        1. 0000000

703340    PLATFORM     WC 507B            XTO OFFSHORE INC.                LA        1. 0000000

703137    PLATFORM     WC 507C            XTO OFFSHORE    INC.             LA        0. 5000000




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                                                             EXHIBIT C
                      ATTACHED TO AND MADE A PART OF THAT CERTAIN
                                         PURCHASE          AND SALE AGREEMENT,
                                     DATED EFFECTIVE                 AS OF AUGUST 1, 2011,
                                              BETWEEN XTO OFFSHORE                       INC.,
                                    HHE ENERGY          COMPANY,            XH, LLC, AS SELLER,
                     AND DYNAMIC OFFSHORE RESOURCES, LLC, AS BUYER



      FORM OF ASSIGNMENT AND BILL OF SALE TO BE CONFORMED WITH
 PURCHASE AND SALE AGREEMENT AT CLOSING.                                                    A SEPARATE ASSIGNMENT
  AND BILL OF SALE WILL BE USED FOR XTO OFFSHORE INC., HHE ENERGY
                                                    COMPANY, AND XH, LLC.]


                                                               FORM OF
                                        ASSIGNMENT             AND BILL OF SALE FOR
              XTO OFFSHORE INC., HHE ENERGY COMPANY, AND XH, LLC]

STATE OF


COUNTY / PARISH OF


          This Assignment               and    Bill of Sale ( " Assignment ") is effective       as   of ,             20 _,    at

7: 00 a. m. Central             Time ( " Effective      Time "),    and    is from XTO       OFFSHORE          INC., a Delaware
corporation      with          an   address    of   810 Houston Street, Fort Worth, Texas                    76102 -6298 ( " XTO
Energy"),     to ,                                                                      a                               with   an

address   of ( "                                               Assignee ").


                                                           ARTICLE 1.


                 1. 01.              Assignment.        For $ 10 and other good and valuable consideration,                    the
receipt and sufficiency                 of which XTO Energy acknowledges,                     XTO Energy bargains,         sells,
assigns, and conveys to Assignee and its successors and assigns, all of XTO Energy' s right, title,
and  interest in and to the following real and personal properties ( collectively, " Properties "),

subject to the terms of this Assignment, including its exhibits, and all applicable instruments of
record in the [ county /counties / parish/ parishes] where the Properties are located:

                          a)
                                     The oil and gas leasehold estates and other interests, insofar but only
                                     insofar   as set out on   Exhibit A (collectively, " Interests ");


          XTO ENERGY EXCEPTS                         FROM THIS ASSIGNMENT                AND RESERVES           TO ITSELF ALL
          RIGHT,          TITLE,       AND      INTEREST       NOT        SET   OUT    ON    EXHIBIT    A,     INCLUDING    THE
          RESERVATION BY XTO ENERGY OR ITS PREDECESSORS IN TITLE OF ANY KIND OF
          INTEREST ( INCLUDING                      OVERRIDING      ROYALTY,          DEPTH LIMITATIONS,          FORMATIONS,
          AND CONTRACTUAL RIGHTS) FROM ANY CONVEYANCE OR AGREEMENT, WHETHER


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          RECORDED OR NOT, THAT WAS EXECUTED                        OR EFFECTIVE BEFORE THE EXECUTION
          OF THIS ASSIGNMENT. [            ENSURE THAT THIS PARAGRAPH IS IN CONFORMANCE WITH
          THE PSA]



                  b)       All contracts affecting the Interests, to the extent each is assignable,
                           including agreements for the sale or purchase of oil, gas, and other
                           hydrocarbons; processing agreements; division orders; unit agreements;
                           operating agreements;          and other contracts    and agreements    arising out of
                           connected with, or attributable to production from the Interests, including
                           the items listed on Exhibit B;


          XTO ENERGY        EXCEPTS        FROM THIS ASSIGNMENT               AND RESERVES       TO ITSELF ALL
          RIGHT, TITLE, AND INTEREST IN THESE CONTRACTS                        INSOFAR As THEY PERTAIN TO
          ANY INTEREST NOT ASSIGNED IN THIS ASSIGNMENT.


                      c)   All    personal
                                                    including material, equipment, and facilities
                                               property,
                           situated in and on the Properties and used solely in connection with the
                           use or operation of the Interests for the production, treating, storing,
                           transporting, and marketing of oil, gas, and other hydrocarbons from the
                           Interests;


          XTO ENERGY EXCEPTS FROM THIS ASSIGNMENT AND RESERVES TO ITSELF ALL
          PERSONAL PROPERTY, WELLS, FIXTURES, PIPELINES, AND EQUIPMENT USED IN XTO
          ENERGY' S OPERATION OF ANY LEASE, WELL, OR MINERAL INTEREST NOT ASSIGNED
          IN THIS ASSIGNMENT.


                  d)       All easements,      permits,     licenses,   surface and subsurface   leases, rights - of-

                           way, servitudes, and other surface and subsurface rights affecting the
                           Interests, to the extent each is assignable, including the items listed on
                           Exhibit B; and


                  e)
                           Copies of the data and records relating to the Properties and Interests that
                           have  been   or   will  be  delivered   by XTO Energy to Assignee
                             Documents ").


             1. 02.        Exclusions. The following are excluded from this Assignment:

                  a)       reservations,     exceptions    and exclusions    listed in Exhibits A and B;


                  b)       pipelines, fixtures, equipment, and interests owned by third parties such as
                           lessors, purchasers, or transporters of Oil or gas;

                  c)       computer           equipment ( including    Rosemont        transmitters),

                           telecommunications equipment, vehicles, boats, tools, pulling machines,
                           and other equipment and material temporarily located on the Property or
                           expressly excluded from the sale;




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                d)       items specifically excluded in written information or correspondence
                         provided to XTO Energy before the Execution Date;

                    e)   any gas processing plant not listed on Exhibit A and Exhibit A -1;

                    f)   personal property, fixtures, equipment, pipelines, facilities, and buildings
                         located on the Property, but currently in use in connection with the
                         ownership or operation of other property not included in the Interests;

                    g)   Unless otherwise described on Exhibit A, if XTO Energy is a party to a
                         joint    operating         agreement         that    affects    an   Interest,     this    Agreement    is

                         limited as to that Interest to the depths subject to the joint operating
                         agreement (       e. g.,    total depth, total depth plus 100 feet, base of formation
                         penetrated      by initial test    but excludes depths previously conveyed
                                                                well),


                         and all depths not subject to a joint operating agreement; and

                    h)   If XTO Energy owns unleased mineral interests purportedly within the
                         Interests, those mineral interests are not included in the term " Interests"
                         and will not be conveyed to XTO Energy.

                    i)   XTO Energy and its affiliates reserve and exclude from this Agreement all
                         rights under that certain Lease Purchase Agreement dated effective
                         January 22, 2002 by and between EEX Corporation ( " EEX ") and Aviara
                         Energy Corporation ( " Aviara "), as amended April 1, 2005, by and
                         between        Newfield           Exploration       Gulf Coast,         Inc. and         Hunt   Petroleum
                          AEC),        Inc., as such agreements pertain to all depths from 17, 000 feet

                         down to 100, 000 feet subsea and expressly reserve and exclude from this
                         Agreement         the      five    percent     of    eight - eights (    5%   of    8 / 8ths)   overriding
                         royalty interest reserved by Aviara in that certain Assignment of Operating
                         Rights dated effective January 22, 2002 by and between Aviara and EEX.

                    j)   Responsibility and liability for the proper payment of royalties to any
                         governmental entity with respect to production attributable to the Interests
                         prior    to    the      Effective      Time         in   the    event    prior     payments      to   such

                         governmental entity were improperly calculated.

                    k)    The      Execution           Version          of    this      document          shall     describe    the

                         Overriding Royalty Interest provided for in Article 4 of the PSA
                         including such terms therein as should be referenced, of record.]

           1. 03.        Restrictions         on    Use.
                                                Where any of the Interests include a fee simple
interest in real property that has been used for oil, gas, or other mineral operations, the following
uses of the affected land, or any portion thereof, are expressly prohibited and forbidden:

                    a)   any hotel use;

                    b)   any     purpose      that    would     constitute        a "   Permitted Use" under any of the

                         residential zones, districts, or classifications                        set forth in any applicable


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                                      municipal, county /parish or state zoning laws in effect at the Effective
                                      Time,


                           c)         any other residential use;


                           d)         any health care, clinic, hospital or other medical facility;

                           e)
                                      any playground, recreational park, day nursery, day -care center, child care
                                      center, nursing home, house of worship, or school;

                           f)         any agricultural use;


                           g)         construction or installation of any basements; or

                           h)         any water wells for irrigation or drinking purposes.

                  1. 04.              Documents.        If originals or the last- remaining copies of the Documents
have been provided to Assignee, XTO Energy may have access to them at reasonable times and
upon reasonable notice during regular business hours for as long as any Interest is in effect after
the Effective Time ( or for 21 years in the case of a mineral fee or other non -leasehold interest or
a   longer   period        if required by law           or   governmental      regulation).
                                                                                                XTO Energy may, during this
period and at its expense, make copies of the Documents pursuant to a reasonable request.
Without limiting the generality of the two preceding sentences, for a period as long as any
Interest is in effect after the Effective Time ( or for 21 years in the case of a mineral fee or other
non -leasehold interest or for a longer period if required by law or governmental regulation),
Assignee may not destroy or give up possession of any original or last -remaining copy of the
Documents without first offering XTO Energy the opportunity, at XTO Energy' s expense, to
obtain the        original       or    a
                                           copy.   After this period expires, Assignee must offer to deliver the
Documents ( or copies) to XTO Energy, at XTO Energy' s expense, before giving up possession
or destroying them.

                  1. 05.              Reservations.
                                       To the extent that XTO Energy has reserved or continues to
own    an    interest (         excluding      overriding- royalty interests
                                                               but including, if any, mineral - fee,
leasehold interests, deep rights or facilities, equipment, or pipelines) after the Effective Time for
which XTO Energy requires access across the land associated with the Interests in order to
exercise its rights, XTO Energy reserves concurrent interests in all applicable easements, rights -
of w
   - ay, contracts, and other rights relating to the reserved interests and necessary as reasonably
required for exploring, drilling, producing, storing, or marketing oil, gas, and other hydrocarbons
from the respective zones or interests of the Parties, including rights to lay pipelines, water lines,
and power lines; dig pits; erect structures; and perform any other act reasonably necessary to
XTO Energy' s interests.

               1. 06.                 Surrender    or   Abandonment       of   Interests.     If Assignee decides to surrender
or abandon any of the Interests after Closing, Assignee must give XTO Energy written notice of
its intent at least 45 days before surrender or abandonment if XTO Energy:
                           a)         has retained an interest in the Interests;




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                         b)          has other interests for which XTO Energy requires access across the
                                     Interests or Property in order to exercise its rights; or

                         c)          has    other   interests that       are    held
                                                                        by production from the Interests. XTO
                                     Energy will have 30 days after receipt of Assignee' s notice to notify
                                     Assignee that it elects to require Assignee to reassign all or any part of the
                                     Interests. Reassignment will be in the manner described in Section 1. 07.

                    1. 07.           Reassignment.           For reassignment of any Interest under this Assignment,
Assignee will execute and deliver to XTO Energy a reassignment by special warranty, in a form
satisfactory to XTO Energy and sufficient to place XTO Energy in the same position it occupied
before the assignment to Assignee.    Assignee' s release and discharge of XTO Energy and its
Associated Parties, its covenant not to sue XTO Energy or its Associated Parties, and its
obligations to indemnify, defend, and hold XTO Energy and its Associated Parties harmless will
apply to Interests that are reassigned     for the period                                     of    Assignee' s   ownership,       and      the
reassignment instrument will restate Assignee' s obligations.


                                                                   ARTICLE 2.


         Ad valorem taxes assessed                     against the Properties             for the year of the Effective            Time are

apportioned between XTO Energy and Assignee as of the Effective Time.

                                                                   ARTICLE 3.


         Assignee             will    comply        with     all    rules,     regulations,        statutes,   and laws applicable to
Assignee'       s   ownership        or    operation    of   the Properties.           Except to the extent specifically excepted
or reserved by XTO Energy [ in this Assignment or in the Purchase and Sale Agreement ( as
defined below)], Assignee accepts this Assignment and assumes all XTO Energy' s obligations
and liabilities under all oil, gas, and mineral leases, assignments, subleases, farmout agreements,
unit agreements, joint operating agreements, pooling agreements, letter agreements, easements,
rights -of way,
           -    gathering and transportation agreements, sales agreements, and other agreements
 including compliance with express and implied covenants and payment of costs, rentals, shut-in -
payments, minimum                royalties, and production               royalties),      to the extent that these obligations              and

liabilities concern or pertain to the Properties and are binding on XTO Energy or its successors
or assigns.
                    Assignee' s obligations under this article apply to all applicable instruments, whether
recorded    or not.




                                                                   ARTICLE 4.


         Assignee             acknowledges          that the Interests         and Properties         have been used for exploration,

development, and production of oil and gas and that there may be petroleum, produced water,
wastes, or other materials located on or under the Properties or associated with the Interests.
Equipment and sites included in the Interests or Properties may contain asbestos, hazardous
substances,         or   naturally occurring           radioactive      material ( "     NORM ").          NORM may affix or attach
itself to the inside of wells, materials, and equipment as scale, or in other forms; the wells,
materials, and equipment located on the Properties or included in the Interests may contain
NORM and other wastes or hazardous substances; and NORM -containing material and other
wastes     or       hazardous        substances        may have         been      buried,     come       in contact   with   the    soil,    or



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otherwise     been    disposed        of   on   the    Properties.     Special procedures may be required for the
remediation, removal, transportation, or disposal of wastes, asbestos, hazardous substances, and
NORM from the Interests and Properties.

        Assignee          will   store,     handle,      transport,    and   dispose    of or discharge     all material,
substances, and wastes from the Properties ( including produced water, drilling fluids, NORM,
and   other    wastes),     whether present before or after the Effective Time, in accordance with
applicable local, state, and federal laws and regulations. Assignee will keep records of the types,
amounts, and location of materials, substances, and wastes that are stored, transported, handled,
discharged, released, or disposed of onsite and offsite. When any lease terminates, an interest in
which    has       been    assigned        under      this   Assignment,     Assignee will take additional testing,
assessment, closure, reporting, and remedial action with respect to the Properties as is necessary
to satisfy all local, state, and federal requirements directed in effect at that time and necessary to
restore the Properties.


                                                             ARTICLE 5.


         Assignee recognizes, and will either perform or assure that performance is accomplished
properly and in accordance with applicable law and the obligations and liabilities described in
Article 3, all obligations            to abandon,        restore, and remediate        the Properties   and the Interests,
whether arising before or after the Effective Time, including obligations, as applicable, to:

         1           obtain plugging exceptions in the operator' s name for each well located on the
                     Properties ( abandoned             and unabandoned)       with a current plugging exception or
                     permanently plug and abandon each well;
         2           plug, abandon, and if necessary, reabandon each well located on the Properties
                      abandoned and unabandoned);

         3           remove all equipment and facilities, including flowlines, pipelines and platforms;
         4           close all pits; and

         5           restore the surface, subsurface, and offshore sites associated with the Interests and
                     Properties.


        Assignee will take all necessary steps to ensure that Assignee is recognized as the owner
and, if applicable, operator of the Properties by all appropriate parties, including any regulatory
commission,   body or board with jurisdiction. If XTO Energy is the principal on any financial
assurance ( including a bond) relating to the Properties, which financial assurance is required by
any law, rule, or regulation, then Assignee will secure new financial assurance in the required
amount and supply it to the regulatory body requiring the financial assurance, to the end that
XTO Energy' s financial assurance is released and discharged.

         Assignee will pay all costs and expenses associated with the obligations assumed under
this article. XTO Energy may require Assignee to maintain a performance bond in an amount, in
a form, and from an institution acceptable to XTO Energy, to guarantee Assignee' s obligations,
all as provided for in the Purchase and Sale Agreement.




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                                                           ARTICLE 6.


         XTO ENERGY MAKES No WARRANTY OF ANY TYPE IN THIS ASSIGNMENT,                                            WHETHER
EXPRESS,       STATUTORY,           OR IMPLIED.           ASSIGNEE HAS INSPECTED AND HAS SATISFIED ITSELF
As To THE CONDITION                 OF THE PROPERTIES.              THIS ASSIGNMENT        IS MADE BY XTO ENERGY
AND ACCEPTED BY ASSIGNEE ON AN " As IS, WHERE IS" BASIS.                                     XTO ENERGY DISCLAIMS
ALL WARRANTIES, INCLUDING:


          a)          AS   TO THE      FITNESS     OR CONDITION         OR MERCHANTABILITY            OF THE    MATERIALS,

                      EQUIPMENT,          OR FACILITIES        CONVEYED;



          b)          AS   TO    THE   PHYSICAL,      OPERATIONAL,           OR ENVIRONMENTAL         CONDITION     OF THE

                      PROPERTIES;


          c)          AS    TO     THE     OIL,    GAS,    AND     OTHER       HYDROCARBON       OPERATIONS        OF     THE

                      PROPERTIES          COVERED         BY THE TERMS         AND CONDITIONS         OF ANY LEASES        OR
                      OTHER AGREEMENTS THAT ARE A PART OF THE PROPERTIES;


          d)          AS TO THE ISSUANCE,           REISSUANCE,         OR TRANSFER      OF ANY PERMITS        RELATING    TO

                      ANY OF THE PROPERTIES;


          e)          AS    TO     ANY     CONSENT        OR   APPROVAL        REQUIRED     UNDER      ANY     INSTRUMENT

                      DESCRIBED          IN ARTICLE    III; AND



          f)          AS TO TITLE,        EITHER    EXPRESS,      IMPLIED,     OR STATUTORY.



                                                           ARTICLE 7.


         The terms Claim or Claims mean, collectively, claims, demands, causes of action, and
lawsuits asserted or filed by any person, including an artificial or natural person, a local, state, or
federal governmental entity; a person holding rights under any instrument described in Article 3;
an Associated
                Party of XTO Energy or Assignee; or a third party. The term Liability or
Liabilities means, collectively, all damages ( including consequential and punitive damages),

including those for personal injury, death, or damage to personal or real property ( both surface
and subsurface) and costs for remediation, restoration, or clean up of contamination, whether the
injury, death, or damage occurred or occurs on or off the Properties by migration, disposal, or
otherwise; losses; fines; penalties; expenses; costs to remove or modify facilities on or under the
Properties; plugging liabilities for all wells; attorneys'                     fees; court and other costs incurred in
defending a Claim; liens; and judgments; in each instance, whether these damages and other
costs   are    known       or   unknown,     foreseeable or unforeseeable           on   the Effective Time.      The term
Associated         Parties means successors,          assigns,    directors,   officers, employees,    agents, contractors,
subcontractors,        and Affiliates.


      Assignee releases and discharges XTO Energy and its Associated Parties from each
Claim and Liability relating to the Interests, Properties, or this transaction, regardless of when or
how the Claim or Liability arose or arises or whether the Claim or Liability is foreseeable or
unforeseeable.         ASSIGNEE' S RELEASE AND DISCHARGE                       OF XTO ENERGY AND ITS ASSOCIATED
PARTIES       INCLUDE           CLAIMS    AND LIABILITIES          CAUSED IN WHOLE         OR IN PART BY THE GROSS,



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SOLE, JOINT, CONCURRENT,            ACTIVE OR PASSIVE NEGLIGENCE               OF XTO ENERGY OR ANY OF ITS
ASSOCIATED       PARTIES OR ANY THIRD PARTY AND APPLY REGARDLESS                            OF WHO MAY BE AT
FAULT   OR OTHERWISE        RESPONSIBLE      UNDER      ANY OTHER       CONTRACT     OR ANY STATUTE,       RULE   OR

THEORY OF LAW INCLUDING THEORIES OF STRICT LIABILITY, and this release and discharge are
binding on Assignee and its successors and assigns The only exception to Assignee' s release and
discharge of XTO Energy and its Associated Parties is that ( a) Assignee does not release Claims
against contractors and subcontractors for work regarding the Interests and Properties, and ( b)
Assignee does not release or discharge Claims that XTO Energy breached the Purchase and Sale
Agreement.


       Assignee covenants not to sue XTO Energy or its Associated Parties with regard to any
Claim or Liability relating to the Interests, Properties, or this transaction, regardless of when or
how the Claim or Liability arose or arises or whether the Claim or Liability is foreseeable or
unforeseeable.      ASSIGNEE' S COVENANT             NOT TO       SUE    XTO    ENERGY      OR ITS ASSOCIATED
PARTIES INCLUDES          CLAIMS AND LIABILITIES             CAUSED IN WHOLE OR IN PART BY THE GROSS,
SOLE, JOINT, CONCURRENT, ACTIVE OR PASSIVE NEGLIGENCE OF XTO ENERGY OR ANY OF ITS
ASSOCIATED       PARTIES    OR ANY THIRD PARTY AND APPLIES                    REGARDLESS    OF WHO MAY BE AT
FAULT   OR OTHERWISE        RESPONSIBLE      UNDER      ANY OTHER       CONTRACT     OR ANY STATUTE,       RULE   OR

THEORY OF LAW INCLUDING THEORIES OF STRICT LIABILITY, and this covenant is binding on

        Assignee    and   its successors    and
                                                 The only exception to Assignee' s covenant not
                                                  assigns.

to sue XTO Energy or its Associated Parties is that Assignee does not covenant not to sue
contractors and subcontractors for work regarding the Interests and Properties.

        Assignee will indemnify, defend, and hold XTO Energy and its Associated Parties
harmless from each Claim or Liability relating to the Interests, Property, or this transaction,
regardless of when or how the Claim or Liability arose or arises or whether the Claim or
Liability is foreseeable     or   unforeseeable.     ASSIGNEE' S OBLIGATIONS             TO INDEMNIFY,     DEFEND,
AND HOLD XTO ENERGY AND ITS ASSOCIATED                           PARTIES HARMLESS INCLUDE CLAIMS AND
LIABILITIES      CAUSED IN WHOLE OR IN PART BY THE GROSS, SOLE, JOINT, CONCURRENT,                          ACTIVE
OR PASSIVE       NEGLIGENCE        OF XTO    ENERGY       OR ANY OF ITS ASSOCIATED               PARTIES   OR ANY
THIRD     PARTY     AND    APPLY      REGARDLESS        OF      WHO     MAY    BE   AT   FAULT    OR   OTHERWISE

RESPONSIBLE       UNDER    ANY     OTHER    CONTRACT           OR ANY   STATUTE,    RULE    OR THEORY      OF LAW
INCLUDING      THEORIES     OF STRICT      LIABILITY.        The only exception to Assignee' s obligations to
indemnify, defend, and hold XTO Energy and its Associated Parties harmless is ( a) a judgment
rendered or settlement reached in a lawsuit filed before the Effective Time, but only to the extent
that the acts or omissions        that gave rise to the cause of action are attributable         to the conduct   or

operations or ownership of XTO Energy or its Associated Parties before the Effective Time and
 b) a Claim that XTO Energy breached the Purchase and Sale Agreement.               Assignee' s
obligations are binding on Assignee and its successors and assigns.

       Assignee' s duty to release, discharge, not to sue, indemnify, defend, and hold XTO
Energy and its Associated Parties harmless includes Claims or Liabilities arising in any manner
from the physical or environmental condition of the Interests and Properties, including Claims or
Liabilities under applicable laws and regulations now enacted or that may be enacted in the
future, including the Comprehensive Environmental Response, Compensation and Liability Act
of 1980, as amended from time to time.



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                                                     ARTICLE 8.


           Assignee represents that it has acquired the Properties for its own benefit and account and
has not acquired the Properties with the intent of distributing fractional undivided interests in
them or otherwise selling them in a manner that would be subject to regulation by federal or state
securities    laws.     If Assignee sells, transfers, or otherwise disposes of the Properties or fractional
undivided interests in them in the future, it will do so in compliance with applicable federal and
state laws.


           This Assignment            is subject to the terms of the Purchase           and Sale Agreement        between

XTO Energy and Assignee concerning the Properties, dated effective as of August 1, 2011 ( the
 Purchase and Sale Agreement "), including XTO Energy' s Preferential Right to purchase all Oil
produced and saved from the Interests. [ In the event of a conflict or inconsistency between the
terms and provisions of this Assignment and those set forth in the Purchase and Sale Agreement,
the terms     and   provisions        in the Purchase and Sale Agreement            shall   control].    The Purchase and

Sale Agreement provides, in part, that the Parties will correct errors that may have been made in
the conveyancing instruments; that XTO Energy may require that all or a part of the Properties
be reassigned under certain circumstances; and that disputes concerning the Properties or the
transaction will be resolved by alternate dispute resolution, to the extent, if any, that Assignee
has not released, discharged, or covenanted not to sue XTO Energy or its Associated Parties.

         If XTO Energy will own an interest after Closing in any Interest or Property ( including
overriding royalties, deep rights, and facilities, equipment, or pipelines) or continue to own

interests for which XTO Energy requires access across the Interests or Property in order to
exercise    its rights, then, XTO Energy will reserve concurrent interests in the applicable

easements, rights -of -way, contracts and other rights relating to the retained or reserved interests.
XTO Energy reserves the right to perform an audit as stated below.

           XTO Energy, upon notice in writing to Assignee, shall have the right to access the
Assignee' s       offices,     facilities,   work    sites,      warehouses,      books,      records,    correspondence,

instructions, plans, drawings, receipts, vouchers, financial accounts, data stored in computer files
or microfiche and personnel to audit Assignee's accounts and records relating to the retained
royalty interest,including any hedge agreements, facilities used for the measurement of
production from the properties, for any calendar year within the twenty -four ( 24) month period
following the end of such calendar year. The same audit rights are to extend to subcontractors.
XTO Energy shall maintain supporting data and accounting records consistent with generally
accepted accounting principles, and the employees and agents of company shall have the right to
reproduce     and     retain   for the purpose   of audit,     any   of   these documents.     XTO Energy shall not be
liable for any of Assignee' s contractor' s or subcontractor' s costs resulting from an audit
hereunder.


           The provisions        of   this Assignment     are    severable.      If a court of competent jurisdiction
finds any part of this Assignment to be void, invalid, or otherwise unenforceable ( except for the
release,waiver,  defense, and indemnity provisions), this holding will not affect other portions
that can be given effect without the invalid or void portion.




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        All covenants and agreements in this Assignment ( except Article 8) bind and inure to the
benefit of the heirs, successors, and assigns of XTO Energy and Assignee; are covenants running
with the land;    and are effective   as stated,    whether   or not the covenants   and agreements   are
memorialized in assignments and other conveyances executed and delivered by the Parties and
their respective heirs, successors, and assigns from time to time.


         Recitation of or reference to any agreement or other instrument in this Assignment,
including its exhibits, does not operate to ratify, confirm, revise, or reinstate the agreement or
instrument if it has previously lapsed or expired.

         This Assignment and its performance will be construed in accordance with, and governed
by, the internal laws of the State of Texas, without regard to the choice of law rules of any
jurisdiction, including Texas.

         The word includes and its syntactical variants mean " includes, but not limited to" and its
corresponding syntactical variants. The rule of ejusdem generis may not be invoked to restrict or
limit the scope of the general term or phrase followed or preceded by an enumeration of
particular   examples.




         All exhibits referenced in and attached to this Assignment are incorporated into it.


         This instrument may be executed in counterparts, all of which together will be considered
one instrument.


         Executed on the dates indicated below, but effective as of the Effective Time.




  DYNAMIC OFFSHORE RESOURCES,                      LLC              XTO OFFSHORE       INC.




         BY:                                                        BY:




         NAME:                                                      NAME:




         TITLE:                                                     TITLE:




         DATE:                                                      DATE:




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STATE OF TEXAS


COUNTY OF HARRIS




          This     instrument      was    acknowledged          before         me     on                         by
                                                                 of    XTO          Offshore   Inc.,   a   Delaware
corporation,     on behalf of said corporation.




Notary Public, State of Texas




STATE OF


COUNTY OF


          This instrument    was   acknowledged   before   me   on _
                                                                                               by ,
                            of ,                                         a ,                                     on

behalf of said




Notary Public, State of




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                                                    EXHIBIT D
               ATTACHED            TO AND MADE A PART OF THAT CERTAIN
                              PURCHASE            AND SALE AGREEMENT,
                          DATED EFFECTIVE                   AS OF AUGUST 1, 2011,
                                   BETWEEN XTO OFFSHORE                       INC.,
                       HHE ENERGY COMPANY, XH, LLC, AS SELLER,
               AND DYNAMIC              OFFSHORE            RESOURCES,            LLC, AS BUYER




                       PROPERTY SALES ACCOUNTING AGREEMENT
                                   SELLER:          XTO OFFSHORE              INC.
                   BUYER:          DYNAMIC           OFFSHORE RESOURCES,                LLC


           PROPERTIES:




          Buyer will work with XTO Energy operations personnel to disconnect from any
          XTO Energy owned electrical system and provide its own electrical arrangements at
          Buyer' s expense within 60 days of the actual closing of the subject XTO Energy
          property( ies). XTO Energy will bill Buyer for any electricity used after the Effective
          Time and paid for by XTO Energy.

          Buyer will notify utility companies to effect a change in ownership and billing
          responsibility.


          Buyer will work with XTO Energy operations personnel to disconnect from
          applicable facilities within that 60 days or negotiate any contract as appropriate with
          XTO Energy. XTO Energy may charge $ 50. 00 per well per month for salt water

          disposal as long as Buyer stays connected to XTO Energy' s system or has not
          executed a contract with XTO Energy for salt water disposal.

          XTO Energy will notify the operator of non -XTO Energy operated properties of
          change in ownership as soon as possible after the closing and will request that future
          billings be addressed to Buyer.


          Buyer   will    obtain   an   oil   contract,           1, or as soon thereafter as
                                                           effective on [

          XTO Energy is able to effect cancellation of its contract ( in accordance with the
          applicable     cancellation provisions          of such  or XTO Energy will notify the
                                                                    contracts),

          operator to begin storing oil on that date until a contract can be obtained if XTO
          Energy' s oil contract has been cancelled or is not valid.




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           Where gas is dedicated under long -term contracts, the contracts will be assigned to
           Buyer subsequent to closing; otherwise, Buyer will obtain a gas contract effective on
                       1, or as soon thereafter as XTO Energy is able to effect cancellation of its
           gas     contract ( in accordance with the applicable cancellation provisions of such
           contracts),
                       or XTO Energy will notify the operator to begin storing gas on that date
           until a contract can be obtained if XTO Energy' s gas contract has been cancelled or
           is not valid.


           XTO Energy will continue to pay royalties and severance taxes for sales through the
           production
                    month   of [             1 200_.    If any revenue is received by XTO
           Energy for later months,              it will be forwarded           to Buyer within    30 days.     However,

           XTO Energy will not pay any royalties or severance taxes out of that revenue.
           Buyer will be responsible for the payment of royalties and severance taxes, if
            applicable,      after   the production      month       of [             1 200 .

           XTO Energy will continue                     to bill the joint owners for expenses                 through the
           production         month
                                           1 200_. The [ Xxxxxx + 1 200 1 bill will be XTO
                                        of [


           Energy' s final billout to joint owners for charges incurred before the Closing Date,
           but received after the Closing Date.

           Expenses       received      late ( i. e.,   after XTO Energy' s final billout to joint owners) for
           services rendered           after   the Effective    Time will be handled as follows:    if paid by
           XTO   Energy, 100% of the charges will be included in the Final Settlement
           Statement and backup support will be provided to Buyer, or invoices will be returned
           to vendor for rebilling to Buyer.

           XTO Energy will continue to pay the operator of non -XTO Energy operated
           properties        for joint billings for the billing month   1 200_. All subsequent
                                                                                  of [


           bills will be returned to the operator for rebilling to Buyer, forwarded to Buyer for
           payment, or if already paid by XTO
                                                   Energy, charged against Buyer in the final
           settlement.




           XTO Energy will continue to prepare all regulatory and other monthly production
                through the production month of [
           reports
                                                        1 200_. Copies of reports filed after
           the Effective Time will be provided to Buyer, along with the final ending inventory
           balance.


           Buyer will file all appropriate               documents          of record at the appropriate      courthouses
           and agencies.



           Buyer      will    pay     current    year    ad   valorem        taxes.   Proration   of taxes    through   the

           Effective Time will be handled in the final settlement. Any statements received by
           XTO Energy will be forwarded promptly to the Buyer for payment.




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            XTO Energy will continue to pay all shut -in royalties, minimum royalties, delay
            rentals   and other   lease   obligations through   the   production   month   of [
                                                                                                  1 200_.
            Proration of the amounts paid by XTO Energy, through the Effective Time will be
            reflected in the Final Settlement Statement.




 DYNAMIC        OFFSHORE RESOURCES, LLC                                 XTO OFFSHORE INC.




          BY:                                                           BY:




          NAME:                                                         NAME:




          TITLE:                                                        TITLE:




          DATE:                                                         DATE:




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                                             EXHIBIT      E

                ATTACHED       TO AND MADE A PART OF THAT CERTAIN
                           PURCHASE AND SALE AGREEMENT,
                      DATED EFFECTIVE AS OF AUGUST 1, 2011,
                              BETWEEN XTO OFFSHORE INC.,
                   HHE ENERGY COMPANY, XH, LLC, AS SELLER,
                AND DYNAMIC OFFSHORE RESOURCES, LLC, AS BUYER




                     GAS -PRODUCTION -IMBALANCE ACCOUNTS




July 25, 2011                                                               CUMULATIVE            SALES



                XTO PROPERTY         XTO PROPERTY
PLATFORM             NO                      NAME              OPERATOR     OVER/( UNDER)     MONTH
                                                              APACHE
   HIA365                 402949   HI A365 A UNIT             CORPORATION         911, 229)   12/ 31/ 2008
                                                              APACHE
   HIA376                          HI A376 A 15               CORPORATION          910, 660   12/ 31/ 2008
                                   SMI 268 A 23; OCS          APACHE
   SMI268                 401992   G02310 ( P& A)             CORPORATION             688)     4/ 30/ 2011

                                                              APACHE
   SMI268                 402940   SMI 268 UNIT               CORPORATION              254     4/ 30/ 2011
                                   SMI 269 B 17 -ST           APACHE
   SM1269                 402687   1; OCS G02311              CORPORATION             338)     4/ 30/ 2011
                                   SMI 269 F 01; OCS          APACHE
   SM1269                 401997   G02311                     CORPORATION                86    4/ 30/ 2011

                                                              APACHE
   SM1269                 402941   SMI 269 UNIT               CORPORATION              441     4/ 30/ 2011
                                   SMI 269 B 02D; OCS         APACHE
   SM1269                 401993   G02311 ( INA)              CORPORATION              537     4/ 30/ 2011
                                   SMI 269 B 19; OCS          APACHE
   SMI269                 401996   G02311                     CORPORATION            1, 198    4/ 30/ 2011
                                                              APACHE
   SMI281                 402942   SMI 281 UNIT               CORPORATION             677)     4/ 30/ 2011
                                                              APACHE
   SMI281                          SMI 2811                   CORPORATION             645)     4/ 30/ 2011
                                   SMI 280 102 ST             APACHE
   SMI281                 401862   01; OCS G02600             CORPORATION               25)    4/ 30/ 2011
                                   SMI 281 C 23 ST; OCS       APACHE
   SMI281                 401864   G02600                     CORPORATION                 4    4/ 30/ 2011
                                   SMI 280 I 02; OCS          APACHE
   SMI281                 401863   G02600                     CORPORATION               33     4/ 30/ 2011
                                   SMI 281   E 05A; OCS       APACHE
   SMI281                 402017   G02600                     CORPORATION              148     4/ 30/ 2001
                                   SMI 281 C 11 ST; OCS       APACHE
   SMI281                 402005   G02600                     CORPORATION              231     4/ 30/ 2011
                                   SMI 281 C 04A; OCS         APACHE
   SMI281                 402000   G02600 ( P& A)             CORPORATION              332     4/ 30/ 2011




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               XTO PROPERTY         XTO PROPERTY
PLATFORM            NO                      NAME           OPERATOR     OVER/( UNDER)     MONTH
                                  SMI 281 C 10ST; OCS     APACHE
  SM1281                 402004   G026000                 CORPORATION              759    4/ 30/ 2011

                                                          APACHE

  SM1281                          SMI 281   C& E          CORPORATION           36, 140   4/ 30/ 2011
                                  SS 204 A 24 ST          APACHE
  SS204                  402035   01; OCS G01520          CORPORATION           6, 921)   4/ 30/ 2011

                                  SS 204 A 15 ST          APACHE
  SS204                  402033   01; OCS G01520          CORPORATION           4, 006)   4/ 30/ 2011

                                  SS 204 A 16 ST          APACHE
  SS204                  402034   01; OCS G01520          CORPORATION                56   4/ 30/ 2011

                                  SS 204 A 15 ST          APACHE

  SS204                  402033   01; OCS G01520          CORPORATION                70   4/ 30/ 2011

                                  SS 204 A 15 ST          APACHE

  SS204                  402033   01; OCS G01520          CORPORATION              535    4/ 30/ 2011

                                  SS 204 A 34; OCS        APACHE
  SS204                  401772   G01520                  CORPORATION              707     4/ 30/ 2011

                                  SS 204 A 24 ST          APACHE
  SS204                  402035   01; OCS G01520          CORPORATION              825     4/ 30/ 2011
                                  SS 204 A 35; OCS        APACHE
  SS204                  402037   G01520                  CORPORATION            2, 229    4/ 30/ 2011

                                                          APACHE
  SS204                  402943   SS 204    UNIT          CORPORATION           11, 849    4/ 30/ 2011
                                  SS 206 E 02; OCS        APACHE

  SS206                  402040   G01522                  CORPORATION               152    4/ 30/ 2011

                                  SS 206 E 05; OCS        APACHE
  SS206                  402042   G01522                  CORPORATION            1, 106    4/ 30/ 2011

                                  SS 206 E 04; OCS        APACHE
  SS206                  402041   G01522                  CORPORATION            4, 072    4/ 30/ 2011

                                                          APACHE
  SS207                  402945   SS 207 UNIT             CORPORATION          45, 258)    4/ 30/ 2011

                                  SS 207 A 33; OCS        APACHE
  SS207                  402055   G01523                  CORPORATION             321)     4/ 30/ 2011

                                  SS 207 A 32; OCS        APACHE
  SS207                  402054   G01523                  CORPORATION             188)     3/ 31/ 2000

                                  SS 207 A 33; OCS        APACHE
  SS207                  402055   G01523                  CORPORATION               34)    4/ 30/ 2011

                                  SS 207 D 10; OCS        APACHE
  SS207                  402060   G01523                  CORPORATION                13    4/ 30/ 2011

                                  SS 207 D 09 ( C 06      APACHE
  SS207                  402059   SU); OCS G01            CORPORATION                14    3/ 31/ 2010
                                  SS 207 D 09 ( C 06      APACHE
  SS207                  402059   SU); OCS G01            CORPORATION            1, 224    4/ 31/ 2011

                                  SS 207 E 01; OCS        APACHE
  SS207                  402039   G01523                  CORPORATION            1, 365    4/ 30/ 2011

                                  SS 207 A 32; OCS        APACHE
  SS207                  402054   G01523                  CORPORATION            1, 412    4/ 31/ 2011

                                  SS 207 A 34; OCS        APACHE

  SS207                  401774   G01523                  CORPORATION            1, 993    4/ 30/ 2011

                                  SS 207 A 31 ST          APACHE
  SS207                  402053   02; OCS G01523          CORPORATION            2, 041    4/ 31/ 2011

                                  SS 207 A 04; OCS        APACHE
  SS207                  401773   G01523                  CORPORATION           63, 603    4/ 31/ 2011




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PLATFORM             NO                       NAME           OPERATOR      OVER/( UNDER)      MONTH
                                   SS 216 C 22; OCS        APACHE
   SS216                  403453   G01524                  CORPORATION            11, 286)    4/ 30/ 2011
                                   SS 216 C 23D; OCS       APACHE
   SS216                  401776   G01524                  CORPORATION                114)     4/ 3/ 2011
                                   SS 216 C 23; OCS        APACHE
   SS216                  401775   G01524                  CORPORATION                 67)    4/ 30/ 2011
                                   SS 291 B 02; OCS        APACHE
   SS216                  402580   G02923 ( P & A)         CORPORATION                   4)   4/ 30/ 2011
                                   SS 216 C 07 ST; OCS     APACHE
   SS216                  402062   G01524                  CORPORATION               1, 071   4/ 30/ 2011
                                   SS 291 B 01; OCS        APACHE
   SS291                  402090   G02923 ( P& A)          CORPORATION             24, 107    4/ 30/ 2011
                                   SS 291 B 02; OCS        APACHE
   SS291                  402580   G02923 ( P& A)          CORPORATION             68, 358    4/ 30/ 2011
                                                           ENI
                                   VR 313 D UNIT; OCS      PETROLEUM
  VM313                   403594   G01172                  CO, INC                  1, 544    5/ 31/ 2011
                                                           ENI
                                                           PETROLEUM
   SS247                  402962   SS 247/ 248/ 249 UNIT   CO, INC               453, 217)    5/ 31/ 2011
                                                           ENI
                                   SS 248 D UNIT; OCS      PETROLEUM
   SS248                  402959   G01030                  CO, INC                32, 376)    5/ 31/ 2011
                                                           ENI
                                   SS 248 D & G            PETROLEUM
   SS248                402958     UNIT; OCS G01029        CO, INC                  4, 798    5/ 31/ 2011
                                   EC 014 B 10 ST          MARINER
   EC14                 401900     01; OCS G01440          ENERGY,   INC                  1   9/ 30/ 2010
                                                           MARINER
   EC14              VARIOUS       EC 014 B PLATFORM       ENERGY,   INC            9, 224    9/ 30/ 2010
                                                           MARINER
   E1273                402963     El 273 D UNIT           ENERGY, INC                306)    9/ 30/ 2010
                                                           MARINER
   E1284             VARIOUS       El 284 B                ENERGY,   INC           32, 600    9/ 30/ 2010
                                                           MARINER
   E1292             VARIOUS       El 292 PLATFORM         ENERGY,   INC         255, 197)    9/ 30/ 2010
                                                           MARINER
   E1309                402938     El 309 G UNIT           ENERGY,   INC         462, 342)    9/ 30/ 2010
                                                           MARINER
   EI314                402939     El 314 G UNIT           ENERGY,   INC          103, 392    9/ 30/ 2010
                                                           MARINER
   E1287                403251     El 287 D -1             ENERGY,   INC         278, 278     5/ 31/ 2010
                                   EC 178 01; OCS
   EC178                401901     G27834                  XTO ENERGY                 864     5/ 31/ 2011
                                   El 309 H 01; OCS
   E1309                401933     G00997                  XTO ENERGY            198, 094)    7/ 31/ 2008
   E1309                           El 309 J1 &   1D        XTO ENERGY             95, 137)    1/ 31/ 2011
                                   El 309 J 03A; OCS
   E1309                401938     G00997                  XTO ENERGY             26, 473)    7/ 31/ 2008
                                   El 309 H 15B; OCS
                                   G00997 ( INA) & El
                                   309 H 15C; OCS
   E1309       401829 & 401830     G00997 ( INA)           XTO   ENERGY           19, 148)    7/ 31/ 2008




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               XTO PROPERTY           XTO PROPERTY
PLATFORM              NO                     NAME           OPERATOR    OVER/( UNDER)     MONTH
                                    El 309 J 04; OCS
   E1309                   401940   G02608                 XTO ENERGY           1, 059)   7/ 31/ 2008
   E1309                            El 309 H - 12          XTO ENERGY           46, 024   1/ 31/ 2011
                                    El 309 H 05 ST
   E1309                   401936   02; OCS G00997         XTO ENERGY           60, 141   7/ 31/ 2008
                                    El 309 H 02D; OCS
                                    G00997 ( INA) & El
                                    309 H 04; OCS
   E1309       401934 &    401935   G00997 ( INA)          XTO ENERGY          176, 678   7/ 31/ 2008
                                    El 312 D 01; OCS
   E1312                   401793   G22679                 XTO ENERGY          36, 994)   5/ 31/ 2011
                                    MP 118 A 01; OCS
   MP118                   401966   G22797                 XTO ENERGY          39, 840)   6/ 30/ 2011
                                    MP 125 B 01; OCS
   MP125                   401968   G25019                 XTO ENERGY          13, 314)   6/ 30/ 2011
                                    MP 029 01; OCS
   MP29                    401945   G27196                 XTO ENERGY          27, 788)   6/ 30/ 2011
                                    SMI 109 A 05; OCS
  SMI109                   401980   G24873                 XTO ENERGY             160)    5/ 31/ 2011
                                    SMI 109 A 04; OCS
  SMI109                   401814   G24873                 XTO ENERGY               38)   5/ 31/ 2011
                                    SMI 109 A 03; OCS
  SMI109                   401979   G24873 ( INA)          XTO ENERGY               33)   5/ 31/ 2011
                                    SMI 109 A 02; OCS
  SMI109                   401813   G24873                 XTO ENERGY               10)   5/ 31/ 2011
                                    SMI 109 A 02D; OCS
  SMI109                   401895   G24873                 XTO ENERGY              128    5/ 31/ 2011
                                    SMI 109 A 01; OCS
  SMI109                   401812   G24873                 XTO ENERGY            3, 640   5/ 31/ 2011
                                    SMI 142 A 06C; OCS
  SMI142                   401852   G01216 ( INA)          XTO ENERGY          20, 224)   5/ 31/ 2011
                                    SMI 142 A 03B; OCS
  SM1142                  401983    G01216                 XTO ENERGY          15, 320)   5/ 31/ 2011
                                    SMI 142 A 08D; OCS
  SM1142                  401857    G01216 ( INA)          XTO ENERGY                5)   5/ 31/ 2011
                                    SMI 142 C 03A; OCS
  SMI142                  401890    G01216                 XTO ENERGY               45    5/ 31/ 2011
                                    SMI 142 A 11; OCS
  SMI142                  401767    G01216                 XTO ENERGY               61    5/ 31/ 2011
                                    SMI 142 A 10D; OCS
  SM1142                  403035    G01216 ( P &A)         XTO ENERGY            1, 117   5/ 31/ 2011
                                    SMI 142 A 11 D; OCS
  SMI142                  401768    G01216                 XTO ENERGY            6, 587   5/ 31/ 2011
                                    SMI 142 A 10; OCS
  SMI142                  403034    G01216 ( P& A)         XTO ENERGY          67, 479    5/ 31/ 2011
                                    SMI 040 B 05D; OCS
   SMI40                  401765    G01192                 XTO ENERGY           4, 485)   5/ 31/ 2011
                                    SMI 040 B 01; OCS
   SMI40                  401787    G13607                 XTO ENERGY             642)    5/ 31/ 2011
                                    SMI 040 JA 02; OCS
   SMI40                  401866    G13607 ( INA)          XTO ENERGY                3)   5/ 31/ 2011
                                    SMI 040 B 07; OCS
   SMI40                  402019    G13607                 XTO ENERGY               27    5/ 31/ 2011




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             XTO PROPERTY                XTO PROPERTY
PLATFORM             NO                      NAME                OPERATOR       OVER/( UNDER)               MONTH
                                    SMI 040 B 07D; OCS
   SMI40                  402967    G13607                   XTO ENERGY                          451            5/ 31/ 2011
                                    SMI 040 B 01 D; OCS
   SMI40                  401788    G13607                   XTO ENERGY                        2, 988           5/ 31/ 2011
                                    SMI 040 C 02; OCS
   SMI40                  402020    G13607                   XTO ENERGY                        3, 823           5/ 31/ 2011
                                    SMI 040 C 02D; OCS
   SMI40                  402608    G13607                   XTO ENERGY                        4, 660           5/ 31/ 2011
                                    SMI 041 B 04E; OCS
   SMI41                  401764    G01192                   XTO ENERGY                            14           5/ 31/ 2011
                                    SMI 041 B 02; OCS
   SMI41                  401869    G01192                   XTO ENERGY                          561            5/ 31/ 2011
                                    SMI 041 B 04; OCS
   SMI41                  401887    G01192                   XTO ENERGY                          618            5/ 31/ 2011
                                    SMI 041 B 02ST; OCS
   SMI41                  401868    G011922                  XTO ENERGY                        3, 337           5/ 31/ 2011
                                    SMI 041 B 03; OCS
   SMI41                  401763    G01192                   XTO ENERGY                        5, 052           5/ 31/ 2011
                                    SMI 041 B 05D; OCS
   SMI41                  401889    G01192                   XTO ENERGY                        5, 331           5/ 31/ 2011
                                    SMI 041 B 06; OCS
   SMI41                  401766    G01192                   XTO ENERGY                    10, 725              5/ 31/ 2011
                                    SMI 044 01; OCS
   SMI44                  401804    G23840                   XTO ENERGY                            6)           5/ 31/ 2011
                                    SMI 044 01D; OCS
   SMI44                  401805    G23840                   XTO ENERGY                        7, 219           5/ 31/ 2011
                                    SS 079 A 02; OCS
   SS79                   401789    G15277                   XTO ENERGY                         169)            7/ 31/ 2008
                                    SS 079 A 02D; OCS
   SS79                   401790    G15277                   XTO ENERGY                          516            7/ 31/ 2008

                                                                                        708, 633)




The following Gas Imbalance Accounts are reserved by XTO Energy:


               XTO                 XTO
             PROPERTY        PROPERTY                                                               SALES
PLATFORM        NO             NAME                   OPERATOR              OVER/( UNDER)          MONTH
                            SMI 139 B
                            02D; OCS
SMI139          401851      G21106            MCMORAN OIL & GAS LLC              18, 433. 49      1/ 31/ 2011
                            SMI 139 B
                            01; OCS
SMI139          401792      G21106            MCMORAN     OIL & GAS LLC          34, 215. 51      1/ 31/ 2011
                            SMI 139 B
                            02; OCS
SMI139          401850      G21106            MCMORAN OIL & GAS LLC              47, 411. 35      1/ 31/ 2011
WC485/ 507    VARIOUS       WC 485            XTO ENERGY                         24, 177. 36      7/ 31/ 2008
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                                  WC507C
                                  01; OCS
WC507                    401782   G02549    XTO ENERGY            17, 780. 19   7/ 31/ 2008

                                                                 142, 017. 90




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                                                            EXHI     IT F
                   ATTACHED                TO AND MADE                  ART OF THAT CERTAIN
                                     PURCHASE AND SAL                     AGREEMENT,
                             DATED EFFECTIVE AS OF AUGUST 1, 2011,
                                         BETWEEN            XTO OFFSHORE             INC.,
                         HHE ENERGY COMPANY, XH, LLC, AS SELLER,
                  AND DYNAMIC                   OFFSHORE           RESOURCES,         LLC, AS BUYER



                         ENVIRONMENTAL                      ASSESSMENT            AND TESTING


        CONFIDENTIALITY, RELEASE AND INDEMNIFICATION AGREEMENT


                                                        BUYER FORM)




         In    connection    with        the     possible   sale   by XTO       ENERGY INC. ( " XTO                Energy ")         to
                                                                   Buyer ")     of certain      properties     located        in    the

Federal Outer Continental Shelf and/ or Plaquemines Parish, Louisiana, more fully described in
the    Purchase        and     Sale        Agreement         between           XTO   Energy        and       Buyer       effective

                                the " Properties "), and in consideration             for and as a condition of Buyer' s
and   its Representatives' (        as hereinafter defined) being allowed:

          1)      to examine and copy certain non -public, confidential, and proprietary information
                  provided by XTO Energy relating to the environmental and physical condition of
                  the Properties, and


          2)      access to the Properties to conduct an environmental assessment thereon,


XTO Energy and Buyer agree as follows:

                  A.         As     used       herein, the term " Information" refers to all environmental                         data

                             and reports provided by XTO Energy to Buyer and all information and
                             data obtained by, taken, or discovered from XTO Energy or the Properties
                             as a result of Buyer' s and its Representatives' environmental assessment
                             and due diligence, including, but not limited to, soil samples and water
                             samples.            All   reports,    analyses,    compilations,      data,     studies,    or    other


                             materials prepared by Buyer or its Representatives that are based, in whole
                             or     in   part,     on any Information           shall also be included             in the term
                               Information ".          The following will not constitute Information for purposes
                             of this Agreement:


                               1)        information which is available to the public at the time of receipt
                             by Buyer;

                             2)     information which becomes available to the public subsequently
                             without breach of this Agreement by Buyer; and


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                           3) —    information which is known to Buyer before receipt or discovery
                          of Information         in connection          with this Agreement         in circumstances    not

                          involving breach of a confidentiality obligation.

          a)    Buyer hereby agrees that:

                           1)      should Buyer undertake an environmental assessment, both the
                          consultant (     if consultants         are employed)       and the scope      of the proposed

                          assessment, including test protocols, must be approved in writing by XTO
                          Energy before         the        may begin.
                                                        work           Buyer and its Representatives and
                          subcontractors        will follow the ExxonMobil Subsurface Clearance Protocol

                          and associated checklist if sampling or any other work includes drilling or
                          excavation       of
                                              any kind.    ExxonMobil will provide said Subsurface
                          Clearance      Protocol and associated checklist to the Buyer for review prior

                          to conducting an environmental assessment if sampling or any other work
                          includes drilling or excavation of any kind;

                          2)       it shall use the Information solely for the purpose of environmental
                          evaluation of the Properties               and for no other purpose;


                          3)     it shall keep the Information confidential and shall not divulge any
                          of the Information to any party except those of its Representatives who
                          need to know the information in order to carry out Buyer' s evaluation of
                          the Properties;       and


                          4)       subject to the provisions of Paragraph J of this Agreement, it shall

                          be responsible for enforcing the maintenance of confidentiality of the
                          Information and shall take such action, legal or otherwise, to the extent
                          necessary to prevent or remedy any disclosure                            through Buyer or its
                          Representatives.


          b)    Buyer     shall    be     responsible          for     any   breach    of   this     Agreement by its
                Representatives.


          c)
                Without the other Party' s written consent, no public announcement or statement
                with respect to any potential transaction between XTO Energy and Buyer, or with
                respect    to   Buyer' s    or    its    Representatives'       participation      in   an   environmental

                assessment, shall be made unless, in the opinion of XTO Energy' s or Buyer' s
                counsel, XTO Energy or Buyer is required to make a disclosure under the
                Securities Act of 1933, the Securities Exchange Act of 1934, or any other law or
                regulation.




          d)    Buyer will provide XTO Energy with at least five days written notice before its
                desired date for testing the Properties and at least 24 hours written notice before
                its desired date for assessing the Properties and will specify in the notice the
                desired locations to be tested or assessed. XTO Energy will have the right to be

                present during any testing or other assessments and will have the right to require
                splitting of all samples.



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           e)        Buyer and its Representatives will provide XTO Energy with a preliminary report
                     and access to drafts of all other reports, data, and other information produced or
                     obtained by Buyer or its Representatives as a result of the environmental
                     assessment      and    testing before       a   final   version    of    any   report   is    written.   After

                     receiving the preliminary report and reviewing any other reports, data, and other
                     information, it desires, XTO Energy shall have the opportunity to provide Buyer
                     and its Representatives with comments and additional information. Buyer and its
                     Representatives agree to review the comments and information before a final
                     version of any report is written. Upon completion of the final reports, Buyer and
                     its Representatives will provide XTO Energy with copies of all reports, data, and
                     other information produced or obtained by Buyer or its Representatives as a result
                     of the environmental assessment and testing.

           f)        Except for Buyer' s due diligence efforts, which are solely of an information -
                     gathering nature, XTO Energy retains all rights to contact, discuss, and notify any
                     governmental and regulatory bodies in connection with any Information,
                     including any public information, disclosed under this Agreement or discovered
                     in the preparation       of   Buyer' s environmental          assessment.       Except for Buyer' s due
                     diligence efforts, which are solely of an information- gathering nature, neither
                     Buyer nor its Representatives may make any governmental contacts not
                     specifically authorized by XTO Energy unless the failure to make that contact is a
                     violation of law or regulation, in which case, Buyer will give XTO Energy 10
                     days notice before the contact.


           g)        Buyer agrees that XTO Energy would be irreparably injured by a breach of this
                     Agreement and that XTO Energy is entitled to equitable relief by way of
                     injunction if Buyer breaches or threatens to breach any of the provisions of this
                     Agreement.    This remedy will not be deemed to be the exclusive remedy for
                     breach, but will be in addition to all other remedies available to XTO Energy at
                     law or in equity.

           01)       XTO Energy makes no representation or warranty, express or implied, as to the
                     accuracy or completeness of the Information. XTO Energy will have no liability
                     to Buyer from Buyer' s use of the Information.  Buyer will rely upon its own
                     investigation    and evaluation        with respect to the environmental                     condition   of the
                     Properties.


           i)        If Buyer does not acquire the Properties for any reason, then upon XTO Energy' s
                     request to Buyer, Buyer and its Representatives                         shall return all Information         to

                     XTO Energy and shall destroy all materials prepared by it or its Representatives
                     that incorporate the Information pertaining to the Properties.

           j)        If Buyer or any of its Representatives is requested or required by oral questions,
                     documents, subpoena, civil investigative demands, interrogatories, requests for
                     information, or other similar process to disclose any Information supplied or
                     discovered in connection with this Agreement, Buyer agrees that it will provide
                     XTO    Energy         with    notice   of   the    request(   s)   so XTO Energy may seek an



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                appropriate        protective    order or waive Buyer' s compliance    with the provision     of
                this Agreement.          The Parties agree that, if in the absence of a protective order or
                the receipt of a waiver under this Agreement, Buyer or any of its Representatives
                is nevertheless, in the opinion of that Party' s counsel, required to disclose the
                information or portion of it to any tribunal or agency having jurisdiction or else
                stand liable for contempt or suffer other censure or penalty, Buyer or its
                Representatives may disclose the Information or portion of it to the tribunal or
                agency having jurisdiction without liability under this Agreement.

          k)    Buyer assumes all responsibility for and all risk of damage or injury that may
                occur to Buyer and its Representatives in the course of any visit to the Properties
                and in conducting the environmental assessment whether caused by XTO
                Energy' s:

                            1)        active or passive, joint, concurrent, or sole negligence, or

                            2)        strict liability.

                 Buyer hereby releases XTO Energy from any liability resulting in the course of
                 the visit and environmental assessment whether that liability is caused by XTO
                                                   Energy' s:
                            1)        active or passive, joint, concurrent, or sole negligence, or

                            2)        strict liability.

          m)
                Buyer will defend, protect, indemnify, and hold XTO Energy harmless from and
                against any and all losses, liabilities, claims, demands, and causes of action of
                every kind on account of personal injuries, illnesses, or death of persons or
                damage to or loss of property ( including, but not limited to, damage to XTO
                Energy' s property) resulting directly or indirectly from the use of, occupancy of
                visitation to, or environmental assessment of the Properties by Buyer and its
                Representatives,         even if the personal injuries, illnesses, death of persons, or
                damage to or loss of property is caused by XTO Energy' s:
                            1)        active or passive, joint, concurrent, or sole negligence, or

                            2)        strict liability.

          n)
                Buyer agrees to comply fully with all rules, regulations, and instructions issued by
                XTO Energy regarding the actions of Buyer and its Representatives while upon,
                entering, or leaving the premises of XTO Energy' s property.
          o)
                The provisions of this Paragraph K do not apply to XTO Energy' s gross
                negligence        or willful   misconduct.

          p)    As   used        here, the term " Representatives"   shall   mean:    the officers,   directors,
                employees, legal counsel, accountants, financial advisors, consultants, agents, and
                representatives of Buyer, its partners, subsidiaries, and Affiliates.




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          q)    This Agreement is in addition to, and not in lieu of, any other confidentiality,
                release, or indemnification agreements signed by Buyer or its Representatives
                relating to the proposed transaction or the Properties.

          r)    This Agreement will be binding upon and inure to the benefit of XTO Energy and
                Buyer and their respective successors and assigns.


          s)    This Agreement shall be governed by and construed in accordance with the
                internal laws of the State of Texas.


          t)    If Buyer does not purchase the Properties, this Agreement shall expire five years
                after the date the Information is returned to XTO Energy or Buyer certifies   that
                all materials prepared by Buyer or its Representatives incorporating the
                Information   have been destroyed,     whichever   is later.




 DYNAMIC OFFSHORE RESOURCES,                  LLC                     XTO ENERGY INC.




      BY:                                                     BY:




      NAME:                                                   NAME:




      TITLE:                                                  TITLE:




      DATE:                                                   DATE:




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                                      EXHIBIT G
               ATTACHED TO AND MADE A PART OF THAT CERTAIN
                      PURCHASE AND SALE AGREEMENT,
                    DATED EFFECTIVE AS OF AUGUST 1, 2011,
                        BETWEEN XTO OFFSHORE              INC.,
                  HHE ENERGY COMPANY, XH, LLC, AS SELLER,
               AND DYNAMIC OFFSHORE RESOURCES, LLC, AS BUYER




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                                                  EXHIBIT H
              ATTACHED          TO AND MADE A PART OF THAT CERTAIN
                          PURCHASE AND SALE AGREEMENT,
                     DATED EFFECTIVE AS OF AUGUST 1, 2011,
                               BETWEEN            XTO OFFSHORE               INC.,
                  HHE ENERGY COMPANY, XH, LLC, AS SELLER,
             AND DYNAMIC            OFFSHORE           RESOURCES,              LLC, AS BUYER


                                GEOLOGICAL REQUIREMENTS



NO. OF
COPIES                        ATTENTION                             REOUIRED/             REOUESTED               INFORMATION


2                 Designated        Landman /            Drilling      Application/ Permit,            Location Plat with Elevation,
                  Reservoir    Engineer                  Completion         Report,       Abandonment                 Report,    FERC       Filings,
                                                         Federal MMS Filings and all other regulatory reports

1                 Reservoir    Engineer                  Casing Program; Completion Procedure ( when applicable)

1                 Designated    Geologist                Daily Mud Logs/MWD Logs ( Petrolink preferred); if available,
                                                         E -mail daily to loma. m.campbell @exxonmobil. com

2                 Designated    Geologist                DST Reports /Charts, DST Fluid and Gas Sample Analysis
                                                         Sample Descriptions,             Core Descriptions               and Analyses,          Final
                                                         Copy     of    Mud        Log:       Fax     to     281 - 654 -7763        and    Mail      to
                                                         Designated            Geologist;             E -mail            digital         data        to
                                                         loma.m.campbell @exxonmobil. com


                  Designated        Geologist /          Casing Approval or P & A Approval ( as required by Contracts)
                  Reservoir    Engineer


3 Field &         Designated    Geologist                Wireline Logs ( as soon as available)                    Fax to 281- 654 -7481 and
3 Final                                                  E -mail to loma.m.campbell@exxonmobil. com; Mail log prints

1                 Designated    Geologist                Mail     LAS       diskette      of wireline          logs;     E -mail     LAS     file    to
                                                         lorna. m. campbell @exxonmobil. com


1                 Designated Geologist                   Geological         Correspondence            and      information,        Paleo    Report,
                                                         Slabbed Section of Cored Interval, ( if applicable)


1                 ExxonMobil      Global    Services     One    set    of   wet
                                                                                    cutting     samples         to:     Attn:      Ric    Coronado,
                                                         ExxonMobil          Global      Services,         Geologic      Warehouse,        300      Old
                                                         Choate     Road, Houston,            Texas        77034 - - -- Phone:     281 - 925 - 3718,

                                                         Fax 281 - 925 -3888



1                 Designated    Landman                  Land Correspondence, Operating Agreements, Payout Notices,
                                                         Well Proposals,          etc.


1                 Designated    Geophysicist             Geophysical        Data
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1                  Reservoir   Engineer                   Monthly Production Reports ( including gas, oil, and water with
                                                          producing days and FTP), Pressure Surveys ( Bottomhole and
                                                          Surface),    Annual Back Pressure Deliverability     Tests, Gas and
                                                          Water Analyses


                 DAILY DRILLING AND COMPLETION REPORTS/ MWD LOGS
                  Designated   Geologist                    Email daily by 7 a. m. to Operations Geology one copy of
                                                            detailed               report.                 Email         to

                                                            lorna. m. campbell @exxonmobil. com


                                          24 HOUR   NOTIFICATION
                  Designated   Geologist                    Log Runs,     Tests,   Changes m Evaluation   Programs, (
                                                                                                               Notify
                                                            Designated Geologist or, if unavailable, Mike T Farrell @
                                                            281 -654 -1761




                                    EXXON      MOBIL    CORPORATION
                                                 222 Benmar
                                                P. O. Box 4778
                                    Houston,   Texas   77060,   77210 - 4778
                                      Continuous    Fax: 281 - 654 - 7481



DESIGNATED   GEOLOGIST:            Lorna M. Campbell        Office       281 - 654 -2968
DESIGNATED   GEOPHYSICIST:         Lorna M. Campbell        Office       281 - 654 - 2968

GEOSCIENCE   MANAGER:              Lorna M. Campbell        Office       281 - 654 -2968
DESIGNATED   LANDMAN:              Jeffrey McDonald         Office       281 - 654 - 1992
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                                                                   EXHIBIT I
                       ATTACHED                  TO AND MADE A PART OF THAT CERTAIN
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                                    DATED EFFECTIVE                       AS OF AUGUST 1, 2011,
                                                 BETWEEN XTO OFFSHORE INC.,
                             HHE ENERGY COMPANY, XH, LLC, AS SELLER,
                      AND DYNAMIC                      OFFSHORE           RESOURCES,            LLC, AS BUYER




                                          TRANSITION              SERVICES AGREEMENT


          THIS TRANSITION                        SERVICES         AGREEMENT ("             Agreement")      is entered into this
day      of     August,         2011,            by       and     between                                 with      an   address      of

                                                         referred to     herein   as "   Contractor "),   and ,                        a

                                     with        an address      of (                                                         referred

to herein as " Company").                  Contractor and Company are sometimes collectively referred to herein
as   the " Parties ", and each a " Party".



          WHEREAS,            effective          as    of the   1st day of August, 2011 ( " Effective Date "), Company and
Contractor      entered      into    a   Purchase        and    Sale Agreement ( " PSA ") providing           for the sale of certain
Contractor owned Interests as described in Section 1. 19 of the PSA, as well as certain platforms,
pipelines, flowlines, and facilities associated with the Interests ( the " Property" or " Properties ")
that are either operated by Contractor or outside operated; and

          WHEREAS, said PSA provides for a Closing Date on or before August 31, 2011, unless
otherwise extended; and




          WHEREAS, Company has requested that Contractor continue to operate and provide
operational and accounting related services for the Interests and Properties for a period of time
after the Closing Date in order to effect an orderly transfer from Contractor to Company of the
operational, accounting, marketing, and other matters associated with the Interests and Properties
in accordance with terms of this Agreement and the PSA; and


          WHEREAS,             as an accommodation to Company, subject to Closing under the PSA,
Contractor          has agreed to continue to operate the Interests                          and Properties       as set forth in this
Agreement.


          NOW, THEREFORE,                         based upon the mutual covenants                  and considerations       contained
herein, Contractor and Company agree as follows with respect to the Contractor operated
Interests and Properties only:

1.        SCOPE OF SERVICES:                            Subject to the provisions in Article 3 below, from the Closing
          Date       until   7: 00       a. m.    on    November        30, 2011 ( " Transition Period "),           Contractor    shall
          perform transition services for Company as set forth below. The services to be provided
          by Contractor to Company in this regard ( the " Services ") shall include, to the extent
          reasonable and applicable, the following:



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          A) Operational -related services:

                 1)   Contractor shall employ such personnel as may be reasonably necessary for the
                      efficient and safe operation of the Interests and Properties. During such period,
                      Contractor shall retain all employee payroll and benefit obligations, including,
                      but not limited to, the withholding and depositing of payroll taxes, with respect
                      to its employees that perform the Services required under this Agreement;


                 2)   Contractor shall purchase supplies, materials, tools, facilities, and equipment as
                      may be reasonably necessary for the efficient and safe operation of the subject
                      Interests and Properties;


                 3)   Contractor shall contract for services as may be reasonably necessary for the
                      efficient and safe operation of the subject Interests and Properties;


                 4)   Contractor shall provide marketing, gas control and other similar services
                      necessary to sell the products produced from the Interests and Properties in a
                      manner    consistent     with Contractor' s past practices;            provided      that Contractor

                      will not alter the current marketing arrangement without Company' s consent;

                 5)   Contractor shall inform the Company of any pending or threatened action or
                      investigation     of which      the     Contractor     receives     written      notice     and    which
                      Contractor believes in good faith could have an adverse impact on the Interests

                      and Properties, including all actions initiated or investigations threatened by a
                      third party or governmental authority under applicable environmental laws;

                 6)   Contractor      shall   execute routine         contracts     or documents         as necessary       for
                      carrying on business related to the Interests and Properties during the Transition
                      Period,   provided,     however,    that Contractor         shall not, without      the prior written
                      consent   of
                                      Company, ( i)   approve
                                                                   any Authority        for Expenditure ( " AFE "); ( ii)
                      issue any AFEs; ( iii) enter into any single contractual arrangement that would
                      result in a charge, obligation, or liability in excess of a gross amount of Two
                      Hundred      Fifty   Thousand      dollars ($    250, 000. 00);     or (   iv)   enter    into   pipeline
                      construction contracts;



                 7)   Contractor shall timely submit returns, reports, and responses to state, federal,
                      or regulatory authorities due during the Transition Period, as appropriate, and
                      provide copies of such filings to Company; and

                 8)   Contractor shall provide assistance, as reasonably requested by Company, in
                      familiarizing Company' s personnel ( including contract personnel) with the
                      operation of the subject Interests and Properties during the Transition Period.

                 9)   Contractor shall provide access and use of the Interests and Properties for the
                      Company to witness the installation,               operation, maintenance,           calibration and
                      repair of equipment and facilities related to the Interests and Properties.




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                10)   If requested, Contractor shall provide helicopter transportation for the Company
                      representatives to and from platforms and other facilities related to the Interests
                      and     Properties on       a space - available          basis       on   regularly scheduled       trips.     If space

                      is unavailable on regularly scheduled helicopter trips, Company may request
                      specific  transportation and   flight arrangements with forty -eight ( 48) -hours
                      written  notice.
                                       Any additional costs associated with Company requested non-
                      regularly scheduled trips will be reimbursed to Contractor.

                11)   Contractor shall provide quartering for Company representatives on platforms
                      associated      with      the Interests        and     Properties.          Company, to the extent possible,
                      shall give Contractor reasonable notice of expected personnel to be quartered.
                      If space is limited, Contractor and Company will work together to ensure that
                      the limited space can be utilized for the mutual benefit of both parties.


                12)   In the event of an emergency, including but not limited to an explosion, fire, or
                      other occurrence that may threaten life, property or the environment, Contractor
                      shall have the right to take actions, which in the Contractor' s sole discretion,                                   are

                      necessary and appropriate to prevent, remedy or otherwise mitigate the effects
                      of such emergency including the right to shutdown operations associated with
                      the     Interests         and     Properties,          and
                                                                                        temporarily        discontinue     the      Services

                      contemplated by this Agreement to make any necessary changes or repairs, and
                      shall not be liable to the Company for any such action or inaction. Contractor

                      shall notify Company by telephone of such emergency as soon as practicable,
                      followed promptly by written notification of such emergency and such actions
                      taken.


                13)   In the event of a hydrocarbon leak or spill emanating from platforms or
                      pipelines       associated         with    the       operations           of the     Interests     and   Properties,

                      Contractor shall have the responsibility for the appropriate reporting of such
                      leak or spill to the Bureau of Ocean Energy Management, Regulation and
                      Enforcement ( " BOEMRE ") district office, the National                                   Response Center and
                      any     other   regulatory         agencies       as     may be
                                                                           However, it is expressly
                                                                                               required.


                      understood that upon approval by the BOEMRE of the Designation of Operator
                      forms submitted by the Parties in connection with the PSA, Contractor will no
                      longer be authorized to contact the BOEMRE on behalf of Company, such that
                      Company will have this responsibility and Contractor will notify Company
                      immediately in the event of said leak or spill and provide Company with
                      information available to Contractor appropriate for Company' s response to the
                      BOEMRE.          All costs and risks associated with said leak or spill shall be the sole

                      responsibility of the Company.

                14)   For purposes         of    this   Agreement "            Force Majeure" shall be defined                     as acts of
                      God,      strikes,         lockouts       or      other           industrial     disturbances,       governmental

                      intervention         or    suspensions,           acts       of    the    public
                                                                                                      enemy, wars, blockades,
                      insurrections,         riots,     epidemic,          lighting,        earthquakes, fires, storms, floods,
                      washouts,       arrests     and restraints           of government             and people,   civil disturbances,

                      explosions, breakage or accident to machinery or lines of pipe, freezing of wells


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                       or lines of pipe, partial or entire failure of wells or any other causes, whether of
                       the kind herein enumerated, not reasonably within the control of the Contractor.
                       In the event of Force Majeure, Contractor shall:

                      a)        not be liable to the Company for failure to perform any of the obligations
                                under      this    Agreement,          other than the obligation              to make monetary
                                payments,         to    the   extent        such   performance         is   hindered,   delayed   or

                                prevented by Force Majeure;

                      b)        promptly give written notice to Company stating in reasonable detail the
                                circumstances underlying such Force Majeure;

                      c)        diligently use all reasonable and prudent efforts to remove the cause,
                                condition, event or circumstance of such Force Majeure; and


                      d)        promptly give written notice to the Company of the termination of such
                                Force Majeure and resume performance of any suspended obligation as
                                soon as reasonably possible after termination of such Force Majeure.

          B)          Accounting- related services:

                 1)    On or before sixty ( 60) days after the end of the production month, Contractor
                       shall identify all cash, checks, or other proceeds received and paid which relate
                       to the Interests and Properties. During such period, Contractor shall prepare and
                       deliver to Company a settlement statement indicating all Transition Period
                       revenues,        receipts       or   other   proceeds       and   costs   and    expenditures,    which    are

                        attributable       to that production month. The form and content of such statement
                        shall    be   in
                                    substantially the same form as the attached      Exhibit A ( the
                        Settlement Statement "). On or before sixty ( 60) days after the end of the
                       production  month,  Contractor shall remit to Company, the net amount
                        calculated as set forth on the Settlement                        Statement. All remittances        shall be
                       made by wire transfer of immediately available funds to the account of
                       Company, as may be specified by an authorized representative of Company in
                       writing in accordance with Article 23 of the PSA. For any expenses that could
                       not be offset by revenues as provided for herein, payment shall be sent to
                        Contractor at the address provided in Article 23 of the PSA;


                 2)     Contractor shall perform all revenue accounting functions relating to the
                        Interests and Properties, including disbursement of revenue proceeds to all
                       working interest, third party, royalty and overriding royalty owners as well as
                       all rentals, severance or production taxes, and right -of w
                                                                                 - ay payments and any
                        and     all lease,    minimum          or advance          payments      due in the normal       course    of

                       business during the Transition Period. If any revenue is received by Contractor
                       for later months, it will be credited one hundred percent ( 100 %) to Company in

                       a final settlement statement or forwarded to Company when received; provided,
                       however, that Contractor will not pay any royalties or severance taxes out of
                       such later months' revenues. Company shall be responsible for the payment of
                       royalties      and severance           taxes,       if applicable,   to be paid       after the end of the



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                       Transition Period. Regardless of the revenue accounting functions performed
                       by Contractor during the Transition Period as a result of this paragraph, all
                       disbursements to working interest, third party, royalty and overriding royalty
                        owners, as well as all rentals, severance or production taxes, and right -of w
                                                                                                     - ay
                       payments and any and all lease, minimum or advance payments due in the
                       normal course of business, remain the obligations of the Company.

                 3)    Contractor shall bill the joint owners for expenses paid during the term of this
                       Agreement. All expenses paid by Contractor after the end of the Transition
                        Period    will    be   accumulated       and       charged     one     hundred      percent (   100 %)   to

                        Company or the invoices will be returned to the vendor for rebilling to
                        Company.

                 4)     Contractor shall prepare all regulatory and other monthly production reports due
                        during the Transition Period.

                 5)     Contractor shall provide assistance, as reasonably requested by Company, in
                        familiarizing Company' s personnel ( including contract personnel) with the
                        accounting, reporting and distribution requirements concerning the subject
                        Interests and Properties during the Transition Period.

2.        CHARGES           PAID     BY        COMPANY:              As    consideration       for    the performance      of the

          Services, Company shall compensate Contractor in accordance with the terms of this
         Agreement        and as follows:


          A)          Operation    and    Maintenance Expenses:               A fixed monthly rate for operation and
                      maintenance        expenses    and other miscellaneous             costs and expenses         incidental   to

                      the operation, protection, and maintenance of the Interests and Property ( but
                      excluding costs under paragraph ( B) below) based on the average operation,
                      maintenance, and miscellaneous costs and expenses for each Interest for the three -
                      month period before the Effective Date;

          B)          Other Costs:       Reimbursement for workover costs, plugging, abandoning, and re-
                      abandoning     costs,       CO2    purchases,       prepaid    items (   e.   g., utility charges, rentals,
                      deposits and any other prepays excluding taxes) prorated before and after the
                      Effective Date, and other major costs incurred by XTO Energy incidental to the
                      operation, protection, and maintenance of the Interests and Property, on an actual -
                      cost basis; and


          C)          Overhead:      During        the   Transition Period,          Company shall pay Contractor an
                      overhead    rate    equal   to twelve    and    one    half percent (         12. 50 %) of the sum of the

                      amounts under paragraphs 2( A) and 2( B) above, excluding, however, the cost of
                      insurance   coverages.        At such time that, ( i) thirty ( 30) days have elapsed               from the
                      Closing Date, ( ii) any and all forms, documents and permits necessary or required
                      by the Bureau of Ocean Energy Management, Regulation and Enforcement
                        BOEMRE")       to transfer the operatorship of the Properties operated by
                      Contractor to Company, or to a third party in the event Company cannot succeed


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                   Contractor      as operator, have been submitted to the BOEMRE,                  and ( iii) a list of
                   such filings with the BOEMRE                      has been provided to Contractor,        then the
                   overhead      rate   shall   be reduced    from 12. 5% to 5 %.


          D)       Salaries, Wages,         etc.:    Company will pay Contractor' s employee costs ( salaries,
                   wages and benefits, and workers' compensation insurance costs) attributable to
                   Contractor      personnel        located   on or associated    with the Interests   and Properties

                   during the Transition Period.

3.       TERM:    The term of the Agreement shall be from the Closing Date until 7: 00 a.m. on
         November 30, 2011, unless terminated earlier by Company upon thirty ( 30) days prior
         written notice, or as extended in writing by mutual agreement of the Parties. If Company
         provides less than thirty (30) days' written notice of termination of this Agreement, then
         Company will be responsible to pay any fees or charges incurred by Contractor for
         cancelling service contracts that require thirty (30) days' written notice to terminate. Said
         fees or charges incurred by Contractor for the time period that the service contracts
         remain in place, during the thirty ( 30) day termination period, will be reflected on the
         applicable      Settlement      Statement.       In no event shall this Agreement be terminated with
         less than ten ( 10) days written notice.


4.       REGULATORY               CHANGE            IN OPERATORSHIP:           The Parties shall work together to
         ensure that the appropriate documentation and other measures are taken for Company ( or
         its designee)   to become operator -of-record as concerns the applicable regulatory
         agencies,      upon the termination         of the operational - related services.


5.       PERMITS: It is understood that certain permits necessary for operation of the Interests
         and Properties may not have been obtained by Company by the Closing Date, and under
         the     PSA,    under    certain       circumstances,       Closing may take place notwithstanding         the
         pending transfer to Company of permits or receipt of replacement permits by Company.
         In such case, and in consideration for the granting to Company the right to operate under
         the authority of the permits during the Transition Period, Company shall grant Contractor
         authority to advise regarding certain aspects of Company' s operations as follows:

          A)       Contractor shall advise Company regarding placement of personnel in positions
                   that Contractor believes are critical to permit compliance activities, and Company
                   agrees to consider in good faith Contractor' s instruction                      in selecting   such
                   personnel during the Transition Period.

          B)       Unless otherwise agreed, Contractor shall advise regarding Company' s planned
                   procedures       to maintain         the operations      and   activities   under the permits     in
                   compliance with applicable laws. Company shall advise Contractor of procedures
                   prior to implementation.


          C)       Company shall update Contractor weekly on progress and expected timing of full
                   transfer of permits not transferred to Company prior to Closing.




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6.       DISCLAIMER             OF       WARRANTIES:                 NOTWITHSTANDING                 ANY        OTHER
         TERMS IN THIS AGREEMENT, CONTRACTOR, ITS AFFILIATES AND ITS
         AND     THEIR          OFFICERS,              DIRECTORS,               EMPLOYEES,          AGENTS            AND
         REPRESENTATIVES (                  THE "       CONTRACTOR                 GROUP ")     MAKE         NO,      AND
         DISCLAIM         ANY,      REPRESENTATIONS                      AND      WARRANTIES,            EXPRESS       OR
         IMPLIED,        WITH       RESPECT           TO THE         PERFORMANCE              OF THE        SERVICES,
         AND CONTRACTOR                    GROUP            SHALL        HAVE     NO LIABILITY            FOR, OR       IN
         CONNECTION            WITH, ANY AND ALL CLAIMS,                            DEMANDS,        SUITS,     CAUSES
         OF ACTION,           LOSSES,          DAMAGES,             LIABILITIES,       FINES,     PENALTIES           AND
         COSTS ( INCLUDING                 REASONABLE                ATTORNEYS'          FEES AND COSTS OF
         LITIGATION)             ARISING             OUT            OF    OR       RESULTING             FROM         THE
         PERFORMANCE                 OR        NONPERFORMANCE                       OF    THE       SERVICES           BY
          CONTRACTOR             GROUP            OR CONTRACTOR                 GROUP' S CONTRACTORS                   OR
          SUBCONTRACTORS                  OF ANY TIER.


7.       ASSIGNMENT:            Neither this Agreement nor the rights and obligations under it may be
         assigned or delegated by either party without prior written consent of the non -assigning
         party, which consent may be withheld for any reason. If such consent is withheld, any
         attempted assignment or delegation shall be null and void.


8.       NOTICE:       All notices, requests and other communication                 shall be provided in accordance
         with Article 23 of the PSA.


9.       MEDIA STATEMENTS: Contractor shall have no obligation to make any statements to
         the media     with   respect    to Services        performed     under   this Agreement.        Contractor   shall

         refer all media inquiries concerning the Interests and Property during the Transition
         Period to Company.

10.      INSURANCE:


         A.      In accordance          with      Section    8. 08 of the PSA,       Contractor    shall terminate      all

                 insurance it has provided with respect to the Interests and Property as of the
                 Closing Date, except to the extent that insurance is required by or provided under
                 a joint operating or similar agreement which, in such case, Company shall take
                 over stewardship of such insurance policies on behalf of the non -operators.
                 Company shall obtain insurance coverage for the Interests and Property during the
                 term of this Agreement. Notwithstanding the foregoing, Contractor shall continue
                 to provide workers' compensation coverage for Contractor employees located on
                 or associated with the Interests and Properties during the Transition Period.

         B.      Notwithstanding any contrary provision of the PSA or this Agreement, Company
                 agrees that all of its property and liability insurance policies in any way related to
                 the  Interests and Property and liabilities in connection therewith ( including,

                 without limitation, the policies for which Company is assuming stewardship
                 under    Article       10( A),    above,    but    expressly     excluding   workers'     compensation

                 policies),
                            whether or not required by this Agreement or the PSA, will, to the
                 extent of the risks and liabilities assumed by Company in this Agreement, name


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                 Contractor Group ( as defined in Article 6 of this Agreement) and its and their
                 contractors and subcontractors of every tier (hereafter referred to collectively with
                 Contractor Group           as "   Contractor Indemnitees") as additional insureds on a broad

                 form basis ( with such additional insured coverage including coverage for the sole
                 or concurrent negligence of the additional insured and not being restricted to ( i)
                  ongoing operations," ( ii) coverage for vicarious liability, or (iii) circumstances in
                 which    the    named        insured        is     partially    negligent),    waive       subrogation     against

                 Contractor Indemnitees, and be primary and exclusive of any other existing valid
                 and collectible insurance providing any coverage to any of the Contractor
                 Indemnitees.


       C.        Company and Contractor agree that as respects all services performed by or on
                 behalf of Contractor              in Louisiana,           or offshore    Louisiana,     that are subject to the

                 Louisiana Anti- Indemnity Act, Contractor ( on behalf of itself and the Contractor
                 Indemnitees, as defined above) will timely pay to Company' s insurers ( or their
                 agent or representative) the premium required by their insurers for extending all
                 of Contractor' s liability insurance policies to include coverage for any claims for
                 bodily injury or death asserted against any of the Contractor Indemnitees as
                 required under this Agreement ( including naming them as additional insured,
                 waiving subrogation, and being primary), and such insurance protection shall be
                 governed
                           by Louisiana law. Company will arrange to have Contractor billed for
                 that premium    by Company' s insurers ( or their agent or representative), and
                 Company will advise Contractor prior to the execution of this Agreement if such
                 premium        will   be    in     excess        of     one   thousand     dollars ($     1, 000. 00).    At   each

                 subsequent renewal of Company' s insurances, Company will advise Contractor as
                 respects the amount of the premium required for such extensions                                    and arrange to
                 have    Contractor billed           for the             by
                                                                    appropriate       premium            their   insurers ( or their
                 agent
                                           Company warrants that such amount constitutes the full
                         or representative).


                 cost of extending such insurance protection to all Contractor Indemnitees.

11.    CHOICE       OF LAW:            This Agreement                    and its performance      will, except to the extent

       expressly provided to the contrary, be construed in accordance with, and enforced under,
       the internal laws of the State of Texas, without regard to choice of law rules of any
       jurisdiction, including Texas. -

12.    DISPUTES / CLAIMS / INDEMNIFICATION:


       COMPANY            AGREES             TO       RELEASE,                 DEFEND,       INDEMNIFY              AND     HOLD
       CONTRACTOR                INDEMNITEES (                    AS DEFINED              IN ARTICLE 10( B) OF THIS
       AGREEMENT)               HARMLESS              FROM ANY DAMAGES,                         EXPENSES ( INCLUDING
       COURT COSTS               AND ATTORNEY' S FEES), CIVIL                                  FINES,       PENALTIES           AND
       OTHER       COSTS,         AND LIABILITIES                         INCURRED         AS A RESULT             OF CLAIMS,
       DEMANDS, AND CAUSES OF ACTION MADE AND ARISING ON OR AFTER
       THE DATE OF EXECUTION                            OF THIS AGREEMENT                         AS A RESULT              OF OR
       RELATED           TO      THE        PERFORMANCE                        OF     SERVICES,           OPERATIONS             OR
       ACTIVITIES          IN     CONNECTION                      WITH         THIS      AGREEMENT               OR FOR      NON-
       PERFORMANCE                 OF SERVICES                    BY CONTRACTOR,                CONTRACTOR                GROUP




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      OR CONTRACTOR GROUP' S CONTRACTORS                                        OR SUBCONTRACTORS              OF
      ANY         TIER   IN     CONNECTION             WITH       THE      SUBJECT         MATTER      OF THIS
      AGREEMENT.                 SAID       DUTY       TO      RELEASE,      DEFEND,        INDEMNIFY        AND
      HOLD CONTRACTOR INDEMNITEES HARMLESS SHALL EXTEND TO AND
      INCLUDE, WITHOUT LIMITATION, CLAIMS, DEMANDS, AND CAUSES OF
      ACTION ASSERTED BY COMPANY, ITS AFFILIATES AND ITS AND THEIR
      OFFICERS,          DIRECTORS,            EMPLOYEES,             AGENTS      AND REPRESENTATIVES
          THE " COMPANY              GROUP "),      OR THIRD PARTIES ( INCLUDING, BUT NOT
      LIMITED TO, ANY LOCAL, STATE, OR FEDERAL GOVERNMENT, AGENCY
      OR         BODY    THEREOF,            AND    PERSONS           HOLDING        RIGHTS       UNDER      ANY
      AGREEMENT                 ASSUMED           BY    COMPANY            AND       ANY    OF    COMPANY' S
      CONTRACTORS                    OR    SUBCONTRACTORS                  OF   ANY    TIER)      OR   BY    ANY
      CONTRACTOR                   INDEMNITEE               FOR       DEATH,      INJURY,        DAMAGE        TO
      PROPERTY,            OR FOR FAILURE TO COMPLY WITH THE EXPRESS OR
      IMPLIED TERMS OF THIS AGREEMENT OR ANY AGREEMENT ASSUMED
      BY         COMPANY.             COMPANY' S            INDEMNIFICATION                OF    CONTRACTOR
      INDEMNITEES                    SHALL        EXTEND          TO       AND       INCLUDE,          WITHOUT
      LIMITATION, CLAIMS, CAUSES OF ACTION AND DEMANDS BASED ON ( I)
      THE          NEGLIGENCE                OF     CONTRACTOR                  OR    ANY        CONTRACTOR
      INDEMNITEE, COMPANY GROUP OR THIRD PARTIES, WHETHER SUCH
      NEGLIGENCE                IS    GROSS,       SOLE,        JOINT,      CONCURRENT,           ACTIVE       OR
      PASSIVE, OR ( II) STRICT                    LIABILITY,          UNSEAWORTHINESS,             OR OTHER
      LEGAL FAULT OF ANY OF THE FOREGOING,                                   AND SHALL ALSO INCLUDE
      ANY CLAIMS, CAUSES OF ACTION OR DEMANDS ARISING OUT OF ANY
      LOADING,             UNLOADING,              INGRESS,           OR     EGRESS         OF    CARGO        OR
      PERSONNEL.                 COMPANY            AGREES            THAT      IT   WILL        SUPPORT       ITS
      INDEMNITY             OBLIGATIONS                IN      THIS    ARTICLE        12   WITH     LIABILITY
      INSURANCE OBTAINED FOR THE BENEFIT OF CONTRACTOR AND ALL
      OF         THE     CONTRACTOR,                INDEMNITEES              AS      INDEMNITEES,           WITH
      MINIMUM             LIMITS          NOT      LESS        THAN     TWENTY         MILLION         DOLLARS
           20, 000, 000. 00).


      Any disputes or claims under this Agreement shall be subject to and governed by Article
          17 of the PSA.      In the event of a conflict between           the terms of this Agreement      and the

      PSA, the terms of the PSA will control except to the extent expressly provided to the
      contrary.

13.   AUDIT RIGHT:              Company has the right for a period of one hundred eighty ( 180) days
      after      the termination     of   the Transition Period ( the " Audit Period ")
                                                                              to conduct, during
      normal business hours upon at least thirty ( 30) days prior notice, an audit of Contractor' s
      records to the extent relating to the Services and appropriate adjustments shall be made if
      any error is discovered. If Company does not exercise its audit right within the Audit
      Period, Company shall be deemed to have waived its audit right. Furthermore, any audit
      issues not raised to Contractor in writing by the end of the Audit Period shall be deemed
      to have been waived by Company. Contractor shall retain all its records relating to the
      Services performed hereunder for no less than twelve ( 12) months after the termination                    of




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          the Transition Period and if audit issues are timely raised, shall retain said records until
          all such issues are resolved by agreement of the Parties or under Article 17 of the PSA.

14.       INDEPENDENT          CONTRACTOR:               Contractor   shall perform      the   Services   under   the

          general direction of Company, but in all events Contractor shall be an independent
          contractor in accordance with the specifications herein set out. Company shall look to

          Contractor for results only and shall have no right at any time to direct or supervise
          Contractor or its servants or employees as to the manner, means, and method in which the
          Services   are performed.      The detailed manner and method of performing the Services
          shall be under the control of Contractor, subject to the terms hereof. Neither Contractor
          nor anyone employed by Contractor shall be deemed to be an employee, agent, servant,
          or representative of Company. Contractor shall be responsible for the payment of federal
          income tax, social security tax, workers' compensation insurance, unemployment tax, and
          other similar payments, if any, relating to Contractor' s business and employees, and
          Company shall not withhold any amounts for such purposes from payments made to
          Contractor.  As an independent contractor, neither Contractor nor anyone employed by
          Contractor will be eligible for the benefits provided to regular employees of Company,
          including, but not limited to health and disability insurance. Contractor' s engagement as
          an independent contractor by Company will terminate upon the termination of this
          Agreement as provided for herein.

15.       MAINTENANCE           OF SOFTWARE          APPLICATIONS:     During the Transition Period,
          Contractor shall maintain all of its existing software and technological licenses and
          applications relating to the Interests, provided it has the right to do so under its license
          agreements,   unless,  prior to the expiration    of the  Transition Period, ( a) Company

          determines that such licenses or applications are no longer necessary in connection with
          operations on the Interests and Property, ( b) such licenses and applications are transferred
          to Company, or ( c) Company has obtained replacement licenses or applications with
          respect thereto.


16.       RELATIONSHIP       MANAGEMENT:


          A)
                 As soon as practical after execution of this Agreement, each Party shall appoint a
                 representative for the purposes of being the primary contact for coordinating the
                  Services    under   this Agreement ( " Transition        Manager").     Each Party may from
                 time to time replace its Transition Manager by giving written notice to the other
                 Party.
          B)     Each Party shall ensure that its Transition Manager is kept informed of all
                 relevant     information,    and   is    involved    to    a   high    degree,   concerning      the
                 performance by it of its obligations under this Agreement.
          C)     Upon Company' s request and with at least three ( 3) days' notice, the Parties shall
                 hold weekly meetings in person or by phone.          The Parties agree that their

                 Transition Managers, or their designees, will participate in the weekly meetings,
                  as reasonably practical.
          D)      Contractor has identified the contacts on the attached Exhibit B for the various
                 functions that may be necessary to complete the transfer of Services to Company.
                 The functional contact will be the lead representative for the Contractor for the



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                  applicable    function
                                     during the Transition Period. Upon request, Contractor will
                  provide an updated version of Exhibit B to Company in writing if there are any
                  modifications    to the attached Exhibit B prior to the termination of this Agreement.
           E)     Subject to the terms and conditions set forth in this Agreement, the Company and
                  Contractor agree to use all reasonable efforts to take, or to cause to be taken, all
                  actions, and to do, or to cause to be done, all things reasonably necessary, proper
                  or   advisable   under        applicable       laws   to     consummate     and   make    effective    the
                  transition    of operations           of the    Interests     and   Properties    from    Contractor    to

                  Company. At any time after the execution of this Agreement, if further action is
                  deemed necessary or desirable to carry out the transition of operations, the
                  appropriate representatives of the Company and Contractor will take or cause to
                  be taken all such reasonably necessary action.

17.        HEADINGS      AND TITLES:            The headings and titles in this Agreement             are for guidance

           and convenience of reference only and do not limit or otherwise affect or interpret the
           terms or provisions of this Agreement.
18.        DEFINITIONS:        Unless   otherwise        defined in this Agreement,           capitalized   terms used in
           this Agreement have the meanings given to them in the PSA.

19.        SEVERABILITY:        If a court of competent jurisdiction finds any part of this Agreement
           to be void, invalid, or otherwise unenforceable, then Contractor may decide whether to
           enforce this Agreement without the void, invalid, or unenforceable parts or to terminate
           this Agreement.


20.        COUNTERPARTS:           This Agreement may be executed in multiple counterparts, all of
           which together will be considered one instrument.

21.        CONFLICTS:        If the text of this Agreement conflicts with the terms of any exhibit to this
       Agreement,       then the text      of    this   Agreement       will    control.    If any of the terms of this
       Agreement       conflict with the terms of the PSA, then the terms of the PSA shall control

           except to the extent expressly provided to the contrary.




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IN WITNESS WHEREOF, the parties agree to the foregoing on the day and year set forth above.




                                            Company ")



                                          By:

                                          Name:


                                          Title:




                                             Contractor ")




                                          By:

                                          Name:


                                          Title:




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                                             Exhibit A

                            Attached to and made a part of that certain
                             TRANSITION     SERVICES AGREEMENT
                                              Between


                                                 and

                                               11111



                                        Settlement Statement

                                   Due to Company from Contractor


Transition Period Revenues ( Net Company share) $                         XXX




Transition Period Receipts                                                XXX
        Operations


                 Total Receipts $                                         XXX


Less:


Transition Period Expenditures ( Net Company share) $                     XXX


        Direct   Operating Costs                                          XXX


        Capital Expenditures                                              XXX


        Rentals, Rights -of -way, Leasehold Minimum,                      XXX
        or Advanced Payments


        Overhead                                                          XXX




Other Expenditures    Attributable to Transition Period                   XXX


                 Total Expenditures $                                     XXX


                        Settlement $                                      XXX




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                                     Exhibit B

                     Attached to and made a part of that certain
                     TRANSITION     SERVICES     AGREEMENT
                                      Between
                                       11111

                                        AND
                                       11111




                             Relationship Management
                     Company and Contractor Representatives

                                   To be Inserted]




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                                                       EXHIBIT J
                         ATTACHED         TO AND MADE A PART OF THAT CERTAIN
                                       PURCHASE       AND SALE AGREEMENT,
                                  DATED EFFECTIVE           AS OF AUGUST           1, 2011,
                                        BETWEEN XTO OFFSHORE               INC.,
                              HHE ENERGY COMPANY, XH, LLC, AS SELLER,
                        AND DYNAMIC OFFSHORE                RESOURCES,          LLC, AS BUYER


                                                 PENDING LITIGATION


            Case Name                        Date            Court                      Nature of Action
                                        Commenced
Cory Romero v. Hunt Oil                 6/ 30/ 2006    United States       Plaintiff, employee     of contractor

Company and/ or Hunt Oil                               District Court      Island Operators Company, alleges he
Company of Louisiana, Inc.                             Western District    was aboard Hunt' s Ship Shoal Block
and/ or Hunt Petroleum ( AEC),                         of Louisiana        80A platform attempting to fix the
Inc. and/ or Hunt Petroleum                            Lafayette-          compressor     when he slipped and
Corporation    and/ or Hunt                            Opelousas           twisted his left knee on 7/ 2/ 2005.
Petroleum     of Texas, Inc. and/ or                   Division
Louisiana - Hunt Petroleum
Corporation



John Aubrey v. Hunt Petroleum           9/ 17/ 2008    In the 15th         Plaintiff alleges that he injured his
Corporation    and Rodi Marine,                        Judicial District   back on 2/ 29/ 2008 while working as
LLC                                                    Court for the       an employee of Fugro Chance, Inc., a
                                                       Parish of           contractor    for Defendant,   Hunt
                                                       Lafayette,          Petroleum Company on the M/V Miss
                                                       Louisiana           Peggy Ann, in route to drilling rig
                                                                           ENSCO       83 on location   at EC 178 No.
                                                                           1.




Rennie Nathaniel Smith v. XTO           6/ 3/ 2011     In the 32nd         Plaintiff alleges he worked for
Offshore,   Inc. AKA and D/ B/ A                       Judicial District   Wright' s Well Control       Services,   LLC

XTO Energy Inc., Dishman &                             Court of            as an operator     on West Cameron

Bennett Specialty Company, Inc.                        Terrebonne               507B platform,   and that on 6/ 9/ 2010
and Wright' s Well Control                             Parish, Louisiana   tongs swung toward him and hit him,
Services, LLC                                                              causing him to sustain personal
                                                                           injuries.
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             Case Name                    Date            Court                        Nature of Action
                                      Commenced
Oscar Felipe Maldonado      Patlain                 In the 136th         Plaintiff, an employee     of M &M
v. Apache Corporation,      Rowan                   Judicial District    Industrial    Services, Inc., a
Companies,     Inc., M &M                           Court of Jefferson   subcontractor     of Rowan Companies,
Industrial   Services, Inc., and                    County, Texas        Inc., allegedly suffered injuries as a
Blue Water Industrial                                                    result of a fire that took place during
Technologies     LP                                                      operations being conducted on the
                                                                         Rowan Juneau Drilling Rig at ship
                                                                         Shoal 216C, offshore Louisiana, on or
                                                                         about 9/ 25/ 2008.



Corey C. Denney v. Y &S               3/ 10/ 2011   United States        Plaintiff, a seaman and employee of

Marine, Inc. and XTO Energy                         District Court       Y &S Marine, Inc, served aboard the
Inc.                                                Eastern District     M/V Sun Trae. Plaintiff alleges he
                                                    of Louisiana         was injured on July 29, 2010 when
                                                                         was assisting in unloading cargo, via
                                                                         crane, while the Sun Trae was
                                                                         attached     to XTO' s Main Pass 116B
                                                                         platform located off Louisiana on the
                                                                         OCS.




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                                                               EXHIBIT K
                      ATTACHED TO AND MADE A PART OF THAT CERTAIN
                                      PURCHASE                 AND SALE AGREEMENT,
                                 DATED EFFECTIVE                   AS OF AUGUST                 1, 2011,
                                          BETWEEN XTO OFFSHORE                            INC.,
                             HHE ENERGY COMPANY, XH, LLC, AS SELLER,
                    AND DYNAMIC OFFSHORE RESOURCES, LLC, AS BUYER


                                                     PERFORMANCE BOND


          KNOW ALL MEN BY THESE PRESENTS:


          That, Dynamic Offshore Resources, LLC, with its principal office at 1301 McKinney,
Suite   900,       Houston,      Texas         77010, (    hereinafter       called   the "   Principal")      and   RLI    Insurance

Company, with          its    principal        office   at (                                                               hereinafter
called the "   Surety"), are held and firmly bound unto XTO Offshore Inc., HHE Energy Company,
and XH, LLC, all with an address of 810 Houston Street, Fort Worth, Texas 76102 -6298
                                                                                                                                NO /
hereinafter collectively           called       the " Obligee "), in the Penal Sum of Thirty Five Million and                          100

Dollars ($ 35, 000, 000. 00) lawful money of the United States of America for the payment of
which sum the Principal and the Surety bind themselves, their successors and assigns, jointly,
severally, and in solido, firmly by these presents.

          WHEREAS, Principal and Obligee have entered into that certain Purchase and Sale
Agreement dated           effective       as    of   August 1,    2011 ( hereinafter          called   the " Agreement "), which

Agreement is by reference made a part hereof and which provides for the sale and assignment
from Obligee to Principal of the interests of Obligee in certain oil and gas leases and properties,
including the oil and gas leases described on Annex 1 to this Performance Bond ( "Bond "), all as
more particularly described in the Agreement ( collectively, the " Leases" and each individually,
the " Lease "), together with all rights and obligations                       in connection therewith, and also provides
for the    sale     and      assignment         to   Principal    of   all   wells,    platforms,      facilities,   equipment     and

pipelines existing on the Leases as of the date of the Agreement, including the wells described on
Annex 2 ( collectively, the " Wells" and individually, the " Well ") (the Leases, Wells and such

platforms, facilities, equipment and pipelines, being collectively referred to as the " Properties"
and each     as "   Property");    and




          WHEREAS, Principal and Surety agree that notwithstanding the subsequent termination
of any of the Leases, whether by operation of law or otherwise, this Bond shall remain in full
force and effect until Principal has presented satisfactory evidence to Obligee, as set forth below,
that all P & A Obligations ( as such term is defined below) have been performed and discharged;
and




          WHEREAS,             as used in this Bond, the term " P & A Obligations"                     means all obligations       and
liabilities of Principal to abandon, restore and remediate the Properties, whether arising before or
after   August 1, 2011 ( the " Effective Time "), including obligations,      as applicable  to the

Properties, to: ( a) obtain plugging exceptions in the operator' s name for each Well with a
current   plugging exception,             or    permanently plugging           and
                                                                                      abandoning       a   Well; ( b) plug, abandon,




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and   if necessary,       re- abandon   each    Well; (   c) remove all equipment and facilities, including
flowlines,   pipelines     and   platforms; (   d) close all pits; and ( e) restore and remediate the surface,
subsurface and offshore sites associated with the Properties; and


         WHEREAS, Principal has agreed to deliver to Obligee this Bond, executed by Principal
and Surety, at the Closing as defined and contemplated by the Agreement; and

        WHEREAS, Surety represents that it is duly authorized by the proper public authorities
to transact the business of indemnity and suretyship in the state where it executed this Bond, and
represents that it is qualified to be surety and guarantor on bonds and undertakings, which
certificate has not been revoked; and


         WHEREAS, Surety represents that it has duly executed a power of attorney, appointing
the hereafter named representative as its duly authorized deputy, as the true and lawful attorney -
in -fact of such Surety, upon whom may be served all lawful process in any action or proceeding
against such Surety in any court or before any officer, arising, out of or founded upon this Bond
or any liability hereunder, and does hereby agree and consent that such service, when so made,
shall be valid service upon it, and that such appointment shall continue in force and effect and be
irrevocable so long as any liability against it remains outstanding hereunder;

         NOW THEREFORE, Principal and Surety agree as follows:

         Surety hereby guarantees the full and faithful performance by Principal of, and
compliance  by Principal with, the P & A Obligations in accordance with all current and future
requirements of applicable federal and state law or any agency, authority or body having,
jurisdiction or authority over the Properties or any operations thereon, and in accordance with the
Leases and the Agreement.


         PROVIDED, HOWEVER, whenever the Principal shall present to Obligee satisfactory
evidence     that   all   of   the   P & A Obligations      have   been   performed (   and   as   set   forth   in the
Agreement,  such satisfactory evidence shall comprise executed forms or other written
documentation as may be required by any governmental authority under applicable law to reflect
completion of the P &A Obligations, including, without limitation, forms and documentation
relating to plugging and abandonment activities, decommissioning                        activities, site clearance
activities and pipeline abandonment             or removal activities and completion      of remedial activities),
then this Bond shall be null and void; otherwise, it shall remain in full force and effect in the
amount     as provided.




         In the event Principal fails to carry out its obligations to bear the cost and expense to
perform the P & A Obligations for a Property or certain identified Properties, and Obligee has
presented to Surety a written notice that Principal is in default of its obligation under the terms of
the Agreement, and such condition has persisted for thirty ( 30) days after written notice of such
default has been given by certified mail to Principal and Surety, Surety shall, within fifteen ( 15)
days of such presentations: 1) Pay to Obligee an amount equal to the actual costs for performing
the P & A Obligations with respect to the Property or identified Properties in an amount up to, but
not exceeding, the maximum penal amount of this obligation and the penal amount of this



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obligation      shall    be further    reduced
                                                  by the      amount       of this     obligation;   or   2) Commence         the

necessary operations to perform the P & A Obligations with respect to the Property or identified
Properties      as set forth in the Agreement.


         In the event Obligee commences                    or completes       the P & A Obligations        with respect to a
Property or identified Properties upon Principal' s default under the terms of the Agreement,
Surety' s obligations shall remain the same as set forth in this Bond regarding payment to Obligee
as set forth above.


         If     Surety     shall   decide,   upon    default         by   Principal,    to   commence,      or   cause   to   be
commenced, the performance of the aforementioned P & A Obligations, said performance shall
continue      until     such   time as the P & A     Obligations have been met, thereby reducing the penal
amount     as   set   forth herein.    Surety agrees to indemnify, defend, and hold harmless Obligee,
its directors, and agents from all claims, demands, and causes of action for personal injury,
death, property and/ or environmental damage resulting in whole or in part from Surety' s
or Surety' s contractors'             negligence, whether joint ( including with Obligee or Principal)
active, passive, concurrent or sole, or willful misconduct with respect to the performance of
the   P & A Obligations, if          and  only if Surety elects, as stated herein,                        to commence         the
aforementioned            P & A Obligations in lieu of payment to Obligee.


         Surety consents to be sued in any court in the State of Texas, hereby irrevocably
submitting itself to the jurisdiction            of said    court.    No amendment of or supplement to the terms
or provisions of the Agreement or of the Exhibits attached thereto shall release Principal and
Surety or either of them from their liability under this Bond. Notice to Surety of any such
amendment or supplement is hereby waived, except to the extent that is herein provided.

         No forbearance of Obligee, to Principal, shall release Principal and Surety from their
liability under this Bond except where Obligee agrees to reduce the penal amount as provided
above.   No assignment of the Agreement or of the Property by the Principal, its successors and
assigns, and no assignment of the Agreement by operation of law or consent of Obligee or
otherwise shall in any degree relieve Principal and Surety of their obligations under this Bond
except   as provided  herein. No delay, neglect or failure of Obligee to proceed promptly to
enforce the Agreement or to proceed promptly in case of default on the part of Principal or
Surety shall in any degree relieve Principal and Surety of their obligations under this Bond
except as herein stated.


       No assignment, in whole or in part, of the Agreement or of the Properties by Principal, its
successors and assigns, and no delay, neglect or failure of the Obligee to proceed promptly to
enforce the Agreement or to proceed promptly in the premises in case of any default on the part
of Principal shall in any degree relieve Principal and Surety or either of their obligations under
this Bond.


         HOWEVER, if upon assignment, in whole or in part, of the Agreement or the Property or
any Well and facilities thereon by Principal, its successors or assigns, Principal may cause its
assignee to post security, in the form of a bond or other acceptable security from Surety, or a
surety acceptable to Obligee, covering the same obligations as stated herein as to the assigned



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interest ( " Transferee Bond "). The penal sum provided for in the Transferee Bond with respect to
such assigned Properties shall be in an amount equal to the estimated cost to perform the P & A
Obligations with respect to the assigned Property, which cost estimate shall be subject to
Obligee' s approval.


       No right or action shall accrue on this Bond to or for the use of any person or corporation
other than Principal, Obligee, their respective successors and assigns.


       NOW THEREFORE, Principal and Obligee agree that any dispute, claim, or controversy
concerning the interpretation of this Bond or the Agreement or any party' s compliance with the
terms of this Bond shall be resolved in accordance with the terms, conditions, and procedures in
Article 17 of the Agreement        and each agrees not to prosecute or commence any suit or action
against the other(s) relating to any such matters.

       This Bond is subject to the provisions of Section 8. 04( f) of the Agreement including,
without limitation, the redetermination provisions that may serve to adjust the penal sum
provided for herein and the ability of Obligee to draw on the Bond, in whole or in part, as
expressly provided for therein. Any such redetermination shall not include estimated costs with
respect to P &A Obligations for which a Transferee Bond has been obtained and approved by
Obligee.   Obligee will accept such Transferee Bond as financial security for the assigned
Property. Further, as provided in Section 8. 04( f)(1) of the Agreement, when it is determined that
the estimated costs of the total remaining liabilities of Principal with respect to the P &A
Obligations       is less than $ 3, 000, 000. 00, then this Bond shall be null and void and Obligee and

Principal shall execute such documentation as is reasonably necessary in order to release and
relinquish the Bond, which documentation will b executed promptly but in any event not less
than sixty ( 60) days of being presented for execution.  Further, Obligee agrees that in the event
either  XTO Offshore Inc., HHE Energy Company or XH, LLC terminates its corporate
existence, then it will appoint one of the remaining seller entities or, at its sole option, its parent
company, as agent to act on its behalf with respect to the obligations stated in Section 8. 04( f) of
the Agreement.


        In the event of a conflict or inconsistency between the terms and provisions of this Bond
and those set forth in the Agreement,      as between Principal   and Obligee, the terms and provisions
of the Agreement shall control.


        IN WITNESS WHEREOF, the above bound parties have executed this instrument to be
effective   on ,        2011, the name of each corporate party duly signed by its undersigned
representative pursuant to authority of its governing body.

                                          PRINCIPAL:       DYNAMIC     OFFSHORE RESOURCES,          LLC



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                                              Name:

                                              Title:

                                              Date:




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                                  SURETY: RLI INSURANCE COMPANY


WITNESSES:                       By:
                                 Name:

                                 Title:

                                 Date:


                                  OBLIGEE: XTO OFFSHORE INC.


WITNESSES:                        By:
                                 Name:

                                  Title:

                                  Date:


                                  OBLIGEE:     HHE ENERGY COMPANY



WITNESSES:                        By:
                                  Name:

                                  Title:

                                  Date:


                                  OBLIGEE:     XH, LLC



WITNESSES:                        By:
                                  Name:

                                  Title:

                                  Date:




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                             ASSIGNMENT AND BILL OF SALE

        This Assignment and Bill of Sde ("Assignment") is effective as of August 1, 2011, t
7:00 a.m. Central Time ("Effective Time"), and is from XTO OFFSHORE INC., a Delaware
corporation with an address of 810 Houston Street, Fort Worth, Texas 76102-6298 ("XTG}
Offshore"), to D YN A MIC OFFSHORE RESOURCES, LLC, a Delaware limited liability
company, with an address of 1301 McKinney, Suite 900, Houston, Texas 77010 ("Assignee").
XTO Offshore and Assignee may each be referred to hereafter as a "Party", or collectively
referred to as the "Parties"

                                           ARTICLE 1.                                               |
                                                                                                    I
             1.01.       Assignment. For $10 and ot her good and v aduable consi deration, thb
receipt and suf f iciency of which XTO Of f shore acknowledges, XTO Of fshore bargains, sells,
assigns, and conveys to Assignee and its successors and assigns, all of XTO Of fshore's right,
title, and interest in and to the following real and personal properties (collectively, "Prope1ties"),
subject to the terms of this Assignment, including its exhibits, and all applicable instruments of
record in the county/counties/parish/parishes W here the Properties are located:                    I
                                                                                                    ¥



               (a)     The oil and gas leasehold estates and other interests, insofar but only
                       insofar as set out on Exhibit A and Exhibit A-l, together with xT0
                       Offshore's interest in each well located on the leases, units and lanl
                       described on Exhibit A and Exhibit A-1, including, Without limitation, tle
                       wells described on Exhibit A-2 (collectively, "Interests");              5
                                                                                                    s

        XTO O FFSHO RE EXCEPTS FRO M THIS ASSIG NMENT THE EXCL USI ONS PROVI DED I N
        SECTION 1.02 OF THIS ASSIGNMENT AND MAKES SUCH ASSIGNMENT SUBJECT TO ANY
        CO NVEYANCE OR AGREEMENT, W HETHER RECO RDED OR NOT, THAT PERTAI NS TO
        T H E INTERESTS A N D W H I C H W A S EXECUTED O R EFFECTIVE BEFORE T H E
        EXECUTION OF THIS ASSIGNMENT.                                                               I
                                                                                                    I
               (b)     A l l contracts af f ecting the Interests, to the extent each is assignable,
                       including agreements f or t he sale or purchase o f o i l , gas, and other
                       hydrocarbons; processing agreements; div ision orders; unit agreements;
                       operating agreements; and other contracts and agreements arising out O£
                       connected W ith, or attributable to production from the Interests, including
                       the items listed on Exhibit A-1;
                                                                                                    I
        XTO OFFSHORE EXCEPTS FRoM THIS ASSIGNMENT AND RESERVES To ITSELF AL;
        RIGHT, TITLE, AND INTEREST IN THESE CoNTRAcTs INSoFAR AS THEY PERTAIN TO
        ANY INTEREST NoT ASSIGNED IN THIS ASSIGNMENT.

               (c)     All personal property, including material, equipment, pipelines, platforns
                       and facilities situated i n and on the Properties and used solely
                       connection with the use or operation of the Interests for the production,
                       treating, storing, transporting, and marketing of o i l , gas, and other
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                   hydrocarbons from the Interests, including the items listed on Exhibit B-§
                   and Exhibit B-3;

   XTO OFFSHORE EXCEPTS FROM THIS ASSIGNMENT AND RESERVES TO ITSELE ALL
   PERSONAL PROPERTY, WELLS, FIXTURES, PIPELINES, AND EQUIPMENT USED IN XTO
   OEFSHORE'S OPERATION OF ANY LEASE, WELL, OR MINERAL INTEREST NOT
   ASSIGNED IN THIS ASSIGNMENT.

            <d>    All easements, permits, licenses, surface and subsurface leases, rights-of
                   way, servitudes, and other surface and subsurface rights affecting the
                   Interests, to the extent each is assignable, including the items listed oh
                   Exhibit B and Exhibit B-1; and

            (G)    Copies of the data and records relating to the Properties and Interests tht
                   have been or will be delivered by XTO Offshore to Assignee as provided
                   for in the Purchase and Sale Agreement defined hereafter ("Documents")

       1. 02 .     Exclusions. The following are excluded from this Assignment:

            <a>    reservations, exceptions and exclusions listed in Exhibits A, B and B-1

            (b)    pipelines, fixtures, equipment, and interests owned by third parties such ds
                   lessors, purchasers, or transporters of Oil or gas;

            (C)    computer      equipment      (including    Rosemont        transmittersj
                   telecommunications equipment, vehicles, boats, tools, pulling machines,
                   and other equipment and material temporarily located on the Property dr
                   expressly excluded from the sale;

            <<1>   items specifically excluded in written information or correspondence
                   provided to Assignee before the Execution Date;

            (C)     ny gas processing plant not listed on Exhibit A and Exhibit A-1;

            (D     personal property, fixtures, equipment, pipelines, facilities, and building
                   located on the Property, but currently in use in connection with the
                   ownership or operation of other property not included in the Interests;

            (g)    Unless otherwise described on Exhibit A, if XTO Offshore is a party to a
                   joint operating agreement that affects an Interest, this Agreement is
                   limited as to that Interest to the depths subject to the joint operating
                   agreement (e.g., total depth, total depth plus 100 feet, base of formatioii
                   penetrated by initial test Well), but excludes depths previously conveyed
                   and all depths not subj ect to'a joint operating agreement; and

            (11)   If XTO Offshore owns unleased mineral interests purportedly Within m
                   Interests, those nnnerad interests are not included in the term "Interests
                   and will not be conveyed to XTO Offshore.


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               (i)     XTO Offshore and its affiliates reserve and exclude Hom this Assignmerlt
                       all rights under that certain Lease Purchase Agreement dated effective
                       January 22, 2002 by and between EEX Corporation ("EEX") and Aviara
                       Energy Corporation ("Aviara"), as amended April l , 2005, by any
                       between Newfield Exploration Gulf Coast, Inc. and Hunt Petroleum
                       (AEC), Inc., as such agreements pertain to all depths from 17,000 feet
                       down to 100,000 feet subsea and expressly reserve and exclude from this
                       Assignment the five percent of eight-eights (5% of 8/Sths) overriding
                       royalty interest reserved by Aviara in that certain Assignment of Operating
                       Rights dated effective January 22, 2002 by and between Aviara and EEX.f

               G)      Responsibility and liability for the proper payment of royalties to any
                       governmental entity with respect to production attributable to the Interests
                       pdor to the Effective Time i n the event prior payments to sucli
                       governmental entity were improperly calculated.

               (k)     The Reserved Oveniding Royalty Interest as defmed in Section 1.08.

             1.03.     Restrictions on Use. Where any of the Interests include a fee simpe
interest in read property that has been used for oil, gas, or other mineral operations, the following
uses of the affected land, or any portion thereof are expressly prohibited and forbidden:

               (a)     any hotel use;
                                                                                                   ;
               (b)     any purpose that would const itute a "Perim tted Use" under any of tl ie
                       residentiad zones, districts, or classif ications set f orth in any applicable
                       mundcipad, county/parish or state zoning laws in ef f ect at the Ef fectiv e
                       Time,

                <<=>   any other residential use;

               (d)     any health bare, clinic, hospital or other medical facility;

                <e>    any playground, recreational park, day nursery, day-care center, child ,age
                       center, nursing home, house of worship, or school;

                (f)    any agricultural use;

                (g)    construction or installation of any basements; or

                <h>    any Water wells for irrigation or drinldng purposes.

           1. 04 .     Documents. If origihads or the last-remaining copies of the Documents
have been provided to Assignee, XTO Offshore may have access to them at reasonable times mp
upon reasonable notice during regular business hours for as long as any Interest is in effect after
the Effective Time (or for 21 years in the case of a mineral fee or other non-leasehold interest or
a longer period if required by law or governmental regulation). XTO Offshore may, during this
period and at its expense, make copies of the Documents pursuant to a reasonable request


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Without limiting the generality of the two preceding sentences, for a period as long as any
Interest is in effect after the Effective Time (or for 21 years in the case of a mineral fee or other
non-leasehold interest or for a longer pedod if required by law or governmental regulation),
Assignee may not destroy or give up possession of any odginal or last-remaining copy of the
Documents without first offering XTO Offshore the opportumty, at XTO Offshore's expense, to
obtain the original or a copy. After this period expires, Assignee must offer to deliver the
Documents (or copies) to XTO Offshore, at XTO Offshore's expense, before giving up
possession or destroying them.

            1.05.       Reservations. To the extent that XTO Offshore has reserved or continues
to own an interest (excluding oveniding-royalty interests but including, if any, mineral-fee,
leasehold interests, deep rights or facilities, equipment, or pipelines) after the Effective Time for
which XTO Offshore requires access across the land associated with the Interests in order to
exercise its rights, XTO Offshore reserves concurrent interests in all applicable easements,
rights-of-way, contracts, and other rights relating to the reserved interests and necessary as
reasonably required for exploring, drilling, producing, storing, or marketing oil, gas, and other
hydrocarbons from the respective zones or interests of the Parties, including dghts to lay
pipelines, Water lines, and power lines; dig pits; erect structures; and perform any other act
reasonably necessary to XTO Offshore's interests. Additionally, XTO Offshore reserves and
retains a preferential right to purchase all Oil produced and saved from the Interests, pursuant to
and in accordance with the terms and provisions of the Purchase and Sale Agreement defined
hereafter. The term "Oil" as used herein means crude oil, distillate, drip gasoline, condensate,
and other liquid hydrocarbons.

          1.06.       Surrender or Abandonment of Interests. If Assignee decides to surrender
or abandon any of the Interests after execution of this Assignment, Assignee must give XTO
Offshore written notice of its intent at least 45 days before surrender or abandonment if XTO
Offshore:

               (a)     has retained an interest in such Interests;

               (b)     has other interests for which XTO Offshore requires access across such
                       Interests or Property in order to exercise its rights; or

               (c)     has other interests that are held by production Hom such Interests. XTO
                       Offshore will have 30 days after receipt of Assignee's notice to notify
                       Assignee that it elects to require Assignee to reassign adl or any part of
                       such Interests. Reassigmnent will be in the manner described in Section
                       1.07.

           1.07.      Reassignment. For reassignment of any Interest under this Assignment,
Assignee will execute and deliver to XTO Offshore a reassigmnent by special warranty, in a
form satisfactory to XTO Offshore and sufficient to place XTO Offshore in the- same position fit
occupied before the assignment to Assignee. Assigr1ee's release and discharge of XTO Offshoe
and its Associated Parties, its covenant not to sue XTO Offshore or its Associated Parties, and its
obligations to indemnify, defend, and hold XTO Offshore and its Associated Parties harmless

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will apply to Interests that are reassigned for the period of Assignee's ownership, and the
reassignment instrument will restate Assignee's obligations.

            1.08.      Reserved Oveniding Royalty. XTO Offshore reserves from the leasehold
interest applicable to each of the oil and gas leases described on Exhibit A (collectively, the
"Leases", individually a "Lease"), an overriding royalty interest interest equal to five percent of
eight-eighths (5% of 8/8) as to production from any New Wells, as defined hereafter (the
"Overriding Royalty Interest"). "New Wells", for the purposes of this Assignment is defined as
any wells drilled on the Leases Hom and after the date of execution of this Assignment (the
"Execution Date"), together with any sidetrack or deepening after the Execution Date of ah
existing well on the Leases, to the extent and only to the extent that said sidetrack bottom hole is
located 1,000 feet or greater from the bottom hole location of such existing wells; provided,
however, such l,000 foot restriction does not apply to the sidetracks identified in that certain
Letter between XTO Offshore and Assignee, dated July 29, 2011. New Wells shdl not include
 any recompletions, workovers, or mechanicad bypasses of an existing well. The Overriding
Royalty Interest shall be paid or delivered by Assignee to XTO Offshore in accordance with the
 following terms and conditions:

               (a)     On oil, delivery of such oil shadl be made free of all costs and expenses in
                       developing and operating the Interests, Hee of all costs of production and
                       Lmencumbered in any way to XTO Offshore's credit into the pipelines or
                       tanks to which the applicable well or wells may be connected, or
                       otherwise as XTO Offshore may from time to time direct. Should XTO
                       Offshore elect not to take its Overriding Royalty Interest on oil in ldnd,
                       then XTO Offshore's part of such oil shadl be paid based upon the same
                       market value as received by Assignee with respect to its Interests pursuant
                       to an arm's length contract with a third party purchaser of such oil at the
                       applicable well or Wells, Hee of all costs and expenses in of developing
                       and operating the Interests, free o f all costs o f production and
                       unencumbered in any Way.

               (b)     On all gas, including casinghead gas or other gaseous substances and
                       liquid constituents of said gas, produced from and sold (on or off the
                       Interests) or used off the Interests, or for the extraction of gasoline or other
                       products therefrom, the Overriding Royalty Interest shall be based upon
                       the same market value as received by Assignee with respect to its Interests
                       pursuant to an arm's length contract with a third party purchaser at the
                       Well or wells of gas so produced, sold or utilized, free of all costs of
                       developing and operating the Interests, free of all costs of production.

        Payment by Assignee of the Oveniding Royalty Interest must be made from the
Execution Date and at all times thereafter on the basis of one hundred percent (l00%) of the
New Well's production (proportionately reduced as hereafter provided), and such payment must
be made regardless of (a) Whether Assignee is or is not banldng or storing gas, whether pursuant
to the provisions of an agreement so permitting, or otherwise; (b) whether Assignee is or is r10t
selling dl or any part of its share of the total production; and (c) the identity of the purchaser or
purchasers of such gas if Assignee should be selling all or any part of the total gas produced.


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The Overriding Royalty Interest shall be delivered to XTO Offshore Hee of all cost and expense
of developing and operating the Leases and free and clear of all taxes except gross production,
severance taxes, and ad valorem taxes applicable thereto; provided that, the Overriding Royadty
Interest will be subject to and bear a proportionate share of all reasonable costs and expenses of a
non-affiliated third party incurred for the transportation, compression, dehydration and treating
of the said gas and condensate in the preparation for marketing of such production. Such
payments shall be made on or before the sixtieth (60th) day following the month of the
production. If payment is not made within the time prescribed, the unpaid amount will bear
interest at the rate of one percent (1%) for each month or fraction of a month, by which payment
is delayed, or the maximum lawful rate, whichever is less. Assignee agrees to send all division
orders covering the Overriding Royalty Interest reserved by to XTO Offshore at the following
address:

                                      XTO Energy Inc.
                                      P.O. Box 730586
                                      Dallas, Texas 75373-0586

        If the Leases cover less than a full interest in the land covered thereby or if the interest
assigned hereunder in said Leases is less than a full interest, then the Overriding Royalty Interest
herein reserved shall be reduced in the proportion that the interest assigned to Assignee herein
bears to the full interest in the land covered or bears to the full interest in the Leases assigned
hereunder; provided, however, that the oveniding royalties herein reserved are exclusive of and
in addition to any royalties, overriding royalties or payments out of production affecting the
Leases as of the Effective Time. It is expressly agreed that operations, if any, on the Leases and
the extension and duration thereof, as well as the preservation of the Leases by rental payments
or otherwise, shall be solely at the will and discretion of Assignee or any successor owner of the
worldng interest in the Leases. The Overriding Royadty Interest hereby reserved is subj ect to the
dghts conferred on the lessees (now Assignee) by said Leases to pool or unitize the lands
covered thereby; and neither the joinder nor consent by XTO Offshore shall be required in
connection with any such pooling or umtization. Where oil and/or gas is produced from any umit
so formed, XTO Offshore shall receive on production from such unit only such portion of the
oveniding royalty stipulated herein, as the amount of surface acreage of the land affected by
such overriding royalty and placed in said unit bears to the total surface acreage included in the
unit, unless some other formula for appointment of production is adopted for the unit and in such
case the formula shall be used.

        XTO Offshore upon notice in wdting to Assignee, shall have the right to audit Assignee's
accounts and records relating to the Overriding Royalty Interest reserved herein and any other
records related to the determination of the amounts due XTO Offshore for any cadendar year
within the twenty-four (24) month period following the end of such calendar year.

        The Oveniding Royalty Interest is expressly subject to the terms and provisions of any of
the Related Agreements, to the extent and only to the extent that such terms and provisioris
contractually apply to and prohibit the establishment of an overriding royalty interest affecting
any of the Leases. If pursuant to the terms of any Related Agreement all or a portion of
Assignee's interest in a Lease, or all or a portion of its interest in the production therefrom, is
forfeited or assigned to one or more other worldng interest owners, either permanently or for a


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stipulated period, because Assignee fails to participate in any operation or operations, then to the
extent that such forfeited or assigned interest is subject to and burdened by the Overriding
Royalty Interest, the worldng interest so assigned or forfeited by Assignee shall be free and clear
of such Oveniding Royalty Interest for the period of such forfeiture or assignment of oveniding
royalty interests. The Overriding Royalty Interest will become effective again when the interest
is reassigned or reverts back to Assignee, and Assignee shall pay such Overriding Royalty
Interest as provided in this Section 1.08. Further, to the extent any Related Agreement
establishes security rights in favor of the parties thereto, the Overriding Royalty Interest
conveyed herein shall be subordinated to such security rights. For the purposes of this
Assignment, "Related Agreements" shall mean all oil, gas, and mineral leases, assignments,
subleases, farmout agreements, unit agreements, joint operating agreements, pooling agreements,
letter agreements, easements, rights-of-Way, gathering and transportation agreements, sales
agreements, and other agreements concerning or pertaining to the Interests, to the extent that they
are binding on XTO Offshore or its successors or assigns.

        It is understood and agreed that the Overriding Royalty Interests reserved herein, Will be
a permanent burden on the Leases subject to the provisions of this Section 1.08, and will
continue in effect as to each Lease for so long as each Lease remains in effect. In addition in the
event Assignee secures a renewal or extension for any such Leases, covering all or any part of
the land previously covered thereby, then the interests reserved herein will apply to such
renewed or extended Lease. A "renewad" or "extension" of a Lease as those terms are used
therein shall mean any Lease or Leases covering all or a part of the land covered by the Leases
that is executed by Assignee Within twelve (12) months after termination of any Lease, or the
next ensuing Federal or state lease sale pe'fei"'ng to all or any part of the land previously
covered by a Lease, whichever may come first.

       Notwithstanding anything to the contrary set forth in this Assignment, the Overriding
Royadty Interest shadl not apply to any production attributable to Block 188, Ship Shoal Area,
OCS Leasing Map, Louisiana Map No. 5, INSOFAR AND ONLY INSOFAR AS to those depths
from 17,000 feet subsea down to 100,000 feet subsea, currently affected by that certain federal
offshore lease bearing serial number OCS-G 22712, dated May 1, 2001, granted by the United
States of Amedca, as Lessor, in favor of Aviara Energy Corporation, as Lessee, that being the
same interest referenced in Section l.02(i) above.

            1.09.     Governmental Transfers. Where separate transfers o f any o f the
Properties have been, o r w i l l be, executed for filing with and approval by applicable
governmental authorities, any such separate transfer (a) shall not constitute an additional
assignment or conveyance of the affected Properties, (b) shall not constitute an additional
reservation of the Oveniding Royalty Interest provided for in this Assignment and (c) shall not
modify any of the terms, covenants and conditions, or limitations on Warranties, set forth in this
Assignment, and are not intended to create and shall not create any representations, warranties or
additional covenants of or by either of the parties to this Assignment.                         +
                                                                                                  ;
                                          ARTICLE 2.                                              1
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       Ad Valorem taxes assessed against the Properties for the year of the Effective Time are
apportioned between XTO Offshore and Assignee as of the Effective Time.                      r


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                                          ARTICLE 3.
        Assignee wi l l comply with all rules, regulations, statutes, and laws applicable to
Assignee's ownership or operation of the Properties. Except to the extent specifically excepted
or reserved by XTO Offshore in this Assignment or in the Purchase and Sale Agreement (as
defined hereafter), Assignee accepts this Assignment and assmnes all XTO Offshore's
obligations and liabilities under all oil, gas, and mdnerad leases, assignments, subleases, farmout
agreements, unit agreements, joint operating agreements, pooling agreements, letter agreements,
easements, rights-of-Way, gathering and transportation agreements, sales agreements, and other
agreements (including compliance with express and implied covenants and payment of costs,
rentals, shut-in-payments, minimum royalties, and production royalties), to the extent that these
obligations and liabilities concern or pertain to the Properties and are binding on XTO Offshore
or its successors or assigns. Assignee's obligations under this article apply to all applicable
instruments, whedier recorded or not.

                                          ARTICLE 4.
         Assignee acknowledges that the Interests and Properties have been used for exploration,
development, and production of oil and gas and that there may be petroleum, produced water,
wastes, or other matedals located on or under the Properties or associated with the Interests.
Equipment and sites included in the Interests or Properties may contain asbestos, hazardous
substances, or naturally occurring radioactive matedad ('NORM"). NORM may affix or attach
itself to the inside of wells, materials, and equipment as scale, or in other forms; the wells,
rnateriads, and equipment located on the Properties or included in the Interests may contain
NORM and other wastes or hazardous substances; and NORM-containing material and other
wastes or hazardous substances may have been buried, come in contact with the soil, or
otherwise been disposed of on the Properties. Special procedures may be required for the
remediation, removal, transportation, or disposal of wastes, asbestos, hazardous substances, and
NORM Hom the Interests and Properties.

         Assignee W ill store, handle, transport, and dispose o f o r discharge all material,
substances, and wastes from the Properties (including produced water, drilling fluids, NORM,
and other wastes), whether present before or after the Effective Time, in accordance with
applicable local, state, and federal laws and regulations. Assignee will keep records of the types,
amounts, and location of materials, substances, and wastes that are stored, transported, handled,
discharged, released, or disposed of onsite and offsite. When any lease terminates, an interest in
which has been assigned under this Assignment, Assignee will take additional testing,
assessment, closure, reporting, and remedial action With respect to the Properties as is necessary
to satisfy all local, state, and federal requirements directed in effect at that time and necessary to
restore the Properties.

                                           ARTICLE 5.
        Assignee recognizes, and will either perform or assure that performance is accomplishel
properly and in accordance with applicable law and the obligations and liabilities described in
Article 3, all obligations to abandon, restore, and remediate the Properties and the Interests,
whether arising before or after the Effective Time, including obligations, as applicable, to:



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                      a) obtain plugging exceptions in the operator's name for each well
                         located on the Properties (abandoned and tmabandoned) with a current
                         plugging exception or permanently plug and abandon each well;
                      b) plug, abandon, and if necessary, reabandon each Well located on the
                         Properties (abandoned and unabandoned);
                      c) remove all equipment and facilities, including flowlines, pipelines and
                         platfonns;
                      d) close adlpits; and
                      e) restore the surface, subsurface, and offshore sites associated with the
                         Interests and Properties.

        Assignee will take all necessary steps to ensure that Assignee is recognized as the owner
and, if applicable, operator of the Properties by all appropriate panies, including any regulatory
commission, body or board with jurisdiction. If XTO Offshore is the principad on any financial
assurance (including a bond) relating to the Properties, which financial assurance is required by
any law, rule, or regulation, then Assignee will secure new financiad assurance in the required
amount and supply it to the regulatory body requiring the financial assurance, to the end that
XTO Offshore's fnancial assurance is released and discharged.

         Assignee will pay all costs and expenses associated With the obligations assumed under
this article. XTO Offshore may require Assignee to maintain a performance bond in an amount,
in a f orm, and from an institution acceptable to XTO Offshore, to guarantee Assignee's
obligations, all as provided for in the Purchase and Sale Agreement as defined hereafter.

                                         ARTICLE 6.

      X T O OFFSHORE MAKES No WARRANTY OF ANY TYPE IN THIS ASSIGNMENT,
WHETHER EXPRESS, STATUTORY, OR IMPLIED. ASSIGNEE HAS INSPECTED AND HAS
SATISFIED ITSELE AS To THE CoNDITIoN OF THE PRoPERT1Es. THIS ASSIGNMENT IS MADE
BY XTO OEPSHoRE AND ACCEPTED BY ASSIGNEE ON AN "AS Is, WHERE Is" BASIS. X T O
OFFSHORE DISCLAIMS ALL WARRANTIES, INCLUDING:

               AS TO THE FITNESS OR CONDITION OR MERCHANTABILITY OF THE MATERIALS,
       (a)     EQUIPMENT, OR FACILITIES CONVEYED;

               AS TO THE PHYSICAL, OPERATIONAL, OR ENVIRONMENTAL CONDITION OF THE
       <b>     PROPERTIES;

       (C)     AS TO THE o1L, GAS, AND OTHER HYDROCARBON OPERATIONS OF THE
               PROPERTIES COVERED BY THE TERMS AND CONDITIONS OF ANY LEASES OR
               OTHER AGREEMENTS THAT ARE A PART OF THE PROPERTIES;

       <d>     AS TO THE ISSUANCE, REISSUANCE, OR TRANSFER OF ANY PERMITS RELATING TO
               ANY OF THE PROPERTIES;

       <e>     AS TO ANY CONSENT OR APPROVAL REQUIRED UNDER ANY INSTRUMENT
               DESCRIBED IN ARTICLE 111; AND



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       <f>     AS TO TITLE, EITHER EXPRESS, IMPLIED, OR STATUTORY.

                                             ARTICLE 7.
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        The terms C aim" or Claims mean, collectively, claims, demands, causes of action,
and lawsuits asserted or filed by any person, including an artificial or natural person, a local,
state, or federad governmental entity; a person holding rights under any instrument described in
Article 3; an Associated Party of XTO Offshore or Assignee; or a third party. The term
"Liability" or "Liabilities" means, collectively, all damages (including consequential and
punitive damages), including those for personal injury, death, or damage to personal or real
property (both surface and subsurface) and costs for remediation, restoration, or clean up of
contamination, whether the injury, death, or damage occurred or occurs on or off the Properties
by migration, disposal, or otherwise; losses; lines; penadties; expenses; costs to remove or
modify facilities on or under the Properties; plugging liabilities for all wells; attorneys' fees;
court and other costs incurred in defending a Claim; liens; and judgments; in each instance,
whether these damages and other costs are known or unknown, foreseeable or unforeseeable on
the Effective Time. The term "Associated Parties" means successors, assigns, directors, officers,
employees, agents, contractors, subcontractors, and affiliates.

        Assignee releases and discharges XTO Of fshore and its Associated Parties f rom each
Claim and Liability relating to the Interests, Properties, or this transaction, regardless of when or
how the Claim or Liability arose or arises or whether the Claim or Liability is f oreseeable or
unforeseeable.     AsSIGNEE'S RELEASE AND DISCHARGE oE X T O OFFSHORE AND ITS
ASSOCIATED PARTIES INCLUDE CLAIMS AND LIABILITIES CAUSED IN WHOLE OR IN PART BY
THE GROSS, SoLE, JOINT, CONCURRENT, ACTIVE OR PASSIVE NEGLIGENCE OF XTO OFFSHORE
oR ANY OF ITS ASSOCIATED PARTIES oR ANY THIRD PARTY AND APPLY REGARDLESS OF WHO
MAY BE AT FAULT oR OTHERW ISE RESPONSIBLE UNDER ANY OTHER CONTRACT OR ANY
STATUTE, RULE oR THEORY OF LAW INCLUDING THEORIES OF STRICT LIABILITY, and this
release and discharge are binding on Assignee and its successors and assigns The only exception
to Assignee's release and discharge of XTO Of f shore and i ts Associat ed Part ies is t hat (a)
Assignee does not release Claims against contractors and subcontractors for work regarding the
Interests and Properties, and (b) Assignee does not rel ease or discharge Claim s that XTO
Offshore breached the Purchase and Sade Agreement as defined hereafter.

       Assignee covenants not to sue XTO Offshore or its Associated Parties with regard to any
Claim or Liability relating to the Interests, Properties, or this transaction, regardless of when or
how the Claim or Liability arose or arises or whether the Claim or Liability is f oreseeable or
unforeseeable. ASSIGNEE's CovENANT NoT To SUE XTO OFFSHORE oR ITS ASSOCLATED
PARTIES INCLUDES CLAIMS AND LIABILITIES CAUSED IN WHOLE OR IN PART BY THE GROSS,
SOLE, JOINT, CONCURRENT, ACTWE OR PASSIVE NEGLIGENCE OF XTO OFFSHORE OR ANY OF
ITS ASSOCIATED PARTIES OR ANY THIRD PARTY AND APPLIES REGARDLESS OF WHO MAY BE AT
FAULT OR OTHERWISE RESPONSIBLE UNDER ANY OTHER CONTRACT OR ANY STATUTE, RULE OR
THEoRY oF LAW INCLUDING THEoRIEs oF STRICT LIABILITY, and this covenant is binding on
Assignee and its successors and assigns. The only exception to Assignee's covenant not to sue
XTO Offshore or its Associated Parties is that Assignee does not covenant not to sue contractors
and subcontractors for Work regarding the Interests and Properties.




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         Assignee wil l i ndemni f y, def end, and hold XT O O f f shore and it s Associated Parti es
harmless f rom each Claim or Liability relating to the Interests, Property, or this transaction,
regardl ess of when or how t he Cl aim or Li abi li t y arose or ari ses or whet her t he Cl ai m or
Liability is foreseeable or unforeseeable. AssIGNEE's oBLIGATIoNs To INDEMNIFY, DEFEND,
AND I-IoLD XTO OFFSHORE AND ITS AssoCIATED PARTIES HARMLESS INCLUDE CLAIMS AND
LIABILITIES CAUSED IN WHOLE OR IN PART BY THE GROSS, soLE, JoINT, CONCURRENT, ACTIVE
OR PAssIvE NEGLIGENCE OF XTO OFFSHORE OR ANY OF ITS AssoC1ATED PARTIES oR ANY
THIRD PARTY AND APPLY REGARDLESS OF WHO MAY BE AT FAULT OR OTHERWISE
RESPONSIBLE UNDER ANY OTHER CONTRACT OR ANY STATUTE, RULE OR THEORY OF LAW
INCLUDING TI1EoRIEs oF STRICT LIABILITY. The only exception to Assignee's obligations to
indemnify, defend, and hold XTO Offshore and its Associated Parties harmless is (a) a judgment
rendered or settlement reached in a lawsuit filed before the Effective Time, but only to the extent
that the acts or omissions that gave rise to the cause of action are attributable to the conduct or
operations or ownership of XTO Offshore or its Associated Parties before the Effective Time and
(b) a Claim that XTO Of fshore breached the Purchase and Sade Agreement def ined hereafter.
Assignee's obligations are binding on Assignee and its successors and assigns.

         Assignee's duty to release, discharge, not to sue, indemnify, defend, and hold XTO
Offshore and its Associated Parties harmless includes Claims or Liabilities arising in any manner
from the physical or environmental condition of the Interests and Properties, including Claims or
Liabilities under applicable laws and regulations now enacted or that may be enacted in the
future, including the Comprehensive Environmental Response, Compensation and Liability Act
of 1980, as amended from time to time.

                                          ARTICLE 8.

        Assignee represents that it has acquired the Properties for its own benefit and account and
has not acquired the Properties with the intent of distributing Hactionad undivided interests in
them or otherwise selling them in a manner that would be subj ect to regulation by federal or state
securities laws. If Assignee sells, transfers, or otherwise disposes of the Properties or 'fractional
undivided interests in them in the future, it will do so in compliance with applicable federal and
state laws.

       This Assignment is subject to the terms of the Purchase and Sale Agreement between
XTO Offshore, among others, and Assignee concerning the Properties, dated effective as of
August 1, 2011 (the "Purchase and Sale Agreement"). In the event of a conflict or inconsistency
between the terms and provisions of this Assignment and those set forth in the Purchase and Sade
Agreement, the terms and provisions in the Purchase and Sade Agreement shall control. The
Purchase and Sade Agreement provides, in part, that the Parties will correct errors that may have
been made in the conveyancing instruments; that XTO Offshore may require that all or a part of
the Properties be reassigned under certain circumstances; and that disputes concerning the
Properties or the transaction will be resolved by altemate dispute resolution, to the extent, if any,
that Assignee has not released, discharged, or covenanted not to sue XTO Offshore or its
Associated Parties.

       XTO Offshore, upon notice in writing to Assignee, shadl have the right to access the
Assignee's offices, facilities, Work sites, warehouses, books, records, correspondence,


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instructions, plans, drawings, receipts, vouchers, financial accounts, data stored in computer files
or microfiche and personnel to audit Assignee's accounts and records relating to the retained
royalty interest, including any hedge agreements, facilities used for the measurement o f
production from the properties, for any calendar year Within the twenty-four (24) month period
following the end of such calendar year. The same audit rights are to extend to subcontractors.
XTO Offshore shall maintain supporting data and accounting records consistent with generally
accepted accounting principles, and the employees and agents of company shall have the right to
reproduce and retain for the purpose of audit, any of these documents. XTO Offshore shall not
be liable for any of Assignee's contractor's or subcontractor's costs resulting from an audit
hereunder.

       The provisions of this Assignment are severable. If a court of competent jurisdiction
finds any part of this Assignment to be void, invalid, or otherwise unenforceable (except for the
release, waiver, defense, and indemnity provisions), this holding will not affect other portions
that can be given effect without the invalid or void portion.

       A11 covenants and agreements in this Assignment (except Article 8) bind and inure to the
benefit of the heirs, successors, and assigns of XTO Offshore and Assignee; are covenants
running With the land; and are effective as stated, whether or not the covenants and agreements
are memoriadized in assignments and other conveyances executed and delivered by the Parties
and their respective heirs, successors, and assigns from time to time.

        Recitation of or reference to any agreement or other instrument in this Assignment,
including its exhibits, does not operate to ratify, confirm, revise, or reinstate the agreement or
instrument if it has previously lapsed or expired.

        This Assignment and its performance will be construed in accordance With, and governed
by, the internal laws of the State of Texas, without regard to the choice of law miles of any
jurisdiction, including Texas.

        The word includes and its syntactical variants mean "includes, but not limited to" and its
corresponding syntactical variants. The mle of ejusdem generis may not be invoked to restrict or
limit the scope of the generad term or phrase followed or preceded by an enumeration of
particular examples.

        A11 exhibits referenced in and attached to this Assignment are incorporated into it.




                                     [lntentionally Left Blank]

       This instrument may be executed in counterparts, all of which together will be considered
one instrument.

        Executed in the presence of the undersigned Witnesses on the dates indicated below, but
effective as of the Effective Time.


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WITNESSES:                                                        XTO Offshore inc.
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Print or Type Name: J           s F.      1gg
                                                                  BY(        .    M    K/bmp        /QM
                                                                  NA ME :        James L. Death                  ig        A   /
  ...-         k        A                                         TITLE:         Attorney-in-Fact
Prmt(        ype Name:Clyde an rbrouk

                                                                  DATE:          August 3 1, 2011




                                                                  XTO Offshore Inc.

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                                                                  BY:                                .
P r m t o r Ty p e N     e: James F.      , .ggm s

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                                                                                               . Claeys                  / W

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Prmt or. me Name;ClydeV
              mic: Clvde Vaxd<,.'Br6LTk
                                   rou

                                                                  DATE:          August 31, 2011




                                                                  Dynamic Offshore Resources, LLC


                            ¢.QS                                  BY:
                                                                                    / f
   J
Print or T             ame: John H. Smith

                                                                  NAME:          G.M. McCarrol1

                                                          /   /    TITLE;        President and Chief Executive Officer
Print r Type Name: Lamben                  . La      e


                                                                  DATE:          August 3 1, 201 1




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ST AT E O F TEXAS               §
                                §
CO UN T Y O F HAR RI S          §



      'This instrument was acknowledged before me on August 31, 201 1, by James L. Death,
Attorney-in-Fact, and Christopher N . Claeys, Attorney-in-Fact, o f X T O Offshore Inc., a
Delaware corporation, on behalf of said corporation.

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Notaiy Public, State of Texas                                                                     \\
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                                                                (     Sl RANl Pl NE|RO
Notaly Name:                                       g a          Q NOTARY PUBLIC. STATE OF TEXAS§
                                                   \ 'k        U44   MY COMMISSION EXPIRES     \
My Commission expires on                           g                    APR\L 6, 2012             §



ST ATE O F T EXAS               §
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CO UNT Y O F HARRI S            §

          This instrument was acknowledged before me on August 31, 2011, by G.M. McCarroll,
President and Chief Executive Officer of Dynamic Offshore Resources, LLC, a Delaware limited
liability company, on behalf of said limited liability company.


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Notary Public, State of Texas                          ' ./°     ./°
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Notary Name:                                       \ .;~>'*"'</°»    RoBYN EARNOLD §
                                                   §             ==> NOTARY PUBLIC, STATE OF TEXAS §
My Commission expires on                                        ra     MY COMMISSION EXPIRES
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                                                                  EXHIBIT A
                                                 ATTACHED TO AND MADE A PART OF THAT CERTAIN
                                                         ASSIGNMENT AND BILL OF SALE
                                                      DATED EFFECTIVE AS OF AUGUST 1, 2011,
                                                          BETWEEN XTO OFFSHORE INC.
                                                     AND DYNAMIC OFFSHORE RESOURCES, LLC

                                                                   DESCRIPTION OF INTERESTS


                                                                                                                  Gross Interest
    XTO File #                                  Description                                     Interest Tvpe                                Owner
                                                                                                                   Percentage
    16240001-00    Breton Sound 25 - OCS-G 31442
                   That portion of Block 25, Breton Sound Area, OCS Leasing Map,
                   Louisiana Map No. 10B, seaward ofthe 1975 Supreme Court Decree            Record Title       50.00000%          XTO Offshore Inc.
                   Line specifically described in the OCS Block Diagram attached to
                   the lease instrument


    1624-0002-00   Breton Sound 25 - LA SL 19718
                   State Lease No. 19718, recorded in COB 1190, Page 672, File #
                   2008-00005015, Plaquemines Parish, Louisiana, being a portion of          Leasehold          50.00000%          XTO Offshore Inc.
                   Tract 39932, Plaquemines Parish Louisiana, containing 425.25 acres,
                   more or less.


    3148-0001-00   Breton Sound 28 - LA SL 1999
                   State Lease No. 1999, recorded in COB 156, Folio 184, Plaquemines
                   Parish, Louisiana, insofar and only insofar as said lease covers and
                   aEects rights in the stratigraphic equivalent of the electric log depth   Leasehold          100.00000%         XTO Offshore Inc.
                   intervals of 4,SO8' - 4,966', 5,358' - 5,360' and 5,505' - 5,640' as
                   measured in the LLOG Exploration Offshore, Inc. SL 1999 #4 ST.



    3372-0001-00   Breton Sound 44 - LA SL 16736
                   State Lease No . 16736, recorded i n COB 978, Folio 422,
                   Plaquemines Parish, Louisiana, insofar and insofar only as said lease     Leasehold          50.00000%          XTO Offshore Inc.
                   covers and effects acreage located within the confines of t he
d
                   Textularia W Zone, Reservoir A Unit, created by Order No. 1245-B.




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XTO File #                                 Description                                    Interest Tvpe                                Owner
                                                                                                             Percentage


3372-0004-00   Breton Sound 45 - LA SL 16735
               State Lease No . 16735, recorded i n COB 978, Folio 405,
               Plaquemines Parish, Louisiana, insofar and insofar only as said lease    Leasehold         50.00000%          XTO Offshore Inc.
               covers and effects acreage located within the confines of t h e
               Textularia W Zone, Reservoir A Unit, created by Order No. 1245-B.


3372-0006-00   Breton Sound 45 - LA SL 15683
               State Lease No . 15683, recorded i n COB 893, Folio 225,
               Plaquemines Parish, Louisiana: (Pt. C) insofar and only insofar as
               said lease covers and effects interests below the depth of 10,000'
               subsea and less and except all rights to the UV3-B interval, being the
               stratigraphic equivdent of the interval encountered between the
                                                                                                          50.00000%          Pt. C: XTO Offshore Inc.
               measured depths o f 10,860' and 10,950' i n the Phasor                   Leasehold
                                                                                                          37.50000%          Pt. D: XTO Offshore Inc.
               Induction/Sonic/GR log in the Century (Tenneco) SL 12806 # 1
               Well located in Breton Sound Block 52, and limited to that area
               included within the geographical boundaries of the UV B RA VUA
               and the TEX W RA, comprising 232.41 acres, AND (Pt. D) that part
               of SL 15683 comprising 46.82 acres within the boundary of the UV
               B RA VUA Hom the depths between 10,596' MD and l0,822' MD


3470-0003-00   Breton Sound 45 - LA SL 17942
               State Lease 17942, recorded in COB 1061, Folio 29, Plaquemines
               Parish, Louisiana, insofar and only insofar as said lease covers         Leasehold         37.50000%          XTO Offshore Inc.
               depths between 10,596' and 10,822' MD in the electric log for the
               Centmy UV B RA VUA; SL 17675 #1 Well.


3470-0001-00   Breton Sound 45 - LA SL 17674
               State Lease No . 17674, recorded i n COB 103 8, Folio 330,
               Plaquemjnes Parish, Louisiana, insofar and only insofar as said lease    Leasehold         37.50000%          XTO Offshore Inc.
               covers depths between 10,596' and 10,822' MD in the electric log for
               the CentLu'y UV B RA VUA; SL 17675 #1 Well.




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                                                                                                           Gross Interest
XTO File #                                 Description                                   Interest Tvpe                                Owner
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3470-0002-00   Breton Sound 52 - LA SL 17675
               State Lease No . 17675, recorded i n COB 1038, Folio 3 18,
               Plaquemines Parish, Louisiana, insofar and only insofar as said lease   Leasehold         37.50000%          XTO OHshore Inc.
               covers depths between 10,596' and 10,822' MD in the electric log for
               the Century UV B RA VUA; SL 17675 #1 Well.


3372-0005-00   Breton Sound 52 - LA SL 12806
               State Lease No . 12806, recorded i n COB 670, Folio 207,
               Plaquemines Parish, Louisiana: (Pt. D) less and except all rights to
               the UV3-B interval defined as being the stratigraphic equivalent of
               the interval encountered between the measured depths of l0,860' and
               10,950' i n the Phasor Induction/Sonic/GR log i n the Century
                                                                                                         50.00000%          Pt. D: XTO Oifshore Inc.
               (Tenneco) SL 12806 #1 W ell located in Breton Sound Block 52,           Leasehold
                                                                                                         37.50000%          Pt. E: XTO Offshore Inc.
               AND (Pt. E) insofar and only insofar as SL 12806 falls within the
               boundaries of that certain Voluntary Unit known as the UV B RA
               SUA operated by Century Exploration New Orleans, Inc., covering
               1113.02 acres and insofar only as SL 12806 covers depths between
               l0,596' and 10,822' MD in the electric log for the Century UV B RA
               VUA; SL 17675 #1 W ell


3372-0003-00   Breton Sound 52 - LA SL 16737
               State Lease No . 16737, recorded i n COB 978, Folio 439,
               Plaquemines Parish, Louisiana, insofar and insofar only as said lease   Leasehold         50.00000%          XTO Offshore Inc.
               covers and effects acreage located within the confines of t he
               Textularia W Zone, Reservoir A Unit, created by Order No. 1245-B.


3149-0001-00   Breton Sound 53 - LA SL 3770
               State Lease No. 3770, recorded in COB 239, Folio 675, Plaquemines
                                                                                       Leasehold         50.00000%          XTO Offshore Inc.
               Parish, Louisiana, insofar and insofar only as said lease covers
               depths Hom the surface down to a subsurface depth of 10,800'.


3372-0002-00   Breton Sound 53 - LA SL 16738
               State Lease No . 16738, recorded i n COB 978. Folio 456,
               Plaquemines Parish, Louisiana, insofar and insofar only as said lease   Leasehold         50.00000%          XTO Offshore Inc.
               covers and eiects acreage located within the confines of t he
               Textularia W Zone, Reservoir A Unit, created by Order No. 1245-B.




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3076-0001-00   East Cameron 178 - OCS-G 27834
                                                                                     Record Title          60.00000%          XTO Offshore Inc.
               All of Block 178, East Cameron Area


1634-0001-00   Eugene Island 226, OCS-G 33094
                                                                                     Record Title          100.00000%         XTO Offshore Inc.
               All of Block 226, Eugene Island Area


               Eugene Island 273 Reservoir Unit (0'-4900' Sand) Federal Unit
               891012338
               Comprised of portions of Eugene Island 272, 273, 284 and 285          Federal Unit          l0.96445%          XTO Offshore Inc.


3215-0001-00   Eugene Island 272 - OCS-G 0986
                                                                                     Record Title          30.00000%          XTO Oishore Inc.
               All of Block 272, Eugene Island Area, South Addition

               E/2/SE/4;      SW/4SE/4;        E/ZNW/4SE/4;      SW/4NW/4SE/4;
               E/2SE/4SW/4; SE/4SW/4NE/4; SW/4/NE/4NE/4; SE/4NE/4;
               SE/4NE/4NE/4 of Block 272, Eugene Island Area, Soufh Addition,
               INSOFAR AND ONLY INSOFAR as said lease covers operating
                                                                                     Operating Rights      30.00000%          XTO Offshore Inc.
               rights from the surface to the base of the 4900-B Sand, the base of
               which sand is identified on the IES Log of the Amoco Production
               Company, et al, Block 273 W ell No. 1 at a depth of 4,896' MD
               (4,859' subsea)


3216-0001-00   Eugene Island 284 - OCS-G 0991
               NE/4; SE/4; E/2SE/4NW/4; E/2SW/4; SW/4SW/4; SE/4NW/4SW/4;             Record Title 1:       15.00000%          XTO Oifshore Inc.
               SE/4NE/4NW/4 of Block 284, Eugene Island Area, South Addition


               NE/4NE/4NW/4; W/2E/2NW/4; W/2NW/4; N/2NW/4SW/4;
                                                                                     Record Title 2:       30.00000%          XTO Offshore Inc.
               SW/4NW/4SW/4 of Block 284, Eugene Island Area, South Addition

               W/ZNW/4; W/2SE/4NW/4; W/2NE/4NW/4; NE/4NE/4NW/4;
               W/2NW/4SW/4; NE/4NW/4SW/4 of Block 284, Eugene Island
               Area, South Addition, Hom the surface of the earth down to the base
                                                                                     Operating Rights 1:   30.00000%          XTO Offshore Inc.
               of the 4900-B Sand, the base of which sand is identified on the IES
               log of the Amoco Production Company, et al, Block 273 Well No. 1
               at a depth of4,896' MD / 4,859' subsea TVD


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               NE/4NE/4NW /4; W/2E/2NW/4; W/ZNW/4; N/2NW /4SW /4;
               SW/4NW/4SW/4 o f Block 284, Eugene Island Area, South
               Addition, INSOFAR AND ONLY INSOFAR as said lease covers
               those depths fiom below the base of the 4900-B Sand, the base of      Operating Rights 2:   15.00000%          XTO Offshore Inc.
               which is identified on the IES log of th e Amoco Production
               Company, et al, Block 273 W ell No. 1 at a depth of 4,896' MD /
               4,859' subsea TVD


               EI 292 Field Unit Federal Unit #891008764                             Federal Unit          29.87349%          XTO Offshore Inc.
               Comprised ofportions ofEugene Island 286, 292, 293, 308, 309

3217-0001-00   Eugene Island 286. OCS-G 0993                                         Record Title          45.00000%          XTO Offshore Inc.
               All of Block 286, Eugene Island Area, South Addition

               N/2 of Block 286, Eugene Island Area, South Addition, from the
               surface of the earth to the stratigraphic equivalent of 6,611 feet
               subsea (which represents a depth of 100 feet below the depth of       Operating Rights      45.00000%          XTO Offshore Inc.
               6,511 feet subsea, as encountered at a total depth in the Hall-
               Houston Oil Company OCS-G 0993 Well No. 6 ST No. 1.


3218-0001-00   Eugene Island 292. OCS-G 0994                                                                                  XTO Offshore Inc.
                                                                                     Record Title          30.00000%
               All of Block 292, Eugene Island Area, South Addition

3219-0001-00   Eugene Island 293. OCS-G 0995
               All of Block 293 Eugene Island Area, South Addition                   Record Title          30.00000%          XTO Offshore Inc.

               N/2N/2 of Block 293, Eugene Island Area, South Addition, Hom the
               surface of the earth, down to and including, but not below, a total   Operating Rights 1:   100.00000%         XTO Offshore Inc.
               depth of 5,505' TVD

               NE/4SW /4; NW /4SE/4; SE/4NW /4 of Block 293, Eugene Island
               Area, South Addition, 'dom the surface of the earth down to and       Operating Rights 2:   100.00000%         XTO Offshore Inc.
               including, but not below, a total depth of 5,995' TVD




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                                                                                                          Percentage
3220-0001-00   Eugene Island 308. OCS-G 0996
                                                                                    Record Title       l2.00000%          XTO Offshore Inc.
               All of Block 308, Eugene Island Area, South Addition

               N/2NW/4NW/4; SW/4NW/4SW/4; W/2SW/4SW/4 of Block 308,
                                                                                    Operating Rights   30.00000%          XTO Offshore Inc.
               Eugene Island Area, South Addition

               All of Block 308, Eugene Island Area, South Addidon, INSOFAR
               AND OMY INSOFAR AS to operating rights as to the C-1 Sand,
               identified as that sand found in the interval in the Forest Oi l
                                                                                    Operating Rights   30.00000%          XTO OHshore Inc.
               Corporation Un i t N o . 1 W ell, 3,985 feet to 4,125 feet (both
               measured depths), and any extension of said sand found on OCS-G
               0996 and OCS-G 1982


               SE/4SE/4NE/4; E/2E/2SE/4 of Bl oc k 30 8, Eugene Island Area,
               South Addition, INSOFAR AND ONLY INSOFAR AS to operating
               rights from the surface down to a depth which is the stratigraphic   Operating Rights   30.00000%          XTO Offshore Inc.
               equivalent of the measured depth of 6,050 feet found in the No. 2
               OCS-G 0996 Well


3221-0001-00   Eugene Island 309. OCS-G 0997
                                                                                    Record Title       30.00000%          XTO Offshore Inc.
               All of Block 309, Eugene Island Area, South Addition

               SW/4 of Block 309, Eugene Island Area, South Addition INSOFAR
               AND ONLY INSOFAR as to depths from the surface of the earth
               down to and including, but not below, a total depth of 7,0l4' TVD
                                                                                    Operating Rights   37.50000%          XTO Offshore Inc.
               (identified as the total depth of the Columbia Gas Development
               Corporation OCS-G 1981 J-1 S/T #1 - being 7,0l4' TVD /8,385'
               MD)

3077-0001-00   Eugene Island 311 - OCS-G 27918
                                                                                    Record Title       60.00000%          XTO Offshore Inc.
               All of Block 31 1, Eugene Island Area, South Addition

3212-0001-00   Eugene Island 312 - OCS-G22679
               E/2NW/4 & W/2NE/4 of Block 312, Eugene Island Area, South            Operating Rights   60.00000%          XTO Offshore Inc.
               Addition, from 0 to 9,000' TVD




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XTO File #                                Description                                 Interest Tvpe                                Owner
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3214-0001-00   Eugene Island 313 - OCS-G 2608
               NE/4 of Block 313, Eugene Island Area, South Addition, from the
               sub-surface of the ground down to and including 100' below the
                                                                                   Operating Rights   25.00000%          XTO Offshore Inc.
               stratigraphic equivalent of the true vertical depth of 8,320 feet
               subsea as encountered in the Aviara Energy Corporation OCS-G
               2608 No. J-4 Well


3264-0001-00   High Island 34. OCS-G 20655
                                                                                   Record Title       45.00000%          XTO Oifshore Inc.
               All of Block 34, High Island Area

3261-0001-00   High Island A-376 - OCS-G 2754
               All of Block A-376, High Island Area, East Addition, South          Record Title       12.50000%          XTO Offshore Inc.
               Extension

3265-0001-00   High Island A-554. OCS-G 21356                                                                            XTO Oishore Inc.
                                                                                   Record Title       25.00000%
               All of Block A-554, High Island Area, South Addition

3074-0001-00   Main Pass 29. OCS-G 27196                                                                                 XTO Offshore Inc.
                                                                                   Record Title       50.00000%
               All of Block 29, Main Pass Area

1625-0001-00   Main Pass 87- OCS-G 31433
                                                                                   Record Title       50.00000%          XTO Offshore Inc.
               All ofB1ock 87, Main Pass Area

3329-0001-00   Main Pass 94 - OCS-G 7802
               SE/4 of Block 94, Main Pass Area, as to those depths Hom the        Operating Rights   20.85200%          XTO Offshore Inc.
               surface of the earth down to 9,414' MD / 5,666' TVD


1625-0002-00   Main Pass 96- OCS-G 31434
                                                                                   Record Title       50.00000%          XTO Offshore Inc.
               All of Block 96, Main Pass Area


3318-0001-00   Main Pass 101 - OCS-G 22792                                                                               XTO Offshore Inc.
                                                                                   Record Title       60.45000%
               All of Block 101, Main Pass Area




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XTO File #                                Description                                    Interest Tvpe                                Owner
                                                                                                            Percentage
               N/2N/ZNE/4 of Block 101, Main Pass Area, limited to those depths
               Hom the surface of the earth down to a depth equal to the              Operating Rights   58.50000%          XTO Offshore Inc.
               stratigraphic equivalent of the total depth drilled in the Main Pass
               Block 101 Well No. 7, being 5,434 feet True Vertical Depth

3322-0001-00   Main Pass 109 OCS-G 22794
               SW/4NW/4, NW/4SE/4NW/4, SW/4NE/4NW/4 of Block 109, Main
               Pass Area, from the surface of the earth down to a depth of 100'
                                                                                      Operating Rights   25.99740%          XTO OHshore Inc.
               below the stratigraphic equivalent of a true vertical depth of 4,622
               feet as measured in the LLOG Exploration Offshore, Inc. OCS-G
               22794 No. 1 Well


               N/2NE/4, NW/4SW/4NE/4, NE/4SE/4NW/4, SE/4NE/4NW/4 of
               Block 109, Main Pass Area, from the surface of the earth down to a
               depth of 100' below the stratigraphic equivalent of a true vertical    Operating Rights   25.99740%          XTO OHshore Inc.
               depth of 9,937 feet as measured in the LLOG Exploration Offshore,
               Inc. OCS-G 22794 No. 2 Well (currently named the #D-1 Well)

3325-0001-00   Main Pass 112 OCS-G 9707                                               Record Title       100.00000%         XTO Offshore Inc.
               All of Block 112, Main Pass Area

3072-0001-00   Main Pass 114. OCS-G 27201                                             Record Title       100.00000%         XTO OHshore Inc.
               All of Block 114, Main Pass Area

3326-0001-00   Main Pass 116 OCS-G 3419                                               Record Title       100.00000%         XTO Offshore Inc.
               All of Block 116, Main Pass Area

3331-0001-00   Main Pass 118. OCS-G 22797
               S/2 of Block 118, Main Pass Area, Hom the surface down to 20,000       Operating Rights   50.00000%          XTO Offshore Inc.
               feet true vertical depth subsea


1626-0001-00   Main Pass 119. OCS-G 31438
                                                                                      Record Title       50.00000%          XTO Offshore Inc.
               All ofB1ock 119, Main Pass Area


3061-0001-00   Main Pass 125. OCS-G 25019                                             Record Title       62.50000%          XTO Offshore Inc.
               A11 ofBlock 125, Main Pass Area



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XTO File #                                Description                                    Interest Tvpe                                Owner
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3561-0001-00   Main Pass 179. OCS-G 33127                                             Record Title       l00.00000%         XTO OHshore Inc.
               All of Block 179, Main Pass Area, South and East Addition

3422-0001-00   Ship Shoal 79 OCS-G 15277
               A l l o f Bl o c k 79, Ship Shoal Area, INSOFAR AND o N L Y
               INSOFAR as the Lease covers Hom the surface to one hundred feet                                              XTO Offshore Inc.
                                                                                      Operating Rights   35. 10000%
               below the stratigraphic equivalent of 11,318' true vertical depth as
               seen in the electric log dated March 7, 2001 for the OCS-G 15277
               Well No. 2


3423-0001-00   Ship Shoal 188 OCS-G 22712                                             Record Title       100.00000%         XTO Offshore Inc.
               All ofBlock 188, Ship Shoal Area

               A l l o f Bl o c k 188, Ship Shoal Area, INSOFAR A N D O NL Y
               INSOFAR as to depths Hom the surface of the earth down to 17,000       Operating Rights   75.00000%          XTO Offshore Inc.
               feet subsea

               XTO Offshore Inc. and its Affiliates reserve and exclude all rights
               they have under that certain Lease Purchase Agreement dated
               effective January 22, 2002, b y and between EEX Corporation
               ("EEX") and Aviara Energy Corporation ("Aviara"), as amended
               April 1, 2005, by and between Newfield Exploration Gulf Coast,
               Inc. and Hunt Petroleum (AEC), Inc., as such agreements pertain to
               all depths from 17,000 feet to 100,000 feet subsea and expressly
               reserve and exclude the 5% of 8/8ths overriding royalty interest
               reserved by Aviara in that certain Assignment of Operating Rights
               dated effective January 22, 2002, by and between Aviara and EEX.


               Ship Shoal 271 Field Unit Federal Unit #891008784                                                            XTO Offshore Inc.
                                                                                      Federal Unit       34.27967%
               Comprised ofportions of Ship Shoal 247, 248, 249, 270, 271



3424-0001-00   Ship Shoal 247. OCS-G 1028                                             Record Title       36.66670%          XTO Offshore Inc.
               N/2 of Block 247, Ship Shoal Area, South Addition




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XTO File #                                Description                                          Interest Tvpe                                Owner
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               SW/4 of Block 247, Ship Shoal Area, South Addition                           Record Title       40.00000%          XTO Offshore Inc.


               SE/4 ofBlock 247, Ship Shoal Area, South Addition                            Record Title       30.00000%          XTO Offshore Inc.


3425-0001-00   Ship Shoal 248, OCS-G 1029                                                   Record Title       40.00000%          XTO Offshore Inc.
               NW/4; S/2 of Block 248, Ship Shoal Area, South Addition

               NE/4 of Block 248, Ship Shoal Area, South Addition                           Record Title       30.00000%          XTO OHshore Inc.

3426-0001-00   Ship Shoal 249, OCS-G 1030                                                   Record Title       40.00000%          XTO Offshore Inc.
               All of Block 249, Ship Shoal Area, South Addition

               NE/4 and S/2 ofBlock 249, Ship Shoal Area, South Addition only as
               to those depths above the stradgraphic equivalent of 15,108 feet as          Operating Rights   12.00000%          XTO Offshore Inc.
               identified on the electric log for the OCS-G 1030, well No. D-2.

               NW /4 of Block 249, Ship Shoal Area, South Addidon only as to
               those depths above the stratigraphic equivalent of 15,108 feet as            Operating Rights   12.00000%          XTO Offshore Inc.
               identified on the electric log for the OCS-G 1030, well No. D-2.


3427-0001-00   Ship Shoal 270, OCS-G 1037                                                   Record Title       40.00000%          XTO Offshore Inc.
               All of Block 270, Ship Shoal Area, South Addition

3428-0001-00   Ship Shoal 271. OCS-G 1038
               All of Block 271, Ship Shoal Area, South Addition                            Record Title       30.00000%          XTO OEshore Inc.


3445-0001-00   South Marsh Island 40, OCS-G 13607
                                                                                            Record Title       89.00000%          XTO Offshore Inc.
               All of Block 40, Soutl1 Marsh Island Area


3446-0001-00   South Marsh Island 41. OCS-G 1192
               E/2 of Block 41, South Marsh Island Area, INSOFAR AND ONLY
               INSOFAR as to depths 'dom surface ofthe earth down to 11,500 feet            Operating Rights   89.00000%          XTO Offshore Inc.
               TVD




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XTO File #                                Description                                         Interest Tvpe                                Owner
                                                                                                                 Percentage


3447-0001-00   South Marsh Island 44, OCS-G 23840
               All of Block 44, South Marsh Island Area, from surface down to a            Operating Rights   50.00000%          XTO Offshore Inc.
               depth of l5,500' TVD

3080-0001-00   South Marsh Island 45. OCS-G 31353
                                                                                           Record Title       50.00000%          XTO O1Tshore Inc.
               All of Block 45, South Marsh Island Area

3435-0001-00   South Marsh Island 109. OCS-G 24873
                                                                                           Record Title       54.16667%          XTO Offshore Inc.
               A11 of Block 109, South Marsh Island Area, South Addition


1383-0003-00   South Marsh Island 138. OCS-G 33616
                                                                                           Record Title       100.00000%         XTO Offshore Inc.
               All of Block 138, South Marsh Island Area, South Addition


3437-0001-00   South Marsh Island Block 139. OCS-G 21106
               SW/4SW/4 and S/2NW/4SW /4 of Block 139 South Marsh Island
               Area, South Addition, as to depths Hom below 6,000' TVD subsea to
                                                                                           Operating Rights   75.00000%          XTO Offshore Inc.
               and including 9,830' TV D, being 100' below the stratigraphic
               equivalent of the total depth drilled in the Hunt Petroleum (AEC),
               Inc. OCS-G 21 106 No. B-2 ST00 BPol Well


3439-0001-00   South Marsh Island Block 146 . OCS-G 9546
               NW/4NW/4 and NW/4NE/4NW/4 of Block 146, South Marsh Island
               Area, South Addition, as to depths Hom 6,000' TVD subsea down to
               and including 9,830' T V D being 100' below the stratigraphic               Operating Rights   75.00000%          XTO Offshore Inc.
               equivalent of the total depth drilled (9730' TVD) in the Hunt
               Petroleum (AEC), Inc. OCS-G 21106 (South Marsh Island Block
               139) No. B-2 ST00 BP01 Well.


3438-0001-00   South Marsh Island 142. OCS-G 1216
                                                                                           Record Title       55.00000%          XTO Offshore Inc.
               All of Block 142, South Marsh Island Area, South Addition

               S/2SE/4; E/2S/ZSW/4 of Block 142, South Marsh Island Area, South
                                                                                           Operating Rights   55.00000%          XTO Offshore Inc.
               Addition




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XTO File #                                Description                                         Interest Tvpe                                Owner
                                                                                                                 Percentage
3451-0001-00   South Pass 42 - LA SL 16869
               State Lease No . 16869, recorded i n COB 995, Folio 683,
               Plaquemines Parish, Louisiana, I N S O F A R O M Y a s said lease
               covers land lying INSIDE the geographic boundaries of that certain
                                                                                           Leasehold          75.00000%          XTO Offshore Inc.
               Voluntary Unit designated as the 04 RA VUA Unit, established by
               that certain Voluntary Unit Agreement dated October 19, 2005,
               recorded in Book 1137, Page 493, File No. 2007-00001208 of the
               Conveyance Records of Plaquemines Parish, Louisiana


3451-0007-00   South Pass 43 LA SL 16870
               State Lease No. 16870, recorded in COB 992, Folio 8, Plaquemines
               Parish, Louisiana, INSOFAR ONLY as said lease covers land lying
               INSIDE the geographic boundaries of that certain Voluntary Unit
                                                                                           Leasehold          75.00000%          XTO Offshore Inc.
               designated as the 04 RA VUA Unit, established by that certain
               Voluntary Unit Agreement dated October 19, 2005, recorded in
               Book 1137, Page 493, File No. 2007-00001208 of the Conveyance
               Records of Plaquemines Parish, Louisiana


3451-0006-00   South Pass 43. OCS-G 22781
               That portion of Block 43, South Pass Area, seaward of the 1975
                                                                                           Record Title       9.75000%           XTO Offshore Inc.
               Supreme Court Decree Line speciiically described on the OCS
               Block Diagram attached to the lease instrument.

               That portion of Block 43, South Pass Area, seaward of the 1975
               Supreme Court Decree Line specifically described on the OCS
               Block Diagram attached to the lease instrument INSOFAR AND
               oNLY INSOFAR as it covers depths Hom the surface of the earth to
                                                                                           Operating Rights   58.50000%          XTO Offshore Inc.
               the base o f t h e "O " Sand Series defined as the stratigraphic
               equivalent of a measured depth of 12,030 feet as seen on the
               Induction Electric Log for the Shell Oil Company, State Lease 2554
               W ellNo. 10


               That portion of Block 43, South Pass Area, seaward of the 1975
               Supreme Court Decree Line specifically described on the OCS
               Block Diagram attached to the lease instrument INSOFAR AND                  Operating Rights   19.50000%          XTO Offshore Inc.   H
               ONLY INSOFAR as it covers depths from below the base of the
               ||On Sand Series to 30,000 feet




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XTO File #                                 Description                                       Interest Tvpe                                  Owner
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3531-0001-00   Vermilion 313 OCS-G 1172
                                                                                          Record Title         50.00000%          XTO OHshore Inc.
               All of Block 3 13, Vennilion Area, South Addition

               SE/4 of Block 313, Vermilion Area, South Addition, INSOFAR
               AND OMY INSOFAR as the operating rights cover Hom the
                                                                                          Operating Rights 1   50.00000%          XTO Offshore Inc.
               surface of the earth down to and including, but not below, a total
               depth of 9,000' TVD

               N/2; SW/4 of Block 313, Vermilion Area, South Addition,
               INSOFAR AND ONLY INSOFAR as the operating rights cover
                                                                                          Operating Rights 2   50.00000%          XTO Offshore Inc.
               from the surface of the earth down to and including, but not below, a
               total depth of 9,000' TVD

3567-0001-00   Vermilion 264, OCS-G 33603
                                                                                          Record Title         100.00000%         XTO Offshore Inc.
               All of Block 264, Vennilion Area, South Addition

               West Cameron Block 507 Field Unit Federal Unit #754394008
                                                                                          Federal Unit         100.00000%         XTO Oifshore Inc.
               Comprised ofportions of West Cameron 485& 507

3163-0001-00   West Cameron 485. OCS-G 2220
                                                                                          Record Title         100.00000%         XTO Offshore Inc.
               All of Block 485, West Cameron Area, South Addition


3165-0001-00   West Cameron 507 (S/2), OCS-G 10594
                                                                                          Record Title         100.00000%         XTO OEshore Inc.
               S/2 of Block 507, West Cameron Area, South Addition

               SW/4SE/4; E/2sE/4; S/2NW/4SE/4; NE/4NW/4SE/4 of Block 507,
               West Cameron Area, South Addition, from the surface of the earfh
               down to and including 100' below the stratigraphic equivalent of the       Operating Rights     50.00000%          XTO Offshore Inc.
               true vertical depth of 10,798' as encountered in the Newiield
               Exploration Company, OCS-G 2549 No. C-1 (formerly No. 2) Well

3164-0001-00   West Cameron 507 (N/2). OCS-G 2549
                                                                                          Record Title         100.00000%         XTO Offshore Inc.
               N/2 of Block 507, West Cameron Area, South Addition




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XTO File #                             Description                                         Interest Tvpe                                Owner
                                                                                                              Percentage
             E/ZNE/4; SE/4SW/4NE/4 of Block 507, West Cameron Area, South
             Addition, Hom the surface of the earth down to and including 100'
             below the stratigraphic equivalent of the true vertical depth of           Operating Rights   50.00000%          XTO Offshore Inc.
             10,798' as encountered in the Newfield Exploration Company OCS-
             G 2549 No. C-1 (formerly No. 2) Well.




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                                                 EXHIBIT A-1
                                ATTACHED TO AND MADE A PART OF THAT CERTAIN
                                        ASSIGNMENT AND BILL OF SALE
                                     DATED EFFECTIVE AS OF AUGUST 1, 2011,
                                         BETWEEN XTO OFFSHORE INC.
                                    AND DYNAMIC OFFSHORE RESOURCES, LLC

                                                           CONTRACTS

XTO         Area      Block   OCS-G / ST   Agreement       Agmt Date         Party 1               Party 2                File Description
Agmt. #                       Lse #        Type

0283698     Breton    25      SL 19718     Lease           July 9, 2008      State of Louisiana    Robert A.              9-Jul-08
            Sound                                                                                  Schreider, Inc
            Area

0283658     Breton    25      3 1442       Lease           Februaxy 1        United States of      LLOG Exploration       1-Mar-09
            Sound                                          2008              America               Offshore, Inc.
            Area

0297856     Breton    25      SL 19718 &   Operating       March 1           LLOG Exploration      LLOG Exploration       1-Mar-09
            Sound             31442        Agreement       2009              Offshore, Inc.        Offshore, Inc. et al
            Area

0297980     Breton    25      SL 19718 &   Participation   March 1           LLOG Exploration      XTO Offshore Inc       1-Feb-08
            Sound             31442        Agreement       2009              Offshore, Inc.et al
            Area



02762 1 0   Breton    28      SL 1999      Lease           August 8          State of Louisiana    Kerr-McGee Oil
            Sound                                          1951                                    Industries, Inc.

0295077     Breton    28      SL 1999      Farmout         September 5       Kerr-McGee Oil &      LLOG Exploration
            Sound                          Agreement       2002              Gas Colp.             Offshore, Inc.




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    XTO         Area      Block   OCS-G / ST   Agreement    Agmt Date         Party 1                Party 2           File Description
    Agmt. #                       Lse #        Type

    04 1 7942   Breton    28      SL 1999      Purchase &   April 1, 2004     LLOG Exploration       Hunt Petroleum    LLOG Acquisition
                Sound                          Sale                           Offshore Inc., et al   Corporadon
                                               Agreement




L   02762 14    Breton    53      SL 3770      Lease        April 26          State of Louisiana     Union Oil
                Sound                                       1961                                     Company of
                                                                                                     California

    0276222     Breton    52      SL 12806     Lease        July 13, 1987     State of Louisiana     Tenneco Oil
                Sound                                                                                Company

    02762 14    Breton    53      SL 3770      Partial      May 1, 1994       Union Oil Company of Badger Oil          Consent to Assign
                Sound                          Assignment                     California           Corporation         Mariner Energy
                                                                                                                       » .   |   ..


    0276223     Breton    45      SL 15683     Lease        April 14          State of Louisiana     Stephen M.
                Sound                                       1997                                     Jenkins &
                                                                                                     Associates, Inc

    0276218     Breton    44      SL 16736     Lease        June 19, 2000     State of Louisiana     Robert A.
                Sound                                                                                Schroeder, Inc

    0276221     Breton    45      SL 16735     Lease        June 19, 2000     State of Louisiana     Robert A.
                Sound                                                                                Schroeder, Inc

    0276220     Breton    52      SL 16737     Lease        June 19, 2000     State of Louisiana     Robert A.
                Sound                                                                                Schroeder, Inc

    0276219     Breton    53      SL 16738     Lease        June 19, 2000     State of Louisiana     Robert A.
                Sound                                                                                Schroeder, Inc




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XTO       Area      Block    OCS-G / ST     Agreement    Agmt Date         Party 1               Party 2            File Description
Agmt. #                      Lse #          Type

0295080   Breton    44, 45   SL 3770,       Operating    January 15        LLOG Exploration &    Century
          Sound     52, 53   12806,         Agreement,   2001              Production Company    Exploration New
                             15683,         as amended                                           Orleans, Inc.
                             16735,
                             16736, 16737
                             & 16738

0342454   Breton    45 &     SL 3770 &      Production   December 1        LLOG Exploration &    Century
          Sound     53       15683          Handling     2001              Production Company    Exploration
                                            Agreement,                                           Company
                                            as amended

0276227   Breton    45       SL 17674       Lease        December 16       State of Louisiana    Century
          Sound                                          2002                                    Exploration
                                                                                                 Company

0276228   Breton    52       SL 17675       Lease        December 16       State of Louisiana    Century
          Sound                                          2002                                    Exploration
                                                                                                 Company

0295082   Breton    45 &     SL 12806,      Operating    March 27          Century Exploration   LLOG Exploration
          Sound     52       15683,         Agreement    2003              New Orleans, Inc.     & Production
                             17674, 17675                                                        Company
                             & 17942

0295081   Breton    44, 45   SL 12806,      TEX W RA     June 16, 2003     Louisiana Ofiice of   LLOG Exploration TEX W RA SUA;
          Sound     52, 53   15683,         SUA Unit                       Conservation          Company, LLC     Order No. 1245-B
                             16735,         Agreement
                             16736, 16737
                             & 16738

0295079   Breton    45 &     SL 12806,      UV B RA      August 14         The State Mineral     Century            UV B RA VUA
          Sound     52       15683,         Voluntary    2003              Board                 Exploration        SL 17675 No. 1
                             17674, 17675   Unit                                                 Company, et al
                             & 17942        Agreement




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    03 14460    Breton    52 &     SL 3770 &              Production   August 19           Palace Operating        LLOG Exploration
                Sound     53       12806                  Handling     2003                Company                 & Production
                                                          Agreement                                                Company, et al

    0276229     Breton    45       SL 17942               Lease        November            State of Louisiana      Cypress
                Sound                                                  17, 2003                                    Exploration
                                                                                                                   Company



0   04 1 7942   Breton
                Sound
                          44, 45
                          52, 53
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                                                          Purchase &
                                                          Sale
                                                          Agreement
                                                                       April 1, 2004       LLOG Exploration
                                                                                           Offshore Inc., et al
                                                                                                                   Hunt Petroleum
                                                                                                                   Corporation
                                                                                                                                      LLOG Acquisition


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                                   16 7 3 6
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    0295083     Breton    52       SL 17675               Production   May 15, 2004        Cent1n'y Exploration    Century            UVBRAVUA;
                Sound                                     Handling                         New Orleans, Inc., et   Exploration New    SL 17675 No. 1
                                                          Agreement                        al                      Orleans, Inc.      Well Production

    0361567     Breton    45       SL 15683               Farmout      N o ve m b er 1     XTO Offshore, Inc       Century            Century SL 19051
                Sound                                     Agreement,   20 1 0                                      Exploration New    #1; Virgo N.
                                                          as amended                                               Orleans, Inc.      Prospect

    0365804     Breton    45       SL 15683               Order No     Januaxy 12          The State Mineral and                      BS 53 3-B RA
                Sound                                     1245-B       2011                Energy Board                               VUA; SL 19051
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0278039   East        178     27834        Lease           July 1, 2006    United States of       Hunt Petroleum       1-Jul-06
          Cameron                                                          America                (AEC), Inc.
          Area

0295297   East         78     27834        Operating       February l      Hunt Petroleum         Nippon Oil           February 1, 2008
          Cameron                          Agreement       2008            (AEC), Inc.            Exploration          Nippon
          Area                                                                                    U.S.A. Limited

0295296   East         78     27834        Participation   February 1      Hunt Petroleum         Nippon Oil           February 1, 2008
          Cameron                          Agreement       2008            (AEC), Inc.            Exploration          Nippon
          Area                                                                                    U.S.A. Limited

0295295   East        178     28533        Righof-         October 7       Mi11erals Management   Hunt Petroleum       ROW OCS-G
          Cameron                          Way             2008            Service                (AEC), Inc.          28533, Segment
          Area                                                                                                         17688




0297145   Eugene      226     33094        Lease           July 1, 2009    United States of       Hunt Petroleum       1-Jul-09
          Island                                                           America                (AEC), Inc.
          Area

0340710   Eugene      226     33094        Data            April 2, 2002   Western Geco, L.L.C    Aviara Energy        Risk Reward
          Island                           Acquisition                                            Corporation, et al
          Area                             Agreement




0265425   Eugene      272     986          Lease           June 1, 1962    United States of       Forest Oil           1-.Tun-62
          Island                                                           America                Corporation
          Area,
          South
          Addition




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0294344     Eugene      272     986          Un it         February 13     Forest Oil Corporation   Cabot                13-Feb-70
            Island                           Operating     1970                                     Corporation, et al
            Area,                            Agreement
            South
            Addition

04 1 7927   Eugene      272     986          Unit          December 1      Forest Oil Corporation   Amoco Production     #14-0s-0001-
            Island                           Agreement     1972                                     Company, et al       12338 Dtd.
            Area,                            #14-08-                                                                     December 1, 1972
            South                            0001-12338
            Addition

0294344     Eugene      272     986          Gas           December 29     Forest Oil Corporation   Columbia Gas         (GBA)
            Island                           Balancing &   1994                                     Development
            Area,                            Storage                                                Corporation
            South                            Agreement
            Addition




0265426     Eugene      284     991          Lease         June 1,1962     United States of         Forest Oil           June 1,1962
            Island                                                         America                  Corporation
            Area,
            South
            Addition

0294344     Eugene      284     99           Unit          February 13     Forest Oil Corporation   Cabot                (See E1 272 File)
            Island                           Operating     1970                                     Corporation, et al
            Area,                            Agreement
            South
            Addition




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0417927    Eugene      284     991          Unit          December 1      Forest Oil Corporation   Amoco Production     (See EI 272 File)
           Island                           Agreement     1972                                     Company, et al
           Area,                            #14-08-
           South                            0001-12338
           Addition

0294344    Eugene      284     991          Gas Storage   December 29     Forest Oil Corporation   Columbia Gas         (See EI 272 File)
           Island                           & Balancing   1994                                     Development
           Area,                            Agreement                                              Corporation
           South
           Addition




0265419    Eugene      286     993          Lease         June 1, 1962    United States of         Forest Oil           1-Jun-62
           Island                                                         America                  Corporation
           Area,
           South
           Addition

02943 15   Eugene      286     993          Unit          May 4, 1966     Forest Oil Corporation   Consolidated Gas     #14-08-0001-8764
           Island                           Agreement                                              Supply
           Area,                            #14-08-                                                Corporation, et al
           South                            000 1 -8764
           Addition

02943 14   Eugene      286     993          Unit          May 4, 1966     Forest Oil Corporation   Texas Gas
           Island                           Operating                                              Exploration
           Area,                            Agreement,                                             Corporation, et al
           South                            as amended
           Addition




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0417934    Eugene      286     993          Unit            December 29       Forest Oil Corporation   Columbia Gas       EI 287 "D"
           Island                           Agreement       1977                                       Development        Platform WI Unit
           Area,                            EI 287 IIDII                                               Corporation
           South                            Platform WI
           Addition                         Unit

02943 14   Eugene      286     993          Gas Storage     December 29       Forest Oil Corporation   Columbia Gas
           Island                           & Balancing     1994                                       Development
           Area,                            Agreement                                                  Corporation
           South
           Addition

0418812    Eugene      286     993          Operating       April 28          Hall-Houston Oil         Columbia Gas       (N/2) April 28
           Island                           Agreement       1995              Company                  Development        1995
           Area,                                                                                       Corporation
           South
           Addition

0294321    Eugene      286     993          Participation   April 28          Colmnbia Gas             Hall-Houston Oil   (N/2) April 28
           Island                           Agreement,      1995              Development              Company            1995
           Area,                            as amended                        Corporation
           South
           Addition

0317713    Eugene      286     993          Production      June 14, 1995     Columbia Gas             Hall-Houston Oil   I Platform June
           Island                           Handling                          Development              Company            14, 1995
           Area,                            Agreement                         Corporation
           South
           Addition




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02654 1 8   Eugene      292     994          Lease         June 1, 1962    United States of         Forest Oil           1-Jun-62
            Island                                                         America                  Corporation
            Area,
            South
            Addition

02943 15    Eugene      292     994          Un it         May 4, 1966     Forest Oil Corporation   Consolidated Gas     #14-08-0001-8764
            Island                           Agreement                                              Supply               Ma y 4, 1966
            Area,                            #14-08-                                                Corporation, et al
            South                            000 1 -8764
            Addition

02943 14    Eugene      292     994          Unit          May 4, 1966     Forest Oil Corporation   Texas Gas            4-May-66
            Island                           Operating                                              Exploration
            Area,                            Agreement,                                             Corporation, et al
            South                            as amended
            Addition

02943 14    Eugene      292     994          Gas Storage   December 29     Forest Oil Corporation   Columbia Gas
            Island                           & Balancing   1994                                     Development
            Area,                            Agreement                                              Corporation
            South
            Addition




0265422     Eugene      293     995          Lease         June 1, 1962    United States of         Forest Oil           1-Jun-62
            Island                                                         America                  Corporation
            Area,
            South
            Addition




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02943 14   Eugene      293     995          Un it         May 4, 1966     Forest Oil Corporation   Texas Gas            See Eugene Island
           Island                           Operating                                              Exploration          292
           Area,                            Agreement,                                             Corporation, et al
           South                            as amended
           Addition

02943 15   Eugene      293     995          Un it         May 4, 1966     Forest Oil Corporation   Consolidated Gas     #14-08-0001-8764
           Island                           Agreement                                              Supply
           Area,                            #14-08-                                                Corporation, et al
           South                            000 1 -8764
           Addition

02943 14   Eugene      293     995          Gas           September       CNG Producing            Columbia Gas         GBA September
           Island                           Balancing &   29, 1994        Company                  Development          29, 1994
           Area,                            Storage                                                Corporation
           South                            Agreement
           Addition




0265416    Eugene      308     996          Lease         June 1, 1962    United States of         Forest Oil           1-Jun-62
           Island                                                         America                  Corporation
           Area,
           South
           Addition

02943 14   Eugene      308     996          Un it         May 4, 1966     Forest Oil Corporation   Texas Gas            May 4, 1966
           Island                           Operating                                              Exploration          See EI 292 U; UT
           Area,                            Agreement,                                             Corporation, et al
           South                            as amended
           Addition




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02943 15   Eugene      308     996          Unit         May 4, 1966     Forest Oil Corporation   Consolidated Gas     #14-08-0001-8764
           Island                           Agreement                                             Supply
           Area,                            #14-08-                                               Colporation, et al
           South                            0001-8764
           Addition

0419424    Eugene      308     996          Operating    June 1, 1991    Energy Development       Columbia Gas         June 1, 1991 Blks
           Island                           Agreement                    Corporation              Development          308 & 315 (N/2)
           Area,                                                                                  Corporation, et al
           South
           Addition




0265423    Eugene      309     997          Lease        June 1, 1962    United States of         Forest Oil
           Island                                                        America                  Corporation
           Area,
           South
           Addition

02943 15   Eugene      309     997          Unit         May 4, 1966     Forest Oil Corporation   Consolidated Gas     #14-08-0001-8764
           Island                           Agreement                                             Supply
           Area,                            #l4-08-                                               Corporation, et al
           South                            0001 -8764
           Addition

02943 14   Eugene      309     997          Un it        May 4, 1966     Forest Oil Corporation   Texas Gas
           Island                           Operating                                             Exploration
           Area,                            Agreement,                                            Colporation, et al
           South                            as amended
           Addition




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    041 8286   Eugene      309     997          Participation   November           Columbia Gas             Total Minatome       EI 309 "J
               Island                           Agreement,      22, 1989           Development              Coxporation, et al   Platform
               Area,                            as amended      Amended            Corporation
               South                                            January 2,
               Addition                                         1990

    02943 14   Eugene      309     997          Gas Storage     December 29        Forest Oil Corporation   Columbia Gas
               Island                           & Balancing     1994                                        Development

0              Area,
               South
               Addition
                                                Agreement                                                   Corporation




    0418585    Eugene      309     997          Unit            January 1          Forest Oil Corporation   Columbia Gas         EI 309 "CII & "G
               Island                           Agreement       1996                                        Development          Platforms - WI
               Area,                            EI 309 "C"                                                  Corporation          Unit (supercedes
               South                                                                                                             12/29/77 Unit
               Addition                         Platforms                                                                        Agrn0

    02945 81   Eugene      309     997          Operating       .Tune 1, 1999      Aviara Energy            Eugene Island        EI 309
               Island                           Agreement                          Corporation              309, LLC             Development
               Area,                                                                                                             Program - Exhibit
               South                                                                                                             "C" to Venture
               Addition                                                                                                          Agmt

    0292529    Eugene      309     997          Venture         June 15, 1999      Aviara Energy            Eugene Island
               Island                           Agreement                          Corporation              309, LLC
               Area,
               South
               Addition

    0418053    Eugene      309     997          Production      July 1, 2008       Mariner Energy, Inc      Hunt Petroleum       PHA EI 309 "J
               Island                           Handling                           et al                    (AEC), Inc., et al   EI 309 HG"
               Area,                            and
               South                            Operating
               Addition                         Agreement




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0340710   Eugene      311     27918        Data          April 2, 2002     Western Geco, L.L.C   Aviara Energy        Risk Reward
          Island                           Acquisition                                           Corporation, et al   Obligations
          Area,                            Agreement
          South
          Addition

0418791   Eugene      311     27918        Area of       March 29          Hunt Petroleum        Energy Partners      AMI EI 311
          Island                           Mutual        2005              (AEC), Inc.           Ltd.                 (s/2)
          Area,                            Interest
          South                            Agreement
          Addition

0352139   Eugene      311     27918        Operating     October 25        Hlmt Petroleum        Energy Partners      See EI 3 12
          Island                           Agreement,    2005              (AEC), Inc.           Ltd.                 Participation
          Area,                            as amended                                                                 Agmt. File
          South
          Addition

0278043   Eugene      311     27918        Lease         July 1, 2006      United States of      Hunt Petroleum       1-Jul-06
          Island                                                           America               (AEC), Inc.
          Area,
          South
          Addition




0277275   Eugene      312     22679        Lease         June 1, 2001      United States of      Devon Energy         1-Jun-01
          Island                                                           America               Production
          Area,                                                                                  Company, L.P
          South
          Addition




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0340710   Eugene      312     27679        Data            April 2, 2002      Western Geco, L.L.C   Aviara Energy        Risk Reward
          Island                           Acquisition                                              Corporation, et al   Obligations
          Area,                            Agreement
          South
          Addition

0418791   Eugene      312     27679        Area of         March 29           Hunt Petroleum        Energy Partners      AMI EI 312
          Island                           Mutual          2005               (AEC), Inc.           Ltd.                 (N/2)
          Area,                            Interest
          South                            Agreement
          Addidon

0295226   Eugene      312     22679        Farmout         October 25         Devon Energy          Hunt Petroleum       Oct. 25, 2005 E I
          Island                           Agreement,      2005               Production Company,   (AEC), Inc.          3 12 with Devon
          Area,                            as amended                         L.P.
          South
          Addition

0295225   Eugene      312     22679        Participation   October 25         I-Iunt Petroleum      Energy Partners      Oct. 25, 2005 E I
          Island                           Agreement       2005               (AEC), Inc.           Ltd.                 3 1 1/3 12 includes
          Area,                                                                                                          JoA with EPL
          South
          Addition

0352139   Eugene      312     22679        Operating       October 25         Hunt Petroleum        Energy Partners      See Participation
          Island                           Agreement,      2005               (AEC), Inc.           Ltd.                 Agmt File
          Area,                            as amended
          South
          Addition

0314146   Eugene      312     22679        Production      January 1          Hunt Petroleum        Hunt Petroleum       Jan. 1, 2007 E I
          Island                           Handling        2007               (AEC), Inc. et al     (AEC), Inc. et al    312/SM 142
          Area,                            Agreement
          South
          Addition




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0266169    Eugene      313     2608         Lease           May 1, 1974     United States of      Gulf Oil             1-May-74
           Island                                                           America               Corporation, et al
           Area,
           South
           Addition

0294574    Eugene      313     2608         Farmout         May 17, 1999    PennzEnergy           Aviara Energy        May 17, 1999
           Island                           Agreement                       Exploration and       Corporation          PennzEnergy
           Area,                                                            Production L.L.C
           South
           Addition

029433 1   Eugene      313     2608         Participation   May 18, 1999    Texaco Exploration    Aviara Energy        May 18, 1999 J4
           Island                           Agreement                       and Production Inc.   Corporation          Well Texaco
           Area,
           South
           Addition

0294578    Eugene      313     2608         Operating       May 18, 1999    Aviara Energy         Texaco               See 5/1 8/99
           Island                           Agreement                       Corporation           Exploration and      Participation Agmt
           Area,                                                                                  Producdon Inc.       File Exhibit "CII to
           South                                                                                                       Participation Agmt
           Addition

02945 81   Eugene      313     2608         Venture         June 15, 1999   Aviara Energy         Eugene Island        June 15, 1999 E I
           Island                           Agreement                       Corporation           309, L.L.C.          309 LLC
           Area,                                                                                                       Venture" Aglnt"
           South
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0265885   High          34      20655        Lease        December 1      United States of      Aviara Energy        1-Dec-98
          Island                                          1998            America               Corporation, et al
          Area

0294467   High          34      20655        Operating    December 1      Aviara Energy         Pure Resources       1-Dec-98
          Island                             Agreement,   1998            Corporation           L.P., et al
          Area                               as amended

0265886   High          34      24287        Righof-      October 15      Minerals Management   Hunt Petroleum       ROW OCS-G
          Island                             Way          2002            Service               (AEC), Inc.          24287, Segment
          Area                                                                                                       13955




0313848   Hi gh         A365    2750         Operating    September       Anadarko Production   Pan Eastern          9/1 5/79 HIA-
          Island                             Agreement,   15, 1979        Company               Exploration          365/376 Contract
          Area, East                         as amended                                         Company, et al       Area
          Add.,
          South Ext.




0265435   Hi gh         A376    2754         Lease        July 1, 1974    United States of      Texaco Inc., et al   1-Jul-74
          Island                                                          America
          Area, East
          Add.,
          South Ext.

0313848   Hi gh         A376    2754         Operating    September       Anadarko Production   Pan Eastern          9/15/79 HIA-
          Island                             Agreement,   15, 1979        Company               Exploration          365/376 Contract
          Area, East                         as amended                                         Company, et al       Area
          Add.,
          South Ext.




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0266179    High         A554    21356        Lease           November 1       United States of          Chieftain            1-Nov-99
           Island                                            1999             America                   International
           Area,                                                                                        (U.S.) Inc.
           South
           Addition

0294591    High         A554    21356        Participation   October 25       Chiefcain International   Aviara Energy        October 25, 2000 -
           Island                            Agreement /     2000             (U.S.) Inc.               Corporation, et al   Includes Operating
           Area,                             Operating                                                                       Agmt
           South                             Agreement
           Addition




0277242    Main Pass    29      27196        Lease           May 1, 2005      United States of          Hunt Petroleum       1-May-05
           Area                                                               America                   (AEC), Inc.

0295214    Main Pass    29      27196        Lease           May 18, 2005     Andex Resources           Hunt Petroleum       1 8-May-05
           Area                              Purchase &                       L.L.C., et al             (AEC), Inc.
                                             W ell
                                             Participation
                                             Agreement

0295215    Main Pass    29      27196        Operating       May 18, 2005     Hunt Petroleum            Andex Resources
           Area                              Agreement                        (AEC), Inc.               L.L.C., et al

02952 16   Main Pass    29      27196        Facility        July 3, 2006     Hunt Petroleum            Hunt Petroleum       MP29, 118
           Area                              Sharing                          (AEC), Inc., et al        (AEC), Inc., et al
                                             Agreement




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0277243    Main Pass    29      28216        Righfof-        October 31         Minerals Management     Hunt Petroleum       ROW OCS-G
           Area                              Way             2006               Service                 (AEC), Inc.          28216, Segment
                                                                                                                             No. 15810

03 17495   Main Pass    29      27196        Measuremen      November           XTO Offshore Inc., et   XTO Offshore         MP29,114, 118
           Area                              t and           14, 2007           al                      Inc., et al
                                             Allocation
                                             Agreement

0417466    Main Pass    29      27196        Pipeline Use    N ove m b e r 1    LLOG Exploration        XTO Offshore         MP 29, 112, 118
           Area                              Agreement       20 1 0             Offshore, LLC, et al    Inc., et al          & 125

0417463    Main Pass    29      27196        Pipeline Tie    May ll, 2011 LLOG Exploration              XTO Offshore         MP29, 112, 118
           Area                              In & Use                           Offshore, LLC, et al    Inc., et al          & 125
                                             Agreement




0283491    Main Pass    87      31433        Lease           January 1          United States of        LLOG Exploration     1-Jan-08
           Area                                              2008               America                 Offshore, Inc.

0297795    Main Pass    87      31433        Operating       March 1            LLOG Exploration        XTO Offshore Inc     1-Mar-09
           Area                              Agreement       2009               Offshore, Inc.

0297980    Main Pass    87      31433        Participation   March 1            LLOG Exploration        XTO Offshore Inc     See BS 25 Federal
           Area                              Agreement       2009               Offshore, Inc., et al                        Lease Folder




0276265    Main Pass    94      7802         Lease           July 1, 1985       United States of        Kerr-McGee           1-Jul-85
           Area                                                                 America                 Corporation, et al




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02951 18   Main Pass    94      7802         Operating       March 3            Kerr-McGee Oil &        Samedan Oil
           Area                              Agreement,      1986               Gas Corporation         Corporation, et al
                                             as amended

02951 15   Main Pass    94      7802         Participation   November 1         Kerr-McGee Oil &        Samedan Oil          November 1, 2001
           Area                              Agreement       200 1              Gas Corporation         Corporation, et al   Includes
                                                                                                                             OPERATING
                                                                                                                             AGMT

0418824    Main Pass    94      7802         Production      January 24         Kerr-McGee Oil &        Samedan Oil          24-Jan-02
           Area                              Handling        2002               Gas Colporation         Corporation, et al
                                             Agreement

0417942    Main Pass    94      7802         Purchase &      April 1, 2004      LLOG Exploration        Hunt Petroleum       LLOG Acquisition
           Area                              Sale                               Offshore Inc., et al    Corporation
                                             Agreement




0283524    Main Pass    96      31434        Lease           January 1          United States of        LLOG Exploration     1-Jan-08
           Area                                              2008               America                 Offshore, Inc.

0297835    Main Pass    96      31434        Operating       March 1            LLOG Exploration        XTO Offshore Inc     See Main Pass 87
           Area                              Agreement       2009               Offshore, Inc.

0297980    Main Pass    96      31434        Participation   March 1            LLOG Exploration        XTO Offshore Inc     See BS 25 Federal
           Area                              Agreement       2009               Offshore, Inc., et al                        Lease Folder




0276266    Main Pass     0      22792        Lease           July 1, 2001       United State of         Cheniere Energy,     1-Jul-01
           Area                                                                 America                 Inc., et al




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0295 122    Main Pass     0      22792        Operating       August 10          Cheniere Energy, Inc   Davis Gulf Coast,    10-Aug-01
            Area                              Agreement,      2001                                      Inc. et al
                                              as amended

0295115     Main Pass     0      22792        Participation   November 2         LLOG Exploration       Cheniere Energy,     November 2, 2001
            Area                              Agreement       200 1              Offshore, Inc.         Inc.                 LLOG-Chenier

0276267     Main Pass     0      24687        Rightof -       September          Minerals Management    LLOG Exploration ROW OCS-G
            Area                              Way             29, 2003           Sen/ice                Offshore, Inc.   24687 Seg 14304

04 1 7942   Main Pass     0      22792        Purchase &      April 1, 2004      LLOG Exploration       Hunt Petroleum       LLOG Acquisition
            Area                              Sale                               Offshore Inc., et al   Corporation
                                              Agreement

0295 125    Main Pass     0      22792        Compromise      March 26           Century Exploration    Davis Gulf Coast,    MP 101 B3 Well
            Area                              Settlement      2006               New Orleans, Inc.      Inc. et al
                                              Agreement




0276271     Main Pass    109     22794        Lease           May 1, 2001        United States of       Samedan Oil          1 -May-0 1
            Area                                                                 America                Corporation, et al

0295141     Main Pass     09     22794        Joint           May 1, 2001        Kerr-McGee Oil &       Samedan Oil          Exhibit D to FO &
            Area                              Operating                          Gas Corporation        Corporation, et al   JPA
                                              Agreement

0295 140    Main Pass    109     22794        Farmout &       April 23           Kerr-McGee Oil &       LLOG Exploration April 23, 2003
            Area                              Joint           2003               Gas Colporation        Offshore Inc.    Fannout & Joint
                                              Participation                                                              Participation Agmt
                                              Agreement

0417942     Main Pass    109     22794        Purchase &      April 1, 2004      LLOG Exploration       Hunt Petroleum       LLOG Acquisition
            Area                              Sale                               Offshore Inc., et al   Corporation
                                              Agreement




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0278033    Main Pass    112     9707         Lease          June 1, 1988       United States of       Diamond              1-Jun-88
           Area                                                                America                Shamrock
                                                                                                      Offshore Partners
                                                                                                      Limited
                                                                                                      Partnership

0278034    Main Pass      2     11738        Righof-        April 26           Minerals Management    Diamond              ROW OCS-G
           Area                              Way            1990               Service                Shamrock             11738, Seg 9006
                                                                                                      Offshore Paxtners
                                                                                                      Limited
                                                                                                      Partnership

0419576    Main Pass      2     9707         Purchase &     April 1, 2006      Vintage Petroleum,     Hunt Petroleum       Dated August 17
           Area                              Sale                              LLC                    (AEC), Inc.          2006, effApri1 1,
                                             Agreement                                                                     2006

0417466    Main Pass    112     9707         Pipeline Use   N o ve m b er 1    LLOG Exploration       XTO Offshore         MP29, 112, 118
           Area                              Agreement      20 1 0             Offshore, LLC, et al   Inc., et al          & 125

0417463    Main Pass    112     9707         Pipeline Tie   May 11, 2011       LLOG Exploration       XTO Offshore         MP29, 112, 11s
           Area                              In & Use                          Offshore, LLC, et al   Inc., et al          & 125
                                             Agreement




027728 1   Main Pass    114     27201        Lease          July 1, 2005       United States of       Hunt Petroleum       1-Jul-05
           Area                                                                America                (AEC), Inc.

0323989    Main Pass    114     27201        Production     August 1           Hunt Petroleum         Hunt Petroleum       1-Aug-07
           Area                              Handling       2007               (AEC), Inc.            (AEC), Inc., et al
                                             Agreement




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03 17495   Main Pass    114     27201        Measuremen November                XTO Offshore Inc. et    XTO Offshore
           Area                              t&             14, 2007            al                      Inc., et al
                                             Allocation
                                             Agreement




0278035    Main Pass      6     3419         Lease          January 1           United States of        Diamond             1-Jan-77
           Area                                             1977                America                 Shamrock
                                                                                                        Corporation

0278036    Main Pass    116     12708        1ugh¢-of-      January 8           Minerals Management     Diamond             ROW OCS-G
           Area                              Way            1991                Service                 Shamrock            12708, Segment
                                                                                                        Offshore Partners   9248
                                                                                                        Limited
                                                                                                        Partnership

0278037    Main Pass     116    25478        Rightof -      September           Minerals Management     XTO Offshore Inc    ROW OCS-G
           Area                              Way            24, 2004            Service                                     25478 Segment
                                                                                                                            14895

0419576    Main Pass     116    3419         Purchase &     April 1, 2006       Vintage Petroleum       Hunt Petroleum      Dated August 17
           Area                              Sale                               LLC                     (AEC), Inc.         2006, effApri1 1,
                                             Agreement                                                                      2006

0417466    Main Pass     116    3419         Pipeline Use   N ov em b er 1      LLOG Exploration        XTO Offshore        MP29, 112, 118
           Area                              Agreement      20 1 0              Offshore, LLC, et al    Inc., et al         & 125

C0410663   Main Pass      6     3419         Offshore       March 1             XTO Offshore Inc., et   Odyssey Pipeline    1-Mar-11
           Area                              Connection     2011                al                      L.L.C.
                                             Agreement

C0410589   Main Pass     116    3419         Boarding       M ar c h 1          XTO Oifshore Inc        Odyssey Pipeline    1-Mar-1 1
           Area                              Agreement      201 1                                       L.L.C.




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0417463   Main Pass    116     3419         Pipeline Tie-   May 11, 2011    LLOG Exploration       XTO Offshore         MP29, 112, 118
          Area                              In & Use                        Offshore, LLC, et al   Inc., et al          & 125
                                            Agreement




0277244   Main Pass      8     22797        Lease           June 1, 2001    United States of       Shell Offshore Inc   1-Jun-01
          Area                                                              America

0295220   Main Pass      8     22797        Farmout         July 1, 2005    Shell Offshore Inc     Hunt Petroleum       July 1, 2005
          Area                              Agreement                                              (AEC), Inc.          SHELL
                                                                                                                        FARMOUT &
                                                                                                                        ASSIGNMENTS

0295219   Main Pass    118     22797        Operating       August ll       Hunt Petroleum         Rosetta Resources    August 11, 2005
          Area                              Agreement       2005            (AEC), Inc.            Offshore, LLC, et    (Hunt-PetroQuest-
                                                                                                   al                   Rosetta)

0295218   Main Pass     18     22797        Participation   August 11       I-Iunt Petroleum       PetroQuest           Aug 11, 2005
          Area                              Agreement       2005            (AEC), Inc.            Energy, L.L.C        AGMT
                                                                                                                        W/PETROQUEST
                                                                                                                        &
                                                                                                                        ASSIGNMENTS

0295217   Main Pass      8     22797        Participation   August 11       Hunt Petroleum         Rosetta Resources    Aug 11, 2005
          Area                              Agreement       2005            (AEC), Inc.            Offshore, LLC        AGMT
                                                                                                                        W/ROSETTA &
                                                                                                                        ASSIGNMENTS

0295216   Main Pass      8     22797        Facility        July 3, 2006    Hunt Petroleum         Hunt Petrolemn       Jul 3, '06 Incl.
          Area                              Sharing                         (AEC), Inc., et al     (AEC), Inc., et al   Measrmnt & Alloc
                                            Agreement                                                                   Agmt 11/14/07




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0277245    Main Pass      8     28217        Right-on       October 31         Minerals Management     Hunt Petroleum     ROW O CS-G
           Area                              Way            2006               Service                 (AEC), Inc.        28217, Segment
                                                                                                                          158 11


0323989    Main Pass       8    22797        Production     August 1           XTO Offshore Inc., et   XTO Offshore       MP 114 to 118
           Area                              Handling       2007               al                      Inc., et al
                                             Agreement

03 17495   Main Pass     118    22797        Measuremen     November           XTO Oifshore Inc., et   XTO Offshore
           Area                              t and          14, 2007           al                      Inc., et al
                                             Allocation
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03 17474   Main Pass       8    22797        Production     November 1         XTO Offshore Inc., et   XTO Offshore       MP 125 to 118
           Area                              Handling       2008               al                      Inc., et al
                                               5

03 17474   Main Pass       8    22797        Production     November 1         XTO Offshore Inc., et   XTO Offshore       Only applies to
           Area                              Handling       2008               al                      Inc., et al        MP 29, 114 & 118
                                             Agreement

0417466    Main Pass       8    22797        Pipeline Use   November 1         LLOG Exploration        XTO Offshore       MP29, 112, 118
           Area                              Agreement      2010               Offshore, LLC, et al    Inc., et al        & 125

Pending    Main Pass       8    Pending      Right-Oil      Dec em b er 1      Bureau of Ocean         XTO Offshore Inc   ROW OCS-G
           Area                              Way            20 1 0             Energy Management,                         (Pending)
                                             (Pending)                         Regulation and                             SEGMENT
                                                                               Enforcement                                16342; ROW No
                                                                                                                          to be assigned

0409199    Main Pass     118    22797        Sales and      Dec emb er 10      Chevron Pipe Line       XTO Offshore Inc   MP 127 SSTI
           Area                              Conveyance     20 1 0             Company
                                             Agreement




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0409295     Main Pass      8     22797        Letter          January 11          W&T Offshore Inc        XTO Oifshore Inc   To acquire a
            Area                              Agreement       2011                                                           portion of ROW
                                                                                                                             OCS-G 11727,
                                                                                                                             Seg 8985

C04l05 89   Main Pass    118     22797        Boarding        March 1             XTO Offshore Inc        Odyssey Pipeline   1-Mar-1 1
            Area                              Agreement       2011                                        L.L.C.

C0410663    Main Pass    118     22797        Offshore        M ar c h 1          XTO Offshore Inc., et   Odyssey Pipeline   1-Mar-1 1
            Area                              Connection      201 1               al                      L.L.C.
                                              Agreement

0417463     Main Pass    118     22797        Pipeline Tie    May ll, 2011 LLOG Exploration               XTO Offshore       MP 29, 112, 118
            Area                              In & Use                            Offshore, LLC, et al    Inc., et al        & 125
                                              Agreement




0283355     Main Pass    119     31438        Lease           March 1             United States of        LLOG Exploration 1-Mar-08
            Area                                              2008                America                 Offshore Inc.

0297835     Main Pass      9     31438        Operating       March 1             LLOG Exploration        XTO Offshore       1-Mar-09
            Area                              Agreement       2009                Offshore Inc.           Inc., et al

0297980     Main Pass      9     31438        Participation   March 1             LLOG Exploration        XTO Offshore       See BS 25 Federal
            Area                              Agreement       2009                Offshore Inc., et al    Inc., et al        Lease Folder




0266623     Main Pass     25     25019        Lease           July 1, 2003        United States of        Hunt Petroleum     1-Jul-03
            Area                                                                  America                 (AEC), Inc.




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0294625    Main Pass    125     25019        Participation   February 28        Hunt Petroleum          LLOG Exploration Feb 28, 2008
           Area                              Agreement       2008               (AEC), Inc.             Offshore Inc.    (Include Operating
                                                                                                                            A9110

0294626    Main Pass     25     25019        Joint           Februaxy 28        Hunt Petroleum          LLOG Exploration
           Area                              Operating       2008               (AEC), Inc.             Offshore Inc.
                                             Agreement

03 17474   Main Pass     25     25019        Production      November 1         XTO Offshore Inc., et   XTO Offshore        Only applies to
           Area                              Handling        2008               al                      Inc., et al         MP 29, 114 & 118
                                             Agreement

0417466    Main Pass     25     25019        Pipeline Use    N o ve m b er 1    LLOG Exploration        XTO Offshore        MP29, 112, 118
           Area                              Agreement       20 1 0             Offshore, LLC, et al    Inc., et al         & 125

0417463    Main Pass    125     25019        Pipeline Tie    May 11, 2011       LLOG Exploration        XTO Offshore        MP29, 112, 118
           Area                              I n & Use                          Offshore, LLC, et al    Inc., et al         & 125




03 14026   Main Pass     79     33127        Lease           July 1, 2009       United States of        Hunt Petroleum      1-Jul-09
           Area,                                                                America                 (AEC), Inc.
           South &
           East
           Addition

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0294987    Ship         71      12347        Participation   October 6          PetroQuest Energy,      Hunt Petroleum      October 6, 2003
           Shoal                             Agreement       2003               L.L.C.                  (AEC) Inc., et al   (Includes
           Area                              & JOA                                                                          Operating Agmt)




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0294986    Ship     71      12347        Production     October 6          PetroQuest Energy,      PetroQuest           6-Oct-03
           Shoal                         Handling       2003               L.L.C.                  Energy, L.L.C., et
           Area                          Agreement                                                 al




0276280    Ship     80      9330         Righrof -      December 8         United States of        Samedan Oil          ROW OCS-G
           Shoal                         Way            1987               America, Department     Corporation          9330 Segment
           Area                                                            of Interior, Minerals                        8204
                                                                           Management Service

0296277    Ship     79      15277        Lease          August 1           United States of        Enron Oil & Gas      1-Aug-95
           Shoal                                        1995               America                 Company
           Area

0295 146   Ship     79      15277        Farmout        June 14, 2000      EOG Resources Inc       PetroQuest Energy    June 14, 2000
           Shoal                         Agreement                                                 One, L.L.C.          EOG Farmout
           Area

0295144    Ship     79      15277        Panicipation   July 15, 2000      PetroQuest Energy       LLOG Exploradon      Jul 15, '00
           Shoal                         Agreement                         One, L.L.C.             & Production         Includes Operating
           Area                                                                                    Company              Agmt

0295 145   Ship     79      15277        Joint          July 15, 2000      PetroQuest Energy       LLOG Exploration     Jul 15, '00
           Shoal                         Operating                         One, L.L.C.             & Production         Includes Operating
           Area                          Agreement                                                 Company              Agmt

0276279    Ship     79      23713        Right-of       May 29, 2002       United States of        LLOG Exploration ROW OCS-G
           Shoal                         Way                               America, Department     Offshore, Inc.   237 13 Segment
           Area                                                            of Interior, Minerals                        13737
                                                                           Management Service




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    Agmt. #                      Lse #        Type

    0276278     Ship     79      23712        Righof-         May 29, 2002    United States of         LLOG Exploration     ROW OCS-G
                Shoal                         Way                             America, Department      Offshore, Inc.       23712 Segment
                Area                                                          of Interior, Minerals                         13736
                                                                              Management Service

    0418821     Ship     79      15277        Purchase and April 15           Noble Energy, Inc., et   LLOG Exploration     Purchase of SS 80
                Shoal                         Sale         2003               al                       Offshore, Inc., et
                Area                          Agreement                                                al

L
    04 1 7942   Ship     79      15277        Purchase and    April 1, 2004   LLOG Exploration       Hunt Petroleum         Dated 7/9/04,
                Shoal                         Sale                            Company, L.L.C., et al Corporation            eifective 4/1/04
                Area                          Agreement




    0239135     Ship     188     22712        Lease           May 1, 2001     United States of         Aviara Energy
                Shoal                                                         America                  Corporation
                Area

    0294599     Ship      88     22712        Purchase and    January 22      Aviara Energy            EEX Corporation      Deep Rights;
                Shoal                         Sale            2002            Corporation                                   17,000 to 100,000
                Area                          Agreement,                                                                    subsea
                                              as amended
                                              (XTO
                                              reserves all
                                              rights
                                              reserved by
                                              it under this
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                                              as amended
                                              4-1-05, as to
                                              depths Hom
                                              17,000' to
                                              100,000'
                                              subsea)




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0418795   Ship         88     22712        Un it           March 1           ExxonMobil               Newfield             #754305002; S.
          Shoal                            Agreement       2005              Corporation              Exploration Gulf     Timbalier Block
          Area                             #754305002                                                 Coast Inc., et al    168 Unit

0294600   Ship         88     22712        Participation   March 21          Hunt Petroleum           Choice               Dated 3/2 1/05,
          Shoal                            Agreement       2005              (AEC), Inc.              Exploration, Inc     effective 3/1/05
          Area

0294601   Ship         88     22712        Operating       March 21          Hunt Petroleum           Choice               Dated 3/2 1/05,
          Shoal                            Agreement       2005              (AEC), Inc.              Exploration, Inc     effective 3/1/05
          Area

0266437   Ship         88     26977        Right-otl       May 8, 2006       Minerals Management      Hunt Petroleum       ROW OCS-G
          Shoal                            Way                               Service                  (AEC), Inc.          26977, Segment
          Area                                                                                                             156 14




0265449   Ship        247     1028         Lease           June 1, 1962      United States of         Forest Oil           1-Jun-62
          Shoal                                                              America                  Corporation
          Area,
          South
          Addition

0418811   Ship        247     1028         Un it           June 10, 1966     Forest Oil Corporation   Consolidated Gas     June 10, 1966
          Shoal                            Operating                                                  Supply               SEE SS 271 UNIT
          Area,                            Agreement,                                                 Corporation, et al   OA
          South                            as amended
          Addition

0418801   Ship        247     1028         Unit            June 10, 1966     Forest Oil Corporation   Consolidated Gas     Unit #14-08-0001
          Shoal                            Agreement                                                  Supply               8784
          Area,                            #l4-08-                                                    Corporation, et al
          South                            0001-8784
          Addition




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0418847   Ship        247     1028         Ownership     August 17          CNG Producing            Columbia Gas          F" Platform
          Shoal                            Agreement     1978               Company                  Development
          Area,                                                                                      Corporation, et al
          South
          Addition

0419113   Ship        247     1028         Gas           January 28         Texas Gas Exploration    CNG Producing
          Shoal                            Balancing     1981               Corporation, et al       Company
          Area,                            Agreement
          South
          Addition

0418811   Ship        247     1028         Co-           January 1          CNG Producing            Forest Oil
          Shoal                            Developmen    1994               Company                  Corporation, et al   Platforms,
          Area,                            t Agreement                                                                    aliquots, wells
          South                            &                                                                              interests
          Addition                         Amendment
                                           to Unit
                                           Operating
                                           Agreement




0265446   Ship        248     1029         Lease         June 1, 1962       United States of         Forest Oil           1-Jun-62
          Shoal                                                             America                  Corporation
          Area,
          South
          Addition

0418811   Ship        248     1029         Un it         June 10, 1966      Forest Oil Corporation   Texas Gas            June 10, 1966
          Shoal                            Operating                                                 Exploration          SEE SS 271 UNIT
          Area,                            Agreement,                                                Corporation, et al   OA
          South                            as amended
          Addition




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0418801   Ship        248     1029         Un it         June 10, 1966      Forest Oil Corporation   Consolidated Gas
          Shoal                            Agreement                                                 Supply
          Area,                            #14-08-                                                   Corporation, et al
          South                            0001-8784
          Addition

0418847   Ship        248     1029         Ownership     August 17          CNG Producing            Columbia Gas          F" Platform
          Shoal                            Agreement     1978               Company                  Development
          Area,                                                                                      Corporation, et al
          South
          Addition

0419113   Ship        248     1029         Gas           January 28         Texas Gas Exploration    CNG Producing        January 28, 1981
          Shoal                            Balancing     19 81              Corporation, et al       Company              Gas Balancing
          Area,                            Agreement                                                                      Agm t
          South
          Addition

0418811   Ship        248     1029         Co-           January 1          CNG Producing            Forest Oil
          Shoal                            Developmen    1994               Company                  Corporation, et al   Platforms,
          Area,                            t Agreement                                                                    aliquots, wells
          South                            &                                                                              interests
          Addition                         Amendment
                                           to Unit
                                           Operating
                                           Agreement




0265445   Ship        249     1030         Lease         June 1, 1962       United States of         Forest Oil           1-Jun-62
          Shoal                                                             America                  Corporation, et al
          Area,
          South
          Addition




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0418811   Ship        249     1030         Unit          June 10 1966       Forest Oil Corporation   Texas Gas            June 10 1966 -
          Shoal                            Operating                                                 Exploration          SEE SS 271 UNIT
          Area,                            Agreement,                                                Corporation, et al   OA
          South                            as amended
          Addition

0418801   Ship        249     1030         Unit          June 10, 1966      Forest Oil Corporation   Consolidated Gas
          Shoal                            Agreement                                                 Supply
          Area,                            #14-08-                                                   Corporation, et al
          South                            0001-8784
          Addition

0418838   Ship        249     1030         Farmout       April 5, 1972      Forest Oil               Pelto Oil            April 5, 1972 -
          Shoal                            Agreement                        Corporation, et al       Company, et al       Pelto, et al (also
          Area,                                                                                                           covers SS 270)
          South
          Addition

0419113   Ship        249     1030         Gas           January 28         Texas Gas Exploration    CNG Producing
          Shoal                            Balancing     1981               Corporation, et al       Company
          Area,                            Agreement
          South
          Addition

0418811   Ship        249     1030         Co-           January 1          CNG Producing            Forest Oil
          Shoal                            Developmen    1994               Company                  Corporation, et al   Platforms,
          Area,                            t Agreement                                                                    aliquots, wells
          South                            &                                                                              interests
          Addition                         Amendment
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0265448   Ship        270     1037         Lease        June 1. 1962    United States of         Forest Oil           June 1. 1962
          Shoal                                                         America                  Corporation, et al
          Area,
          South
          Addition

0418811   Ship        270     1037         Un it        June 10. 1966   Forest Oil Corporation   Texas Gas            June 10. 1966
          Shoal                            Operating                                             Exploration          SEE SS 271 UNIT
          Area,                            Agreement,                                            Corporation, et al   OA
          South                            as amended
          Addition

0418801   Ship        270     1037         Un it        June 10, 1966   Forest Oil Corporation   Consolidated Gas
          Shoal                            Agreement                                             Supply
          Area,                            #14-08-                                               Corporation, et al
          South                            000 1-8784
          Addition

0418838   Ship        270     1037         Farmout      April 5, 1972   Forest Oil               Pelto Oil            April 5, 1972 -
          Shoal                            Agreement                    Corporation, et al       Company, et al       Pelto, et al (also
          Area,                                                                                                       covers SS 249)
          South
          Addition

0419113   Ship        270     1037         Gas          January 28      Texas Gas Exploration    CNG Producing
          Shoal                            Balancing    1981            Corporation, et al       Company
          Area,                            Agreement
          South
          Addition




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0418811   Ship        270     1037         Co-           January 1          CNG Producing            Forest Oil
          Shoal                            Developmen    1994               Company                  Corporation, et al   Platforms,
          Area,                            t Agreement                                                                    aliquots, wells
          South                            &                                                                              interests
          Addition                         Amendment
                                           to Unit
                                           Operating
                                           Agreement




0265450   Ship        271     1038         Lease         June 1, 1962       United States of         Forest Oil           1-Jun-62
          Shoal                                                             America                  Corporation, et al
          Area,
          South
          Addition

0418811   Ship        27      1038         Un it         June 10, 1966      Forest Oil Corporation   Texas Gas            10-Jun-66
          Shoal                            Operating                                                 Exploration
          Area,                            Agreement,                                                Corporation, et al
          South                            as amended
          Addition

0418801   Ship        271     1038         Unit          June 10, 1966      Forest Oil Corporation   Consolidated Gas
          Shoal                            Agreement                                                 Supply
          Area,                            #l4-08-                                                   Corporation, et al
          South                            0001-8784
          Addition

0418848   Ship        271     1038         Farmout       September 3        Forest Oil               Columbia Gas         September 3, 1974
          Shoal                            Agreement     1974               Colporation, et al       Development          Forest - CGDC
          Area,                                                                                      Corp., et al
          South
          Addition




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0419113   Ship        271     1038         Gas             January 28         Texas Gas Exploration   CNG Producing
          Shoal                            Balancing       1981               Colporation, et al      Company
          Area,                            Agreement
          South
          Addition

0418811   Ship        271     1038         Co-             January 1          CNG Producing           Forest Oil
          Shoal                            Developmen      1994               Company                 Corporation, et al   Platforms,
          Area,                            t Agreement                                                                     aliquots, wells
          South                            &                                                                               interests
          Addition                         Amendment
                                           to Unit
                                           Operating
                                           Agreement




0266626   South       40      13607        Lease           August 1           United State of         Shell Offshore Inc   1-Aug-92
          Marsh                                            1992               America
          Island
          Area

0294629   South       40      13607        Operating       Febmary 24         Hunt Petroleum          LLOG Exploration     SM 40/41 Shallow
          Marsh                            Agreement,      2003               (AEC), Inc.             Offshore, Inc.       Rights - revised 6-
          Island                           as revised                                                                      1-03
          Area

0294629   South       40      13607        Participation   February 24        Hunt Petroleum          LLOG Exploration     Feb. 24, 2003
          Marsh                            Agreement       2003               (AEC), Inc.             Offshore, Inc.       (INCLUDES SM
          Island                           & JOA, as                                                                       40 OPER AGMT)
          Area                             amended




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0294621   South     40      13607        Joint Area    June 1, 2003       Hunt Petroleum         Devon Energy        June 1, 2003
          Marsh                          Agreement,                       (AEC), Inc.            Production          (Includes OA SM
          Island                         as amended                                              Company, L.P., et   40/41 Deep
          Area                                                                                   al                  Rights)

0294629   South     40      13607        Operating     June 1, 2003       Hunt Petroleum         Devon Energy        SM 40/41 Deep
          Marsh                          Agreement,                       (AEC), Inc.            Production          Rights
          Island                         as amended                                              Company, L.P
          Area

0295463   South     40      13607        Platform      June 30, 2003      Apache Corporation     Hunt Petroleum      JA" PF Lse &
          Marsh                          Lease and                                               (AEC), Inc.         Opers Agmt-
          Island                         Operations                                                                  TERMINATED
          Area                           Agreement                                                                   but obligations
                                                                                                                     suwive under
                                                                                                                     Joint Area
                                                                                                                     Agreement Para
                                                                                                                     12.

0417942   South     40      13607        Purchase &    April 1, 2004      LLOG Exploration       Hunt Petroleum      LLOG Acquisition
          Marsh                          Sale                             Offshore Inc., et al   Corporation
          Island                         Agreement
          Area

0316161   South     40      13607        Production    September 1        Hlmt Petroleum         Devon Energy        Sept. 1, 2004 JA
          Marsh                          Handling      2004               (AEC), Inc.            Production          PF SM 41"
          Island                         Agreement,                                              Company, L.P
          Area                           as Ratified

0266626   South     40      13607        Purchase &    October 1          Apache Corporation     Hunt Petroleum      October 1, 2004
          Marsh                          Sale          2004                                      Corporation         APACHE
          Island                         Agreement                                                                   Acquisition
          Area




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0316161   South     40      13607        Production      December 1         Hunt Petroleum       Nippon Oil         PHA SM 44 "C I
          Marsh                          Handling        2007               (AEC), Inc., et al   Exploration        SM 40 "JA"
          Island                         Agreement,                                              U.S.A. Limited
          Area                           as amended

0294629   South     40      13607        Ratiication     April 1, 2008      Hunt Petroleum       Devon Energy                        W
                                                                                                                    Ratiiication of SM
          Marsh                          and                                (AEC), Inc., et al   Production         44 IIC" SM 40
          Island                         Amendment                                               Company, L.P       "JA" PHA for SM  4
          Area                                                                                                      40 C-2 / C2D Wellall


0266626   South     40      13607        Purchase &      Januaxy 1          Nippon Oil           XTO Offshore       Janumy 1, 2010
          Marsh                          Sale            2010               Exploration U.S.A    Inc., et al        (Acq Nippon Deep
                                                                                                                                   p
          Island                         Agreement                          Limited                                 Rights SM 40/41)
          Area




0266627   South     41      1192         Lease           June 1, 1962       United State of      California Oil     1-Jun-62
          Marsh                                                             America              Company
          Island
          Area

0294629   South     41      1192         Participation   February 24        Hunt Petroleum       LLOG Exploration Feb. 24, 2003
          Marsh                          Agreement       2003               (AEC), Inc.          Offshore, Inc.   (Includes SM 40
          Island                         & JOA, as                                                                  OA)
          Area                           amended

0294629   South     41      1192         Operating       February 24        Hunt Petroleum       LLOG Exploration SM 40/41 Shallow
          Marsh                          Agreement,      2003               (AEC), Inc.          Offshore, Inc.   Rights - revised 6-
          Island                         as revised                                                                 1-03
          Area




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0294621     South          41      1192         Joint Area    June 1, 2003       Hunt Petroleum         Devon Energy        June 1, 2003
            Marsh                               Agreement,                       (AEC), Inc.            Production          (Includes OA SM
            Island                              as amended                                              Company, L.P., et   40/41 Deep
            Area                                                                                        al                  Rights)

0294629     South          41      1192         Operating     June 1, 2003       Hunt Petroleum         Devon Energy        SM 40/41 Deep
            Marsh                               Agreement,                       (AEC), Inc.            Production          Rights
            Island                              as amended                                              Company, L.P
            Area

04 1 7942   South          41      1192         Purchase &    April 1, 2004      LLOG Exploration       Hunt Petroleum      LLOG Acquisition
            Marsh                               Sale                             Offshore Inc., et al   Corporation
            Island                              Agreement
            Area

0316161     South          41      1192         Production    September 1        Hunt Petroleum         Devon Energy        Sept. 1, 2004 JA
                3.I'S I                         H§1`d1i       2004               (AEC), Inc.            Production          PF SM 41"
            Is l an d                           Agreement,                                              Company, L.P
            A r ea                              as ratiiied

0266626     South          41      1192         Purchase &    October 1          Apache Corporation     Hunt Petroleum      October 1, 2004
            Marsh                               Sale          2004                                      Corporation         APACHE
            Island                              Agreement                                                                   Acquisition
            Area

0266626     South          41      1192         Purchase &    January 1          Nippon Oil             XTO Offshore        January 1, 2010
            Marsh                               Sale          2010               Exploration U.S.A      Inc., et al         (Acq Nippon Deep
            Island                              Agreement                        Limited                                    Rights SM 40/41)
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0278245    South     44      23 840       Lease           May 1, 2002        United States of      Devon Energy         1-May-02
           Marsh                                                             America               Production
           Island                                                                                  Company, L.P
           Area

0295304    South     44      23 840       Farmout         Janua1y 4          Devon Energy          Hunt Petroleum       4-Jan-07
           Marsh                          Agreement       2007               Production Company,   (AEC), Inc.
           Island                                                            L.P.
           Area

0295305    South     44      23 840       Operating       January 4          Hunt Petroleum        Nippon Oil           4-Jan-07
           Marsh                          Agreement,      2007               (AEC), Inc.           Exploration
           Island                         as amended                                               U.S.A. Limited
           Area

0295308    South     44      23 840       Participation   March 8            Hunt Petroleum        Nippon Oil           8-Mar-07
           Marsh                          Agreement,      2007               (AEC), Inc.           Exploration
           Island                         as amended                                               U.S.A. Limited
           Area

03 16099   South     44      23 840       Production      December 1         Hunt Petroleum        Nippon Oil           1-Dec-07
           Marsh                          Handling        2007               (AEC), Inc., et al    Exploration
           Island                         Agreement,                                               U.S.A. Limited, et
           Area                           as amended                                               al

03 16099   South     44      23 840       Ratification    April 1, 2008      Hunt Petroleum        Devon Energy         Ratification of SM
           Marsh                          and                                (AEC), Inc., et al    Production           44 IIC" SM 40
           Island                         Amendment                                                Company, L.P         "JA" PHA for SM
           Area                                                                                                         40 C-2 / C2D Well




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0295305   South       45      31353        Operating     January 4          Hunt Petroleum        Nippon Oil           SM 44 JoA
          Marsh                            Agreement,    2007               (AEC), Inc.           Exploration          amended eff 2-1-
          Island                           as amended                                             U.S.A. Limited       08 to include SM
          Area                                                                                                         45

0215991   South       45      31353        Lease         February 1         United States of      Hunt Petroleum       1-Feb-08
          Marsh                                          2008               America               (AEC), Inc. et al
          Island
          Area




0340710   South        09     24873        Data          April 2, 2002      Western Geco, L.L.C   Aviara Energy        Risk-Reward
          Marsh                            Acquisition                                            Corporation, et al   Obligations
          Island                           Agreement
          Area,
          South
          Addition

0276089   South       109     24873        Lease         June 1, 2003       United States of      Hunt Petroleum       1-Jun-03
          Marsh                                                             America               (AEC), Inc., et al
          Island
          Area,
          South
          Addition

0294983   South       109     24873        Operating     June 1, 2003       I-Iunt Petroleum      Cheyenne             1-Jun-03
          Marsh                            Agreement                        (AEC), Inc.           International
          Island                                                                                  Corporation, et al
          Area,
          South
          Addition




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0276089    South       109     24873        Acquisition   December 9      CL&F Resources LP     Hunt Petroleum       November 20,
           Marsh                            of Interest   2003                                  (AEC), Inc.          2003 eff date (Acq
           Island                           Letter                                                                   of CL&F interest)
           Area,                            Agreement
           South
           Addition




0340710    South        38     33616        Data          April 2, 2002   Western Geco, L.L.C   Aviara Energy        Risk-Reward
           Marsh                            Acquisition                                         Corporation, et al   Obligadons
           Island                           Agreement
           Area,
           South
           Addition

033 1362   South        38     33616        Lease         June 1,2010     United States of      Chiefcain            1-Jun-10
           Marsh                                                          America               International
           Island                                                                               (U.S.) Inc.
           Area,
           South
           Addition




0279702    South        39     21106        Lease         July 1, 1999    United States of      Chieftain
           Marsh                                                          America               International
           Island                                                                               (U.S.) Inc.
           Area,
           South
           Addition




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0340710    South       139     21106        Data            April 2, 2002     Western Geco, L.L.C    Aviara Energy       Risk-Reward
           Marsh                            Acquisition                                              Corporadon, et al   Obligations
           Island                           Agreement
           Area,
           South
           Addition

0295340    South        39     21106        Joint Area      March 22          Newtield Exploration   Hunt Petroleum
           Marsh                            Agreement,      2004              Company, et al         (AEC), Inc.
           Island                           as amended
           Area,
           South
           Addition

0419195    South        39     21106        Participation   April 1, 2004     Newfield Exploration   Hunt Petroleum
           Marsh                            Agreement                         Company                (AEC), Inc.
           Island
           Area,
           South
           Addition

0295341    South        39     21106        Operating       April 1, 2004     Newfield Exploration   Hunt Petroleum
           Marsh                            Agreement                         Company                (AEC), Inc.
           Island
           Area,
           South
           Addition

03 14481   South        39     21106        Production      July 27, 2005     NewHeld Exploration    Hunt Petroleum
           Marsh                            Handling                          Company                (AEC), Inc.
           Island                           Agreement
           Area,
           South
           Addition




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XTO         Area        Block   OCS-G / ST   Agreement    Agmt Date         Party 1                  Party 2              File Description
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04 1 9647   South        39     21106        Letter       May 25, 2011 McMoRan Oil & Gas             XTO Offshore         SM 146 A-8ST
            Marsh                            Agreement                 L.L.C.                        Inc., et al          Recompletion
            Island
            Area,
            South
            Addition




0294392     South       142     1216         Operating    May 17, 1961      Forest Oil Corporation   Hope Natural Gas     Exhibit to
&           Marsh                            Agreement,                                              Company, et al       Geophysical
0294343     Island                           as amended                                                                   Exploration Agmt
            Area,                                                                                                         dated 5-17-61
            South                                                                                                         (Non Unit)
            Addition

0265447     South       142     1216         Lease        June 1, 1962      United States of         Forest Oil           1-Jun-62
            Marsh                                                           America                  Corporation
            Island
            Area,
            South
            Addition

0294393     South       142     1216         Un it        March 17          Forest Oil Corporation   Columbia Gas         3/17/1976 Unit
            Marsh                            Operating    1976                                       Development          Operating
            Island                           Agreement                                               Corporation, et al   Agreement
            Area,                                                                                                         s1u°vives Unit
            South                                                                                                         Tennination
            Addition




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XTO        Area        Block   OCS-G / ST   Agreement      Agmt Date          Party 1               Party 2              File Description
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0325391    South        42     3441         Righrof -      August 26          Minerals Management   Columbia Gulf        ROW OCS-G
           Marsh                            Way            1977               Service               Transmission         3441 Segment
           Island                                                                                   Company              4733 (Columbia
           Area,                                                                                                         Gulf Acq)
           South
           Addition

033 1679   South       142     1216         Contract/Pip   May 6, 1996        Marathon Pipeline     Forest Oil           A" OA & Pipeline
           Marsh                            eline                             Company               Corporation, et al   Connection
           Island                           Connection                                                                   Contract"
           Area,                            and
           South                            Operating
           Addition                         Agreement

0265447    South        42     1216         Purchase &     April 19           Kerr-McGee Oil &      Energy Resources     April 19, 1999
           Marsh                            Sale           1999               Gas Corporation       MAQ, Inc.            effective January
           Island                           Agreement                                                                    1, 1998 (Acq of
           Area,                                                                                                         KMG All PF
           South                                                                                                         Interest)
           Addition

0265447    South        42     1216         Purchase &     June 16, 1999      Aries Resources       Aviara Energy        June 16, 1999
           Marsh                            Sale                              L.L.C.                Corporation, et al   effective April 1,
           Island                           Agreement                                                                    1998 (Aries Acq)
           Area,
           South
           Addition

03 14146   South       142     1216         Production     January 1          Hunt Petroleum        Hunt Petroleum       EI 312 uD|| SM
           Marsh                            Handling       2007               (AEC), Inc., et al    (AEC), Inc., et al
           Island                           Agreement
           Area,
           South
           Addition




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0341611    South       142     1216         Purchase &    October 1         Eni Petroleum US         XTO Oifshore Inc     Oct. 1, 2009 (Acq
           Marsh                            Sale          2009              LLC                                           of Eni Interest)
           Island                           Agreement
           Area,
           South
           Addition

0341720    South       142     1216         Purchase &    Feb ru ary 4      Columbia Gulf            XTO Offshore Inc     Acq. ROW OCS-
           Marsh                            Sale          20 1 0            Transmission                                  G 3441, Segment
           Island                           Agreement                       Company                                       4733
           Area,
           South
           Addition

02943 14   South        142    1216         Gas           December 29       Forest Oil Corporation   Columbia Gas
           Marsh                            Balancing &   1994                                       Development
           Island                           Storage                                                  Corporation
           Area,                            Agreement
           South
           Addition



0283008    South        46     9546         Lease         July 1, 1988      United States of         Phillips Petroleum
           Marsh                                                            America                  Company
           Island
           Area,
           South
           Addition

0340710    South        46     9546         Data          April 2, 2002     Westem Geco, L.L.C       Aviara Energy        Risk-Reward
           Marsh                            Acquisition                                              Corporation, et al   Obligations
           Island                           Agreement
           Area,
           South
           Addition




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0295340   South        46     9546         Joint Area      March 22          Newtield Exploration   Hunt Petroleum
          Marsh                            Agreement,      2004              Company, et al         (AEC), Inc.
          Island                           as amended
          Area,
          South
          Addition

0419195   South       146     9546         Participation   Apm 1, 2004       Newield Exploration    Hunt Petroleum
          Marsh                            Agreement                         Company                (AEC), Inc.
          Island
          Area,
          South
          Addition

0295341   South        46     9546         Operating       April 1, 2004     Newiield Exploration   Hunt Petroleum
          Marsh                            Agreement                         Company                (AEC), Inc.
          Island
          Area,
          South
          Addition

0277271   South       146     26837        Right-otl       May 3 1, 2005     Minerals Management    Hunt Petroleum
          Marsh                            Way                               Service                (AEC), Inc.
          Island
          Area,
          South
          Addition

0277272   South        46     26838        Right-on        May 3 1, 2005     Minerals Management    Hunt Petroleum
          Marsh                            Way                               Service                (AEC), Inc.
          Island
          Area,
          South
          Addition




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0277273     South        46     26839        1<igh¢-of-   May 31, 2005     Minerals Management    Hunt Petroleum
            Marsh                            Way                           Service                (AEC), Inc.
            Island
            Area,
            South
            Addition

0314481     South       146     9546         Production   July 27, 2005    Newfield Exploration   Hunt Petroleum
            Marsh                            Handling                      Company                (AEC), Inc.
            Island                           Agreement
            Area,
            South
            Addition

03 14481    South        46     9546         Letter       July 1, 2008     McMoRan Oil & Gas      Hunt Petroleum   SM 146
            Marsh                            Agreement                     L.L.C., et al          (AEC), Inc.      Assignment of
            Island                                                                                                 Operating Rights
            Area,
            South
            Addition

04 1 9647   South       146     9546         Letter       May 25, 2011     McMoRan Oil& Gas       XTO Offshore     SM 146 A-8ST
            Marsh                            Agreement                     L.L.C.                 Inc., et al      Recompletion
            Island
            Area,
            South
            Addition




0276248     Sout h      42 &    DACW 29-2    Easement     May 18, 1981     The Secretary ofthe    Burrwood
            Pass        43      8 1-37                                     Army                   Gathering
                                                                                                  Company




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0276231     Sout h    42      SL 16869     Lease           November        State of Louisiana     IP Petroleum, Inc
            Pass                                           13, 2000                               et al

0276250     Sout h    42 &    DACW 29-2    Easement        May 8, 2001     The Secretary of the   Energy
            Pass      43      0 1 16                                       Army                   Development
                                                                                                  Corporation

0276246     Sout h    42      SL 4300      Subsurface      June 1, 2001    State of Louisiana     Andex Resources
            Pass                           Agreement                                              L.L.C., et al

0295086     Sout h    42 &    SL 16869 &   Participation   August 30       Pure Resources, L.P    Andex Resources
            Pass      43      OCS-G        Agreement       2002                                   L.L.C., et al
                              22781

0295095     Sout h    42 &    SL 16869     Operating       August 30       LLOG Exploration &     Pure Resources
            Pass      43      16870 &      Agreement       2002            Production Company     L.P., et al
                              OCS-G
                              22781

0276247     Sout h    42      SL 4279      Surface         September 3     State of Louisiana     IP Petroleum, Inc
            Pass                           Lease w/        2002                                   et al
                                           Subsurface
                                           Agreement

04 1 7942   Sout h    42 &    SL 16860     Purchase &      April 1, 2004   LLOG Exploration       Hunt Petroleum      LLOG Acquisition
            Pass      43      16870 &      Sale                            Offshore Inc., et al   Corporation
                              OCS-G        Agreement
                              22781

0278048     Sout h    42 &    SL 4584      ROW             February 15     State of Louisiana     Hunt Petroleum
            Pass      43                                   2005                                   (AEC), Inc.

0278049     Sout h    42 &    SL 4585      ROW             February 15     State of Louisiana     Hunt Petroleum
            Pass      43                                   2005                                   (AEC), Inc.

0278050     Sout h    42 &    SL 4586      ROW             Februaly 15     State of Louisiana     Hunt Petroleum
            Pass      43                                   2005                                   (AEC), Inc.




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0278051   Sout h    42 &    SL 4587      ROW          February 15     State of Louisiana     Hunt Petrolemn
          Pass      43                                2005                                   (AEC), Inc.

0278047   Sout h    42 &    SL 576       Water        June 2, 2005    State of Louisiana     Hunt Petroleum
          Pass      43                   Bottom                                              (AEC), Inc.
                                         Lease

0295095   Sout h    42 &    SL 16869 &   04 RA        October 19      The State Mineral      Hunt Petroleum       04 RAVUA
          Pass      43      16870        Voluntary    2005            Board                  (AEC), Inc., et al
                                         Unit
                                         Agreement

0314614   Sout h    42 &    SL 16869     Production   February 1      Hunt Petroleum         Andex Resources
          Pass      43      16870 &      Handling     2007            (AEC), Inc.            L.L.C., et al
                            OCS-G        Agreement
                            22781

0276253   Sout h    42 &    SL 3011      Surface/     October 17      State of Louisiana     Hunt Petroleum
          Pass      43                   Subsurface   2007                                   (AEC), Inc.
                                         Lease




0276237   Sout h    43      SL 16870     Lease        November        State of Louisiana     Energy Partners
          Pass                                        13, 2000                               Ltd.

0276236   Sout h    43      22781        Lease        June 1, 2001    United States of       Andex Resources
          Pass                                                        America                L.L.C., et al

0295085   Sout h    43      SL 16870     Fannout      December 6      Energy Partners, Ltd   LLOG Exploration
          Pass                           Agreement    2002                                   & Production
                                                                                             Company




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0340710   Vermilion    264     33603        Data            April 2, 2002    Western Geco, L.L.C    Aviara Energy        Risk Reward
          Area,                             Acquisition                                             Corporation, et al   Obligation
          South                             Agreement
          Addition

0340457   Vermilion    264     33603        Lease           July 1, 2010     United States of       XTO Offshore Inc     1-Jul-10
          Area,                                                              America
          South
          Addition




0265436   Vermilion    313     1172         Lease           June 1, 1962     United States of       Forest Oil
          Area,                                                              America                Corporation
          South
          ;


0419428   Vermilion    313     1172         Letter          May 12, 1994     Columbia Gas           CNG Producing        Trade Agreement
          Area,                             Agreement                        Development            Company              VR 3 13
          South                                                              Corporation
          Addition

0419888   Vermilion    313     1172         Letter          August 16        Columbia Gas           CNG Producing        Exchange of
          Area,                             Agreement       1995             Development            Company              ORRIs
          South                                                              Corporation
          Addition

0294347   Vennilion    313     1172         Participation   November 1       Dominion Exploration   Aviara Energy        VR313 "D
          Area,                             Agreement       2001             & Production, Inc.     Corporation
          South
          Addition




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0294351   Vermilion    313     1172         Operating    November 1        Dominion Exploration     Aviara Energy        VR 313 "D
          Area,                             Agreement    200 1             & Production, Inc.       Corporation
          South
          Addition

0322545   Vennilion    313     1172         Production   January 31        Dominion Exploration     Dominion             VR 313 ||D\| V R
          Area,                             Handling     2002              & Production, Inc., et   Exploration &
          South                             Agreement                      al                       Production, Inc
          Addition

0322545   Vennilion    313     1172         Lease of     June 21, 2007     Dominion Exploration     Dominion             VR3l3 "D
          Area,                             Platform                       & Production, Inc., et   Exploration &
          South                             Space                          al                       Production, Inc
          Addition                          Agreement




0265437   West         485     2220         Lease        February 1        United States of         Columbia Gas
          Cameron                                        1973              America                  Development
          Area                                                                                      Corporation, et al

0419458   West         485     2220         Production   March 25          COLEVE, a Joint          Colmnbia Gas         As supplemented
          Cameron                           Payment      1973              Venture                  Development          and amended,
          Area                              Conveyance                                              Corporation          including 10-12-
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0419455     West       485     2220         Assignment       October 1      Engy Inc   Columbia Gas
            Cameron                         of Interest in   1990                      Development
            Area                            Oil & Gas                                  Corporation
                                            Lease, Bill
                                            of Sale and
                                            Conveyance
                                            with        .

                                            Resewation
                                            of
                                            Overriding
                                            Royalty
                                            Subj ect to
                                            Production
                                            Payment

# Not       West       485     2220         Purchase and     October 22     Engy Inc   Columbia Gas
Available   Cameron                         Sale             1990                      Development
            Area                            Agreement                                  Corporation

0419456     West       485     2220         Distribution     October 22     Engy Inc   Columbia Gas
            Cameron                         and              1990                      Development
            Area                            Assignment                                 Corporation
                                            of Interests
                                            in Oil and
                                            Gas Leases,
                                            Bill of Sale
                                            &
                                            Conveyance
                                            Subj ect to
                                            Production
                                            Payment
                                            with
                                            Substitution
                                            of Obligor




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0294364    West       485     2220         Un it         May 1, 1994      Minerals Management   Columbia Gas       WC 507 Unit
           Cameron                         Agreement                      Service               Development        Unit Agreement
           Area                            #7543-                                               Corporation        No. 7543-94008
                                           94008

03 10077   West       485     2220         Letter        May 11, 2009     Tennessee Gas         XTO Offshore Inc   Leak test on 12
           Cameron                         Agreement                      Pipeline Company                         pipeline
           Area                            for Leak
                                           Testing

03 10077   West       485     2220         Sale          May 12, 2009     Tennessee Gas         XTO Offshore Inc   ROW OCS-G
           Cameron                         Agreement                      Pipeline Company                         2l22E, Seg. 4289
           Area                                                                                                    - 12" Pipeline

03 10077   West       485     2220         Letter        July 9, 2009     Tennessee Gas         XTO Oifshore Inc   Cut & cap 16
           Cameron                         Agreement                      Pipeline Company                         pipeline
           Area                            for Cut and
                                           Cap

03 10077   West       485     2220         Sale          July 9, 2009     Tennessee Gas         XTO Offshore Inc   Sale of 16" riser,
           Cameron                         Agreement                      Pipeline Company                         meter & platform
           Area                                                                                                    equipment

03 10077   West       485     2220         Facilities    July 15, 2009    Stingray Pipeline     XTO Offshore Inc   Interconnection
           Cameron                         Agreement                      Company, L.L.C.                          WC 485 "All and
           Area                                                                                                    WC 509

0308965    West       485     2122E        Right-of-     Date             Minerals Management                      ROW OCS-G
           Cameron                         Way           Unlmown          Service                                  2122E, Seg. 4289
           Area                                                                                                    - 12" Pipeline




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0419458     West       507     2549         Production       March 25           COLEVE, a Joint    Columbia Gas         As supplemented
            Cameron    (N/2                 Payment          1973               Venture            Development          and amended,
            Area                            Conveyance                                             'Corporation         including 10-12-
                                                                                                                        90

0265443     West       507     2549         Lease            April 1, 1974      United States of   Forest Oil
            Cameron    (N/2                                                     America            Corporation, et al
            Area

0419455     West       507     2549         Assignment       October 1          Engy Inc           Columbia Gas
            Cameron    (N/2)                of Interest in   1990                                  Development
            Area                            Oil & Gas                                              Corporation
                                            Lease, Bill
                                            of Sale and
                                            Conveyance
                                            with
                                            Resewation
                                            of
                                            Overriding
                                            Royalty
                                            Subj ect to
                                            Production
                                            Payment

# Not       West       507     2549         Purchase and     October 22         Engy Inc           Columbia Gas
Available   Cameron    (N/2)                Sale             1990                                  Development
            Area                            Agreement                                              Corporation




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XTO        Area       Block   OCS-G / ST   Agreement       Agmt Date         Party 1                Party 2         File Description
Agmt. #                       Lse #        Type

0419456    West       507     2549         Distribution    October 22        Engy Inc               Columbia Gas
           Cameron    (N/2                 and             1990                                     Development
           Area                            Assignment                                               Corporation
                                           of Interests
                                           in Oil and
                                           Gas Leases,
                                           Bill of Sale
                                           &
                                           Conveyance
                                           Subj ect to
                                           Production
                                           Payment
                                           with
                                           Substitution
                                           of Obligor

02943 64   West       507     2549         Un it           May 1, 1994       Minerals Management    Columbia Gas    WC 507 Unit
           Cameron    (N/2                 Agreement                         Service                Development     Unit Agreement
           Area                            #7543-                                                   Corporation     No. 7543-94008
                                           94008

0294988    West       507     2549         Participation   March 25          Newfield Exploration   Aviara Energy   WC 507 C-1 Well
           Cameron    (N/2                 Agreement       2002              Company                Corporation
           Area

0294989    West       507     2549         Offshore        March 25          Newield Exploration    Aviara Energy   WC 507 C
           Cameron    (N/2)                Operating       2002              Company                Corporation     Platfonn
           Area                            Agreement




0419458    West       507     10594        Production      March 25          COLEVE, a Joint        Columbia Gas    As supplemented
           Cameron    (s/2)                Payment         1973              Venture                Development     and amended,
           Area                            Conveyance                                               Corporation     including 10-12-
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XTO         Area       Block   OCS-G / ST   Agreement        Agmt Date          Party 1            Party 2        File Description
Agmt. #                        Lse #        Type

0265453     West       507     10594        Lease            June 1, 1989       United States of   Columbia Gas
            Cameron    (s/2)                                                    America            Development
            Area                                                                                   Corporation

0419455     West       507     10594        Assignment       October 1          Engy Inc           Columbia Gas
            Cameron    (s/2)                of Interest in   1990                                  Development
            Area                            Oil & Gas                                              Corporation
                                            Lease, Bill
                                            of Sale and
                                            Conveyance
                                            with
                                            Reservation
                                            of
                                            Overriding
                                            Royalty
                                            Subj ect to
                                            Production
                                            Payment

# Not       West       507     10594        Purchase and     October 22         Engy Inc           Columbia Gas
Available   Cameron    (s/2                 Sale             1990                                  Development
            Area                            Agreement                                              Corporation




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XTO       Area       Block   OCS-G / ST   Agreement       Agmt Date         Party 1                Party 2         File Description
Agmt. #                      Lse #        Type

0419456   West       507     10594        Distribution    October 22        Engy Inc               Columbia Gas
          Cameron    (s/2)                and             1990                                     Development
          Area                            Assignment                                               Corporation
                                          of Interests
                                          in Oil and
                                          Gas Leases,
                                          Bill of Sale
                                          &
                                          Conveyance
                                          Subj ect to
                                          Production
                                          Payment
                                          with
                                          Substitution
                                          of Obligor

0294364   West       507     10594        Unit            May 1, 1994       Minerals Management    Columbia Gas    WC 507 Unit
          Cameron    (s/2                 Agreement                         Service                Development     Unit Agreement
          Area                            #7543-                                                   Corporation     No. 7543-94008
                                          94008

0294988   West       507     10594        Participation   March 25          Newiield Exploration   Aviara Energy   WC 507 C-1 Well
          Cameron    (s/2)                Agreement       2002              Company                Corporation
          Area

0294989   West       507     10594        Offshore        March 25          Newfield Exploration   Aviara Energy   WC 507 C
          Cameron    (S/2                 Operating       2002              Company                Corporation     Platform
          Area                            Agreement

0316109   West       507     10594        Production      March 25          Newheld Exploration    Aviara Energy   PHA WC 507 IIC
          Cameron    (s/2                 Handling        2002              Company                Corporation      WC 485 "All
          Area                            Agreement




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XTO       Area        Bloc   Gas Plant   Agreement      Date               Party 1              Party 2              Comment
Agmt. #               k
3401 &    Ship        SS     Calumet     Agreement      January 1          Atlantic Richfield   Chevron Oil          C&O Agreement
3403      Shoal       188                for the        1970               Company              Corporation, et al
          Area &      &                  Construction
          South       SM                 and
          Marsh       109                Operation of
          Island                         the Calumet
          Area,                          Gas
          South                          Processing
          Addition                       Plant

3401 &    Ship        SS     Calumet     Restated and   March 1            ANR Pipeline         Shell Western        ANR/Calumet
3403      Shoal       188                Amended        1997               Company              E&P Inc.             Plant Straddle
          Area &      &                  Agreement                                                                   Agreement
          South       SM                 between
          Marsh       109                ANR
          Island                         Pipeline
          Area,                          Company
          South                          and the
          Addition                       Owners of
                                         The Calumet
                                         Gas
                                         Processing
                                         Plant

3401 &    Ship        SS     Calumet     Restated and   March 1            Trunkline Gas        Shell Westem         Tnmldine/Calume
3403      Shoal       188                Amended        1997               Company              E&P Inc.             t Plant Straddle
          Area &      &                  Agreement                                                                   Agreement
          South       SM                 between
          Marsh       109                Tnmkline
          Island                         Gas
          Area,                          Company
          South                          and the
          Addition                       Owners of
                                         The Calumet
                                         Gas
                                         Processing
                                         Plant




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    XTO       Area        Bloc   Gas Plant   Agreement      Date              Party 1           Party 2              Comment
    Agmt. #               k

    3401 &    Ship        SS     Calumet     First          July 1, 2007      Enterprise Gas    Enterprise Gas
    3403      Shoal       188                Amendment                        Processing, LLC   Processing , LLC
              Area &      &                  to Restated
              South       SM                 and
              Marsh       109                Amended
              Island                         Agreement
              Area,                          between
              South                          T    dine
              Addition                       Gas
                                             Company
                                             and the
                                             Owners of
                                             The Calumet
                                             Gas
                                             Processing
                                             Plant

    3401 &    Ship        SS     Calumet     Amendment      August 7          Enterprise Gas    Apache
    3403      Shoal       188                of             2009              Processing, LLC   Corporation, et al
              Area &      &                  Agreement
              South       SM                 for the
              Marsh       109                Construction
              Island                         of the
              Area,                          Calumet Gas
              South                          Processing
              Addition                       Plant
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XTO       Area         Bloc    Gas Plant   Agreement       Date            Party 1               Party 2          Comment
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3907      Eugene       EI      Yscloskey   Amendment       July 30, 1968     Shell Oil Company   Getty Oil        C&O Agreement
          Island       309,                to                                                    Company, et al
          Area,        SS                  Agreement
          South        271                 for the
          Addition,    Unit,               Construction
          Ship         SP                  and
          Shoal        42 &                Operation of
          Area,        SP                  the
          South        43                  Yscloskey
          Addition                         Processing
          & South                          Plant
          Pass

3907      Eugene       EI      Yscloskey   Hydrocarbon     July 30, 1968     Shell Oil Company   Getty Oil
          Island       309,                Fractionation                                         Company, et al
          Area,        SS                  Agreement
          South        271
          Addition,    Unit,
          Ship         SP
          Shoal        42 &
          Area,        SP
          South        43
          Addition
          & South
          Pass




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XTO       Area         Bloc    Gas Plant   Agreement       Date          Party 1                 Party 2            Comment
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3907      Eugene       EI      Yscloskey   Amendment       May 1, 1969       Shell Oil Company   Getty Oil
          Island       309,                to                                                    Company, et al
          Area,        SS                  Hydrocarbon
          South        271                 Fractionation
          Addition,    Unit,               Agreement
          Ship         SP
          Shoal        42 &
          Area,        SP
          South        43
          Addition
          & South
          Pass

3907      Eugene       EI      Yscloskey   Agreement       August 2      Tennessee Gas           Dynegy
          Island       309,                of Settlement   2002          Pipeline Company        Midstrearn
          Area,        SS                  And                                                   Sewices, Limited
          South        271                 Compromise                                            Partnership
          Addition,    Unit,
          Ship         SP
          Shoal        42 &
          Area,        SP
          South        43
          Addition
          & South
          Pass




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     XTO       Area         Bloc    Gas Plant   Agreement      Date            Party 1             Party 2             Comment
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     3907      Eugene       EI      Yscloskey   Amendment      April 1, 2003   Dynegy Midstream    Anadarko E&P
               Island       309,                tO                             Services, Limited   Company LP
               Area,        SS                  Construction                   Partnership
               South        271                 and
               Addition,    Unit,               Operating
               Ship         SP                  Agreement
               Shoal        42 &
               Area,        SP
               South        43
               Addition
               & South
               Pass

     3907      Eugene       EI      Yscloskey   Amended        April 1, 2003   Tennessee Gas       Dynegy
               Island       309,                and Restated                   Pipeline Company    Midstream
               Area,        SS                  Straddle and                                       Services, Limited
               South        271                 Processing                                         Paitnership
               Addition     Unit,               Agreement
               Ship         SP
               Shoal        42 &
               Area,        SP
               South        43
               Addition
               & South
               Pass

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XTO       Area         Bloc    Gas Plant   Agreement       Date            Party 1            Party 2              Comment
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3907      Eugene       EI      Yscloskey   Agreement       April 1, 2003   Tennessee Gas      Dynegy
          Island       309,                of Settlement                   Pipeline Company   Midstream
          Area,        SS                  An d                                               Services, Limited
          South        27 1                Compromise                                         Partnership
          Addition,    Unit,
          Ship         SP
          Shoal        42 &
          Area,        SP
          South        43
          Addition
          & South
          Pass

3907      Eugene       EI      Yscloskey   Second          August 1        Enterprise Gas     Apache
          Island       309,                Amendment       2003            Processing, LLC    Colporation, et al
          Area,        SS                  to
          South        271                 Hydrocarbon
          Addition     Unit,               Fractionation
          Ship         SP                  Agreement
          Shoal        42 &
          Area,        SP
          South        43
          Addition
          & South
          Pass




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                                                                  EXHIBIT A-2
                                                 ATTACHED TO AND MADE A PART OF THAT CERTAIN
                                                         ASSIGNMENT AND BILL OF SALE,
                                                      DATED EFFECTIVE AS OF AUGUST 1, 2011,
                                                          BETWEEN XTO OFFSHORE INC.
                                                     AND DYNAMIC OFFSHORE RESOURCES, LLC

                                                              DESCRIPTION OF WELLS



    BRETON SOUND BLOCK 28
    XTO OFFSHORE INC.
    Platform   Lease      /   Long Well     Well   Field         County/Parish   API No.           Operator           XTO          Status   Type
               Block          Name          Name                                                                      Well No.
               SL 1999        SL 1999 #50   50     BRETON       PLAQUEM1NEs      17726205550000    TEXAS   PETROLEUM 401819        PDP      OIL
                                                   SOUND 20                                        INVESTMENT
                                                                                                   CORPORATION



    BRETON SOUND BLOCK(s) 44/45/52/53
    XTO OFFSHORE INC.
    Platform   Lease    /     Long Well     Well   Field         County/Parish   API No.           Operator           XTO          Status   Type
               Block          Name          Name                                                                      Well No.
               SL 15683       TEX W RA      3      BRETON        PLAQUEMH IE S   177262053 10000   CENTURY OFFSHORE   40 1 8 1 5   PDP      GAS

n              SL 15683
                              SUA;
                              15683 #3
                              TEX W RA
                                       SL

                                            IALT
                                                   SOUND 53

                                                   BRETON       PLAQUEMINES      17726205260000    CENTURY OFFSHORE   401976       PDP      GAS
                              SUA;     SL          SOUND 53
                              15683    #1
                              ALT
               SL 17675       UV B RA       1      BRETON       PLAQUEMINES      177262055 10000   CENTURY OFFSHORE   401817       PDP      GAS
                              VUA;     SL          SOUND 53
                              17675 #1
               SL 3770        SL 3770 #1    1      BRETON        PLAQUEM11 TES   17726000010000    CENTURY OFFSHORE   401842       SI       OIL
                                                   SOUND 53




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           SL 3770        SL    3770      1D        BRETON        PLAQUEMINES     177260000l0000     CENTURY OFFSHORE   401843     SI       OIL
                          #I D                      SOUND 53
            SL 3770       SL 3770#7       7         BRETON        PLAQUEMINES     17726201580000     CENTURY OFFSHORE   401821     PDP      OIL
                                                    SOUND 53
            SL 3770       SL 3770 #8      8         BRETON        PLAQUEMINES     17726201630000     CENTURY OFFSHORE   401821     PDP      OIL
                                                    SOUND 53
            SL 4772       SL 4772 #1      1         BRETON        PLAQUEMINES     17726003000000     CENTURY OFFSHORE   401970     SI       OIL
                                                    SOUND 53



EAST CAMERON BLOCK 178

XTO OFFSHORE INC.

Platform   Lease      / Long Well WellName Field                  County/Parish   API No.            Operator           XTO        Status   Type
           Block          Name                                                                                          Well No.
EC178D     OCS-G-         OCS-G-          #DISTBPI EAST           OFFSHORE        17703410l202S01 XTO OFFSHORE INC.     401901     PDP      GAS
           27834          27834                        CAMERON    LOUISIANA
           ECI7 8         EC178                        185
                          #DISTBPI

Well name change from #1STBP1 is pending.



EUGENE ISLAND BLOCK 273D (EI 272/273/284/285 Unit)
XTO OFFSHORE INC.
Platform Lease        /   L o n g W ell   Well        Field       County/Parish   API No.            Operator           XT O       Status   Type
           Block          Name            Name                                                                          Well No.
EI284B     OCS-G-0991     OCS-G-          B-01BPl     EUGENE      Offshore        1771041 14800S03   MARINER   ENERGY   40 1 903   SI       GAS
           EI 284         0991 EI 284                 ISLAND SA   Louisiana                          RESOURCES
                          B- 0 l BP1                  292
EI284B     OCS-G-0991     OCS-G-          B-03        EUGENE      Offshore        1771041 16400S01   MARH IER  ENERGY   403386     SI       GAS
           EI 284         0991 EI 284                 ISLAND SA   Louisiana                          RESOURCES
                          B-03                        292
EI284B     OCS-G-0991     OCS-G-          B-05        EUGENE      Offshore        1771041 16500D03   MARINER   ENERGY   401911     SI       GAS
           EI 284         0991 EI 284                 ISLAND SA   Louisiana                          RESOURCES
                          B-05A                       292
EI284B     OCS-G-0991     OCS-G-          B-05D       EUGENE      Offshore        1771041 16500D02   MARINER   ENERGY   401911     SI       GAS
           EI 284         0991 EI 284                 ISLAND SA   Louisiana                          RESOURCES



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EI273D   OCS-G-0991 OCS-G-      D-01              EUGENE       Offshore        177104155900S01    MARINER     ENERGY     401761     PDP      GAS
         EI 284     0991 EI 284                   ISLAND SA    Louisiana                          RESOURCES
                      D-01                        292
EI273D   OCS-G-0987   OCS-G-          D-02        EUGENE       Offshore        177l04158200S01    MARINER   ENERGY       401760     PDP      GAS
         EI 273       0987 EI 273                 ISLAND SA    Louisiana                          RESOURCES
                      D-02                        292
EI273D   OCS-G-0991   OCS-G-          D-03        EUGENE       Offshore        177104158300S01    MARINER   ENERGY       401905     SI       GAS
         EI 284       0991 EI 284                 ISLAND SA    Louisiana                          RESOURCES
                      D-03                        292
EI273D   OCS-G-0986   OCS-G-          D-04        EUGENE       Offshore        177104158400Dol    MARINER   ENERGY       401759     SI       GAS
         EI 272       0986 EI 272                 ISLAND SA    Louisiana                          RESOURCES
                      D-04                        292
EI273D   OCS-G-0986   OCS-G-          D-04D       EUGENE       Offshore        177104158400D02    MARIT TER ENERGY       401759     PDP      GAS
         EI 272       0986 EI 272                 ISL AND SA   Louisiana                          RESOURCES
                      D-04D                       292



EUGENE ISLAND BLOCKS 286/292/293/308/309 Unit
XTO OFFSHORE INC.
Platform Lease    /   L o n g W ell   Well Name   Field        County/Parish   API No.            Operator               XTO        Status   Type
         Block        Name                                                                                               Well No.
EI287D   OCS-G-       OCS-G-          D-09ST      EUGENE       Offshore        177 104002202S01   MARI NER  ENERGY                  TA       OIL
         00993   EI   00993     EI                ISLAND       Louisiana                          RESOURCES
         286          286 D-09ST                  SA 292
EI287D   OCS-G-1979   OCS-G-          D-01        EUGENE       Offshore        177104000l00S02    MARINER      ENERGY    40325 1    TA       OIL
         EI 287       1979 EI 287                 ISLAND       Louisiana                          (FOREST o1L)
                      D-01                        SA 292
EI287D   OCS-G-1979   OCS-G-          D-02        EUGENE       Offshore        177104000400S01    MARI1 IER    ENERGY               TA       OIL
         EI 287       1979 EI 287                 ISLAND       Louisiana                          (FOREST o1L)
                      D-02                        SA 292
EI287D   OCS-G-1979   OCS-G-          D-03        EUGENE       Offshore        177l04000800S03    MARIT IER    ENERGY               TA       OIL
         EI 287       1979 EI 287                 ISLAND       Louisiana                          (FOREST o1L)
                      D-03                        SA 292
EI287D   OCS-G-1979   OCS-G-          D-04        EUGENE       Offshore        177104001200S01    MARINER      ENERGY               TA       OIL
         EI 287       1979 EI 287                 ISLAND       Louisiana                          (FoREsT o1L)
                      D-04                        SA 292
EI287D   OCS-G-1979   OCS-G-          D-05        EUGENE       Offshore        177104001400S01    MARINER       ENERGY              TA       OIL
         EI 287       1979 EI 287                 ISLAND       Louisiana                          (1=oREsT on.)
                      D-05                        SA 292



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EI287D   OCS-G-1979    OCS-G-        D-07       EUGENE      Offshore     177l04001500S01   MARINER      ENERGY            TA   OIL
         EI 287        1979 EI 287              ISLAND      Louisiana                      (FOREST o1L)
                       D-07                     SA 292
EI287D   OCS-G-1979    OCS-G-        D-08       EUGENE      Offshore     177104001900S01   MARINER      ENERGY            TA   OIL
         EI 287        1979 EI 287              ISLAND      Louisiana                      (FoREsT on.)
                       D-08                     SA 292
EI287D   OCS-G-1979    OCS-G-        D-1 1A     EUGENE      Offshore     177104100800D03   MARINER      ENERGY            TA   OIL
         EI 287        1979 EI 287              ISLAND      Louisiana                      (FOREST o1L)
                       D-01 1A                  SA 292
EI292B   OCS-G-        OCS-G-        B-0 1A     EUGENE      Offshore     177102000200D03   MARINER   ENERGY      401909   TA   OIL
         00994    EI   00994    EI              ISLAND      Louisiana                      RESOURCES
         292           292 B-01A                SA 292
EI292B   OCS-G-        OCS-G-        B-02       EUGENE       Offshore    177102000500S01   MARINER   ENERGY      401913   TA   OIL
         00995    EI   00995    EI              ISLAND       Louisiana                     RESOURCES
         293           293 B-02                 SA 292
EI292B   OCS-G-        OCS-G-        B-03       EUGENE       Offshore    l77102000600S01   MARINER   ENERGY      18076    TA   OIL
         00995    EI   00995    EI              ISLAND       Louisiana                     RESOURCES             (HUNT)
         293           293 B-03                 SA 292
EI292B   OCS-G-        OCS-G-        B-03 ST1   EUGENE       Offshore    177102000601S02   MARI NER  ENERGY      401910   TA   OIL
         00994    EI   00994    EI              ISLAND       Louisiana                     RESOURCES
         292           292      B-               SA 292
                       03ST1
EI292B   OCS-G-        OCS-G-        B-04       EUGENE       Offshore    177102001200Sol   MARI1 TER ENERGY               TA   OIL
         00994    EI   00994    EI              ISLAND       Louisiana                     RESOURCES
         292           292 B-04                 SA 292
EI292B   OCS-G-        OCS-G-        B-05ST1    EUGENE       Offshore    l7710200l300S03   MARI NER  ENERGY      401911   TA   OIL
         00994    EI   00994    EI              ISLAND       Louisiana                     RESOURCES
         292           292      B-              SA 292
                       05ST1
EI292B   OCS-G-        OCS-G-        B-06       EUGENE       Offshore    177102001400S01   MARI NER  ENERGY               TA   OIL
         00995    EI   00995    EI              ISLAND       Louisiana                     RESOURCES
         293           293 B-06                 SA 292
EI292B   OCS-G-        OCS-G-        B-07       EUGENE       Offshore    177102001500Sol   MARINER   ENERGY               TA   OIL
         00994    EI   00994    EI              ISLAND       Louisiana                     RESOURCES
         292           292 B-07                 SA 292
EI292B   OCS-G-        OCS-G-        B-08       EUGENE       Offshore    177102001600Sol   MARINER   ENERGY               TA   OIL
         00994    EI   00994    EI              ISLAND       Louisiana                     RESOURCES
         292           292 B-08                 SA 292
EI292B   OCS-G-        OCS-G-        B-09ST1    EUGENE       Offshore    177104065300D02   MARINER   ENERGY      401828   TA   OIL
         00995    EI   00995    EI              ISLAND       Louisiana                     RESOURCES
         293           293 B-9ST1               SA 292




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EI292B     OCS-G-        OCS-G-      B-10        EUGENE     Offshore     177104065400D02   MARINER   ENERGY                TA    OIL
           00994    EI   00994    EI             ISLAND     Louisiana                      RESOURCES
           292           292 B-10                SA 292
EI292B     OCS-G-        OCS-G-      B-l lST 1   EUGENE     Offshore     177104065500D03   MARINER   ENERGY 401914         TA    OIL
           00995    EI   00995    EI             ISLAND     Louisiana                      RESOURCES
           293           293      B-             SA 292
                         11ST1
EI292B     OCS-G-        OCS-G-      B-12S'I`1   EUGENE     Offshore     177104065000D02   MARINER   ENERGY 401915         TA    OIL
           00995    EI   00995    EI             ISLAND     Louisiana                      RESOURCES
           293           293      B-             SA 292
                         12ST1
EI287D     OCS-G-        OCS-G-      D- 1 2      EUGENE     Offshore     177104l01600D04   MARI1 JER ENERGY 401912         TA    OIL
           00994   EI    00994    EI             ISLAND     Louisiana                      RESOURCES
           292           292 D-12                SA 292
EI287D     OCS-G-        OCS-G-      D-6         EUGENE     Offshore     177102004100S04   MAMNER         ENERGY 401916    TA    OIL
           00995   EI    00995    EI             ISLAND     Louisiana                      (FOREST o1L)
           293           293 D-6                 SA 292
EI309G     OCS-G-0997    OCS-G-      G-01        EUGENE     Offshore     177104045600D03   MAR11 IBR ENERGY      401928    SI    OIL
           EI 309        0997 EI 309             ISLAND     Louisiana                      RESOURCES
                         G-01                    SA 292
E13 09G    OCS-G-0997    OCS-G-      G-0 IB      EUGENE     Offshore     177l04045600D04   MAR11 JBR ENERGY      401928    PDP   OIL
           EI 309        0997 EI 309             ISLAND     Louisiana                      RESOURCES
                         G-01B                   SA 292
EI309G     OCS-G-0997    OCS-G-      G-02 ST     EUGENE      Offshore    l77104049801S01   MARINER   ENERGY 401929         PDP   OIL
           EI 309        0997 EI 309             ISLAND      Louisiana                     RESOURCES
                         G-02ST                  SA 292
EI309G     OCS-G-0997    OCS-G-      G-04        EUGENE     Offshore     177104050700S01   MARI1 IER ENERGY 401930         PDP   o1L
           EI 309        0997 EI 309             ISLAND     Louisiana                      RESOURCES
                         G-04                    SA 292
EI309G     OCS-G-0997    OCS-G-      G-07        EUGENE      Offshore    177104049300S01   MARINER   ENERGY                SI    OIL
           EI 309        0997 EI 309             ISLAND      Louisiana                     RESOURCES
                         G-07                    SA 292
EI3 09G    OCS-G-0997    OCS-G-      G-08        EUGENE      Offshore    177104048900D05   MARINER   ENERGY 403325         PDP   GAS
           EI 309        0997 EI 309             ISLAND      Louisiana                     RESOURCES
                         G-08                    SA 292
EI309G     OCS-G-0997    OCS-G-      G-09        EUGENE      Offshore    l77104054100S01   MARINER   ENERGY       401931   SI    OIL
           EI 309        0997 EI 309             ISLAND      Louisiana                     RESOURCES
                         G-09                    SA 292
EI309G     OCS-G-0997    OCS-G-      G-1 1 ST    EUGENE      Offshore    177104053001D02   MARINER   ENERGY                SI    OIL
           EI 309        0997 EI 309             ISLAND      Louisiana                     RESOURCES
                         G-11ST                  SA 292




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EI309G     OCS-G-0997     OCS-G-          G-13        EUGENE      Offshore        177104052300D01   MARINER     ENERGY   401932      SI       OIL
           EI 309         0997 EI 309                 ISLAND      Louisiana                         RESOURCES
                          G-13                        SA 292



EUGENE ISLAND BLOCK 309J (EI 309/313)
XTO OFFSHORE INC.
Platform   Lease      /   Long Well Well Name Field               County/Parish   API No.           Operator             XTO         Status   Type
           Block          Nam e                                                                                          Well No.
EI3 09J    OCS-G-         OCS-G-          J-01sT      EUGENE    OFF SHORE         17710412970lD02   XTO OFFSHORE INC.    40 1 83 1   SI       GAS
           0997 EI 309    0997 EI 309                 ISLAND SA LOUISIANA
                          J-01ST                      292
EI309J     OCS-G-         OCS-G-          J-02        EUGENE    OFFSHORE          177104130600S01   XTO OFFSHORE INC.    401937      SI       OIL
           0997 EI 309    0997 EI 309                 ISLAND SA LOUISIANA
                          J-02                        292
E1309J     OCS-G-         OCS-G-          J-03        EUGENE    OFF SHORE         177104150300S02   XTO OFFSHORE INC.    401938      SI       OIL
           0997 EI 309    0997 EI 309                 ISLAND SA LOUISIANA
                          J-03                        292
EI3 09]    OCS-G-         OCS-G-          J-04        EUGENE    OFFSHORE          177104150600S01   XTO OFFSHORE INC.    401940      SI       GAS
           2608 EI 313    2608 EI 313                 ISLAND SA LOUISIANA
                          J-04                        30



EUGENE ISLAND BLOCK 311/312
XTO      OFFSHORE
INC.
Platform Lease   /        L o n g W ell   Well Name   Field       County/Parish   API No.           Operator             XTO         Status   Type
           Block          Nam e                                                                                          Well No.
EI3 12D    OCS-G-         OCS-G-          D-01        EUGENE      OFFSHORE        177104160900S01   XTO OFFSHORE INC.    40 1793     PDP      GAS
           22679  EI      22679      EI               ISLAND SA   LOUISIANA
           3 12           3 12 D-01                   333
E13 12D    OCS-G-         OCS-G-          D-02        EUGENE      OFFSHORE        177104l6l900S01   XTO OFFSHORE INC.    40 1 794    PDP      GAS
           22679  EI      22679      EI               ISLAND SA   LOUISIANA
           3 12           3 12 D-02                   333
EI3 12D    OCS-G-         OCS-G-          D-03        EUGENE      OFFSHORE        177l04162000S01   XTO OFFSHORE INC.    40 1 795    SI       GAS
           27918  EI      27918      EI               ISLAND SA   LOUISIANA
           3 11           3 1 1 D-03                  333




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EUGENE ISLAND BLOCK(s) 314 & 315
XTO OFFSHORE INC.
Platform Lease      /   L o n g W ell   Well Name   Field       County/Parish   API No.            Operator             XTO        Status   Type
           Block        Name                                                                                            Well No.
EI309G     OCS-G-1981   OCS-G-          G-03        EUGENE      Offshore        177104048200S02    MARINER   ENERGY     40 1 941   SI       OIL
           EI 3 14      1981 EI 314                 ISLAND SA   Louisiana                          RESOURCES
                        G-03                        292
EI309G     OCS-G-1981   OCS-G-          G-05ST2     EUGENE      Offshore        17710405l402S01    MARINER   ENERGY     401942     SI       OIL
           EI 3 14      1981 EI 314                 ISLAND SA   Louisiana                          RESOURCES
                        G-05ST2                     292
EI309G     OCS-G-1981   OCS-G-          G-06        EUGENE      Offshore        l77104051800S02    MARINER   ENERGY     40 1 943   SI       OIL
           EI 314       1981 EI 314                 ISLAND SA   Louisiana                          RESOURCES
                        G-06                        292
EI309G     OCS-G-1982   OCS-G-          G-12        EUGENE      Offshore        177l04046600S01    MARINER   ENERGY     40 1 944   SI       GAS
           EI 3 15      1982 EI 315                 ISLAND SA   Louisiana                          RESOURCES
                        G-12                        292



HIGH      ISLAND
BLOCK 34
XTO OFFSHORE INC.
Platform   Lease   /    L o n g W ell   Well Name   Field       County/Parish   API No.            Operator             XTO        Status   Type
           Block        Name                                                                                            Well No.
I-II34B    OCS-G-       OCS-G-          B-01        HIGH        OFFSHORE        427084055800Sol     XTO OFFSHORE INC.   400406     PDP      GAS
           20655 H I    20655 HI 34                 ISLAND 22   TEXAS
           34           B-01




HIGH ISLAND BLOCK(S) A-365/A-376
XTO OFFSHORE INC.
Platform   Lease    /   Long Well       Well Name Field         County/Parish   API No.             Operator            XTO        Status   Type
           Block        Name                                                                                            Well No.
I-II376A   OCS-G-2750 OCS-G-            A-01        High Island Offshore        4271 14052200S01    APACHE              400401     PDP      OI L
           I-II A365  2750    HI                    A376        Louisiana                           CORPORATION
                      A365 A-01



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HI376A     OCS-G-2754  OCS-G-        A-02ST1    High Island Offshore    4271 l4052601S03   APACHE           403573     PDP   GAS
           I-II A376   2754     HI              A376        Louisiana                      CORPORATION
                       A376     A-
                       02ST1
I-II376A   OCS-G-2754 OCS-G-         A-03 ST    High Island Offshore    4271 14052701S01   APACHE                      SI    OIL
           I-H A376    2754     I-H             A376        Louisiana                      CORPORATION
                       A376     A-
                       03ST
I-II376A   OCS-G-2754 OCS-G-         A-03 STD   High Island Offshore    4271 14052700D03   APACHE           18323      PDP   GAS
           I-H A376    2754     I-II            A376        Louisiana                      CORPORATION      (Hunt #>
                       A376     A-
                       03DST
HI376A     OCS-G-2750 OCS-G-         A-04       High Island Offshore    427l14053700S01    APACHE           402732     SI    OIL
           HI A3 65    2750     HI              A376        Louisiana                      CORPORATION
                       A365 A -04
I-II376A   OCS-G-2754 OCS-G-         A-05       High Island Offshore    427114053500Sol    APACHE                      SI    OIL
           HI A376     2754     HI              A376        Louisiana                      CORPORATION
                       A376 A -05
I-II376A   OCS-G-2750 OCS-G-         A-06       High Island Offshore    427114053l00S02    APACHE           183 15     TA    OIL
           I-H A365    2750     I-H             A376        Louisiana                      CORPORATION      (Hunt #)
                       A365 A-06
HI376A      OCS-G-2750 OCS-G-        A-07       High Island Offshore    427114054100S02    APACHE           403566     PDP   GAS
           HI A365     2750     HI              A376        Louisiana                      CORPORATION
                       A365 A -07
I-II376A   OCS-G-2750 OCS-G-         A-08       High Island Offshore    427114054800S03    APACHE           403558     PDP   GAS
           HI A365     2750     HI              A376        Louisiana                      CORPORATION
                       A365 A-08
HI376A      OCS-G-2754 OCS-G-        A-09       High Island Offshore    427114054400S03    APACHE           403574     SI    OIL
           HI A376     2754     HI              A376        Louisiana                      CORPORATION
                       A376 A-09
HI376A      OCS-G-2750 OCS-G-        A-10       High Island Offshore    427114055200Sol    APACHE           403559     SI    OIL
            HI A365    2750     HI              A376        Louisiana                      CORPORATION
                       A365 A-10
I-II376A    OCS-G-2754 OCS-G-        A-l 1      High Island Offshore    4271l4055000S01    APACHE                      SI    OIL
           HI A376     2754     HI              A376        Louisiana                      CORPORATION
                       A376 A -11
HI376A      OCS-G-2750 OCS-G-        A-12       High Island Offshore    427114055600S01    APACHE           403560     PDP   GAS
            HI A365    2750      HI             A376        Louisiana                      CORPORATION
                       A365 A-12




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I-II376A   OCS-G-2750   OCS-G-         A-12D     High Island Offshore    4271 14055600D03   APACHE          403561    SI    GAS
           HI A365      2750    H1               A376        Louisiana                      CORPORATION
                        A365    A-
                        12D
HI376A     OCS-G-2750   OCS-G-         A-13ST1   High Island Offshore    4271 14055801301   APACHE          403562    PDP   OIL
           HI A365      2750    I-H              A376        Louisiana                      CORPORATION
                        A365    A-
                        13ST1
HI376A     OCS-G-2754   OCS-G-         A-14ST2   High Island Offshore    4271 14056002S02   APACHE          403155    PDP   GAS
           HI A376      2754    I-H              A376        Louisiana                      CORPORATION
                        A376    A-
                        14ST2
I-H376A    ocs-G-2750   OCS-G-         A- 1 6    High Island Offshore    427l14056700Sol    APACHE                    PDP   OIL
           I-H A365     2750    I-H              A376        Louisiana                      CORPORATION
                        A365 A-16
HI376A     OCS-G-2754   OCS-G-         A- 1 7    High Island Offshore    427114057200S02    APACHE          403567    SI    OIL
           HI A376      2754    I-II             A376        Louisiana                      CORPORATION
                        A376 A-17
HI3 76A    OCS-G-2754   OCS-G-         A-1 8     High Island Offshore    427114057300S02    APACHE          403568    SI    OIL
           HI A376      2754    I-H              A376        Louisiana                      CORPORATION
                        A376 A-18
HI376A     OCS-G-2754   OCS-G-         A- 1 9    High Island Offshore    427114057400S03    APACHE          403 154   PDP   GAS
           H1 A376      2754    HI               A376        Louisiana                      CORPORATION
                        A376 A-19
I-II376A   OCS-G-2750   OCS-G-         A-20      High Island Offshore    427114057500Sol    APACHE                    TA    OIL
           HI A365      2750    HI               A376        Louisiana                      CORPORATION
                        A365 A-20
HI376A     OCS-G-2750   OCS-G-         A-21      High Island Offshore    427114057600S03    APACHE          403563    PDP   OIL
           HI A3 65     2750    I-H              A376        Louisiana                      CORPORATION
                        A365 A-21
I-II376A   OCS-G-2754   OCS-G-         A-22      High Island Offshore    427114057700S01    APACHE          403569    SI    OIL
           H1 A376      2754    H1               A376        Louisiana                      CORPORATION
                        A376 A-22
HI3 76A    OCS-G-2750   OCS-G-         A-24      High Island Offshore    427114066300S02    APACHE          403564    PDP   OIL
           HI A365      2750     H1              A376        Louisiana                      CORPORATION
                        A365 A-24
HI376A     OCS-G-2750   OCS-G-         A-25      High Island Offshore    427l14066500S01    APACHE          400402    PDP   OIL
           HI A365      2750    I-II             A376        Louisiana                      CORPORATION
                        A365 A-25
I-II376B   OCS-G-2754   OCS-G-         B- 01     High Island Offshore    427l14068700S03    APACHE          403570    PDP   OIL
           HI A376      2754     HI              A376        Louisiana                      CORPORATION
                        A376 B-01



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I-II376B   OCS-G-2754 OCS-G-           B-02BP1    High Island Offshore         4271 14068900S03   APACHE        403575     SI       GAS
           HI A376    2754    H1                  A376        Louisiana                           CORPORATION
                      A376    B-
                      02BP1
HI376B     OCS-G-2754 OCS-G-           B-03 ST1   High Island Offshore         4271 14078701S02   APACHE        403571     PDP      GAS
           HI A376    2754    HI                  A376        Louisiana                           CORPORATION
                      A376    B-
                      03ST1
I-II376B   OCS-G-2754 OCS-G-           B-04sT1    High Island Offshore         4271 14079001S01   APACHE                   SI       GAS
           HI A376    2754    HI                  A376        Louisiana                           CORPORATION
                      A376    B-
                      04ST1
I-II376B   OCS-G-2754 OCS-G-           B-05       High Island Offshore         4271 14079600S01   APACHE                   SI       GAS
           HI A376    2754    HI                  A376        Louisiana                           CORPORATION
                      A376 B-05
I-II376C   OCS-G-2754 OCS-G-           C-01       High Island Offshore         4271 14088900S01   APACHE        403541     PDP      OIL
           HI A376    2754    HI                  A376        Louisiana                           CORPORATION
                      A376 C-01
HI376C     OCS-G-2754 OCS-G-           C-02       High Island Offshore         4271 14089600      APACHE        403 109    PDP      OIL
           I-II A376  2754    HI                  A376        Louisiana                           CORPORATION
                      A376 C-02
H1376c     OCS-G-2754 OCS-G-           C-03       High Island Offshore         4271 14089500      APACHE        403 145    TA       OIL
           HI A376    2754    I-II                A376        Louisiana                           CORPORATION
                      A376 C-03
I-II376C   OCS-G-2754 OCS-G-           c-04       High Island Offshore         4271 14089400      APACHE        403 146    PDP      OIL
           HI A376    2754    HI                  A376        Louisiana                           CORPORATION
                      A376 C-04




HIGH ISLAND BLOCK A-554
XTO OFFSHORE INC.
Platform   Lease    /   l o n g Well   Well Name Field         County/Parish   API No.            Operator      XTO        Status   Type
           Block        Name                                                                                    Well No.




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HI554A      OCS-G-           OCS-G-        A-01D           HI A552      Offshore          4270941 10400D02     HVNT OIL COMPANY    402723      PDP        GAS
            21356 H I        21356    HI                                Louisiana
            A554             A554 A-0 1D
I-II554A    OCS-G-           OCS-G-        A-01            HI A552      Offshore          4270941 10400D01     HUNT OIL COMPANY    402724      PDP        GAS
            21356 I-II       21356    HI                                Louisiana
            A554             A554 A-01


MAIN PASS BLOCK 29

XTO OFFSHORE INC.

Plat form   Lease       /   Long   W ell    W ell Nam e    Field        County/Parish     API No.              Operator            XTO         Status     Type
            Block           Name                                                                                                   Well No.
MP029       OCS-G-          OCS-G-         #1              MAI N        OFF SHORE         177254081901S01      XTO OFFSHORE INC.   40 1 945    PDP        GAS
            27 1 96         27196 MP29                     PASS 29      LOUISIANA
            MP29            #1



MAIN PASS BLOCK
94
XTO     OFFSHORE
INC.
Platform Lease  /           Long Well Well                Field       County/Parish     API No.             Operator               XTO        Status    Type
         Block              Name       Name                                                                                        Well No.
MP094    OCS-G-             OCS-G-     #5                 MAI N       Offshore          177254081800S01     W&T OFFSHORE, INC.     40 1786    PDP       GAS
            07802 M P       07802 MP94                    PASS 094    Louisiana
            94              #5
MP094       OCS-G-          OCS-G-         #4ST           MAI N       Offshore          177254072400S01     W&T OFFSHORE, INC.     401785     PDP       GAS
            07802 M P       07802   MP                    PASS 094    Louisiana
            94              94 #4ST




MAIN PASS BLOCK 101/106
XTO OFFSHORE INC.
Platform    Lease/Block        Long Well Well             Field      County/Parish    API No.             Operator                 XTO        Status    Type
                               Name      Name                                                                                      Well No.


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MP101B     OCS-G-22792           OCS-G-       B-01   MAI N      OFFSHORE        177254074600Sol    XTO OFFSHORE INC.   401801     PDP      GAS
           MP 1 01               22792               PASS 107   LOUISIANA
                                 MP101 B-
                                 01
MP101B     OCS-G-22792           OCS-G-       B-02   MAI N      OFFSHORE        177254075100Sol    XTO OFFSHORE INC.   401802     PDP      GAS
           MP101                 22792               PASS 107   LOUISIANA
                                 MPlol   B-
                                 02
MP10113    OCS-G-22792           OCS-G-     D-01     MAI N      OFFSHORE        177254076000Sol    XTO OFFSHORE INC.   401948     TA       OIL
           MP 1 01               22792               PASS 107   LOUISIANA
                                 MP101 D-
                                 01
MP101D     OCS-G-22792           OCS-G-     D-02     MAI N      OFFSHORE        l77254076100S02    XTO OFFSHORE 1Nc.   401949     PDP      GAS
           MP 1 01               22792               PASS 107   LOUISIANA
                                 MP101 D-
                                 02
MP10113    OCS-G-23967           OCS-G-     D-       MAI N      OFFSHORE        177254077101S01    XTO OFFSHORE INC.   401950     PDP      GAS
           MP106                 23967      03STl    PASS 107   LOUISIANA
                                 MP106 D-
                                 03ST1
MP101D     OCS-G-03798           OCS-G-     D-       MAI N      OFFSHORE        177254077400S02    XTO OFFSHORE INC.   401837     TA       GAS
           MPl02                 03798      04A      PASS 107   LoU1s1ANA
                                 MP102 D-
                                 04A
MP101D     O C S -G - 2 27 9 2   OCS-G-     D-05     MAI N      OFFSHORE        l77254078000S01    XTO OFFSHORE INC.   401803     PDP      OIL
           1\/IP 1 01            22792               PASS 93    LOUISIANA
                                 MP101 D-
                                 05
MP101E     OCS-G-22792           OCS-G-     E-01     MAI N      OFFSHORE        177254079000I)03   XTO OFFSHORE INC.   401834     PDP      GAS
(#6)       MP 1 01               22792      (#6)     PASS 107   LOUISIANA
                                 MP101 E-01
                                 (#6)




MAIN PASS BLOCK 101
XTO OFFSHORE INC.
Platform   Lease/Block           Long Well Well      Field      County/Parish   API No.            Operator            XTO        Status   Type
                                 Name      Name                                                                        Well No.



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MP10113    OCS-G      22792   OCS-G             B3   MAIN       Offshore        177254081000Sol   CENTURY EXPLORATION 401946      PDP      GAS
           MP101              22792                  PASS 101   Louisiana                         NEW ORLEANS, INC.
                              MP101133




MAIN PASS BLOCK 109
XTO OFFSHORE INC.
Platfor    Lease/Block        Long Well     Well     Field      County/Parish   API No.           Operator             XTO        Status   Type
m                             Name          Name                                                                       Well No.
MP109C     OCS-G-22794        OCS-G-        C-01     MAI N      Offshore        177254076700S03   W&T OFFSHORE, INC.   401952     SI       GAS
           MP 1 09            22794                  PASS 109   Louisiana
                              MP 1 09 C-1
MP 1 09    OCS-G-22794        OCS-G-        D-       MAI N      Offshore        177254076802S02   W&T OFFSHORE, INC.   401953     PDP      GAS
D          MP109              22794         01STO    PASS 109   Louisiana
                              MP 1 09 D-    0BP02
                              0 1 STOoBPO
                              2




MAIN PASS BLOCK 112
XTO OFFSHORE INC.
Platform  Lease    /          Long W ell Well        Field      County/Parish   API No.           Operator             XTO        Status   Type
          Block               Name       Name                                                                          Well No.
MP1 12A   OCS-G-              OCS-G-     A-          MAI N      OFFSHORE        17725405430lS02   XTO OFFSHORE INC.    40 1956    PDP      OIL
              09707    MP     09707 MP 0lST1         PASS 112   LOUISIANA
              112             112      A-
                              01ST1
MP1 12A       OCS-G-          OCS-G-        A-02     MAI N      OFFSHORE        l77254085400S01   XTO OFFSHORE INC.    401958     PDP      GAS
              09707 MP        09707 M P              PASS 112   LOUISIANA
              112             1 12 A-02
MP No. 2      OCS-G-          OCS-G-        2        MAI N      OFFSHORE        l77254054400S02   XTO OFFSHORE INC.    401957     SI       GAS
              09707 MP        09707 MP               PASS 112   LOUISIANA
              112             112 02




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    MAIN PASS BLOCK 114
    XTO OFFSHORE INC.
    Plat form   Lease    /   L o n g W ell   Well    Field      County/Parish   API No.           Operator            XTO        Status   Type
                Block        Nam e           Name                                                                     Well No.
    MP1 14      OCS-G-       OCS-G-          #1ST1   MAI N      OFF SHORE       l77254084001S01   XTO OFFSHORE INC.   40 1 959   PDP      GAS
                27201 M P    27201 M P               PASS 114   LOUISIANA
                1 14         114 #1ST1



    MAIN PASS BLOCK 116
    XTO OFFSHORE INC.
    Platform    Lease   / L o n g W ell      Well    Field      County/Parish   API No.           Operator            XTO        Status   Type
                Block     Nam e              Name                                                                     Well No.
    MP1 16B     OCS-G-    OCS-G-             B-01    MAI N      OFFSHORE        177254017600S03   XTO OFFSHORE INC.   40 1 840   SI       GAS
                03419 MP 03419 M P                   PASS 127   LOUISIANA
                116       116 B-01
    MP11613     OCS-G-    OCS-G-             B-02    MAI N      OFFSHORE        177254018800S02   XTO OFFSHORE INC.   401961     SI       GAS
                03419 MP 03419 M P                   PASS 127   LOUISIANA
                116       116 B-02
    MP116B      OCS-G-    OCS-G-             B-04    MAI N      OFFSHORE        177254023500S01   XTO OFFSHORE INC.   401962     SI       GAS
                03419 MP 03419 M P                   PASS 127   LOUISIANA
                116       116 B-04
    MP11613     OCS-G-    OCS-G-             B-06    MAI N      OFF SHORE       l77254052200Sol   XTO OFFSHORE INC.   401963     SI       GAS
                03419 MP 03419 M P                   PASS 127   LOUISIANA
                116       116 B-06
    N[P116B     OCS-G-    OCS-G-             B-07    MAI N      OFFSHORE        177254052300D02   XTO OFFSHORE INC.   401964     SI       GAS
                03419 MP 03419 M P                   PASS 127   LOUISIANA
                116       116 B-07
    MP116B      OCS-G-    OCS-G-             B-09    MAI N      OFFSHORE        177254083700      XTO OFFSHORE INC.   401965     TA       GAS
O               03419 MP 03419 M P
                116       116 B-09
                                                     PASS 127   LOUISIANA

    N[P116B     OCS-G-    OCS-G-             #08     MAI N      OFFSHORE        177254078600D03   XTO OFFSHORE INC.   401839     SI       GAS
                03419 MP 03419 M P                   PASS 127   LOUISIANA
                116       116 #08
    MP11613     OCS-G-    OCS-G-             #08D    MAI N      OFFSHORE        177254078600D04   XTO OFFSHORE INC.   401838     SI       GAS
                03419 MP 03419 M P                   PASS 127   LOUISIANA
                116       116 #08D



    MAIN PASS BLOCK 118


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XTO OFFSHORE INC.
Plat form     Lease    /   L o n g W ell   Well      Field      County/Parish   API No.            Operator            XTO         Status   Type
              Block        Name            Name                                                                        Well No.
MP1 18A       OCS-G        OCS-G           A-01      MAI N      OFFSHORE        177254081 100S01   XTO OFFSHORE INC.   401966      PDP      GAS
              22797 M P    22797 M P                 PASS 118   LOUISIANA
              1 18         1 18 A-01



MAIN PASS BLOCK 125
XTO OFFSHORE INC.
Plat form     Lease    /   L o n g W ell   Well      Field      County/Parish   API No.            Operator            XTO         Status   Type
              Block        Name            Name                                                                        Well No.
MP125B        OCS-G-       OCS-G-          B-01      MAI N      OFFSHORE        177254084402S01    XTO OFFSHORE INC.   40 1968     PDP      GAS
              25019        25019                     PASS 125   LOUISIANA
              MP125        MP125 B -
                           01



SOUTH MARSH ISLAND BLO CK
40/41
XTO OFFSHORE INC.
Platform Lease    / L o n g W ell          Well      Field      County/Parish   API No.            Operator            XTO Wel l   Status   Type
              Block        Name            Name                                                                        No.
SMI40B        OCS-G-       OCS-G-          B-01      SOUTH      OFFSHORE        l77074083600Dol    XTO OFFSHORE INC.   40 1787     SI       OIL
              13607 SMI    13607 SMI                 MARSH      LOUISIANA
              40           40 B-01                   ISLAND
                                                     BLK 41
SMI40B        OCS-G-       OCS-G-          B-0 1 D   SOUTH      OFFSHORE        177074083600D02    XTO OFFSHORE INC.   401788      PDP      OIL
              13607 SMI    13607 SMI                 MARSH      LOUISIANA
              40           40 B-01D                  ISLAND
                                                     BLK 41
SMI40B        OCS-G-       OCS-G-          B-        SOUTH      OFF SHORE       177074084901S01    XTO OFFSHORE INC.   401868      PDP      OIL
              01 192 SMI   1192 SMI        02ST      MARSH      LOUISIANA
              41           41 B-02ST                 ISLAND
                                                     BLK 41
SMI40B        OCS-G-       OCS-G-          B-03      SOUTH      OFFSHORE        177074085300S01    XTO OFFSHORE INC.   401763      PDP      OIL
              01 192 SMI   1192 SMI                  MARSH      LOUISIANA
              41           41 B-03                   ISLAND
                                                     BLK 41




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SMI40B        OCS-G-       OCS-G-      B-04    SOUTH      OFFSHORE    l77074085400Dol   XTO OFFSHORE INC.   401887   SI             o1L
              01 192 SMI   1 192 SMI           MARSH      LOUISIANA
              41           41 B-04             ISLAND
                                               BLK 41
SMI40B        OCS-G-       OCS-G-      B-04D   SOUTH      OFFSHORE    177074085400D02   XTO OFFSHORE INC.   401888   PDP            OIL
              01 192 SMI   1192 SMI            MARSH      LOUISIANA
              41           41 B-04D            ISLAND
                                               BLK 41
SMI40B        OCS-G-       OCS-G-      B-04E   SOUTH      OFFSHORE    177074085400D03   XTO OFFSHORE INC.   401764   PDP            OIL
              01 192 SMI   1192 SMI            MARSH      LOUISIANA
              41           41 B-04E            ISLAND
                                               BLK 41
SMI40B        OCS-G-       OCS-G-      B-05    SOUTH      OFF SHORE   177074085700D01   XTO OFFSHORE INC.   401865   SI             GAS
              13607 SMI    13607 SMI           MARSH      LOUISIANA
              40           40 B-05             ISLAND
                                               BLK 41
SMI40B        OCS-G-       OCS-G-    B-05D     SOUTH      OFFSHORE    l77074085700D02   XTO OFFSHORE INC.   401889   PDP            OIL
              01 192 SMI   01192 SMI           MARSH      LOUISIANA
              41           41 B-05D            ISLAND
                                               BLK 41
SMI40B        OCS-G-       OCS-G-      B-06    SOUTH      OFFSHORE    l77074087600S01   XTO OFFSHORE INC.   401766   PDP            OIL
              01 192 SMI   01192 SMI           MARSH      LOUISIANA
              41           41 B-06             ISLAND
                                               BLK 41
SMI40B        OCS-G-       OCS-G-      B-07    SOUTH      OFFSHORE    l77074089800D01   XTO OFFSHORE INC.   402019   PDP            GAS
              13607 SMI    13607 SMI           MARSH      LOUISIANA
              40           40 B-07             ISLAND
                                               BLK 41
SMI40B        OCS-G-       OCS-G-      B-07D   SOUTH      OFFSHORE    l77074089800D02   XTO OFFSHORE INC.   402967   PDP            GAS
              01 192 SMI   01192 SMI           MARSH      LOUISIANA
              41           41 B-07D            ISLAND
                                               BLK 41
sM144c        OCS-G-       OCS-G-      C-02    SOUTH      OFFSHORE    177074089500D01   XTO OFFSHORE INC.   402020   PDP            GAS
              13607 SMI    13607 SMI           'VIAP QH   LOUISIANA
              40           40 C-02             ISLAND
                                               BLK 41
SMI44C        OCS-G-       OCS-G-      C-02D   SOUTH      OFF SHORE   177074089500D02   XTO OFFSHORE INC.   402608   PDP            GAS
              13607 SMI    13607 SMI           MARSH      LOUISIANA
              40           40 C-02D            ISLAND
                                               BLK 41




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SMI40JA       OCS-G-       OCS-G-          JA-     SOUTH       OFFSHORE        l77074063600S02   XTO OFFSHORE INC.    402021         SI       GAS
              13607 SMI    13607 SMI       01ST2   MARSH       LOUISIANA
              40           40      JA              ISLAND
                           01ST2                   BLK 41
SMI40JA       OCS-G-       OCS-G-          JA-02   SOUTH       OFFSHORE        177074069100S01   XTO OFFSHORE INC.    401866         SI       GAS
              13607 SMI    13607 S M I     BPol    MARSH       LOUISIANA
              40           40      JA              ISLAND
                           02BP01                  BLK 41




SOUTH MARSH ISLAND BLOCK
44
XTO OFFSHORE INC.
Platform      Lease   /    L o n g W ell   W ell   Field       County/Parish   API No.           Operator            X T O Well      Status   Type
              Block        Name            Name                                                                      No.
SMI44C        OCS-G-       OCS-G-          C-01    SOUTH       OFFSHORE        177074088300D01   XTO OFFSHORE INC.   40 1 804        SI       GAS
              23840 SMI    23840 S M I             MARSH       LOUISIANA
              44           44 C-01                 ISLAND
                                                   41
SMI44C        OCS-G-       OCS-G-    C-01D         SOUTH       OFFSHORE        177074088300D02   XTO OFFSHORE INC.   401805          PDP      GAS
              23840    SMI 23840 SMI               MAMH        LOUISIANA
              44           44 C-01D                ISLAND
                                                   4l




SOUTH MARSH ISLAND BLOCK 109
XTO OFFSHORE INC.
Platform      Lease   /    L o n g W ell   W ell   Field       County/Parish   API No.           Operator            XTO      Well   Status   Type
              Block        Name            Name                                                                      No.
SMI 1 09A     OCS-G-       OCS-G-          A-01    SOUTH       OFFSHORE        177084091500S01   XTO OFFSHORE INC.   401812          PDP      GAS
              24873 SMI    24873 SMI               MARSH       LOUISIANA
              109          109 A-01                IS SA 109




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SMIl09A       OCS-G-         OCS-G-          A-02    SOUTH       OFFSHORE        177084091600Dol   XTO OFFSHORE INC.   401813            PDP      GAS
              24873 SMI      24873 S M I             MARSH       LOUISIANA
              109            109 A-02                IS SA 109
SMI109A       OCS-G-         OCS-G-          A-02D   SOUTH       OFFSHORE        177084091600D02   XTO OFFSHORE INC.   401895            PDP      GAS
              24873 SMI      24873 S M I             MAR'f`H     LOUISIANA
              109            109 A-02D               IS SA 109
SMI109A       OCS-G-         OCS-G-          A-03    SOUTH       OFF SHORE       177084091700S01   XTO OFFSHORE INC.   401979            SI       GAS
              24873 SMI      24873 S M I             MARQH       LOUISIANA
              109            109 A-03                IS SA 109
SMI109A       OCS-G-         OCS-G-          A-04    SOUTH       OFF SHORE       177084092800Sol   XTO OFFSHORE INC.   401814            SI       GAS
              24873 SMI      24873 S M I             MARSH       LOUISIANA
              109            109 A-04                IS SA 109
SMI109A       OCS-G-         OCS-G-          A-05    SOUTH       OFFSHORE        177084092900S01   XTO OFFSHORE INC.   401980            PDP      GAS
              24873 SMI      24873 SMI               MARSH       LOUISIANA
              109            109 A-05                IS SA 109



SOUTH MARSH ISLAND BLOCK 139
XTO OFFSHORE INC.
Platform      Lease      /   Lo n g W el l   Well    Field       County/Parish   API No.           Operator            XTO        Well Status     Type
              Block          Name            Name                                                                      No.
SMIl46B       OCS-G-         OCS-G-          B-01    SOUTH       OFFSHORE        177084092300S01   XTO OFFSHORE INC.   40 1 792          SI       OIL
              21106    SMI   21106 SMI               MARQH       LOUISIANA
              139            139 B-01                IS   SA
                                                     146
sM1146B       OCS-G-         OCS-G-          B-02D   SOUTH       OFFSHORE        177084093501D02   XTO OFFSHORE INC.   40 1 851          SI       OIL
              21106    SMI 21106 SMI                 MARSH       LOUISIANA
              139            139 B-02D               IS   SA
                                                     146
SMI146B       OCS-G-         OCS-G-          B-02    SOUTH       OFFSHORE        177084093501D01   XTO OFFSHORE INC.   401850            SI       OIL
              21106    SMI 21106 SMI                 MARSH       LOUISIANA
              139            139 B-02                IS   SA
                                                     146

SOUTH MARSH ISLAND BLOCK
142/143
XTO OFFSHORE INC.
Platform      Lease      /   Long            Well    Field       County/Parish   API No.           Operator            XTO        Well   Status   Type
              Block          Well            Name                                                                      No.
                             Name




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SMI142A       OCS-G-1217   OCS-G-       A-01    SOUTH       OFF SHORE   177084014100S02    XTO OFFSHORE INC.   401981   SI    OI L
              SMI 143      1217 S M I           MA RS H     LOUISIANA
                           143 A-01             IS SA 142
SMI142A       OCS-G-1217   OCS-G-       A-02    SOUTH       OFFSHORE    177084014800S02    XTO OFFSHORE INC.   401982   SI    GAS
              SMI 143      1217 S M I           MA RS H     LOUISIANA
                           143 A-02             IS SA 142
SMI142A       OCS-G-1216   OCS-G-       A-03B   SOUTH       OFFSHORE    177084016500S03    XTO OFFSHORE INC.   401983   PDP   GAS
              SMI 142      1216 S M I           MA RS H     LOUISIANA
                           142 A-03             IS SA 142
sM1142A       OCS-G-1217   OCS-G-       A-04    SOUTH       OFF SHORE   177084017900D02    XTO OFFSHORE INC.   401984   SI    GAS
              SMI 143      1217 S M I           MA RS H     LOUISIANA
                           143 A-04             IS SA 142
SMI142A       OCS-G-1216   OCS-G-       A-05    SOUTH       OFF SHORE   177084019200S01    XTO OFFSHORE INC.   401985   SI    GAS
              SMI 142      1216 SMI             MARSH       LoUIs1ANA
                           142 A-05             IS SA 142
SMI142A       OCS-G-1216   OCS-G-       A-06C   SOUTH       OFF SHORE   177084020300D06    XTO OFFSHORE INC.   401852   SI    GAS
              SMI 142      1216 SMI             MA RS H     LOUISIANA
                           142    A-            IS SA 142
                           06C
SMI142A       OCS-G-1216   OCS-G-       A-07A   SOUTH       OFFSHORE    1'77084021000D04   XTO OFFSHORE INC.   401854   SI    GAS
              SMI 142      1216 SMI             MARSH       LOUISIANA
                           142    A-            IS SA 142
                           07A
SM1142A       OCS-G-1217   OCS-G-       A-08A   SOUTH       OFFSHORE    177084023000D01    XTO OFFSHORE INC.   401856   SI    GAS
              SMI 143      1217 SMI             MARSH       LOUISIANA
                           143    A-            IS SA 142
                           08A
SMIl42A       OCS-G-1217   OCS-G-       A-08D   SOUTH       OFFSHORE    177084023000D02    XTO OFFSHORE INC.   401857   SI    GAS
              SMI 143      1217 SMI             MA RS H     LOUISIANA
                           143    A-            IS SA 142
                           08D
SMI142A       OCS-G-1216   OCS-G-       A-09B   SOUTH       OFFSHORE    l77084026300S03    XTO OFFSHORE INC.   401986   SI    GAS
              SMI 142      1216 SMI             MA RS H     LOUISIANA
                           142    A-            IS SA 142
                           09B
SMI142A       OCS-G-1216   OCS-G-       A-10    SOUTH       OFFSHORE    177084077000D01    XTO OFFSHORE INC.   403034   TA    OIL
              SMI 142      1216 SMI             MARSH       LOUISIANA
                           142 A-10             IS SA 142
SMI142A       OCS-G-1216   OCS-G-       A-10D   SOUTH       OFFSHORE    l77084077000D02    XTO OFFSHORE INC.   403035   TA    GAS
              SMI 142      1216 SMI             MA RS H     LOUISIANA
                           142    A-            IS SA 142
                           10D



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SMI142A       OCS-G-1216   OCS-G-      A-ll    SOUTH       OFFSHORE        177084091 100D01   XTO OFFSHORE INC.   401767          SI       GAS
              SMI 142      1216 SMI            MA RS H     LOUISIANA
                           142 A-11            IS SA 142
SMI142A       OCS-G-1216   OCS-G-      A-11D   SOUTH       OFFSHORE        177084091 100D02   XTO OFFSHORE INC.   401768          SI       GAS
              SMI 142      1216 SMI            MARQ-H      LOUISIANA
                           142    A-           IS SA 142
                           11D
SMI142C       OCS-G-1216   OCS-G-      C-01    SOUTH       OFFSHORE        177084082900S01    XTO OFFSHORE INC.   401987          SI       GAS
              SMI 142      1216 SMI            MA RS H     LOUISIANA
                           142 C-01            IS SA 142
SMIl42C       OCS-G-1216   OCS-G-      C-02    SOUTH       OFFSHORE        177084084201D01    XTO OFFSHORE INC.   401858          SI       OIL
              SMI 142      1216 SMI            'VIAFQH     LOUISIANA
                           142 C-02            IS SA 142
SMIl42C       OCS-G-1216   OCS-G-      C-03A   SOUTH       OFFSHORE        177084085000D03    XTO OFFSHORE INC.   401890          PDP      OIL
              SMI 142      1216 SMI            MARQ H      LOUISIANA
                           142    C-           IS SA 142
                           03A
SMI142C       OCS-G-1216   OCS-G-      O03D    SOUTH       OFFSHORE        l77084085000D02    XTO OFFSHORE INC.   401891          PDP      GAS
              SMI 142      1216 SMI            MA RS H     LOUISIANA
                           142    C-           IS SA 142
                           03D
SMI142C       OCS-G-1216   OCS-G-      C-04B   SOUTH       OFFSHORE        177084085400S03    XTO OFFSHORE INC.   403585          PDP      GAS
              SMI 142      1216 SMI            MA RS H     LOUISIANA
                           142    C-           IS SA 142
                           04B
SMI142C       OCS-G-1216   OCS-G-      C-05    SOUTH       OFFSHORE        l7708409130lDol    XTO OFFSHORE INC.   401860          PDP      GAS
              SMI 142      1216 SMI            MA RS H     LOUISIANA
                           142 C-05            IS SA 142
SMI142C       OCS-G-1216   OCS-G-      C-05D   SOUTH       OFFSHORE        177084091301D02    XTO OFFSHORE INC.   401861          PDP      GAS
              SMI 142      1216 SMI            MA RS H     LOUISIANA
                           142    C-           IS SA 142
                           05D



SOUTH PASS BLOCK 42/43
XTO OFFSHORE INC.
Platform Lease / Block Long            Well    Field       County/Parish       API No.          Operator          XTO      Well   Status   Type
                       Well            Name                                                                       No.
                       Name




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              OCS-G           OCS-G-     A-01    SOUTH     OFFSHORE             17721404580000   XTO OFFSHORE INC.   401799          IPDP     OIL
              22781 SP 43     22781 SP           PASS 43   LOUISIANA
                              43 #A-01
              OCS-G           OCS-G-     A-02    SOUTH     OFFSHORE             17721404590000   XTO OFFSHORE INC.   401800          IPDP     GAS
              22781 SP 43     22781 SP           PASS 43   LOUISIANA
                              43 #A-02
              SL 16869        SL 16869   1       SOUTH     OFFSHORE             1772l205180000   XTO OFFSHORE INC.   401816          IPDP     GAS
                              #1 0-4RA           PASS 42   LOUISIANA
                              VUA
              SL 3011         SL 3011    #001    SOUTH     OFFSHORE             17721007480000   XTO OFFSHORE INC.   703024*         Active   SWD
                              #001       SW D    PASS 42   LOUISIANA
                              SW D

* Burrwood Central Facility


SHIP SHOAL BLOCK 71
XTO OFFSHORE INC.
Platform      Lease           Long       Well    Field     County/Parish        API No.          Operator            XTO      Well   Status   Type
              Block           Well       Name                                                                        No.
                              Name
SS72J         OCS-G-          OCS-G-     #1      SHIP      Offshore Louisiana   1771 14141000S   PETROQUEST          402022          TA       GAS
              12347 SS 71     12347 SS           SHOAL                          04               ENERGY, LLC
                              71 #1              072




SI-HP SHOAL BLOCK 79/80
XTO OFFSHORE INC.
Platform   Lease / Block Long            Well     Field    County/Parish        API No.          Operator            XTO      Well   Status   Type
                         Well            Name                                                                        No.
                         Name
SS079A     OCS-G-        OCS G-          A-02     SHIP     OFFSHORE             1771 14134300D   XTO OFFSHORE INC.   401789          PDP      OIL
              15277 SS 79     15277 SS            SHOAL    LOUISIANA            03
                              79 A-02             78
SS079A        OCS-G-          OCS G-     A-02D    SHIP     OFFSHORE             1771 14134300D   XTO OFFSHORE INC.   401893          PDP      OIL
              15277 SS 79     15277 SS            SHOAL    LOUISIANA            02
                              79 A-02D            78



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SHIP SHOAL BLOCK 188

XTO OFFSHORE INC.

Platform   Lease / Block        Long           Well    Field   County/Parish       API No.            Operator             XTO       Well    Status    Type
                                Well           Name                                                                        No.
                                 Name
SS 1 88    OCS-G-22712           OCS           A-01    SHIP    OFFSHORE            177l14146000D      XTO OFFSHORE INC.    401797            PDP       GAS
           SS 188                G227l2                SHOAL   LOUISIANA           01
                                 SS 188 A-             1 89
                                 01
SSl88      O C S- G - 22 71 2    OCS           A-01D   SHIP    OFFSHORE            1771 14l46000D     XTO OFFSHORE INC.    403 174           PDP       GAS
           SS 188                G22712                SHOAL   LOUISIANA           02
                                 SS 188 A-             1 89
                                 01D
SS188      O C S- G - 22 71 2    OCS           #02     SHIP    OFFSHORE            177114147500S      XTO OFFSHORE INC.    401796            SI        GAS
           SS 188                G22712                SHOAL   LOUISIANA           00
                                 SS    188             18 9
                                 #02
SS188      O C S- G - 22 71 2    OCS           #02A    SHIP    OFFSHORE            1771 14147500S     XTO OFFSHORE INC.    402541            SI        GAS
           SS 188                G227 l 2              SHOAL   LOUISIANA           02
                                 SS     1 88           1 89
                                 #02A




SHIP SHOAL BLOCK(S) 247/248/249/270/271 (Unit)

XTO OFFSHORE INC.

Platform   Lease/Block          Long W ell     Well    Field    County/Parish   API No.             Operator               XTO        Well    Status   Type
                                Name           Name                                                                        No.
SS247F     OCS-G-1028           OCS-G-         F-      SHIP     Offshore        177124019702S0      ENI US OPERATING CO.   402065             PDP      OIL
           SS 247               1028   SS      02ST2   SHOAL    Louisiana       1                   INC.
                                247       F-           246
                                02S'1`2




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SS247F   OCS-G-1029       OCS-G-        F-08     SHIP    Offshore    177l24022100S0   ENI US OPERATING CO.            TA    GAS
         SS 248           1029    SS             SHOAL   Louisiana   1                INC.
                          248 F-08               246
SS247F   OCS-G-1028       OCS-G-        F-10     SHIP    Offshore    177l24022400S0   ENI US OPERATING CO.            SI    GAS
         SS 247           1028     SS            SHOAL   Louisiana   1                INC.
                          247 F-10               246
SS247F   OCS-G-1028       OCS-G-        F-       SHIP    Offshore    177124022301S0   ENI US OPERATING CO. 402066     PDP   GAS
         SS 247           1028     SS   14ST1    SHOAL   Louisiana   1                INC.
                          247      F-            246
                          14ST1
SS247F   OCS-G-1028       OCS-G-        F-17ST   SHIP    Offshore    177l24022901S0   ENI US OPERATING CO. 402067     PDP   OIL
         SS 247           1028     SS            SHOAL   Louisiana   2                INC.
                          247      F-            246
                          17ST
SS247F   OCS-G-1028       OCS-G-        F-       SHIP    Offshore    177124023201S0   ENI US OPERATING CO. 402068     PDP   GAS
         SS 247           1028     SS   18ST1    SHOAL   Louisiana   2                INC.
                          247      F-            246
                          18ST1
SS247F   OCS-G-1028       OCS-G-        F-19     SHIP    Offshore    177124015000S0   ENI US OPERATING CO. 403324     SI    GAS
         SS 247           1028     SS            SHOAL   Louisiana   1                INC.
                          247 F-19               246
SS248D   OCS-G-1030       OCS-G-        D-02     SI-HP   Offshore    1771240l2000S0   ENI US OPERATING CO.            SI    OIL
         SS 249           1030     SS            SHOAL   Louisiana   1                INC.
                          249 D-02               246
SS248D   o Cs - G -1028   OCS-G-        D-       SHIP    Offshore    l771240l3100S0   ENI US OPERATING CO.            TA    OIL
         SS 247           1028     SS   03BP2    SHOAL   Louisiana   2                INC.
                          247      D-            246
                          03BP2
SS248D   OCS-G-1030       OCS-G-        D-04     SHIP    Offshore    177124017100     ENI US OPERATING CO.            TA    OIL
         SS 249           1030     SS            SHOAL   Louisiana                    INC.
                          249 D-04               246
SS248D   OCS-G-1030       OCS-G-        D-05     SHIP    Offshore    177124014200S0   ENI US OPERATING CO.   401762   PDP   OIL
         SS 249           1030     SS            SHOAL   Louisiana   2                INC.
                          249 D-05               246
SS248D   OCS-G-1029       OCS-G-        D-06     SHIP    Offshore    177124015000     ENI US OPERATING CO.            TA    OIL
         SS 248           1029     SS            SHOAL   Louisiana                    INC.
                          248 D-06               246
SS248D   OCS-G-1028       OCS-G-        D-       SHIP    Offshore    177124015600S0   ENI US OPERATING CO.            SI    GAS
         SS 247           1028     SS   07BP3    SHOAL   Louisiana   1                INC.
                          247      D-            246
                          07BP3




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SS248D   OCS-G-1030   OCS-G-       D-08    SHIP    Offshore    177l24015900S0       ENI US OPERATING CO.   402069   SI    GAS
         SS 249       1030    SS           SHOAL   Louisiana   5                    INC.
                      249 D-08             246
SS248D   OCS-G-1028   OCS-G-       D-09    SHIP    Offshore    177l24016600S0       ENI US OPERATING CO.   402070   TA    GAS
         SS 247       1028    SS           SHOAL   Louisiana   4                    INC.
                      247 D-09             246
SS248D   OCS-G-1028   OCS-G-       D-10    SHIP    Offshore    177124017900         ENI US OPERATING CO.            SI    GAS
         SS 247       1028    SS           SHOAL   Louisiana                        INC.
                      247 D-10             246
SS248D   OCS-G-1030   OCS-G-       D-1 1   SI-HP   Offshore    177 124018500S0      ENI US OPERATING CO.            PDP   GAS
         SS 249       1030    SS           SHOAL   Louisiana   5                    INC.
                      249 D-11             246
SS248D   OCS-G-1028   OCS-G-       D-      SHIP    Offshore    177124017903S0       ENI US OPERATING CO.   402071   SI    GAS
         SS 247       1028    SS   12ST3   SHOAL   Louisiana   1                    INC.
                      247     D-           246
                      12ST3
SS248D   OCS-G-1030   OCS-G-       D-      SI-HP   Offshore    1771240192000        ENI US OPERATING CO.            TA    GAS
         SS 249       1030    SS   14BP1   SHOAL   Louisiana                        INC.
                      249     D-           246
                      14BPl
SS248D   OCS-G-1029   OCS-G-       D-15    SHIP    Offshore    177124020600S0       ENI US OPERATING CO.            SI    GAS
         SS 248       1029    SS           SHOAL   Louisiana   1                    INC.
                      248 D-15             246
SS248D   OCS-G-1029   OCS-G-       D-16    SHIP    Offshore    17712402l000S0       ENI US OPERATING CO. 402072     SI    GAS
         SS 248       1029    SS           SHOAL   Louisiana   2                    INC.
                      248 D-16             246
SS248D   OCS-G-1030   OCS-G-       D-17    SHIP    Offshore    l77l24020800S0       ENI US OPERATING CO. 402073     SI    GAS
         SS 249       1030    SS           SHOAL   Louisiana   1                    INC.
                      249 D-17             246
SS248D   OCS-G-1029   OCS-G-       D-18    SHIP    Offshore    177 124 021 10 0S0   ENI US OPERATING CO. 402074     SI    GAS
         SS 248       1029    SS           SHOAL   Louisiana   1                    INC.
                      248 D-18             246
SS248D   OCS-G-1030   OCS-G-       D-19    SHIP    Offshore    17712402l500S0       EN1 US OPERATING CO. 402080     SI    GAS
         SS 249       1030    SS           SHOAL   Louisiana   5                    INC.
                      249 D-19             246
SS248D   OCS-G-1029   OCS-G-       D-20    SHIP    Offshore    177 124022000S0      ENI US OPERATING CO. 402075     SI    GAS
         SS 248       1029    SS           SHOAL   Louisiana   8                    INC.
                      248 D-20             246
SS248G   OCS-G-1029   OCS-G-       G-01    SHIP    Offshore    177 l24049500S0      ENI US OPERATING CO. 402076     PDP   GAS
         SS 248       1029    SS           SHOAL   Louisiana   1                    INC.
                      248 G-01             246




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SS248G    OCS-G-1029      OCS-G-          G-02     SHIP      Offshore        177 1240 5300 0S0   ENI US OPERATING CO.   402077          SI       GAS
          SS 248          1029   SS                SHOAL     Louisiana       1                   INC.
                          248 G-02                 246
SS248G    OCS-G-1029      OCS-G-          G-03     SHIP      Offshore        177 124053300D0     ENI US OPERATING CO.   402078          SI       GAS
          SS 248          1029   SS                SHOAL     Louisiana       2                   INC.
                          248 G-03                 246
          OCS-G-1030      OCS-G-          6        SHIP      Offshore        177 124062200       ENI US OPERATING CO.   402079          TA
          SS 249          1030   ss                SHOAL     Louisiana                           INC.
                          249 06                   246



VERMILION       BLOCK
313
XTO OFFSHORE INC.
Platfor   Lease / Block   L o n g W ell   Well     Field     County/Parish   API No.             Operator               XTO      Well   Status   Type
m                         Name            Name                                                                          No.
VR3 13D   OCS-G-1 172     OCS-G-          D-01     VERM1L    Offshore        177064090000S0      ENI US OPERATING CO.   402106          PDP      OIL
          VR 313          1172     VR              ION 313   Louisiana       2                   INC.
                          3 13 D-01
VR313D    OCS-G-1 172     OCS-G-          D-       VERMIL    Offshore        177064090201S0      ENI US OPERATING CO.   402107          PDP      GAS
          VR 3 13         1172     VR     02ST1    ION 313   Louisiana       5                   INC.
                          3 13     D-
                          02ST1
VR313D    OCS-G-1 172     OCS-G-          D-03     VERMIL    Offshore        177064090300S0      ENI US OPERATING CO.   402108          PDP      OIL
          VR 3 13         1172     VR              ION 313   Louisiana       2                   INC.
                          3 13 D-03
VR313D    OCS-G-1 172     OCS-G-          D-       VERMIL    Offshore        177064090501S0      ENI US OPERATING CO.   402109          SI       OIL
          VR 3 13         1172     VR     04BP 1   ION 313   Louisiana       2                   INC.
                          3 13     D-
                          04BP1
VR313D    OCS-G-1 172     OCS-G-          D-       VERMIL    Offshore        177064090701S0      ENI Us OPERATING CO.   402110          PDP      OIL
          VR 313          1172     VR     05STl    ION 313   Louisiana       1                   INC.
                          3 13     D-
                          05ST1



WEST CAMERGN BLOCK 485/507
XTO OFFSHORE INC.




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Platfor   Lease / Block   Long          Well      Field    County/Parish   API No.            Operator            XTO      Well   Status   Type
m                         W ell         Name                                                                      No.
                          Nam e
WC485     OCS-G-2220      OCS-G-        A_        WEST     OFFSHORE        177024010002S      XTO OFFSHORE INC.   402114          SI       GAS
A         WC 485          2220 W C      01ST2     CAME     LOUISIANA       01
                          485    A-               RON
                          01ST2                   SA 507
WC485     OCS-G-2549      OCS-G-        A-02      WEST     OFF SHORE       1770240 1 8200D    XTO OFFSHORE INC.   401796          SI       GAS
A         WC 507          2549 W C                CAME     LOUISIANA       03
                          507 A-02                RON
                                                  SA 507
Wo1s5     OCS-G-2549      OCS-G-        A-        WEST     OFFSHORE        17702402010lD      XTO OFFSHORE INC.   402979          SI       GAS
A         WC 507          2549 W C      03EST1    CAME     LOUISIANA       03
                          507    A-               RON
                          03ESTl                  SA 507
WC485     OCS-G-2549      OCS-G-        A-        WEST     OFFSHORE        177024020 1 0 1D   XTO OFFSHORE INC.   402117          SI       GAS
A         WC 507          2549 W C      03FST1    CAME     LOUISIANA       04
                          507    A-               RON
                          03FST1                  SA 507
WC485     OCS-G-10594     OCS-G-        A-        WEST     OFFSHORE        1770240230028      XTO OFFSHORE INC.   402118          PDP      GAS
A         WC 507          10594 WC      04S'I`2   Cn/1E    LOUISIANA       01
                          507    A-               RON
                          04ST2                   SA 507
WC485     OCS-G-2549      OCS-G-        A-05      WEST     OFFSHORE        1770240235008      XTO OFFSHORE INC.   77163(rnnm#)    TA       GAS
A         WC 507          2549 W C                CAME     LOUISIANA       01
                          507 A-05                RON
                                                  SA 507
WC485     OCS-G-2549      OCS-G-        A_        WEST     OFFSHORE        1770240249028      XTO OFFSHORE INC.   401883          PDP      GAS
A         WC 507          2549 W C      06(B)sT   CAME     LOUISIANA       03
                          485     A-    2         RON
                          06 (B) s m              SA 507
WC485     OCS-G-2549      OCS-G-        A-07(B)   WEST     OFFSHORE        177024094900s      XTO OFFSHORE INC.   402119          TA       GAS
A         WC 507          2549 W C                CAME     LOUISIANA       03
                          507      A-             RON
                          0703)                   SA 507
WC485     OCS-G-2549      OCS-G-        A-0s(A)   WEST     OFFSHORE        1770240944008      XTO OFFSHORE INC.   401781          PDP      GAS
A         WC 507          2549                    CAME     LOUISIANA       02
                          WC507 A-                RON
                          0s(A)                   SA 507




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WC485    OCS-G-2549   OCS-G-      A-09E    WEST   OFFSHORE     177024094700D    XTO OFFSHORE INC.      401885        PDP   GAS
A        wc 507       2549 W C             CAME LOUISIANA      03
                      507 A-09E            RON
                                           SA 507
WC485    OCS-G-2549   OCS-G-      A-09F    WEST   OFFSHORE     177024094700D    XTO OFFSHORE INC.      401886        PDP   GAS
A        WC 507       2549 W C             CAME LOUISIANA      04
                      507 A-09F            RON
                                           SA 507
WC485    OCS-G-2220   OCS-G-      A-10     WEST   OFFSHORE     1770241 17800S   XTO OFFSHORE INC.      4021 15       SI    GAS
A        WC 485       2220 W C             CAME LOUISIANA      01
                      485 A-10             RON
                                           SA 507
WC485    OCS-G-2220   OCS-G-      A-1 1    WEST   OFFSHORE     1770241 18300S   XTO OFFSHORE INC.      4021 16       SI    GAS
A        WC 485       2220 w c             CAME LOUISIANA      02
                      485 A-11             RON
                                           SA 507
WC485    OCS-G-2220   OCS-G-      A-11D    WEST   OFF SHORE    1770241 18300S   XTO OFFSHORE INC.      4021 16       SI    GAS
A        WC 485       2220 W C             CAME LOUISIANA      03
                      485      A-          RON
                      11D                  SA 507
WC507B   OCS-G-2549   OCS-G-      B-01(A)  WEST   OFFSHORE     177024098304S    XTO OFFSHORE INC.      402 120       PDP   GAS
         WC 507       2549 W C ST4         CME LOUISIANA       02
                      507      B-          RON
                      01 ( A)s T4          SA 507
WC507B   OCS-G-2549   OCS-G-      B-02ST1 WEST    OFFSHORE     1770240990018    XTO OFFSHORE INC.      402 121       PDP   GAS
         WC 507       2549 W C             CAME LOUISIANA      01
                      507      B-          RON
                      02STl                SA 507
WC507B   OCS-G-2549   OCS-G-      B-03 STI WEST   OFFSHORE     177024100201X    XTO OFFSHORE INC.      (no well #)   TA    GAS
         WC 507       2549 W C             CAME LOUISIANA      01
                      507      B-          RON
                      03ST1                SA 507
WC507B   OCS-G-2549   OCS-G-      B-04ST2 WEST    OFFSHORE     1770241082023    XTO OFFSHORE INC.      402122        SI    GAS
         WC 507       2549 W C             CAME LOUISIANA      02
                      507      B-          RON
                      04ST2                SA 507
WC507B   OCS-G-2549   OCS-G-      B-05     WEST   OFFSHORE     177024101200S    XTO OFFSHORE INC.      402123        SI    GAS
         WC 507       2549 W C             CAME LOUISIANA      01
                      507 B-05             RON
                                           SA 507




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WC507B   OCS-G-2220   OCS-G-     B-06   WEST       OFFSHORE      17702410s300s   XTO OFFSHORE INC.     401780   PDP   GAS
         WC 485       2220 W C          C .». ME   LO UISI ANA   01
                      485 B-06          RO N
                                        SA 507
WC507C   OCS-G-2549   OCS-G-     C-01   WEST       OFFSHORE      l77024130300S   XTO OFFSHORE INC.     401782   SI    GAS
         WC 507       2549 W C          CA ME      LO UISI ANA   01
                      507 C-01          RO N
                                        SA 507




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                                    EXHIBIT B
            ATTACHED TO AND MADE A PART OF THAT CERTAIN
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                 DATED EFFECTIVE AS OF AUGUST 1, 2011,
                     BETWEEN XTO OFFSHORE INC.
                AND DYNAMIC OFFSHORE RESOURCES, LLC

                           EASEMENTS AND PERMITS

                                                                                            WI
XTO Ref #   Lease #    Eff Date                       Description                          Int.

0276247      SL 4279   9/30/2002    Surface Lease with Sub-Surface Agreement Block        100%
                                    42, South Pass Area, SL 16869 No. 1 Recorded
                                    10/29/03 in Plaquemines Parish Book #1034, Page
                                    #60, File No. 02006520

0278047      SL 576    6/2/2005     Approximately 29,275 square feet of state owned       100%
                                    Water bottoms in Burrwood Bayou, in front of
                                    Section 46, Township 24 South Range 30 East,
                                    Plaquemines Parish, Louisiana. Recorded 6/15/05 at
                                    Plaquemines Parish Book #1095, Page #158, File No.
                                    2005-00003264.
                                    (Commercial Water Bottom Lease)


0276246      SL 4300   12/30/2002   Block 42, South Pass Area being within the boundary   100%
                                    of State Mineral Lease No. 17199 and the bottomhole
                                    being situated on acreage described as Block 43,
                                    South Pass Area, Offshore Federal Waters, OCS-G
                                    22781. Recorded 1/29/03 in Plaquemines Parish
                                    Book #1039, Page #106, File No. 03000773.

0276253      SL 3011   10/17/2007   3.0 acre circular area centered at point having a   100%
                                    Lambert coordinates of X = 3,905,250 and Y =
                                    172,757 which encircles SL 1922 SWD Well #3
                                    located in '1`24S-R3 0E. Recorded 12/13/07 in
                                    Plaquemines Parish Book #1 167, Page #880, File No.
                                    2007-0008342. SWD Well name has changed to SL
                                    3011 SWD #1.




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                        BETWEEN XTO OFFSHORE INC.
                   AND DYNANIIC OFFSHORE RESOURCES, LLC

                          DESCRIPTION OF RIGHTS-OF-WAY


East Cameron 178 (XTO File Ref #3202-RW0003-00)
OCS-G 28533, Segment No. 17688, a right-of-way 200 feet Wide for the installation, operation
and maintenance of a 6 5/8-inch pipeline, 4.86 miles in length, to transport gas and condensate
from Block 178, A Platform, to Block 184, 30-inch Subsea Tie-in, all located in East Cameron
Area.

High Island 34 (XTO File Ref #3264-RW0001-00)
OCS-G 24287, Segment No. 13955, a right-of-Way 200 feet Wide for the installation, operation
and maintenance of an 8-5/8-inch pipeline, 1.83 miles in length, to transport gas and condensate
from High Island Area Block 34 Caisson No. 1, Lease Number OCS-G 20655 through High
Island Blocks 34 and 35 to a sub-sea tie in at High Island Block 21.

Main Pass 29 (XTO File Ref #3074-RW000l-00)
OCS-G 28216, Segment No. 15810, a right-of-way 200 feet wide to install, operate and maintain
a 6 5/8-inch pipeline, 6.80 miles in length, to transport bulk gas Hom Block 29 Well No. l thru
blocks 116, 117 to Block 118 "A" all of which is located in the Madn Pass Area.

Main Pass 101 (XTO File Ref #33 1 8-RW000l-00)
OCS-G 24687, Segment No. 14304, a right-of-way 200 feet wide for the operation and
maintenance of a 8-inch pipeline, 20,102 feet in length, to transport bulk gas from a SSTI
Manifold Main Pass Area, South and East Addition Block 101, OCS-G 22792, to Platform "A"
Main Pass Area, South and East Addition, Block 102, OCS-G 3798.

Main Pass 112 (XTO File Ref #3325-RW0001-00)
OCS-G 11738, Segment No. 9006, a right-of-way 200 feet in width, for a 6 5/8-inch pipeline,
6.77 miles in length, from Platform No. 2 in Main Pass Block 112, crossing Block 113 and Block
114, to a subsea tie-in with an 8-inch pipeline (Segment 9248) in Main Pass Block ll7.

Main Pass 116 (XTO File Ref #3326-RW000l-00)
OCS-G 12708, Segment No. 9248, a right-of-Way 200 feet in width, for the operation and
maintenance of an existing 8 5/8-inch pipeline, 3.31 miles in length, to transpolt bulk gas from
an 8 5/8-inch subsea tie-in in Main Pass Block 117, to Platform B in Main Pass Block 116 , all in
the Main Pass Area.




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Main Pass 116 (XTO File Ref #3326-RW0002-00)
OCS-G 25478, Segment No. 14895, a 200-feet Wide right-of-way to operate and maintain a 03-
inch pipeline, 2.58 miles in length, to transpoit condensate Hom Platform B in Block 116 to a 6-
inch Subsea Tie-in in Block 127, all in Main Pass Area.

Main Pass 118 (XTO File Ref #333 1-RW0001-00)
OCS-G 28217, Segment No. 15811, a 200 feet Wide right-of-way to operate and maintain an
existing 6-5/8-inch pipeline, 6.67 miles in length, to transport oil from Platform A in Block 118
through Blocks 117 and 126 to a 6-inch Subsea tie-in in Block 127, and also to operate and
maintain the existing associated subsea tie-in assembly appurtenance in Block 127, all in Main
Pass Area.

Main Pass 116 & 118 (XTO File Ref # Pending)
OCS-G BOELVIRE Pending, Segment No. 16342, a 200-foot wide right-of-way to operate and
maintain a 4 %-inch pipeline, 11.00 miles in length, to transport oil from a flange in Block 127,
through Blocks 126, 117, 118, 113 to a subsea tie-in in Block 112, all located in the Main Pass
Area.

Ship Shoal 79 (XTO File Ref #3422-RW0001-00)
OCS-G 23712, Segment No. 13736, a right-of-Way 200 feet in width and 1.77 miles in length,
for the installation, operation and maintenance of a 4-1/2" pipeline to transport bulk gas from
Ship Shoal Block 79 No. 2 Caisson, Lease OCS-G 15277 to Ship Shoal Block 80 "A" Platform,
Open Lease.

Ship Shoal 79 (XTO File Ref #3422-RW0002-00)
OCS-G 23713, Segment No. 13737, a right-of-Way 200 feet in width and 1.77 miles in length,
for the installation, operation and maintenance of a 4-1/2 inch pipeline to transport bulk gas from
Ship Shoal Block 79 No. 2 Caisson, Lease OCS-G 15277 to Ship Shoal Block 80 "A" Platform,
open lease.

Ship Shoal 80 (XTO File Ref #3422-RW0003-00)
OCS-G 9330, Segment No. 8204, a right-of-Way 200 feet in Width, for the construction operation
and maintenance of a 6 5/8-inch natural gas and condensate pipeline, 8.06 miles in length, from
Samedan Oil Corporation's Platform A in Block 80, Ship Shoal Area, across Blocks 123 and
124, Eugene Island Area, to a subsea connection with ANR Pipeline Company's existing 30-inch
pipeline (OCS-G 1687) in Block 125, Eugene Island Area.

Ship Shoal 188 (XTO File Ref #3423-RW000l-00)
OCS-G 26977, Segment No. 15614, a right-of-way 200 feet wide for the installation, operation
and maintenance of a 6-in pipeline, 1.65 miles in length, to transport gas and condensate from
Block 188 Well No. 1 to a 10-inch subsea tie-in in Block 189, all in the Ship Shoal Area.




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South Marsh Island 142 (XTO File Ref #343 8-RW0001-00)
OCS-G 3441, Segment No. 4733, a right-of-way 200 feet in W idth for the construction,
maintenance and operation of a 10 %-inch natural gas pipeline, 2.67 miles in length, from Forest
Oil Corporation's Platform "A" in Block 142, South Marsh Island Area, South Addition, to a
subsea connection with Sea Robin Pipeline Con1pany's 24-inch pipeline in the southeast
quadrant of Block 127, South Marsh Island Area, South Addition, as shown on Drawing No. OS-
33 dated Febiuaiy 3, 1977.

South Marsh Island 146 (XTO File Ref #3439-RW0001-00)
OCS-G 26837, Segment No. 15106, a dght-of-Way 200 feet wide for the installation, operation
and maintenance of a 6 5/8-inch pipeline, approximately 1.3 miles in length, to transport bulk
gas from South Marsh Island Block 146 "B" to South Marsh Island Block 147 "A".

South Marsh Island 146 (XTO File Ref #3439-RW 0002-00)
OCS-G 26838, Segment No. 15107, a ri ght -of -way 200 f eet in W i dt h f or t he install ati on,
operation and m aintenance of a 4 1/2-inch pipeline, approximately 1.3 m i l es i n l engt h, t o
transport bulk gas f rom Sout h Marsh Island Block 146 "B" to South Marsh Isl and Block 147
CCA"



South Marsh Island 146 (XTO File Ref #343 9-RW0003-00)
OCS-G 26839, Segment No. 15108, a right-of-way 200 feet in Width for the installation,
operation and maintenance of a 2 %-inch gas lift pipeline, 1.3 miles in length, Hom South Marsh
Island Block 147 "A" to South Marsh Island Block 146 "B"

South Pass 42 Field (XTO File Ref #3450-RW0005-00)
Department of the Army ("Army") Easement No. DACW29-2-01-16 dated September 10, 2001,
as amended, granting a Right-of-Way to operate and maintain an existing production facility to
serve oil and gas wells drilled in South Pass 42 Field in the Gulf of Mexico, within the Army's
Mississippi River South and Southwest Passes Project, Section 46, Township 24 South, Range
30 East, Plaquernines Padsh, Louisiana, amended, to include Tract No. 1, Sections 2 and 46,
Townships 24 and 25 South, Range 30 East, Plaquernines Parish, Louisiana and to include a
proposed Salt W ater Disposal (SW D) well, an additional 15-foot wide (construction width)
servitude for construction, operation and maintenance of a 4-inch pipeline to serve the proposed
SWD well, and a servitude for maintenance of the access canal by wheel washing, as shown on
the exhibits attached to the amendment. Recorded in Plaquemines Parish Book #1080, Page
#801, File No. 2004-0000668l.

(XTO File Ref #3450-RW0003-00)
Department of the Army ("A1my") Easement No. DACW29-2-81-37 dated May 18, 1981, as
amended, granting Rights-of-Way for the construction, operation, maintenance and repair of four
oil and gas flowlinesg one saltwater disposal line; one oil tie-in line and one gas tie-in line,
located in our Mississippi River South and Southwest Passes Project, Tract No. 1, Sections 46
and 47, Township 24 South, Range 30 East, Plaquemdnes Parish, Louisiana. Recorded July 14,
1981 in Plaquemines Parish Book #526, Page #23 1, File No. 27.




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(XTO File Ref #3448-RW000l-00)
State Lease Right-of-Way 4584, One six (6) inch gas/condensate pipeline crossing lands of State
of Louisiana, situated in Block 40, South Pass Area, Section 1 of Township 25 South, Range 30
East and Section 46 of Township 24 South, Range 30 East, Plaquemines Parish, Louisiana.
Recorded April 22, 2005 in Plaquernines Parish Book #1091, Page #27, File No. 2005-
00002059.

(XTO File Ref #3448-RW0002-00)
State Lease Right of Way 4585, One (1) four inch (4") gas/condensate pipeline crossing lands of
State of Louisiana, situated in Block 40 and 42, South Pass Area, Plaquernines Parish, Louisiana.
Recorded April 22, 2005 in Plaquernines Parish Book #1091, Page 36, File No. 2005-00002060.

(XTO File Ref #3448-RW0003-00)
State Lease Right-of-Way 4586, One (1) eight inch (8") gas/condensate pipeline crossing lands
of State of Louisiana, situated in Block 40, South Pass Area, Section 1 of Township 25 South,
Range 30 East and Section 46 of Township 24 South, Range 30 East, Plaquemdnes Parish,
Louisiana. Recorded April 22, 2005 in Plaquemines Parish Book #1091, Page #45, File No.
2005-00002061.

(XTO File Ref #3448-RW0004-00)
State Lease Right-of-Way 4587, One (1) six inch (6") gas/condensate pipeline crossing lands of
State of Louisiana, situated in Block 40, South Pass Area, Section 1 of Township 25 South,
Range 30 East and Section 46 of Township 24 South, Range 30 East, Plaquemines Parish,
Louisiana. Recorded Apiil 22, 2005 in Plaquemines Parish Book #1091, Page #54, File No.
2005-00002062.

West Cameron 485 (XTO File Ref# 3542-RW0001-00)
OCS-G 2122E, Segment No. 4289, a dght-of-way 200 feet in width for the construction,
operation and maintenance of a 12" natural gas pipeline from an existing platform in Block 485,
crossing Blocks 507 and 508 to an existing platform in Block 509, West Cameron Area, South
Addition, a distance of 28,720 feet




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                           DATED EFFECTIVE AS OF AUGUST 1, 2011,
                               BETVVEEN XTO OFFSHORE INC.
                          AND DYNAMIC OFFSHORE RESOURCES, LLC


                                    DESCRIPTION OF PIPELINES
  Segment      Originating   Originating   Destination    Destination              Segment
                                                                         Status                 Size
  Num ber      Area/Block      Lease       Area/Block       Lease                  Length
   16161         EI 309]      G00997        EI309G         G00997       Proposed    9875       6- 5/ 8"
   16162         EI 309J      G00997        EI309G         G00997       Proposed    9875       6- 5/ 8"
   16016         EI3 12       G22679         SMl 4 2       G01216        Active     18112        41|

   16017         EI3 12       G22679         SM142         G012l6        Active     18115      6 5/8"
   14138         MP101        G22792         MP101         G22792        Active     4546       6 5/8"
   14821         MP101        G22792         MP101         G22792        Acdve                   41|
                                                                                    5194
                                                                        Out of                   41|
   14822         MP101        G22792         MP101         G22792                   5197
                                                                        Service
   14315         MP101        G22792         MP101         G22792        Active     8745       8 5/8"
                                                                        Out of                   4"
   9011          MP112        G09707         MP112         G09707                   9088
                                                                        Service
   17188         MP114        G27201         MP11s         G22797        Active     22027        42'
                                                                        Out of
   8372          MP116        G034 1 9       MP1 l 6       G03419                   10893      8 5/8"
                                                                        Service
                                                                        Out of
   8373          MP116        G03419         MP116         G03419                   10893      8 5/8"
                                                                        Service
   15792         MP1 18       G22797         MP 1 25       G25019        Active     4649       8 5/8"
   17557         MP125        G25019         MP 1 1 8      G22797        Active     13939      6 5/8"
   14741         SM109        G24873         SM1 09        G24873        Active     10719      10 3/4"
   10934         SM142        G01216         SM142         G01216        Active     3080
                                                                                                 4"
                                                                                                 41|
   11552         SM142        G01216         SM 142        G01216        Active     8504

   11553         SM142        G01216         SM142         G01216        Active     8359       6 5/8"
   14292          SM40        G13607         SM40          G13607        Active     5584       6 5/8"
   14293          SM40        Gl3607         SM40          G13607        Active     6015       6 5/8"
   14294          SM40         G13607        SM40          Gl3607        Active     6017       6 5/8"
                                                                                             2 1/2" OR 2
   14295          SM40         G13607        SM40           G13607       Active     6020
                                                                                                 7/8"
                                                                                             2 1/2" OR 2
   17203          SM40         G13607         SM44         G23 840       Active     9233
                                                                                                 7/8"
   17201          SM44        G23 840         SM40          G13607       Active     9233       6 5/8"
   17202          SM44        G23 840         SM40          G13607       Active     9233
                                                                        Out of                   4n
   15611         SS188        G22712         SS188          G22712                  8167
                                                                        Sen/ice
   10390         WC507        G02549         WC485          G02220       Active     2100       6 5/8"
   10391         WC507         G02549        WC485          G02220       Active     2100       6 5/8"
   16222                                                                 Out of
                 WC507         G02549        WC485          G02220                  8670       6 5/8"
                                                                         Service



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                       BETWEEN XTO OFFSHORE INC.
                  AND DYNAMIC OFFSHORE RESOURCES, LLC

                          DESCRIPTION OF PLATFORMS


 XTO #        PLATFORM NAME                      OPERATOR              STATE
N/A       PLATFORM BS 52 A           CENTURY EXPLORATION NEW          LA
                                     ORLEANS, INC.
N/A       PLATFORM BS 53 CF          CENTURY EXPLORATION NEW          LA
                                     ORLEANS, INC.
703463    PLATFORM EC 178 D          XTO OFFSHORE INC                 LA
703445    PLATFORM EI 273 D          MARJNER ENERGY INC               LA
703458    PLATFORM EI 284 B          MARINER ENERGY INC               LA
703371    PLATFORM EI 287 D          MARINER ENERGY INC               LA
402689    PLATFORM EI 292 B          MARINER ENERGY INC               LA
703447    PLATFORM EI 309 G          MARINER ENERGY INC               LA
 703342   PLATFORM EI 309 .T          XTO OFFSHORE INC                LA
703331    PLATFORM EI 3 12D           XTO OFFSHORE INC                LA
 703353   PLATFORM I-H 034 B          XTO OFFSHORE INC                 TX
 703430   PLATFORM I-II A376 A        APACHE CORPORATION               TX
N/A       PLATFORM HI A376 B          APACHE CORPORATION               TX
 703408   PLATFORM HI A376 C          APACHE CORPORATION               TX
 403304   PLATFORM H1 A554 A          m11~'T OIL co1v1PAN'>.           TX
 703359   PLATFORM MP 029 1           XTO OFFSHORE INC                 LA
 703355   PLATFORMMP 101 06           XTO OFFSHORE INC                 LA
 703332   PLATFORM MP 101 B           XTO OFFSHORE INC                 LA
 703333   PLATFORM MP 101 D           XTO OFFSHORE INC                 LA
 703436   PLATFORM MP 109 C           W & T OFFSHORE INC               LA
 703437   PLATFORM MP 109 D           W & T OFFSHORE INC               LA
 703336   PLATFORM MP 112 2           XTO OFFSHORE INC                 LA
 703335   PLATFORM MP 112 A           XTO OFFSHORE INC                 LA
 703360   PLATFORM MP 114 1           XTO OFFSHORE INC                 LA
 N/A      PLATFORM MP 116 8           XTO OFFSHORE INC                 LA



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 XTO #         PLATFORM NAME                   OPERATOR                      STATE
703357     PLATFORM MP 116 A         XTO OFFSHORE INC                        LA
703327     PLATFORM MP 1 16 B        XTO OFFSHORE INC                        LA
703361     PLATFORM MP 118 A         XTO OFFSHORE INC                        LA
703449     PLATFORM MP 125 B         XTO OFFSHORE INC                        LA
N/A        PLATFORM MP 94 4          W & T OFFSHORE INC                      LA
703362     PLATFORM SMI 040 B        XTO OFFSHORE INC                        LA
703347     PLATFORM SMI 040 JA       XTO OFFSHORE INC                        LA
703338     PLATFORM SMI 044 C        XTO OFFSHORE INC                        LA
 703 139   PLATFORM SMI 109A         XTO OFFSHORE INC                        LA
 703132    PLATFORM SMI 142A         XTO OFFSHORE INC                        LA
 703133    PLATFORM SMI 142C         XTO OFFSHORE INC                        LA
 703328    PLATFORM SMI 146B         XTO OFFSHORE INC                        LA
 703128    PLATFORM SP 42A           XTO OFFSHORE INC                        LA
 703339    PLATFORM SS 079 A         XTO OFFSHORE INC                        LA
 703370    PLATFORM SS 080 A         XTO OFFSHORE INC                        LA
 703363    PLATFORM SS 188 02        XTO OFFSHORE INC                        LA
      ,s   PLATFORM SS 188 A         XTO OFFSHORE INC                        LA
 703411    PLATFORM SS 247 F         ENI PETROLEUM coMP.m'. ;~; INC          LA
 703404    PLATFORM SS 248 D         ENI PETROLEUM COMP Ati 3~; INC          LA
 703412    PLATFORM SS 248 G         ENI PETROLEUM COMP A1 ;~; INC           LA
N/A        PLATFORM SS 71 1          PETROQUEST ENERGY, L.L.C                LA
 703403    PLATFORM VR 3 13 D        ENI PETROLEUM COMP A1 TY INC            LA
 703135    PLATFORM WC 485 A          XTO OFFSHORE INC                       LA
 703340    PLATFORM WC 507B           XTO OFFSHORE INC                       LA
 703137    PLATFORM WC 507C           XTO OFFSHORE INC                       LA




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                            ASSIGNMENT AND BILL OF SALE

       This Assignment and Bill of Sale ("Assignment") is effective as of August 1, 2011, at
7:00 a.m. Central Time ("Effective Time"), and is Hom HHE ENERGY COMPANY, a Delaware
corporation with an address of 810 Houston Street, Fort Worth, Texas 76102-6298 ("HHE"), to
DYNAMIC OFFSHORE RESOURCES, LLC, a Delaware limited liability company, with an
address of 1301 McKinney, Suite 900, Houston, Texas 77010 ("Assignee"). HHE and Assignee
may each be referred to hereafter as a "Party", or collectively referred to as the "Parties".

                                        ARTICLE 1.

           1.01.       Assignment. For $10 and other good and valuable consideration, the           a
receipt and sufficiency of which HHE acknowledges, HHE bargains, sells, assigns, and conveys
to Assignee and its successors and assigns, all of HHE's right, title, and interest in and to the
following read and personal properties (collectively, "Properties"), subject to the terms of this
Assignment, including its exhibits, and all applicable instruments o f record i n the
county/counties/parish/parishes where the Properties are located:

              (a)     The oil and gas leasehold estates and other interests, insofar but onbf
                      insofar as set out on Exhibit A and Exhibit A-l, together with I-II-IE's
                      interest in each well located on the leases, units and land descdbed on
                      Exhibit A and Exhibit A-1, including, Without limitation, the Wells
                      descdbed on Exhibit A-2 (collectively, "Interests");

       HHE EXCEPTS FRoM THIS ASSIGNMENT THE EXCLUSIONS PRoVIDED IN SECTION 1.02
       OE THIS ASSIGNMENT AND MAKES SUCH ASSIGNMENT SUBJECT T o ANY
       CoNvEYANCE OR AGREEMENT, WHETHER RECORDED OR NoT, THAT PERTAINS To
       THE INTERESTS AND WHICH WAS EXECUTED OR EFFECTIVE BEFoRE THE
       EXECUTION OF THIS ASSIGNMENT.

               (b)    All contracts affecting the Interests, to the extent each is assignable,
                      including agreements for the sale or purchase of oil, gas, and other
                      hydrocarbons; processing agreements; division orders; unit agreements;
                      operating agreements; and other contracts and agreements arising out Oi
                      connected With, or attributable to production Hom the Interests, including
                      the items listed on Exhibit A-1;

       HHE EXCEPTS FRoM THIS ASSIGNMENT AND RESERVES To ITSELF ALL RIGHT,
       TITLE, AND INTEREST IN THESE CoNTRAcTS INSOFAR AS THEY PERTAIN To ANY
       INTEREST NoT ASSIGNED IN THIS ASSIGNMENT.

               (c)    All personad property, including matedal, equipment, pipelines, platforms
                      and facilities situated i n and on the Properties and used solely i n
                      connection with the use or operation of the Interests for the production,
                      treating, storing, transporting, and marketing of o i l , gas, and other
                      hydrocarbons Hom the Interests, including the items listed on Exhibit B-2
                      and Exhibit B-3;



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   HI-IE EXCEPTS FRoM THIS ASSIGNMENT AND RESERVES To ITSELF ALL PERSONAL
   PROPERTY, WELLS, FIXTURES, PIPELINES, AND EQUIPMENT USED IN H H E ' s
   OPERATION OF ANY LEASE, WELL, OR MINERAL INTEREST NoT ASSIGNED IN THIS
   ASSIGNMENT.

            <<1>   All easements, permits, licenses, surface and subsurface leases, rights-of-
                   Way, servitudes, and other surface and subsurface lights affecting the
                   Interests, to the extent each is assignable, including the items listed on
                   Exhibit B and Exhibit B-l; and

            (G)    Copies of the data and records relating to the Properties and Interests that
                   have been or Will be delivered by HI-IE to Assignee as provided for in the
                   Purchase and Sale Agreement defined hereafter ("Docurnents").

       1. 02 .     Exclusions. The following are excluded from this Assignment:

                   reservations, exceptions and exclusions listed in Exhibits A, B and B-l;
            (a )

                   pipelines, fixtures, equipment, and interests owned by third parties such as
            <b>
                   lessors, purchasers, or transporters of Oil or gas;

            (C)    computer      equipment      (including    Rosemont        transmitters),
                   telecommunications equipment, vehicles, boats, tools, pulling machines,
                   and other equipment and material temporarily located on the Property or
                   expressly excluded from the sale;

            <<1>   items specifically excluded in written information or correspondence
                   provided to Assignee before the Execution Date;

            <e>    any gas processing plant not listed on Exhibit A and Exhibit A-1;

            <f>    personad property, iixtures, equipment, pipelines, facilities, and buildings
                   located on the Property, but currently in use in connection with the
                   ownership or operation of other property not included in the Interests;

            (g)    Unless otherwise descdbed on Exhibit A, if IIIIL is a party to a joint
                   operating agreement that affects an Interest, this Agreement is limited as
                   to that Interest to the depths subject to the joint operating agreement (e.g.,
                   total depth, total depth plus 100 feet, base of formation penetrated by
                   initial test Well), but excludes depths previously conveyed and all depths
                   not subj ect to a joint operating agreement; and

            (11)   If HHE owns mrleased mineral interests purportedly within the Interests,
                   those mineral interests are not included in the term "Interests" and will not
                   be conveyed to I-II-IE.

            (i)    [lntentionally Left B1ank].




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               G)      Responsibility and liability for the proper payment of royalties to any
                       governmental entity with respect to production attributable to the Interests
                       prior to the Effective Time i n the event prior payments to such
                       governmental entity were improperly calculated.

               <1<>    The Reserved Overriding Royalty Interest as defined in Section 1.08.

             1.03.      Restrictions on Use. Where any of the Interests include a fee simple
interest in real property that has been used for oil, gas, or other mineral operations, die following
uses of the affected land, or any portion thereoi are expressly prohibited and forbidden:

                       any hotel use;
               (a )
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                       any purpose that would constitute a Permitted Use under any of the
               <'>>
                       residential zones, districts, or classifications set forth in any applicable
                       municipal, county/parish or state zoning laws in effect at the Effective
                       Time,

               <<=>    any other residential use;

               < d>    any headth care, clinic, hospital or other medical facility;

               <e>     any playground, recreational park, day nursery, day-care center, child care
                       center, nursing home, house of Worship, or school;

               (0      any agricultural use;

               (g)     construction or installation of any basements; or

               01)     any water wells for irrigation or drinking purposes.

            1.04.       Documents. If originals or the last-remaining copies of the Documents
have been provided to Assignee, HHE may have access to them at reasonable times and upon
reasonable notice during regular business hours for as long as any Interest is in effect after the
Effective Time (or for 21 years in the case of a mineral fee or other non-leasehold interest or a
longer pedod if required by law or governmental regulation). I-IHE may, during this period and
at its expense, make copies of the Documents pursuant to a reasonable request. Without limiting
the generality of the two preceding sentences, for a pedod as long as any Interest is in effect after
the Effective Time (or for 21 years in the case of a mineral fee or other non-leasehold interest or
for a longer pedod if required by law or governmental regulation), Assignee may not destroy or
give up possession of any odginad or last-remaining copy of the Documents without first offering
HHE the opportunity, at l]lIE's expense, to obtain the originad or a copy. After this period
expires, Assignee must offer to deliver the Documents (or copies) to HHE, at HI-lE's expense,
before giving up possession or destroying them.

            1.05.     Reservations. To the extent that IIIIL has reserved or continues to own an
interest (excluding oveniding-royalty interests but including, if any, mineral-fee, leasehold
interests, deep rights or facilities, equipment, or pipelines) after the Effective Time for which


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HHE requires access across the land associated with the Interests in order to exercise its dghts,
HHE reserves concurrent interests in all applicable easements, rights-of-Way, contracts, and other
rights relating to the reserved interests and necessary as reasonably required for exploring,
drilling, producing, storing, or marketing oil, gas, and other hydrocarbons from the respective
zones or interests of the Parties, including rights to lay pipelines, water lines, and power lines;
dig pits; erect structures; and perform any other act reasonably necessary to HHE's interests.
Additionally, HHE reserves and retains a preferentiad right to purchase all Oil produced and
saved Hom the Interests, pursuant to and in accordance with the tenns and provisions of the
Purchase and Sale Agreement defined hereafter. The term " Oil" as used herein means crude oil,
distillate, drip gasoline, condensate, and other liquid hydrocarbons.

            1.06.        Surrender or Abandonment of Interests. If Assignee decides to surrender
or abandon any of the Interests after execution of this Assignment, Assignee must give IIIIE
written notice of its intent at least 45 days before surrender or abandonment if HHE:

               (a)    has retained an interest in such Interests;

               (b)     has other interests for which HHE requires access across such Interests or
                       Property in order to exercise its rights; or

               (c)     has other interests that are held by production Hom such Interests. HHE
                       will have 30 days after receipt of Assignee's notice to notify Assignee that
                       it elects to require Assignee to reassign adl or any part of such Interests.
                       Reassignment will be in die manner described in Section 1.07.

           1.07.     Reassignment. For reassigmnent of any Interest under this Assignment,
Assignee will execute and deliver to HHE a reassigmnent by specid warranty, in a form
satisfactory to HHE and sufficient to place HHE in the same position it occupied before the
assigmnent to Assignee. Assignee's release and discharge of HHE and its Associated Parties, its
covenant not to sue HHE or its Associated Parties, and its obligations to indemnify, defend, and
hold HHE and its Associated Parties harmless Will apply to Interests that are reassigned for the
period of Assignee's ownership, and the reassigmnent instrument will restate Assignee's
obligations.

            1.08.      Reserved Overriding Royalty. UUE reserves from the leasehold interest
applicable to each of the oil and gas leases described on Exhibit A (collectively, the "Leases",
individually a "Lease"), an oveniding royalty interest interest equad to five percent of eight-
eighths (5% of 8/8) as to production hom any New Wells, as defined hereafter (the "Oveniding
Royalty Interest"). 'New Wells", for the purposes of this Assignment is defined as any wells
drilled on the Leases from and after the date of execution of this Assignment (the "Execution
Date"), together with any sidetrack or deepening after the Execution Date of` an existing well on
the Leases, to the extent and only to the extent that said sidetrack bottom hole is located 1,000
feet or greater Horn the bottom hole location of such existing wells; provided, however, such
1,000 foot restriction does not apply to the sidetracks identified in that certain Letter between
H]-IE and Assignee, dated July 29, 2011. New Wells shall not include any recompletions,
workovers, or mechanical bypasses of an existing well. The Oveniding Royalty Interest shall be
paid or delivered by Assignee to HHE in accordance with the following terms and conditions:



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               (a)     On oil, delivery of such oil shall be made free of all costs and expenses in
                       developing and operating the Interests, free of all costs of production and
                       unencumbered in any Way to IIII]1's credit into the pipelines or tanks to
                       which the applicable well or wells may be connected, or otherwise as
                       HI-IE may from time to time direct. Should HHE elect not to take its
                       Overriding Royalty Interest on oil in kind, then HHE's part of such oil
                       shall be paid based upon the same market value as received by Assignee
                       with respect to its Interests pursuant to an arrn's length contract with a
                       third party purchaser of such oil at the applicable Well or wells, tree of all
                       costs and expenses in of developing and operating the Interests, tree of adl
                       costs of production and unenctunbered in any way.

               (b)     On all gas, including casinghead gas or other gaseous substances and
                       liquid constituents of said gas, produced from and sold (on or off the
                       Interests) or used off the Interests, or for the extraction of gasoline or other
                       products therefrom, the Overriding Royalty Interest shall be based upon
                       the same market value as received by Assignee with respect to its Interests
                       pursuant to an arm's length contract with a third party purchaser at the
                       well or wells of gas so produced, sold or utilized, free of all costs of
                       developing and operating the Interests, free of all costs of production.

        Payment by Assignee of the Overriding Royalty Interest must be made from the
Execution Date and at all times thereafter on the basis of one hundred percent (l00%) of the
New Well's production (proportionately reduced as hereafter provided), and such payment must
be made regardless of (a) whether Assignee is or is not banking or storing gas, whether pursuant
to the provisions of an agreement so permitting, or otherwise; (b) whether Assignee is or is not
selling all or any part of its share of the total production; and (c) the identity of the purchaser or
purchasers of such gas if Assignee should be selling all or any part of the total gas produced.
The Oveniding Royalty Interest shall be delivered to HHE 'free of all cost and expense of
developing and operating the Leases and free and clear of all taxes except gross production,
severance taxes, and ad Valorem taxes applicable thereto; provided that, the Overriding Royalty
Interest will be subject to and bear a proportionate share of all reasonable costs and expenses of a
non-affiliated third party inctured for the transportation, compression, dehydration and treating
of the said gas and condensate in the preparation for marketing of such production. Such
payments shall be made on or before the sixtieth (60th) day following the month of the
production. If payment is not made within the time prescribed, the unpaid amount will bear
interest at the rate of one percent (1%) for each month or fraction of a month, by which payment
is delayed, or the maximum lawful rate, whichever is less. Assignee agrees to send all division
orders covering the Oveniding Royalty Interest reserved by to HHE at the following address:

                                       XTO Energy Inc.
                                       P.O. Box 730586
                                       Dallas, Texas 75373-0586

       If the Leases cover less than a full interest in the land covered thereby or if the interest
assigned hereunder in said Leases is less than a full interest, then the Overriding Royalty Interest
herein reserved shall be reduced in the proportion that the interest assigned to Assignee herein


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bears to the full interest in the land covered or bears to the full interest in the Leases assigned
hereunder; provided, however, that the overriding royalties herein reserved are exclusive of and
in addition to any royalties, overriding royalties or payments out of production affecting the
Leases as of the Effective Time. It is expressly agreed that operations, if any, on the Leases and
the extension and duration thereof as well as the preservation of the Leases by rentad payments
or otherwise, shall be solely at the Will and discretion of Assignee or any successor owner of the
worldng interest in the Leases. The Oven'iding Royalty Interest hereby reserved is subj ect to the
rights conferred on the lessees (now Assignee) by said Leases to pool or unitize the lands
covered thereby; and neither the joinder nor consent by HHE shall be required in connection
with any such pooling or unitization. Where oil and/or gas is produced from any unit so formed,
HHE shadl receive on production Hom such unit only such portion of the oveniding royalty
stipulated herein, as the amount of surface acreage of the land affected by such overriding
royalty and placed in said undt bears to the total surface acreage included in the Lmit, unless some
other formula for appointment of production is adopted for the unit and in such case the formula
shall be used.

        IIIIE upon notice in writing to Assignee, shall have the right to audit Assignee's accounts
and records relating to the Overriding Royalty Interest reserved herein and any other records
related to the determination of the amounts due HHE for any calendar year Within the twenty-
four (24) month period following the end of such calendar year.

        The Oveniding Royalty Interest is expressly subject to the terms and provisions of any of
the Related Agreements, to the extent and only to the extent that such terms and provisions
contractually apply to and prohibit the establishment of an oveniding royalty interest affecting
any of the Leases. If pursuant to the terms of any Related Agreement all or a portion of
Assigr1ee's interest in a Lease, or all or a portion of its interest in the production therefrom, is
forfeited or assigned to one or more other working interest owners, either permanently or for a
stipulated pedod, because Assignee fails to participate in any operation or operations, then to the
extent that such forfeited or assigned interest is subject to and burdened by the Overriding
Royalty Interest, the Worldng interest so assigned or forfeited by Assignee shadl be free and clear
of such Overriding Royalty Interest for the period of such forfeiture or assigmnent of oveniding
royalty interests. The Overriding Royadty Interest will become effective again when the interest
is reassigned or reverts back to Assignee, and Assignee shall pay such Overriding Royalty
Interest as provided in this Section 1.08. Further, to the extent any Related Agreement
establishes security dghts i n favor of the parties thereto, the Overriding Royalty Interest
conveyed herein shall be subordinated to such security rights. For the purposes of this
Assignment, "Related Agreements" shall mean all oil, gas, and mineral leases, assignments,
subleases, farmout agreements, Lmit agreements, joint operating agreements, pooling agreements,
letter agreements, easements, dghts-of-Way, gathering and transportation agreements, sales
agreements, and other agreements concerning or pertaining to the Interests, to the extent that they
are binding on HHE or its successors or assigns.

       It is understood and agreed that the Overriding Royalty Interests reserved herein, will be
a permanent burden on the Leases subject to the provisions of this Section 1.08, and will
continue in effect as to each Lease for so long as each Lease remains in effect. In addition in the
event Assignee secures a renewad or extension for any such Leases, covering all or any part of



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the land previously covered thereby, then the interests reserved herein will apply to such
renewed or extended Lease. A "renewal" or "extension" of a Lease as those terms are used
therein shall mean any Lease or Leases covering all or a part of the land covered by the Leases
that is executed by Assignee Within twelve (12) months after termination of any Lease, or the
next ensuing Federal or state lease sale pertaining to all or any part of the land previously
covered by a Lease, Whichever may come first.

            1.09.     Governmental Transfers. Where separate transfers o f any o f the
Properties have been, or W ill be, executed for filing with and approval by applicable
governmental authorities, any such separate transfer (a) shall not constitute an additional
assignment or conveyance of the affected Properties, (b) shall not constitute an additional
reservation of the Oveniding Royalty Interest provided for in this Assignment and (c) shall not
modify any of the terms, covenants and conditions, or limitations on warranties, set forth in this
Assignment, and are not intended to create and shall not create any representations, Warranties or
additional covenants of or by either of the parties to this Assignment.

                                         ARTICLE 2.

       Ad Valorem taxes assessed against the Properties for the year of the Effective Time are
apportioned between HHE and Assignee as of the Effective Time.

                                         ARTICLE 3.

          Assignee wi l l comply with all rules, regulations, statutes, and laws applicable to
Assignee's ownership or operation of the Properties. Except to the extent specifically excepted
or reserved by IIIIL in this Assignment or in the Purchase and Sade Agreement (as defined
hereafter), Assignee accepts this Assignment and assun1es all IIIIE's obligations and liabilities
under all oil, gas, and minerad leases, assignments, subleases, farmout agreements, unit
agreements, joint operating agreements, pooling agreements, letter agreements, easements,
rights-of-Way, gathering and transportation agreements, sales agreements, and other agreements
(including compliance with express and implied covenants and payment of costs, rentals, shut-in-
payments, minimum royalties, and production royalties), to the extent that these obligations and
liabilities concern or pertain to the Properties and are binding on UUE or its successors or
assigns. Assignee's obligations under this article apply to all applicable instruments, Whether
recorded or not.

                                         ARTICLE 4.

         Assignee acknowledges that the Interests and Properties have been used for exploration,
development, and production of oil and gas and that there may be petroleum, produced water,
Wastes, or other materials located on or under the Properties or associated with the Interests.
Equipment and sites included in the Interests or Properties may contain asbestos, hazardous
substances, or naturally occurring radioactive material ('NORM"). NORM may affix or attach
itself to the inside of Wells, materials, and equipment as scale, or in other forms; the wells,
matedads, and equipment located on the Properties or included in the Interests may contain
NORM and other Wastes or hazardous substances; and NORM-containing materid and other
wastes or hazardous substances may have been buried, come in contact with the soil, or



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otherwise been disposed of on the Properties. Special procedures may be required for the
remediation, removal, transportation, or disposal of Wastes, asbestos, hazardous substances, and
NORM 'from the Interests and Properties.

        Assignee W ill store, handle, transport, and dispose of o r discharge all material,
substances, and wastes from the Properties (including produced water, drilling fluids, NORM,
and other wastes), Whether present before or after the Effective Time, in accordance with
applicable local, state, and federal laws and regulations. Assignee will keep records of the types,
amounts, and location of matedads, substances, and wastes that are stored, transported, handled,
discharged, released, or disposed of onsite and offsite. When any lease terminates, an interest in
which has been assigned under this Assignment, Assignee Will take additional testing,
assessment, closure, reporting, and remedial action with respect to the Properties as is necessary
to satisfy all local, state, and federal requirements directed in effect at that time and necessary to
restore the Properties.

                                           ARTICLE 5.

        Assignee recognizes, and Will either perform or assure that performance is accomplished
properly and in accordance with applicable law and the obligations and liabilities described in
Article 3, all obligations to abandon, restore, and remediate the Properties and the Interests,
whether arising before or after the Effective Time, including obligations, as applicable, to:

                       a) obtain plugging exceptions in the operator's name for each well
                          located on the Properties (abandoned and unabandoned) with a current
                          plugging exception or permanently plug and abandon each Well;
                       b) plug, abandon, and if necessary, reabandon each well located on the
                          Properties (abandoned and unabandoned);
                       c) remove all equipment and facilities, including flowlines, pipelines and
                          platforms;
                       d) close all pits; and
                       e) restore the surface, subsurface, and offshore sites associated with the
                          Interests and Properties.

         Assignee will take all necessary steps to ensure that Assignee is recognized as the owner
and, if applicable, operator of the Properties by all appropriate parties, including any regulatory
commission, body or board with jurisdiction. If HHE is the principad on any financial assurance
(including a bond) relating to the Properties, which financial assurance is required by any law,
rule, or regulation, then Assignee will secure new financial assurance in the required amount and
supply it to the regulatory body requidng the fmancial assurance, to the end that HHE's financial
assurance is released and discharged.

         Assignee will pay all costs and expenses associated with the obligations assumed under
this article. HHE may require Assignee to maintain a performance bond in an amount, in a form,
and from an institution acceptable to IIIIE, to guarantee Assignee's obligations, all as provided
for in the Purchase and Sale Agreement as defined hereafter.




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                                         ARTICLE 6.

      H H E MAKES N o WARRANTY O F ANY TYPE I N THIS ASSIGNMENT, WHETHER
EXPRESS, STATUTORY, OR IMPLIED. ASSIGNEE HAS INSPECTED AND HAS SATISEIED ITSELE
AS To THE CoNDITIoN OE THE PROPERTIES. THIS ASSIGNMENT IS MADE BY HHE AND
ACCEPTED BY ASSIGNEE O N A N " A S I s , WHERE I s " BASIS. H H E DISCLAIMS A L L
WARRANTIES, INCLUDHYG:

       (a)     AS TO THE FITNESS OR CONDITION oRMERc1-1ANTAB1L1TY OF THE MATERIALS,
               EQUIPMENT, OR FACILITIES CONVEYED;

       (b)     AS TO THE PHYSICAL, OPERATIONAL, OR ENVIRONMENTAL CONDITION OF THE
               PROPERTIES;

       (C)     AS TO THE o1L, GAS, AND OTHER HYDROCARBON OPERATIONS OF THE
               PROPERTIES COVERED BY THE TERMS AND CONDITIONS OF ANY LEASES OR
               OTHER AGREEMENTS THAT ARE A PART OF THE PROPERTIES;

       <<1>    AS TO THE ISSUANCE, REISSUANCE, OR TRANSFER OF ANY PERMITS RELATING TO
               ANY OF THE PROPERTIES;

       <e>     AS TO ANY CONSENT OR APPROVAL REQUIRED UNDER ANY INSTRUMENT
               DESCRIBED IN ARTICLE 111; AND

       (D      AS TO TITLE, EITHER EXPRESS, IMPLIED, OR STATUTORY.

                                         ARTICLE 7.

         The terms "Claim" or "Claims" mean, collectively, claims, demands, causes of action,
and lawsuits asserted or filed by any person, including an artificial or natural person, a local,
state, or federal governmental entity; a person holding rights under any instrument described in
Article 3; an Associated Party of HHE or Assignee; or a third party. The term "Liability" or
"Liabilities" means, collectively, all damages (including consequential and punitive damages),
including those for personal injury, death, or damage to personal or real property (both surface
and subsurface) and costs for remediation, restoration, or clean up of contamination, whether the
injury, death, or damage occurred or occurs on or off the Properties by migration, disposal, or
otherwise; losses; fines; penalties; expenses; costs to remove or modify facilities on or under the
Properties; plugging liabilities for all wells; attorneys' fees; court and other costs incurred in
defending a Claim; liens; and judgments; in each instance, whether these damages and other
costs are known or unknown, foreseeable or unforeseeable on the Effective Time. The term
"Associated Parties" means successors, assigns, directors, officers, employees, agents,
contractors, subcontractors, and affiliates.

         Assignee releases and discharges HHE and its Associated Parties from each Claim and
Liability relating to the Interests, Properties, or this transaction, regardless of when or how the
Claim or Liability arose or arises or whether the Claim or Liability is foreseeable or
unforeseeable. AssIGNEE's RELEASE AND DISCHARGE oE I-IHE AND Irs AssocIArED PARTIES
INCLUDE CLAIMS AND LIABILITIES CAUSED IN WHOLE OR IN PART BY THE GROSS, SOLE, JoINT,


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CONCURRENT, ACTIVE OR PASSIVE NEGLIGENCE OF HI-IE OR ANY OF ITS ASSOCIATED PARTIES
OR ANY THIRD PARTY AND APPLY REGARDLESS OF WHO MAY BE AT FAULT OR OTHERWISE
RESPONSIBLE UNDER ANY OTHER CONTRACT OR ANY STATUTE, RULE OR THEORY OF LAW
INCLUDING THEORIES OF STRICT LIABILITY, and this release and discharge are binding on
Assignee and its successors and assigns The only exception to Assignee's release and discharge
o f U U E and its Associated Parties i s that (a) Assignee does not release Claims against
contractors and subcontractors for W ork regarding the Interests and Properties, and (b) Assignee
does not release or discharge Claims that I-IHE breached the Purchase and Sade Agreement as
defined hereafter.

         Assignee covenants not to sue HHE or its Associated Parties with regard to any Claim or
Liability relating to the Interests, Properties, or this transaction, regardless of when or how the
Cl ai m or Li abil i t y arose or arises or whether the Cl ai m or Li abi l i t y i s foreseeable or
mrforeseeable. AssI G NEE's cov ENANT NoT T o SUE H HE ok I T s A ssoc I AT E D PARTIES
INCLUDES CLAIMS AND LIABILITIES CAUSED IN WHOLE OR IN PART BY THE GROSS, SOLE,
JOINT, CONCURRENT, ACTIVE OR PASSIVE NEGLIGENCE OF I-H-IE OR ANY OF ITS ASSOCIATED
PARTIES OR ANY THIRD PARTY AND APPLIES REGARDLESS OF WHO MAY BE AT FAULT OR
OTHERWISE RESPONSIBLE UNDER ANY OTHER CONTRACT OR ANY STATUTE, RULE OR THEORY
o F LAW n~1cLU1>n~1G THEoRIEs oF STRICT LIABILITY, and this covenant i s bi nding o n
Assignee and its successors and assigns. The only exception to Assignee's covenant not to sue
I-II-IE or its Associated Parties is that Assignee does not cov enant not to sue contractors and
 subcontractors for work regarding the Interests and Properties.

         Assignee Will indemnify, defend, and hold HHE and its Associated Parties harmless from
each Claim or Liability relating to the Interests, Property, or this transaction, regardless of when
or how the Claim or Liability arose or arises or whether the Claim or Liability is f oreseeable or
unforeseeable. AssIGNEE's oBLIGATIoNs To INIJEMNIFI, DEFEND, AND IIoLD HHE AND ITS
ASSOCIATED PARTIES HARMLESS INCLUDE CLAnvIs AND LIABILITIES CAUSED IN WHOLE OR IN
PART BY THE GROSS, SOLE, JOINT, CONCURRENT, ACTIVE OR PASSIVE NEGLIGENCE OF HHE OR
ANY OF ITS ASSOCIATED PARTIES OR ANY THIRD PARTY AND APPLY REGARDLESS OF WHO MAY
BE AT FAULT OR OTHERWISE RESPONSIBLE UNDER ANY OTHER CONTRACT OR ANY STATUTE,
RULE OR THEORY OF LAW INCLUDING THEORIES OF STRICT LIABILITY. The only exception to
Assignee's obligations to indemnif y, def end, and hold IIIIE and its Associated Parties harmless
is (a) a judgment rendered or settlement reached in a lawsuit filed before the Effective Time, but
only to the extent that the acts or omissions that gave rise to the cause of action are attributable to
the conduct or operations or ownership of HHE or its Associated Parties before the Eff ectiv e
Time and (b) a Claim that HHE breached the Purchase and Sade Agreement defined hereafter.
Assignee's obligations are binding on Assignee and its successors and assigns.

         Assigr1ee's duty to release, discharge, not to sue, indemnify, defend, and hold HHE and
its Associated Parties harmless includes Claims or Liabilities arising in any manner from the
physical or environmental condition of the Interests and Properties, including Claims or
Liabilities under applicable laws and regulations now enacted or that may be enacted in the
future, including the Comprehensive Environmental Response, Compensation and Liability Act
of 1980, as amended from time to time.




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                                         ARTICLE 8.

        Assignee represents that it has acquired the Properties for its own benefit and account and
has not acquired the Properties with the intent of distributing fractional undivided interests in
them or otherwise selling them in a marmer that would be subj ect to regulation by federal or state
securities laws. If Assignee sells, transfers, or otherwise disposes of the Properties or Hactionad
undivided interests in them in the future, it will do so in compliance with applicable federal and
state laws.

         This Assignment is subject to the terms of the Purchase and Sale Agreement between
IIIIL, among others, and Assignee concerning the Properties, dated effective as of August 1,
2011 (the "Purchase and Sale Agreement"). In the event of a conflict or inconsistency between
the terms and provisions of this Assignment and those set forth in the Purchase and Sade
Agreement, the terms and provisions in the Purchase and Sale Agreement shall control. The
Purchase and Sale Agreement provides, in part, that the Parties will correct errors that may have
been made in the conveyancing instruments; that HHE may require that all or a part of the
Properties be reassigned under certain circumstances; and that disputes concerning the Properties
or the transaction will be resolved by alternate dispute resolution, to the extent, if any, that
Assignee has not released, discharged, or covenanted not to sue HHE or its Associated Parties.

        IIIIE, upon notice in Writing to Assignee, shall have the right to access the Assignee's
offices, facilities, work sites, warehouses, books, records, correspondence, instructions, plans,
drawings, receipts, vouchers, financial accounts, data stored in computer files or microfiche and
personnel to audit Assignee's accounts and records relating to the retained royalty interest,
including any hedge agreements, facilities used for the measurement of production from the
properties, for any calendar year within the twenty-four (24) month period following the end of
such calendar year. The same audit rights are to extend to subcontractors. HHE shall maintain
supporting data and accounting records consistent with generally accepted accounting principles,
and the employees and agents of company shall have the right to reproduce and retain f`or the
purpose of audit, any of these doctunents. IIIIE shall not be liable f`or any of Assignee's
contractor's or subcontractor's costs resulting from an audit hereunder.

       The provisions of this Assignment are severable. If a court of competent jurisdiction
finds any part of this Assignment to be void, invalid, or otherwise unenforceable (except for the
release, Waiver, defense, and indemnity provisions), this holding will not affect other portions
that can be given effect without the invalid or void portion.

        A11 covenants and agreements in this Assignment (except Article 8) bind and inure to the
benefit of the heirs, successors, and assigns of HHE and Assignee; are covenants running with
the land; and are effective as stated, whether or not the covenants and agreements are
memorlalized in assignments and other conveyances executed and delivered by the Parties and
their respective heirs, successors, and assigns from time to time.

        Recitation of or reference to any agreement or other instrument in this Assignment,
including its exhibits, does not operate to ratify, confinn, revise, or reinstate the agreement or
instrument if it has previously lapsed or expired.




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        This Assignment and its performance will be construed in accordance With, and governed
by, the internal laws of the State of Texas, Without regard to the choice of law Mes of any
jurisdiction, including Texas.

        The word includes and its syntacticad variants mean "inc1udes, but not limited to" and its
corresponding syntactical variants. The rule of ejusdem generis may not be invoked to restrict or
limit the scope of the generad term or phrase followed or preceded by an enumeration of
particular examples.

       All exhibits referenced in and attached to this Assignment are incorporated into it.




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       This instmment may be executed in coLmterpa11s, all of which together will be considered
one instrument.

        Executed in the presence of the undersigned witnesses on the dates indicated below, but
effective as of the Effective Time.

WITNESSES:                                        HHE Energy ompany

                           c        <
 K               Q             <>
Print or Type Name: James F. Wiggins
                                     Q            BY            KW / W #
                                                                                                    ra# K /
                                                  NAME:     James L. Death
          r
     ll        L       .                          TITLE:    Attorney-in-Fact
Print Qékpe Name: Clyde Vanderbrouk
                                                  DATE:     August 3 1 , 2011



                                                  HHE Energy Company

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                                                  BY:                           ,
Print or Type Name: James F. Wiggins
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Print                  fa;
                \ /1/ 11/ 4/ (,
              ypeName: ClydeVanderbrouk
                                       _ ._       TITLE:    Attorney-in-Fact

                                                  DATE:     August 31, 2011




                                                  Dynamic Offshore Resources, LLC



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Prmt 15 Type Name: Lamben M. aper u
                                              /   TITLE:

                                                  DATE:
                                                            President and Chief Executive Officer

                                                            August 3 1, 2011




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                            a
STATE OF TEXAS                     §
                                   §
COUNTY OF HARRIS                   §


       This instrument was acknowledged before me on August 31, 2011, by James L. Death,
Attorney-in-Fact, and Christopher N. Claeys, Attorney-in-Fact, of HHE Energy Company, a
Delaware corporation, on behalf of said corporation.

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N c a l y Public ,State of Texas              g e         'Hx                         \
                                              § /\P~RYP(/Q      SI RA Nl PINEIRO      §
Notary Name:                                  \ a _\.,~f~ NoTA|=zY PusL|c.sTATE oFTExAs\
M C                                           § '-a M , NIYCOIVIMISSION EXPIRES §
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ST ATE O F T EXAS                  §
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CO UNT Y O F HARRI S               §

          This instrtunent was acknowledged before me on August 31, 2011, by G.M. McCarroll,
President and Chief Executive Officer of Dynamic Offshore Resources, LLC, a Delaware limited
liability company, on behalf of said limdted liability company.


   /               w
Notary Pul'311c, State o
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Notaly mmissio
       Name:
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                                                                 EXHIBIT A
                                                ATTACHED TO AND MADE A PART OF THAT CERTAIN
                                                        ASSIGNMENT AND BILL OF SALE
                                                    DATED EFFECTIVE AS OF AUGUST 1, 2011,
                                                      BETWEEN HHE ENERGY COMP .U 'I .Lj
                                                   AND DYNAMIC OFFSHORE RESOURCES, LLC

                                                                 DESCRIPTION OF INTERESTS


                                                                                                               Gross Interest
K   XTO File #                                Description                                    Interest Tvpe                                Owner
                                                                                                                Percentage


    3329-0001-00   Main Pass 94 OCS-G 7802
                   SE/4 of Block 94, Main Pass Area, as to those depths Hom the           Operating Rights   5.88133%           HHE Energy Company
                   surface ofthe earth down to 9,414' MD / 5,666' TVD


    3318-0001-00   Main Pass 101 OCS-G 22792                                              Record Title       17.05000%          HI-IE Energy Company
                   All of Block 101, Main Pass Area

                   N/2N/2NE/4 of Block 101, Main Pass Area, limited to those depths
                   from the surface of the earth down to a depth equal to the             Operating Rights   16.50000%          I-II-IE Energy Company
                   stratigraphic equivalent of the total depth drilled in the Main Pass
                   Block 101 Well No. 7, being 5,434 feet True Vertical Depth

    3322-0001-00   Main Pass 109 OCS-G 22794
                   SW/4NW/4, NW/4SE/4NW/4, SW/4NE/4NW/4 of Block 109, Main
                   Pass Area, from the surface of the earth down to a depth of 100'
                                                                                          Operating Rights   7.33260%           I-II-IE Energy Company
                   below the stratigraphic equivalent of a true vertical depth of 4,622
                   feet as measured in the LLOG Exploration Offshore, Inc. OCS-G
                   22794 No. 1 Well


                   N/2NE/4, NW/4SW/4NE/4, NE/4SE/4NW/4, SE/4NE/4NW/4 of
                   Block 109, Main Pass Area, from the surface of the earth down to a
                   depth of 100' below the stratigraphic equivalent of a true vertical    Operating Rights   7.33260%           HI-IE Energy Company
                   depth of 9,937 feet as measured in the LLOG Exploration Offshore,
                   Inc. OCS-G 22794 No. 2 Well (currently named the #D-1 Well)



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                                                                                                             Gross Interest
XTO File #                                 Description                                    Interest Tvpe                                 Owner
                                                                                                              Percentage


3422-0001-00   Ship Shoal 79 OCS-G 15277
               A l l o f Bl o c k 79, Ship Shoal Area, INSOFAR A N D o N L Y
               INSOFAR as the Lease covers from the surface to one hundred feet         Operating Rights   9.90000%           IIIIE Energy Company
               below the stratigraphic equivalent of 11,318' true vertical depth as
               seen in the electric log dated March 7, 2001 for the OCS-G 15277
               Well No. 2


3421-0001-00   Ship Shoal 291, OCS-G 2923
               N/ZNW /4; SW/4NW /4; NW/4SE/4NW 4 of Block 291, Ship Shoal
               Area, South Addition, INSOFAR, as it pertains to all rights and
               horizons 'rrom the sm'face down to and including 100' below the          Operating Rights   2. 10000%          HHE Energy Company
               stratigraphic equivalent of 61 10 feet subsea as drilled and logged in
               the Hall-Houston Oil Company OCS-G 2923 No. 4 Well (currently
               named the B-1 Well).



3445-0001-00   South Marsh Island 40. OCS-G 13607                                       Record Title       11.00000%          HHE Energy Company
               All of Block 40, South Marsh Island Area

3446-0001-00   South Marsh Island 41, OCS-G 1192
               E/2 of Block 41, South Marsh Island Area, INSOFAR AND oNLY
               INSOFAR as to depths from surface ofthe earth down to 11,500 feet        Operating Rights   11.00000%          HI-IE Energy Company
               TVD

3451-0006-00   South Pass 43, OCS-G 22781
               That portion of Block 43, South Pass Area, seaward of the 1975           Record Title       2.75000%           I-II-IE Energy Company
               Supreme Court Decree Line specifically described on the OCS
               Block Diagram attached to the lease instrument.




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                                                                                                       Gross Interest
XTO File #                              Description                                  Interest Tvpe                               Owner
                                                                                                        Percentage
             That portion of Block 43, South Pass Area, seaward of the 1975
             Supreme Court Decree Line specifically described on the OCS
             Block Diagram attached to the lease instrument INSOFAR AND
             OMY INSOFAR as it covers depths irorn the surface of the earth to
                                                                                  Operating Rights   16.50000           I-IHE Energy Company
             the base o f t h e "O " Sand Series defined as the stratigraphic
             equivalent of a measured depth of 12,030 feet as seen on the
             Induction Electric Log for the Shell Oil Company, State Lease 2554
             Well No. 10.

             That pordon of Block 43, South Pass Area, seaward of the 1975
             Supreme Court Decree Line specifically described on the OCS
             Block Diagram attached to the lease instrument INSOFAR AND           Operating Rights   5.50000%           I-IHE Energy Company
             OMY INSOFAR as it covers depths Hom below the base of the
             "O" Sand Series to 30,000 feet




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                                                ASSIGNMENT AND BILL OF SALE
                                            DATED EFFECTIVE AS OF AUGUST 1, 2011,
                                              BETWEEN I-II-IE ENERGY COMP A vi |:_7
                                           AND DYNAMIC OFFSHORE RESOURCES, LLC


                                                                   CONTRACT S

    XTO         Area         Block   OCS-G / ST   Agreement       Agmt Date       Party 1                Party 2              File Description
    Agmt. #                          Lse #        Type



    0276265     Main Pass    94      7802         Lease           July 1, 1985    United States of       Kerr-McGee           1-Jul-85
                Area                                                              America                Corporation, et al

    02951 18    Main Pass    94      7802         Operating       March 3         Kerr-McGee Oil &       Samedan Oil
                Area                              Agreement,      1986            Gas Corporation        Coxporation, et al
                                                  as amended

    02951 15    Main Pass    94      7802         Participation   November 1      Kerr-McGee Oil &       Samedan Oil          November 1, 2001
                Area                              Agreement       200 1           Gas Corporation        Corporation, et al   Includes
                                                                                                                              OPERATING
                                                                                                                              AGMT


¢   041 8824    Main Pass
                Area
                             94      7802         Production
                                                  Handling
                                                  Agreement
                                                                  January 24
                                                                  2002
                                                                                  Kerr-McGee Oil &
                                                                                  Gas Corporation
                                                                                                         Samedan Oil
                                                                                                         Corporation, et al
                                                                                                                              24-Jan-02




    04 1 7942   Main Pass    94      7802         Purchase &      April 1, 2004   LLOG Exploration       Hunt Petroleum       LLOG Acquisition
                Area                              Sale                            Offshore Inc., et al   Corporation
                                                  Agreement




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XTO         Area         Block   OCS-G / ST   Agreement       Agmt Date       Party 1                Party 2              File Description
Agmt. #                          Lse #        Type

0276266     Main Pass     0      22792        Lease           July 1, 2001    United State of        Cheniere Energy,     1-Jul-01
            Area                                                              America                Inc., et al

0295 122    Main Pass     0      22792        Operating       August 10       Cheniere Energy, Inc   Davis Gulf Coast,    10-Aug-01
            Area                              Agreement,      2001                                   Inc. et al
                                              as amended

02951 15    Main Pass     0      22792        Participation   November 2      LLOG Exploration       Cheniere Energy,     November 2, 2001
            Area                              Agreement       200 1           Offshore, Inc.         Inc.                 LLOG-Chenier

0276267     Main Pass     0      24687        Righof-         September       Minerals Management    LLOG Exploration ROW OCS-G
            Area                              Way             29, 2003        Service                Offshore, Inc.   24687 Seg 14304

0417942     Main Pass     0      22792        Purchase &      April 1, 2004   LLOG Exploration       Hunt Petroleum       LLOG Acquisition
            Area                              Sale                            Offshore Inc., et al   Corporation
                                              Agreement

0295125     Main Pass     0      22792        Compromise      March 26        Century Exploration    Davis Gulf Coast,    MP 101 B3 Well
            Area                              Settlement      2006            New Orleans, Inc.      Inc. et al
                                              Agreement



0276271     Main Pass     09     22794        Lease           May 1, 2001     United States of       Samedan Oil          1-May-01
            Area                                                              America                Corporation, et al

0295141     Main Pass     09     22794        Joint           May 1, 2001     Kerr-McGee Oil &       Samedan Oil          Exhibit D to FO &
            Area                              Operating                       Gas Corporation        Corporation, et al   JPA
                                              Agreement

0295 140    Main Pass     09     22794        Farmout &       April 23        Kerr-McGee Oil &       LLOG Exploration April 23, 2003
            Area                              Joint           2003            Gas Corporation        Offshore Inc.    Farmout & Joint
                                              Participation                                                           Participation Agmt
                                              Agreement

04 1 7942   Main Pass    109     22794        Purchase &      April 1, 2004   LLOG Exploration       Hunt Petroleum       LLOG Acquisition
            Area                              Sale                            Offshore Inc., et al   Corporation
                                              Agreement




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XTO        Area     Block   OCS-G / ST   Agreement       Agmt Date         Party 1                  Party 2              File Description
Agmt. #                     Lse #        Type



0276280    Ship     80      9330         Righ¢-of-       December 8        United States of         Samedan Oil          ROW OCS-G
           Shoal                         Way             1987              America, Department      Corporation          9330 Segment
           Area                                                            of Interior, Minerals                         8204
                                                                           Management Service

0296277    Ship     79      15277        Lease           August 1          United States of         Enron Oil & Gas      1-Aug-95
           Shoal                                         1995              America                  Company
           Area

0295 146   Ship     79      15277        Farmout         June 14, 2000     EOG Resources Inc        PetroQuest Energy    June 14, 2000
           Shoal                         Agreement                                                  One, L.L.C.          EOG Farmout
           Area

0295144    Ship     79      15277        Participation   July 15, 2000     PetroQuest Energy        LLOG Exploration     Jul 15, '00
           Shoal                         Agreement                         One, L.L.C.              & Production         Includes Operating
           Area                                                                                     Company              Agmt

0295 145   Ship     79      15277        Joint           July 15, 2000     PetroQuest Energy        LLOG Exploration     Jul 15, '00
           Shoal                         Operating                         One, L.L.C.              & Production         Includes Operating
           Area                          Agreement                                                  Company              Agmt

0276279    Ship     79      23713        Righof-         May 29, 2002      United States of         LLOG Exploration     ROW OCS-G
           Shoal                         Way                               America, Department      Offshore, Inc.       237 13 Segment
           Area                                                            of Interior, Minerals                         13737
                                                                           Management Service

0276278    Ship     79      23712        Righfof -       May 29, 2002      United States of         LLOG Exploration     ROW OCS-G
           Shoal                         Way                               America, Department      Offshore, Inc.       237 12 Segment
           Area                                                            of Interior, Minerals                         13736
                                                                           Management Service

0418821    Ship     79      15277        Purchase and April 15             Noble Energy, Inc., et   LLOG Exploration     Purchase of SS 80
           Shoal                         Sale         2003                 al                       Offshore, Inc., et
           Area                          Agreement                                                  al




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    XTO         Area        Block   OCS-G / ST   Agreement      Agmt Date       Party 1                  Party 2              File Description
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    04 1 7942   Ship        79      15277        Purchase and   April 1, 2004   LLOG Exploration         Hunt Petroleum       Dated 7/9/04,
                Shoal                            Sale                           Company, L.L.C., et al   Corporation          effective 4/1/04
                Area                             Agreement




    0253746     Ship        291     2923         Lease          December 1      United States of         Ashland Oil, Inc     1-Jun-62
                Shoal                                           1974            America                  et al
                Area,
                South
                Addition

    0419103     Ship        291     2923         Farmout        October 1       Torch Energy             Hall-Houston Oil     1-Jun-62
                Shoal                            Agreement,     1991            Advisors Incorporated,   Company
                Area,                            as amended,                    et al
                South                            and
                Addition                         Operating
                                                 Agreement

    0295476     Ship        291     2923         Purchase and March 1           Maritech Resources       Montforte            1-Jun-62
                Shoal                            Sale         2008              Inc., et al              Exploration
                Area,                            Agreement                                               L.L.C., et al
                South
                Addition

0
    0266626     South       40      13607        Lease          August 1        United State of          Shell Offshore Inc   1-Aug-92
                Marsh                                           1992            America
                Island
                Area




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XTO       Area      Block   OCS-G / ST   Agreement       Agmt Date          Party 1                Party 2             File Description
Agmt. #                     Lse #        Type

0294629   South     40      13607        Operating       February 24        Hunt Petroleum         LLOG Exploration SM 40/41 Shallow
          Marsh                          Agreement,      2003               (AEC), Inc.            Offshore, Inc.   Rights - revised 6-
          Island                         as revised                                                                    1-03
          Area

0294629   South     40      13607        Participation   February 24        Hunt Petroleum         LLOG Exploration    Feb. 24, 2003
          Marsh                          Agreement       2003               (AEC), Inc.            Offshore, Inc.      (INCLUDES SM
          Island                         & JOA, as                                                                     40 OPER AGMT)
          Area                           amended

0294621   South     40      13607        Joint Area      June 1, 2003       Hunt Petroleum         Devon Energy        June 1, 2003
          Marsh                          Agreement,                         (AEC), Inc.            Production          (Includes OA SM
          Island                         as amended                                                Company, L.P., et   40/41 Deep
          Area                                                                                     al                  Rights)

0294629   South     40      13607        Operating       June 1, 2003       Hunt Petroleum         Devon Energy        SM 40/41 Deep
          Marsh                          Agreement,                         (AEC), Inc.            Production          Rights
          Island                         as amended                                                Company, L.P
          Area

0295463   South     40      13607        Platform        June 30, 2003      Apache Corporation     I-Iunt Petroleum    JA" PF Lse &
          Marsh                          Lease and                                                 (AEC), Inc.         Opers Agmt-
          Island                         Operations                                                                    TERMINATED
          Area                           Agreement                                                                     but obligations
                                                                                                                       suwive under
                                                                                                                       Joint Area
                                                                                                                       Agreement Para
                                                                                                                       12.

0417942   South     40      13607        Purchase &      April 1, 2004      LLOG Exploration       Hunt Petroleum      LLOG Agzquisition
          Marsh                          Sale                               Offshore Inc., et al   Colporation
          Island                         Agreement
          Area




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XTO       Area      Block   OCS-G / ST   Agreement     Agmt Date       Party 1              Party 2          File Description
Agmt. #                     Lse #        Type

0316161   South     40      13607        Production    September 1     Hunt Petroleum       Devon Energy     Sept. 1, 2004 JA
          Marsh                          Handling      2004            (AEC), Inc.          Production       PF SM 41"
          Island                         Agreement,                                         Company, L.P
          Area                           as Ratiiied

0266626   South     40      13607        Purchase &    October 1       Apache Corporation   Hunt Petroleum   October 1, 2004
          Marsh                          Sale          2004                                 Corporation      APACHE
          Island                         Agreement                                                           Acquisition
          Area

0316161   South     40      13607        Production    December 1      Hunt Petroleum       Nippon Oil       PHA SM 44 IIC
          Marsh                          Handling      2007            (AEC), Ipc., et al   Exploration      SM 40 l|J'A||
          Island                         Agreement,                                         U.S.A. Limited
          Area                           as amended

0294629   South     40      13607        Ratiication   April 1, 2008   Hunt Petroleum       Devon Energy     Ratification of SM
          Marsh                          and                           (AEC), Inc., et al   Production       44 "CII SM 40
          Island                         Amendment                                          Company, L.P     "JA" PHA for SM
          Area                                                                                               40 C-2 / CZD Well

0266626   South     40      13607        Purchase &    January 1       Nippon Oil           XTO Offshore     January 1, 2010
          Marsh                          Sale          2010            Exploration U.S.A    Inc., et al      (Acq Nippon Deep
          Island                         Agreement                     Limited                               Rights SM 40/41)
          Area




0266627   South     41      1192         Lease         June 1, 1962    United State of      California Oil   1-Jun-62
          Marsh                                                        America              Company
          Island
          Area




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Agmt. #                      Lse #        Type

0294629    South     41      1192         Participation   Febmary 24         Hunt Petroleum         LLOG Exploration    Feb. 24, 2003
           Marsh                          Agreement       2003               (AEC), Inc.            Offshore, Inc.      (Includes SM 40
           Island                         & JOA, as                                                                     oA )
           Area                           amended

0294629    South     41      1192         Operating       February 24,       Hunt Petrolemn         LLOG Exploration    SM 40/41 Shallow
           Marsh                          Agreement,      2003               (AEC), Inc.            Offshore, Inc.      Rights - revised 6-
           Island                         as revised                                                                    1-03
           Area

0294621    South     41      1192         Joint Area      June 1, 2003       Hunt Petrolelun        Devon Energy        June 1, 2003
           Marsh                          Agreement,                         (AEC), Inc.            Production          (Includes OA SM
           Island                         as amended                                                Company, L.P., et   40/41 Deep
           Area                                                                                     al                  Rights)

0294629    South     41      1192         Operating       June 1, 2003       Hunt Petroleum         Devon Energy        SM 40/41 Deep
           Marsh                          Agreement,                         (AEC), Inc.            Production          Rights
           Island                         as amended                                                Company, L.P
           Area

04 17942   South     41      1192         Purchase &      April 1, 2004      LLOG Exploration       Hunt Petroleum      LLOG Acquisition
           Marsh                          Sale                               Offshore Inc., et al   Corporation
           Island                         Agreement
           Area

0316161    South     41      1192         Production      September 1        Hunt Petroleum         Devon Energy        Sept. 1, 2004 JA
           Marsh                          Handling        2004               (AEC), Inc.            Production          PF SM 41"
           Island                         Agreement,                                                Company, L.P
           Area                           as ratified

0266626    South     41      1192         Purchase &      October 1          Apache Corporation     Hunt Petroleum      October 1, 2004
           Marsh                          Sale            2004                                      Corporation         APACHE
           Island                         Agreement                                                                     Acquisition
           Area




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XTO        Area        Block   OCS-G / ST   Agreement       Agmt Date           Party 1                Party 2              File Description
Agmt. #                        Lse #        Type

0266626    South       41      1192         Purchase &      January 1           Nippon Oil             XTO Offshore         January 1, 2010
           Marsh                            Sale            2010                Exploration U. S.A     Inc., et al          (Acq Nippon Deep
           Island                           Agreement                           Limited                                     Rights SM 40/41)
           Area



0295086    Sout h      42 &    SL 16869 &   Participation   August 30           Pure Resources, L.P    Andex Resources
           Pass        43      OCS-G        Agreement       2002                                       L.L.c., et al
                               22781

0295095    Sout h      42 &    SL 16869     Operating       August 30           LLOG Exploration &     Pure Resources
           Pass        43      16870 &      Agreement       2002                Production Company     L.P., et al
                               OCS-G
                               22781

0417942    S ou t h    42 &    SL 16860     Purchase &      April 1, 2004       LLOG Exploration       Hunt Petroleum       LLOG Acquisition
           Pass        43      16870 &      Sale                                Offshore Inc., et al   Corporation
                               OCS-G        Agreement
                               22781

03 14614   Sout h      42 &    SL 16869     Production      February 1          Hunt Petroleum         Andex Resources
           Pass        43      16870 &      Handling        2007                (AEC), Inc.            L.L.C., et al
                               OCS-G        Agreement
                               22781



0276236    Sout h      43      22781        Lease           Jmle 1, 2001        United States of       Andex Resources
           Pass                                                                 America                L.L.C., et al




0253756    West         7      1997         Lease           Januaryl            United States of       Placid Oil Co., et
           Cameron                                          1971                America                al
           Area




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XTO        Area       Block   OCS-G / ST   Agreement        Agmt Date          Party 1               Party 2              File Description
Agmt. #                       Lse #        Type

02931 10   West        7      1997         Joint            January 1          Transocean Oil, Inc   Placid Oil Co., et   Amendments
           Cameron                         Operating        1971                                     al                   dated July 25,
           Area                            Agreement,                                                                     1979, October 21,
                                           as amended                                                                     1982, January 1,
                                                                                                                          1989, and
                                                                                                                          February 21, 1989

0418897    West        7      1997         Letter           November 5         Hunt Petroleum        Captiva Energy,      Includes Election
           Cameron                         Agreement        1997               Corporation, et al    Inc.                 Letter dated
           Area                                                                                                           November 10,
                                                                                                                          1997

0418935    West        7      1997         Natural Gas      March 1            Chevron U.S.A. Inc    Targa Midstream      Dedication of
           Cameron                         Processing       2002               et al                 Services, Limited    Chevron interest
           Area                            Agreement                                                 Partnership
                                           (as described
                                           in Exhibits
                                           A&B of
                                           Assignment
                                           and Bill of
                                           Sale attached
                                           to
                                           Assignment
                                           of Record
                                           Title Interest
                                           from
                                           Chevron
                                           USA to Hunt
                                           Petroleum
                                           Corporation,
                                           et al)




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XTO       Area         Block    OCS-G / ST    Agreement      Agmt Date             Party 1             Party 2            File Description
Agmt. #                         Lse #         Type

Pending   West          7       1997          Assignment     O c tober 4           XH, LLC, et al      Conn Energy, Inc   Attached as
          Cameron                             and Bill of    20 1 0                                    et al              Exhibit ||A|| to
          Area                                Sale                                                                        MMS- 1 5 0
                                                                                                                          Assignment of
                                                                                                                          Record Title
                                                                                                                          Interest pending
                                                                                                                          BOEMRE
                                                                                                                          approval -
                                                                                                                          executed pursuant
                                                                                                                          to Notice of
                                                                                                                          Surrender dated
                                                                                                                          September 4, 2010




XTO       Area         Bloc    Gas Plant     Agreement      Date                  Party 1             Party 2             Comment
Agmt. #                k

3907      Eugene       EI      Yscloskey     Amendment      July 30, 1968         Shell Oil Company   Getty Oil           C&O Agreement
          Island       309,                  to                                                       Company, et al
          Area,        SS                    Agreement
          South        271                   for the
          Addition,    Unit,                 Construction
          Ship         SP                    and
          Shoal        42 &                  Operation of
          Area,        SP                    the
          South        43                    Yscloskey
          Addition                           Processing
          & South                            Plant
          Pass




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XTO       Area         Bloc    Gas Plant   Agreement       Date            Party 1                Party 2          Comment
Agmt. #                k

3907      Eugene       EI      Yscloskey   Hydrocarbon     July 30, 1968   Shell Oil Company      Getty Oil
          Island       309,                Fractionation                                          Company, et al
          Area,        SS                  Agreement
          South        271
          Addition,    Unit,
          Ship         SP
          Shoal        42 &
          Area,        SP
          South        43
          Addition
          & South
          Pass

3907      Eugene       EI      Yscloskey   Amendment       May 1, 1969        Shell Oil Company   Getty Oil
          Island       309,                to                                                     Company, et al
          Area,        SS                  Hydrocarbon
          South        271                 Fractionation
          Addition5    Unit,               Agreement
          Ship         SP
          Shoal        42 &
          Area,        SP
          South        43
          Addition
          & South
          Pass




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XTO       Area         Bloc    Gas Plant   Agreement       Date            Party 1               Party 2             Comment
Agmt. #                k

3907      Eugene       EI      Yscloskey   Agreement       August 2        Tennessee Gas         Dynegy
          Island       309,                of Settlement   2002            Pipeline Company      Midstream
          Area,        SS                  And                                                   Services, Limited
          South        271                 Compromise                                            Partnership
          Addition,    Unit,
          Ship         SP
          Shoal        42 &
          Area,        SP
          South        43
          Addition
          & South
          Pass

3907      Eugene       EI      Yscloskey   Amendment       April 1, 2003     Dynegy Midstream    Anadarko E&P
          Island       309,                to                                Services, Limited   Company LP
          Area,        SS                  Construction                      Partnership
          South        271                 and
          Addition     Unit,               Operating
          Ship         SP                  Agreement
          Shoal        42 &
          Area,        SP
          South        43
          Addition
          & South
          Pass




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XTO       Area         Bloc    Gas Plant   Agreement       Date            Party 1            Party 2             Comment
Agmt. #                k

3907      Eugene       EI      Yscloskey   Amended         April 1, 2003   Tennessee Gas      Dynegy
          Island       309,                and Restated                    Pipeline Company   Midstream
          Area,        SS                  Straddle and                                       Services, Limited
          South        271                 Processing                                         Partnership
          Addition,    Unit,               Agreement
          Ship         SP
          Shoal        42 &
          Area,        SP
          South        43
          Addition
          & South
          Pass

3907      Eugene       EI      Yscloskey   Agreement       April 1, 2003   Tennessee Gas      Dynegy
          Island       309,                of Settlement                   Pipeline Company   Midstream
          Area,        SS                  And                                                Services, Limited
          South        271                 Compromise                                         Partnership
          Addition3    Unit,
          Ship         SP
          Shoal        42 &
          Area,        SP
          South        43
          Addition
          & South
          Pass




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XTO       Area         Bloc   Gas Plant   Agreement       Date          Party 1           Party 2              Comment
Agmt. #                k

3907      Eugene       EI     Yscloskey   Second          August 1      Enterprise Gas    Apache
          Island       309,               Amendment       2003          Processing, LLC   Corporation, et al
          Area,        SS                 to
          South        271                Hydrocarbon
          Addition,    Um,                Fractionation
          Ship         SP                 Agreement
          Shoal        42 &
          Area,        SP
          South        43
          Addition
          & South
          Pass




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                                                                 EXHIBIT A-2
                                                ATTACHED TO AND MADE A PART OF THAT CERTAIN
                                                         ASSIGNMENT AND BILL OF SALE
                                                     DATED EFFECTIVE AS OF AUGUST 1, 2011,
                                                       BETWEEN HHE ENERGY COMPANY
                                                    AND DYNAMIC OFFSHORE RESOURCES, LLC

                                                               DESCRIPTION OF WELLS



MAIN PASS BLOCK
94
HHE ENERGY COIVIPANY
Platform   Lease    /   L o n g W ell   W ell       Field       County/Parish     API No.              Cperator             XTO        Status Type
           Block        Name            Name                                                                                Well No.
MP094      OCS-G-       OCS-G-          #5          MAIN        Offshore          177254081800S01      W&T OFFSHORE, INC.   401786     PDP   GAS
           07802 M P    07802 MP94                  PASS 094    Louisiana
           94           #5
MP094      OCS-G-       OCS-G-          #4ST        MA IN       Offshore          177254072400S01      W&T OFFSHORE, INC.   401785     PDP   GAS
           07802 M P    07802    MP                 PASS 094    Louisiana
           94           94 #4ST



MAIN PASS BLOCK 101/106
HHE ENERGY COMPANY
Platform Lease / Block            Long     Well     Field      County/Parish    M'I No.              Operator               XTO        Status Type
                                  Well     Name                                                                             Well No.
                                  Name
MP101B     OCS-G-22792            OCS-     B-01    MAI N       OFFSHORE         177254074600S01      XTO OFFSHORE INC.      401801     PDP   GAS
           MP1 0 l                G-               PASS 107    LOUISIANA
                                  22792
                                  MP101
                                  B-01




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1VIP101B   OCS-G-22792     OCS-       B-02   MAI N      OFFSHORE    177254075 100Sol     XTO OFFSHORE INC.   401802   PDP   GAS
           MP l 01         G-                PASS 107   LOUISIANA
                           22792
                           MP 1 01
                           B-02
MP101D     OCS-G-22792     OCS-       D-01   MAI N      OFFSHORE    l77254076000S01      XTO OFFSHORE INC.   401948   TA    OIL
           MPl01           G-                PASS 107   LOUISIANA
                           22792
                           MP 1 01
                           D-01
MP10lD     OCS-G-22792     OCS-       D-02   MAI N      OFFSHORE    177254076100S02      XTO OFFSHORE 1Nc.   401949   PDP   GAS
           MPl01           G-                PASS 107   LOUISIANA
                           22792
                           MP 1 0 1
                           D-02
MP10lD     OCS-G-23967     OCS-       D-     MAI N      OFFSHORE    17725407710lSol      XTO OFFSHORE INC.   401950   PDP   GAS
           MP 1 06         G-         03 ST1 PASS 107   LOUISIANA
                           23967
                           MP 1 06
                           D-
                           03 ST1
MP101D     OCS-G-03798     OCS-       D-     MAI N      OFFSHORE    177254077400S02      XTO OFFSHORE INC.   401837   TA    GAS
           MP102           G-         04A    PASS 107   LOUISIANA
                           03798
                           MP 1 02
                           D-04A
MP101D     OCS-G-22792     OCS-       D-05   MAI N      OFFSHORE    177254078000Sol      XTO OFFSHORE INC.   401803   PDP   OIL
           MP101           G-                PASS 93    LOUISIANA
                           22792
                           MP 1 0 1
                           D-05
MP10lE     OCS-G-22792     OCS-       E-01   MAI N      OFFSHORE    l77254079000D03      XTO OFFSHORE INC.   401834   PDP   GAS
           MPl01           G-         (#6)   PASS 107   LOUISIANA
(#6)
                           22792
                           MP 1 01
                           E-01
                           (#6)




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MAIN PASS BLOCK 101
HHE ENERGY COMPANY
Platform   Lease / Block       Long Well Well            Field      County/Parish   API No.              Operator            XTO          Status   Type
                               Name      Name                                                                                Well No.
MP10113    OCS-G    22792      OCS-G            B3       MAIN       Offshore        177254081000S01      CENHJRY EXPLORATION 401946       PDP      GAS
           MP101               22792                     PASS 101   Louisiana                            NEW ORLEANS, INC.
                               MP101B3



MAIN PASS BLOCK 109
I-H-[E ENERGY COMPANY
Platform     Lease         /   L o n g W ell   Well      Field      County/Parish   API No.              Operator             XTO         Status   Type
             Block             Nam e           Name                                                                           Well No.
MP 1 09C     OCS-G-            OCS-G-          C-01      MAI N      Offshore        177254076700S03      W&T OFFSHORE, INC.   40 1 952    SI       GAS
             22794             22794                     PASS 109   Louisiana
             MP109             MPl09 C-1
MP109D       OCS-G-            OCS-G-          D-        MAI N      Offshore        177254076802S02      W&T OFFSHORE, INC.   401953      PDP      GAS
             22794             22794           0 1 STO   PASS 109   Louisiana
             MPl 0 9           MP109 D-        0BP02
                               01STOoBPO
                               2



SOUTH MARSH ISLAND BLOCK 40/41
HHE ENERGY COMPANY
Platform      Lease   /        L o n g W ell   Well      Field      County/Parish   API No.              Operator             XTO Wel l   Status   Type
              Block            Name            Name                                                                           No.
SMI40B        OCS-G-           OCS-G-          B-01      SOUTH      OFFSHORE        177074083600D01      XTO OFFSHORE INC.    40 1 787    SI       OIL
              13607 SMI        13607 SMI                 MARSH      LOUISIANA
              40               40 B-01                   ISLAND
                                                         41
SMI40B        OCS-G-           OCS-G-          B-01D     SOUTH      OFFSHORE        177074083 600D02     XTO OFFSHORE INC.    401788      PDP      OIL
              13607 SMI        13607 SMI                 MARSH      LOUISIANA
              40               40 B-01D                  ISLAND
                                                         41
SMI40B        OCS-G-           OCS-G-          B-        SOUTH      OFF SHORE       17707408490 1 S01    XTO OFFSHORE INC.    401868      PDP      OIL
              01 l92 SMI       1192 S W        02ST      MARQH      LOUISIANA
              41               41 B-02ST                 ISLAND
                                                         41


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SMI40B        OCS-G-       OCS-G-        B-03    SOUTH    OFFSHORE    l77074085300S01     XTO OFFSHORE INC.   401763   PDP   OIL
              01 192 SMI   1192 SMI              MARSH    LOUISIANA
              41           41 B-03               ISLAND
                                                 41
SMI40B        OCS-G-       OCS-G-        B-04    SOUTH    OFFSHORE    177074085400D01     XTO OFFSHORE INC.   401887   SI    OH.,
              01 192 SMI   1192 SMI              MARSH    LOUISIANA
              41           41 B-04               ISLAND
                                                 41
SMI40B        OCS-G-       OCS-G-        B-04D   SOUTH    OFFSHORE    177074085400D02     XTO OFFSHORE INC.   401888   PDP   OIL
              01 192 SMI   1192 SMI              MARSH    LOUISIANA
              41           41 B-04D              ISLAND
                                                 41
SMI40B        OCS-G-       OCS-G-        B-04E   SOUTH    OFFSHORE    177074085400D03     XTO OFFSHORE INC.   401764   PDP   OIL
              01 192 SMI   1192 SMI              MARSH    LOUISIANA
              41           41 B-04E              ISLAND
                                                  41
SMI40B        OCS-G-       OCS-G-        B-05     SOUTH   OFFSHORE    l77074085700D01     XTO OFFSHORE INC.   401865   SI    GAS
              13607 SMI    13607 SMI             MARSH    LOUISIANA
              40           40 B-05               ISLAND
                                                 41
SMI40B        OCS-G-       OCS-G-        B-05D   SOUTH    OFFSHORE    177074085700D02     XTO OFFSHORE INC.   401889   PDP   o1L
              01 192 SMI   01192 S M I           MARSH    LOUISIANA
              41           41 B-05D              ISLAND
                                                 41
SMI40B        OCS-G-       OCS-G-        B-06    SOUTH    OFFSHORE    177074087600Sol     XTO OFFSHORE INC.   401766   PDP   OIL
              01 192 SMI   01192 S M I           MARSH    LOUISIANA
              41           41 B-06               ISLAND
                                                 41
SMI40B        OCS-G-       OCS-G-        B-07    SOUTH    OFFSHORE    l77074089800Dol     XTO OFFSHORE INC.   402019   PDP   GAS
              13607 SMI    13607 SMI             MARSH    LOUISIANA
              40           40 B-07               ISLAND
                                                 41
SMI40B        OCS-G-       OCS-G-        B-07D   SOUTH    OFFSHORE    177074089800D02     XTO OFFSHORE INC.   402967   PDP   GAS
              01 192 SMI   01192 SMI             MARSH    LOUISIANA
              41           41 B-07D              ISLAND
                                                 41
SMI44C        OCS-G-       OCS-G-        C-02    SOUTH    OFFSHORE    177074089500Dol     XTO OFFSHORE INC.   402020   PDP   GAS
              13607 SMI    13607 SMI             MARSH    LOUISIANA
              40           40 C-02               ISLAND
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SMI44C        OCS-G-          OCS-G-        C-02D   SOUTH      OFFSHORE        177074089500D02     XTO OFFSHORE INC.      402608        PDP      GAS
              13607     SMI   13607 SMI             MARSH      LOUISIANA
              40              40 C-02D              I SL AND
                                                    41
SMI40JA       OCS-G-          OCS-G-        JA-     SOUTH      OFFSHORE        177074063600S02     XTO OFFSHORE INC.      402021        SI       GAS
              13607     SMI   13607 S M I   01ST2   MA RS H    LOUISIANA
              40              40      JA            I SL AND
                              01ST2                 41
sM140JA       OCS-G-          OCS-G-        JA-02   SOUTH      OFFSHORE        l77074069100S01     XTO OFFSHORE INC.      401866        SI       GAS
              13607     SMI   13607 S M I   BP01    MARSH      LOUISIANA
              40              40      JA            I SL AND
                              02BP01                41



SOUTH PASS BLOCK 42/43
HI-IE ENERGY COMPANY
Platform   Lease / Block L o n g            Well    Field      County/Parish      API No.           Operator            XTO      Well   Status   Type
                                W ell       Name                                                                        No.
                                Name
              OCS-G 22781       OCS-G-      A-01    SOUTH      OFFSHORE           l7721404580000    XTO OFFSHORE INC.   401799          lPDP     OIL
              SP 43             22781               PASS 43    LOUISIANA
                                SP    43
                                #A-01
              OCS-G 22781       OCS-G-      A-02    SOUTH      OFFSHORE           l7721404590000    XTO OFFSHORE INC.   401800          lPDP     GAS
              SP 43             22781               PASS 43    LOUISIANA
                                SP    43
                                #A-02
              SL 3011           SL 3011     #001    SOUTH      OFFSHORE           l7721007480000    XTO OFFSHORE INC.   703024*         Active   SW D
                                #001        SW D    PASS 42    LOUISIANA
                                SW D
* Burrwood Central Facility




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SI-HP SHOAL BLOCK79/80
HHE ENERGY COMPANY
Platform   Lease / Block     Long          Well         Field        County/Parish         API No.             Operator            XTO      Well   Status        Type
                             Well          Name                                                                                    No.
                             Nam
                             e
SS079A        OCS-G-15277 SS OCS           A-02         SI-IIP       OFFSHORE              177114134300D       XTO OFFSHORE INC.   401789          PDP           OIL
              79                   G-                   SHOAL        LOUISIANA             03
                                   1527                 78
                                   7 SS
                                   79
                                   A-02
SS079A        OCS-G-15277 SS       OCS     A-02D        SHIP         OFFSHORE              1771 14134300D      XTO OFFSHORE INC.   401893          PDP           OIL
              79                   G-                   SHOAL        LOUISIANA             02
                                  1527                  78
                                  7 SS
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Platform     Lease / Block      L o n g W ell   Well         Field         County/Parish     API No.               Operator              XTO       Well     Status      Type
                                Name            Name                                                                                     No.
    WC171A   OCS   -G-01997     OCS      -G-    A-           WEST          Offshore          177 00 40 006 00 D0   CONN ENERGY                              SI          GAS
             WC 171             01997 W C       0 1BP1       CAMERON       Louisiana         1

                                171       A-                 146
                                01BP1
    WC171A   OCS   -G-01997     OCS      -G-    A-02C        WEST          Offshore          177004005 100S0       CONN ENERGY                              SI          GAS
             WC 171             01997 W C                    CAMERO N      Louisiana         3
                                171 A-02C                    146
    WC171A   OCS   -G-01997     OCS      -G-    A-3          WEST          Offshore          177004005200S0        CONN ENERGY                              SI          GAS
             WC 171             01997 W C                    C A MERON     Louisiana         1
                                171 A-3                      146
    WC171A   OCS    -G-01997    OCS      -G-    A.           WEST          Offshore          17700400520 1 S0      CONN ENERGY           402111             PDP         GAS
             WC 171             01997 W C       03 ST        C A M;ERoN    Louisiana         5
                                171       A-                 146
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WCl71A      OCS   -G-01997     OCS     -G-   A-04D   WEST        Offshore    177004006000D0   CONN ENERGY               SI   GAS
            WC 171             01997 W C             CAMERO N    Louisiana   2
                               171 A-04D             146
WC17lA      OCS   -G-01997     OCS     -G-   A-      WEST        Offshore    177004006901S0   CONN ENERGY     402112    SI   GAS
            WC 171             01997 W C     05ST    CAMERO N    Louisiana   1
                               171      A-           146
                               05ST
WC171A      OCS   -G-01997     OCS     -G-   A-6     WEST        Offshore    177004007000S0   CONN ENERGY               SI   GAS
            WC 171             01997 W C             CAMERON     Louisiana   3
                               171 A-6               146
W Cl 7l A   OCS   -G-01997     OCS     -G-   A-07C   WEST        Offshore    177004007100S0   CONN ENERGY     4021 13   TA   GAS
            WC 171             01997 W C             CAMERO N    Louisiana   3
                               171 A-07C             146
WC171A      OCS   -G-01997     OCS     -G-   A-08    WEST        Offshore    177004007400S0   CONN ENERGY               SI
            WC 171             01997 W C             CAMERO N    Louisiana   2
                               171 A-08              146
WC171A      OCS    -G-01997    OCS     -G-   A-09    WEST        Offshore    177004007801S0   CONN ENERGY     402670    TA
            WC 171             01997 W C             CAMERO N    Louisiana   1
                               171 A-09              146
WC171A      OCS   -G-01997     OCS     -G-   A-10D   WEST        Offshore    177004007900D0   CONN ENERGY               SI
            WC 171             01997 W C             C MERO N    Louisiana   2
                               171 A-10D             146
WC171A      OCS   -G-01997     OCS     -G-   A-12D   WEST        Offshore    l77004008800D0   CONN ENERGY               SI   GAS
            WC 171             01997 W C             C A MERON   Louisiana   2
                               171 A-12D             146
            OCS    -G-01997    OCS     -G-   B-7     WEST        Offshore    177004009900     CONN ENERGY               ST   GAS
            WC 171             01997 W C             CAMERON     Louisiana
                               171 B-7               146




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                                     DESCRIPTION OF PIPELINES


  Segment       Originating   Originating   Destination   Destination             Segment
                                                                        Status                 Size
  Num ber       Area/Block      Lease       Area/Block      Lease                 Length
   14138          MP101        G22792         MPl01        G22792       Active     4546       6 5/8"
   14821          MP101        G22792         MPl01        G22792       Active     5194
                                                                        Out of
   14822          MP101        G22792         MPl01        G22792                  5197
                                                                        Sen/ice
   143 15         MP101        G22792         MP101        G22792       Active     8745       8 5/8"
   14292           SM40        G13607         SM40         G13607       Active     5584       6 5/8"
   14293           SM40        G13607         SM40         G13607       Active     6015       6 5/8"
   14294           SM40        G13607         SM40         G13607       Active     6017       6 5/8"
                                                                                            2 1/2" OR 2
   14295           SM40        G13607         SM40         G13607       Active     6020
                                                                                                7/8"




EXHIBIT B-2                                       -27-
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                        DESCRIPTION OF PLATFORMS

  XTO #        PLATFORM NAME                    OPERATOR                STATE
 703355    PLATFORMMP 101 06          XTO OFFSHORE INC                 LA
 703332    PLATFORMMP 101 B           XTO OFFSHORE INC                 LA
 703333 F PLATFORMMP 101 D            XTO OFFSHORE INC                 LA
 703436    PLATFORMMP 109 C           W & T OFFSHORE INC               LA
 703437    PLATFORM MP 109 D          W & T OFFSHORE INC               LA
 N/A       PLATFORM MP 94 4           W & T OFFSHORE ]NC               LA
 703362    PLATFORM SMI 040 B         XTO OFFSHORE INC                 LA
 703347    PLATFORM SMI 040 JA         XTO OFFSHORE INC                LA
 703 128   PLATFORM SP 42A            XTO OFFSHORE INC                 LA
  703339   PLATFORM SS 079 A           XTO OFFSHORE INC                LA
  703370   PLATFORM SS 080 A           XTO OFFSHORE INC                LA
 N/A       PLATFORM WC 171 A           CONN ENERGY INC                 LA
 N/A       PLATFORM WC 171 A AUX 1     CONN ENERGY INC                 LA
 N/A       PLATFORM WC 171 A AUX 2     CONN ENERGY INC                 LA




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                            ASSIGNMENT AND BILL OF SALE

       This Assignment and Bill of Sale ("Assignment") is effective as of August 1, 2011, at
7:00 a.m. Central Time ("Effective Time"), and is from XH, LLC, a Delaware limited liability
company with an address of 810 Houston Street, Fort Worth, Texas 76102-6298 ("XH"), to
DYNAMIC OFFSHORE RESOURCES, LLC, a Delaware limited liability company, with an
address of 1301 McKinney, Suite 900, Houston, Texas 77010 ("Assignee"). XH and Assignee
may each be referred to hereafter as a "Party", or collectively referred to as the "Parties".

                                        ARTICLE 1.

           1.01.       Assignment. For $10 and other good and valuable consideration, the
receipt and sufficiency of which XI-I acknowledges, XH bargains, sells, assigns, and conveys to
Assignee and its successors and assigns, all of XH's right, title, and interest in and to the
following real and personal properties (collectively, "Properties"), subject to the terms of this
Assignment, including its exhibits, and all applicable instruments o f record i n the
county/counties/padsh/parishes Where the Properties are located:

               (a)    The oil and gas leasehold estates and other interests, insofar but only
                      insofar as set out on Exhibit A and Exhibit A-1, together with XH's
                      interest in each well located on the leases, undts and land described on
                      Exhibit A and Exhibit A-1, including, without limitation, the Wells
                      descdbed on E>dnbit A-2 (collectively, "lnterests");

       XH EXCEPTS FRoM THIS ASSIGNMENT THE ExCLUSIoNS PRov1DED IN SECTION 1.02
       OF THIS ASSIGNMENT AND MAKES SUCH ASSIGNMENT SUBJECT T o ANY
       CONVEYANCE OR AGREEMENT, WHETHER RECORDED OR NoT, THAT PERTAINS To
       THE INTERESTS AND WHICH WAS EXECUTED OR EFFECTIVE BEFoRE THE
       EXECUTION OF THIS ASSIGNMENT.

               (b)    All contracts affecting the Interests, to the extent each is assignable,
                      including agreements for the sale or purchase of oil, gas, and other
                      hydrocarbons; processing agreements; division orders; unit agreements;
                      operating agreements; and other contracts and agreements arising out O11
                      connected With, or attributable to production Hom the Interests, including
                      the items listed on Exhibit A-1;

       XH EXCEPTS FRoM THIS ASSIGNMENT AND RESERVES To ITSELF ALL RIGHT, TITLE,
       AND INTEREST IN THESE CoNTRAcTS INSOFAR AS THEY PERTAIN To ANY INTEREST
       NoT ASSIGNED IN THIS ASSIGNMENT.     1

               (c)    All personal property, including materiad, equipment, pipelines, platforms
                      and facilities situated i n and on the Properties and used solely i n
                      connection with the use or operation of the Interests for the production,
                      treating, storing, transporting, and marketing of oi l , gas, and other
                      hydrocarbons Hom the Interests, including the items listed on Exhibit B-2
                      and Exhibit B-3 ;


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   XH EXCEPTS FRoM THIS ASSIGNMENT AND RESERVES To ITSELF ALL PERSoNAL
   PRoPERTY, WELLS, FIXTURES, PIPELINES, AND EQUIPMENT USED I N XH'S
   OPERATION OF ANY LEASE, WELL, OR MINERAL INTEREST NoT ASSIGNED IN TI-IIS
   ASSIGNMENT.

         <d>     A11 easements, pennits, licenses, surface and subsurface leases, rights-of-
                 Way, servitudes, and other surface and subsurface rights affecting the
                 Interests, to the extent each is assignable, including the items listed on
                 Exhibit B and Exhibit B-1; and

         (e)     Copies of the data and records relating to the Properties and Interests that
                 have been or will be delivered by XH to Assignee as provided for in the
                 Purchase and Sade Agreement defined hereafter ("Documents").

      1.02.      Exclusions. The following are excluded from this Assignment:

                 reservations, exceptions and exclusions listed in Exhibits A, B and B-1;
         (a )

                 pipelines, fixtures, equipment, and interests owned by third parties such as
         <b>
                 lessors, purchasers, or transporters of Oil or gas;

         <<=>
                 computer      equipment      (including    Rosemont        transmitters),
                 telecommunications equipment, vehicles, boats, tools, pulling machines,
                 and other equipment and material temporarily located on the Property or
                 expressly excluded from the sale;

         (d)     items specifically excluded in Written infonnation or correspondence
                 provided to Assignee before the Execution Date;

                 any gas processing plant not listed on Exhibit A and Exhibit A-1;
         ( e)

                 personal property, fixtures, equipment, pipelines, facilities, and buildings
         <f>
                 located on the Property, but currently in use in connection with the
                 ownership or operation of other property not included in the Interests;

         (g)     Unless otherwise descdbed on Exhibit A, if XH is a party to a joint
                 operating agreement that affects an Interest, this Agreement is limited as
                 to that Interest to the depths subj ect to the joint operating agreement (e.g.,
                 total depth, total depth plus 100 feet, base of formation penetrated by
                 initial test well), but excludes depdis previously conveyed and all depths
                 not subj ect to a joint operating agreement; and

                 If XH owns tmdeased mineral interests pulportedly Within the Interests,
         <h>
                 those mineral interests are not included in the term "Interests" and will not
                 be conveyedto XH.

         (i)     [Intentionally Left B1ank].




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               (j)     Responsibility and liability for the proper payment of royalties to any
                       governmental entity with respect to production attributable to the Interests
                       prior to the Effective Time i n the event prior payments to such
                       gove    ental entity were improperly calculated.

               (k)     The Reserved Overriding Royalty Interest as defmed in Section 1.08.

             1.03.     Restrictions on Use. Where any of the Interests include a fee simple
interest in read property that has been used for oil, gas, or other mineral operations, the following
uses of the affected land, or any portion thereof, are expressly prohibited and forbidden:

               (a)     any hotel use;
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               (b)     any purpose that would constitute a Permitted Use under any of the
                       residential zones, districts, or classifications set forth in any applicable
                       municipal, county/parish or state zoning laws in effect at the Effective
                       Time,

               (c)     any other residential use;

               (d)     any health care, clinic, hospital or other medical facility;

               (e)     any playground, recreational park, day nursery, day-care center, child care
                       center, nursing home, house of worship, or school;

               (D      any agricultural use;

               (g)     construction or installation of any basements; or

               (h)     any Water wells for irrigation or drinldng purposes.

            1.04.       Documents. If originals or the last-remaining copies of the Documents
have been provided to Assignee, XH may have access to them at reasonable times and upon
reasonable notice during regular business hours for as long as any Interest is in effect after the
Effective Time (or for 21 years in the case of a mineral fee or other non-leasehold interest or a
longer period if required by law or governmental regulation). XH may, during this period and at
its expense, make copies of the Documents pursuant to a reasonable request. Without limiting
the generdity of the two preceding sentences, for a period as long as any Interest is in effect after
the Effective Time (or for 21 years in the case of a minerad fee or other non-leasehold interest or
for a longer period if required by law or governmental regulation), Assignee may not destroy or
give up possession of any original or last-remaining copy of die Documents without first offering
XH the opportunity, at XH's expense, to obtain the original or a copy. After this period expires,
Assignee must offer to deliver the Documents (or copies) to XH, at XH's expense, before giving
up possession or destroying them.

            1.05.      Reservations. To the extent that XH has reserved or continues to own an
interest (excluding overriding-royalty interests but including, if any, mineral-fee, leasehold
interests, deep rights or facilities, equipment, or pipelines) after the Effective Time for which XH


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requires access across the land associated with the Interests in order to exercise its dghts, XH
reserves concurrent interests in all applicable easements, rights-of-way, contracts, and other
rights relating to the reserved interests and necessary as reasonably required for exploring,
drilling, producing, storing, or marketing oil, gas, and other hydrocarbons Hom the respective
zones or interests of the Parties, including dghts to lay pipelines, water lines, and power lines;
dig pits; erect strucwes; and perform any other act reasonably necessary to Xl-I's interests.
Additionally, XH reserves and retains a preferential dght to purchase all Oil produced and saved
from the Interests, pursuant to and in accordance with the terms and provisions of the Purchase
and Sade Agreement defined hereafter. The term "Oil" as used herein means crude oil, distillate,
drip gasoline, condensate, and other liquid hydrocarbons.

            1.06.        Surrender or Abandonment of Interests. If Assignee decides to surrender
or abandon any of the Interests after execution of this Assignment, Assignee must give XI-I
written notice of its intent at least 45 days before surrender or abandonment if XH:

               (a)    has retained an interest in such Interests;

               (b)    has other interests for which XH requires access across such Interests or
                      Property in order to exercise its rights; or

               (c)    has other interests that are held by production from suchlnterests. XH will
                      have 30 days after receipt of Assignee's notice to notify Assignee that it
                      elects to require Assignee to reassign adl or any part of such Interests.
                      Reassignment will be in the manner described in Section 1.07.

           1.07.     Reassignment. For reassignment of any Interest under this Assignment,
Assignee will execute and deliver to XH a reassignment by special Warranty, in a f or m
satisfactory to XH and sufficient to place XH in the same position it occupied before the
assignment to Assignee. Assignee's release and discharge of XI-I and its Associated Parties, its
covenant not to sue XH or its Associated Parties, and its obligations to indemnify, defend, and
hold XH and its Associated Parties harmless Will apply to Interests that are reassigned for the
period of Assignee's ownership, and the reassignrnent instrument Will restate Assignee's
obligations.

            1.08.       Reserved Overriding Rovaltv. XH reserves from the leasehold interest
applicable to each of the oil and gas leases described on Exhibit A (collectively, the "Leases",
individually a "Lease"), an overriding royadty interest interest equal to five percent of eight-
eighths (5% of 8/8) as to production from any New Wells, as defrned hereafter (the "Overriding
Royalty Interest"). 'New Wells", for die purposes of this Assignment is defined as any wells
drilled on the Leases from and after the date of execution of this Assignment (the "Execution
Date"), together with any sidetrack or deepening after the Execution Date of an existing well on
the Leases, to the extent and only to the extent that said sidetrack bottom hole is located 1,000
feet or greater from the bottom hole location of such existing wells; provided, however, such
1,000 foot restriction does not apply to the sidetracks identified in that certain Letter between XH
and Assignee, dated July 29, 201 l. New Wells shall not include any recompletions, workovers,
or mechanical bypasses of an existing well. The Oveniding Royadty Interest shall be paid or
delivered by Assignee to XH in accordance with the following terms and conditions:



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               (a)     On oil, delivery of such oil shall be made tree of all costs and expenses in
                       developing and operating the Interests, Hee of all costs of production and
                       unencumbered in any way to XI-I's credit into the pipelines or tanks to
                       which the applicable well or wells may be connected, or otherwise as XH
                       may from time to time direct. Should XI-I elect not to take its Oveniding
                       Royalty Interest on oil in kind, then XH's part of such oil shall be paid
                       based upon the same market value as received by Assignee with respect to
                       its Interests pursuant to an arm's length contract with a third party
                       purchaser of such oil at the applicable Well or wells, free of all costs and
                       expenses in of developing and operating the Interests, free of all costs of
                       production and unencmnbered in any Way.

               (b)     On all gas, including casinghead gas or other gaseous substances and
                       liquid constituents of said gas, produced from and sold (on or off the
                       Interests) or used off the Interests, or for the extraction of gasoline or other
                       products therefrom, the Overriding Royalty Interest shall be based upon
                       the same market value as received by Assignee with respect to its Interests
                       pursuant to an arrn's length contract with a third party purchaser at the
                       Well or wells of gas so produced, sold or utilized, 'free of all costs of
                       developing and operating the Interests, free of all costs of production.

        Payment by Assignee of the Overriding Royalty Interest must be made from the
Execution Date and at all times thereafter on the basis of one hundred percent (l00%) of the
New Well's production (proportionately reduced as hereafter provided), and such payment must
be made regardless of (a) whether Assignee is or is not b°nld"g or storing gas, whether pursuant
to the provisions of an agreement so pennitting, or otherwise; (b) whether Assignee is or is not
selling all or any part of its share of the total production; and (c) the identity of the purchaser or
purchasers of such gas if Assignee should be selling all or any part of the total gas produced.
The Overriding Royadty Interest shall be delivered to XH free of adl cost and expense of
developing and operating the Leases and free and clear of all taxes except gross production,
severance taxes, and ad valorem taxes applicable thereto; provided that, the Oveniding Royalty
Interest will be subj ect to and bear a proportionate share of all reasonable costs and expenses of a
non-affiliated third party incurred for the transportation, compression, dehydration and treating
of the said gas and condensate in the preparation for marketing of such production. Such
payments shall be made on or before the sixtieth (60th) day following the month of the
production. If payment is not made within the time prescribed, the unpaid amount will bear
interest at the rate of one percent (1%) for each month or fraction of a month, by which payment
is delayed, or the maximum lawful rate, Whichever is less. Assignee agrees to send all division
orders covering the Oveniding Royalty Interest reserved by to XH at the following address:

                                       XTO Energy Inc.
                                       P.O. Box 730586
                                       Dallas, Texas 75373-0586

        If the Leases cover less than a full interest in the land covered thereby or if the interest
assigned hereunder in said Leases is less than a full interest, then the Overriding Royalty Interest
herein reserved shall be reduced in the proportion that the interest assigned to Assignee herein


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bears to the full interest in the land covered or bears to the full interest in the Leases assigned
hereunder; provided, however, that the overriding royalties herein reserved are exclusive of and
in addition to any royalties, overriding royalties or payments out of production affecting the
Leases as of the Effective Time. It is expressly agreed that operations, if any, on the Leases and
the extension and duration thereof, as well as the preservation of the Leases by rental payments
or otherwise, shadl be solely at the will and discretion of Assignee or any successor owner of the
worldng interest in the Leases. The Overriding Royalty Interest hereby reserved is subject to the
rights conferred on the lessees (now Assignee) by said Leases to pool or undtize the lands
covered thereby; and neither the joinder nor consent by XH shall be required in connection with
any such pooling or lmitization. Where oil and/or gas is produced from any unit so formed, XH
shall receive on production from such unit only such portion of the oveniding royalty stipulated
herein, as the amount of surface acreage of the land affected by such overriding royalty and
placed in said unit bears to the total surface acreage included in the unit, unless some other
 formula for appointment of production is adopted for the Lunt and in such case the formula shall
be used.

        XH upon notice in Writing to Assignee, shadl have the right to audit Assignee's accounts
and records relating to the Overriding Royalty Interest resewed herein and any other records
related to the determination of the amounts due XH for any calendar year within the twenty-four
(24) month period following the end of such calendar year.

        The Overriding Royalty Interest is expressly subject to the terms and provisions of any of
the Related Agreements, to the extent and only to the extent that such terms and provisions
contractually apply to and prohibit the establishment of an oveniding royalty interest affecting
any of the Leases. If pursuant to the terms of any Related Agreement all or a portion of
Assignee's interest in a Lease, or all or a portion of its interest in the production therefrom, is
forfeited or assigned to one or more other working interest owners, either permanently or for a
stipulated period, because Assignee fails to participate in any operation or operations, then to the
extent that such forfeited or assigned interest is subject to and burdened by the Oveniding
Royadty Interest, the Worldng interest so assigned or forfeited by Assignee shadl be free and clear
of such Oveniding Royalty Interest for the period of such forfeiture or assignment of overriding
royalty interests. The Oveniding Royalty Interest will become effective again when the interest
is reassigned or reverts back to Assignee, and Assignee shall pay such Oveniding Royalty
Interest as provided in this Section 1.08. Further, to the extent any Related Agreement
establishes security rights in favor of the parties thereto, the Overriding Royalty Interest
conveyed herein shall be subordinated to such security rights. For the purposes of this
Assignment, "Related Agreements" shall mean all oil, gas, and mineral leases, assignments,
subleases, farmout agreements, unit agreements, joint operating agreements, pooling agreements,
letter agreements, easements, rights-of-way, gathering and transportation agreements, sales
agreements, and other agreements concerning or pertaining to the Interests, to the extent that they
are binding on XI-I or its successors or assigns.

       It is understood and agreed that the Overriding Royalty Interests reserved herein, will be
a permanent burden on the Leases subject to the provisions of this Section 1.08, and will
continue in effect as to each Lease for so long as each Lease remains in effect. In addition in the
event Assignee secures a renewad or extension for any such Leases, covering all or any part of



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the land previously covered thereby, then the interests reserved herein will apply to such
renewed or extended Lease. A "renewal" or "extension" of a Lease as those terms are used
therein shall mean any Lease or Leases covedng all or a part of the land covered by the Leases
that is executed by Assignee within twelve (12) months after termination of any Lease, or the
next ensuing Federal or state lease sale pertaining to all or any part of the land previously
covered by a Lease, whichever may come Hrst.

            1.09.     Governmental Transfers. Where separate transfers o f any o f the
Properties have been, or wi l l be, executed for filing with and approval by applicable
governmental authodties, any such separate transfer (a) shall not constitute an additional
assignment or conveyance of the affected Properties, (b) shall not constitute an additional
reservation of the Overriding Royalty Interest provided for in this Assignment and (c) shall not
modify any of the terms, covenants and conditions, or limitations on Warranties, set forth in this
Assignment, and are not intended to create and shall not create any representations, Warranties or
additional covenants of or by eidier of the parties to this Assignment.

                                          ARTICLE 2.

        Ad Valorem taxes assessed against the Propeities for the year of the Effective Time are
apportioned between XH and Assignee as of the Effective Ti1ne.

                                          ARTICLE 3.

          Assignee wi l l comply with all nlles, regulations, statutes, and laws applicable to
Assignee's ownership or operation of the Properties. Except to the extent specificadly excepted
or reserved by XH in this Assignment or in the Purchase and Sale Agreement (as defined
hereafter), Assignee accepts this Assignment and assmnes all XH's obligations and liabilities
under all oil, gas, and mineral leases, assignments, subleases, farmout agreements, unit
agreements, joint operating agreements, pooling agreements, letter agreements, easements,
rights-of-way, gathering and transportation agreements, sales agreements, and other agreements
(including compliance with express and implied covenants and payment of costs, rentals, shut-in-
payments, rninimmn royalties, and production royalties), to the extent that these obligations and
liabilities concern or pertain to the Properties and are binding on XH or its successors or assigns.
Assignee's obligations under this article apply to all applicable instruments, whether recorded or
not.

                                          ARTICLE 4.
         Assignee acknowledges that the Interests and Properties have been used for exploration,
development, and production of oil and gas and that there may be petroleum, produced Water,
wastes, or other materials located on or under the Properties or associated with the Interests.
Equipment and sites included in the Interests or Properties may contain asbestos, hazardous
substances, or naturadly occurring radioactive material ('NORM"). NORM may affix or attach
itself to the inside of wells, materiads, and equipment as scale, or in other forms; the wells,
matedals, and equipment located on the Properties or included in the Interests may contain
NORM and other wastes or hazardous substances; and NORM-containing materiad and other
wastes or hazardous substances may have been buried, come in contact with the soil, or



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otherwise been disposed of on the Properties. Special procedures may be required for the
remediation, removal, transportation, or disposal of Wastes, asbestos, hazardous substances, and
NORM Hom the Interests and Properties.

        Assignee wi l l store, handle, transport, and dispose o f o r discharge all material,
substances, and wastes from the Properties (including produced water, drilling fluids, NORM,
and other wastes), whether present before or after the Effective Time, in accordance with
applicable local, state, and federal laws and regulations. Assignee will keep records of the types,
amounts, and location of materials, substances, and wastes that are stored, transported, handled,
discharged, released, or disposed of onsite and offsite. When any lease terminates, an interest in
which has been assigned under this Assignment, Assignee wi l l take additionad testing,
assessment, closure, reporting, and remedial action with respect to the Properties as is necessary
to satisfy all local, state, and federal requirements directed in effect at that time and necessary to
restore the Properties.

                                           ARTICLE 5.

        Assignee recognizes, and Will either perform or assure that perfonnance is accomplished
properly and in accordance with applicable law and the obligations and liabilities described in
Article 3, all obligations to abandon, restore, and remediate the Properties and the Interests,
Whether arising before or after the Effective Time, including obligations, as applicable, to:

                       a) obtain plugging exceptions in the operator's name for each well
                          located on the Properties (abandoned and unabandoned) with a current
                          plugging exception or permanently plug and abandon each well;
                       b) plug, abandon, and if necessary, reabandon each well located on the
                          Properties (abandoned and unabandoned);
                       c) remove all equipment and facilities, including flowlines, pipelines and
                          platfonns;
                       d) close all pits; and
                       e) restore the surface, subsurface, and offshore sites associated with the
                          Interests and Properties.

         Assignee will take all necessary steps to ensure that Assignee is recognized as the owner
and, if applicable, operator of the Properties by all appropriate parties, including any regulatory
commission, body or board with jurisdiction. If XH is the principal on any financial assurance
(including a bond) relating to the Properties, which fmancial assurance is required by any law,
rule, or regulation, then Assignee will secure new iinanciad assurance in the required amount and
supply it to die regulatory body requiring the financial assurance, to the end that XI-I's financial
assurance is released and discharged.

         Assignee will pay all costs and expenses associated with the obligations assumed under
this article. XH may require Assignee to maintain a performance bond in an amount, in a form,
and from an institution acceptable to XH, to guarantee Assignee's obligations, all as provided for
in the Purchase and Sade Agreement as defined hereafter.




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                                          ARTICLE 6.

     XH MAKES No WARRANTY OF ANY TYPE IN THIS ASSIGNMENT, WHETHER EXPRESS,
STATUTORY, OR IMPLIED. ASSIGNEE HAS INSPECTED AND HAS SATISFIED ITSELF AS To THE
CoND1T1oN OF THE PRoPERTIES. THIS ASSIGNMENT IS MADE BY XH AND ACCEPTED BY
ASSIGNEE ON AN "AS Is, WHERE IS" BASIS. XH DISCLAIMS ALL WARRANTIES, INCLUDING:

       (a)     AS TO THE FITNESS OR CONDITION OR MERCHANTABILITY OF THE MATERIALS,
               EQUIPMENT, OR FACILITIES CONVEYED;

       (b)     AS TO THE PHYSICAL, OPERATIONAL, OR ENVIRONMENTAL CONDITION OF THE
               PROPERTIES;

       <<=>    AS TO THE OIL, GAS, AND OTHER HYDROCARBON OPERATIONS OF THE
               PROPERTIES COVERED BY THE TERMS AND CONDITIONS OF ANY LEASES OR
               OTHER AGREEMENTS THAT ARE A PART OF THE PROPERTIES;

       <<1>    AS TO THE ISSUANCE, REISSUANCE, OR TRANSFER OF ANY PERMITS RELATING TO
               ANY OF THE PROPERTIES;

       06)     AS TO ANY CONSENT OR APPROVAL REQUIRED UNDER ANY INSTRUMENT
               DESCRIBED IN ARTICLE 111; AND

       <f>     AS TO TITLE, EITHER EXPRESS, IMPLIED, OR STATUTORY.

                                          ARTICLE 7.

       The terms "Claim" or ccClaims3? mean, collectively, claims, demands, causes of action,
and lawsuits asserted or filed by any person, including an artificial or natural person, a local,
state, or federal governmental entity; a person holding dghts under any instrument described in
Article 3; an Associated Party of XH or Assignee; or a third party. The term "Liability" or
"Liabilities" means, collectively, all damages (including consequential and punitive damages),
including those for personal injury, death, or damage to personal or real property (both surface
and subsurface) and costs for remediation, restoration, or clean up of contamination, whether the
injury, death, or damage occurred or occurs on or off the Properties by migration, disposal, or
otherwise; losses; fines; penalties; expenses; costs to remove or modify facilities on or under the
Properties; plugging liabilities for all wells; attorneys' fees; court and other costs incurred in
defending a Claim; liens; and judgments; in each instance, whether these damages and other
costs are known or unknown, foreseeable or unforeseeable on the Effective Time. The tenn
"Associated Parties" means successors, assigns, directors, officers, employees, agents,
contractors, subcontractors, and affiliates.

         Assignee releases and discharges XH and its Associated Parties f rom each Claim and
Liability relating to the Interests, Properties, or this transaction, regardless of when or how the
Cl ai m or Li abi l i t y arose or arises or whether the Cl ai m or Li abi l i t y i s foreseeable or
unforeseeable. AssIGNEE's RELEASE AND DISCHARGE oF XH AND 1Ts AssoCIATED PARTIES
INCLUDE CLAIMS AND LIABILITIES CAUSED IN WHOLE OR IN PART BY THE GROSS, SOLE, JOINT,
CONCURRENT, ACTIVE OR PASSIVE NEGLIGENCE OF XH OR ANY OF ITS ASSOCIATED PARTIES


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OR ANY THIRD PARTY AND APPLY REGARDLESS OF WHO MAY BE AT FAULT OR OTHERWISE
RESPONSIBLE UNDER ANY OTHER CONTRACT OR ANY STATUTE, RULE OR THEORY OF LAW
INCLUDING TI-1EoRIEs oF STRICT LIABILITY, and this release and discharge are binding on
Assignee and its successors and assigns The only exception to Assignee's release and discharge
of XH and its Associated Parties is that (a) Assignee does not release Claims against contractors
and subcontractors for work regarding the Interests and Properties, and (b) Assignee does not
release or discharge Claims that XH breached the Purchase and Sade Agreement as defined
hereafter.

         Assignee covenants not to sue XH or its Associated Parties with regard to any Claim or
Liability relating to the Interests, Properties, or this transaction, regardless of when or how the
Cl ai m or Li abi l i t y arose or arises or whether the Cl ai m or Li abi l i t y i s foreseeable or
unforeseeable.       Ass1GNEE's COVENANT NOT TO SUE X H OR ITS ASSOCIATED PARTIES
INCLUDES CLAIMS AND LIABILITIES CAUSED IN WHOLE OR IN PART BY THE GROSS, SOLE,
Jo1NT, CONCURRENT, ACTIVE OR PASSWE NEGLIGENCE OF XH OR ANY OF ITS ASSOCIATED
PARTIES OR ANY THIRD PARTY AND APPLIES REGARDLESS OF WHO MAY BE AT FAULT OR
OTHERWISE RESPONSIBLE UNDER ANY OTHER CONTRACT OR ANY STATUTE, RULE OR THEORY
o F LAW INCLUDING THEORIES o F STRICT LIABILITY, and this covenant i s bi nding o n
Assignee and its successors and assigns. The only exception to Assignee's covenant not to sue
XH or its Associated Part ies i s that Assignee does not cov enant not to sue contractors and
subcontractors for work regarding the Interests and Properties.

        Assignee W ill indemnify, defend, and hold XH and its Associated Parties harmless from
each Claim or Liability relating to the Interests, Property, or this transaction, regardless of when
or how the Claim or Liability arose or arises or whether the Claim or Liability is f oreseeable or
unforeseeable. ASSIGNEE's OBLIGATIONS TO INDEMNIFY, DEFEND, AND HOLD XH AND ITS
ASSOCIATED PARTIES HARMLESS INCLUDE CLAIMS AND LIABILITIES CAUSED IN WHOLE OR IN
PART BY THE GROSS, SOLE, JOINT, CONCURRENT, ACTIVE OR PAsslvE NEGLIGENCE OF XH OR
ANY OF ITS ASSOCIATED PARTIES OR ANY THIRD PARTY AND APPLY REGARDLESS OF WHO MAY
BE AT FAULT OR OTHERWISE RESPONSIBLE UNDER ANY OTHER CONTRACT OR ANY STATUTE,
RULE OR THEORY OF LAW INCLUDING THEORIES OF STRICT LIABILITY. The only exception to
Assignee's obligations to indenmify, defend, and hold XH and its Associated Parties harmless is
(a) a judgment rendered or settlement reached in a lawsuit filed before the Effectiv e Time, but
only to the extent that the acts or omissions that gave rise to the cause of action are attributable to
the conduct or operations or ownership of XH or its Associated Parties before the Effective Time
and (b) a Cl ai m that X H breached the Purchase and Sade Agreement defined hereafter.
Assignee's obligations are binding on Assignee and its successors and assigns.

         Assignee's duty to release, discharge, not to sue, indemnify, defend, and hold XH and its
Associated Parties harmless includes Claims or Liabilities arising in any maimer from the
physical or environmental condition of the Interests and Properties, including Claims or
Liabilities under applicable laws and regulations now enacted or that may be enacted in the
future, including the Comprehensive Environmental Response, Compensation and Liability Act
of 1980, as amended from time to time.




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                                          ARTICLE 8.

        Assignee represents that it has acquired the Properties for its own benefit and account and
has not acquired the Properties with the intent of distributing fractional undivided interests in
them or otherwise selling them in a manner that would be subj ect to regulation by federad or state
securities laws. If Assignee sells, transfers, or otherwise disposes of the Properties or fractional
undivided interests in them in the future, it Will do so in compliance with applicable federal and
state laws.

       This Assignment is subject to the terms of the Purchase and Sale Agreement between
XH, among others, and Assignee concerning the Properties, dated effective as of August l, 2011
(the "Purchase and Sale Agreement"). In the event of a conflict or inconsistency between the
tenns and provisions of this Assignment and those set forth in the Purchase and Sade Agreement,
the terms and provisions in the Purchase and Sale Agreement shall control. The Purchase and
Sale Agreement provides, in part, that the Parties will correct errors that may have been made in
the conveyancing instruments; that XH may require that all or a part of the Properties be
reassigned under certain circmnstances; and that disputes concerning the Properties or the
transaction will be resolved by alternate dispute resolution, to the extent, if any, that Assignee
has not released, discharged, or covenanted not to sue XH or its Associated Parties.

        Xl-I, upon notice in writing to Assignee, shall have the right to access the Assignee's
offices, facilities, work sites, warehouses, books, records, correspondence, instructions, plans,
drawings, receipts, vouchers, financial accounts, data stored in computer files or microfiche and
personnel to audit Assignee's accounts and records relating to the retained roydty interest,
including any hedge agreements, facilities used for the measurement of production from the
properties, for any calendar year within the twenty-four (24) month period following the end of
such calendar year. The same audit rights are to extend to subcontractors. XH shall maintain
supporting data and accounting records consistent with generally accepted accounting principles,
and the employees and agents of company shall have the right to reproduce and retain for the
purpose of audit, any of these documents. Xl-I shall not be liable for any of Assignee's
contractor's or subcontractor's costs resulting from an audit hereunder.

       The provisions of this Assignment are severable. If a court of competent jurisdiction
f1nds any part of this Assignment to be void, invalid, or otherwise unenforceable (except for the
release, waiver, defense, and indemnity provisions), this holding will not affect other portions
that can be given effect Without the invalid or void portion.

        A11 covenants and agreements in this Assignment (except Article 8) bind and inure to the
beneiit of the heirs, successors, and assigns of XH and Assignee; are covenants mnning with the
land; and are effective as stated, whether or not the covenants and agreements are memorialized
in assignments and other conveyances executed and delivered by the Parties and their respective
heirs, successors, and assigns from time to time.

        Recitation of or reference to any agreement or other instrument in this Assignment,
including its exhibits, does not operate to ratify, confmn, revise, or reinstate the agreement or
instalment if it has previously lapsed or expired.




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        This Assignment and its performance will be construed in accordance with, and governed
by, the internad laws of the State of Texas, Without regard to the choice of law rules of any
jurisdiction, including Texas.

        The word includes and its syntactical variants mean "includes, but not limited to" and its
corresponding syntactical variants. The rule of ejusdem generis may not be invoked to restrict or
linnt the scope of the general term or phrase followed or preceded by an enumeration of
particular examples.

       All exhibits referenced in and attached to this Assignment are incorporated into it.




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        This instrtmnent may be executed in counterparts, all of which together will be considered
 one instrument.

         Executed in the presence of the undersigned witnesses on the dates indicated below, but
 effective as of the Effective Time.

 WITNESSES:                                          XH, LLC


  L- / S/He
 Print or Type Nahl     ames F. Wiggins
                                                     BY            5 &A""'A'9
                                                                                          s




                                                     NA ME :    James L. Death


 Prix #
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                 I\fz;me: lyde Vanderbrouk
                                                     TITLE:     Attorney-in-Fact

                                                     DATE:      August 31, 2011




                                                     XH, LLC


                                                     BY:                        .
  Print or Type Name: James F. W iggins

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  Pr          yp Name:
              ype ame: Clyde Van erbrouk

                                                     DATE:      August 31, 2011




                                                     Dynamic Offshore Resources, LLC



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           Type Name: John H. Smith
                                                      BY:

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                                                                G.M. McCa1Toll

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  Print\or Type Name: Larnben M. Lapq
                                             ,   e
                                                      TITLE:    President and Chief Executive Officer

                                                      DATE:      August 3 1, 2011




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CO UN T Y O F HA RRI S          §



       This instrument was acknowledged before me on August 31, 2011, by James L. Death,
Attorney-in-Fact, and Christopher N. Claeys, Attorney-in-Fact, of XH, LLC, a Delaware limited
                       aalf of said limited liability company.
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My Commission expires on
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ST AT E O F T EXAS              §
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CO UNT Y O F HARRI S            §

          This instrument was acknowledged before me on August 31, 2011, by G.M. McCarro1l,
President and Chief Executive Officer of Dynamic Offshore Resources, LLC, a Delaware limited
liability company, on behalf of said limited liability company.

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Notary Pub
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Notary Name:                                         \x 6'   PO
                                                              %~ ROBYNEARNOLD §
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                                                     \ a         o NOTARY PUBLIC, STATE OF TEXAS
My Commission expires on                             § Q          )     MY co|v|M|ss|oN ExP|REs       §
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                                                                          EXHIBIT A
                                        ATTACHED TO AND MADE A PART OF THAT CERTAIN
                                                 ASSIGNMENT AND BILL OF SALE
                                            DATED EFFECTWE AS OF AUGUST 1, 2011,
                                    BETWEEN XH, LLC AND DYNAMIC OFFSHORE RESOURCES, LLC

                                                            DESCRIPTION OF INTERESTS


                                                                                                        Gross Interest
XTO File #                                Description                                 Interest Tvpe                      Owner
                                                                                                         Percentage


3416-0001-00   Ship Shoal 204. OCS-G 1520
                                                                                       Record Title       5.60514%       XH, LLC
               All of Block 204, Ship Shoal Area

3418-0001-00   Ship Shoal 207. OCS-G 1523
                                                                                       Record Title       6.l8214%       XH, LLC
               All of Block 207, Ship Shoal Area


               Al l of Block 207, Ship Shoal area, INSOFAR AND O M Y
               INSOFAR, as it pertains to all rights below 15,000' down to 99,999'   Operating Rights     6.l8214%       XI-I, LLC
               TVD

               Ship Shoal 207 Field Unit (C-6/JS Sand) Federal Unit 891020231
               A Unit Area comprised of portions of OCS-G 1522 covering Ship
               Shoal Block 206 and OCS-G 1523 covering Ship Shoal Block 207 as
                                                                                       Federal Unit       6.08364%       XH, LLC
               to the Unitized Reservoir described as the C-6/JS Sand Reservoir,
               found in the dual induction electrical log of the OCS-G 1523 W ell
               A-1 between the measured depths of 10,615' and 10,793'.


3419-0001-00   Ship Shoal 216, OCS-G 1524
                                                                                       Record Title       5.77000%       XH, LLC
               All ofBlock 216, Ship Shoal Area




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                                                                                                            Gross Interest
XTO File #                                  Description                                   Interest Tvpe                      Owner
                                                                                                             Percentage
3421-0001-00    Ship Shoal 291. OCS-G 2923
                N/ZNW /4; SW/4NW /4; NW/4SE/4NW 4 of Block 291, Ship Shoal
                Area, South Addition, INSOFAR, as it pertains to all rights and
                horizons from the surface down to and including 100' below the           Operating Rights     7.01463%       XH, LLC
                stratigraphic equivalent of 61 10 feet subsea as drilled and logged in
                the Hall-Houston Oil Company OCS-G 2923 No. 4 Well (currently
                named the B-1 Well).


 3443-0001-00   South Marsh Island 269, OCS-G 2311
                                                                                          Record Title        9.06733%       XH, LLC
                A11 of Block 269, South Marsh Island Area, North Addition


3444»0001-00    South Marsh Island 281. OCS-G 2600                                        Record Title                       XH, LLC
                                                                                                             10.47658%
                All of Block 281, South Marsh Island Area, North Addition




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                                              EXHIBIT A-1
                             ATTACHED TO AND MADE A PART OF THAT CERTAIN
                                      ASSIGNMENT AND BILL OF SALE
                                 DATED EFFECTIVE AS OF AUGUST 1, 2011,
                         BETWEEN XH, LLC AND DYNAMIC OFFSHORE RESOURCES, LLC

                                                      CONTRACTS

XTO       Area     Block   OCS-G / ST   Agreement    Agmt Date       Party 1               Party 2              File Description
Agmt. #                    Lse #        Type



0253742   Ship     204     1520         Lease        July 1, 1967    United States of      Hamilton Brothers    1-Jul-67
          Shoal                                                      America               Oil Company, et al
          Area

0293021   Ship     204     1520         Operating    May 1, 1991     Texaco Exploration    Mobil Oil            1-May-91
          Shoal                         Agreement,                   and Production Inc.   Exploration &
          Area                          as amended                                         Producing
                                                                                           Southeast Inc., et
                                                                                           al

0293021   Ship     204     1520         Letter       Februaly 8      Apache Colporation    Chevron U.S.A        SS 204 A36ST1
          Shoal                         Agreement    2006                                  Inc., et al          Non-Consent
          Area                                                                                                  500% Penalty



0253744   Ship     207     1523         Lease        July 1, 1967    United States of      General Crude Oil    1-Jul-67
          Shoal                                                      America               Company, et al
          Area

0350621   Ship     207     1523         Un it        April 1, 1981   Conoco, Inc           Atlantic Richfield   April 1, 1981 C-
          Shoal                         Operating                                          Company, et al       6/JS Sand
          Area                          Agreement                                                               Reservoir




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XTO       Area     Block   OCS-G / ST   Agreement       Agmt Date        Party 1                Party 2               File Description
Agmt. #                    Lse #        Type

0418888   Ship     207     1523         Unit Plan       April 1, 1981    Conoco, Inc            Atlantic Richfield    #14-08-0001
          Shoal                         #l4-08-                                                 Company, et al        20231
          Area                          000 1 -2023 1

0293057   Ship     207     1523         Operating       May 1, 1991      Texaco Exploration     Mobil Oil             1-May-91
          Shoal                         Agreement,                       and Production Inc.    Exploration &
          Area                          as amended                                              Producing
                                                                                                Southeast Inc., et
                                                                                                al

0324109   Ship     207     1523         Production      October 26       Norcen Explorer, Inc   Norcen Explorer,      October 26, 1994
          Shoal                         Hand ing        1994             et al                  Inc., et al           SS 207 A"/SS
          Area                          Agreement                                                                     190"

0293240   Ship     207     1523         Joint           November         Norcen Explorer Inc    Norcen Offshore       November 16,
          Shoal                         Developmen      16, 1994         et al                  Properties Ltd., et   1994 SS 206 &
          Area                          t Agreement,                                            al                    207
                                        as amended



0253745   Ship     216     1524         Lease           July 1, 1967     United States of       General Crude Oil     1-Jul-67
          Shoal                                                          America                Company, et al
          Area

0293060   Ship     216     1524         Operating       May 1, 1991      Texaco Exploration     Mobil Oil             1 -May-9 1
          Shoal                         Agreement,                       and Producdon Inc.     Exploration &
          Area                          as amended                                              Producing
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         XTO        Area        Block   OCS-G / ST   Agreement     Agmt Date     Party 1                 Party 2              File Description
         Agmt. #                        Lse #        Type

         0253746    Ship        291     2923         Lease         December 1    United States of        Ashland Oil, Inc     1-Jun-62
                    Shoal                                          1974          America                 et al
                    Area,
                    South
                    Addition

         0419103    Ship        291     2923         Farmout       October 1     Torch Energy            Hall-Houston Oil     1-Jun-62
                    Shoal                            Agreement,    1991          Advisors Incorporated   Company
                    Area,                            as amended,                 et al
                    South                            and
...r\,              Addition                         Operating
                                                     Agreement

         0295476    Sh ip       291     2923         Purchase and March 1        Maritech Resources      Montforte            1-Jun-62
                    Sh oal                           Sale         2008           Inc., et al             Exploration
                    Ar ea,                           Agreement                                           L.L.C., et al
                    Sout h
                    'oe




         0293161    South       268     2310         Operating     May 1, 1991   Texaco Exploration      Mobil Oil            1-May-9 1
                    Marsh                            Agreement,                  and Production Inc.     Exploration &
                    Island                           as amended                                          Producing
                    Area,                                                                                Southeast Inc., et
                    North                                                                                al
                    Addition

         03 14492   South       268     2310         Space Lease   August 14     Noreen Explorer, Inc    Norcen Explorer,     8/14/95 Space Lse
                    Marsh                            and           1995          et al                   Inc. et al           & PH & Ops
                    Island                           Production                                                               Agmt SM 280 @
                    Area,                            Handling                                                                 268 A
                    North                            and
                    Addition                         Operations
                                                     Agreement




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    Agmt. #                        Lse #        Type

    0420017    South       268     2310         Contract/Co   Januaxy 18    Norcen Explorer, Inc     The George R.        Letter Agreement
               Marsh                            nnection      1996                                   Brown                12 Producer PL
               Island                           Agreement                                            Partnership, et al   Seg 4008"
               Area,
               North
               Addition

    03 14476   South       268     2310         Production    May 1, 2007   Apache Corporation, et   Helis Oil & Gas      4/18/07 SM 265
               Marsh                            Hand ing                    al                       Company, L.L.C       Prod @ 268 A
               Island                           Agreement                                            et al
               Area,
               North
               Addition

    03 16079   South       268     2310         Production    January 1     Apache Corporation, et   Helis Oil & Gas      1/1/08 SM 257
               Marsh                            Handling      2008          al                       Company, L.L.C       No. 1 @ 268 A
               Island                           Agreement                                            et al
               Area,
               North
               Addition



    0253772    South       269     2311         Lease         January 1     United States of         TransOcean Oil       1-Jan-73
               Marsh                                          1973          America                  Inc. et al


0              Island
               Area,
               North
               Addition

    0293157    South       269     2311         Operating     May 1, 1991   Texaco Exploration       Mobil Oil            1-May-91
               Marsh                            Agreement,                  and Production Inc.      Exploration &
               Island                           as amended                                           Producing
               Area,                                                                                 Southeast Inc., et
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0293 1 83   South       280     14456        Unit          June 15, 2001   Texaco Exploration    W&T Offshore         SM 280/281
            Marsh                            Operating                     and Production Inc.   Inc., et al          Pooled Unit "I
            Island                           Agreement                                                                Platform
            Area,
            North
             *le



0253773     South       281     2600         Lease         April 1, 1974   United States of      Hamilton Brothers    1-Apr-74
            Marsh                                                          America               Oil Company, et al
            Island
            Area,
            North
            Addition

0293 162    South       281     2600         Operating     May 1, 1991     Texaco Exploration    Mobil Oil            1 -May-9 1
            Marsh                            Agreement,                    and Production Inc.   Exploration &
            Island                           as amended                                          Producing
            Area,                                                                                Southeast Inc., et
            North                                                                                al
            Addition

0293 1 82   South       281     2600         Joint         June 15, 2001   RME Petroleum         RME Petroleum        June 15, 2001 (SM
            Marsh                            Developmen                    Company, et al        Company, et al       280/281 Pooled
            Island                           t Agreement                                                              Unit)
            Area,
            North
            Addition




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Agmt. #                        Lse #        Type

0293183    South       281     2600         Un it        June 15, 2001   Texaco Exploration    W&T Offshore         SM 280/281
           Marsh                            Operating                    and Production Inc.   Inc., et al          Pooled Unit "I
           Island                           Agreement                                                               Platfonn
           Area,
           North
           Addition



0253756    West         7      1997         Lease        Januaryl        United States of      Placid Oil Co., et
           Cameron                                       1971            America               al
           Area

02931 10   West         7      1997         Joint        January l       Transocean Oil, Inc   Placid Oil Co., et   Amendments
           Cameron                          Operating    1971                                  al                   dated July 25,
           Area                             Agreement,                                                              1979, October 21,
                                            as amended                                                              1982, January 1,
                                                                                                                    1989, and
                                                                                                                    February 21, 1989

0418897    West         7      1997         Letter       N ovem b er 5   Hunt Peuolelun        Captiva Energy,      Includes Election
           Cameron                          Agreement    1997            Corporation, et al    Inc.                 Letter dated
           Area                                                                                                     November 10,
                                                                                                                    1997




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XTO       Area       Block   OCS-G / ST   Agreement        Agmt Date     Party 1              Party 2             File Description
Agmt. #                      Lse #        Type

0418935   West        7      1997         Natural Gas      March 1       Chevron U.S.A. Inc   Targa Midstream     Dedication of
          Cameron                         Processing       2002          et al                Services, Limited   Chevron interest
          Area                            Agreement                                           Partnership
                                          (as described
                                          in Exhibits
                                          A&B of
                                          Assignment
                                          and Bill of
                                          Sale attached
                                          to
                                          Assignment
                                          of Record
                                          Title Interest
                                          Hom
                                          Chevron
                                          USA to Hunt
                                          Petroleum
                                          Corporation,
                                          et al)

Pending   West        7      1997         Assignment       O c tober 4   XH, LLC, et al       Conn Energy, Inc    Attached as
          Cameron                         and Bill of      20 1 0                             et al               Exhibit "All to
          Area                            Sale                                                                    MMS-150
                                                                                                                  Assignment of
                                                                                                                  Record Title
                                                                                                                  Interest pending
                                                                                                                  BOEMRE
                                                                                                                  approval -
                                                                                                                  executed pursuant
                                                                                                                  to Notice of
                                                                                                                  Surrender dated
                                                                                                                  September 4, 2010




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                                                          EXHIBIT A-2
                                         ATTACHED TO AND MADE A PART OF THAT CERTAIN
                                                 ASSIGNMENT AND BILL OF SALE,
                                              DATED EFFECTIVE AS OF AUGUST 1, 2011,
                                                       BETWEEN XH, LLC
                                             AND DYNAMIC OFFSHORE RESOURCES, LLC

                                                         DESCRIPTION OF WELLS



SHIP SHOAL BLOCK
204
xH, LLC
Platform   Lease / Block   Lo ng W el l Well    Field    County/Parish   API No.              Operator             XTO        Well   Status Type
                           Name         Name                                                                       No.
SS204A     OCS       -G-   OCS-G-       A-06    SHIP     Offshore        1771l0081300D0       APACHE CORPORATION                     SI    OIL
           01520 SS 204    01520 SS             SHOAL    Louisiana       3
                           204 A-06             204
SS204A     OCS       -G-   OCS-G-       A-06D   SI-IIP   Offshore        l77110081300D0       APACHE CORPORATION                     SI    OIL
           01520 SS 204    01520 SS             SHOAL    Louisiana       2
                           204 A-06D            204
SS204A     OCS       -G-   OCS-G-       A-08    SHIP     Offshore        1771 10083000S0      APACHE CORPORATION   40 1 770          PDP   OIL
           01520 SS 204    01520 SS             SHOAL    Louisiana       2
                           204 A-08             204
SS204A     OCS       -G-   OCS-G-       A-14    SHIP     Offshore        1771 10084200D 0     APACHE CORPORATION                     SI    OIL
           01520 SS 204    01520 SS             SHOAL    Louisiana       1
                           204 A-14             204
SS204A     OCS       -G-   OCS-G-       A-14D   SHIP     Offshore        1771 10084200D0      APACHE CORPORATION                     SI    OIL
           01520 SS 204    01520 SS             SHOAL    Louisiana       2
                           204 A-14D            204
SS204A     OCS       -G-   OCS-G-       A-      SHIP     Offshore        1771 1200340130      APACHE CORPORATION   402033            PDP   GAS
           01520 SS 204    01520 SS 15ST1       SHOAL    Louisiana       4
                           204     A-           204
                           15ST1
SS204A     OCS       -G-   OCS-G-       A-      SHIP     Offshore        1771 12005401S0      APACHE CORPORATION   402034            PDP   OIL
           01520 SS 204    01520 SS 16ST1       SHOAL    Louisiana       1
                           204     A-           204
                           16ST1




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SS204A    OCS       -G-   OCS-G-     A-20    SHIP    Offshore      17 7 1 l 2 0 l 2 6 0 0 D 0    APACHE CORPORATION   40 1771    SI    OIL
          01520 SS 204    01520 SS           SHOAL   Louisiana     1

                          204 A-20           204
SS204A    OCS       -G-   OCS-G-     A-20D   SHIP    Offshore      1771 120l2600D0               APACHE CORPORATION   40 1771    PDP   OIL
          01520 SS 204    01520 SS           SHOAL   Louisiana     2
                          204 A-20D          204
SS204A    OCS      -G-    OCS-G-     A-      SHIP    Offshore      l77112017701S0                APACHE CORPORATION   402035     PDP   OIL
          01520 SS 204    01520 SS 24ST1     SHOAL   Louisiana     2
                          204     A-         204
                          24STl
SS204A    OCS       -G-   OCS-G-     A-      SHIP    Offshore      1771l007l003S 0               APACHE CORPORATION   402036     PDP   OIL
          01520 SS 204    01520 SS 28ST3     SHOAL   Louisiana     1

                          204     A-         204
                          28ST3
SS204A    OCS      -G-    OCS-G-     A-3 0   SHIP    Offshore      1771 14002801S0               APACHE CORPORATION              TA    OIL
          01520 SS 204    01520 SS           SHOAL   Louisiana     3
                          204 A-30           204
SS204A    OCS       -G-   OCS-G-     A-30D   SHIP    Offshore      177114002801D0                APACHE CORPORATION              TA    OIL
          01520 SS 204    01520 SS           SHOAL   Louisiana     2
                          204 A-30D          204
SS204A    OCS       -G-   OCS-G-     A-3 1   SHIP    Offshore      1771 1008420lS0               APACHE CORPORATION              TA    OIL
          01520 SS 204    01520 SS           SHOAL   Louisiana     4
                          204 A-31           204
SS204A    OCS       -G-   OCS-G-     A-34    SHIP    Offshore      1771 14146700S0               APACHE CORPORATION   40 1 772   PDP   OIL
          01520 SS 204    01520 SS           SHOAL   Louisiana     1
                          204 A-34           204
SS204A    OCS       -G-   OCS-G-     A-      SHIP    Offshore      1771 141 47402S0              APACHE CORPORATION   402037     PDP   OIL
          01520 SS 204    01520 SS 35BP2     SHOAL   Louisiana     1
                          204 A-35           204
                          BP2
SS204A    OCS      -G-    OCS-G-     A-      SHIP    Offshore      1771l4l46803S 0               APACHE CORPORATION   402038     PDP   OIL
          01520 SS 204    01520 SS 36ST1     SHOAL   Louisiana     1

                          204     A- BP2     204
                          36ST1BP2




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    SHIP SHOAL BLOCK(s) 206/207/216

    XH, LLC

    Platform   Lease / Block   Long Well     Well      Field   County/Parish   API No.                     Operator               XTO       Well   Status   Type
                               Name          Name                                                                                 No.
    SS206E     OCS-G-01523     OCS-G-        E-01      SHIP    Offshore        17 7 1 l4 1 1 5 50 0 S 0    APACHE CORPORATION     402039           PDP      OIL
               SS 207          01523 SS                SHOAL   Louisiana       3
                               207 E-01                207
    SS206E     OCS-G-01522     OCS-G-        E-        SHIP    Offshore        1771141 18101S0             APACHE CORPORATION 402040               PDP      OIL
               SS 206          01522 SS      2STl BP   SHOAL   Louisiana       1
                               206      E-   1         207
                               2ST1BP1
    SS206E     OCS-G-01522     OCS-G-        E-3 ST    SI-HP   Offshore        1771 14118201S0             APACHE CORPORATION                      SI       GAS
               SS 206          01522 SS                SHOAL   Louisiana       1
                               206 E-3ST               207
    SS206E     OCS-G-01522     OCS-G-        E-04      SHIP    Offshore        177114141800S0              APACHE CORPORATION     40204 1          SI       GAS
               SS 206          01522 SS                SHOAL   Louisiana       1
                               206 E-04                207
    SS206E     OCS-G-01522     OCS-G-        E-05      sH1P    Offshore        1771 14142000S0             APACHE CORPORATION     402042           SI       GAS
               SS 206          01522 SS                SHOAL   Louisiana       1
                               206 E-05                207
    SS207A     OCS-G-01523     OCS-G-        A-        SHIP    Offshore        177ll00 7280lD0             APACHE CORPORATION     402044           TA       GAS
               SS 207          01523 SS      03ST1     SHOAL   Louisiana       2
                               207      A-             207
                               03ST1
    SS207A     OCS-G-01523     OCS-G-        A-04      SHIP    Offshore        177110075500D0              APACHE CORPORATION     40 1773          PDP      OIL
               SS 207          01523 SS                SHOAL   Louisiana       1

                               207 A-04                207
/   SS207A     OCS-G-01523     OCS-G-        A-04D     SI-HP   Offshore        1771 10075500D0             APACHE CORPORATION     40 1773          SI       GAS
               SS 207          01523 SS                SHOAL   Louisiana       2
                               207 A-04D               207
    SS207A     OCS-G-01523     OCS-G-        A-06      SHIP    Offshore        1771 10078200D0             APACHE CORPORATION                      TA       OIL
               SS 207          01523 SS                SHOAL   Louisiana       2
                               207 A-06                207
    SS207A     OCS-G-01523     OCS-G-        A-08C     SHIP    Offshore        1771 10080700D0             APACHE CORPORATION                      TA       OIL
               SS 207          01523 SS                SHOAL   Louisiana       3
                               207 A-08C               207
    SS207A     OCS-G-01523     OCS-G-        A-09D     SHIP    Offshore        1771 10082400D0             APACI-IE CORPORATION                    TA       OIL
               SS 207          01523 SS                SHOAL   Louisiana       2
                               207 A-09D               207




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SS207A    OCS-G-01523     OCS-G-        A-10      SHIP    Offshore    1771 10083900S0     APACHE CORPORATION   402045   TA    GAS
          SS 207          01523 SS                SHOAL   Louisiana   3
                          207 A-10                207
SS207A    OCS-G-01523     OCS-G-        A-13      SHIP    Offshore    1771 1200250080     APACHE CORPORATION            TA    GAS
          SS 207          01523 SS                SHOAL   Louisiana   3
                          207 A-13                207
SS207A    OCS-G-0 1 523   OCS-G-        A-        SHIP    Offshore    177112010601S0      APACHE CORPORATION            TA    GAS
          SS 207          01523 SS      15ST1     SHOAL   Louisiana   2
                          207      A-             207
                          l5STl
SS207A    OCS-G-01523     OCS-G-        A-        SHIP    Offshore    1771 1201 1401D0    APACHE CORPORATION   402046   SI    OIL
          SS 207          01523 SS      16ST1     SHOAL   Louisiana   3
                          207      A-             207
                          16ST1
SS207A    OCS-G-01523     OCS-G-        A- 1 8A   SHIP    Offshore    1771 12005000D0     APACHE CORPORATION            TA    GAS
          SS 207          01523 SS                SHOAL   Louisiana   4
                          207 A-18A               207
SS207A    OCS-G-01523     OCS-G-        A-19      sH1P    Offshore    1771 l4009400S0     APACHE CORPORATION            TA    OIL
          SS 207          01523 SS                SHOAL   Louisiana   2
                          207 A-19                207
SS207A    OCS-G-01523     OCS-G-        A-20      SHIP    Offshore    1771 14010300S0     APACHE CORPORATION 402047     PDP   GAS
          SS 207          01523 SS                SHOAL   Louisiana   4
                          207 A-20                207
SS207A    OCS-G-01523     OCS-G-        A-21      SHIP    Offshore    1771 1401 1000S0    APACHE CORPORATION 402048     TA    OIL
          SS 207          01523 SS                SHOAL   Louisiana   2
                          207 A-21                207
SS207A    OCS-G-01523     OCS-G-        A-        SHIP    Offshore    17711401 l301S0     APACHE CORPORATION 402049     PDP   OIL
          SS 207          01523 SS      22ST1     SHOAL   Louisiana   3
                          207      A-             207
                          22ST1
SS207A    OCS-G-01523     OCS-G-        A-        SHIP    Offshore    1771l4011301D0      APACHE CORPORATION   402049   TA    o1L
          SS 207          01523 SS      22DST     SHOAL   Louisiana   2
                          207      A-             207
                          22DST
SS207A    OCS-G-01523     OCS-G-        A-23B     SHIP    Offshore    l771l4013500D0      APACHE CORPORATION            TA    o1L
          SS 207          01523 SS                SHOAL   Louisiana   4
                          207 A-23B               207
SS207A    OCS-G-01523     OCS-G-        A-24      SHIP    Offshore    1771 14014300S0     APACHE CORPORATION            TA    OIL
          SS 207          0l523    SS             SHOAL   Louisiana   1
                          207 A-24                207




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SS207A    OCS-G-0 1 523   OCS-G-        A-25     SHIP      Offshore    1771 14015500S0    APACHE CORPORATION             TA    GAS
          SS 207          01523 SS               SHOAL     Louisiana   1
                          207 A-25               207
SS207A    OCS-G-0 1 523   OCS-G-        A-       SI-HP     Offshore    l77112001101S0     APACHE CORPORATION   402050    TA    GAS
          SS 207          01523 SS      26ST1B   SHOAL     Louisiana   4
                          207      A-   P1       207
                          26 STlBPl
SS207A    OCS-G-01523     OCS-G-        A-27     SHIP      Offshore    1771 10079401D0    APACHE CORPORATION   40205 1   TA    GAS
          SS 207          01523 SS               SHOAL     Louisiana   3
                          207 A-27               207
SS207A    OCS-G-01523     OCS-G-        A-27D    SHIP      Offshore    177l10079401D0     APACHE CORPORATION   40205 1   TA    GAS
          SS 207          01523 SS               SHOAL     Louisiana   4
                          207 A-27D              207
SS207A    OCS-G-0 1 523   OCS-G-        A.       SHIP      Offshore    177110077301S0     APACHE CORPORATION             TA    GAS
          SS 207          01523 SS      28ST1    SHOAL     Louisiana   1
                          207      A-            207
                          28ST1
SS207A    OCS-G-01523     OCS-G-        A-       SHIP      Offshore    177112001901S0     APACHE CORPORATION   402052    TA    GAS
          SS 207          01523 SS      29ST1B   SHOAL     Louisiana   3
                          207      A-   P2       207
                          29ST1BP2
SS207A    ods-G-01523     OCS-G-        A-       sH1P      Offshore    177110071501D0     APACHE CORPORATION             TA    OIL
          SS 207          01523 SS      30ST1    SHOAL     Louisiana   2
                          207      A-            207
                          30ST1
SS207A    OCS-G-0 1 523   OCS-G-        A-       SHIP      Offshore    1771l4117702S0     APACHE CORPORATION   402053    PDP   OIL
          SS 207          01523 SS      31ST2    SHOAL     Louisiana   3
                          207     A.             207
                          3 1 ST2
SS207A    OCS-G-01523     OCS-G-        A-       SHIP      Offshore    177114119701S0     APACHE CORPORATION   402054    PDP   OIL
          SS 207          01523 SS      32BP1    SHOAL     Louisiana   2
                          207     A.             207
                          32BP1
SS207A    OCS-G-0 1 523   OCS-G-        A-       SHIP      Offshore    177114121901D0     APACHE CORPORATION   402055    PDP   OIL
          SS 207          01523 SS      33STl    SI-IOAL   Louisiana   1
                          207     A-             207
                          33ST1
SS207A    OCS-G-0 1 523   OCS-G-        A.       SHIP      Offshore    177114121901D0     APACHE CORPORATION             PDP   OIL
          SS 207          01523 SS      33DST    SHOAL     Louisiana   2
                          207     A-             207
                          33DST




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SS207A    OCS-G-01523        OCS-G-      A-34    SHIP     Offshore    1771 l4122200D0     APACHE CORPORATION   40 1 774   PDP   GAS
          SS 207             01523 SS            SHOAL    Louisiana   1
                             207 A-34            207
SS207A    OCS-G-01523        OCS-G-      A-34D   SHIP     Offshore    1771 l4122200D0     APACHE CORPORATION              SI    GAS
          SS 207             01523 SS            SHOAL    Louisiana   2
                             207 A-34D           207
SS207A    OCS-G-01523        OCS-G-      A-      SI-HP    Offshore    1771l413330lS0      APACHE CORPORATION   40 1 870   PDP   OI L
          SS 207             01523 SS 35ST1      SHOAL    Louisiana   1
                             207      A-         207
                             35ST1
SS207A    OCS-G-01523        OCS-G-      A-36    SHIP     Offshore    177114137700S0      APACHE CORPORATION   402056     PDP   GAS
          SS 207             01523 SS            SHOAL    Louisiana   3
                             207 A-36            207
SS207D    OCS-G-01523        OCS-G-      D-02    SHIP     Offshore    1771 14025400D0     APACHE CORPORATION              SI    OI L
          SS 207             01523 SS            SHOAL    Louisiana   1
                             207 D-02            207
SS207D    OCS-G-01523        OCS-G-      D-      SHIP     Offshore    1771 14030300D0     APACHE CORPORATION              SI    GAS
          SS 207             01523 SS 07BP1      SHOAL    Louisiana   2
                             207     D-          207
                             07BP1
SS207D    OCS-G-01523        OCS-G-      D-08    SHIP     Offshore    1771 1403230080     APACHE CORPORATION              SI    GAS
          SS 207             01523 SS            SHOAL    Louisiana   2
                             207 D-08            207
SS207D    OCS-G-01523        OCS-G-      D-09    SHIP     Offshore    1771 141l6400D0     APACHE CORPORATION   402059     PDP   GAS
          SS 207             01523 SS            SHOAL    Louisiana   3
                             207 D-09            207
SS207D    OCS-G-01523        OCS-G-      D-09D   SHIP     Offshore    1771 141 16400D0    APACHE CORPORATION              SI    GAS
          SS 207             01523 SS            SHOAL    Louisiana   2
                             207 D-09D           207
SS207D    OCS-G-01523        OCS-G-      D-      SHIP     Offshore    l771141l650lS0      APACHE CORPORATION   402060     PDP   OI L
          SS 207             01523 SS 10ST1      SHOAL    Louisiana   3
                             207      D-         207
                             010ST1
SS216C    OCS-G-01524        OCS-G-      C-01    SI-IIP   Offshore    1771 12009200D0     APACHE CORPORATION              SI    OIL
          SS 216             01524 SS            SHOAL    Louisiana   2
                             216 C-01            207
SS216C    O CS -G -0 15 24   OCS-G-      C-03A   SHIP     Offshore    177112014500s0      APACHE CORPORATION              SI    OIL
          SS 2 16            01524 SS            SHOAL    Louisiana   3
                             216 C-03A           207




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SS216C    OCS-G-01524   OCS-G-        C-       SI-HP   Offshore    1771 12014900D 0     APACHE CORPORATION   402061   SI    OIL
          SS 216        01524 SS      04ST1    SHOAL   Louisiana   1
                        216      C-            207
                        04ST1
SS216C    OCS-G-01524   OCS-G-        C-05A    SHIP    Offshore    1771 12017400S0      APACHE CORPORATION            SI    GAS
          SS 216        01524 SS               SHOAL   Louisiana   3
                        216 C-05A              207
SS216C    OCS-G-01524   OCS-G-        C-       SHIP    Offshore    17711400l201S0       APACHE CORPORATION   402062   PDP   GAS
          SS 216        01524 SS      07ST1    SHOAL   Louisiana   1
                        216      C-            207
                        7 STl
SS2l6C    OCS-G-01524   OCS-G-        C-       SHIP    Offshore    1771 140 0380 0S0    APACHE CORPORATION   402528   SI    GAS
          SS 216        0l5 24 SS     09ST1    SHOAL   Louisiana   1
                        216      C-            207
                        09ST1
SS216C    OCS-G-01524   OCS-G-        C-10     SHIP    OtTshore    1771 14004900S0      APACHE CORPORATION            TA    GAS
          SS 216        01524 SS               SHOAL   Louisiana   2
                        216 C-10               207
SS216C    OCS-G-01524   OCS-G-        C-1 1A   SI-HP   Offshore    1771 14005700S0      APACHE CORPORATION            SI    GAS
          SS 216        01524 SS               SHOAL   Louisiana   2
                        216 C-11A              207
SS216C    OCS-G-01524   OCS-G-        C-12     SHIP    Offshore    1771 l4006700S0      APACHE CORPORATION            SI    OIL
          SS 216        01524 SS               SHOAL   Louisiana   3
                        216 C-12               207
SS216C    OCS-G-01524   OCS-G-        C-14A    SHIP    Offshore    1771 l4007900S0      APACHE CORPORATION   402529   TA    OIL
          SS 216        01524 SS               SHOAL   Louisiana   2
                        216 C-14A              207
SS216C    OCS-G-01524   OCS-G-        C-15     SHIP    Offshore    1771 14009000S0      APACHE CORPORATION            TA    OIL
          SS 216        01524 SS               SHOAL   Louisiana   1
                        216 C-15               207
SS216C    OCS-G-01524   OCS-G-        C-       SHIP    Offshore    1771l4000l01S0       APACHE CORPORATION            SI    OIL
          SS 216        01524 SS      l6ST1B   SHOAL   Louisiana   1
                        216      C-   Pl       207
                        16ST1BP1
SS216C    OCS-G-01524   OCS-G-        C-       SHIP    Offshore    177114003001S0       APACHE CORPORATION            SI    OIL
          SS 216        01524 SS      17ST1    SHOAL   Louisiana   2
                        216      C-            207
                        17ST1
SS216C    OCS-G-01524   OCS-G-        C-18     SHIP    Offshore    1771 14028500S0      APACHE CORPORATION            TA    GAS
          SS 216        01524 SS               SHOAL   Louisiana   1
                        216 C-18               207




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SS216C     OCS-G-01524       OCS-G-        C-19       SHIP     Offshore           177 1 1403 1900D0     APACHE CORPORATION                       TA      GAS
           SS 216            01524 SS                 SHOAL    Louisiana          5
                             216 C-19                 207
SS216C     OCS-G-01524       OCS-G-        C-20       SHIP     Offshore           1771 l4032400S0       APACHE CORPORATION                       SI      GAS
           SS 216            01524 SS                 SHOAL    Louisiana          1
                             216 C-20                 207
SS2l6C     OCS-G-01524       OCS-G-         C-21      SHIP     Offshore           177114l24301S0        APACHE CORPORATION      402063           SI      GAS
           SS 216            01524 SS                 SHOAL    Louisiana          1
                             216 C-21                 207
SS216C     OCS-G-01524       OCS-G-         C-        SHIP     Offshore           1771 14127200S0       APACHE CORPORATION                       SI      GAS
           SS 216            01524 SS       22ST1     SHOAL    Louisiana          1

                             216      C-              207
                             22ST1
SS216C     OCS-G-01524       OCS-G-         C-23      SHIP     Offshore           177l14134600D0        APACHE CORPORATION      401775           SI      GAS
           SS 216            01524 SS                 SHOAL    Louisiana          2
                             216 C-23                 207
SS2 1 6C   OCS-G-0 1 524     OCS-G-         C-        SHIP     Offshore           177ll4135102S0        APACI-H3 CORPORATION    402064           SI      OIL
           SS 216            01524 SS       24BP2     SHOAL    Louisiana          2
                             216      C-              207
                             24BP2



SOUTH      MARSH        ISLAND        BLOCK(s)
268/269/280/281
XH, LLC
Platform      Lease      /   Long          Well     Field     County/Parish   API No.                  Operator                XTO       Well   Status   Type
              Block          Well          Name                                                                                No.
                             Name
SMI268A       OCS-G-         OCS-G-        A-02     SOUTH     Offshore        177074007600S0           APACHE CORPORATION                       TA       GAS
              023 10 SIVH    023 10                 MARSH     Louisiana       5
              268        SMI 268                    ISLAND
                         A-02                       269
sM1:>6sA      OCS-G-     OCS-G-  A-07               SOUTH     Offshore        l77074013600S0           APACHE CORPORATION      18296            TA       GAS
              023 10 SMI 02310                      MARSH     Louisiana       1                                                (HUNT)
              268        SMI 268                    ISLAND
                         A-07                       269
sM196sA       OCS-G-     OCS-G-  A-17B              SOUTH     Offshore        177074016800S0           APACHE CORPORATION      401991           TA
              023 10   SMI   023 10                 MARSH     Louisiana       3
              268            SMI 268                ISLAND
                             A-17B                  269




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SMI268A       OCS-G-        OCS-G-  A-2 IB   SOUTH   Offshore       177074018100S0       APACHE CORPORATION            TA
              023 1 1 SMI   023 1 1          muuwH   Louisiana      3
              269           SMI 269          BLAND
                            A-2 1 B          269
SMI268A       OCS-G-        OCS-G-  D-1      SOUTH   Offshore       177074020600S0       APACHE CORPORATION            TA
              023 10 SMI    023 10           NmmsH   Louisiana      1
              268           SMI 268          ELAND
                            D- 1             269
SMI268A       OCS-G-        OCS-G-  D-3D     SOUTH   Offshore       177074021600D0     APACHE CORPORATION              TA
              023 10 SMI    023 10           MARSH   Louisiana      2
              268           SMI 268          mLAND
                            D-3D             mm
SMI268A       OCS-G-        OCS-G-  D-4      SOUTH   Offshore       177074022500S0     APACHE CORPORATION              TA
              023 10 SMI    023 10           Nmm°H   Louisiana      1
              268           SMI 268          BLAND
                            D-4              269
SMI268A       OCS-G-        OCS-G-  D-6A     SOUTH   Offshore       177074024700S0       APACHE CORPORATION            TA
              023 10 SMI    023 10           wmmsH   Louisiana      2
              268           SMI 268          mLAND
                            D-6A             269
SM1268A       OCS-G-        OCS-G-  D-7      SOUTH   Offshore       177074025700S0       APACHE CORPORATION            TA
              023 10 SMI    023 10           MAR$I   Louisiana      3
              268           SMI 268          ELAND
                            D-7              269
SMI268A       OCS-G-        OCS-G-  D-12     SOUTH   Offshore       177074028700S0       APACHE CORPORATION            TA
              023 10 SMI    023 10           wmmsH   Louisiana      1
              268           SMI 268          BLAND
                            D- 12            269
SMI268A       OCS-G-        OCS-G-  D-       SOUTH   Offshore       17707402990 1 S0     APACHE CORPORATION            TA
              023 10 SMI    023 10  16STl    MAR${   Louisiana      2
              268           SMI 268          ELAND
                            D-16ST1          269
SMI269B       OCS-G-        OCS-G-  B-       SOUTH   Offshore       177074008100S0       APACHE CORPORATION   401993   TA   GAS
              023 l 1 SMI   023 1 1 02BPl    MARSH   Louisiana      2
              269           SMI 269          ELAND
                            B-02BPl          269
SMI269B       OCS-G-        OCS-G-  B-04     SOUTH   Offshore       177074013200S0       APACHE CORPORATION            TA   GAS
              023 1 1 SMI   023 1 1          MARSH   Louisiana      3
              269           SMI 269          BLAND
                            B-04             mm



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SMI269B      OCS-G-          OCS-G-    B-09    SOUTH     Offshore     177074015900S0      APACHE CORPORATION             TA       GAS
             023 1 1 SMI     023 11            iMARsH    Louisiana    3
             269             SMI 269           BLAND
                             B-09              269
SMI269B      OCS-G-          OCS-G-    B-      SOUTH     Offshore     177074017001D0      APACHE CORPORATION   401995    TA       OIL
             0231 1    SMI   023 11    10ST    LLARSH    Louisiana    2
             269             SMI 269           mLAND
                             B-10ST            269
SMI269B      OCS-G-          OCS-G-    B-16    SOUTH     Offshore     177074019200S0      APACHE CORPORATION             SI       OIL
             023 10 SMI      023 10            LLARSH    Louisiana    1
             268             SMI 268           BLAND
                             B-16              269
sM1269B      OCS-G-          OCS-G-    B_      SOUTH     Offshore     17707407570lS0      APACHE CORPORATION   402687    SI       OIL
             023 1 1 SMI     023 11    l7ST    IMARSH    Louisiana    1
             269             SMI 269           ISLAND
                             B-17ST            269
SMI269B      OCS-G-          OCS-G-    B-      SOUTH     Offshore     177074088501S0      APACHE CORPORATION   40 1996   PDP      OIL
             023 11 SMI      023 11    19BP1   vmm°H     Louisiana    2
             269             SMI 269           ISLAND
                             B-19BP1           269
SMI281C      OCS-G-          OCS-G-    C-01    SOUTH     Offshore     177074012500S0      APACHE CORPORATION             SI       OIL
             02600 SMI       02600             kUH6H     Louisiana    1
             281             SMI 281           ISLAQUD
                             C-01              269
SMI281C      OCS-G-          OCS-G-    C-02    SOUTH     Offshore     177074010500S0      APACHE CORPORATION   403 187   EO R     OIL
             02 60 0   SMI   02600             h&ARSH    Louisiana    2                                                  PENDIN
             28 1            SMI 281           ELAND                                                                     G
                             C-02              269
SMI281C      OCS-G-          OCS-G-    C-03    SOUTH     Offshore     177074013900S0      APACHE CORPORATION   401999    SI       OIL
             02 60 0   SMI   02600             LLARSH    Louisiana    1
             28 1            SMI 281           ELAND
                             C-03              269
SMI28 1C     OCS-G-          OCS-G-    C-04    SOUTH     Offshore     177074014900S0      APACHE CORPORATION   402000    EO R     OIL
             02600 SMI       02600             L&ARSH    Louisiana    2                                                  PENDIN
             281             SMI 281           ELAND                                                                     G
                             C-04              269
SMI281C      OCS-G-          OCS-G-    C-05    SOUTH     Offshore     1770740l5300S0      APACHE CORPORATION             SI       OIL
             02600 SMI       02600             LLARSH    Louisiana    2
             281             SMI 281           BLAND
                             C-05              269




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SMI281C       OCS-G-      OCS-G-    C-06     SOUTH    Offshore     1770740l5800S0       APACHE CORPORATION      402001       SI       GAS
              02600 SMI   02600              MARSH    Louisiana    4
              281         SMI 281            ISLAND
                          C-06               269
SMI281C       OCS-G-      OCS-G-    C-07     SOUTH    Offshore     l77074016500S0          APACHE CORPORATION   402002       EO R     OIL
              02600 SMI   02600              MARSH    Louisiana    1                                                         PENDIN
              281         SMI 281            ISLAND                                                                          G
                          C-07               269
SMI281C       OCS-G-      OCS-G-    C-       SOUTH    Offshore     1770740 1 770 1 S0   APACHE CORPORATION      402003       PDP      OIL
              02600 SMI   02600     08ST     MARSH    Louisiana    1
              28 1        SMI 281            ISLAND
                          C-08ST             269
SMI281C       OCS-G-      OCS-G-    C-09     SOUTH    Offshore     1770740 1 8200S0        APACHE CORPORATION                SI       GAS
              02600 SMI   02600              MARSH    Louisiana    4
              28 1        SMI 281            ISLAND
                          C-09               269
SMI281C       OCS-G-      OCS-G-    C..      SOUTH    Offshore     17707402070 1 S0        APACHE CORPORATION   402004       PDP      OIL
              02600 SMI   02600     10 S T   MARSH    Louisiana    1
              281         SMI 281            ISLAND
                          C-10ST             269
SMI28lC       OCS-G-      OCS-G-    C-        SOUTH   Offshore     17707402240 1 S0        APACHE CORPORATION   402005       SI       OIL
              02600 SMI   02600     1lST     MARSH    Louisiana    1

              281         SMI 281            ISLAND
                          C-11ST             269
SMI281C       OCS-G-      OCS-G-    C-12      SOUTH   Offshore     177074024 1 00D0        APACHE CORPORATION   402006       SI       OIL
              02600 SMI   02600              MARSH    Louisiana    2
              281         SMI 281            ISLAND
                          C-12                269
SMI281C       OCS-G-      OCS-G-    C-        SOUTH   Offshore     177074024900S0          APACHE CORPORATION    1 1794      SI       OIL
              02600 SMI   02600     l3BP1    MARSH    Louisiana    1                                            (HI n 1 T)
              281         SMI 281            ISLAND
                          C-13BP1             269
SMI281C       OCS-G-      OCS-G-    C-        SOUTH   Offshore     17707402690 1 S0        APACHE CORPORATION   402007       PDP      OIL
              02600 SMI   02600     14ST     MARSH    Louisiana    1
              281         SMI 281            ISLAND
                          C-14ST              269
SMI281C       OCS-G-      OCS-G-    C-15      SOUTH   Offshore     177074028300S0          APACHE CORPORATION   402008       PDP      GAS
              02600 SMI   02600               MARSH   Louisiana    7
              281         SMI 281            ISLAND
                          C-15                269




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SMI28lC       OCS-G-         OCS-G-    C-      SOUTH      Offshore    177074029600S0                 APACHE CORPORATION   402009   PDP      OIL
              02600      SMI 02600     16BPl   \/1AR<vH   Louisiana   2
              28 1           SMI 281           ISLAND
                             C-l6BP1           269
SMI281C       OCS-G-         OCS-G-    C-17    SOUTH      Offshore    l 7 7 0 7 4 0 3 0 5 0 0 X0     APACHE CORPORATION            TA
              02600 SMI 02600                  MARSH      Louisiana   1

              281            S M I 281         ISLAND
                             C-17              269
SMI281C       OCS-G-         OCS-G-    C-19    SOUTH      Offshore    177074034400S0                 APACHE CORPORATION            SI       o1L
              02600      SMI 02600             MARSH      Louisiana   3
              28 1           S M I 281         ISLAND
                             C-19              269
SMI281C       OCS-G-         OCS-G-    C-20    SOUTH      Offshore    177074034900S0                 APACHE CORPORATION   402011   SI       OIL
              02600 SMI 02600                  MARSH      Louisiana   3
              281            SMI 281           ISLAND
                             C-20              269
SMI281C       OCS-G-         OCS-G-    C-21     SOUTH     Offshore    177074035500S0                 APACHE CORPORATION   403188   EO R     OIL
              02600 SMI 02600                  MARSH      Louisiana   3                                                            PENDIN
              281            SMI 281           ISLAND                                                                              G
                             C-21              269
SMI281C       OCS-G-         OCS-G-    C-22    SOUTH      Offshore    177074036 100S0                APACHE CORPORATION   403189   EO R     GAS
              02600      SMI 02600             MARSH      Louisiana   2                                                            PENDIN
              28 1           SMI 281           ISLAND                                                                              G
                             C-22              269
SMI281C       OCS-G-         OCS-G-    C-      SOUTH      Offshore    177074036802S0                 APACHE CORPORATION   401864   PDP      OIL
              02600 SMI 02600          23ST2   MARSH      Louisiana   1
              281            SMI 281           ISLAND
                             C-23ST2            269
SMI281C       O C S- G -     OCS-G-    C-24     SOUTH     Offshore    177074037300S0                 APACHE CORPORATION   402012   PDP      GAS
              02600      SMI 02600             MARSH      Louisiana   3
              28 1           SMI 281           ISLAND
                             C-24               269
SIvII28lC     OCS-G-         OCS-G-    C-25     SOUTH     Offshore    177074083500S0                 APACHE CORPORATION   402013   PDP      GAS
              02600 SMI 02600                  MARSH      Louisiana   3
              281            SMI 281           ISLAND
                             C-25               269
SMI281C       OCS-G-         OCS-G-    C-26     SOUTH     Offshore    177074083700S0                 APACHE CORPORATION   401783   SI       OIL
              02600 SMI 02600                  MARSH      Louisiana   1
              281            SMI 281           ISLAND
                             C-26               269




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SMI281C       OCS-G-    OCS-G-    C-27     SOUTH     Offshore     177074085200S0       APACHE CORPORATION   402014   SI    GAS
              02600 SMI 02600              MARSH     Louisiana    2
              281       SMI 281            ISLAND
                        C-27               269
SMI281C       OCS-G-    OCS-G-    C-       SOUTH     Offshore     177074089402S0       APACHE CORPORATION   402015   PDP   o1L
              02600 SMI 02600     28BP2    MARSH     Louisiana    1
              281       SMI 281            ISLAND
                        C-28BP2            269
SMI281C       OCS-G-    OCS-G-    D-2      SOUTH     Offshore     17707 4021 100S0     APACHE CORPORATION            TA    GAS
              02600 SMI 02600              MARSH     Louisiana    1
              281       S M I 281          ISLAND
                        D-2                269
SMI281C       OCS-G-    OCS-G-    D- 5 A   SOUTH     Offshore     177074023200S0       APACHE CORPORATION            TA    OIL
              02600 SMI 02600              MARSH     Louisiana    2
              281       SMI 281            ISLAND
                        D- 5 A             269
SMI281C       OCS-G-    OCS-G-    D-8A     SOUTH     Offshore     177074026600S0       APACHE CORPORATION            TA    GAS
              02600 SMI 02600              M/\R<:H   Louisiana    2
              281       SMI 281            ISLAND
                        D- 8 A             269
SMI281C       OCS-G-    OCS-G-    D-9D     SOUTH     Offshore     177074027 100D0      APACHE CORPORATION            TA    GAS
              02600 SMI 02600              MARSH     Louisiana    3
              281       SMI 281            ISLAND
                        D- 9 D             269
S1\/H28lC     OCS-G-    OCS-G-    D-10A    SOUTH     Offshore     177074027500S0       APACHE CORPORATION   402661   TA    OIL
              02600 SMI 02600              MARSH     Louisiana    2
              281       S M I 281          ISLAND
                        D- 1 0A            269
SMI281C       OCS-G-    OCS-G-    D-1 1    SOUTH     Offshore     177074028000S0       APACHE CORPORATION            TA    GAS
              02600 SMI 02600              MARSH     Louisiana    1
              281       SMI 281            ISLAND
                        D-1 1              269
SMI281C       OCS-G-    OCS-G-    D-13     SOUTH     Offshore     177074029 100S0      APACHE CORPORATION   402662   TA    GAS
              02600 SMI 02600              MARSH     Louisiana    2
              28 1      SMI 281            ISLAND
                        D- 1 3             269
SMI281C       OCS-G-    OCS-G-    D-14     SOUTH     Offshore     177074029700S0       APACHE CORPORATION            TA    GAS
              02600 SMI 02600              MARSH     Louisiana    3
              281       SMI 281            ISLAND
                        D- 1 4             269




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SMI281E       OCS-G-          OCS-G-       E-01   SOUTH    Offshore    177074018500S0      APACHE CORPORATION                TA    OIL
              02600 SMI       02600               MARSH    Louisiana   1
              281             SMI 281             ISLAND
                              E-01                269
SMI281E       OCS-G-          OCS-G-       E-0 1D SOUTH    Offshore    17707401 8500D0     APACHE CORPORATION                SI    OIL
              02 60 0   SMI   02600               MARSH    Louisiana   2
              28 1            SMI 28 1            ISLAND
                              E-0 1 D             269
SMI281E       OCS-G-          OCS-G-       E-     SOUTH    Offshore    l77074024600S0      APACHE CORPORATION      402016    TA    OIL
              02600 SMI       02600        02BP2  MARSH    Louisiana   1
              281             SMI 28 1            ISLAND
                              E-02BP2             269
SMI281E       OCS-G-          OCS-G-       E-03   SOUTH    Offshore    177074027800           APACHE CORPORATION             TA
              02600 SMI       02600               MARSH    Louisiana
              281             SMI 281             ISLAND
                              E-03                269
SMI281E       OCS-G-          OCS-G-       E-04   SOUTH    Offshore    177074028500S0         APACHE CORPORATION             TA    OIL
              02600 SMI       02600               MARSH    Louisiana   1
              281             S M I 28 1          ISLAND
                              E-04                269
SMI281E       OCS-G-          OCS-G-       E-05   SOUTH    Offshore    177074029300S0         APACHE CORPORATION   402017    PDP   OIL
              02600 SMI       02600               MARQH    Louisiana   1
              28 1            SMI 28 1            ISLAND
                              E-05                269
SMI28lE       OCS-G-          OCS-G-       E-06ST SOUTH    Offshore    177074030l00S0         APACHE CORPORATION             TA    GAS
              02600 SMI       02600               MARSH    Louisiana   1
              281             SMI 28 1            ISLAND
                              E-06ST              269
SMI281E       OCS-G-          OCS-G-       E-07    SOUTH   Offshore    1770 7403 160 0S0      APACHE CORPORATION             TA    OIL
              02600 SMI       02600               MARSH    Louisiana   1
              281             SMI 28 1            ISLAND
                              E-07                269
SMI281E       OCS-G-          OCS-G-       E-08ST SOUTH    Offshore    177074033 100S0        APACHE CORPORATION             TA    GAS
              02600 SMI       02600               MARSH    Louisiana   2
              281             SMI 281             ISLAND
                              E-08ST               269
SMI281E       OCS-G-          OCS-G-       E-      SOUTH   Offshore    177074033 800S0        APACHE CORPORATION   40201 8   TA    GAS
              02600 SMI       02600        09BP 1 MARSH    Louisiana   2
              281             S M I 28 1          ISLAND
                              E-09BP1              269




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SMI281E     OCS-G-            OCS-G-      E-10     SOUTH    Offshore    l77074034800S0     APACHE CORPORATION               TA    GAS
            02600 SMI         02600                wuuwH    Louisiana   1
            281               S M I 281            ELAND
                              E-1 0                269
SMI28 1E      OCS-G-          OCS-G-      E-11     SOUTH    Offshore    177074035600       APACHE CORPORATION               TA
              02600 SMI       02600                NmmsH    Louisiana
              281             S M I 281            mLAND
                              E-1 1                269
SMI28 1E      OCS-G-          OCS-G-      E-       SOUTH    Offshore    17707403 6000S0    APACHE CORPORATION               TA    GAS
              02 60 0   SMI   02600       12BP2    NMRFH    Louisiana   2
              28 1            SMI 281              BLAND
                              E- 12BP2             269
SMI281E       OCS-G-          OCS-G-      E-       SOUTH    Offshore    l77074036600S0        APACHE CORPORATION            TA    OIL
              02600 SMI       02600       13BP1    NmmsH    Louisiana   1
              281             SMI 281              ELAND
                              E-13 BP1             269
SMI28 IE      OCS-G-          OCS-G-      E-14     SOUTH    Offshore    177074038600          APACHE CORPORATION 402616     TA    OIL
              02600 SMI       02600                MARSH    Louisiana
              281             SMI 281              ELAND
                              E- 14                269
SMI269F       OCS-G-          OCS-G-      F-01     SOUTH    Offshore    17707408040 1 S0      APACHE CORPORATION 401997     PDP   GAS
              023 1 1 SMI     023 1 1              MARSH    Louisiana   1
              269             SMI 269              BLAND
                              F-01                 269
SMI280I       OCS-G-          OCS-G-      I-01     SOUTH    Offshore    177074082601S0        APACHE CORPORATION   401998   PDP   OIL
              02600 SMI       02600       BP1      nmxRsH   Louisiana   2
              281             S M I 281            ELAND
                              I-0 1 BP1            269
S1\/H2801     OCS-G-          OCS-G-      I-02ST   SOUTH    Offshore    17707408270 1 S0      APACHE CORPORATION 401862     PDP   OIL
              02600 SMI       02600                muuwH    Louisiana   2
              281             SMI 281              ELAND
                              I-02ST               269
SMI280I       OCS-G-          OCS-G-      I-03     SOUTH    Offshore    177074082 800S0       APACHE CORPORATION 401784     PDP   OIL
              02600 SMI       02600                NmmSH    Louisiana   1
              281             SMI 281              mLAND
                              I-03                 269




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WEST CAMERON BLOCK 171
XH, LLC
Platform      Lease       / Long W ell     Well      Field    County/Parish   API No.            Operator         XTO      Well   Status   Type
              Block         Nam e          Name                                                                   No.
WC17lA        OCS       -G_ OCS -G-        A-        WEST     Offshore        177004000600D0     CONN ENERGY                      SI       GAS
              01997     WC 01997 W C       0 1BP1    CAMER    Louisiana       1
              171           171    A-                ON BLK
                            01BP1                    146
WC171A        OCS       -G- OCS -G-        A-02C     WEST     Offshore        177004005 100S0    CONN ENERGY                      SI       GAS
              01 99 7   WC 01997 W C                 C NIER   Louisiana       3
              171           171 A-02C                ON BLK
                                                     146
WC171A        OCS       -G- OCS -G-        A-3       WEST     Offshore        177004005200S0     CONN ENERGY                      SI       GAS
              01 99 7   WC 01997 W C                 C|MER    Louisiana       1
              171             171 A-3                ON BLK
                                                     146
WC171A        OCS       -G- OCS -G-        A-03 ST   WEST     Offshore        l7700400520lS0     CONN ENERGY      402111          PDP      GAS
              01 99 7   WC 01997 W C                 GAMER    Louisiana       5
              171             171    A-              ON BLK
                              03ST                   146
WC17lA        OCS       -G-   OCS -G-      A-04D     WEST     Offshore        177004006000D0     CONN ENERGY                      SI       GAS
              01 99 7   WC    01997 W C              GAMER    Louisiana       2
              171             171 A-04D              ON BLK
                                                     146
WC171A        OCS       -G_   OCS -G-      A-05ST    WEST     Offshore        177004006901S0     CONN ENERGY      402112          SI       GAS
              01 99 7   WC    01997 W C              CAMER    Louisiana       1
              171             171     A-             ON BLK
                              05ST                   146
WC171A        ocs       -G-   OCS -G-      A-6       WEST     Offshore        177004007000S0     CONN ENERGY                      SI       GAS
              01997     WC    01997 W C              CAMER    Louisiana       3
              171             171 A-6                ON BLK
                                                     146
WC171A        OCS       -G- OCS -G-        A-07C     WEST     Offshore        177004007 1 00S0   CONN ENERGY      402113          TA       GAS
              01 99 7   WC 01997 W C                 cm MER   Louisiana       3
              171             171 A-07C              ON BLK
                                                     146
WC171A        OCS       -G- OCS -G-        A-08      WEST     Offshore        177004007400S0        CONN ENERGY                   SI
              01 99 7   WC 01997 W C                 CAMER    Louisiana       2
              171             171 A-08               ON BLK
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WC171A        OCS       -G- OCS -G-       A-09      WEST   Offshore    177004007801S0    CONN ENERGY           402670   TA
              01997     WC 01997 W C                CAMER Louisiana    1
              171             171 A-09              ON BLK
                                                    146
WC171A        OCS       -G- OCS -G-       A- 1 0D   WEST   Offshore    177004007900D0    CONN ENERGY                    SI
              01997     WC 01997 W C                CAMER Louisiana    2
              171             171 A-10D             ON BLK
                                                    146
W C171A       OCS       _G_   OCS -G-     A-12D     WEST   Offshore    177004008800D0    CONN ENERGY                    SI   GAS
              01 99 7   WC    01997 W C             CAMER Louisiana    2
              171             171 A-12D             ON BLK
                                                    146
              OCS       -G- OCS -G- B-7             WEST   Offshore    177004009900      CONN ENERGY                    ST   GAS
              01 99 7   WC 01997 W C                CAMIER Louisiana
              171             171 B-7               ON BLK
                                                    146




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         BETWEEN XH, LLC AND DYNAMIC OFFSHORE RESOURCES, LLC

                         DESCRIPTION OF PLATFORMS

XTO #          PLATFORM NAME                  OPERATOR                STATE
N/A      PLATFORM SMI 268 A Prod    APACHE CORPORATION               LA
703425   PLATFORM SMI 268 A         APACHE CORPORATION               LA
703423   PLATFORM SMI 268 D         APACHE CORPORATION               LA
703426   PLATFORM SMI269B           APACHE CORPORATION               LA
N/A      PLATFORM SMI 269 F         APACHE CORPORATION               LA
703410   PLATFORM SMI 280 I         APACHE CORPORATION               LA
703341   PLATFORM SMI 281 C         APACHE CORPORATION               LA
703424   PLATFORM SMI 281 E         APACHE CORPORATION               LA
703443   PLATFORM SS 204 A          APACHE CORPORATION               LA
N/A      PLATFORM SS 204 A-Gen      APACHE CORPORATION               LA
N/A      ' A     '     |" ~ ' o n    APACHE CORPORATION              LA
N/A      PLATFORM SS 206 E           APACHE CORPORATION              LA
703433   PLATFORM SS 207 A           APACHE CORPORATION              LA
N/A      PLATFORM SS 207 A-Comp      APACHE CORPORATION              LA
N/A      PLATFORM SS 207 A-Drill     APACHE CORPORATION              LA
N/A      PLATFORM SS 207 A-Mantis    APACHE CORPORATION              LA
N/A      PLATFORM SS 207 A-Prod      APACHE CORPORATION              LA
703431   PLATFORM SS 207 D           APACHE CORPORATION              LA
N/A      PLATFORM SS 207 DWPF        APACHE CORPORATION              LA
703407   PLATFORM SS 216 C           APACHE CORPORATION              LA
N/A      PLATFORM WC 171 A           CONN ENERGY INC                  LA
N/A      PLATFORM WC 171 A AU X 1    CONN ENERGY INC                  LA
N/A      PLATFORM WC 171 A AUX 2     CONN ENERGY INC                 LA




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